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Monthly Operating Report

Case Name                    The Roman Catholic Church of the Archdiocese of New Orleans
Case Number                  20‐10846




Form Attached                Previously Waived                                Required Reports/Documents

            X                                      {   }                      Comparative Balance Sheet (Form 2‐B)
            X                                      {   }                      Profit and Loss Statement (Form 2‐C)
            X                                      {   }                      Cash Receipt & Disbursements Statement (Form 2‐D)
            X                                      {   }                      Quarterly Fee (Form 2‐D)
            X                                      {   }                      Supporting Schedules‐ AP Aging, AR Aging, Insurance (Form 2‐E)
            X                                      {   }                      Narrative (Form 2‐F)
                                                                              Copies of Bank Statements with ALL pages of the Statement and Reconciliations of Bank
             X                                       { }                      Balance to Book Balance for all Accounts.
Utilize Acrobat Adobe bookmarking function to easily navigate the document.

                                   Entity Key
ANO                          Archdiocese of New Orleans
SLC                          St. Louis Cathedral
OLG                          Our Lady of Guadalupe
AOL                          Academy of Our Lady
ACHS                         Archbishop Chapelle High School
AHHS                         Archbishop Hannan High School
ARHS                         Archbishop Rummel High School
ASHS                         Archbishop Shaw High School
PJPHS                        Pope John Paul II High School
SCCS                         St. Charles Catholic School
SMSS                         St. Michael's Special School
SSA                          St. Scholastica Acadamy
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The Roman Catholic Church of the Archdiocese of New Orleans
(Debtor‐in‐possession)
Consolidated Balance Sheets

                                                                  April 30, 2020     May 31, 2020      June 30, 2020
Assets
 Cash and cash equivalents                                    $       22,052,676 $      35,171,296 $       51,935,708
 Petty cash                                                                8,014            12,057              3,294
 Grants receivable                                                     1,576,164           301,255            299,350
 Accounts receivable, net                                             16,007,926        14,492,336         12,799,554
 Accounts receivable‐ tuition and fees, net                           18,060,873        22,315,009          6,587,924
 Prepaid expenses                                                      1,061,499         1,067,409          1,848,464
 Other current assets                                                     49,680            12,835             73,216
 Pledges receivable, net                                                 518,664           477,685            408,605
 Loans receivable from Affiliates, net                                56,959,172        56,948,777         56,478,165
 Investments                                                         272,921,040       282,147,987        288,694,051
 Inventory                                                               201,848           205,667            229,807
 Property, plant, and equipment, net                                 130,963,335       130,603,569        130,311,445
 Other assets                                                            122,000           122,000            122,000
 Beneficial interest in charitable remainder trust                       380,721           380,721            440,653

             Total assets                                     $      520,883,613 $     544,258,602 $      550,232,236

Liabilities and Net Assets
  Accounts payable (Post‐petition)                            $              ‐   $         705,031 $        1,232,548
  Accrued expenses                                                    10,435,689         8,493,219          8,930,172
  Custodial Funds (agency payables)                                    1,200,103         1,302,508          1,267,256
  Deferred tuition and fees                                           23,031,469        36,231,110         37,405,713
  Liabilities subject to compromise (Pre‐petition)
   Accounts payable (Pre‐petition)                                     2,507,583         2,380,383          1,736,193
   Obligations under capital lease                                       995,706           991,975            989,248
   Bonds payable, net                                                 40,075,264        40,690,584         40,690,584
   Accrued pension liability                                          44,732,295        44,882,295         45,032,295
 PPP Cares Act loan (forgiveable loan)                                 5,487,281         5,487,281          5,487,281
 Accrued liability for self‐insured claims                            10,373,785        10,192,714         10,686,804
 Deposits payable to affiliates                                      105,471,112       117,656,958        120,440,678
 Funds held for affiliates                                           125,290,089       122,459,309        126,892,073

             Total liabilities                                       369,600,377       391,473,367        400,790,845

Net assets
 Without donor restrictions                                          119,004,173       119,490,204        118,745,100
 With donor restrictions                                              32,279,063        33,295,031         30,696,291
Total net assets                                                     151,283,236       152,785,236        149,441,391
             Total liabilities and net assets                 $      520,883,613 $     544,258,602 $      550,232,236
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The Roman Catholic Church of the Archdiocese of New Orleans
(Debtor‐in‐possession)
Consolidated Income Statements


                                                                   April 30, 2020         May 31, 2020       June 30, 2020

Revenue, Gains, and Other Support
 Assessments to affiliated entities
   Archdiocesan support                                        $           195,974 $             720,975 $          793,974
   Priest health insurance and retirement                                  230,303               230,304            230,303
   Insurance income                                                      2,296,854             2,741,164          3,012,453
 Fee revenue                                                               176,465               243,818            500,036
 Contributions and grants                                                  321,825               288,442           (101,589)
  Tuition and Fees, net                                                    (22,209)               10,689           (303,448)
 Student activities                                                          3,297                 2,409             17,006
 Student services income                                                    52,881               144,711              3,555
 Church income                                                              54,253                67,284             72,402
 Rental income and royalties                                                89,397                87,747             81,421
 Fundraising and development                                               506,826               231,107            232,549
 Interest income‐ deposit and loan fund                                    174,558               180,199            174,598
 Special events income                                                      20,760                14,280              1,650
 Investment income, net                                                    356,514               356,514            356,514
 Other income                                                              411,710               297,836            364,263
Total income                                                             4,869,407             5,617,479          5,435,687

Expenses
 Program:
   Ministries                                                            1,382,390             1,351,585          1,603,856
   Supporting service to parishes and other related agencies             4,636,067             1,846,347          1,912,676
   Instructional                                                         1,640,380             1,755,488          2,525,615
   Auxiliary services                                                      165,137               326,748            403,793
 Suppporting services:
   Administration                                                        1,103,097             1,347,528          2,085,893
   Development and fundraising                                             161,444               152,418            138,251
 Operations and Maintenance of Plant                                       526,662               351,173            648,646
 Other                                                                      65,013                38,704            129,959
 Reorganization costs                                                      483,005               615,319            149,694
Total expenses                                                          10,163,196             7,785,310          9,598,383

Non‐operating revenues (expenses)
 Investment income, net                                                  5,159,913             4,026,345          2,122,556
   Less spending distribution                                             (356,514)             (356,514)          (356,514)
 Investment income, net of spending distribution                         4,803,399             3,669,831          1,766,042

Change in net assets                                                      (490,390)            1,502,000          (2,396,654)

Net Assets
 Beginning balance                                                     151,773,625           151,283,236        151,838,045
 Ending balance                                                $       151,283,236 $         152,785,235 $      149,441,391

Reconciliation of Net Assets from 5/31/20 to 6/1/20:
Net assets ending balance 5/31/20, as reported                                        $      152,785,235
Adjustment: to remove Investment that was incorrectly
included on SMSS that was subsequently determined to
be a custodial asset of third party organization.                                               (947,191)

Net assets beginning balance 6/1/20                                                   $      151,838,045
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Cash Receipts and Disbursements Statement

Case name                                                                      The Roman Catholic Church of the Archdiocese of New Orleans
Case number                                                                    20‐10846

For Period June 1 to June 31, 2020

Cash Reconciliation                                                                               Amount
1. Beginning Cash Balance                                                                         $   35,171,295.53

2. Cash Receipts                                                                                  $     50,631,510.19

3. Cash Disbursements                                                                             $    (33,867,097.28)

4. Net Cash Flow                                                                                  $     16,764,412.91

5. Ending Cash Balance                                                                            $     51,935,708.44

Cash Summary ‐ Ending Balance                                                  Entity             Amount*                Financial Institution
Fifth District Savings Bank ‐ 6344                                             AOL                $      178,811.50      Fifth District Savings Bank
Gulf Coast Bank and Trust Operating ‐ 1492                                     AOL                $      998,023.98      Gulf Coast Bank and Trust
Gulf Coast Bank and Trust Payroll ‐ 7654                                       AOL                $              ‐       Gulf Coast Bank and Trust
Gulf Coast Bank and Trust Tuition Lending ‐ 6054                               AOL                $    1,176,873.58      Gulf Coast Bank and Trust
Gulf Coast Bank and Trust Tution Reserve ‐ 0011                                AOL                $    2,309,451.13      Gulf Coast Bank and Trust
Regions Business Checking‐ 6073                                                AOL                $      144,707.83      Regions
Payroll Account‐ 2440                                                          ASHS               $         7,901.75     First Bank & Trust
Current Year Tuition‐ 3085                                                     ASHS               $    1,334,086.29      First Bank & Trust
Tuition Loans Current Year‐ 0007                                               ASHS               $    1,733,798.55      First Bank & Trust
MM/Operating Year‐ 9162                                                        ASHS               $      986,539.76      First Bank & Trust
General Operating‐ 2429                                                        ASHS               $       (22,154.86)    First Bank & Trust
Tuition Reserve ‐ 0437                                                         SCCS               $      579,321.31      First Bank & Trust
FBT Operating ‐ 3063                                                           SCCS               $    1,371,189.05      First Bank & Trust
F A Operating ‐ 0502                                                           SCCS               $      879,900.16      First American Bank
Payroll ‐ 1377                                                                 SCCS               $            84.14     First American Bank
QB Club ‐ 7036                                                                 SCCS               $        28,031.30     First National Bank USA
Payroll and Utilities ‐ 5678                                                   SCCS               $        95,487.13     First Bank & Trust
Operating Account ‐ 1514                                                       ACHS               $      221,619.00      First Bank & Trust
Tuition Endowment ‐ 1745                                                       ACHS               $        27,416.77     First Bank & Trust
Online Giving ‐ 2809                                                           ACHS               $        72,058.46     First Bank & Trust
Gaming Acct ‐ 3293                                                             ACHS               $             0.08     First Bank & Trust
Next Year Cash ‐ 4967                                                          ACHS               $      174,350.10      First Bank & Trust
Tuition Borrower Loan Funds ‐ 0184                                             ACHS               $    2,772,516.33      First Bank & Trust
PPP ‐ 5667                                                                     ACHS               $             4.36     First Bank & Trust
 Operating ‐ 8545                                                              AHHS               $    1,058,801.56      First Bank & Trust
Tuition Savings Account ‐ 8861                                                 AHHS               $              ‐       First Bank & Trust
Payroll‐ 8501                                                                  AHHS               $              ‐       First Bank & Trust
Tuition Resreve Account‐ 0079                                                  AHHS               $    1,471,907.52      First Bank & Trust
PPP Escrow‐ 5700                                                               AHHS               $              ‐       First Bank & Trust
Operating‐ 8055                                                                PJPHS              $      602,306.86      First Bank & Trust
Reserve Loan‐ 0271                                                             PJPHS              $      616,381.68      First Bank & Trust
Savings‐ 3199                                                                  PJPHS              $      322,372.93      First Bank & Trust
Checking‐ 4242                                                                 PJPHS              $      522,364.05      First Bank & Trust
FBT Day Camp‐2887                                                              ARHS               $        96,364.97     First Bank & Trust
FBT Merchant Acct ‐ 2876                                                       ARHS               $        16,724.22     First Bank & Trust
FBT Online Advancement ‐ 2832                                                  ARHS               $        11,199.71     First Bank & Trust
FBT Online Band ‐ 2854                                                         ARHS               $         6,837.01     First Bank & Trust
FBT Online Fundraising ‐ 2865                                                  ARHS               $         1,687.27     First Bank & Trust
FBT Online Student Services ‐ 2843                                             ARHS               $         7,039.85     First Bank & Trust
FBT Operating ‐ 2799                                                           ARHS               $      213,018.54      First Bank & Trust
FBT Online Tuition/Fees ‐ 2777                                                 ARHS               $        76,511.59     First Bank & Trust
FBT Payroll ‐ 2821                                                             ARHS               $        29,316.41     First Bank & Trust
FBT Tuition Restricted ‐ 0431                                                  ARHS               $    2,654,848.02      First Bank & Trust
FBT Money Market ‐ 2755                                                        ARHS               $      809,907.07      First Bank & Trust
Operating Account‐ 3693                                                        SMSS               $      122,105.17      First Bank & Trust
Pay Pal ‐ 1481                                                                 SMSS               $              ‐       First Bank & Trust
Money Market Account‐ 9129                                                     SMSS               $      245,437.32      First Bank & Trust
Payroll Account‐ 9602                                                          SMSS               $              ‐       First Bank & Trust
Operating‐ 3404                                                                SMSS               $      435,901.05      First Bank & Trust
Capital Funds‐ 1509                                                            SMSS               $      366,488.00      Gulf Coast Bank & Trust Company
St Scholastica Academy Commercial Checking ‐ 3106                              SSA                $        24,928.77     Capital One
Regular Checking ‐ 6217                                                        SSA                $        37,055.41     Capital One
St. Scholastica Academy Commercial Checking ‐ 4776                             SSA                $      375,374.83      Capital One
Tuition Money Manager Account ‐ 8457                                           SSA                $      192,333.45      First Bank & Trust
As Custodian for Tuition Borrower Loan Funds ‐ 0067                            SSA                $    1,192,449.18      First Bank & Trust
Operating for AP ‐ 3065                                                        SSA                $    3,417,525.46      Home Bank
Operating Account ‐ 4366                                                       SSA                $              ‐       First Bank & Trust
St. Scholastica Academy Account ‐ 2054                                         SSA                $         4,882.37     Raymond James
Operating‐ 3736                                                                SLC                $      410,816.99      Capital One
Operating‐ 9250                                                                SLC                $      419,132.19      Capital One
Cambon‐ 3604                                                                   SLC                $        56,466.18     Capital One
St. Anthony Garden‐ 3744                                                       SLC                $      160,251.67      Capital One
Gift Shop‐ 3728                                                                SLC                $        13,427.63     Capital One
Operating‐ 4318                                                                OLG                $        53,384.59     Hancock Whitney
Payroll‐ 9614                                                                  ANO                $        (2,767.84)    First Bank & Trust
Operating‐ 2118                                                                ANO                $   19,268,378.43      Whitney
Checking‐ 9680                                                                 ANO                $        42,123.10     First Bank & Trust
Business Check Card Acct‐ 9625                                                 ANO                $         2,000.00     First Bank & Trust
Insurance‐ 3664                                                                ANO                $         3,045.97     Capital One
Care & Compassion‐ 2402                                                        ANO                $         2,725.44     Capital One
Retirement‐ 2718                                                               ANO                $      369,016.38      Whitney
Savings‐ 5245                                                                  ANO                $      111,602.69      Liberty Bank
Employee Insurance Fund‐ 0766                                                  ANO                $      554,017.05      Whitney
Employee insruance‐ 8597                                                       ANO                $      470,000.00      BMO Harris

Total                                                                                             $     51,935,708.44



Inter‐Account Transfers (Disbursements)                                                           $     17,168,575.33

Adjusted Cash Disbursements                                                                       Amount*
                                                                                                  $   16,698,521.95



*Note: This amount should be used to determine UST quarterly fees due and agree with Form 2‐D
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Cash Receipts Journal
Cash Name                        The Roman Catholic Church of the Archdiocese of New Orleans
Case Number                      20‐10846




Entity Key   Account Name        Account # Ending in   Date           Description(Source)*                  Amount            Inter‐account Transfer
ANO          Payroll Account            9614               6/3/2020   Transfer from X9680                   $          552.50 X
ANO          Payroll Account            9614               6/4/2020   Transfer from X9680                   $      241,379.36 X
ANO          Payroll Account            9614              6/10/2020   Transfer from X9680                   $          552.50 X
ANO          Payroll Account            9614              6/17/2020   Transfer from X9680                   $          552.50 X
ANO          Payroll Account            9614              6/19/2020   Transfer from X9680                   $      296,424.41 X
ANO          Payroll Account            9614              6/24/2020   Transfer from X9680                   $          552.50 X
ANO          Payroll Account            9614              6/25/2020   Transfer from X9680                   $       19,708.15 X
ANO          Payroll Account            9614              6/29/2020   Transfer from X9680                   $       78,499.38 X
ANO          Payroll Account            9614              6/30/2020   Transfer from X9680                   $          577.36 X
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $       52,776.00
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $        3,869.41
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $        1,500.00
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $          858.40
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $        1,000.00
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $        1,712.50
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $        1,353.00
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $      211,182.37
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $          993.65
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $          292.25
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $          185.42
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $          245.00
ANO          Operating Account          2118               6/1/2020   Deposit and Loan Fund                 $        3,755.00
ANO          Operating Account          2118               6/1/2020   LEGAL RECEIVABLES                     $           16.75
ANO          Operating Account          2118               6/1/2020   SALARY REIMBURSEMENTs                 $        2,407.00
ANO          Operating Account          2118               6/1/2020   SALARY REIMBURSEMENTs                 $        4,767.67
ANO          Operating Account          2118               6/1/2020   SALARY REIMBURSEMENTs                 $        4,252.71
ANO          Operating Account          2118               6/1/2020   MISCELLANEOUS RECEIVABLES             $        5,776.65
ANO          Operating Account          2118               6/1/2020   ELEVATOR RECEIVABLES                  $          732.03
ANO          Operating Account          2118               6/1/2020   RENT RECEIVABLES                      $       11,515.67
ANO          Operating Account          2118               6/1/2020   RENT RECEIVABLES                      $        2,000.00
ANO          Operating Account          2118               6/1/2020   RENT RECEIVABLES                      $        3,009.09
ANO          Operating Account          2118               6/1/2020   HOLY LAND DONATIONS                   $          725.00
ANO          Operating Account          2118               6/1/2020   DONATIONS                             $        1,613.00
ANO          Operating Account          2118               6/1/2020   BISHOPS APPEAL                        $          612.00
ANO          Operating Account          2118               6/1/2020   HOLY LAND DONATIONS                   $          625.00
ANO          Operating Account          2118               6/1/2020   Catholic Charities Collection         $           20.00
ANO          Operating Account          2118               6/1/2020   DONATIONS                             $           20.00
ANO          Operating Account          2118               6/1/2020   CATHOLIC HOME MISSION                 $           25.00
ANO          Operating Account          2118               6/1/2020   MILITARY COLLECTION                   $          145.00
ANO          Operating Account          2118               6/1/2020   DONATIONS                             $        2,000.00
ANO          Operating Account          2118               6/1/2020   HOLY LAND DONATIONS                   $          298.00
ANO          Operating Account          2118               6/1/2020   BISHOPS APPEAL                        $          127.00
ANO          Operating Account          2118               6/1/2020   Catholic Charities Collection         $           60.00
ANO          Operating Account          2118               6/1/2020   BISHOPS APPEAL                        $          817.39
ANO          Operating Account          2118               6/1/2020   HOLY LAND DONATIONS                   $          505.00
ANO          Operating Account          2118               6/1/2020   CATHOLIC HOME MISSION                 $          283.00
ANO          Operating Account          2118               6/1/2020   DONATIONS                             $        1,395.00
ANO          Operating Account          2118               6/1/2020   PASTORAL SOLIDARITY FUND FOR AFRICA   $        2,028.13
ANO          Operating Account          2118               6/1/2020   DONATIONS                             $          195.00
ANO          Operating Account          2118               6/1/2020   EASTERN EUROPE                        $           28.00
ANO          Operating Account          2118               6/1/2020   BISHOPS APPEAL                        $           23.00
ANO          Operating Account          2118               6/1/2020   CATHOLIC HOME MISSION                 $            7.00
ANO          Operating Account          2118               6/1/2020   HOLY LAND DONATIONS                   $          350.00
ANO          Operating Account          2118               6/1/2020   RELIGIOUS RETIREMENT                  $          200.00
ANO          Operating Account          2118               6/1/2020   HOLY LAND DONATIONS                   $          200.00
ANO          Operating Account          2118               6/1/2020   DONATIONS                             $           27.00
ANO          Operating Account          2118               6/1/2020   WORKSHOP INCOME                       $           30.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          100.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          800.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          100.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          100.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          100.00
ANO          Operating Account          2118               6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $          200.00
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $       20,305.32
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $        2,009.00
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $           15.00
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $        3,000.00
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $          200.00
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $           48.75
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $        3,455.25
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $        2,738.25
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $          347.25
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $          100.00
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $          466.00 Y
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $          597.50 Y
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $       19,898.47
ANO          Operating Account          2118               6/1/2020   INTERNET RECEIVABLE                   $          150.00
ANO          Operating Account          2118               6/1/2020   SMYTH NELSON INCOME                   $        2,652.89
ANO          Operating Account          2118               6/1/2020   MISCELLANEOUS INCOME                  $           20.30
ANO          Operating Account          2118               6/1/2020   INSURANCE CLAIMS ‐ ALL                $          167.13
ANO          Operating Account          2118               6/1/2020   ST JOSEPH SEMINARY                    $        3,581.00
ANO          Operating Account          2118               6/1/2020   DONATIONS                             $       50,000.00
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ANO   Operating Account   2118    6/1/2020   DEFERRED REVENUE                    $       2,811.00
ANO   Operating Account   2118    6/1/2020   DONATIONS ‐ NEWSLETTER              $         320.00
ANO   Operating Account   2118    6/1/2020   DONATIONS                           $       1,000.00
ANO   Operating Account   2118    6/1/2020   DONATIONS ‐ SUNDAY                  $         185.00
ANO   Operating Account   2118    6/1/2020   ACCP INCOME                         $          60.00
ANO   Operating Account   2118    6/1/2020   OUTSIDE COUNSELING                  $         830.00
ANO   Operating Account   2118    6/1/2020   FINGERPRINTING INCOME               $         116.00
ANO   Operating Account   2118    6/1/2020   FINGERPRINTING INCOME               $         164.00
ANO   Operating Account   2118    6/1/2020   OTHER RECEIVABLES                   $         123.91
ANO   Operating Account   2118    6/1/2020   Deposit and Loan Fund               $         200.00
ANO   Operating Account   2118    6/1/2020   Deposit and Loan Fund               $         200.00
ANO   Operating Account   2118    6/1/2020   ELEVATOR RECEIVABLES                $       4,248.75
ANO   Operating Account   2118    6/1/2020   Deposit and Loan Fund               $       3,496.00
ANO   Operating Account   2118    6/1/2020   Deposit and Loan Fund               $       1,000.00
ANO   Operating Account   2118    6/1/2020   Deposit and Loan Fund               $         600.00
ANO   Operating Account   2118    6/1/2020   INTERNET RECEIVABLE                 $       1,979.25
ANO   Operating Account   2118    6/1/2020   ACCOUNTING ASSISTANCE RECEIVABLE    $         200.00
ANO   Operating Account   2118    6/1/2020   HOLY LAND DONATIONS                 $       3,287.00
ANO   Operating Account   2118    6/1/2020   BISHOPS APPEAL                      $       1,267.00
ANO   Operating Account   2118    6/1/2020   DONATIONS                           $       2,878.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       1,950.25
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       1,950.25
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,806.94
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      42,262.92
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       1,917.08
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       3,240.85
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         129.44
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         514.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       3,599.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         514.24
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       5,348.76
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,547.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         540.91
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       4,027.07
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      17,697.34
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       3,189.50
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      35,430.91
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,333.34
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      20,713.41
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         793.80
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       1,944.87
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,738.67
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,644.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $          66.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,644.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $          66.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         617.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       5,735.00
ANO   Operating Account   2118    6/1/2020   SCHOOL VOUCHERS                     $           8.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       5,639.05
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         430.02
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         162.80
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,049.58
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      13,435.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       1,000.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      20,202.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $          19.14
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       1,728.15
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       4,444.34
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      31,107.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         644.46
ANO   Operating Account   2118    6/1/2020   INSURANCE RECEIVAB                  $       3,891.92
ANO   Operating Account   2118    6/1/2020   INSURANCE RECEIVAB                  $           0.11
ANO   Operating Account   2118    6/1/2020   INSURANCE RECEIVAB                  $         881.89
ANO   Operating Account   2118    6/1/2020   INSURANCE RECEIVAB                  $           0.15
ANO   Operating Account   2118    6/1/2020   INSURANCE RECEIVAB                  $         816.00
ANO   Operating Account   2118    6/1/2020   INSURANCE RECEIVAB                  $         705.49
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      36,341.49
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       2,500.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $          72.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      13,845.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         314.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         373.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         259.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       3,000.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       7,000.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       3,000.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $       5,000.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $         586.00
ANO   Operating Account   2118    6/1/2020   PARISH ASSESSMENT                   $      34,691.02
ANO   Operating Account   2118    6/1/2020   POF quarterly investment transfer   $      50,000.00
ANO   Operating Account   2118    6/2/2020   Deposit and Loan Fund               $         108.00
ANO   Operating Account   2118    6/2/2020   Deposit and Loan Fund               $         184.00
ANO   Operating Account   2118    6/3/2020   Deposit and Loan Fund               $     162,631.00   Y
ANO   Operating Account   2118    6/3/2020   Deposit and Loan Fund               $     500,000.00   Y
ANO   Operating Account   2118    6/3/2020   Deposit and Loan Fund               $     530,000.00   Y
ANO   Operating Account   2118    6/3/2020   Retreat income                      $       1,032.64
ANO   Operating Account   2118    6/4/2020   Deposit and Loan Fund               $     250,000.00   Y
ANO   Operating Account   2118    6/4/2020   Deposit and Loan Fund               $     350,000.00   Y
ANO   Operating Account   2118    6/4/2020   Deposit and Loan Fund               $     500,000.00   Y
ANO   Operating Account   2118    6/4/2020   Deposit and Loan Fund               $      90,375.00
ANO   Operating Account   2118    6/4/2020   Counseling income                   $         106.00
ANO   Operating Account   2118    6/5/2020   Health Insurance Continuation       $       2,004.23
ANO   Operating Account   2118    6/5/2020   Deposit and Loan Fund               $   1,000,000.00   Y
ANO   Operating Account   2118    6/5/2020   Deposit and Loan Fund               $      10,028.33
ANO   Operating Account   2118    6/8/2020   Deposit and Loan Fund               $     500,000.00
ANO   Operating Account   2118    6/8/2020   Deposit and Loan Fund               $     500,000.00   Y
ANO   Operating Account   2118    6/8/2020   IT E‐Rate program income            $     211,065.60
ANO   Operating Account   2118    6/9/2020   Health Insurance Continuation       $         253.30
ANO   Operating Account   2118    6/9/2020   Deposit and Loan Fund               $     248,000.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund               $       3,318.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund               $       4,671.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund               $       4,442.71
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund               $      77,332.34
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund               $      25,000.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund               $      19,583.34   Y
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund               $       2,207.45
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ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $     3,572.84
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $     4,950.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $    50,000.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $    10,000.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $     5,000.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $   456,436.50
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $   280,000.00
ANO   Operating Account   2118   6/10/2020   Restricted Donation                    $     1,788.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $        30.00 Y
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $     7,500.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $     2,510.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $       300.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $        50.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $    50,000.00
ANO   Operating Account   2118   6/10/2020   BLACK & INDIAN HOME MISSIONS           $    50,800.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $       500.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $       246.00
ANO   Operating Account   2118   6/10/2020   RENT RECEIVABLES                       $     4,111.92
ANO   Operating Account   2118   6/10/2020   INTERNET RECEIVABLE                    $        15.00
ANO   Operating Account   2118   6/10/2020   Payment for duplicate check            $     2,550.00
ANO   Operating Account   2118   6/10/2020   PRIESTS & RELIGIOUS                    $       450.00
ANO   Operating Account   2118   6/10/2020   NOTRE DAME SEMINARY                    $    22,344.98
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       600.00
ANO   Operating Account   2118   6/10/2020   MISCELLANEOUS RECEIVABLES              $     4,690.00
ANO   Operating Account   2118   6/10/2020   RELIGIOUS RETIREMENT                   $     2,832.00
ANO   Operating Account   2118   6/10/2020   Catholic Charities Collection          $        65.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $     1,061.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $        40.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $        74.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $     1,447.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       360.00 Y
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       871.35
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       370.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $     1,479.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       225.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $     2,810.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $       887.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $       251.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $       795.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $        20.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $       840.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $        94.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $     2,640.60
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $     2,557.25
ANO   Operating Account   2118   6/10/2020   CHURCH IN LATIN AMERICA                $        40.00
ANO   Operating Account   2118   6/10/2020   Catholic Charities Collection          $        40.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $        95.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $        50.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $        40.00
ANO   Operating Account   2118   6/10/2020   CATHOLIC COMMUNICATION                 $        40.00
ANO   Operating Account   2118   6/10/2020   Payable ‐ Pontifical Mission Society   $        40.00
ANO   Operating Account   2118   6/10/2020   Campaign for Human Development         $        40.00
ANO   Operating Account   2118   6/10/2020   RELIGIOUS RETIREMENT                   $        40.00
ANO   Operating Account   2118   6/10/2020   Catholic Schools Collection            $        40.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $     1,355.00
ANO   Operating Account   2118   6/10/2020   EASTERN EUROPE                         $        40.00
ANO   Operating Account   2118   6/10/2020   CATHOLIC UNIVERSITY OF AMERICA         $        40.00
ANO   Operating Account   2118   6/10/2020   MILITARY COLLECTION                    $        40.00
ANO   Operating Account   2118   6/10/2020   Payable ‐ Pontifical Mission Society   $        40.00
ANO   Operating Account   2118   6/10/2020   BLACK & INDIAN HOME MISSIONS           $       105.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $     1,464.00
ANO   Operating Account   2118   6/10/2020   RICE BOWL COLLECTIO                    $       913.78
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $       492.45
ANO   Operating Account   2118   6/10/2020   RICE BOWL COLLECTIO                    $       492.45
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $       746.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $       293.00
ANO   Operating Account   2118   6/10/2020   RELIGIOUS RETIREMENT                   $       920.00
ANO   Operating Account   2118   6/10/2020   RICE BOWL COLLECTIO                    $        92.84
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $        55.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $       413.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       365.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $       187.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       640.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $       344.50
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $       457.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $       977.00
ANO   Operating Account   2118   6/10/2020   CATHOLIC HOME MISSION                  $       223.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $        25.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $       597.00
ANO   Operating Account   2118   6/10/2020   MILITARY COLLECTION                    $         5.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $     1,951.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $         1.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $       678.00
ANO   Operating Account   2118   6/10/2020   RICE BOWL COLLECTIO                    $       189.00
ANO   Operating Account   2118   6/10/2020   MILITARY COLLECTION                    $        30.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $        73.00
ANO   Operating Account   2118   6/10/2020   Catholic Schools Collection            $       100.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $       556.00
ANO   Operating Account   2118   6/10/2020   Catholic Charities Collection          $       100.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $        55.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $       141.00
ANO   Operating Account   2118   6/10/2020   Payable ‐ Pontifical Mission Society   $        10.00
ANO   Operating Account   2118   6/10/2020   PASTORAL SOLIDARITY FUND FOR AFRICA    $       100.00
ANO   Operating Account   2118   6/10/2020   RICE BOWL COLLECTIO                    $        95.00
ANO   Operating Account   2118   6/10/2020   Campaign for Human Development         $         9.00
ANO   Operating Account   2118   6/10/2020   Catholic Charities Collection          $     2,319.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $       320.00
ANO   Operating Account   2118   6/10/2020   Catholic Schools Collection            $     3,173.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $       600.00
ANO   Operating Account   2118   6/10/2020   PASTORAL SOLIDARITY FUND FOR AFRICA    $     1,433.00
ANO   Operating Account   2118   6/10/2020   BLACK & INDIAN HOME MISSIONS           $         5.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                         $       221.05
ANO   Operating Account   2118   6/10/2020   Catholic Schools Collection            $        80.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                              $     3,514.25
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION               $     1,520.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                    $       350.00
ANO   Operating Account   2118   6/10/2020   MILITARY COLLECTION                    $       130.00
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ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                                 $      100.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                            $      105.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $      621.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $       70.00
ANO   Operating Account   2118   6/10/2020   MILITARY COLLECTION                            $        5.00
ANO   Operating Account   2118   6/10/2020   Catholic Schools Collection                    $       10.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                            $       53.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $      722.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $    1,003.00
ANO   Operating Account   2118   6/10/2020   Catholic Charities Collection                  $    1,725.00
ANO   Operating Account   2118   6/10/2020   PASTORAL SOLIDARITY FUND FOR AFRICA            $    1,067.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                            $       37.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                            $      211.20
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $    1,866.00
ANO   Operating Account   2118   6/10/2020   PASTORAL SOLIDARITY FUND FOR AFRICA            $      100.00
ANO   Operating Account   2118   6/10/2020   Catholic Charities Collection                  $    5,182.88
ANO   Operating Account   2118   6/10/2020   Catholic Schools Collection                    $    3,105.33
ANO   Operating Account   2118   6/10/2020   INTERNET RECEIVABLE                            $    5,658.00
ANO   Operating Account   2118   6/10/2020   INTERNET RECEIVABLE                            $   10,515.58
ANO   Operating Account   2118   6/10/2020   INTERNET RECEIVABLE                            $   25,012.12
ANO   Operating Account   2118   6/10/2020   INTERNET RECEIVABLE                            $    8,629.50 Y
ANO   Operating Account   2118   6/10/2020   INTERNET RECEIVABLE                            $      321.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      400.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   EIF Stop Loss 300k+ Payment                    $   13,053.92
ANO   Operating Account   2118   6/10/2020   MISCELLANEOUS RECEIVABLES                      $    4,690.00
ANO   Operating Account   2118   6/10/2020   PRIESTS CONTINUING EDUCATION ‐ RETREATS        $      500.00
ANO   Operating Account   2118   6/10/2020   PRINTED MATTER SALE                            $      845.00
ANO   Operating Account   2118   6/10/2020   FINGERPRINTING INCOME                          $      174.00
ANO   Operating Account   2118   6/10/2020   FINGERPRINTING INCOME                          $      348.00
ANO   Operating Account   2118   6/10/2020   FINGERPRINTING INCOME                          $      290.00
ANO   Operating Account   2118   6/10/2020   FINGERPRINTING INCOME                          $      116.00
ANO   Operating Account   2118   6/10/2020   FINGERPRINTING INCOME                          $      116.00
ANO   Operating Account   2118   6/10/2020   FINGERPRINTING INCOME                          $      116.00
ANO   Operating Account   2118   6/10/2020   GENERAL DONATIONS                              $    2,650.00
ANO   Operating Account   2118   6/10/2020   PRAYER ENROLLMENTS                             $      215.00
ANO   Operating Account   2118   6/10/2020   MAINTENANCE DONATIONS                          $      250.00
ANO   Operating Account   2118   6/10/2020   DONATIONS ‐ COMMUNITY SERVICES                 $      600.00
ANO   Operating Account   2118   6/10/2020   DONATIONS ‐ HISPANIC CHILDREN'S SCHOLARSHIPS   $      500.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $       65.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $      250.00
ANO   Operating Account   2118   6/10/2020   DONATIONS ‐ COMMUNITY SERVICES                 $      210.00
ANO   Operating Account   2118   6/10/2020   DONATIONS ‐ HISPANIC CHILDREN'S SCHOLARSHIPS   $      500.00
ANO   Operating Account   2118   6/10/2020   CAMP ABBEY RETREAT FEES                        $   13,255.00
ANO   Operating Account   2118   6/10/2020   CAMP ABBEY ‐ SUMMER CAMP FEES                  $      570.00
ANO   Operating Account   2118   6/10/2020   OUTSIDE COUNSELING                             $    1,170.00
ANO   Operating Account   2118   6/10/2020   DONATIONS ‐ SUNDAY                             $      350.00
ANO   Operating Account   2118   6/10/2020   DONATIONS ‐ SaintMakers                        $       35.00
ANO   Operating Account   2118   6/10/2020   DONATIONS ‐ DEVELOPMENT                        $      110.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $      600.00
ANO   Operating Account   2118   6/10/2020   ACCP INCOME                                    $       60.00
ANO   Operating Account   2118   6/10/2020   ACCP INCOME                                    $      560.00
ANO   Operating Account   2118   6/10/2020   ACCP INCOME                                    $       60.00
ANO   Operating Account   2118   6/10/2020   DEFERRED REVENUE                               $    1,233.14
ANO   Operating Account   2118   6/10/2020   RESEARCH FEES                                  $      125.00
ANO   Operating Account   2118   6/10/2020   MISCELLANEOUS INCOME                           $      216.00
ANO   Operating Account   2118   6/10/2020   MISCELLANEOUS RECEIVABLES                      $      175.66
ANO   Operating Account   2118   6/10/2020   MISCELLANEOUS RECEIVABLES                      $       84.58
ANO   Operating Account   2118   6/10/2020   INSURANCE CLAIMS ‐ ALL                         $       50.00
ANO   Operating Account   2118   6/10/2020   OTHER RECEIVABLES                              $      167.46
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $      200.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $      332.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $      200.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $    2,000.00
ANO   Operating Account   2118   6/10/2020   RICE BOWL COLLECTIO                            $       20.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $       65.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   INTERNET RECEIVABLE                            $      212.25
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $      135.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $   10,399.21
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $      236.76
ANO   Operating Account   2118   6/10/2020   BLACK & INDIAN HOME MISSIONS                   $        5.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $       35.00
ANO   Operating Account   2118   6/10/2020   BISHOPS APPEAL                                 $       90.00
ANO   Operating Account   2118   6/10/2020   HOLY LAND DONATIONS                            $       55.00
ANO   Operating Account   2118   6/10/2020   DONATIONS                                      $      495.00
ANO   Operating Account   2118   6/10/2020   MILITARY COLLECTION                            $       30.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $      700.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $    3,010.44
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $       75.00
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                          $      250.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $      396.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $       15.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $      300.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $    1,279.00
ANO   Operating Account   2118   6/10/2020   PETER'S PENCE COLLECTION                       $      318.00
ANO   Operating Account   2118   6/10/2020   OTHER RECEIVABLES                              $       68.43
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   ACCOUNTING ASSISTANCE RECEIVABLE               $      200.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                              $      346.67
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                              $   13,827.00
ANO   Operating Account   2118   6/10/2020   SCHOOL VOUCHERS                                $    1,400.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                              $    1,950.25
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                              $    2,000.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                              $    1,526.50
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                              $   16,083.50
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                              $   11,540.58
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ANO   Operating Account   2118   6/10/2020   SCHOOL VOUCHERS          $     1,400.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     5,639.05
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       430.02
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       162.80
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    13,820.65
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,456.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       300.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,500.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $        62.32
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       137.68
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $        96.00
ANO   Operating Account   2118   6/10/2020   Parish Flood Insurance   $       140.00
ANO   Operating Account   2118   6/10/2020   Parish Flood Insurance   $       308.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     9,826.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     7,878.98
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,213.00
ANO   Operating Account   2118   6/10/2020   Parish Flood Insurance   $       734.02
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     2,000.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    10,128.83 Y
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $    29,454.35
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       500.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       696.66
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       940.80
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       826.14
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       696.66
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       940.80
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       653.94
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        41.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     4,500.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    22,483.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,328.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $         1.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       233.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    29,492.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       644.46
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       514.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     3,599.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    22,601.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     2,154.99
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,235.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     2,385.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,736.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    36,504.84
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    10,644.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     2,856.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     3,240.85
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       129.44
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       160.85
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       557.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       252.70
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    47,688.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     4,366.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,254.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     2,131.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    15,772.33
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    10,482.12
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       876.76
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       741.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     2,547.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     4,670.50
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    21,487.75
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $         8.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    17,697.34
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       647.61
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     6,753.86
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       187.40
ANO   Operating Account   2118   6/10/2020   SCHOOL VOUCHERS          $       280.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     7,500.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       694.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    10,689.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,956.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     1,263.08
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $         0.04
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    10,717.12
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $         0.92
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $   161,768.76
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    51,520.19
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $     6,700.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       245.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $       367.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $        20.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    16,750.00 Y
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT        $    24,813.90
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        40.75
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        27.62
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        93.68
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       435.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        56.63
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $     1,934.04
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $     5,704.58
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       205.42
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       137.67
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        63.83
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       275.92
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       119.92
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       240.75
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       113.83
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        58.92
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        58.92
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $        64.58
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       190.68
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       316.63
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       104.17
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       104.17
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       282.10
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       296.08
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB       $       296.08
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ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       222.33
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       227.75
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       153.25
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       232.33
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       122.33
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       481.95
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $        60.96
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       254.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       538.08
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       317.16
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       142.33
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,139.50
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,222.06
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       734.30
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,421.58
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,421.58
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,421.58
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,445.23
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,017.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $       504.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,083.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,214.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     1,433.65
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       443.66
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    15,630.41
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     2,049.58
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       994.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    16,592.01
ANO   Operating Account   2118   6/10/2020   SCHOOL VOUCHERS                        $       350.00
ANO   Operating Account   2118   6/10/2020   SCHOOL VOUCHERS                        $       350.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    12,094.42
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     1,239.75
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    32,123.09
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       447.66
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     3,553.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    64,614.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    23,196.01
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       228.75
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       257.50
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       295.50
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       243.58
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       243.58
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $        67.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       243.58
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       124.92
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       166.42
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       270.83
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       270.83
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       124.92
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       142.33
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    11,197.76
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     1,035.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    11,197.76
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     1,035.00
ANO   Operating Account   2118   6/10/2020   INSURANCE RECEIVAB                     $     7,334.00 Y
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $    10,000.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     3,499.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     1,989.53
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     1,264.87
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     7,000.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     3,500.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     7,328.66
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     1,009.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     1,284.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       707.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       586.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $       586.00
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $     6,683.90
ANO   Operating Account   2118   6/10/2020   PARISH ASSESSMENT                      $        59.18
ANO   Operating Account   2118   6/10/2020   Retreat Center income                  $       566.67
ANO   Operating Account   2118   6/10/2020   Deposit and Loan Fund                  $     9,625.00
ANO   Operating Account   2118   6/10/2020   Blackbaud general donation             $       276.36
ANO   Operating Account   2118   6/11/2020   Deposit and Loan Fund ‐ Loan Payment   $       914.05
ANO   Operating Account   2118   6/12/2020   Deposit and Loan Fund                  $   163,800.00
ANO   Operating Account   2118   6/16/2020   Deposit and Loan Fund ‐ Loan Payment   $       308.46
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $    60,000.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $     4,987.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $     4,931.97
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $       500.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $     1,000.00
ANO   Operating Account   2118   6/18/2020   Community of Deacons income            $       225.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $    25,423.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $    10,558.04
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $     1,000.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $    10,000.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                  $   136,436.83
ANO   Operating Account   2118   6/18/2020   SEMINARIAN ASSIST                      $       500.00
ANO   Operating Account   2118   6/18/2020   LEGAL RECEIVABLES                      $     1,150.52
ANO   Operating Account   2118   6/18/2020   RENT RECEIVABLES                       $     1,000.00
ANO   Operating Account   2118   6/18/2020   RENT RECEIVABLES                       $    11,515.67
ANO   Operating Account   2118   6/18/2020   RENT RECEIVABLES                       $     3,689.01
ANO   Operating Account   2118   6/18/2020   RENT RECEIVABLES                       $     4,111.92
ANO   Operating Account   2118   6/18/2020   POSTAGE RECEIVABLES                    $       306.15
ANO   Operating Account   2118   6/18/2020   Clearing                               $     1,277.07
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                    $     1,099.00
ANO   Operating Account   2118   6/18/2020   MISCELLANEOUS RECEIVABLES              $     1,000.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $       500.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $       200.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $       200.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $       200.00 Y
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $       600.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                    $     2,937.45
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                    $        15.75
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                    $     1,089.50
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                    $     1,900.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                    $     4,240.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                    $     3,991.50
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ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $     2,332.50
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $     1,449.75
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $       789.75
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $       775.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $       882.75
ANO   Operating Account   2118   6/18/2020   MILITARY COLLECTION                     $       250.00
ANO   Operating Account   2118   6/18/2020   RICE BOWL COLLECTIO                     $       482.00
ANO   Operating Account   2118   6/18/2020   BISHOPS APPEAL                          $     1,385.00
ANO   Operating Account   2118   6/18/2020   PASTORAL SOLIDARITY FUND FOR AFRICA     $        87.00
ANO   Operating Account   2118   6/18/2020   PASTORAL SOLIDARITY FUND FOR AFRICA     $       179.00
ANO   Operating Account   2118   6/18/2020   HOLY LAND DONATIONS                     $       611.00
ANO   Operating Account   2118   6/18/2020   HOLY LAND DONATIONS                     $        85.00
ANO   Operating Account   2118   6/18/2020   HOLY LAND DONATIONS                     $        60.00
ANO   Operating Account   2118   6/18/2020   HOLY LAND DONATIONS                     $     1,519.00
ANO   Operating Account   2118   6/18/2020   HOLY LAND DONATIONS                     $       572.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $     1,190.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $       323.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $        55.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $        40.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $     1,677.31
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       200.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       250.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       247.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       310.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       105.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       194.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $        75.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       734.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $     1,978.74
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       665.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       145.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $     1,045.00
ANO   Operating Account   2118   6/18/2020   EASTERN EUROPE                          $         5.00
ANO   Operating Account   2118   6/18/2020   BISHOPS APPEAL                          $        15.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $     1,049.00
ANO   Operating Account   2118   6/18/2020   HOLY LAND DONATIONS                     $        55.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       198.00
ANO   Operating Account   2118   6/18/2020   BISHOPS APPEAL                          $        25.00
ANO   Operating Account   2118   6/18/2020   RICE BOWL COLLECTIO                     $        72.19
ANO   Operating Account   2118   6/18/2020   BISHOPS APPEAL                          $        25.00
ANO   Operating Account   2118   6/18/2020   RICE BOWL COLLECTIO                     $        55.12
ANO   Operating Account   2118   6/18/2020   BISHOPS APPEAL                          $       303.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $       784.00
ANO   Operating Account   2118   6/18/2020   CHURCH IN LATIN AMERICA                 $       285.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       849.00
ANO   Operating Account   2118   6/18/2020   RICE BOWL COLLECTIO                     $       900.00
ANO   Operating Account   2118   6/18/2020   Catholic Schools Collection             $       250.00
ANO   Operating Account   2118   6/18/2020   Catholic Charities Collection           $       427.00
ANO   Operating Account   2118   6/18/2020   PASTORAL SOLIDARITY FUND FOR AFRICA     $       525.00
ANO   Operating Account   2118   6/18/2020   BISHOPS APPEAL                          $       100.00
ANO   Operating Account   2118   6/18/2020   HOLY LAND DONATIONS                     $       227.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $       250.00
ANO   Operating Account   2118   6/18/2020   RELIGIOUS RETIREMENT                    $        20.00
ANO   Operating Account   2118   6/18/2020   POSTAGE RECEIVABLES                     $        16.77
ANO   Operating Account   2118   6/18/2020   OTHER RECEIVABLES ‐ GUARDIAN            $        21.50
ANO   Operating Account   2118   6/18/2020   OTHER RECEIVABLES ‐ Medical insurance   $       131.72
ANO   Operating Account   2118   6/18/2020   FEE INCOME                              $       200.00
ANO   Operating Account   2118   6/18/2020   FINGERPRINTING INCOME                   $       174.00
ANO   Operating Account   2118   6/18/2020   FINGERPRINTING INCOME                   $       348.00
ANO   Operating Account   2118   6/18/2020   FINGERPRINTING INCOME                   $       232.00
ANO   Operating Account   2118   6/18/2020   FINGERPRINTING INCOME                   $       232.00
ANO   Operating Account   2118   6/18/2020   CONVENTION EXPENSE                      $       185.00
ANO   Operating Account   2118   6/18/2020   FEE INCOME‐PORT FEES                    $     2,000.00
ANO   Operating Account   2118   6/18/2020   OUTSIDE COUNSELING                      $     1,560.00
ANO   Operating Account   2118   6/18/2020   PARISH FAMILY MINISTRY                  $        30.00
ANO   Operating Account   2118   6/18/2020   MARRIAGE PREPARATION                    $        35.00
ANO   Operating Account   2118   6/18/2020   DEFERRED REVENUE                        $       634.00
ANO   Operating Account   2118   6/18/2020   MARRIAGE PREPARATION                    $       143.75
ANO   Operating Account   2118   6/18/2020   ACCP INCOME                             $       440.00
ANO   Operating Account   2118   6/18/2020   ACCP INCOME                             $        60.00
ANO   Operating Account   2118   6/18/2020   ACCP INCOME                             $       200.00
ANO   Operating Account   2118   6/18/2020   OTHER RECEIVABLES                       $        71.50
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $       200.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $       103.02
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $       252.70
ANO   Operating Account   2118   6/18/2020   SCHOOL SUBSIDIES CONTRIBUTIONS          $       106.90
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $        70.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $     2,700.00 Y
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $    13,714.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $        90.00
ANO   Operating Account   2118   6/18/2020   MILITARY COLLECTION                     $        96.00
ANO   Operating Account   2118   6/18/2020   RENT RECEIVABLES                        $     6,243.62
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $     3,331.43
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $       300.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $        15.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $       600.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       657.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $        15.00
ANO   Operating Account   2118   6/18/2020   FINGERPRINTING INCOME                   $       348.00
ANO   Operating Account   2118   6/18/2020   FINGERPRINTING INCOME                   $       232.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $    20,446.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       500.00
ANO   Operating Account   2118   6/18/2020   SALARY REIMBURSEMENTS                   $       750.00
ANO   Operating Account   2118   6/18/2020   MILITARY COLLECTION                     $        50.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $       415.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $   350,000.00
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $    23,746.50
ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                   $     6,355.58
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $       683.70
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $        34.50
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                     $     3,583.50
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       345.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       430.00
ANO   Operating Account   2118   6/18/2020   PETER'S PENCE COLLECTION                $       662.00
ANO   Operating Account   2118   6/18/2020   DONATIONS                               $     4,527.68
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ANO   Operating Account   2118   6/18/2020   DONATIONS                          $      950.00
ANO   Operating Account   2118   6/18/2020   SEMINARIAN ASSIST                  $      500.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE   $      200.00
ANO   Operating Account   2118   6/18/2020   INTERNET RECEIVABLE                $      140.00
ANO   Operating Account   2118   6/18/2020   MILITARY COLLECTION                $      268.00
ANO   Operating Account   2118   6/18/2020   ACCOUNTING ASSISTANCE RECEIVABLE   $      200.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,950.25
ANO   Operating Account   2118   6/18/2020   SCHOOL VOUCHERS                    $    1,392.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,250.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,047.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      671.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    5,350.01
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $       86.33
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $       86.33
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $       86.33
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      127.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      127.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $   20,444.26
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    2,547.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      600.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    7,544.16
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $   11,267.86
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      707.00
ANO   Operating Account   2118   6/18/2020   SCHOOL VOUCHERS                    $    4,900.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      951.50
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      521.50
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      951.50
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,274.45
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,503.54
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,738.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,474.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    2,785.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,240.85
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      129.44
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    2,049.58
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $   29,052.23
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    6,378.68
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    4,567.98
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $   39,038.98
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    5,639.05
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      162.80
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      430.02
ANO   Operating Account   2118   6/18/2020   Parish Flood Insurance             $       94.00
ANO   Operating Account   2118   6/18/2020   Parish Flood Insurance             $       94.00
ANO   Operating Account   2118   6/18/2020   Parish Flood Insurance             $    2,121.98
ANO   Operating Account   2118   6/18/2020   Parish Flood Insurance             $    2,688.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,321.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,321.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,500.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $      830.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    1,720.83
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    1,250.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $   51,963.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $   53,620.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    4,201.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $       89.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    3,211.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $   38,377.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $   37,083.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    2,278.59
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    2,278.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    5,148.33
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    2,837.13
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    3,631.45
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    2,208.70
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      303.04
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      534.46
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    4,000.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    5,321.59
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    5,321.59
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    5,321.59
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      291.90
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    5,029.69
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    7,329.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $      123.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    2,400.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $    7,834.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $   44,210.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $      100.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $   18,145.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    2,670.30
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,465.54
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    6,666.50
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    8,011.75
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,288.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $       12.01
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $   13,045.76
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,092.70
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,020.30
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    4,712.23
ANO   Operating Account   2118   6/18/2020   SCHOOL VOUCHERS                    $      350.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      347.46
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      457.38
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      223.63
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      441.99
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      429.31
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,321.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    1,321.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      129.44
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,240.85
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $   29,480.00
ANO   Operating Account   2118   6/18/2020   INSURANCE RECEIVAB                 $      571.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,000.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    3,720.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $      586.00
ANO   Operating Account   2118   6/18/2020   PARISH ASSESSMENT                  $    7,000.00
ANO   Operating Account   2118   6/18/2020   Retreat Center income              $      260.64
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ANO   Operating Account   2118   6/18/2020   Deposit and Loan Fund                             $    90,375.00
ANO   Operating Account   2118   6/18/2020   Blackbaud general donation                        $        97.14
ANO   Operating Account   2118   6/19/2020   Deposit and Loan Fund                             $        76.00
ANO   Operating Account   2118   6/19/2020   Deposit and Loan Fund                             $       174.00
ANO   Operating Account   2118   6/19/2020   Deposit and Loan Fund                             $       850.00
ANO   Operating Account   2118   6/22/2020   Deposit and Loan Fund                             $       184.54
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $         5.00
ANO   Operating Account   2118   6/23/2020   DEFERRED REVENUE                                  $     1,660.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $        15.00
ANO   Operating Account   2118   6/23/2020   ACCP INCOME                                       $        20.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                                         $        50.00
ANO   Operating Account   2118   6/23/2020   DONATIONS ‐ HISPANIC CHILDREN'S SCHOLARSHIPS      $       400.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                                         $        65.00
ANO   Operating Account   2118   6/23/2020   DONATIONS ‐ COMMUNITY SERVICES                    $       165.00
ANO   Operating Account   2118   6/23/2020   DONATIONS ‐ HISPANIC CHILDREN'S SCHOLARSHIPS      $       300.00
ANO   Operating Account   2118   6/23/2020   DONATIONS ‐ SUNDAY                                $       310.00
ANO   Operating Account   2118   6/23/2020   Restricted Donation                               $     1,250.00
ANO   Operating Account   2118   6/23/2020   TULANE CATHOLIC RETREATS                          $         1.50
ANO   Operating Account   2118   6/23/2020   DONATIONS ‐ SaintMakers                           $        50.00
ANO   Operating Account   2118   6/23/2020   DONATIONS ‐ NEWSLETTER                            $        50.00
ANO   Operating Account   2118   6/23/2020   CONVENTION EXPENSE                                $       350.00
ANO   Operating Account   2118   6/23/2020   GRANT EXPENSES ‐ EEF                              $     3,550.00
ANO   Operating Account   2118   6/23/2020   FINGERPRINTING INCOME                             $       174.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       307.95
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       100.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $        35.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       509.25
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       350.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $        15.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       140.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       350.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $     3,500.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       120.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $     8,250.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       350.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $       500.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $     1,111.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                             $     6,009.47
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $    19,817.87
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $       303.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       400.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $     1,971.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       250.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       400.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       250.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $     1,414.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $       344.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   POSTAGE RECEIVABLES                               $       214.20
ANO   Operating Account   2118   6/23/2020   PRINTED MATTER SALE                               $        60.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     2,310.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                                         $        10.00
ANO   Operating Account   2118   6/23/2020   HOLY LAND DONATIONS                               $       176.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       800.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     4,950.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       415.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                             $     2,472.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $    15,000.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       100.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       100.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $     1,064.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION                          $        10.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                             $     2,620.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                             $     1,600.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $     1,860.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       265.00   Y
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $       942.00
ANO   Operating Account   2118   6/23/2020   Catholic Schools Collection                       $       199.00
ANO   Operating Account   2118   6/23/2020   Active Priest Medical Expense ‐ Medical Co‐Pays   $       649.00
ANO   Operating Account   2118   6/23/2020   OTHER RECEIVABLES                                 $        85.08
ANO   Operating Account   2118   6/23/2020   EIF Stop Loss 300k+ Payment                       $    64,427.62
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       140.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     1,629.45
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     2,320.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     2,000.00
ANO   Operating Account   2118   6/23/2020   Clearing                                          $       955.00   Y
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $    12,640.00   Y
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     4,000.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     7,347.44
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $       500.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $    20,447.98
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $     4,000.00   Y
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $    11,000.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                             $   164,728.00
ANO   Operating Account   2118   6/23/2020   Clearing                                          $       500.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION                          $       369.00   Y
ANO   Operating Account   2118   6/23/2020   Catholic Charities Collection                     $     2,232.00   Y
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       200.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE                  $       400.00
ANO   Operating Account   2118   6/23/2020   Catholic Charities Collection                     $     1,801.90
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       265.00   Y
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       265.00   Y
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $       100.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $       250.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                               $     2,019.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                               $       304.00
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ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         200.00
ANO   Operating Account   2118   6/23/2020   BISHOPS APPEAL                         $          65.00
ANO   Operating Account   2118   6/23/2020   HOLY LAND DONATIONS                    $         124.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $         246.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION               $         284.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $         338.00
ANO   Operating Account   2118   6/23/2020   HOLY LAND DONATIONS                    $          18.85
ANO   Operating Account   2118   6/23/2020   RICE BOWL COLLECTIO                    $          77.36
ANO   Operating Account   2118   6/23/2020   HOLY LAND DONATIONS                    $         145.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $         260.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION               $         415.00
ANO   Operating Account   2118   6/23/2020   ELEVATOR RECEIVABLES                   $         590.10
ANO   Operating Account   2118   6/23/2020   ELEVATOR RECEIVABLES                   $         495.00
ANO   Operating Account   2118   6/23/2020   BISHOPS APPEAL                         $         600.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION               $         810.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $         417.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $       1,015.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         400.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $         450.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $       1,596.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION               $         746.50
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $           5.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $         606.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         200.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $          35.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $         250.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                  $       2,407.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         200.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $         365.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION               $         776.00
ANO   Operating Account   2118   6/23/2020   HOLY LAND DONATIONS                    $         165.00
ANO   Operating Account   2118   6/23/2020   BLACK & INDIAN HOME MISSIONS           $           5.00
ANO   Operating Account   2118   6/23/2020   CATHOLIC COMMUNICATION                 $           5.00
ANO   Operating Account   2118   6/23/2020   Campaign for Human Development         $          10.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $         756.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $         770.00
ANO   Operating Account   2118   6/23/2020   Payable ‐ Pontifical Mission Society   $           5.00
ANO   Operating Account   2118   6/23/2020   BISHOPS APPEAL                         $         110.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                  $       2,414.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         200.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $         130.00
ANO   Operating Account   2118   6/23/2020   CATHOLIC HOME MISSION                  $          10.00
ANO   Operating Account   2118   6/23/2020   RELIGIOUS RETIREMENT                   $         648.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $           5.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION               $         705.00
ANO   Operating Account   2118   6/23/2020   PASTORAL SOLIDARITY FUND FOR AFRICA    $       1,488.00
ANO   Operating Account   2118   6/23/2020   BISHOPS APPEAL                         $       1,652.00
ANO   Operating Account   2118   6/23/2020   HOLY LAND DONATIONS                    $       1,542.00
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $       3,730.00
ANO   Operating Account   2118   6/23/2020   PETER'S PENCE COLLECTION               $       1,787.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                  $          75.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                  $       2,382.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         200.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         200.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $         265.00 Y
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $         350.00
ANO   Operating Account   2118   6/23/2020   BUILDING OFFICE FEE REC.               $          64.99
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                  $           0.85
ANO   Operating Account   2118   6/23/2020   CAMP ABBEY ‐ SUMMER CAMP FEES          $       1,365.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $         445.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         200.00
ANO   Operating Account   2118   6/23/2020   ACCOUNTING ASSISTANCE RECEIVABLE       $         400.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $         967.10
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                  $       1,257.00
ANO   Operating Account   2118   6/23/2020   Clearing                               $      10,821.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                  $         686.12
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                  $       1,500.00
ANO   Operating Account   2118   6/23/2020   SALARY REIMBURSEMENTS                  $       1,847.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                  $      20,803.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $         125.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                  $         586.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                  $         586.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $         196.00
ANO   Operating Account   2118   6/23/2020   RICE BOWL COLLECTIO                    $         466.30
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $          35.00
ANO   Operating Account   2118   6/23/2020   MILITARY COLLECTION                    $         585.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $          30.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                  $   1,589,656.54
ANO   Operating Account   2118   6/23/2020   DONATIONS                              $       3,396.00
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $           4.50
ANO   Operating Account   2118   6/23/2020   INTERNET RECEIVABLE                    $         250.00 Y
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $      32,677.48
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       6,935.52
ANO   Operating Account   2118   6/23/2020   SCHOOL VOUCHERS                        $       3,850.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $         364.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       2,418.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $         741.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       1,417.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $      20,202.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       4,933.26
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       2,632.81
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       1,317.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       2,049.58
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       5,160.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       2,663.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       4,812.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       4,580.13
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       1,860.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       6,000.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $      14,240.42
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $         306.58
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $          61.75
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $         220.17
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $         317.17
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       2,000.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $      41,760.87
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                      $       1,379.00
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ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     2,036.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       471.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     5,873.32
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     1,288.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     5,321.59
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       510.37
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    20,988.78
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       778.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       260.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     1,521.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       155.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       160.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       227.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     6,733.10
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     2,208.70
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       303.04
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    19,555.17
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     1,017.10
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     5,639.05
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       162.80
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       430.02
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     6,049.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     1,523.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    44,782.00
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $     7,581.17   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $     2,129.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $     2,301.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $     2,396.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $       807.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $     3,806.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $    66,896.55
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $       798.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $    18,528.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $    65,103.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $     1,358.00   Y
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $     5,085.00   Y
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    14,592.08
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     1,359.88
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    14,559.48
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     2,547.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    38,704.26
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    13,330.46
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     2,707.23
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       644.46
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    80,893.87
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    16,879.50
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     1,788.00
ANO   Operating Account   2118   6/23/2020   SCHOOL VOUCHERS                         $       350.00
ANO   Operating Account   2118   6/23/2020   SCHOOL VOUCHERS                         $       350.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       512.00
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $        20.70
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $       269.30
ANO   Operating Account   2118   6/23/2020   INSURANCE RECEIVAB                      $       371.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     3,000.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     1,000.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $    14,631.00
ANO   Operating Account   2118   6/23/2020   SCHOOL VOUCHERS                         $     1,050.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     5,357.00
ANO   Operating Account   2118   6/23/2020   PARISH ASSESSMENT                       $     2,559.00
ANO   Operating Account   2118   6/23/2020   Deposit and Loan Fund                   $     1,909.50
ANO   Operating Account   2118   6/25/2020   Retreat Center income                   $       125.84
ANO   Operating Account   2118   6/25/2020   Deposit and Loan Fund                   $   500,000.00
ANO   Operating Account   2118   6/25/2020   Deposit and Loan Fund                   $     9,625.00
ANO   Operating Account   2118   6/25/2020   Deposit and Loan Fund                   $    11,756.65
ANO   Operating Account   2118   6/25/2020   Blackbaud general donation              $       145.84
ANO   Operating Account   2118   6/26/2020   PARISH FAMILY MINISTRY                  $       500.00
ANO   Operating Account   2118   6/26/2020   FINGERPRINTING INCOME                   $        58.00
ANO   Operating Account   2118   6/26/2020   YOUTH TRIP INCOME                       $     6,379.02
ANO   Operating Account   2118   6/26/2020   ACCP INCOME                             $        20.00
ANO   Operating Account   2118   6/26/2020   ACCP INCOME                             $       100.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $       300.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $     3,609.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $     7,500.00
ANO   Operating Account   2118   6/26/2020   PRAYER ENROLLMENTS                      $       280.00
ANO   Operating Account   2118   6/26/2020   RETREAT INCOME ‐ DAYS OF PRAYER         $        50.00
ANO   Operating Account   2118   6/26/2020   OUTSIDE COUNSELING                      $     1,735.00
ANO   Operating Account   2118   6/26/2020   PRIESTS & RELIGIOUS                     $     2,000.00
ANO   Operating Account   2118   6/26/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/26/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/26/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/26/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/26/2020   SALARY REIMBURSEMENTS                   $     2,407.00
ANO   Operating Account   2118   6/26/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/26/2020   PASTORAL SOLIDARITY FUND FOR AFRICA     $       665.00
ANO   Operating Account   2118   6/26/2020   Catholic Charities Collection           $     1,389.00
ANO   Operating Account   2118   6/26/2020   BISHOPS APPEAL                          $       160.00
ANO   Operating Account   2118   6/26/2020   DONATIONS                               $       445.00
ANO   Operating Account   2118   6/26/2020   MILITARY COLLECTION                     $       290.00
ANO   Operating Account   2118   6/26/2020   DONATIONS                               $       232.00
ANO   Operating Account   2118   6/26/2020   PETER'S PENCE COLLECTION                $       110.00
ANO   Operating Account   2118   6/26/2020   BISHOPS APPEAL                          $        40.00
ANO   Operating Account   2118   6/26/2020   HOLY LAND DONATIONS                     $       103.02
ANO   Operating Account   2118   6/26/2020   OTHER RECEIVABLES ‐ GUARDIAN            $       209.11
ANO   Operating Account   2118   6/26/2020   OTHER RECEIVABLES ‐ Medical insurance   $     1,067.96
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $       188.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $     4,913.00
ANO   Operating Account   2118   6/26/2020   ACCOUNTING ASSISTANCE RECEIVABLE        $       200.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $     8,886.80
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $     3,808.63
ANO   Operating Account   2118   6/26/2020   PETER'S PENCE COLLECTION                $       202.00
ANO   Operating Account   2118   6/26/2020   INTERNET RECEIVABLE                     $        15.00
ANO   Operating Account   2118   6/26/2020   MILITARY COLLECTION                     $       275.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $       200.00
ANO   Operating Account   2118   6/26/2020   MILITARY COLLECTION                     $     1,711.00
ANO   Operating Account   2118   6/26/2020   PETER'S PENCE COLLECTION                $       511.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $     2,710.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund                   $     3,375.00
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ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund              $    2,710.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund              $    2,134.39   Y
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund              $   25,000.00   Y
ANO   Operating Account   2118   6/26/2020   RENT RECEIVABLES                   $      500.00
ANO   Operating Account   2118   6/26/2020   RENT RECEIVABLES                   $   16,803.26
ANO   Operating Account   2118   6/26/2020   Catholic Charities Collection      $      337.00
ANO   Operating Account   2118   6/26/2020   PETER'S PENCE COLLECTION           $      105.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund              $    2,180.00
ANO   Operating Account   2118   6/26/2020   MISCELLANEOUS RECEIVABLES          $    1,000.00
ANO   Operating Account   2118   6/26/2020   INTERNET RECEIVABLE                $      860.47
ANO   Operating Account   2118   6/26/2020   SUMMER PROGRAM INS                 $      202.50
ANO   Operating Account   2118   6/26/2020   SUMMER PROGRAM INS                 $    1,125.00
ANO   Operating Account   2118   6/26/2020   SUMMER PROGRAM INS                 $      504.00
ANO   Operating Account   2118   6/26/2020   SUMMER PROGRAM INS                 $    2,430.00
ANO   Operating Account   2118   6/26/2020   INTERNET RECEIVABLE                $      250.00
ANO   Operating Account   2118   6/26/2020   MISCELLANEOUS RECEIVABLES          $      414.17
ANO   Operating Account   2118   6/26/2020   MISCELLANEOUS RECEIVABLES          $      348.19
ANO   Operating Account   2118   6/26/2020   MILITARY COLLECTION                $      956.00
ANO   Operating Account   2118   6/26/2020   MILITARY COLLECTION                $      327.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund              $   57,955.00
ANO   Operating Account   2118   6/26/2020   OTHER RECEIVABLES                  $      661.50
ANO   Operating Account   2118   6/26/2020   MILITARY COLLECTION                $       19.00
ANO   Operating Account   2118   6/26/2020   Campaign for Human Development     $      574.00
ANO   Operating Account   2118   6/26/2020   INTERNET RECEIVABLE                $       70.00
ANO   Operating Account   2118   6/26/2020   Deposit and Loan Fund              $      600.00
ANO   Operating Account   2118   6/26/2020   ACCOUNTING ASSISTANCE RECEIVABLE   $      400.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $   34,630.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,471.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    7,670.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    6,978.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $   15,465.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    2,970.00
ANO   Operating Account   2118   6/26/2020   SCHOOL VOUCHERS                    $       76.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,132.00
ANO   Operating Account   2118   6/26/2020   SCHOOL VOUCHERS                    $      381.00   Y
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    6,129.00   Y
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    3,275.00   Y
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    6,900.00   Y
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $   30,701.89
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    3,167.05
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      250.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,374.17
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,865.36
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,538.46
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $   10,149.51
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      296.08
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      122.33
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $   14,037.34
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $       95.77
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      644.46
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      967.94
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,138.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      906.80
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      886.50
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      185.28
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      141.75
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      135.42
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    3,240.85
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      129.44
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $   16,217.18
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,012.25
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,191.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,781.38
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    2,396.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    3,115.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    2,187.00
ANO   Operating Account   2118   6/26/2020   Parish Flood Insurance             $        0.02
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    1,950.25
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $    2,710.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      396.00
ANO   Operating Account   2118   6/26/2020   SCHOOL VOUCHERS                    $      605.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      931.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                  $      778.00
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $    4,325.21
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $    1,934.03
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $    5,704.61
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      205.42
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      137.67
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $       63.83
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      965.68
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      119.92
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      240.75
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      113.83
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $       58.92
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $       58.92
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $       64.58
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      190.68
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $    3,317.08
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      104.14
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      104.14
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      282.10
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      296.08
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      296.08
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      222.33
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      227.75
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      153.25
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      232.33
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      122.33
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      481.95
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $       60.96
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      254.00
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      538.08
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      317.16
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      142.33
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      129.38
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $      695.00
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                 $    3,137.00
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ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $         232.17
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $         232.17
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $         149.00
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $         734.30
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $          99.34
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $       1,534.00
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $          29.08
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $       4,480.00
ANO   Operating Account   2118   6/26/2020   INSURANCE RECEIVAB                    $      41,761.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $      13,845.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $         314.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $         390.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $         277.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $          76.50
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       3,263.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       1,921.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       8,204.00
ANO   Operating Account   2118   6/26/2020   SCHOOL VOUCHERS                       $         350.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       1,309.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       1,138.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $      15,000.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $         710.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       1,499.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       2,191.00
ANO   Operating Account   2118   6/26/2020   PARISH ASSESSMENT                     $       1,743.67
ANO   Operating Account   2118   6/26/2020   FY20‐21 first quarter assessment      $      21,395.00
ANO   Operating Account   2118   6/26/2020   Subsidy repayment                     $      50,000.00
ANO   Operating Account   2118   6/29/2020   OTHER RECEIVABLES                     $       1,368.14
ANO   Operating Account   2118   6/29/2020   SEMINARIAN ASSIST                     $         500.00
ANO   Operating Account   2118   6/29/2020   OUTSIDE COUNSELING                    $      14,055.00
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         200.00
ANO   Operating Account   2118   6/29/2020   Clearing                              $     581,061.00
ANO   Operating Account   2118   6/29/2020   SMYTH NELSON INCOME                   $       1,022.34
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $         102.00
ANO   Operating Account   2118   6/29/2020   INTERNET RECEIVABLE                   $         321.00
ANO   Operating Account   2118   6/29/2020   Clearing                              $          86.10
ANO   Operating Account   2118   6/29/2020   EIF Stop Loss 300k+ Payment           $      16,637.16
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         450.33
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         450.33
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $       1,000.00
ANO   Operating Account   2118   6/29/2020   INTERNET RECEIVABLE                   $      15,416.04 Y
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $         801.00
ANO   Operating Account   2118   6/29/2020   PETER'S PENCE COLLECTION              $       1,587.10
ANO   Operating Account   2118   6/29/2020   DONATIONS                             $         195.20
ANO   Operating Account   2118   6/29/2020   HOLY LAND DONATIONS                   $          20.00
ANO   Operating Account   2118   6/29/2020   BISHOPS APPEAL                        $          97.00
ANO   Operating Account   2118   6/29/2020   RELIGIOUS RETIREMENT                  $         100.00
ANO   Operating Account   2118   6/29/2020   PASTORAL SOLIDARITY FUND FOR AFRICA   $         120.78
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         400.00
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         200.00
ANO   Operating Account   2118   6/29/2020   MISCELLANEOUS RECEIVABLES             $       4,690.00
ANO   Operating Account   2118   6/29/2020   WORKSHOP INCOME                       $          30.00
ANO   Operating Account   2118   6/29/2020   INSURANCE CLAIMS ‐ ALL                $      18,117.69
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $         500.00
ANO   Operating Account   2118   6/29/2020   HOUSEHOLD UTILITIES                   $         143.40
ANO   Operating Account   2118   6/29/2020   UTILITIES                             $          47.80
ANO   Operating Account   2118   6/29/2020   MISCELLANEOUS RECEIVABLES             $          47.80
ANO   Operating Account   2118   6/29/2020   Catholic Charities Collection         $         350.00
ANO   Operating Account   2118   6/29/2020   DONATIONS                             $       1,855.00
ANO   Operating Account   2118   6/29/2020   INTERNET RECEIVABLE                   $       1,850.00
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         200.00
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $         397.00
ANO   Operating Account   2118   6/29/2020   PETER'S PENCE COLLECTION              $         235.00
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $         200.00
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $       2,631.00
ANO   Operating Account   2118   6/29/2020   DONATIONS                             $         200.00
ANO   Operating Account   2118   6/29/2020   PETER'S PENCE COLLECTION              $       1,600.00
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $       2,000.00
ANO   Operating Account   2118   6/29/2020   INSURANCE CLAIMS ‐ ALL                $       2,000.00
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $       1,000.00
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $   2,375,404.00 Y
ANO   Operating Account   2118   6/29/2020   DONATIONS                             $       2,503.00
ANO   Operating Account   2118   6/29/2020   CATHOLIC HOME MISSION                 $         192.00
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $       1,015.00
ANO   Operating Account   2118   6/29/2020   PETER'S PENCE COLLECTION              $       1,866.00
ANO   Operating Account   2118   6/29/2020   BISHOPS APPEAL                        $         548.62
ANO   Operating Account   2118   6/29/2020   INTERNET RECEIVABLE                   $         100.00
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         200.00
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         200.00
ANO   Operating Account   2118   6/29/2020   RENT RECEIVABLES                      $         200.00
ANO   Operating Account   2118   6/29/2020   INTERNET RECEIVABLE                   $         805.00
ANO   Operating Account   2118   6/29/2020   Clearing                              $         300.00
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $      25,000.00
ANO   Operating Account   2118   6/29/2020   Deposit and Loan Fund                 $         586.00
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $         429.00
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $       4,662.00
ANO   Operating Account   2118   6/29/2020   DONATIONS                             $         230.00
ANO   Operating Account   2118   6/29/2020   CATHOLIC HOME MISSION                 $          87.00
ANO   Operating Account   2118   6/29/2020   BISHOPS APPEAL                        $          61.00
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $          93.25
ANO   Operating Account   2118   6/29/2020   HOLY LAND DONATIONS                   $         108.00
ANO   Operating Account   2118   6/29/2020   PETER'S PENCE COLLECTION              $         175.00
ANO   Operating Account   2118   6/29/2020   MILITARY COLLECTION                   $         776.00
ANO   Operating Account   2118   6/29/2020   RICE BOWL COLLECTIO                   $         658.89
ANO   Operating Account   2118   6/29/2020   ACCOUNTING ASSISTANCE RECEIVABLE      $         642.25
ANO   Operating Account   2118   6/29/2020   INTERNET RECEIVABLE                   $         285.00
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $       4,000.00
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $      12,113.83
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $      11,720.20
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $         528.64
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $      27,903.00
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $      27,600.74
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $       4,444.33
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $       4,323.15
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $       3,178.00
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $         741.00
ANO   Operating Account   2118   6/29/2020   PARISH ASSESSMENT                     $       1,221.00
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ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $       303.04
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     2,208.70
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     5,639.05
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $       162.80
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $       430.02
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     1,500.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     4,251.00
ANO   Operating Account          2118   6/29/2020   SCHOOL VOUCHERS                                            $     1,750.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     2,000.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $        79.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $    17,697.34
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $       229.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     1,309.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     1,050.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     8,309.77
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     6,725.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $    17,455.00
ANO   Operating Account          2118   6/29/2020   SCHOOL VOUCHERS                                            $     1,400.00
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     2,110.23
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $       448.77
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $       251.23
ANO   Operating Account          2118   6/29/2020   PARISH ASSESSMENT                                          $     1,950.25
ANO   Operating Account          2118   6/29/2020   Deposit and Loan Fund                                      $   550,076.03
ANO   Operating Account          2118   6/29/2020   Deposit and Loan Fund                                      $   123,000.00
ANO   Operating Account          2118   6/29/2020   Deposit and Loan Fund                                      $   460,000.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $    20,446.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $   347,965.25
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $    22,266.50
ANO   Operating Account          2118   6/30/2020   PRIEST VACATION VILLA                                      $        83.58
ANO   Operating Account          2118   6/30/2020   MISCELLANEOUS INCOME                                       $       225.00
ANO   Operating Account          2118   6/30/2020   MISCELLANEOUS RECEIVABLES                                  $     4,690.00
ANO   Operating Account          2118   6/30/2020   ELEVATOR RECEIVABLES                                       $     1,313.32
ANO   Operating Account          2118   6/30/2020   ACCOUNTING ASSISTANCE RECEIVABLE                           $       200.00
ANO   Operating Account          2118   6/30/2020   ACCOUNTING ASSISTANCE RECEIVABLE                           $       200.00
ANO   Operating Account          2118   6/30/2020   FINGERPRINTING INCOME                                      $        58.00
ANO   Operating Account          2118   6/30/2020   FINGERPRINTING INCOME                                      $        58.00
ANO   Operating Account          2118   6/30/2020   FINGERPRINTING INCOME                                      $       406.00
ANO   Operating Account          2118   6/30/2020   DONATIONS                                                  $        50.00
ANO   Operating Account          2118   6/30/2020   DONATIONS ‐ COMMUNITY SERVICES                             $       115.00
ANO   Operating Account          2118   6/30/2020   DONATIONS ‐ HISPANIC CHILDREN'S SCHOLARSHIPS               $       310.00
ANO   Operating Account          2118   6/30/2020   DONATIONS                                                  $       800.00
ANO   Operating Account          2118   6/30/2020   ACCP INCOME                                                $        60.00
ANO   Operating Account          2118   6/30/2020   DEFERRED REVENUE                                           $       325.00
ANO   Operating Account          2118   6/30/2020   DEFERRED REVENUE                                           $     5,613.84
ANO   Operating Account          2118   6/30/2020   PRINTED MATTER SALE                                        $       190.00
ANO   Operating Account          2118   6/30/2020   DONATIONS                                                  $       500.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $       600.00
ANO   Operating Account          2118   6/30/2020   INTERNET RECEIVABLE                                        $       135.00
ANO   Operating Account          2118   6/30/2020   MILITARY COLLECTION                                        $     2,011.29
ANO   Operating Account          2118   6/30/2020   INSURANCE RECEIVAB                                         $     1,932.00
ANO   Operating Account          2118   6/30/2020   PARISH ASSESSMENT                                          $     7,944.00
ANO   Operating Account          2118   6/30/2020   PARISH ASSESSMENT                                          $     3,311.00
ANO   Operating Account          2118   6/30/2020   PARISH ASSESSMENT                                          $       729.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $   550,077.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $    20,600.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $   200,000.00   Y
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund ‐ Loan Payment                       $       850.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund ‐ Loan Payment                       $       579.94   Y
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund ‐ Loan Payment                       $       650.00
ANO   Operating Account          2118   6/30/2020   Deposit and Loan Fund                                      $   185,000.00   Y
ANO   Operating Account          2118   6/30/2020   Health Insurance Continuation                              $     2,004.23
ANO   Operating Account          2118   6/30/2020   Monthly interest                                           $       118.20
ANO   Operating Account          2118   6/30/2020   Whitney cash deposit                                       $     2,413.00
ANO   Checking                   9680    6/2/2020   To record Family Life WePay deposit 6.2.2020               $       288.08
ANO   Checking                   9680    6/3/2020   6.3.20 FBT Operating to Payroll Transfer                   $   175,000.00   X
ANO   Checking                   9680    6/6/2020   To record TCC credit card deposits 6.1‐6.6                 $     1,653.60
ANO   Checking                   9680    6/9/2020   To record Family Life WePay deposit 6.9.2020               $     1,668.30
ANO   Checking                   9680   6/10/2020   To record EBO transfer to FBT                              $    27,275.46
ANO   Checking                   9680   6/11/2020   To record TCC credit card deposits 6.7‐6.11                $     1,840.00
ANO   Checking                   9680   6/12/2020   To record TCC credit card deposits 6.12.2020 ‐ 6.17.2020   $     1,313.00
ANO   Checking                   9680   6/16/2020   Family Life WePay deposit 6.16.2020                        $     1,343.55
ANO   Checking                   9680   6/18/2020   6.18.20 Funds transfer from Whit. Op. to FBT Op.           $   300,000.00   X
ANO   Checking                   9680   6/23/2020   Family Life 6.23.2020 WePay deposit                        $       460.73
ANO   Checking                   9680   6/24/2020   6.24.20 FBT Transfer from Whitney Operating                $    78,000.00   X
ANO   Checking                   9680   6/24/2020   To record TCC credit card deposits 6.18 ‐ 6.24             $     1,502.00
ANO   Checking                   9680   6/30/2020   To record Family Life WePay deposit ‐ 6.30.2020            $       523.79
ANO   Checking                   9680   6/30/2020   To record TCC credit card deposits 6.25.2020 ‐ 6.30.2020   $       431.00
ANO   Business Check Card Acct   9625   6/30/2020   Account Funding Transfer                                   $     1,242.27   X
ANO   Insurance                  3664    6/3/2020   Account Funding                                            $    13,845.13    X
ANO   Insurance                  3664    6/5/2020   Account Funding                                            $    21,911.20    X
ANO   Insurance                  3664   6/12/2020   Account Funding                                            $    21,119.91    X
ANO   Insurance                  3664   6/18/2020   Account Funding                                            $    51,989.64    X
ANO   Insurance                  3664   6/24/2020   Account Funding                                            $    24,592.45    X
ANO   Insurance                  3664   6/26/2020   Account Funding                                            $    27,268.13    X
ANO   Insurance                  3664   6/30/2020   Account Funding                                            $    18,009.38    X
ANO   Retirement Account         2718    6/1/2020   Employee Benefit Plan Remittance                           $     8,087.22
ANO   Retirement Account         2718    6/3/2020   Employee Benefit Plan Remittance                           $       567.25
ANO   Retirement Account         2718    6/4/2020   Employee Benefit Plan Remittance                           $       246.47
ANO   Retirement Account         2718    6/4/2020   Employee Benefit Plan Remittance                           $     1,536.19
ANO   Retirement Account         2718    6/4/2020   Employee Benefit Plan Remittance                           $     4,624.52
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $       225.95
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $       403.87
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $       455.64
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $       986.50
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $     1,593.69
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $     1,757.31
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $     5,605.87
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $    14,788.34
ANO   Retirement Account         2718    6/5/2020   Employee Benefit Plan Remittance                           $    26,259.96   X
ANO   Retirement Account         2718    6/8/2020   Employee Benefit Plan Remittance                           $     5,319.03
ANO   Retirement Account         2718    6/9/2020   Employee Benefit Plan Remittance                           $     1,030.62
ANO   Retirement Account         2718    6/9/2020   Employee Benefit Plan Remittance                           $     6,111.78
ANO   Retirement Account         2718   6/10/2020   Employee Benefit Plan Remittance                           $       375.27
ANO   Retirement Account         2718   6/10/2020   Employee Benefit Plan Remittance                           $     6,885.70
ANO   Retirement Account         2718   6/10/2020   Employee Benefit Plan Remittance                           $     9,762.04
ANO   Retirement Account         2718   6/11/2020   Employee Benefit Plan Remittance                           $     1,264.60
ANO   Retirement Account         2718   6/12/2020   Employee Benefit Plan Remittance                           $        32.17
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ANO   Retirement Account   2718   6/12/2020   Employee Benefit Plan Remittance   $    1,372.49
ANO   Retirement Account   2718   6/12/2020   Employee Benefit Plan Remittance   $    9,733.39
ANO   Retirement Account   2718   6/12/2020   Employee Benefit Plan Remittance   $   17,107.34
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      107.18
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      114.73
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      115.87
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      241.70
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      257.38
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      296.11
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      343.17
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      351.58
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      445.20
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      484.91
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      553.41
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      571.50
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      629.81
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      659.21
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      678.58
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      683.52
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      734.31
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      747.54
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      789.41
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      828.46
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $      908.35
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    1,179.49
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    1,328.95
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    1,682.10
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    3,479.00
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    3,550.53
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    4,959.54
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    6,416.54
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    6,482.70
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    6,595.65
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    7,339.10
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    8,087.22
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $    9,478.69
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $   10,795.66
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $   11,873.99
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $   12,220.11
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $   12,566.79
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $   16,213.40
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $   20,300.91
ANO   Retirement Account   2718   6/15/2020   Employee Benefit Plan Remittance   $   23,418.92
ANO   Retirement Account   2718   6/17/2020   Employee Benefit Plan Remittance   $      288.89
ANO   Retirement Account   2718   6/17/2020   Employee Benefit Plan Remittance   $    8,744.39
ANO   Retirement Account   2718   6/18/2020   Employee Benefit Plan Remittance   $      145.97
ANO   Retirement Account   2718   6/18/2020   Employee Benefit Plan Remittance   $    1,536.19
ANO   Retirement Account   2718   6/18/2020   Employee Benefit Plan Remittance   $    1,686.03
ANO   Retirement Account   2718   6/18/2020   Employee Benefit Plan Remittance   $    4,540.54
ANO   Retirement Account   2718   6/19/2020   Employee Benefit Plan Remittance   $      286.67
ANO   Retirement Account   2718   6/19/2020   Employee Benefit Plan Remittance   $      403.87
ANO   Retirement Account   2718   6/19/2020   Employee Benefit Plan Remittance   $      484.73
ANO   Retirement Account   2718   6/19/2020   Employee Benefit Plan Remittance   $      956.50
ANO   Retirement Account   2718   6/19/2020   Employee Benefit Plan Remittance   $    1,858.45
ANO   Retirement Account   2718   6/19/2020   Employee Benefit Plan Remittance   $    5,536.25
ANO   Retirement Account   2718   6/22/2020   Employee Benefit Plan Remittance   $    1,593.69
ANO   Retirement Account   2718   6/22/2020   Employee Benefit Plan Remittance   $   28,632.49 X
ANO   Retirement Account   2718   6/23/2020   Employee Benefit Plan Remittance   $    8,744.39
ANO   Retirement Account   2718   6/24/2020   Employee Benefit Plan Remittance   $       81.42
ANO   Retirement Account   2718   6/25/2020   Employee Benefit Plan Remittance   $      273.75
ANO   Retirement Account   2718   6/25/2020   Employee Benefit Plan Remittance   $      423.48
ANO   Retirement Account   2718   6/25/2020   Employee Benefit Plan Remittance   $    1,111.54
ANO   Retirement Account   2718   6/25/2020   Employee Benefit Plan Remittance   $    1,380.95
ANO   Retirement Account   2718   6/25/2020   Employee Benefit Plan Remittance   $    1,552.94
ANO   Retirement Account   2718   6/25/2020   Employee Benefit Plan Remittance   $    9,315.17
ANO   Retirement Account   2718   6/25/2020   Employee Benefit Plan Remittance   $    9,319.93
ANO   Retirement Account   2718   6/26/2020   Employee Benefit Plan Remittance   $       32.17
ANO   Retirement Account   2718   6/26/2020   Employee Benefit Plan Remittance   $      174.53
ANO   Retirement Account   2718   6/26/2020   Employee Benefit Plan Remittance   $      741.69
ANO   Retirement Account   2718   6/26/2020   Employee Benefit Plan Remittance   $   17,526.82
ANO   Retirement Account   2718   6/29/2020   Employee Benefit Plan Remittance   $    2,256.30
ANO   Retirement Account   2718   6/29/2020   Employee Benefit Plan Remittance   $   28,798.81
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      145.57
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      171.59
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      209.23
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      225.45
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      241.70
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      263.78
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      351.52
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      381.65
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      388.79
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      454.58
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      510.19
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      511.45
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      553.41
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      556.15
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      594.98
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      695.88
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      699.52
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      732.42
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      734.31
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      821.43
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      844.10
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      859.27
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      900.22
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $      988.89
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,022.96
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,064.24
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,221.23
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,328.95
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,342.83
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,451.54
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,490.50
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,510.88
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,520.01
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,631.57
ANO   Retirement Account   2718   6/30/2020   Employee Benefit Plan Remittance   $    1,713.95
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ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     1,716.97
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     3,550.45
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     3,944.43
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     4,986.60
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     5,248.79
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     5,592.66   X
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     5,621.27
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     6,008.45
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     6,482.70
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     7,339.10
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     7,459.33
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     8,433.93
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     9,404.53
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $     9,477.40
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    10,854.97
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    10,886.43
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    11,509.98
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    12,375.00
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    12,578.31
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    13,793.80
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    14,082.75
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    14,171.33
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    21,089.71
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $    21,509.83
ANO   Retirement Account        2718       6/30/2020     Employee Benefit Plan Remittance                               $        66.60
ANO   Savings Account           5245       6/30/2020     Interest Income                                                $        14.67
ANO   EMPLOYEE INSURANCE FUND   0766        6/1/2020     6.1.20 EIF Premium Deposit                                     $    61,941.56
ANO   EMPLOYEE INSURANCE FUND   0766        6/5/2020     6.5.20 EIF Premium Deposit                                     $   446,874.97
ANO   EMPLOYEE INSURANCE FUND   0766       6/12/2020     6.12.20 EIF Premium Deposit                                    $   377,491.28
ANO   EMPLOYEE INSURANCE FUND   0766       6/18/2020     May Captive EIF Reimbursement ‐ Aggregate & Stop Loss          $   808,161.16
ANO   EMPLOYEE INSURANCE FUND   0766       6/22/2020     Whitney Operating Loan to EIF 6.22.20                          $   200,000.00   X
ANO   EMPLOYEE INSURANCE FUND   0766       6/22/2020     6.22.20 EIF Premium Deposit                                    $   433,484.43
ANO   EMPLOYEE INSURANCE FUND   0766   /1/2020 ‐ 6/30/202June 2020 EIF Bank Interest                                    $         7.72
ANO   EMPLOYEE INSURANCE FUND   0766       6/30/2020     UMR Credit to offset claims                                    $     9,860.91
ANO   Employee Insurance        8597        6/2/2020     Funding Transfer from Whitney EIF                              $   130,896.47   X
SLC   Operating Account         3736       6/30/2020     Interest Earned                                                $        17.13
SLC   Operating Account         3736      06/15/2020 Parking convent yard                                               $     4,850.00
SLC   Operating Account         9250      06/30/2020 Void Check #33010                                                  $       280.00
SLC   Operating Account         9250      06/30/2020 Void Check #32480                                                  $       101.21
SLC   Operating Account         9250      06/30/2020 Void Check #32752                                                  $        40.00
SLC   Operating Account         9250      06/30/2020 On‐line Giving                                                     $       103.00
SLC   Operating Account         9250      06/28/2020 Weekly collection; loose collections; candles; donations           $     5,622.00
SLC   Operating Account         9250      06/26/2020 Loose collections; candles; donations                              $       235.92
SLC   Operating Account         9250      06/25/2020 On‐line Giving                                                     $       500.00
SLC   Operating Account         9250      06/23/2020 On‐line Giving                                                     $       203.00
SLC   Operating Account         9250      06/23/2020 DipJar                                                             $       207.86
SLC   Operating Account         9250      06/21/2020 Weekly collections; loose collections; donations                   $     8,782.00
SLC   Operating Account         9250      06/18/2020 On‐line Giving                                                     $       162.47
SLC   Operating Account         9250      06/16/2020 On‐line Giving                                                     $       125.00
SLC   Operating Account         9250      06/15/2020 On‐line Giving                                                     $     1,000.00
SLC   Operating Account         9250      06/15/2020 Weddings, weekly collections, food reimbursement                   $     1,914.89
SLC   Operating Account         9250      06/15/2020 Payroll Reimbursement                                              $    10,813.13   X
SLC   Operating Account         9250      06/14/2020 Weekly collections; loose collections; donations; 2nd collection   $     6,889.00
SLC   Operating Account         9250      06/10/2020 On‐line Giving                                                     $         5.00
SLC   Operating Account         9250      06/09/2020 On‐line Giving                                                     $       125.00
SLC   Operating Account         9250      06/07/2020 Donations ‐ Church Preservation                                    $     6,138.00
SLC   Operating Account         9250      06/07/2020 Weekly collections; loose collections; donations                   $     5,298.00
SLC   Operating Account         9250      06/04/2020 Payroll Reimbursement                                              $     8,066.89   X
SLC   Operating Account         9250      06/03/2020 On‐line Giving                                                     $       100.00
SLC   Operating Account         9250      06/03/2020 On‐line Giving                                                     $       103.00
SLC   Souvenir Shop             3728       6/30/2020     Credit Card Sales                                              $       308.12
SLC   Souvenir Shop             3728       6/30/2020     Cash sales                                                     $       609.71
SLC   Souvenir Shop             3728       6/29/2020     Credit Card Sales                                              $        83.58
SLC   Souvenir Shop             3728       6/29/2020     Credit Card Sales                                              $       111.80
SLC   Souvenir Shop             3728       6/29/2020     Credit Card Sales                                              $       375.04
SLC   Souvenir Shop             3728       6/26/2020     Credit Card Sales                                              $       221.34
SLC   Souvenir Shop             3728       6/24/2020     Credit Card Sales                                              $        26.16
SLC   Souvenir Shop             3728       6/24/2020     Credit Card Sales                                              $       385.58
SLC   Souvenir Shop             3728       6/22/2020     Credit Card Sales                                              $        35.36
SLC   Souvenir Shop             3728       6/22/2020     Credit Card Sales                                              $        74.20
SLC   Souvenir Shop             3728       6/22/2020     Credit Card Sales                                              $       118.58
SLC   Souvenir Shop             3728       6/21/2020     Cash sales                                                     $       731.77
SLC   Souvenir Shop             3728       6/18/2020     Credit Card Sales                                              $        54.63
SLC   Souvenir Shop             3728       6/17/2020     Credit Card Sales                                              $       175.58
SLC   Souvenir Shop             3728       6/16/2020     Credit Card Sales                                              $       274.10
SLC   Souvenir Shop             3728       6/15/2020     Credit Card Sales                                              $       101.06
SLC   Souvenir Shop             3728       6/15/2020     Credit Card Sales                                              $       173.42
SLC   Souvenir Shop             3728       6/10/2020     Cash sales                                                     $       475.40
SLC   Souvenir Shop             3728        6/4/2020     Credit Card Sales                                              $        91.56
SLC   Souvenir Shop             3728        6/2/2020     Credit Card Sales                                              $       195.74
OLG   Operating                 4318      06/01/2020 Weekly envelopes, donations and extra ordinary income              $        25.00
OLG   Operating                 4318      06/01/2020 Church Income:On‐Line Giving                                       $       107.95
OLG   Operating                 4318      06/01/2020 Gift Shop and extra ordinary income                                $     1,377.75
OLG   Operating                 4318      06/01/2020 Weekly envelopes, donations and extra ordinary income              $    18,937.00
OLG   Operating                 4318      06/02/2020 Church Income:On‐Line Giving                                       $        96.35
OLG   Operating                 4318      06/03/2020 Church Income:On‐Line Giving                                       $       619.30
OLG   Operating                 4318      06/04/2020 Church Income:On‐Line Giving                                       $       115.18
OLG   Operating                 4318      06/05/2020 Weekly envelopes, donations and extra ordinary income              $        11.88
OLG   Operating                 4318      06/05/2020 Weekly envelopes, donations and extra ordinary income              $        17.82
OLG   Operating                 4318      06/05/2020 Church Income:On‐Line Giving                                       $       423.55
OLG   Operating                 4318      06/08/2020 Church Income:On‐Line Giving                                       $        24.60
OLG   Operating                 4318      06/09/2020 Church Income:On‐Line Giving                                       $       142.95
OLG   Operating                 4318      06/10/2020 Church Income:On‐Line Giving                                       $       405.87
OLG   Operating                 4318      06/11/2020 Church Income:On‐Line Giving                                       $       419.18
OLG   Operating                 4318      06/11/2020 Weekly envelopes, donations and extra ordinary income              $    11,627.00
OLG   Operating                 4318      06/15/2020 Weekly envelopes, donations and extra ordinary income              $         2.00
OLG   Operating                 4318      06/16/2020 Church Income:On‐Line Giving                                       $       293.32
OLG   Operating                 4318      06/17/2020 Church Income:On‐Line Giving                                       $        19.15
OLG   Operating                 4318      06/18/2020 Church Income:On‐Line Giving                                       $       196.91
OLG   Operating                 4318      06/18/2020 Gift Shop and extra ordinary income                                $     2,346.90
OLG   Operating                 4318      06/18/2020 Weekly envelopes, donations and extra ordinary income              $     8,815.92
OLG   Operating                 4318      06/19/2020 Church Income:On‐Line Giving                                       $       439.42
OLG   Operating                 4318      06/22/2020 Weekly envelopes, donations and extra ordinary income              $         2.00
OLG   Operating                 4318      06/23/2020 Church Income:On‐Line Giving                                       $       209.13
OLG   Operating                 4318      06/24/2020 Church Income:On‐Line Giving                                       $        87.50
OLG   Operating                 4318      06/25/2020 Church Income:On‐Line Giving                                       $       211.53
OLG   Operating                 4318      06/26/2020 Church Income:On‐Line Giving                                       $        24.45
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OLG    Operating                 4318   06/29/2020   Church Income:On‐Line Giving                              $        82.23
OLG    Operating                 4318   06/29/2020   Gift Shop and extra ordinary income                       $     2,093.15
OLG    Operating                 4318   06/29/2020   Gift Shop and extra ordinary income                       $     2,516.17
OLG    Operating                 4318   06/29/2020   Weekly envelopes, donations and extra ordinary income     $    12,204.55
OLG    Operating                 4318   06/29/2020   Weekly envelopes, donations and extra ordinary income     $    16,001.70
OLG    Operating                 4318   06/30/2020   Church Income:On‐Line Giving                              $     9,844.62
AOL    Savings Account           6344   6/30/2020    Interest income                                           $        60.44
AOL    Operating Account         1492   06/02/2020   Summer Enrichment ‐ Student Services                      $       400.00
AOL    Operating Account         1492   06/02/2020   Tuition and Fees, Student Activity, Student Services      $     6,800.00
AOL    Operating Account         1492   06/03/2020   Tuition and Fees                                          $       900.00
AOL    Operating Account         1492   06/08/2020   Tuition and Fees                                          $       685.00
AOL    Operating Account         1492   06/09/2020   VOID Check                                                $        22.00
AOL    Operating Account         1492   06/10/2020   Tuition and Fees                                          $       698.70
AOL    Operating Account         1492   06/11/2020   Tuition and Fees                                          $       473.00
AOL    Operating Account         1492   06/11/2020   Tuition and Fees                                          $       690.00
AOL    Operating Account         1492   06/11/2020   Tuition and Fees                                          $       935.50
AOL    Operating Account         1492   06/12/2020   Tuition and Fees                                          $       983.83
AOL    Operating Account         1492   06/12/2020   Tuition and Fees                                          $     8,390.00
AOL    Operating Account         1492   06/15/2020   Student Council ‐ Spritirwear ‐ Agency payable            $        42.84
AOL    Operating Account         1492   06/16/2020   Tuition and Fees                                          $       142.80
AOL    Operating Account         1492   06/18/2020   Tuition and Fees and Student Services                     $       600.06
AOL    Operating Account         1492   06/19/2020   Tuition and Fees                                          $       685.00
AOL    Operating Account         1492   06/22/2020   Summer Enrichment ‐ Student Services                      $     6,835.00
AOL    Operating Account         1492   06/23/2020   PE uniform ‐ Athletics ‐ Student Activity                 $        40.00
AOL    Operating Account         1492   06/24/2020   Tuition and Fees                                          $     1,125.00
AOL    Operating Account         1492   06/25/2020   Tuition and Fees                                          $       316.20
AOL    Operating Account         1492   06/26/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       129.54
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $        30.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $        49.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $        93.81
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       120.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       150.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       154.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       186.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       229.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       235.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       260.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       317.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       376.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       394.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       420.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       602.00
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       682.00
AOL    Operating Account         1492   06/30/2020   Interest Earned                                           $       707.47
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $       781.00
AOL    Operating Account         1492   06/30/2020   Computer Repairs ‐ cracked ipads ‐ Student Services       $     1,055.66
AOL    Operating Account         1492   06/30/2020   Student Council ‐ Spritirwear ‐ Agency payable            $     1,835.00
AOL    Operating Account         1492   06/30/2020   Tuition Transfer                                          $     4,877.95   X
AOL    Operating Account         1492   06/30/2020   Tuition Transfer                                          $     6,241.69   X
AOL    Operating Account         1492   06/30/2020   Tuition Transfer                                          $     7,626.47   X
AOL    Operating Account         1492   06/30/2020   Tuition Transfer                                          $    13,582.42   X
AOL    Operating Account         1492   06/30/2020   Tuition Transfer                                          $    54,555.68   X
AOL    Operating Account         1492   06/30/2020   Tuition Transfer                                          $   144,596.02   X
AOL    Payroll Account           7654   6/30/2020    Transfer for payroll                                      $   179,593.61   X
AOL    Payroll Account           7654   6/30/2020    Stop Payment fee                                          $        35.00   X
AOL    Payroll Account           7654   6/30/2020    Transfer for payroll                                      $    21,224.73   X
AOL    Tuition Lending Account   6054   6/30/2020    Interest Income                                           $       508.00
AOL    Tuition Lending Account   6054   6/11/2020    Tuition and Fees                                          $    34,032.00
AOL    Tuition Lending Account   6054   6/17/2020    Tuition and Fees                                          $    21,967.30
AOL    Tuition Lending Account   6054   6/22/2020    Tuition and Fees                                          $    10,417.12
AOL    Tuition Funded            0011   6/30/2020    Interest Earned                                           $     6,369.08
AOL    Tuition Funded            0011    6/1/2020    Tuition and Fees                                          $     8,450.00
AOL    Tuition Funded            0011    6/1/2020    Tuition and Fees                                          $   210,776.20
AOL    Tuition Funded            0011    6/3/2020    Tuition and Fees                                          $    39,570.00
AOL    Tuition Funded            0011    6/4/2020    Tuition and Fees                                          $    16,780.00
AOL    Tuition Funded            0011   6/11/2020    Tuition and Fees                                          $   151,936.05
AOL    Tuition Funded            0011   6/12/2020    Tuition and Fees                                          $    14,230.00
AOL    Savings Account           6073   6/24/2020    Student Council‐ Spiritwear ‐ Agency Payable              $     1,400.00
ACHS   Operating Account         1514   06/01/2020   BOOKSTORE SALES 6‐1‐20                                    $       206.00
ACHS   Operating Account         1514   06/01/2020   BOOKSTORE SALES 6/1/20                                    $       135.00
ACHS   Operating Account         1514   06/01/2020   CHIPSTART, CHAPELLETTE PAYMENTS                           $       450.00
ACHS   Operating Account         1514   06/01/2020   SUMMER CAMP EXTRA SHIRT                                   $        20.00
ACHS   Operating Account         1514   06/01/2020   SUMMER ACORN CAMP                                         $       391.00
ACHS   Operating Account         1514   06/01/2020   SENIOR BOW                                                $        12.00
ACHS   Operating Account         1514   06/02/2020   CHAPELLETTE PAYMENT                                       $       200.00
ACHS   Operating Account         1514   06/02/2020   SUMMER CAMP CONCESSIONS                                   $        65.00
ACHS   Operating Account         1514   06/02/2020   CRAFT FAIR BOOTH RENTAL                                   $        80.00
ACHS   Operating Account         1514   06/02/2020   SUMMER CAMP REGISTRATION                                  $       217.00
ACHS   Operating Account         1514   06/03/2020   CRAFT FAIR BOOTH RENTAL                                   $       150.00
ACHS   Operating Account         1514   06/03/2020   CHAPELLETTE PAYMENT                                       $       200.00
ACHS   Operating Account         1514   06/03/2020   SUMMER CAMP CONCESSION                                    $       110.00
ACHS   Operating Account         1514   06/03/2020   CHAPELLE FUND (O'KEEFE)                                   $     1,500.00
ACHS   Operating Account         1514   06/04/2020   CHIPSTART                                                 $       250.00
ACHS   Operating Account         1514   06/04/2020   CHAPELLETTE PAYMENT                                       $       100.00
ACHS   Operating Account         1514   06/04/2020   SUMMER CAMP CONCESSIONS                                   $       107.75
ACHS   Operating Account         1514   06/05/2020   CHAPELLETTE, CHIPSTART                                    $       332.55
ACHS   Operating Account         1514   06/05/2020   PETTY CASH RETURN ATHLETICS                               $     1,500.00
ACHS   Operating Account         1514   06/05/2020   SUMMER CAMP CONCESSION                                    $        86.00
ACHS   Operating Account         1514   06/05/2020   SUMMER CAMP CONCESSION                                    $        84.75
ACHS   Operating Account         1514   06/08/2020   CHIPSTART, CHEER, CHAPELLETTE                             $       664.00
ACHS   Operating Account         1514   06/09/2020   BOOKSTORE SALES 6/9/20                                    $     1,545.00
ACHS   Operating Account         1514   06/09/2020   BOOKSTORE SALES 6/9/20                                    $       164.00
ACHS   Operating Account         1514   06/09/2020   CHIPSTART, CHAPELLETTE                                    $       338.86
ACHS   Operating Account         1514   06/09/2020   UMMER CAMP CONCESSIONS                                    $       119.05
ACHS   Operating Account         1514   06/09/2020   CRAFT FAIR BOOTH FEE DEP #16                              $       270.00
ACHS   Operating Account         1514   06/09/2020   ACE                                                       $     1,125.00
ACHS   Operating Account         1514   06/09/2020   PETTY CASH RETURN ATHLETICS CONCESSION                    $        84.00
ACHS   Operating Account         1514   06/10/2020   CHAPELLETTE & CHIPSTART                                   $     2,500.00
ACHS   Operating Account         1514   06/11/2020   BOOKSTORE SALES 6‐11‐20                                   $       241.00
ACHS   Operating Account         1514   06/11/2020   CHIPSTART LEJEUNE                                         $       250.00
ACHS   Operating Account         1514   06/11/2020   SUMMER CAMP CONCESSIONS                                   $       186.00
ACHS   Operating Account         1514   06/11/2020   SENIOR SWEATER (DONOVAN)                                  $        55.00
ACHS   Operating Account         1514   06/11/2020   SUMMER CAMP CONCESSIONS                                   $       164.00
ACHS   Operating Account         1514   06/12/2020   BOOKSTORE SALES 6/12/20                                   $       417.00
ACHS   Operating Account         1514   06/12/2020   BOOKSTORE SALES 6/12/20                                   $       550.00
ACHS   Operating Account         1514   06/12/2020   ACT BOOT CAMP, CHAPELLETTE, CHIPSTART, AFTERNOON SKILLS   $     1,380.00
ACHS   Operating Account         1514   06/12/2020   CHAPELLE FUND (ETAP 7/12/20) FONTENELLE                   $     9,100.00
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ACHS   Operating Account             1514   06/12/2020   SUMMER CAMP CONCESSIONS 6/12/20                                                             $       136.00
ACHS   Operating Account             1514   06/15/2020   BOOKSTORE SALES 6/15/20                                                                     $       361.00
ACHS   Operating Account             1514   06/15/2020   BOOKSTORE SALES 6/15/20                                                                     $       180.00
ACHS   Operating Account             1514   06/15/2020   ACT BOOT CAMP, CHIPSTART                                                                    $     1,150.00
ACHS   Operating Account             1514   06/15/2020   SUMMER CAMP CONCESSIONS 6/15/20                                                             $       130.10
ACHS   Operating Account             1514   06/16/2020   Tuition 2019‐20                                                                             $     3,370.50
ACHS   Operating Account             1514   06/16/2020   SUMMER CAMP CONCESSIONS 6/16/20                                                             $       194.80
ACHS   Operating Account             1514   06/16/2020   ACE TUITION                                                                                 $     1,125.00
ACHS   Operating Account             1514   06/16/2020   COCA COLA 4TH QUARTER CMA                                                                   $        64.00
ACHS   Operating Account             1514   06/17/2020   BOOKSTORE SALES 6/17/20                                                                     $       185.00
ACHS   Operating Account             1514   06/17/2020   BOOKSTORE SALES 6/15/20                                                                     $        92.25
ACHS   Operating Account             1514   06/17/2020   BOOKSTORE SALES 6/17/20                                                                     $       756.00
ACHS   Operating Account             1514   06/17/2020   SUMMER CAMP CONCESSIONS 6/17/20                                                             $       199.00
ACHS   Operating Account             1514   06/17/2020   ACT bootcamp/ Chapellette payment                                                           $       640.00
ACHS   Operating Account             1514   06/18/2020   BOOKSTORE SALES 6/18/20                                                                     $       127.00
ACHS   Operating Account             1514   06/18/2020   BOOKSTORE SALES 6‐18‐20                                                                     $       155.00
ACHS   Operating Account             1514   06/18/2020    ACT BOOT CAMP                                                                              $        25.00
ACHS   Operating Account             1514   06/19/2020   GYM RENTAL METAIRIE BASKETBALL                                                              $     1,650.00
ACHS   Operating Account             1514   06/19/2020   NEW YORK TRIP REFUND                                                                        $     3,600.00
ACHS   Operating Account             1514   06/19/2020   PROM FEST PARENT SHIRTS                                                                     $        36.00
ACHS   Operating Account             1514   06/19/2020   CRAFT FAIR BOOTH RENTAL #17                                                                 $       350.00
ACHS   Operating Account             1514   06/19/2020   SUMMER CAMP CONCESSIONS 6/18/20                                                             $       163.76
ACHS   Operating Account             1514   06/20/2020   BOOKSTORE SALES 6/20/20                                                                     $       328.50
ACHS   Operating Account             1514   06/22/2020   CHIPSTART                                                                                   $     3,575.00
ACHS   Operating Account             1514   06/22/2020    Tuition 2019‐20                                                                            $     1,830.00
ACHS   Operating Account             1514   06/22/2020   CHIPSTART (TRAN, AU)                                                                        $       500.00
ACHS   Operating Account             1514   06/22/2020   SCHOOL FOOD PEST 5/20                                                                       $        20.00
ACHS   Operating Account             1514   06/22/2020    PROM FEST SHIRT                                                                            $        12.00
ACHS   Operating Account             1514   06/22/2020   STEUBENVILLE IN THE BURROW PIZZA                                                            $        55.00
ACHS   Operating Account             1514   06/22/2020   SUMMER CAMP CONCESSION 6/19/20                                                              $       141.70
ACHS   Operating Account             1514   06/23/2020   ACT BOOT CAMP, CHIPSTART                                                                    $     1,825.00
ACHS   Operating Account             1514   06/23/2020   BOOKSTORE SALES 6/23/20                                                                     $        62.00
ACHS   Operating Account             1514   06/23/2020   BOOKSTORE SALES 6/23/20                                                                     $       390.00
ACHS   Operating Account             1514   06/23/2020   SUMMER CAMP CONCESSIONS 6/23/20                                                             $       162.33
ACHS   Operating Account             1514   06/23/2020   SUMMER CAMP CONCESSION 6/22/20                                                              $       122.55
ACHS   Operating Account             1514   06/24/2020   BOOKSTORE SALES 6/24/20                                                                     $        18.00
ACHS   Operating Account             1514   06/24/2020   CHEER, ACT BOOT CAMP, CHIPSTART, LOAN PAYMENT                                               $       950.00
ACHS   Operating Account             1514   06/25/2020   ACT BOOT CAMP, CHEER, HI STEPPER, CHIPSTART                                                 $       755.00
ACHS   Operating Account             1514   06/25/2020   CHAPELLE FUND (ETAP 6/25/20) PROGRESSIVE HALE‐BENSON                                        $       350.00
ACHS   Operating Account             1514   06/25/2020   CRAFT FAIR BOOTH FEE #18                                                                    $        40.00
ACHS   Operating Account             1514   06/25/2020   SCHOOL FOOD & NUTRITION PEST 6/12                                                           $        20.00
ACHS   Operating Account             1514   06/25/2020   Tuition 2019‐20                                                                             $       445.00
ACHS   Operating Account             1514   06/25/2020    SUMMER CAMP SHIRTS                                                                         $        20.00
ACHS   Operating Account             1514   06/25/2020   SUMMER CAMP CONCESSION 6/24/20                                                              $        77.08
ACHS   Operating Account             1514   06/25/2020   SUMMER CAMP CONCESSION 6/25/20                                                              $       228.63
ACHS   Operating Account             1514   06/26/2020   BOOKSTORE SALES 6/26/20                                                                     $       389.00
ACHS   Operating Account             1514   06/26/2020   BOOKSTORE SALES 6/26/20                                                                     $        75.00
ACHS   Operating Account             1514   06/26/2020   HI STEPPER, ACT BOOT CAMP, CHAPELLETTE                                                      $     6,789.23
ACHS   Operating Account             1514   06/26/2020   SUMMER CAMP CONCESSIONS 6/26/20                                                             $        60.73
ACHS   Operating Account             1514   06/26/2020   SUMMER CAMP PIZZA                                                                           $       413.00
ACHS   Operating Account             1514   06/27/2020   BOOKSTORE SALES 6/27/20                                                                     $       273.50
ACHS   Operating Account             1514   06/29/2020   SUMMER CAMP SHIRTS                                                                          $        90.00
ACHS   Operating Account             1514   06/29/2020   LOST BOOK (KURETICH)                                                                        $       182.50
ACHS   Operating Account             1514   06/29/2020   CRAFT FAIR BOOTH RENTAL #19                                                                 $        90.00
ACHS   Operating Account             1514   06/29/2020   ROMAGUERA COMMISSION                                                                        $    10,000.00
ACHS   Operating Account             1514   06/29/2020   BOOKSTORE SALES 6/29/20                                                                     $       167.50
ACHS   Operating Account             1514   06/30/2020   ACT BOOT CAMP, HI STEPPER                                                                   $       300.00
ACHS   Operating Account             1514   06/30/2020   SUMMER CAMP                                                                                 $       377.00
ACHS   Operating Account             1514   06/30/2020    SUMMER ACORN CAMP                                                                          $       537.00
ACHS   Operating Account             1514   06/30/2020   HI STEPPER, CHAPELLETTE, CHEER PAYMENT                                                      $     2,862.41
ACHS   Operating Account             1514   06/01/2020   RECORD TRANSFER TO OPERATING FROM PPP ‐ JP WATER PD 6/11/20 ‐ 6/11/20                       $        53.63   X
ACHS   Operating Account             1514   06/03/2020   RECORD TRANSFER FROM PPP ACCT TO OPERATING FOR ENTERGY PD 6/4/20 ‐ 6/3/20                   $    12,572.15   X
ACHS   Operating Account             1514   06/15/2020   VOID CK#12868 ‐ SPN FAIR‐RETURNED TO SCHOOL 6/15/2020                                       $       500.00
ACHS   Operating Account             1514   06/16/2020   STOP PAYMENT (VOID) CK #12648 DATED 1/24/20                                                 $       375.00
ACHS   Operating Account             1514   06/16/2020   STOP PAYMENT (VOID) CK #12835 DATED 3/6/20 ARCHBISHOP RUMMEL HIGH SCHOOL                    $       100.00
ACHS   Operating Account             1514   06/18/2020   VOID CK#12987 DATED 5/29/20 GALLAGHER BENEFIT SERVICES ‐ PAID BY EPAY 6/8/20                $    43,113.32
ACHS   Operating Account             1514   6/30/2020    VOID CK#12997 EAST PERMIT POSTAGE                                                           $        32.58
ACHS   Operating Account             1514   06/26/2020   TRANSFER BALANCE IN PPP ACCOUNT FOR JUNE PAYROLL                                            $   116,100.15   X
ACHS   Operating Account             1514   06/30/2020   RECORD OPERATING ACCT INTEREST JUNE2020                                                     $        19.49
ACHS   Operating Account             1514   06/01/2020   TRANSFER INTEREST TO OPERATING FROM LOAN ACCT ‐ 6/1/20                                      $        29.07   X
ACHS   Tuition Endowment             1745   06/05/2020   ENDOWMENT DEPOSIT                                                                           $        20.00
ACHS   Tuition Endowment             1745   06/16/2020   ENDOWMENT FROM                                                                              $       625.00
ACHS   Tuition Endowment             1745   06/25/2020   ERIC MAYER KELLER FAMILY                                                                    $       100.00
ACHS   Tuition Endowment             1745   06/27/2020   ENDOWMENT DEPOSIT                                                                           $       100.00
ACHS   Tuition Endowment             1745   06/30/2020   RECORD INTEREST JUNE 2020                                                                   $         2.38
ACHS   Cash‐on‐line giving           2809   06/22/2020   RECORD INTEREST ‐ CASH ONLINE ‐ JUNE 2020 Camps, Reunions, Transcipts                       $     4,785.56
ACHS   Cash‐on‐line giving           2809   06/30/2020   RECORD STRIPE ACTIVITY ‐ CASH ONLINE ‐ 6/20‐6/30 Camps, Reunions, Transcipts                $     1,705.69
ACHS   Cash‐on‐line giving           2809   06/30/2020   RECORS STRIPE ACTIVITY ‐ CASH ONLINE ‐ 6/20‐6/30 (O/S DEP @ 6/30/20) Camps, Reunions, Tra   $       734.35
ACHS   Cash‐on‐line giving           2809   06/30/2020   RECORD INTEREST ‐ CASH ONLINE ‐ JUNE 2020                                                   $         3.23
ACHS   Next Year Cash                4967   06/01/2020   Tuition/Registration                                                                        $     4,100.00
ACHS   Next Year Cash                4967   06/02/2020   Tuition/Registration                                                                        $       300.00
ACHS   Next Year Cash                4967   06/04/2020   Tuition/Registration                                                                        $     4,550.00
ACHS   Next Year Cash                4967   06/05/2020   Tuition/Registration                                                                        $     2,550.00
ACHS   Next Year Cash                4967   06/05/2020   Tuition/Registration                                                                        $    20,450.00
ACHS   Next Year Cash                4967   06/05/2020   Tuition/Registration                                                                        $     2,136.00
ACHS   Next Year Cash                4967   06/09/2020   Tuition/Registration                                                                        $    14,200.00
ACHS   Next Year Cash                4967   06/10/2020   Tuition/Registration                                                                        $     6,500.00
ACHS   Next Year Cash                4967   06/11/2020   Tuition/Registration                                                                        $    32,900.00
ACHS   Next Year Cash                4967   06/11/2020   Tuition/Registration                                                                        $     1,500.00
ACHS   Next Year Cash                4967   06/12/2020   Tuition/Registration                                                                        $    13,900.00
ACHS   Next Year Cash                4967   06/12/2020   Tuition/Registration                                                                        $     9,100.00
ACHS   Next Year Cash                4967   06/12/2020   Tuition/Registration                                                                        $     1,000.00
ACHS   Next Year Cash                4967   06/15/2020   Tuition/Registration                                                                        $    10,850.00
ACHS   Next Year Cash                4967   06/16/2020   Tuition/Registration                                                                        $     6,000.00
ACHS   Next Year Cash                4967   06/18/2020   Tuition/Registration                                                                        $     3,550.00
ACHS   Next Year Cash                4967   06/18/2020   Tuition/Registration                                                                        $     1,610.00
ACHS   Next Year Cash                4967   06/19/2020   Tuition/Registration                                                                        $     1,600.00
ACHS   Next Year Cash                4967   06/19/2020   Tuition/Registration                                                                        $       910.00
ACHS   Next Year Cash                4967   06/22/2020   Tuition/Registration                                                                        $     9,100.00
ACHS   Next Year Cash                4967   06/23/2020   Tuition/Registration                                                                        $       350.00
ACHS   Next Year Cash                4967   06/24/2020   Tuition/Registration                                                                        $     6,245.00
ACHS   Next Year Cash                4967   06/26/2020   Tuition/Registration                                                                        $     4,100.00
ACHS   Next Year Cash                4967   06/30/2020   RECORD INTEREST JUNE 2020                                                                   $       112.27
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding                                                                  $    13,650.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding                                                                  $    27,300.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding                                                                  $    12,650.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding                                                                  $   164,900.00
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ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     107,740.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     145,040.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $       9,100.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $      36,400.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $      36,400.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     140,450.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $      18,195.50
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     127,200.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     105,050.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     147,050.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $       9,100.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     125,666.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $      18,200.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     262,300.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     106,800.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $       9,100.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     298,950.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     197,470.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     206,346.68
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     172,900.00
ACHS   Tuition Borrower Loan Funds   0184   06/03/2020   Tuition Loan Batch Funding              $     127,400.00
ACHS   Tuition Borrower Loan Funds   0184   06/05/2020   Tuition Loan Batch Funding              $      41,400.00
ACHS   Tuition Borrower Loan Funds   0184   06/08/2020   Tuition Loan Batch Funding              $      18,200.00
ACHS   Tuition Borrower Loan Funds   0184   06/12/2020   Tuition Loan Batch Funding              $     149,700.00
ACHS   Tuition Borrower Loan Funds   0184   06/25/2020   Tuition Loan Batch Funding              $      24,570.00
ACHS   Tuition Borrower Loan Funds   0184   06/23/2020   Tuition Loan Batch Funding              $      60,200.00
ACHS   Tuition Borrower Loan Funds   0184   06/30/2020   Record Interest June                    $       2,470.67
ACHS   PPP                           5667   06/30/2020   REVERSE S/C POSTED IN MAY               $           6.60
ACHS   PPP                           5667    6/30/2020   RECORD INTEREST                         $           4.36
AHHS   Operating Account             8545   06/01/2020   Tuition and Fees                        $      10,395.00
AHHS   Operating Account             8545   06/01/2020   Development                             $       8,000.00
AHHS   Operating Account             8545   06/01/2020   Tuition and Fees                        $       6,795.00
AHHS   Operating Account             8545   06/01/2020   Tuition and Fees                        $       3,300.00
AHHS   Operating Account             8545   06/01/2020   Student Services                        $       1,798.35
AHHS   Operating Account             8545     6/1/2020   Development                             $          39.20
AHHS   Operating Account             8545   06/02/2020   Transfer                                $   1,412,631.00   X
AHHS   Operating Account             8545   06/02/2020   Transfer                                $     850,000.00   X
AHHS   Operating Account             8545   06/02/2020   Development                             $         145.54
AHHS   Operating Account             8545   06/04/2020   Student Services                        $      14,869.31
AHHS   Operating Account             8545   06/04/2020   Student Services                        $       4,750.00
AHHS   Operating Account             8545   06/04/2020   Development                             $       3,333.30
AHHS   Operating Account             8545   06/04/2020   Student Services                        $       1,125.00
AHHS   Operating Account             8545   06/04/2020   Fundraising                             $         450.00
AHHS   Operating Account             8545   06/04/2020   Student Services                        $         310.35
AHHS   Operating Account             8545   06/04/2020   Student Services                        $         180.00
AHHS   Operating Account             8545   06/04/2020   Development                             $          96.94
AHHS   Operating Account             8545   06/04/2020   Student Services                        $          40.00
AHHS   Operating Account             8545   06/05/2020   Development                             $       1,797.45
AHHS   Operating Account             8545   06/08/2020   Student Activities                      $       2,190.00
AHHS   Operating Account             8545   06/08/2020   Development                             $       1,462.44
AHHS   Operating Account             8545   06/08/2020   Student Activities                      $       1,152.00
AHHS   Operating Account             8545   06/08/2020   Development                             $          48.34
AHHS   Operating Account             8545   06/09/2020   Voided Prepetition outstanding check    $       1,000.00
AHHS   Operating Account             8545   06/09/2020   Voided Prepetition outstanding check    $         220.00
AHHS   Operating Account             8545   06/09/2020   Voided Prepetition outstanding check    $         205.00
AHHS   Operating Account             8545   06/09/2020   Voided Prepetition outstanding check    $         172.94
AHHS   Operating Account             8545   06/09/2020   Voided Prepetition outstanding check    $          53.26
AHHS   Operating Account             8545   06/09/2020   Voided Prepetition outstanding check    $          46.99
AHHS   Operating Account             8545   06/11/2020   Tuition and Fees / Student Activities   $       9,297.89
AHHS   Operating Account             8545   06/11/2020   Student Activities                      $       1,443.00
AHHS   Operating Account             8545   06/11/2020   Development                             $       1,000.00
AHHS   Operating Account             8545   06/11/2020   Fundraising                             $         894.00
AHHS   Operating Account             8545   06/11/2020   Student Activities                      $         873.00
AHHS   Operating Account             8545   06/11/2020   Student Services                        $         791.00
AHHS   Operating Account             8545   06/11/2020   Fundraising                             $         575.00
AHHS   Operating Account             8545   06/11/2020   Student Services                        $         419.00
AHHS   Operating Account             8545   06/11/2020   Student Services                        $         190.00
AHHS   Operating Account             8545   06/11/2020   Development                             $          66.68
AHHS   Operating Account             8545   6/11/2020    Student Activities                      $         240.00
AHHS   Operating Account             8545   06/11/2020   Student Services                        $          30.00
AHHS   Operating Account             8545   06/12/2020   Development                             $         971.50
AHHS   Operating Account             8545   06/16/2020   Tuition and Fees                        $      10,795.00
AHHS   Operating Account             8545   06/16/2020   Student Services                        $         800.00
AHHS   Operating Account             8545   06/16/2020   Student Activities                      $         640.00
AHHS   Operating Account             8545   06/16/2020   Tuition and Fees                        $         355.72
AHHS   Operating Account             8545   06/16/2020   Student Services                        $         330.00
AHHS   Operating Account             8545   06/16/2020   Student Services                        $         212.00
AHHS   Operating Account             8545   06/16/2020   Student Services                        $         111.00
AHHS   Operating Account             8545   06/16/2020   Student Services                        $          48.00
AHHS   Operating Account             8545   06/16/2020   Student Services                        $          40.00
AHHS   Operating Account             8545   06/18/2020   Tuition and Fees / Student Activities   $       2,350.00
AHHS   Operating Account             8545   06/19/2020   Student Services                        $      15,019.22
AHHS   Operating Account             8545   06/19/2020   Student Activities                      $         185.00
AHHS   Operating Account             8545   06/22/2020   Development                             $       8,954.00
AHHS   Operating Account             8545   06/22/2020   Student Services                        $       1,181.00
AHHS   Operating Account             8545   06/22/2020   Development                             $       1,000.56
AHHS   Operating Account             8545   06/22/2020   Tuition and Fees                        $         517.13
AHHS   Operating Account             8545   06/22/2020   Student Activities                      $         300.00
AHHS   Operating Account             8545   06/22/2020   Student Activities                      $         161.00
AHHS   Operating Account             8545   06/22/2020   Student Services                        $          72.00
AHHS   Operating Account             8545   06/22/2020   Student Services                        $          50.00
AHHS   Operating Account             8545   06/22/2020   Student Activities                      $          44.00
AHHS   Operating Account             8545   06/23/2020   Student Activities                      $         669.30
AHHS   Operating Account             8545   06/24/2020   Transfer                                $   1,000,000.00   X
AHHS   Operating Account             8545   06/24/2020   Transfer                                $      42,839.55   X
AHHS   Operating Account             8545   06/24/2020   Transfer                                $         834.13   X
AHHS   Operating Account             8545   6/24/2020    Tuition and Fees                        $       9,580.35
AHHS   Operating Account             8545   6/25/2020    Student Services                        $         347.50
AHHS   Operating Account             8545   6/25/2020    Student Services                        $         329.85
AHHS   Operating Account             8545   6/25/2020    Deposit from petty cash                 $       1,033.00
AHHS   Operating Account             8545   6/25/2020    Tuition and Fees                        $         931.63
AHHS   Operating Account             8545   6/25/2020    Student Services                        $          30.00
AHHS   Operating Account             8545   6/25/2020    Tuition and Fees                        $          45.00
AHHS   Operating Account             8545   6/25/2020    Student Services                        $         100.00
AHHS   Operating Account             8545   6/25/2020    Student Services                        $         450.00
AHHS   Operating Account             8545   6/25/2020    Student Activities                      $         200.00
AHHS   Operating Account             8545   6/25/2020    Development                             $         100.00
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AHHS   Operating Account         8545   6/25/2020    Fundraising                                             $       1,260.00
AHHS   Operating Account         8545   6/25/2020    Student Services                                        $          61.00
AHHS   Operating Account         8545   6/25/2020    Student Services                                        $          93.00
AHHS   Operating Account         8545   6/25/2020    Tuition and Fees                                        $         142.01
AHHS   Operating Account         8545   6/26/2020    Tuition and Fees                                        $       5,697.34
AHHS   Operating Account         8545   6/26/2020    Transfer                                                $     300,000.00 X
AHHS   Operating Account         8545   6/29/2020    Transfer                                                $     281,394.13 X
AHHS   Operating Account         8545   6/29/2020    Tuition and Fees / Student Activities                   $       1,190.00
AHHS   Operating Account         8545   6/30/2020    Student Activities                                      $         400.00
AHHS   Operating Account         8545   6/30/2020    Other ‐ Interest                                        $          34.96
AHHS   Tuition Savings Account   8861   06/01/2020   Transfer interest from tuition reserve account          $          77.60 X
AHHS   Tuition Savings Account   8861   06/01/2020   Tuition / Fees (miscellaneous credit)                   $       1,562.34
AHHS   Tuition Savings Account   8861   06/01/2020   Tuition / Fees, student activities                      $     669,950.66
AHHS   Tuition Savings Account   8861   06/02/2020   Tuition / Fees, student activities                      $     161,768.78
AHHS   Tuition Savings Account   8861   06/03/2020   Tuition / Fees, student activities                      $      69,458.23
AHHS   Tuition Savings Account   8861   06/04/2020   Tuition / Fees, student activities                      $      55,975.00
AHHS   Tuition Savings Account   8861   06/05/2020   Tuition / Fees, student activities                      $     140,604.60
AHHS   Tuition Savings Account   8861   06/08/2020   Tuition / Fees, student activities                      $      69,418.04
AHHS   Tuition Savings Account   8861   06/09/2020   Tuition / Fees, student activities                      $      20,265.50
AHHS   Tuition Savings Account   8861   06/11/2020   Tuition / Fees, student activities                      $      20,170.00
AHHS   Tuition Savings Account   8861   06/11/2020   Tuition & Fees and student activities                   $      93,472.69
AHHS   Tuition Savings Account   8861   06/12/2020   Tuition / Fees, student activities                      $      10,324.24
AHHS   Tuition Savings Account   8861   06/15/2020   Tuition, Fees, student activities                       $      26,091.00
AHHS   Tuition Savings Account   8861   06/16/2020   Tuition and Fees, student activities                    $      40,386.27
AHHS   Tuition Savings Account   8861   06/17/2020   Tuition / Fees, student activities                      $      39,826.49
AHHS   Tuition Savings Account   8861   06/18/2020   Tuition / Fees, student activities                      $       7,415.00
AHHS   Tuition Savings Account   8861   06/19/2020   Tuition / Fees, student activities                      $      15,461.02
AHHS   Tuition Savings Account   8861   06/22/2020   Tuition / fees                                          $         800.00
AHHS   Tuition Reserve           0079   6/17/2020    Funding 2020‐2021                                       $     353,939.24
AHHS   Tuition Reserve           0079   6/18/2020    Funding 2020‐2021                                       $   1,124,380.85
AHHS   Tuition Reserve           0079   6/30/2020    Other ‐ Interest                                        $       1,337.43
ARHS   Day Camp Account          2887   6/30/2020    FBT Camp Deposits                                       $      15,321.62
ARHS   Merchant Account          2876   06/05/2020   Tuition and Fees                                        $         123.60
ARHS   Merchant Account          2876   06/05/2020   Tuition and Fees                                        $         288.40
ARHS   Merchant Account          2876   06/05/2020   Tuition and Fees                                        $       2,044.55
ARHS   Merchant Account          2876   06/22/2020   Tuition and Fees                                        $         412.00
ARHS   Merchant Account          2876   06/25/2020   Tuition and Fees                                        $         309.00
ARHS   Merchant Account          2876   06/26/2020   Tuition and Fees                                        $       1,092.11
ARHS   Merchant Account          2876   06/29/2020   Tuition and Fees                                        $         515.00
ARHS   Merchant Account          2876   06/30/2020   Tuition and Fees Merch Dep XXXXXX5670                   $       4,917.50
ARHS   Merchant Account          2876   06/30/2020   Student Services Smr School Merch Dep XXXXXX5506        $       2,455.00
ARHS   Merchant Account          2876   06/30/2020   Student Services Smr Camp Merch Dep XXXXXX5506          $         635.00
ARHS   Merchant Account          2876   06/30/2020   Student Services Smr Camp Merch Dep XXXXXX5506          $         485.00
ARHS   Merchant Account          2876   06/30/2020   Student Services Bookstore Sales Dep XXXXXX5506         $          85.00
ARHS   Merchant Account          2876   06/30/2020   Fundraising Football                                    $         250.00
ARHS   Merchant Account          2876   06/30/2020   Student Services Smr School Merch Dep XXXXXX5506        $         200.00
ARHS   Merchant Account          2876   06/30/2020   Tuition and Fees Merch Dep XXXXXX5670                   $          25.00
ARHS   Online Advancement        2832   6/30/2020    Fundraising                                             $       1,076.93
ARHS   Online Band               2854   6/30/2020    Student Activities                                      $       4,864.39
ARHS   Online Student Services   2843    6/4/2020    Student Services‐Online FACTS Remit 2 000000105746645   $         121.35
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         300.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $       4,925.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         250.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         650.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $      10,250.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $      10,550.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         350.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $       4,000.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $      10,650.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         300.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $         300.00
ARHS   Online Tuition/Fees       2777   06/01/2020   Tuition and Fees                                        $      10,550.00
ARHS   Online Tuition/Fees       2777   06/02/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/02/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/02/2020   Tuition and Fees                                        $      10,250.00
ARHS   Online Tuition/Fees       2777   06/02/2020   Tuition and Fees                                        $      10,250.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         300.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       3,727.50
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       4,575.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       5,325.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $      10,650.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         700.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         700.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         300.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $      10,150.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       5,250.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $      10,650.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       1,500.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       4,825.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $      10,650.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       9,850.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       6,650.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       7,000.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       3,550.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       1,100.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       8,720.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       8,720.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       9,850.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       9,150.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       9,150.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         200.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         200.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         400.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         350.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $         650.00
ARHS   Online Tuition/Fees       2777   06/03/2020   Tuition and Fees                                        $       3,700.00
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ARHS   Online Tuition/Fees   2777   06/04/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/04/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/04/2020   Tuition and Fees            $      350.00
ARHS   Online Tuition/Fees   2777   06/04/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/04/2020   Tuition and Fees            $      300.00
ARHS   Online Tuition/Fees   2777   06/04/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/04/2020   Tuition and Fees            $    8,000.00
ARHS   Online Tuition/Fees   2777   06/05/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/05/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/05/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/05/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/05/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/05/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/08/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/08/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/08/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/09/2020   Tuition and Fees            $    2,200.00
ARHS   Online Tuition/Fees   2777   06/09/2020   Tuition and Fees            $   10,550.00
ARHS   Online Tuition/Fees   2777   06/09/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/09/2020   Tuition and Fees            $    7,315.00
ARHS   Online Tuition/Fees   2777   06/09/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/09/2020   Tuition and Fees            $   10,250.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $    4,575.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $      350.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $      700.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $    1,850.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $       50.00
ARHS   Online Tuition/Fees   2777   06/10/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $   10,900.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      350.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    9,850.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      300.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    2,000.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    1,500.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    4,886.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $   10,250.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      500.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $   10,250.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $   10,250.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $   10,000.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      550.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    1,750.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      175.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      175.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    7,750.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      300.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      350.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    5,250.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $   10,250.00
ARHS   Online Tuition/Fees   2777   06/11/2020   Tuition and Fees            $    2,000.00
ARHS   Online Tuition/Fees   2777   06/12/2020   Tuition and Fees            $    1,500.00
ARHS   Online Tuition/Fees   2777   06/12/2020   Tuition and Fees            $      250.00
ARHS   Online Tuition/Fees   2777   06/12/2020   Tuition and Fees            $    5,000.00
ARHS   Online Tuition/Fees   2777   06/12/2020   Tuition and Fees            $    5,000.00
ARHS   Online Tuition/Fees   2777   06/15/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/15/2020   Tuition and Fees            $    5,125.00
ARHS   Online Tuition/Fees   2777   06/15/2020   Tuition and Fees            $    2,000.00
ARHS   Online Tuition/Fees   2777   06/16/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/16/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/16/2020   Tuition and Fees            $      350.00
ARHS   Online Tuition/Fees   2777   06/16/2020   Tuition and Fees            $   11,350.00
ARHS   Online Tuition/Fees   2777   06/17/2020   Tuition and Fees            $    1,000.00
ARHS   Online Tuition/Fees   2777   06/18/2020   Tuition and Fees            $      300.00
ARHS   Online Tuition/Fees   2777   06/19/2020   Tuition and Fees            $   10,600.00
ARHS   Online Tuition/Fees   2777   06/25/2020   Tuition and Fees            $      300.00
ARHS   Online Tuition/Fees   2777   06/26/2020   transfer                    $   15,000.00 X
ARHS   Online Tuition/Fees   2777   06/26/2020   Tuition and Fees            $    7,850.00
ARHS   Online Tuition/Fees   2777   06/26/2020   Tuition and Fees            $      300.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $   10,900.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $      350.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $      700.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $    5,150.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $    2,500.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $      400.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $    9,100.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $      650.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $   10,950.00
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $       92.54
ARHS   Online Tuition/Fees   2777   06/30/2020   Tuition and Fees            $   10,550.00
ARHS   OPERATING ACCOUNT     2799    6/3/2020    Tuition                     $   16,800.00
ARHS   OPERATING ACCOUNT     2799    6/3/2020    Tuition                     $    1,500.00
ARHS   OPERATING ACCOUNT     2799    6/3/2020    Tuition                     $   13,462.87
ARHS   OPERATING ACCOUNT     2799   6/16/2020    Student Services‐Smr Camp   $       70.00
ARHS   OPERATING ACCOUNT     2799   6/16/2020    Fundraising                 $   16,698.15
ARHS   OPERATING ACCOUNT     2799   6/16/2020    Fundraising                 $    1,000.00
ARHS   OPERATING ACCOUNT     2799   6/16/2020    Fundraising                 $   10,000.00
ARHS   OPERATING ACCOUNT     2799   6/16/2020    Tuition                     $    9,049.76
ARHS   OPERATING ACCOUNT     2799   6/16/2020    Tuition                     $   14,025.85
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ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Tuition                              $       2,470.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Driver Education    $          50.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Fundraising                          $       7,500.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Summer School       $       5,875.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐School              $       2,062.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐School              $       5,675.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐School              $       1,750.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Enrichment          $       1,750.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Driver Education    $       1,660.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Driver Education    $       1,245.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Summer School       $         900.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Summer School       $         550.00
ARHS   OPERATING ACCOUNT                             2799   6/16/2020    Student Services‐Enrichment          $       4,681.25
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $         830.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $       2,490.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Food Service        $          44.60
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Fundraising                          $         100.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $       4,150.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Activities‐St Cncl           $       1,580.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Activities‐St Cncl           $          85.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $         830.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $       1,245.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $          50.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $       3,320.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Activities‐St Cncl           $         135.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Activities‐St Cncl           $          45.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Activities‐St Cncl           $          50.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Food Service        $         314.40
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Food Service        $         958.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Enrichment          $       3,850.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Enrichment          $         900.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Enrichment          $         150.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Enrichment          $       5,250.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Summer Camp         $       1,495.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Fundraising                          $         347.68
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $         830.00
ARHS   OPERATING ACCOUNT                             2799   6/17/2020    Student Services‐Driver Education    $         830.00
ARHS   OPERATING ACCOUNT                             2799   6/26/2020    GJ Record Stop Pays & Voids          $       3,404.44
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Activities‐Athletics         $       1,000.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Fundraising                          $       6,705.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Summer Camp         $       1,256.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Activities‐Golf              $          69.80
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Summer Camp         $          60.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Summer Camp         $         407.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Driver Education    $          50.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Enrichment          $         350.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Enrichment          $         350.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Enrichment          $         612.50
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Driver Education    $          50.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Activities‐Athletics         $         375.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Summer Camp         $       1,569.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Driver Education    $         100.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Summer School       $         950.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Summer School       $         550.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Food Service        $         697.50
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Food Service        $         798.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Enrichment          $       2,093.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Enrichment          $       4,900.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Activities‐Yearbook          $          71.15
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Food Service        $         735.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Fundraising                          $          50.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Food Service        $         298.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Food Service        $       1,005.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Food Service        $         347.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Food Service        $         213.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Activities‐Fishing Club      $       1,000.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Tuition and Fees                     $       6,070.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Services‐Misc                $          68.93
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Student Activities‐Salt Club         $         200.00
ARHS   OPERATING ACCOUNT                             2799   6/29/2020    Development‐Father/Son               $         500.00
ARHS   OPERATING ACCOUNT                             2799   6/30/2020    Tuition and Fees                     $       3,836.62
ARHS   OPERATING ACCOUNT                             2799   6/30/2020    Tuition and Fees                     $       6,675.00
ARHS   OPERATING ACCOUNT                             2799   6/30/2020    Tuition and Fees                     $          90.00
ARHS   OPERATING ACCOUNT                             2799   6/30/2020    Other‐Bank Monthly Interest          $          19.47
ARHS   OPERATING ACCOUNT                             2799   6/30/2020    Bank Transfer from Online Tuit Act   $   2,375,404.00 X
ARHS   Payroll Account                               2821   6/15/2020    FBT Payroll Transfers                $     150,000.00 X
ARHS   Payroll Account                               2821   6/30/2020    Payroll Acct Activity                $         100.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      11,300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                         $      10,650.00
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ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,650.00
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ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,250.00
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ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,250.00
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ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan   $   10,250.00
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ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $    10,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $    10,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $    10,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $    10,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,850.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,850.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,850.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,550.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,150.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,150.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,150.00
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ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,150.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     9,150.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,800.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,150.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     8,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     7,750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     7,750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     7,750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     7,750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     7,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     7,175.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     7,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,550.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,450.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,450.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,150.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     6,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,947.50
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,686.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,686.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,675.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,550.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,425.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,325.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,325.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,125.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,125.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,125.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,125.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,125.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     5,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,950.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,925.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,925.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,700.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,575.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,350.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     4,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     3,800.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     3,600.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     3,195.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     3,150.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     3,075.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     3,025.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/12/2020   Tuition Loan                    $     1,625.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   06/30/2020   June Interest                   $     2,633.02
ARHS   Tuition Money Manager                         2755    6/1/2020    Interest Trans from Loan Acct   $       540.67   X
ARHS   Tuition Money Manager                         2755    6/3/2020    Final Disbursement              $   141,442.96   X
ARHS   Tuition Money Manager                         2755   6/30/2020    Interest                        $       634.87
ARHS   Tuition Money Manager                         2755    6/1/2020    Payments on Loan                $       974.02
ARHS   Tuition Money Manager                         2755    6/5/2020    Payment on Loan                 $       500.00
ASHS   COMM INTEREST CHECKING ACCOUNT                2440    6/4/2020    transfer from operating acct    $    80,000.00   X
ASHS   COMM INTEREST CHECKING ACCOUNT                2440   6/29/2020    transfer from operating acct    $    93,500.00   X
ASHS   COMM INTEREST CHECKING ACCOUNT                2440   6/30/2020    Interest Earned                 $         1.44
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/1/2020    Tuition/fees                    $     7,900.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/1/2020    Tuition/fees                    $     6,000.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/3/2020    Tuition/fees                    $       800.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/3/2020    Tuition/fees                    $       800.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/3/2020    Tuition/fees                    $     9,300.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/4/2020    Tuition/fees                    $     9,300.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/4/2020    Tuition/fees                    $     2,100.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/4/2020    Tuition/fees                    $       300.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/4/2020    Tuition/fees                    $    10,000.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/4/2020    Tuition/fees                    $   161,600.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/4/2020    Tuition/fees                    $    41,100.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    6/5/2020    Tuition/fees                    $       600.00
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ASHS    NEXT YEAR'S TUITION AND FEES   3085    6/5/2020    Tuition/fees                                                                             $       9,300.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085    6/8/2020    Tuition/fees                                                                             $       9,300.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085    6/8/2020    Tuition/fees                                                                             $       9,900.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085    6/9/2020    Tuition/fees                                                                             $      63,457.13
ASHS    NEXT YEAR'S TUITION AND FEES   3085    6/9/2020    Tuition/fees                                                                             $         300.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/10/2020    Tuition/fees                                                                             $         700.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $         200.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $     133,945.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $       9,300.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $       2,500.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $       2,500.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $       1,000.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $         800.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/11/2020    Tuition/fees                                                                             $         400.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/16/2020    Tuition/fees                                                                             $      22,136.60
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/17/2020    Tuition/fees                                                                             $         600.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/17/2020    Tuition/fees                                                                             $         682.24
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/17/2020    Tuition/fees                                                                             $         500.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/17/2020    Tuition/fees                                                                             $       1,000.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/17/2020    Tuition/fees                                                                             $      18,080.81
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/19/2020    Tuition/fees                                                                             $         800.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/23/2020    Tuition/fees                                                                             $      12,495.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/23/2020    Tuition/fees                                                                             $       9,300.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/26/2020    Tuition/fees                                                                             $       3,000.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/29/2020    Tuition/fees                                                                             $         600.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/29/2020    Tuition/fees                                                                             $         600.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   6/30/2020    Interest                                                                                 $          45.12
ASHS    TUITION RESERVE ACCOUNT        0007   6/17/2020    Tuition and Fees                                                                         $   1,816,652.20
ASHS    TUITION RESERVE ACCOUNT        0007   6/22/2020    Tuition and Fees                                                                         $       7,700.00
ASHS    TUITION RESERVE ACCOUNT        0007   6/29/2020    Tuition and Fees                                                                         $       1,000.00
ASHS    TUITION RESERVE ACCOUNT        0007   6/30/2020    Interest Income                                                                          $       1,701.58
ASHS    OPERATING AND PAYROLL MMA      9162   6/17/2020    Student Services                                                                         $       3,323.00
ASHS    OPERATING AND PAYROLL MMA      9162   6/17/2020    Fundraising/Other                                                                        $      13,424.00
ASHS    OPERATING AND PAYROLL MMA      9162   6/17/2020    Cheerleader Uniforms/Camp                                                                $      21,313.00
ASHS    OPERATING AND PAYROLL MMA      9162   6/17/2020    Student Services                                                                         $         120.00
ASHS    OPERATING AND PAYROLL MMA      9162   6/17/2020    Fundraising/Other                                                                        $       1,639.00
ASHS    OPERATING AND PAYROLL MMA      9162   6/17/2020    Fundraising/Other                                                                        $       2,142.68
ASHS    OPERATING AND PAYROLL MMA      9162   6/17/2020    Fundraising/Salesian rent‐cook/Other                                                     $      13,351.41
ASHS    OPERATING AND PAYROLL MMA      9162   6/19/2020    Other/Courier Reimbursement                                                              $         200.00
ASHS    OPERATING AND PAYROLL MMA      9162   6/25/2020    Transfer from Archdiocese deposit account                                                $     303,500.00 Y
ASHS    OPERATING AND PAYROLL MMA      9162   6/30/2020    Interest Earned                                                                          $         248.22
ASHS    OPERATING ACCOUNT              2429    6/1/2020    Loan Payment                                                                             $         900.00
ASHS    OPERATING ACCOUNT              2429    6/1/2020    Visa Chromebook                                                                          $       1,525.00
ASHS    OPERATING ACCOUNT              2429    6/3/2020    int trans from tuition loan                                                              $      20,902.63 x
ASHS    OPERATING ACCOUNT              2429    6/3/2020    Interest transfer                                                                        $         118.13 x
ASHS    OPERATING ACCOUNT              2429    6/4/2020    Chrome Book                                                                              $          72.00
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Stop Payment 20092                                                                       $       1,777.02
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Stop Payment 20069                                                                       $       1,105.94
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Stop Payment 20064                                                                       $       1,024.80
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Loan Payment                                                                             $       1,000.00
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Stop Payment 20012                                                                       $          21.55
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Student Activity                                                                         $          40.00
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Stop Payment 19913                                                                       $         100.00
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Stop Payment 20097                                                                       $         224.90
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Stop Payment 20132                                                                       $         250.00
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Loan Payment                                                                             $         617.58
ASHS    OPERATING ACCOUNT              2429   6/15/2020    Loan Payment                                                                             $         412.00
ASHS    OPERATING ACCOUNT              2429   6/16/2020    Tuition and Fees                                                                         $         400.00
ASHS    OPERATING ACCOUNT              2429   6/17/2020    Donation/Legion                                                                          $       1,500.00
ASHS    OPERATING ACCOUNT              2429   6/18/2020    Chromebooks                                                                              $          38.82
ASHS    OPERATING ACCOUNT              2429   6/18/2020    Chromebooks                                                                              $         225.00
ASHS    OPERATING ACCOUNT              2429   6/18/2020    Senior Shirts                                                                            $       3,229.98
ASHS    OPERATING ACCOUNT              2429   6/25/2020    Senior Shirts                                                                            $       1,128.92
ASHS    OPERATING ACCOUNT              2429   6/29/2020    Senior Shirts                                                                            $         806.78
ASHS    OPERATING ACCOUNT              2429   6/30/2020    Interest Earned                                                                          $          12.15
PJPHS   Operating Account              8055   06/01/2020   Donations $4007.40 ; Student Activity $80.00                                             $       4,087.40
PJPHS   Operating Account              8055   06/01/2020   Instructional $ 83.45; Summer School $750                                                $         833.45
PJPHS   Operating Account              8055   06/01/2020   Tuition & Fees 20/21 School Year                                                         $      59,283.75
PJPHS   Operating Account              8055   06/02/2020   Tuition & Fees 20/21 School Year                                                         $     214,275.00
PJPHS   Operating Account              8055   06/03/2020   Donation                                                                                 $           1.04
PJPHS   Operating Account              8055   06/08/2020   Donation                                                                                 $         482.50
PJPHS   Operating Account              8055   06/11/2020   Tuition & Fees 19/20 School Year                                                         $         500.00
PJPHS   Operating Account              8055   06/11/2020   Tuition & Fees 20/21 School Year                                                         $      98,605.00
PJPHS   Operating Account              8055   06/12/2020   Student Services                                                                         $          60.00
PJPHS   Operating Account              8055   06/12/2020   Tuition & Fees 20/21 School Year                                                         $       4,000.00
PJPHS   Operating Account              8055   06/12/2020   Student Activities                                                                       $         376.50
PJPHS   Operating Account              8055   06/12/2020   Student Activities                                                                       $         120.00
PJPHS   Operating Account              8055   06/12/2020   Student Services                                                                         $         175.62
PJPHS   Operating Account              8055   06/17/2020   Void of CK44766 Stop Pymt Issued per Court                                               $          17.60
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44932 Stop Pymt Issued per Court                                              $          17.60
PJPHS   Operating Account              8055   06/17/2020   Void of CK 43987 Stop Pymt Issued per Court                                              $          18.43
PJPHS   Operating Account              8055   06/17/2020   Void of CK 43280 Stop Pymt Issued per Court                                              $          18.63
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44887 Stop Pymt Issued per Court                                              $          45.00
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44781 Stop Pymt Issued per Court                                              $          66.00
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44911 Stop Pymt Issued per Court                                              $          66.79
PJPHS   Operating Account              8055   06/17/2020   CK43654 Void as deposit                                                                  $          96.00
PJPHS   Operating Account              8055   06/17/2020   CK44686 Stop Pymt Issued per Court ‐ also wrong name; already reissued on correct name   $         155.00
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44365 Stop Pymt Issued per Court                                              $         200.00
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44851 Stop Pymt Issued per Court                                              $         300.00
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44934 Stop Pymt Issued per Court                                              $       1,265.00
PJPHS   Operating Account              8055   06/17/2020   Void of CK 44941 Stop Pymt Issued per Court                                              $       1,689.50
PJPHS   Operating Account              8055   06/19/2020   Student Activities                                                                       $         538.00
PJPHS   Operating Account              8055   06/19/2020   Donation                                                                                 $         200.00
PJPHS   Operating Account              8055   06/19/2020   Tuition & Fees ‐ 19/20 tuition ($1316.93) & 20/21 tuition ($63.50)                       $       1,380.43
PJPHS   Operating Account              8055   06/19/2020   Tuition & Fees 19/20 School Year                                                         $       3,250.00
PJPHS   Operating Account              8055   06/19/2020   Tuition & Fees 20/21 School Year                                                         $      15,100.00
PJPHS   Operating Account              8055   06/22/2020   Student Activites                                                                        $          28.95
PJPHS   Operating Account              8055   06/22/2020   summer school 2020                                                                       $         400.47
PJPHS   Operating Account              8055   06/23/2020   Student Activities                                                                       $          19.30
PJPHS   Operating Account              8055   06/23/2020   Void Ck 45107                                                                            $         132.87
PJPHS   Operating Account              8055   06/26/2020   Student Activities                                                                       $          30.00
PJPHS   Operating Account              8055   06/26/2020   Student Activities                                                                       $         400.00
PJPHS   Operating Account              8055   06/26/2020   Administration                                                                           $           1.00
PJPHS   Operating Account              8055   06/26/2020   Tuition & Fees 20/21 School Year                                                         $      16,750.00
PJPHS   Operating Account              8055   06/26/2020   Tuition & Fees 19/20 School Year                                                         $       1,000.00
PJPHS   Operating Account              8055   06/26/2020   Student Activities                                                                       $         700.00
PJPHS   Operating Account              8055   06/26/2020   Tuition & Fees 20/21 School Year                                                         $       7,500.00
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PJPHS   Reserve Loan                                 0271   06/17/2020   FB&T Tuition Loans                                                  $    16,600.00
PJPHS   Reserve Loan                                 0271   06/17/2020   FB&T Tuition Loans                                                  $   166,894.33
PJPHS   Reserve Loan                                 0271   06/18/2020   FB&T Tuition Loans                                                  $    87,975.00
PJPHS   Reserve Loan                                 0271   06/18/2020   FB&T Tuition Loans                                                  $    94,325.00
PJPHS   Reserve Loan                                 0271   6/30/2020    Interest                                                            $       900.98
PJPHS   Savings                                      3199   6/30/2020    Quarterly Interest                                                  $       203.61
PJPHS   Checking Account                             4242   06/01/2020   Transf Int from Reserve                                             $       280.23   X
PJPHS   Checking Account                             4242   06/01/2020   Tuition & Fees 20/21 School Year                                    $       500.00
PJPHS   Checking Account                             4242   06/01/2020   Tuition & Fees 20/21 School Year                                    $     1,400.00
PJPHS   Checking Account                             4242   06/01/2020   Tuition & Fees 20/21 School Year                                    $     7,450.00
PJPHS   Checking Account                             4242   06/01/2020   Tuition & Fees 20/21 School Year                                    $     9,950.00
PJPHS   Checking Account                             4242   06/19/2020   Tuition & Fees 20/21 School Year                                    $    10,425.00
PJPHS   Checking Account                             4242   06/22/2020   Tuition & Fees 20/21 School Year                                    $       500.00
PJPHS   Checking Account                             4242   06/26/2020   Tuition & Fees 20/21 School Year                                    $    10,404.73
PJPHS   Checking Account                             4242   6/30/2020    Interest                                                            $        22.18
SCCS    Tuition Reserve                              0437   6/17/2020    FBT Loan Fundings                                                   $   582,260.51
SCCS    Tuition Reserve                              0437   6/30/2020    Interest                                                            $       566.68
SCCS    Operating                                    3063    6/1/2020    FBT Tuition Reserve                                                 $       105.80   X
SCCS    Operating                                    3063    6/1/2020    Deferred Tuition                                                    $     6,000.00
SCCS    Operating                                    3063    6/2/2020    Deferred Tuition                                                    $       425.00
SCCS    Operating                                    3063    6/3/2020    Tuition                                                             $     1,509.39
SCCS    Operating                                    3063    6/3/2020    FBT Tuition Reserve                                                 $     7,326.16   X
SCCS    Operating                                    3063    6/4/2020    Deferred Tuition                                                    $     8,547.00
SCCS    Operating                                    3063    6/5/2020    Deferred Tuition                                                    $     6,025.00
SCCS    Operating                                    3063    6/8/2020    Deferred Tuition                                                    $    11,045.00
SCCS    Operating                                    3063    6/9/2020    Deferred Tuition                                                    $    18,995.00
SCCS    Operating                                    3063   6/10/2020    Deferred Tuition                                                    $     7,050.00
SCCS    Operating                                    3063   6/11/2020    Deferred Tuition                                                    $    19,935.00
SCCS    Operating                                    3063   6/12/2020    Deferred Tuition                                                    $    18,140.00
SCCS    Operating                                    3063   6/15/2020    Deferred Tuition                                                    $     8,988.00
SCCS    Operating                                    3063   6/16/2020    Deferred Tuition                                                    $     9,145.00
SCCS    Operating                                    3063   6/18/2020    Deferred Tuition                                                    $    44,205.00
SCCS    Operating                                    3063   6/22/2020    Deferred Tuition                                                    $     9,520.00
SCCS    Operating                                    3063   6/23/2020    Deferred Tuition                                                    $    19,290.00
SCCS    Operating                                    3063   6/24/2020    Deferred Tuition                                                    $    27,490.00
SCCS    Operating                                    3063   6/29/2020    Deferred Tuition                                                    $    20,185.00
SCCS    Operating                                    3063   6/30/2020    Deferred Tuition                                                    $    18,220.00
SCCS    Operating                                    3063   6/30/2020    INTEREST                                                            $        53.74
SCCS    Operating                                    0502   06/01/2020   Tuition, Student services,                                          $     5,055.23
SCCS    Operating                                    0502   06/02/2020   Student activities                                                  $        26.35
SCCS    Operating                                    0502   06/02/2020   Fundraising                                                         $        45.00
SCCS    Operating                                    0502   06/03/2020   Tuition                                                             $    56,002.00
SCCS    Operating                                    0502   06/04/2020   Fundraising                                                         $        50.00
SCCS    Operating                                    0502   06/09/2020   JE ‐ Void Cks ‐ Various ‐ To void prepetition checks uncleared      $     3,416.03
SCCS    Operating                                    0502   06/10/2020   Application Fees                                                    $        27.92
SCCS    Operating                                    0502   06/10/2020   Fundraising                                                         $       800.00
SCCS    Operating                                    0502   06/11/2020   Deferred tuition, Student services                                  $     3,064.00
SCCS    Operating                                    0502   06/15/2020   Fundraising                                                         $       200.00
SCCS    Operating                                    0502   06/15/2020   Tuition, Student services,                                          $    10,252.00
SCCS    Operating                                    0502   06/18/2020   Fundraising                                                         $       100.00
SCCS    Operating                                    0502   06/18/2020   Tuition, Student services                                           $       525.00
SCCS    Operating                                    0502   06/19/2020   Fundraising                                                         $     3,704.00
SCCS    Operating                                    0502   06/21/2020   Fundraising                                                         $        20.00
SCCS    Operating                                    0502   06/22/2020   Fundraising                                                         $       200.00
SCCS    Operating                                    0502   06/23/2020   Fundraising                                                         $       200.00
SCCS    Operating                                    0502   06/23/2020   Deferred tuition, Student activities, Student services              $     7,416.30
SCCS    Operating                                    0502   06/25/2020   Fundraising                                                         $     1,583.00
SCCS    Operating                                    0502   06/25/2020   Tuition, Deferred tuition                                           $    10,445.00
SCCS    Operating                                    0502   06/26/2020   Fundraising                                                         $     1,018.95
SCCS    Operating                                    0502   06/26/2020   Student activities, Student services                                $     2,772.06
SCCS    Operating                                    0502   06/30/2020   Deferred tuition, Student services, Donations, Student activities   $    57,517.87
SCCS    Operating                                    0502   06/30/2020   June 2020 Interest                                                  $        36.40
SCCS    QB Club                                      7036   6/11/2020    Fundraising                                                         $     2,022.00
SCCS    QB Club                                      7036   6/11/2020    Fundraising                                                         $       200.00
SCCS    QB Club                                      7036   6/26/2020    Fundraising                                                         $     4,584.67
SCCS    Payroll (PPP)                                5678   6/30/2020    Interest                                                            $         9.72
SMSS    Operating Account                            3693   06/01/2020   Reverse entry to correct voided check to A. Higgins                 $        79.39
SMSS    Operating Account                            3693   06/05/2020   Transfer from MM                                                    $    10,500.00   X
SMSS    Operating Account                            3693   06/10/2020   Transfer from MM                                                    $     4,800.00   X
SMSS    Operating Account                            3693   06/15/2020   Transfer from MM                                                    $   142,200.00   X
SMSS    Operating Account                            3693   06/17/2020   Transfer from MM                                                    $     8,000.00   X
SMSS    Operating Account                            3693   06/23/2020   Transfer from MM                                                    $    14,000.00   X
SMSS    Operating Account                            3693   06/27/2020   Transfer from MM                                                    $   105,000.00   X
SMSS    Operating Account                            3693   06/30/2020   Interest Earned                                                     $         8.12
SMSS    Money Market Account                         9129   06/01/2020   State of Louisiana ‐ School Choice System                           $    69,328.90
SMSS    Money Market Account                         9129   06/04/2020   Donations                                                           $     4,985.00
SMSS    Money Market Account                         9129   06/04/2020   Tuition                                                             $     5,332.16
SMSS    Money Market Account                         9129   06/04/2020   Grants                                                              $    26,280.00
SMSS    Money Market Account                         9129   06/09/2020   Tuition                                                             $       100.00
SMSS    Money Market Account                         9129   06/09/2020   Donations                                                           $       572.41
SMSS    Money Market Account                         9129   06/09/2020   Tuition                                                             $     2,859.36
SMSS    Money Market Account                         9129   06/10/2020   Tuition                                                             $        10.00
SMSS    Money Market Account                         9129   06/10/2020   Tuition                                                             $     4,709.31
SMSS    Money Market Account                         9129   06/10/2020   Grants                                                              $    10,571.30
SMSS    Money Market Account                         9129   06/15/2020   Application fees                                                    $        30.00
SMSS    Money Market Account                         9129   06/15/2020   Summer Camp                                                         $        95.00
SMSS    Money Market Account                         9129   06/15/2020   Donations                                                           $       230.00
SMSS    Money Market Account                         9129   06/15/2020   Vending machines                                                    $       251.00
SMSS    Money Market Account                         9129   06/15/2020   Capital Funds                                                       $     5,000.00
SMSS    Money Market Account                         9129   06/17/2020   Tuition                                                             $        28.00
SMSS    Money Market Account                         9129   06/17/2020   Tuition                                                             $        90.00
SMSS    Money Market Account                         9129   06/17/2020   ACE Scholarships                                                    $     3,375.00
SMSS    Money Market Account                         9129   06/17/2020   To endowment                                                        $   122,396.18
SMSS    Money Market Account                         9129   06/23/2020   Donations                                                           $     1,300.00
SMSS    Money Market Account                         9129   06/30/2020   Interest Income                                                     $        15.66
SMSS    Money Market Account                         9129   06/30/2020   Tuition                                                             $       900.00
SMSS    Payroll Account                              9602   06/27/2020   transfer from operating                                             $   128,996.74   X
SMSS    Payroll Account                              9602   06/27/2020   transfer from operating                                             $    13,142.99   X
SMSS    Payroll Account                              9602   06/27/2020   transfer from operating                                             $       133.19   X
SMSS    Payroll Account                              9602   06/27/2020   transfer from payroll                                               $         5.00   X
SMSS    Operating Account                            3404   6/30/2020    Tuition and Fees                                                    $     5,202.83
SMSS    Operating Account                            3404   6/30/2020    Tuition and Fees                                                    $   273,098.68
SMSS    Operating Account                            3404   6/30/2020    Interest                                                            $       189.46
SSA     St Scholastica Academy Commercial Checking   3106   06/30/2020   transfer from operating                                             $     2,366.42   X
SSA     Regular Checking                             6217   06/30/2020   transfer from operating                                             $     4,164.20   X
SSA     Operating Account                            4776   06/30/2020   transfer from PPP acct                                              $    72,468.49   X
SSA     Operating Account                            4776   06/30/2020   transfer from Operating acct                                        $   177,531.51   X
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SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $           ‐
SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $    5,220.00
SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $   10,440.00
SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $   10,790.00
SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $   10,790.00
SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $    9,440.00
SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $   10,790.00
SSA   Tuition Money Manager Account                  8457   06/01/2020   tuition & fees                        $   10,725.00
SSA   Tuition Money Manager Account                  8457   06/02/2020   tuition & fees                        $    5,000.00
SSA   Tuition Money Manager Account                  8457   06/02/2020   tuition & fees                        $   10,440.00
SSA   Tuition Money Manager Account                  8457   06/02/2020   tuition & fees                        $    8,440.00
SSA   Tuition Money Manager Account                  8457   06/04/2020   tuition & fees                        $   10,440.00
SSA   Tuition Money Manager Account                  8457   06/08/2020   tuition & fees                        $   10,840.00
SSA   Tuition Money Manager Account                  8457   06/15/2020   tuition & fees                        $   10,440.00
SSA   Tuition Money Manager Account                  8457   06/15/2020   tuition & fees                        $    6,375.00
SSA   Tuition Money Manager Account                  8457   06/19/2020   tuition & fees                        $      135.00
SSA   Tuition Money Manager Account                  8457    6/30/2020   interest                              $       29.93
SSA   Tuition Money Manager Account                  8457     6/1/2020   int transfer from tuition loan acct   $       25.23 X
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,540.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,540.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,540.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,365.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,190.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,190.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,190.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,190.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,190.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,140.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,965.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,840.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,840.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,840.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,615.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,015.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,775.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   11,110.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,840.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,775.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,240.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $   10,225.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    9,690.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    8,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    8,340.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    8,340.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    7,875.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    7,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    6,625.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    6,625.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    6,000.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    5,940.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                           $    5,800.00
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SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                                                           $       5,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                                                           $       5,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                                                           $       5,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                                                           $       5,340.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                                                           $       4,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                                                           $       3,889.60
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/18/2020   Loan Funded                                                           $       3,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       9,940.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       8,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      11,315.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      11,240.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      11,190.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      11,190.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $      10,375.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       9,940.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       8,725.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       7,940.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       7,500.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       7,440.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       5,940.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       5,790.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/19/2020   Loan Funded                                                           $       5,220.00
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/25/2020   Loan Funding Cancelation                                              $      (5,981.50)
SSA   Borrower Loan Funds As Custodian for Tuition   0067   06/30/2020   interest inc                                                          $       1,086.08
SSA   Operating Account                              3065   06/30/2020   Card Processing fee Income BBMS                                       $           2.70
SSA   Operating Account                              3065   06/30/2020   Donation ‐ Greater Giving                                             $           9.25
SSA   Operating Account                              3065   06/30/2020   Student Services, BBMS StudentLunchPymts                              $          12.75
SSA   Operating Account                              3065   06/30/2020   Venmo Donations & Sales                                               $          14.80
SSA   Operating Account                              3065   06/30/2020   Student Services, BBMS StudentLunchPymts In‐Transit to Bank in July   $          63.00
SSA   Operating Account                              3065   06/30/2020   Donation ‐ Grotto Pavers BBMS                                         $         125.00
SSA   Operating Account                              3065   06/30/2020   old O/S Ck Voided & Stop Pymt, Atmos & not to reissue                 $         345.37
SSA   Operating Account                              3065   06/30/2020   Student Services ‐ Parking Pass Inc In‐Transit to bank in July BBMS   $       1,470.00
SSA   Operating Account                              3065   06/30/2020   Student Services Parking Passes BBMS                                  $       1,920.00
SSA   Operating Account                              3065   06/30/2020   SummerCamp Receipts BBMS                                              $      10,015.00
SSA   Operating Account                              3065   06/01/2020   Tuition & Fees                                                        $      10,440.00
SSA   Operating Account                              3065   06/01/2020   Tuition & Fees                                                        $     499,760.00
SSA   Operating Account                              3065   06/02/2020   Tuition & Fees                                                        $      20,880.00
SSA   Operating Account                              3065   06/02/2020   Tuition & Fees                                                        $     401,115.00
SSA   Operating Account                              3065   06/04/2020   Tuition & Fees & $70 Donation                                         $      19,860.00
SSA   Operating Account                              3065   06/04/2020   Tuition & Fees, Student Services, Donations                           $      86,365.00
SSA   Operating Account                              3065   06/09/2020   Tuition & Fees & $20 Lunch Pymt                                       $     100,620.00
SSA   Operating Account                              3065   06/10/2020   Tuition & Fees                                                        $       2,963.88
SSA   Operating Account                              3065   06/10/2020   Tuition & Fees                                                        $       2,963.89
SSA   Operating Account                              3065   06/15/2020   Tuition & Fees, Student Services, Donations                           $      60,359.00
SSA   Operating Account                              3065   06/17/2020   Tuition & Fees                                                        $         700.00
SSA   Operating Account                              3065   06/22/2020   Tuition & Fees, Student Services, Donations                           $     142,351.30
SSA   Operating Account                              3065   06/23/2020   Tuition & Fees                                                        $      10,440.00
SSA   Operating Account                              3065   06/24/2020   Tuition & Fees, Student Services                                      $       1,052.00
SSA   Operating Account                              3065   06/25/2020   Tuition & Fees & Summer Camp                                          $      10,601.00
SSA   Operating Account                              3065   06/30/2020   Tuition & Fees, Student Services, Donations                           $      70,992.62
SSA   Operating Account                              3065   06/30/2020   Student Activities                                                    $         301.75
SSA   Operating Account                              3065   06/30/2020   old O/S Cks, Voided & Stop Pymts, put on Pre‐Petition Liability       $         366.00
SSA   St. Scholastica Academy Account                2054    6/30/2020   Other Income, Interest                                                $           0.04

                                                                                                                                               $   50,631,510.19
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                                           605
Cash Disbursements Journal
Cash Name         The Roman Catholic Church of the Archdiocese of New Orleans
Case Number       20‐10846


Entity Key        Account Name                                                  Account # Ending in          Date                Check No. / Ref No. Payee                                             Description (Purpose)*, **                                             Amount                Inter‐account Transfer   Insider?
ACHS              Operating Account                                                                   1514          6/5/2020            13012                                                          Hand Soap and Name tags                                                $             82.37
ACHS              Operating Account                                                                   1514          6/16/2020         20‐06‐014                                                        Eric Mayer Donation                                                    $            625.00
ACHS              Operating Account                                                                   1514          6/19/2020           13043                                                          Classroom software                                                     $            198.00   *
ACHS              Operating Account                                                                   1514          6/19/2020           13056                                                          Testing Supplies                                                       $             94.94   *
ACHS              Operating Account                                                                   1514          6/19/2020           13057                                                          Classroom Software                                                     $             44.99   *
ACHS              Operating Account                                                                   1514          6/19/2020           13058                                                          Classroom software                                                     $             76.43   *
ACHS              Operating Account                                                                   1514          6/19/2020           13059                                                          Classroom supplies                                                     $             83.93   *
ACHS              Operating Account                                                                   1514          6/19/2020           13060                                                          Basketball Supplies                                                    $            144.00   *
ACHS              Operating Account                                                                   1514          6/19/2020           13062                                                          ALUMNA AND SENOR SUPPLIES                                              $            591.63   *
ACHS              Operating Account                                                                   1514          6/19/2020           13064                                                          Softball Equipment                                                     $             54.58   *
ACHS              Operating Account                                                                   1514          6/19/2020           13066                                                          GALA ‐ PARADE OF PRIZES                                                $            184.24   *
ACHS              Operating Account                                                                   1514          6/29/2020   PETTY CASH ‐ 6/29/20                                                   Petty Cash Reimbursement                                               $             27.50   *
ACHS              Operating Account                                                                   1514          6/1/2020            12994                                                          OPERATIONS AND MAINTENANCE OF PLANT                                    $          3,699.00
ACHS              Operating Account                                                                   1514          6/5/2020            13003                                                          Piccolo and Clarinet`                                                  $            515.00
ACHS              Operating Account                                                                   1514          6/5/2020            13006                                                          Remove Fallen Trees                                                    $          1,572.00
ACHS              Operating Account                                                                   1514          6/5/2020            13007                                                          Beverage Napkins                                                       $            577.49
ACHS              Operating Account                                                                   1514          6/5/2020            13010                                                          Monograms                                                              $            224.00
ACHS              Operating Account                                                                   1514          6/5/2020            13016                                                          TUITION REFUND ‐FACULTY REDUCTION FOR CAROLINE                         $          1,820.00
ACHS              Operating Account                                                                   1514          6/12/2020           13033                                                          SUMMER CAMP SUPPLIES                                                   $          3,325.28
ACHS              Operating Account                                                                   1514          6/19/2020           13035                                                          Gym Painting                                                           $          1,830.00
ACHS              Operating Account                                                                   1514          6/19/2020           13039                                                          Supplies Summer Camp                                                   $            540.54
ACHS              Operating Account                                                                   1514          6/19/2020           13040                                                          Dance Team Uniform Refund                                              $             50.00
ACHS              Operating Account                                                                   1514          6/19/2020           13041                                                          Work Study Refund                                                      $          2,000.00
ACHS              Operating Account                                                                   1514          6/19/2020           13047                                                          Tree trimming                                                          $          4,305.00
ACHS              Operating Account                                                                   1514          6/19/2020           13049                                                          Painting Gym                                                           $          1,830.00
ACHS              Operating Account                                                                   1514          6/19/2020           13050                                                          Work Study refund                                                      $          1,000.00
ACHS              Operating Account                                                                   1514          6/19/2020           13055                                                          Student Activity supplies                                              $             92.12
ACHS              Operating Account                                                                   1514          6/19/2020           13058                                                          Classroom software                                                     $             28.38
ACHS              Operating Account                                                                   1514          6/19/2020           13065                                                          Volleyball Team supplies                                               $            181.54
ACHS              Operating Account                                                                   1514          6/19/2020           13067                                                          SUMMER CAMP‐ SUPPLIES                                                  $            749.68
ACHS              Operating Account                                                                   1514          6/25/2020           13072                                                          ACORN SUPPLIES                                                         $            711.28
ACHS              Operating Account                                                                   1514          6/25/2020           13073                                                          FINGERPRINTS                                                           $             58.00
ACHS              Operating Account                                                                   1514          6/25/2020           13074                                                          STIPEND                                                                $          1,000.00
ACHS              Operating Account                                                                   1514          6/25/2020           13077                                                          STIPEND                                                                $          1,000.00
ACHS              Operating Account                                                                   1514          6/25/2020           13078                                                          AWARDS                                                                 $            103.99
ACHS              Operating Account                                                                   1514          6/25/2020           13079                                                          ACORN CAMP SUPPLIES                                                    $             78.62
ACHS              Operating Account                                                                   1514          6/25/2020           13080                                                          CHROMEBOOK CHARGERS                                                    $             63.96
ACHS              Operating Account                                                                   1514          6/2/2020            44608                                                          NSF Check‐Operating Acct ‐ Senior Bow                                  $             12.00
ACHS              Operating Account                                                                   1514          6/26/2020           45431                                                          NSF Check‐Operating Acct                                               $          1,008.50
ACHS              Operating Account                                                                   1514          6/12/2020           13022        CLARION HERALD                                    ADVERTISING                                                            $          1,250.00
ACHS              Operating Account                                                                   1514          6/1/2020            12996        RELIASTAR LIFE INSURANCE CO.                      LIFE INS                                                               $             17.34   *
ACHS              Operating Account                                                                   1514          6/4/2020       ACH ‐ ENTERGY ENTERGY                                               ELECTRICITY                                                            $         12,572.15   *
ACHS              Operating Account                                                                   1514          6/11/2020      ACH ‐ JP WATER JEFFERSON PARISH DEPT. OF WATER                      WATER BILL                                                             $             53.63   *
ACHS              Cash‐on‐line giving                                                                 2809          6/22/2020   Stripe online refundsVarious Camp Refunds Prepetition                  SUMMER CAMP REFUNDS Prepetition                                        $          8,750.00   *
ACHS              Cash‐on‐line giving                                                                 2809          6/30/2020   Stripe online refundsVarious Camp Refunds Prepetition                  SUMMER CAMP REFUNDS Prepetition                                        $            560.00   *
ACHS              Tuition Borrower Loan Funds                                                         0184          6/1/2020                                                                           TRANSFER TO OPERATING                                                  $             29.07   X
ACHS              PPP                                                                                 5667          6/1/2020                                                                           TRANSFER TO OPERATING                                                  $             53.63   X
ACHS              PPP                                                                                 5667          6/3/2020                                                                           TRANSFER TO OPERATING                                                  $         12,572.15   X
ACHS              PPP                                                                                 5667          6/26/2020                                                                          TRANSFER TO OPERATING                                                  $        116,100.15   X
ACHS              Operating Account                                                                   1514          6/25/2020          13068       ARCHDIOCESE OF N.O. ‐ INFORMATION TECH              CISCO MERAKI MR‐45 ACCESS POINT W/ 5 YR WARRANTY PLUS LABOR MISC SUPPL $         15,416.04   Y
ACHS              Operating Account                                                                   1514          6/25/2020          13069       ARCHDIOCESE OF N.O. ‐ INS. OFFICE                   FLOOD INSURANCE CAFETERIA                                              $          2,852.00   Y
ACHS              Operating Account                                                                   1514          6/5/2020           13002       ARCHDIOCESE OF N.O. ‐ INFORMATION TECH              INTERNET COSTS/ EMAIL ACCTS /HOSTING OF WLAN                           $          8,629.50   Y, *
ACHS              Next Year Cash                                                                      4967          6/3/2020                                                                           TRANSFER FROM BANK TO ARCH 20‐21                                       $        530,000.00   Y, X
ACHS              Next Year Cash                                                                      4967          6/4/2020                                                                           TRANSFER FROM BANK TO ARCH 20‐21                                       $        500,000.00   Y, X
ACHS              Next Year Cash                                                                      4967          6/5/2020                                                                           TRANSFER FROM BANK TO ARCH 20‐21                                       $        500,000.00   Y, X
ACHS              Operating Account                                                                   1514          6/1/2020             12995        GUARDIAN                                         HOSPITALIZATION, DENTAL, VISION, LIFE ‐ 6/20                           $          2,180.66
ACHS              Operating Account                                                                   1514          6/1/2020             12997        EASYPERMIT POSTAGE                               POSTAGE6150 ADMINISTRATIVE EXPENSES:ADMINISTRATIVE EXPENSES:ADMINISTAT $             32.58
ACHS              Operating Account                                                                   1514          6/1/2020             12998        PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC       POSTAGE MACHINE LEASE‐ CHAPTER 11 LATE FEE                             $             40.50
ACHS              Operating Account                                                                   1514          6/5/2020             12999        A & L SALES, INC.                                CUSTODIAL SUPPLIES & MATERIALS                                         $          2,110.78
ACHS              Operating Account                                                                   1514          6/5/2020             13000        ALARM PROTECTION SERVICES                        CONTRACTED SERVICES ‐ PLANT                                            $            306.00
ACHS              Operating Account                                                                   1514          6/5/2020             13001        AQUATIC SPECIALTIES, INC.                        Maintenance fish tank                                                  $            150.00
ACHS              Operating Account                                                                   1514          6/5/2020             13004        DESIGN A LATTE BOUTIQUE                          Cinch Bags                                                             $            372.16
ACHS              Operating Account                                                                   1514          6/5/2020             13005        DISINFX INC                                      Monthly cleaning                                                       $            575.00
ACHS              Operating Account                                                                   1514          6/5/2020             13008        HUMBUG                                           Chapellette Supplies                                                   $            945.00
ACHS              Operating Account                                                                   1514          6/5/2020             13009        HUNT TELECOMMUNICATIONS, LLC                     Telephone Bills                                                        $            173.12
ACHS              Operating Account                                                                   1514          6/5/2020             13011        JEFFERSON PARISH INSPECTION & CODE ENFORCEMENT   RENEWAL OF ELEVATOR MAINT CERTIFICATE                                  $             60.00
ACHS              Operating Account                                                                   1514          6/5/2020             13013        PAN‐AMERICAN LIFE INS. CO.                       CANCER BENEFIT‐ 6/1/20‐6/30/20                                         $             44.90
ACHS              Operating Account                                                                   1514          6/5/2020             13014        PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC       POSTAGE MACHINE LEASE                                                  $            776.41
ACHS              Operating Account                                                                   1514          6/5/2020             13015        SAM'S CLUB/SYNCHRONY BANK                        SAM'S CREDIT CARD STATEMENT BILLING PERIOD 5/3/19‐6/2/20               $          1,689.29
ACHS              Operating Account                                                                   1514          6/5/2020             13017        WASTE MANAGEMENT OF LOUISIANA, L.L.C.            DUMPSTER SERVICE ‐ 5/20                                                $             75.00
ACHS              Operating Account                                                                   1514          6/11/2020            13018        ZOO 2 U                                          SUMMER CAMP SUPPLIES                                                   $            350.00
ACHS              Operating Account                                                                   1514          6/12/2020            13019        AT&T                                             TELEPHONE BILL                                                         $             77.64
ACHS              Operating Account                                                                   1514          6/12/2020            13020        AT&T                                             TELEPHONE BILL                                                         $             77.64
ACHS              Operating Account                                                                   1514          6/12/2020            13021        BSN SPORTS, LLC                                  SPORTS TSHIRTS                                                         $            409.50
ACHS              Operating Account                                                                   1514          6/12/2020            13023        ED SMITH'S STENCIL WORKS                         SENIOR AWARDS                                                          $             52.54
ACHS              Operating Account                                                                   1514          6/12/2020            13024        FAVORITES PROMOTIONAL PRODUCTS                   LOGO FACE MASKS                                                        $            196.56
ACHS              Operating Account                                                                   1514          6/12/2020            13025        FIRST BANK & TRUST                               CREDIT CARD BILL                                                       $          2,084.02
ACHS              Operating Account                                                                   1514          6/12/2020            13026        HOME DEPOT CREDIT SERVICES                       REPAIRS & MAINTENANCE                                                  $            396.89
ACHS              Operating Account                                                                   1514          6/12/2020            13027        IDEAL LIGHTING, INC                              REPAIRS & MAINTENANCE                                                  $            259.90
ACHS              Operating Account                                                                   1514          6/12/2020            13028        LD DESIGNS, LLC                                  SENIOR EXPENSES                                                        $            200.80
ACHS              Operating Account                                                                   1514          6/12/2020            13029        NELNET BUSINESS SOLUTIONS, INC                   INSTRUCTIONAL TECHNOLOGY EXPENSES:SOFTWARE                             $            146.11
ACHS              Operating Account                                                                   1514          6/12/2020            13030        RELIASTAR LIFE INSURANCE CO.                     INSURANCE PAID BY EMPLOYEES                                            $             17.34
ACHS              Operating Account                                                                   1514          6/12/2020            13031        ROLLAND SAFE & LOCK                              KEYS                                                                   $             10.92
ACHS              Operating Account                                                                   1514          6/12/2020            13032        THE HILLER COMPANIES, INC                        RECHARGE VAR EXTINGUISHERS                                             $          3,327.93
ACHS              Operating Account                                                                   1514          6/12/2020            13034        WEX BANK                                         6635‐ FUEL ‐ #65853613‐ TRUCK                                          $             30.01
ACHS              Operating Account                                                                   1514          6/19/2020            13036        A & L SALES, INC.                                Cleaning Supplies                                                      $          1,007.98
ACHS              Operating Account                                                                   1514          6/19/2020            13037        A.C. SPECIALTIES, INC.                           Socks for Bookstore                                                    $          9,421.88
ACHS              Operating Account                                                                   1514          6/19/2020            13038        AMERICAN ALL STAR, LLC                           Cheer Camp Deposit                                                     $          3,000.00
ACHS              Operating Account                                                                   1514          6/19/2020            13042        COLLEGE BOARD                                    Advanced Placement tests                                               $         15,022.00
ACHS              Operating Account                                                                   1514          6/19/2020            13044        DESIGN A LATTE BOUTIQUE                          Garden Flag Chapellettes                                               $            185.65
ACHS              Operating Account                                                                   1514          6/19/2020            13045        DIAL ONE FRANKLYNN PEST CONTROL CO., INC.        MONTHLY PEST CONTROL ‐ 6/12/20                                         $            393.00
ACHS              Operating Account                                                                   1514          6/19/2020            13046        DOCUMART                                         SUMMER CAMP‐ YARD SIGNS                                                $             39.31
ACHS              Operating Account                                                                   1514          6/19/2020            13048        FOLEY MARKETING, INC                             Summer Camp T Shirts                                                   $            181.55
ACHS              Operating Account                                                                   1514          6/19/2020            13051        GBP DIRECT, INC.                                 SUMMER CAMP SUPPKLIES                                                  $            168.08
ACHS              Operating Account                                                                   1514          6/19/2020            13052        HELM PAINTS ‐ METAIRIE                           Office Blinds                                                          $            888.49
ACHS              Operating Account                                                                   1514          6/19/2020            13053        INTEGRITY CARPET SALES INC                       Flooring in gym                                                        $          3,988.25
ACHS              Operating Account                                                                   1514          6/19/2020            13054        JSR VETTING SERVICES, LLC                        Background checks                                                      $            120.00
ACHS              Operating Account                                                                   1514          6/19/2020            13061        ON‐TIME DRAIN CLEANING LLC.                      Plumbing repairs                                                       $            707.00
ACHS              Operating Account                                                                   1514          6/19/2020            13063        RICHARD REAMES TROPHY & AWARDS LLC               STUDENT ACTIVITIES                                                     $             26.01
ACHS              Operating Account                                                                   1514          6/25/2020            13070        AUTOMATED CONTROL SYSTEMS, INC.                  REPAIR                                                                 $            389.03
ACHS              Operating Account                                                                   1514          6/25/2020            13071        BLP MOBILE PAINT CO. METAIRIE                    PAINT SUPPLIES                                                         $            307.94
ACHS              Operating Account                                                                   1514          6/25/2020            13075        GBP DIRECT, INC.                                 OFFICE SUPPLIES                                                        $            204.30
ACHS              Operating Account                                                                   1514          6/25/2020            13076        IDEAL LIGHTING, INC                              SUPPLIES                                                               $            348.02
ACHS              Operating Account                                                                   1514          6/25/2020            13081        RICHARD REAMES TROPHY & AWARDS LLC               AWARDS                                                                 $            778.60
ACHS              Operating Account                                                                   1514          6/25/2020            13082        RICOH USA, INC                                   COPIER COST                                                            $            184.59
ACHS              Operating Account                                                                   1514          6/25/2020            13083        SYNCB/AMAZON                                     SUMMER CAMP SUPPLIES                                                   $          1,359.74
ACHS              Operating Account                                                                   1514          6/25/2020            13084        WELLS FARGO VENDOR FINANCIAL SERVICES, LLC       COPIER COST                                                            $            273.33
ACHS              Operating Account                                                                   1514          6/30/2020           300001        PONTCHARTRAIN CENTER                             GRADUATION VENUE RENTAL COST                                           $          8,656.70
ACHS              Operating Account                                                                   1514          6/11/2020        ACH ‐ ATMOS      ATMOS ENERGY                                     GAS BILL                                                               $          3,648.35
ACHS              Operating Account                                                                   1514          6/26/2020    ACH‐JASON BROWN DEPARTMENT OF SOCIAL SERVICES                         JASON BROWN #000581594‐04                                              $            317.00
ACHS              Operating Account                                                                   1514          6/26/2020     ACH‐PR COST JUNE CRESCENT PAYROLL SOLUTIONS INC                      PAYROLL COSTS ‐ PR 6.25.2020                                           $            352.50
ACHS              Operating Account                                                                   1514          6/29/2020      ACH‐JEFF WATER JEFFERSON PARISH DEPT. OF WATER                      RECORD JEFF PARISH WATER PD 5/27/20 (METER DATE 4/16/20)               $             97.60
ACHS              Operating Account                                                                   1514          6/29/2020   ETTY CASH SR REFUN Various Payees                                      Senior Refunds                                                         $            858.00
ACHS              Operating Account                                                                   1514          6/29/2020   PETTY CASH ‐ 6/29/20Various Payees                                     Petty Cash Reimbursement                                               $            520.46
ACHS              Operating Account                                                                   1514          6/3/2020           20‐06‐007      First View                                       RECORD FIRST VIEW BANK CHARGE ‐ 6/3/20 ‐ GALA                          $             12.10
ACHS              Operating Account                                                                   1514          6/15/2020          20‐06‐013      FB&T                                             RECORD VISA CHARGES ‐ OPERATING ‐ 6/3/20                               $            173.94
ACHS              Operating Account                                                                   1514          6/18/2020          20‐06‐019      United Healthcare                                RECORD UNITED HEALTHCARE ‐ 6/20                                        $         43,113.32
ACHS              Operating Account                                                                   1514          6/25/2020          20‐06‐033      CRESCENT PAYROLL SOLUTIONS INC                   RECORD PR ‐ 6/30/20                                                    $        206,781.09
ACHS              Operating Account                                                                   1514          6/25/2020          20‐06‐034      CRESCENT PAYROLL SOLUTIONS INC                   RECORD PR TAXES ‐ PR 6/30/20                                           $         72,465.96
ACHS              Operating Account                                                                   1514          6/25/2020          20‐06‐035      CRESCENT PAYROLL SOLUTIONS INC                   RECORD 401(K) ‐ PR 6/30/20                                             $         33,633.20
ACHS              Operating Account                                                                   1514          6/30/2020          20‐06‐047      FIRST BANK & TRUST                               RECORD BANK SERVICE CHARGE JUNE 2020                                   $             25.00
ACHS              Cash‐on‐line giving                                                                 2809          6/22/2020    Stripe online refundsVarious Camp Refunds Post‐petition               SUMMER CAMP REFUNDS Post Petition                                      $            760.00
ACHS              Cash‐on‐line giving                                                                 2809          6/30/2020    Stripe online refundsVarious Camp Refunds Post‐petition               SUMMER CAMP REFUNDS Post Petition                                      $            240.00
ACHS              Cash‐on‐line giving                                                                 2809          6/22/2020            FB&T         BANK CHARGE ‐ CASH ONLINE ‐ 6/3/20               BANK CHARGE ‐ CASH ONLINE ‐ 6/3/20                                     $             24.95
ACHS              Next Year Cash                                                                      4967          6/15/2020            44609                                                         NSF CHECK‐ACH RETURN                                                   $            700.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             42326        FB&T                                             Cancel Bank Loan                                                       $          9,100.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41891        FB&T                                             Reduce Tuition Loan At Bank                                            $          3,033.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41890        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,136.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41889        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,963.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41888        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,963.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41887        FB&T                                             Reduce Tuition Loan At Bank                                            $            413.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41886        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,963.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41885        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,963.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41884        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,963.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41857        FB&T                                             Reduce Tuition Loan At Bank                                            $          2,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41856        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41855        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41854        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41853        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41852        FB&T                                             Reduce Tuition Loan At Bank                                            $          3,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41851        FB&T                                             Reduce Tuition Loan At Bank                                            $            500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41850        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,200.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41849        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41848        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41847        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41846        FB&T                                             Reduce Tuition Loan At Bank                                            $            750.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41845        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41844        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41843        FB&T                                             Reduce Tuition Loan At Bank                                            $          3,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41842        FB&T                                             Reduce Tuition Loan At Bank                                            $          2,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41841        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41840        FB&T                                             Reduce Tuition Loan At Bank                                            $          2,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41839        FB&T                                             Reduce Tuition Loan At Bank                                            $          2,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41838        FB&T                                             Reduce Tuition Loan At Bank                                            $          2,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41837        FB&T                                             Reduce Tuition Loan At Bank                                            $          9,100.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41836        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,100.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41830        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,550.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41829        FB&T                                             Reduce Tuition Loan At Bank                                            $            600.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41805        FB&T                                             Reduce Tuition Loan At Bank                                            $          3,640.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41804        FB&T                                             Reduce Tuition Loan At Bank                                            $          3,500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41801        FB&T                                             Cancel Bank Loan                                                       $          9,100.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41798        FB&T                                             Reduce Tuition Loan At Bank                                            $          3,800.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/3/2020             41794        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/9/2020             44250        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/9/2020             44249        FB&T                                             Reduce Tuition Loan At Bank                                            $          2,100.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/9/2020             44248        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/9/2020             44247        FB&T                                             Reduce Tuition Loan At Bank                                            $          2,000.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/9/2020             44245        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/10/2020            44269        FB&T                                             Cancel Bank Loan                                                       $          9,100.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/10/2020            44264        FB&T                                             Reduce Tuition Loan At Bank                                            $          1,500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/10/2020            44263        FB&T                                             Reduce Tuition Loan At Bank                                            $          3,100.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/12/2020            44403        FB&T                                             Reduce Tuition Loan At Bank                                            $            500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/24/2020            45423        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,200.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/24/2020            45422        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,500.00
ACHS              Tuition Borrower Loan Funds                                                         0184          6/24/2020            45421        FB&T                                             Reduce Tuition Loan At Bank                                            $          4,963.50
ACHS              Tuition Borrower Loan Funds                                                         0184          6/30/2020          20‐06‐039      FB&T                                             Cancel Bank Loan                                                       $             36.67
ACHS              Tuition Borrower Loan Funds                                                         0184          6/30/2020          20‐06‐045      FB&T                                             Cancel Bank Loan                                                       $             41.85
AHHS              Operating Account                                                                   8545          6/9/2020             21799        LEAF                                             Instructional                                                          $            268.49   *
AHHS              Operating Account                                                                   8545          6/23/2020            23701        Redacted                                         Refund Credit Balance                                                  $            463.90   *
AHHS              Operating Account                                                                   8545          6/23/2020            23702        Redacted                                         Refund Credit Balance                                                  $            814.65   *
AHHS              Operating Account                                                                   8545          6/23/2020            23703        Redacted                                         Refund Credit Balance                                                  $            875.00   *
AHHS              Operating Account                                                                   8545          6/23/2020            23704        Redacted                                         Refund Credit Balance                                                  $            814.65   *
AHHS              Operating Account                                                                   8545          6/23/2020            23705        Redacted                                         Refund Credit Balance                                                  $            814.65   *
AHHS              Operating Account                                                                   8545          6/23/2020            23706        Redacted                                         Refund Credit Balance                                                  $            814.65   *
AHHS              Operating Account                                                                   8545          6/23/2020            23707        Redacted                                         Refund Credit Balance                                                  $            814.65   *
AHHS              Operating Account                                                                   8545          6/23/2020            23708        Redacted                                         Refund Credit Balance                                                  $            264.65   *
AHHS              Operating Account                                                                   8545          6/23/2020            23709        Redacted                                         Refund Credit Balance                                                  $            814.65   *
AHHS              Operating Account                                                                   8545          6/23/2020            23710        Redacted                                         Refund Credit Balance                                                  $            475.00   *
AHHS              Operating Account                                                                   8545          6/23/2020            23711        Redacted                                         Refund Credit Balance                                                  $            875.00   *
AHHS              Operating Account                                                                   8545          6/23/2020            23712        Redacted                                         Refund Credit Balance                                                  $            814.65   *
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                                           605
AHHS   Operating Account                                             8545   6/23/2020     23713      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23714      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23715      Redacted                                          Refund Credit Balance                                     $          25.00   *
AHHS   Operating Account                                             8545   6/23/2020     23716      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23717      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23718      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23719      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23720      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23721      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23722      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23723      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23724      Redacted                                          Refund Credit Balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/23/2020     23725      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23726      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23727      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23728      Redacted                                          Refund Credit Balance                                     $         529.30   *
AHHS   Operating Account                                             8545   6/23/2020     23729      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23730      Redacted                                          Refund Credit Balance                                     $         325.00   *
AHHS   Operating Account                                             8545   6/23/2020     23731      Redacted                                          Refund Credit Balance                                     $         715.65   *
AHHS   Operating Account                                             8545   6/23/2020     23732      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23733      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23734      Redacted                                          Refund Credit Balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/23/2020     23735      Redacted                                          Refund Credit Balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/23/2020     23736      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23737      Redacted                                          Refund Credit Balance                                     $         720.65   *
AHHS   Operating Account                                             8545   6/23/2020     23738      Redacted                                          Refund Credit Balance                                     $         864.65   *
AHHS   Operating Account                                             8545   6/23/2020     23739      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23740      Redacted                                          Refund Credit Balance                                     $         600.00   *
AHHS   Operating Account                                             8545   6/23/2020     23741      Redacted                                          Refund Credit Balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/23/2020     23742      Redacted                                          Refund Credit Balance                                     $         855.00   *
AHHS   Operating Account                                             8545   6/23/2020     23743      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/23/2020     23744      Redacted                                          Refund Credit Balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23745      Redacted                                          Refund credit balance                                     $         775.00   *
AHHS   Operating Account                                             8545   6/24/2020     23746      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23747      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23748      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23749      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23750      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23751      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23752      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23753      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23754      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23755      Redacted                                          Refund credit balance                                     $         325.00   *
AHHS   Operating Account                                             8545   6/24/2020     23756      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23757      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23758      Redacted                                          Refund credit balance                                     $         285.00   *
AHHS   Operating Account                                             8545   6/24/2020     23759      Redacted                                          Refund credit balance                                     $         575.00   *
AHHS   Operating Account                                             8545   6/24/2020     23760      Redacted                                          Refund credit balance                                     $         325.00   *
AHHS   Operating Account                                             8545   6/24/2020     23761      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23762      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23763      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23764      Redacted                                          Refund credit balance                                     $         325.00   *
AHHS   Operating Account                                             8545   6/24/2020     23765      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23766      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23767      Redacted                                          Refund credit balance                                     $         325.00   *
AHHS   Operating Account                                             8545   6/24/2020     23768      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23769      Redacted                                          Refund credit balance                                     $         325.00   *
AHHS   Operating Account                                             8545   6/24/2020     23770      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23771      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23772      Redacted                                          Refund credit balance                                     $         684.65   *
AHHS   Operating Account                                             8545   6/24/2020     23773      Redacted                                          Refund credit balance                                     $         575.00   *
AHHS   Operating Account                                             8545   6/24/2020     23774      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23775      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23776      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23777      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23778      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23779      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23780      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23781      Redacted                                          Refund credit balance                                     $         325.00   *
AHHS   Operating Account                                             8545   6/24/2020     23782      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23783      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23784      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23785      Redacted                                          Refund credit balance                                     $         850.00   *
AHHS   Operating Account                                             8545   6/24/2020     23786      Redacted                                          Refund credit balance                                     $         425.00   *
AHHS   Operating Account                                             8545   6/24/2020     23787      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23788      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23789      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23790      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23791      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23792      Redacted                                          Refund credit balance                                     $         814.65   *
AHHS   Operating Account                                             8545   6/24/2020     23793      Redacted                                          Refund credit balance                                     $         835.00   *
AHHS   Operating Account                                             8545   6/24/2020     23794      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23795      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Operating Account                                             8545   6/24/2020     23796      Redacted                                          Refund credit balance                                     $         875.00   *
AHHS   Operating Account                                             8545   6/24/2020     23797      Redacted                                          Refund credit balance                                     $         264.65   *
AHHS   Tuition Savings Account                                       8861   6/2/2020                 savings to operating (deferred revenue)           Transfer                                                  $   1,412,631.00   X
AHHS   Tuition Savings Account                                       8861   6/2/2020                 savings to operating (FYE expenses)               Transfer                                                  $     850,000.00   X
AHHS   Tuition Savings Account                                       8861   6/24/2020                transfer to operating account                     Transfer                                                  $   1,000,000.00   X
AHHS   Tuition Savings Account                                       8861   6/26/2020                transfer to operating                             Transfer                                                  $     300,000.00   X
AHHS   Tuition Savings Account                                       8861   6/29/2020                transfer to operating account (account closure)   Transfer                                                  $     281,394.13   X
AHHS   Payroll Account                                               8501   6/24/2020                Transfer to operating to close account            Transfer                                                  $         834.13   X
AHHS   Tuition Reserve Account                                       0079   6/1/2020                 Transfer to savings                               Transfer                                                  $          77.60   X
AHHS   PPP Escrow Account                                            5700   6/24/2020                Payroll transfer                                  Transfer                                                  $      42,839.55   X
AHHS   Operating Account                                             8545   6/3/2020     ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     500,000.00   Y
AHHS   Operating Account                                             8545   6/3/2020     ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     162,631.00   Y
AHHS   Operating Account                                             8545   6/4/2020     ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     250,000.00   Y
AHHS   Operating Account                                             8545   6/4/2020     ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     350,000.00   Y
AHHS   Operating Account                                             8545   6/5/2020     ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     500,000.00   Y
AHHS   Operating Account                                             8545   6/8/2020     ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     500,000.00   Y
AHHS   Operating Account                                             8545   6/18/2020     21822      ARNO ‐ Information Technology                     Instructional                                             $         250.00   Y
AHHS   Operating Account                                             8545   6/29/2020    ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     200,000.00   Y
AHHS   Operating Account                                             8545   6/29/2020    ACH debit   ROMAN CATHOLIC OTHER COLL                         Transfer to AHHS account with ARNO                        $     185,000.00   Y
AHHS   Operating Account                                             8545   6/2/2020     ACH debit   BKCD Processing Fees                              Administrative                                            $          56.15
AHHS   Operating Account                                             8545   6/4/2020     ACH debit   Clearant, LLC                                     Administrative                                            $          43.62
AHHS   Operating Account                                             8545   6/9/2020      21790      Pond Solutions, LLC                               Operations                                                $         110.00
AHHS   Operating Account                                             8545   6/9/2020      21791      Star Service, Inc.                                Operations                                                $       4,458.67
AHHS   Operating Account                                             8545   6/9/2020      21792      Waste Management                                  Operations                                                $         263.00
AHHS   Operating Account                                             8545   6/9/2020      21793      Redacted                                          Administrative                                            $       4,586.16
AHHS   Operating Account                                             8545   6/9/2020      21794      NASSP/NASC/NHS                                    Instructional                                             $         250.00
AHHS   Operating Account                                             8545   6/9/2020      21795      Southern Stitches & Prints                        Student Services                                          $          77.00
AHHS   Operating Account                                             8545   6/9/2020      21796      AAA Silkscreening & Sporting Goods, Inc           Student Services                                          $       3,628.59
AHHS   Operating Account                                             8545   6/9/2020      21797      Apple Inc.                                        Student Services                                          $         890.95
AHHS   Operating Account                                             8545   6/9/2020      21798      Deere Credit, Inc.                                Operations                                                $         366.24
AHHS   Operating Account                                             8545   6/9/2020      21800      AT&T                                              Operations                                                $         190.13
AHHS   Operating Account                                             8545   6/9/2020      21801      Pitney Bowes Global Financial Services LLC        Administrative                                            $         156.53
AHHS   Operating Account                                             8545   6/9/2020      21802      Wells Fargo Vendor Fin Serv                       Instructional                                             $       1,502.24
AHHS   Operating Account                                             8545   6/9/2020      21803      Office Depot ‐ Account # 46673154                 Administrative                                            $         387.56
AHHS   Operating Account                                             8545   6/9/2020      21804      Wex Bank                                          Administrative                                            $          32.90
AHHS   Operating Account                                             8545   6/9/2020      21805      BSN Sports LLC                                    Student Activities                                        $         136.00
AHHS   Operating Account                                             8545   6/9/2020      21806      Gallagher Benefit Services                        Administrative                                            $      40,329.02
AHHS   Operating Account                                             8545   6/9/2020      21807      Rotolo Consultants, Inc.                          Operations                                                $       2,407.50
AHHS   Operating Account                                             8545   6/9/2020      21808      JSR Vetting Services, LLC                         Administrative                                            $         270.00
AHHS   Operating Account                                             8545   6/9/2020      21809      HiTouch Business Services LLC                     Administrative                                            $         723.00
AHHS   Operating Account                                             8545   6/9/2020      21810      Sherwin‐Williams ‐ Covington                      Operations                                                $          13.78
AHHS   Operating Account                                             8545   6/9/2020      21811      Sherwin‐Williams ‐ Hammond                        Operations                                                $         442.99
AHHS   Operating Account                                             8545   6/11/2020     21812      CLECO Power LLC                                   Operations                                                $      10,597.46
AHHS   Operating Account                                             8545   6/11/2020     21813      Recreation District #14 St Tammany Par            Student Activities                                        $       1,100.00
AHHS   Operating Account                                             8545   6/11/2020     21814      Atmos Energy                                      Operations                                                $          68.87
AHHS   Operating Account                                             8545   6/11/2020     21815      UCA ‐ Universal Cheerleaders Association          Student Activities                                        $      13,048.00
AHHS   Operating Account                                             8545   6/11/2020     21816      Redacted                                          Student Activities                                        $         101.94
AHHS   Operating Account                                             8545   6/11/2020     21817      Coca‐Cola Bottling Company United, Inc.           Student Services                                          $         263.68
AHHS   Operating Account                                             8545   6/11/2020     21818      Home Depot Credit Services                        Operations                                                $       2,602.16
AHHS   Operating Account                                             8545   6/11/2020     21819      Davis Products Covington                          Operations                                                $         275.14
AHHS   Operating Account                                             8545   6/11/2020     21820      JSR Vetting Services, LLC                         Administrative                                            $          60.00
AHHS   Operating Account                                             8545   6/17/2020     21821      Hood Chevrolet LLC dba Bill Hood Chevrolet        Fundraising                                               $      27,751.35
AHHS   Operating Account                                             8545   6/18/2020     21823      Hunt Telecommunications, LLC                      Operations                                                $       1,045.31
AHHS   Operating Account                                             8545   6/18/2020     21824      CLECO Power LLC                                   Operations                                                $      11,447.70
AHHS   Operating Account                                             8545   6/18/2020     21825      VOID                                              Check voided                                              $            ‐
AHHS   Operating Account                                             8545   6/18/2020     21826      Sonitrol of New Orleans, Inc.                     Operations                                                $         900.00
AHHS   Operating Account                                             8545   6/18/2020     21827      Tammany Utilities                                 Operations                                                $       1,113.35
AHHS   Operating Account                                             8545   6/18/2020     21828      Apple Inc.                                        Student Services                                          $         398.00
AHHS   Operating Account                                             8545   6/18/2020     21829      Active Internet Technologies, LLC                 Voided                                                    $            ‐
AHHS   Operating Account                                             8545   6/18/2020     21830      Balfour New Orleans, LLC                          Student Services                                          $       3,653.92
AHHS   Operating Account                                             8545   6/18/2020     21831      JourneyEd.com, Inc                                Instructional                                             $       2,425.00
AHHS   Operating Account                                             8545   6/18/2020     21832      Davis Products Covington                          Operations                                                $         180.81
AHHS   Operating Account                                             8545   6/24/2020     23798      Star Service, Inc.                                Operations                                                $       2,175.20
AHHS   Operating Account                                             8545   6/24/2020     23799      Redacted                                          Instructional                                             $         345.00
AHHS   Operating Account                                             8545   6/24/2020     23800      Redacted                                          Administrative                                            $          54.25
AHHS   Operating Account                                             8545   6/24/2020     23801      First Bank & Trust (Gas Card)                     June credit card charges                                  $       8,018.08
AHHS   Operating Account                                             8545   6/24/2020     23802      First Bank And Trust (30207)                      June credit card charges                                  $       2,823.27
AHHS   Operating Account                                             8545   6/24/2020     23803      Gulf Coast Office Products, Inc.                  Administrative                                            $         395.27
AHHS   Operating Account                                             8545   6/24/2020     23804      AAA Silkscreening & Sporting Goods, Inc           Student Services                                          $         400.51
AHHS   Operating Account                                             8545   6/24/2020     23805      Gallagher Benefit Services                        Administrative                                            $      39,931.41
AHHS   Operating Account                                             8545   6/24/2020     23806      LEAF                                              Administrative                                            $         268.49
AHHS   Operating Account                                             8545   6/24/2020     23807      Recreation District #14 St Tammany Par            Student Activities                                        $       1,100.00
AHHS   Operating Account                                             8545   6/24/2020     23808      Coca‐Cola Bottling Company United, Inc.           Student Services                                          $         119.32
AHHS   Operating Account                                             8545   6/24/2020     23809      Atmos Energy                                      Operations                                                $         107.81
AHHS   Operating Account                                             8545   6/24/2020     23810      Ed Smith's Stencil Works, Ltd.                    Student Activities                                        $         898.81
AHHS   Operating Account                                             8545   6/24/2020     23811      Riddell All American                              Student Activities                                        $       2,545.11
AHHS   Operating Account                                             8545   6/24/2020     23812      Davis Products Covington                          Operations                                                $         527.68
AHHS   Operating Account                                             8545   6/24/2020     23813      Sports Floors, Inc                                Operations                                                $      31,901.35
AHHS   Operating Account                                             8545   6/24/2020     23814      Sonitrol of New Orleans, Inc.                     Operations                                                $       2,694.00
AHHS   Operating Account                                             8545   6/12/2020    ACH debit   GL SCRIP CENTER                                   Development                                               $       1,681.20
AHHS   Operating Account                                             8545   6/18/2020    ACH debit   DLX for Business Deluxe                           Administrative                                            $         393.67
AHHS   Operating Account                                             8545   6/19/2020    ACH debit   PrimePay LLC debits AN108                         Fundraising                                               $       8,984.00
AHHS   Operating Account                                             8545   6/25/2020     23817      Redacted                                          Student Activities                                        $         227.50
AHHS   Operating Account                                             8545   6/25/2020     23818      Coca Cola Bottling Company                        Student Services                                          $         348.04
AHHS   Operating Account                                             8545   6/25/2020     23819      Office Depot ‐ Account # 46673154                 Administrative                                            $         398.50
AHHS   Operating Account                                             8545   6/25/2020     23820      The College Board AP Exams                        Instructional                                             $      19,295.00
AHHS   Operating Account                                             8545   6/29/2020    ACH debit   Crescent Payroll Systems                          Payroll Expenses (direct deposits)                        $     186,770.62
AHHS   Operating Account                                             8545   6/29/2020    ACH debit   Crescent Payroll Systems                          Payroll Expenses (401)k & Bentrust                        $      26,033.53
AHHS   Operating Account                                             8545   6/29/2020    ACH debit   Crescent Payroll Systems                          Payroll Expenses (Taxes)                                  $      64,551.67
AHHS   Operating Account                                             8545   6/29/2020    ACH debit   Crescent Payroll Systems                          Payroll Expenses (processing fees)                        $         500.00
AHHS   Operating Account                                             8545   6/30/2020   SVCCHRGE     RDC Maint. First Bank And Trust                   Administrative                                            $          25.00
AHHS   Tuition Savings Account                                       8861   6/8/2020    ACH Return                                                     Bank Draft returned (2020/21 tuition)                     $       6,995.00
AHHS   Tuition Savings Account                                       8861   6/11/2020   ACH Return                                                     Bank Draft returned (2019/2020 tuition)                   $         517.13
AHHS   Tuition Reserve Account                                       0079   6/22/2020     reduc                                                        Bank correction for loan amounts                          $       1,000.00
AHHS   Tuition Reserve Account                                       0079   6/22/2020     reduc                                                        Bank correction for loan amounts                          $         750.00
AHHS   Tuition Reserve Account                                       0079   6/26/2020     reduc                                                        Bank correction for loan amounts                          $       6,000.00
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020      89555                                                        TELEPHONE EXPENSE, AUTOMOBILE EXPENSE                     $         119.78   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020      89569                                                        Retired Priest Plus Expense ‐ Medical Co‐Pays             $         228.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020      89635                                                        RCIA PROGRAM, BOOKS & SUBSCRIPTIONS, AUTOMOBILE EXPENSE   $         566.15   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89760                                                        Active Priest Medical Expense ‐ Dental & Vision           $         580.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89761                                                        Active Priest Medical Expense ‐ Dental & Vision           $         975.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89763                                                        STAFF DEVELOPMENT                                         $         149.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89764                                                        AUTOMOBILE EXPENSE                                        $          44.85   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89767                                                        SEMINARIAN ASSIST                                         $       1,200.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89769                                                        Active Priest Medical Expense ‐ Dental & Vision           $         109.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89772                                                        Retired Priest Plus Expense ‐ Medical Co‐Pays             $         733.41   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89773                                                        Active Priest Medical Expense ‐ Medical Co‐Pays           $       1,643.97   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020     89774                                                        Active Priest Medical Expense ‐ Medical Co‐Pays           $         441.36   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020     89897                                                        RETREAT INCOME ‐ SCHEDULED RETREATS                       $         300.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020     89898                                                        RETREAT INCOME ‐ SCHEDULED RETREATS                       $          75.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020     89899                                                        RETREAT INCOME ‐ SCHEDULED RETREATS                       $          75.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020     89900                                                        RETREAT INCOME ‐ SCHEDULED RETREATS                       $         150.00   *
ANO    The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020     89902                                                        RETREAT INCOME ‐ SCHEDULED RETREATS                       $          75.00   *
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ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89903   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89904   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89905   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89906   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89907   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89908   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89909   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89910   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89911   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89912   NATIONAL CONVENTION                                                      $      395.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89916   MARRIAGE PREPARATION                                                     $       60.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89917   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89918   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89919   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $      225.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89920   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89921   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89924   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $      250.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89925   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89926   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89927   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89928   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $      425.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89929   YOUTH TRIP INCOME                                                        $      195.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89930   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89931   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89932   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $      150.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89933   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89913   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89914   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89915   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $      250.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89922   MARRIAGE PREPARATION                                                     $       60.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020   89923   RETREAT INCOME ‐ SCHEDULED RETREATS                                      $       75.00    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89934   AUTOMOBILE EXPENSE                                                       $      177.56    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89935   OFFICE SUPPLIES                                                          $      128.98    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89938   AUTOMOBILE EXPENSE                                                       $      372.60    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89940   Active Priest Medical Expense ‐ Medical Co‐Pays                          $    1,969.56    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89942   AUTOMOBILE EXPENSE                                                       $       85.68    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90049   TELEPHONE EXPENSE                                                        $       69.99    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90058   Active Priest Medical Expense ‐ Medical Co‐Pays                          $      890.11    *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90065   GRANT EXPENSES ‐ EEF                                                     $      600.00    **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89573   AUTOMOBILE EXPENSE                                                       $      255.60
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89574   STAFF DEVELOPMENT                                                        $       50.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89554   DLS Withdrawal                                                           $    6,000.00         Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89586   TELEPHONE EXPENSE                                                        $       73.99
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89587   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       59.53
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89599   ADVERTISING                                                              $      390.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89608   IT EQUIPMENT, REPAIRS & MAINTENANCE                                      $    2,503.20
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89609   Active Priest Medical Expense ‐ Dental & Vision                          $      147.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89617   OFFICE SUPPLIES                                                          $      116.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89621   POSTAGE, OFFICE SUPPLIES                                                 $       31.61
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89622   CLERGY EDUCATION                                                         $    3,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89623   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       80.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89624   Retired Priest Plus Expense ‐ Medical Co‐Pays                            $      351.05
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89625   Active Priest Medical Expense ‐ Medical Co‐Pays                          $      110.93
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89626   Active Priest Medical Expense ‐ Medical Co‐Pays                          $      122.12
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89627   Active Priest Medical Expense ‐ Medical Co‐Pays                          $      126.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020    89630   OFFICE SUPPLIES                                                          $      199.09
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020     N/A    HEALTHY FAMILY                                                           $      916.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/4/2020     N/A    PRIESTS PENSION EXPENSE                                                  $    1,594.23
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89637   OFFICE SUPPLIES                                                          $       15.66
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89638   TEMPORARY HELP ‐                                                         $      125.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89640   TEMPORARY HELP ‐                                                         $      150.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89648   TRAVEL, MEALS & ENTERTAINMENT                                            $       27.00         Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89649   SEMINARIAN ASSIST                                                        $       21.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89650   TEMPORARY HELP ‐                                                         $      150.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89651   TEMPORARY HELP ‐                                                         $      125.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89653   Active Priest Medical Expense ‐ Dental & Vision                          $      211.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89657   OFFICE SUPPLIES, DUES & ASSESSMENTS                                      $      314.99
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89667   TEMPORARY HELP ‐                                                         $      125.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89671   PRIEST THERAPY                                                           $      240.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89672   TEMPORARY HELP ‐                                                         $      250.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89685   HEALTHY FAMILY                                                           $       32.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89686   TRAVEL, MEALS & ENTERTAINMET                                             $       22.36
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89694   TEMPORARY HELP ‐                                                         $      150.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89696   IT EQUIPMENT, REPAIRS & MAINTENANCE                                      $      690.89
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89697   TEMPORARY HELP ‐                                                         $      125.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89701   Retired Priest Plus Expense ‐ Dental & Vision                            $      182.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89702   CONTRACTED SERVICE                                                       $       50.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89703   TEMPORARY HELP ‐                                                         $      150.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89710   CONTRACTED SERVICE                                                       $       50.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89711   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       56.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89712   Retired Priest Plus Expense ‐ Dental & Vision                            $      263.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89713   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       77.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89714   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       91.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89715   CONTRACTED SERVICE                                                       $      100.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89716   CONTRACTED SERVICE                                                       $      100.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89720   CONTRACTED SERVICE                                                       $      175.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89726   TEMPORARY HELP ‐                                                         $      150.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89727   DUES & ASSESSMENTS, TRAVEL, MEALS & ENTERTAINMENT                        $    1,066.97
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020    89736   SEMINARIAN ASSIST                                                        $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020     N/A    SEMINARIAN ASSIST                                                        $      812.49
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89794   LITURGICAL SUPPLIES, HOUSEHOLD EXPENSES, TRAVEL, MEALS & ENTERTAINMENT   $      637.64         Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89815   Active Priest Medical Expense ‐ Dental & Vision                          $    1,527.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89817   TELEPHONE EXPENSE, AUTOMOBILE EXPENSE                                    $      211.48
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89822   SEMINARIAN ASSIST                                                        $      285.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89823   HEALTHY FAMILY                                                           $       31.36
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89826   Active Priest Medical Expense ‐ Dental & Vision                          $      507.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89829   REPAIRS & MAINTENANCE                                                    $      108.42
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89833   SEMINARIAN ASSIST                                                        $      425.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89834   SEMINARIAN ASSIST                                                        $       32.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89835   Retired Priest Plus Expense ‐ Dental & Vision                            $      233.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89836   NORTH SHORE CHAPEL EXPENSE                                               $      352.65
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89837   Active Priest Medical Expense ‐ Dental & Vision                          $      162.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89838   IT EQUIPMENT, REPAIRS & MAINTENANCE, TELEPHONE EXPENSE                   $      127.62
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89840   Active Priest Medical Expense ‐ Dental & Vision                          $      133.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89841   Active Priest Medical Expense ‐ Dental & Vision                          $       95.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89845   CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                                 $      473.70
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89852   Retired Priest Plus Expense ‐ Dental & Vision                            $        9.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89860   BOOKS & SUBSCRIPTIONS                                                    $    1,472.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89862   HOUSING COSTS ‐ PRIE                                                     $      434.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89863   Active Priest Medical Expense ‐ Medical Co‐Pays                          $      207.64
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89865   Retired Priest Plus Expense ‐ Medical Co‐Pays                            $       30.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89866   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       88.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89867   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       65.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89868   HOUSING COSTS ‐ PRIESTS                                                  $      515.69         Yes ‐ Akpoghiran
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89869   Active Priest Medical Expense ‐ Medical Co‐Pays                          $        7.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89870   Active Priest Medical Expense ‐ Medical Co‐Pays                          $        7.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89871   TELEPHONE EXPENSE                                                        $       44.99
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89872   PRIESTS' CONTINUING EDUCATION ‐ RETREATS                                 $      500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89874   ADVERTISING                                                              $      399.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89876   OFFICE SUPPLIES, REPAIRS & MAINTENAN                                     $      435.35
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020   89892   SUPPLIES ‐ SUMMER CAMP, REPAIRS & MAINTENANCE ‐ RETREATS                 $    7,888.83
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020    N/A    STIPEND FOR WORKSHOP                                                     $    1,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020    N/A    VOID                                                                     $   (1,500.00)
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020   89893   OFFICE SUPPLIES                                                          $       69.15
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020   89896   Program Expense                                                          $    1,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/22/2020    N/A    HEALTHY FAMILY                                                           $      916.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/24/2020    N/A    SEMINARIAN ASSIST                                                        $    1,625.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/24/2020    N/A    SEMINARIAN ASSIST                                                        $    1,625.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89945   OFFICE SUPPLIES                                                          $       15.66
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89948   TRAVEL, MEALS & ENTERTAINMENT, HOUSEHOLD EXPENSES                        $      499.20         Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89961   Program Expense                                                          $      270.83
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89962   Active Priest Medical Expense ‐ Medical Co‐Pays                          $      255.18
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89963   AUTOMOBILE EXPENSE                                                       $      330.97
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89971   Active Priest Medical Expense ‐ Dental & Vision                          $      843.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89972   Active Priest Medical Expense ‐ Dental & Vision                          $      129.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89981   Temporary Help                                                           $      615.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89983   Retired Priest Plus Expense ‐ Dental & Vision                            $      175.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89984   TELEPHONE EXPENSE, REPAIRS & MAINTENANCE, IT EQUIPMENT                   $      563.15
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89986   AUTOMOBILE EXPENSE, Repairs & Maintenance ‐ Supplies                     $      583.73
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89991   IT EQUIPMENT, REPAIRS & MAINTENANCE                                      $      218.69
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89996   FINANCIAL ASSISTANCE TO VICTIMS                                          $      450.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89997   Active Priest Medical Expense ‐ Medical Co‐Pays                          $      544.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89998   Active Priest Medical Expense ‐ Medical Co‐Pays                          $       84.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   89999   Retired Priest Plus Expense ‐ Medical Co‐Pays                            $      902.21
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   90000   Retired Priest Plus Expense ‐ Medical Co‐Pays                            $      118.24
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   90001   Active Priest Medical Expense ‐ Dental & Vision                          $      133.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   90002   PRIESTS PENSION EXPENSE                                                  $    1,615.22
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   90004   AUTOMOBILE EXPENSE                                                       $       64.98
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   90019   CONTRACTED SERVICE                                                       $      246.78
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   90020   REPAIRS & MAINTENANCE                                                    $       75.53
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020   90022   IT EQUIPMENT                                                             $      203.94
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $      600.00         Yes ‐ Aymond
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      300.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00         Yes ‐ Akpoghiran
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                     $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS ‐ LAY                                               $    2,786.07
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    HOUSING COSTS ‐ PRIEST                                                   $    1,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    HOUSING COSTS ‐ PRIEST                                                   $      500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS & RELIGIOUS                                                      $    3,014.17
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    1,594.23
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,777.33
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,498.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    1,102.33
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,647.82
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,539.17
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,499.82
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,587.42
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,613.31
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,497.01
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $      955.34
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,678.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,961.81
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,615.94
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    1,359.85
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,895.07
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                  $    2,851.98
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ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                $      829.36
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                $    2,914.01
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                $      511.44
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                $    2,435.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                $    2,548.42
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE                                                $    2,937.57
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PRIESTS PENSION EXPENSE, Retired Priest Plus Expense ‐ Miscellaneous   $    2,229.09
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PROPERTY RENTAL INC                                                    $    2,399.42
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PROPERTY RENTAL INC                                                    $    1,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    PROPERTY RENTAL INC                                                    $    1,477.34
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Medical Co‐Pays                          $    2,653.89
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,873.69
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,382.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,772.68
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    1,018.83
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $       71.46
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    1,991.55
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,739.80
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,593.86
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,932.79
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,930.67
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,543.63
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,569.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    1,339.62
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    Retired Priest Plus Expense ‐ Miscellaneous                            $    2,733.62
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SALARY REIMBURSEMENTS                                                  $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    SEMINARIAN ASSIST                                                      $      723.93
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                   $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020    N/A    FRINGE BENEFIT COSTS                                                   $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90074   STATIONERY & PRINTI                                                    $       22.40
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90086   STAFF DEVELOPMENT                                                      $      145.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90087   Active Priest Medical Expense ‐ Dental & Vision                        $      163.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90088   Reorganization Costs                                                   $   49,219.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90092   OFFICE SUPPLIES                                                        $      123.36
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90099   TELEPHONE EXPENSE                                                      $       82.46
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90108   HOUSEHOLD EXPENSES                                                     $      244.21
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90122   TELEPHONE EXPENSE                                                      $      227.41
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90128   CONSULTANT FEES                                                        $      750.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90131   AUTOMOBILE EXPENSE                                                     $       72.85
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90134   CONTRACTED SERVICE                                                     $      103.77
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90135   IT EQUIPMENT                                                           $    3,281.42
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90136   STAFF DEVELOPMENT                                                      $      199.58
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90137   AUTOMOBILE EXPENSE                                                     $      260.87
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90143   Retired Priest Plus Expense ‐ Dental & Vision                          $      294.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90144   AUTOMOBILE EXPENSE                                                     $      112.35
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90145   Active Priest Medical Expense ‐ Dental & Vision                        $      159.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90146   Program Expense                                                        $    2,891.21
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90148   Retired Priest Plus Expense ‐ Medical Co‐Pays                          $      776.58
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90151   STAFF DEVELOPMENT                                                      $      107.47
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90153   Active Priest Medical Expense ‐ Medical Co‐Pays                        $       79.69
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90154   Retired Priest Plus Expense ‐ Medical Co‐Pays                          $      199.57
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90155   Active Priest Medical Expense ‐ Medical Co‐Pays                        $      261.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90156   Active Priest Medical Expense ‐ Medical Co‐Pays                        $      199.97
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90157   Active Priest Medical Expense ‐ Medical Co‐Pays                        $      161.98
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90158   Retired Priest Plus Expense ‐ Medical Co‐Pays                          $      158.35
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90159   Active Priest Medical Expense ‐ Medical Co‐Pays                        $       20.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90160   Active Priest Medical Expense ‐ Dental & Vision                        $      163.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90161   Active Priest Medical Expense ‐ Medical Co‐Pays                        $      576.19
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90168   AUTOMOBILE EXPENSE                                                     $       72.85
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90174   AUTOMOBILE EXPENSE                                                     $      155.83
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90177   GRANT EXPENSES ‐ EEF                                                   $      600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90195   SEMINARIAN ASSIST                                                      $      360.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90196   ST JOSEPH SEMINARY                                                     $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90197   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90198   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90199   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90200   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90201   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90202   ST JOSEPH SEMINARY                                                     $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90203   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90204   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90205   SEMINARIAN ASSIST                                                      $      185.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90206   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90207   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90208   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90209   ST JOSEPH SEMINARY                                                     $      195.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90210   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90211   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90212   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90213   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90214   SEMINARIAN ASSIST                                                      $      195.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90215   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90216   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90217   ST JOSEPH SEMINARY                                                     $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90218   SEMINARIAN ASSIST                                                      $      160.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90221   SEMINARIAN ASSIST                                                      $      160.00
ANO   Insurance                                                     3664   6/2/2020    95289   Non‐Medical Self‐Insurance Claims (Captive)                            $       29.31
ANO   Insurance                                                     3664   6/2/2020    95290   Non‐Medical Self‐Insurance Claims (Captive)                            $      105.00
ANO   Insurance                                                     3664   6/2/2020    95291   Non‐Medical Self‐Insurance Claims (Captive)                            $       78.82
ANO   Insurance                                                     3664   6/2/2020    95292   Non‐Medical Self‐Insurance Claims (Captive)                            $    2,800.00
ANO   Insurance                                                     3664   6/2/2020    95293   Non‐Medical Self‐Insurance Claims (Captive)                            $       17.46
ANO   Insurance                                                     3664   6/2/2020    95294   Non‐Medical Self‐Insurance Claims (Captive)                            $      105.00
ANO   Insurance                                                     3664   6/2/2020    95295   Non‐Medical Self‐Insurance Claims (Captive)                            $      189.00
ANO   Insurance                                                     3664   6/2/2020    95296   Non‐Medical Self‐Insurance Claims (Captive)                            $       61.63
ANO   Insurance                                                     3664   6/2/2020    95297   Non‐Medical Self‐Insurance Claims (Captive)                            $      468.00
ANO   Insurance                                                     3664   6/2/2020    95298   Non‐Medical Self‐Insurance Claims (Captive)                            $      184.00
ANO   Insurance                                                     3664   6/2/2020    95299   Non‐Medical Self‐Insurance Claims (Captive)                            $    1,180.08
ANO   Insurance                                                     3664   6/2/2020    95300   Non‐Medical Self‐Insurance Claims (Captive)                            $       25.73
ANO   Insurance                                                     3664   6/2/2020    95301   Non‐Medical Self‐Insurance Claims (Captive)                            $       20.28
ANO   Insurance                                                     3664   6/2/2020    95302   Non‐Medical Self‐Insurance Claims (Captive)                            $    3,048.00
ANO   Insurance                                                     3664   6/2/2020    95303   Non‐Medical Self‐Insurance Claims (Captive)                            $      100.00
ANO   Insurance                                                     3664   6/2/2020    95304   Non‐Medical Self‐Insurance Claims (Captive)                            $      280.00
ANO   Insurance                                                     3664   6/2/2020    95305   Non‐Medical Self‐Insurance Claims (Captive)                            $      848.88
ANO   Insurance                                                     3664   6/2/2020    95306   Non‐Medical Self‐Insurance Claims (Captive)                            $      659.60
ANO   Insurance                                                     3664   6/2/2020    95307   Non‐Medical Self‐Insurance Claims (Captive)                            $      138.14
ANO   Insurance                                                     3664   6/2/2020    95308   Non‐Medical Self‐Insurance Claims (Captive)                            $        9.79
ANO   Insurance                                                     3664   6/2/2020    95309   Non‐Medical Self‐Insurance Claims (Captive)                            $    3,042.75
ANO   Insurance                                                     3664   6/2/2020    95310   Non‐Medical Self‐Insurance Claims (Captive)                            $   30,000.00
ANO   Insurance                                                     3664   6/4/2020    95314   Non‐Medical Self‐Insurance Claims (Captive)                            $       68.00
ANO   Insurance                                                     3664   6/4/2020    95315   Non‐Medical Self‐Insurance Claims (Captive)                            $      121.10
ANO   Insurance                                                     3664   6/4/2020    95316   Non‐Medical Self‐Insurance Claims (Captive)                            $      301.00
ANO   Insurance                                                     3664   6/4/2020    95317   Non‐Medical Self‐Insurance Claims (Captive)                            $    2,091.60
ANO   Insurance                                                     3664   6/4/2020    95318   Non‐Medical Self‐Insurance Claims (Captive)                            $      239.00
ANO   Insurance                                                     3664   6/4/2020    95319   Non‐Medical Self‐Insurance Claims (Captive)                            $    1,058.02
ANO   Insurance                                                     3664   6/4/2020    95320   Non‐Medical Self‐Insurance Claims (Captive)                            $      698.00
ANO   Insurance                                                     3664   6/4/2020    95321   Non‐Medical Self‐Insurance Claims (Captive)                            $      150.00
ANO   Insurance                                                     3664   6/4/2020    95322   Non‐Medical Self‐Insurance Claims (Captive)                            $      210.00
ANO   Insurance                                                     3664   6/4/2020    95323   Non‐Medical Self‐Insurance Claims (Captive)                            $      807.50
ANO   Insurance                                                     3664   6/4/2020    95324   Non‐Medical Self‐Insurance Claims (Captive)                            $      350.00
ANO   Insurance                                                     3664   6/4/2020    95325   Non‐Medical Self‐Insurance Claims (Captive)                            $      641.60
ANO   Insurance                                                     3664   6/4/2020    95326   Non‐Medical Self‐Insurance Claims (Captive)                            $      699.16
ANO   Insurance                                                     3664   6/4/2020    95327   Non‐Medical Self‐Insurance Claims (Captive)                            $      592.14
ANO   Insurance                                                     3664   6/4/2020    95328   Non‐Medical Self‐Insurance Claims (Captive)                            $   12,890.00
ANO   Insurance                                                     3664   6/4/2020    95329   Non‐Medical Self‐Insurance Claims (Captive)                            $      501.78
ANO   Insurance                                                     3664   6/11/2020   95330   Non‐Medical Self‐Insurance Claims (Captive)                            $       13.94
ANO   Insurance                                                     3664   6/11/2020   95331   Non‐Medical Self‐Insurance Claims (Captive)                            $      166.00
ANO   Insurance                                                     3664   6/11/2020   95332   Non‐Medical Self‐Insurance Claims (Captive)                            $      248.94
ANO   Insurance                                                     3664   6/11/2020   95333   Non‐Medical Self‐Insurance Claims (Captive)                            $    2,245.00
ANO   Insurance                                                     3664   6/11/2020   95334   Non‐Medical Self‐Insurance Claims (Captive)                            $    8,309.88
ANO   Insurance                                                     3664   6/11/2020   95335   Non‐Medical Self‐Insurance Claims (Captive)                            $      156.00
ANO   Insurance                                                     3664   6/11/2020   95336   Non‐Medical Self‐Insurance Claims (Captive)                            $      133.70
ANO   Insurance                                                     3664   6/11/2020   95337   Non‐Medical Self‐Insurance Claims (Captive)                            $    1,007.26
ANO   Insurance                                                     3664   6/11/2020   95338   Non‐Medical Self‐Insurance Claims (Captive)                            $      477.00
ANO   Insurance                                                     3664   6/11/2020   95339   Non‐Medical Self‐Insurance Claims (Captive)                            $      746.66
ANO   Insurance                                                     3664   6/11/2020   95340   Non‐Medical Self‐Insurance Claims (Captive)                            $      240.80
ANO   Insurance                                                     3664   6/11/2020   95341   Non‐Medical Self‐Insurance Claims (Captive)                            $    3,983.95
ANO   Insurance                                                     3664   6/11/2020   95342   Non‐Medical Self‐Insurance Claims (Captive)                            $      972.90
ANO   Insurance                                                     3664   6/11/2020   95343   Non‐Medical Self‐Insurance Claims (Captive)                            $       31.90
ANO   Insurance                                                     3664   6/11/2020   95344   Non‐Medical Self‐Insurance Claims (Captive)                            $      137.74
ANO   Insurance                                                     3664   6/11/2020   95345   Non‐Medical Self‐Insurance Claims (Captive)                            $      236.69
ANO   Insurance                                                     3664   6/11/2020   95346   Non‐Medical Self‐Insurance Claims (Captive)                            $       68.00
ANO   Insurance                                                     3664   6/11/2020   95347   Non‐Medical Self‐Insurance Claims (Captive)                            $      114.00
ANO   Insurance                                                     3664   6/11/2020   95348   Non‐Medical Self‐Insurance Claims (Captive)                            $      105.00
ANO   Insurance                                                     3664   6/11/2020   95349   Non‐Medical Self‐Insurance Claims (Captive)                            $      105.00
ANO   Insurance                                                     3664   6/11/2020   95350   Non‐Medical Self‐Insurance Claims (Captive)                            $      690.00
ANO   Insurance                                                     3664   6/11/2020   95351   Non‐Medical Self‐Insurance Claims (Captive)                            $      464.00
ANO   Insurance                                                     3664   6/11/2020   95352   Non‐Medical Self‐Insurance Claims (Captive)                            $      218.40
ANO   Insurance                                                     3664   6/11/2020   95353   Non‐Medical Self‐Insurance Claims (Captive)                            $      135.00
ANO   Insurance                                                     3664   6/16/2020   95359   Non‐Medical Self‐Insurance Claims (Captive)                            $       75.00
ANO   Insurance                                                     3664   6/16/2020   95360   Non‐Medical Self‐Insurance Claims (Captive)                            $      225.00
ANO   Insurance                                                     3664   6/16/2020   95361   Non‐Medical Self‐Insurance Claims (Captive)                            $      375.00
ANO   Insurance                                                     3664   6/16/2020   95362   Non‐Medical Self‐Insurance Claims (Captive)                            $      300.00
ANO   Insurance                                                     3664   6/16/2020   95363   Non‐Medical Self‐Insurance Claims (Captive)                            $      214.86
ANO   Insurance                                                     3664   6/16/2020   95364   Non‐Medical Self‐Insurance Claims (Captive)                            $       20.20
ANO   Insurance                                                     3664   6/16/2020   95365   Non‐Medical Self‐Insurance Claims (Captive)                            $       75.00
ANO   Insurance                                                     3664   6/16/2020   95366   Non‐Medical Self‐Insurance Claims (Captive)                            $      390.00
ANO   Insurance                                                     3664   6/16/2020   95367   Non‐Medical Self‐Insurance Claims (Captive)                            $      375.00
ANO   Insurance                                                     3664   6/16/2020   95368   Non‐Medical Self‐Insurance Claims (Captive)                            $    4,409.08
ANO   Insurance                                                     3664   6/16/2020   95369   Non‐Medical Self‐Insurance Claims (Captive)                            $      807.50
ANO   Insurance                                                     3664   6/16/2020   95370   Non‐Medical Self‐Insurance Claims (Captive)                            $      544.00
ANO   Insurance                                                     3664   6/16/2020   95371   Non‐Medical Self‐Insurance Claims (Captive)                            $      699.16
ANO   Insurance                                                     3664   6/16/2020   95372   Non‐Medical Self‐Insurance Claims (Captive)                            $      304.31
ANO   Insurance                                                     3664   6/16/2020   95373   Non‐Medical Self‐Insurance Claims (Captive)                            $      680.00
ANO   Insurance                                                     3664   6/16/2020   95374   Non‐Medical Self‐Insurance Claims (Captive)                            $       75.00
ANO   Insurance                                                     3664   6/16/2020   95375   Non‐Medical Self‐Insurance Claims (Captive)                            $      511.24
ANO   Insurance                                                     3664   6/16/2020   95376   Non‐Medical Self‐Insurance Claims (Captive)                            $      315.00
ANO   Insurance                                                     3664   6/16/2020   95377   Non‐Medical Self‐Insurance Claims (Captive)                            $      350.00
ANO   Insurance                                                     3664   6/16/2020   95378   Non‐Medical Self‐Insurance Claims (Captive)                            $      215.60
ANO   Insurance                                                     3664   6/16/2020   95379   Non‐Medical Self‐Insurance Claims (Captive)                            $      659.60
ANO   Insurance                                                     3664   6/16/2020   95380   Non‐Medical Self‐Insurance Claims (Captive)                            $      212.00
ANO   Insurance                                                     3664   6/16/2020   95381   Non‐Medical Self‐Insurance Claims (Captive)                            $      222.32
ANO   Insurance                                                     3664   6/16/2020   95382   Non‐Medical Self‐Insurance Claims (Captive)                            $       64.00
ANO   Insurance                                                     3664   6/16/2020   95383   Non‐Medical Self‐Insurance Claims (Captive)                            $      501.23
ANO   Insurance                                                     3664   6/16/2020   95384   Non‐Medical Self‐Insurance Claims (Captive)                            $      174.00
ANO   Insurance                                                     3664   6/16/2020   95385   Non‐Medical Self‐Insurance Claims (Captive)                            $      641.60
ANO   Insurance                                                     3664   6/16/2020   95386   Non‐Medical Self‐Insurance Claims (Captive)                            $      270.00
ANO   Insurance                                                     3664   6/16/2020   95387   Non‐Medical Self‐Insurance Claims (Captive)                            $      848.88
ANO   Insurance                                                     3664   6/16/2020   95388   Non‐Medical Self‐Insurance Claims (Captive)                            $      860.60
ANO   Insurance                                                     3664   6/16/2020   95389   Non‐Medical Self‐Insurance Claims (Captive)                            $      301.60
ANO   Insurance                                                     3664   6/16/2020   95390   Non‐Medical Self‐Insurance Claims (Captive)                            $    1,090.67
ANO   Insurance                                                     3664   6/16/2020   95391   Non‐Medical Self‐Insurance Claims (Captive)                            $      138.14
ANO   Insurance                                                     3664   6/16/2020   95392   Non‐Medical Self‐Insurance Claims (Captive)                            $      150.00
ANO   Insurance                                                     3664   6/16/2020   95393   Non‐Medical Self‐Insurance Claims (Captive)                            $   26,470.47
ANO   Insurance                                                     3664   6/16/2020   95394   Non‐Medical Self‐Insurance Claims (Captive)                            $    2,038.50
ANO   Insurance                                                     3664   6/16/2020   95395   Non‐Medical Self‐Insurance Claims (Captive)                            $       73.19
ANO   Insurance                                                     3664   6/16/2020   95396   Non‐Medical Self‐Insurance Claims (Captive)                            $      243.00
ANO   Insurance                                                     3664   6/16/2020   95397   Non‐Medical Self‐Insurance Claims (Captive)                            $      438.00
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                                           605
ANO   Insurance                 3664   6/16/2020       95398         Non‐Medical Self‐Insurance Claims (Captive)       $       224.33
ANO   Insurance                 3664   6/16/2020       95399         Non‐Medical Self‐Insurance Claims (Captive)       $       450.00
ANO   Insurance                 3664   6/16/2020       95400         Non‐Medical Self‐Insurance Claims (Captive)       $       388.80
ANO   Insurance                 3664   6/16/2020       95401         Non‐Medical Self‐Insurance Claims (Captive)       $     1,031.00
ANO   Insurance                 3664   6/16/2020       95402         Non‐Medical Self‐Insurance Claims (Captive)       $       252.00
ANO   Insurance                 3664   6/16/2020       95403         Non‐Medical Self‐Insurance Claims (Captive)       $       600.00
ANO   Insurance                 3664   6/16/2020       95404         Non‐Medical Self‐Insurance Claims (Captive)       $       756.00
ANO   Insurance                 3664   6/16/2020       95405         Non‐Medical Self‐Insurance Claims (Captive)       $     1,340.10
ANO   Insurance                 3664   6/23/2020       95406         Non‐Medical Self‐Insurance Claims (Captive)       $       450.00
ANO   Insurance                 3664   6/23/2020       95407         Non‐Medical Self‐Insurance Claims (Captive)       $        68.00
ANO   Insurance                 3664   6/23/2020       95408         Non‐Medical Self‐Insurance Claims (Captive)       $       181.86
ANO   Insurance                 3664   6/23/2020       95409         Non‐Medical Self‐Insurance Claims (Captive)       $        10.88
ANO   Insurance                 3664   6/23/2020       95410         Non‐Medical Self‐Insurance Claims (Captive)       $       757.50
ANO   Insurance                 3664   6/23/2020       95411         Non‐Medical Self‐Insurance Claims (Captive)       $       594.00
ANO   Insurance                 3664   6/23/2020       95412         Non‐Medical Self‐Insurance Claims (Captive)       $       736.00
ANO   Insurance                 3664   6/23/2020       95413         Non‐Medical Self‐Insurance Claims (Captive)       $        39.79
ANO   Insurance                 3664   6/23/2020       95414         Non‐Medical Self‐Insurance Claims (Captive)       $       536.68
ANO   Insurance                 3664   6/23/2020       95415         Non‐Medical Self‐Insurance Claims (Captive)       $        15.23
ANO   Insurance                 3664   6/23/2020       95416         Non‐Medical Self‐Insurance Claims (Captive)       $       190.09
ANO   Insurance                 3664   6/23/2020       95417         Non‐Medical Self‐Insurance Claims (Captive)       $       137.74
ANO   Insurance                 3664   6/23/2020       95418         Non‐Medical Self‐Insurance Claims (Captive)       $    10,300.00
ANO   Insurance                 3664   6/23/2020       95419         Non‐Medical Self‐Insurance Claims (Captive)       $     5,286.95
ANO   Insurance                 3664   6/23/2020       95420         Non‐Medical Self‐Insurance Claims (Captive)       $       380.30
ANO   Insurance                 3664   6/23/2020       95421         Non‐Medical Self‐Insurance Claims (Captive)       $     1,007.26
ANO   Insurance                 3664   6/23/2020       95422         Non‐Medical Self‐Insurance Claims (Captive)       $        20.28
ANO   Insurance                 3664   6/23/2020       95423         Non‐Medical Self‐Insurance Claims (Captive)       $     1,090.67
ANO   Insurance                 3664   6/23/2020       95424         Non‐Medical Self‐Insurance Claims (Captive)       $       501.23
ANO   Insurance                 3664   6/23/2020       95425         Non‐Medical Self‐Insurance Claims (Captive)       $       746.66
ANO   Insurance                 3664   6/23/2020       95426         Non‐Medical Self‐Insurance Claims (Captive)       $       105.00
ANO   Insurance                 3664   6/23/2020       95427         Non‐Medical Self‐Insurance Claims (Captive)       $       154.00
ANO   Insurance                 3664   6/23/2020       95428         Non‐Medical Self‐Insurance Claims (Captive)       $        68.00
ANO   Insurance                 3664   6/23/2020       95429         Non‐Medical Self‐Insurance Claims (Captive)       $       105.00
ANO   Insurance                 3664   6/23/2020       95430         Non‐Medical Self‐Insurance Claims (Captive)       $       200.00
ANO   Insurance                 3664   6/25/2020       95438         Non‐Medical Self‐Insurance Claims (Captive)       $       172.00
ANO   Insurance                 3664   6/25/2020       95439         Non‐Medical Self‐Insurance Claims (Captive)       $       249.00
ANO   Insurance                 3664   6/25/2020       95440         Non‐Medical Self‐Insurance Claims (Captive)       $       433.00
ANO   Insurance                 3664   6/25/2020       95441         Non‐Medical Self‐Insurance Claims (Captive)       $       252.00
ANO   Insurance                 3664   6/25/2020       95442         Non‐Medical Self‐Insurance Claims (Captive)       $        15.62
ANO   Insurance                 3664   6/25/2020       95443         Non‐Medical Self‐Insurance Claims (Captive)       $       105.00
ANO   Insurance                 3664   6/25/2020       95444         Non‐Medical Self‐Insurance Claims (Captive)       $        68.00
ANO   Insurance                 3664   6/25/2020       95445         Non‐Medical Self‐Insurance Claims (Captive)       $       250.00
ANO   Insurance                 3664   6/25/2020       95446         Non‐Medical Self‐Insurance Claims (Captive)       $        68.00
ANO   Insurance                 3664   6/25/2020       95447         Non‐Medical Self‐Insurance Claims (Captive)       $       460.00
ANO   Insurance                 3664   6/25/2020       95448         Non‐Medical Self‐Insurance Claims (Captive)       $       149.00
ANO   Insurance                 3664   6/25/2020       95449         Non‐Medical Self‐Insurance Claims (Captive)       $     2,000.00
ANO   Insurance                 3664   6/25/2020       95450         Non‐Medical Self‐Insurance Claims (Captive)       $       583.52
ANO   Insurance                 3664   6/25/2020       95451         Non‐Medical Self‐Insurance Claims (Captive)       $        43.00
ANO   Insurance                 3664   6/25/2020       95452         Non‐Medical Self‐Insurance Claims (Captive)       $       727.30
ANO   Insurance                 3664   6/25/2020       95453         Non‐Medical Self‐Insurance Claims (Captive)       $       149.00
ANO   Insurance                 3664   6/25/2020       95454         Non‐Medical Self‐Insurance Claims (Captive)       $       135.00
ANO   Insurance                 3664   6/25/2020       95455         Non‐Medical Self‐Insurance Claims (Captive)       $       233.10
ANO   Insurance                 3664   6/25/2020       95456         Non‐Medical Self‐Insurance Claims (Captive)       $       872.00
ANO   Insurance                 3664   6/25/2020       95457         Non‐Medical Self‐Insurance Claims (Captive)       $     4,524.72
ANO   Insurance                 3664   6/25/2020       95458         Non‐Medical Self‐Insurance Claims (Captive)       $       347.90
ANO   Insurance                 3664   6/25/2020       95459         Non‐Medical Self‐Insurance Claims (Captive)       $       163.10
ANO   Insurance                 3664   6/25/2020       95460         Non‐Medical Self‐Insurance Claims (Captive)       $        95.00
ANO   Insurance                 3664   6/25/2020       95461         Non‐Medical Self‐Insurance Claims (Captive)       $     7,046.63
ANO   Insurance                 3664   6/25/2020       95462         Non‐Medical Self‐Insurance Claims (Captive)       $       583.52
ANO   Insurance                 3664   6/30/2020       95463         Non‐Medical Self‐Insurance Claims (Captive)       $       468.00
ANO   Insurance                 3664   6/30/2020       95464         Non‐Medical Self‐Insurance Claims (Captive)       $       780.00
ANO   Insurance                 3664   6/30/2020       95465         Non‐Medical Self‐Insurance Claims (Captive)       $       807.50
ANO   Insurance                 3664   6/30/2020       95466         Non‐Medical Self‐Insurance Claims (Captive)       $     1,341.35
ANO   Insurance                 3664   6/30/2020       95467         Non‐Medical Self‐Insurance Claims (Captive)       $       641.60
ANO   Insurance                 3664   6/30/2020       95468         Non‐Medical Self‐Insurance Claims (Captive)       $       280.00
ANO   Insurance                 3664   6/30/2020       95469         Non‐Medical Self‐Insurance Claims (Captive)       $       699.16
ANO   Insurance                 3664   6/30/2020       95470         Non‐Medical Self‐Insurance Claims (Captive)       $     1,135.60
ANO   Insurance                 3664   6/30/2020       95471         Non‐Medical Self‐Insurance Claims (Captive)       $     1,578.20
ANO   Insurance                 3664   6/30/2020       95472         Non‐Medical Self‐Insurance Claims (Captive)       $       244.00
ANO   Insurance                 3664   6/30/2020       95473         Non‐Medical Self‐Insurance Claims (Captive)       $       350.00
ANO   Insurance                 3664   6/30/2020       95474         Non‐Medical Self‐Insurance Claims (Captive)       $       380.60
ANO   Insurance                 3664   6/30/2020       95475         Non‐Medical Self‐Insurance Claims (Captive)       $       202.50
ANO   Insurance                 3664   6/30/2020       95476         Non‐Medical Self‐Insurance Claims (Captive)       $     1,347.75
ANO   Insurance                 3664   6/30/2020       95477         Non‐Medical Self‐Insurance Claims (Captive)       $       511.24
ANO   Insurance                 3664   6/30/2020       95478         Non‐Medical Self‐Insurance Claims (Captive)       $       190.00
ANO   Insurance                 3664   6/30/2020       95479         Non‐Medical Self‐Insurance Claims (Captive)       $       860.60
ANO   Insurance                 3664   6/30/2020       95480         Non‐Medical Self‐Insurance Claims (Captive)       $       848.88
ANO   Insurance                 3664   6/30/2020       95481         Non‐Medical Self‐Insurance Claims (Captive)       $       138.14
ANO   Insurance                 3664   6/30/2020       95482         Non‐Medical Self‐Insurance Claims (Captive)       $       260.00
ANO   Insurance                 3664   6/30/2020       95483         Non‐Medical Self‐Insurance Claims (Captive)       $       659.60
ANO   Insurance                 3664   6/30/2020       95484         Non‐Medical Self‐Insurance Claims (Captive)       $     2,567.00
ANO   Insurance                 3664   6/2/2020        95311         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       105.00
ANO   Insurance                 3664   6/2/2020        95312         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       348.66
ANO   Insurance                 3664   6/4/2020        95313         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       492.30
ANO   Insurance                 3664   6/11/2020       95354         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $     3,325.50
ANO   Insurance                 3664   6/11/2020    95354 (Void)     Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $    (3,325.50)
ANO   Insurance                 3664   6/11/2020       95355         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $        91.87
ANO   Insurance                 3664   6/11/2020       95356         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $        20.28
ANO   Insurance                 3664   6/16/2020       95357         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       240.00
ANO   Insurance                 3664   6/16/2020       95358         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       348.66
ANO   Insurance                 3664   6/23/2020       95431         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       167.93
ANO   Insurance                 3664   6/23/2020       95432         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       218.63
ANO   Insurance                 3664   6/23/2020       95433         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $        30.47
ANO   Insurance                 3664   6/23/2020       95434         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       492.30
ANO   Insurance                 3664   6/25/2020       95435         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $        75.00
ANO   Insurance                 3664   6/25/2020       95436         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $     1,398.60
ANO   Insurance                 3664   6/25/2020       95437         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $     6,069.12
ANO   Insurance                 3664   6/30/2020       95485         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $       348.66
ANO   Insurance                 3664   6/30/2020       95486         Non‐Medical Self‐Insurance Claims (Pre‐Captive)   $     1,369.00
ANO   Insurance                 3664   6/30/2020    94904 (Void)     Non‐Medical Self‐Insurance Claims (Captive)       $   (30,000.00)
ANO   EMPLOYEE INSURANCE FUND   0766   6/1/2020        50000         Self‐Insured Medical Claims                       $       108.57
ANO   EMPLOYEE INSURANCE FUND   0766   6/1/2020        50001         Self‐Insured Medical Claims                       $        29.01
ANO   EMPLOYEE INSURANCE FUND   0766   6/1/2020        50002         Self‐Insured Medical Claims                       $        26.91
ANO   EMPLOYEE INSURANCE FUND   0766   6/1/2020        50003         Self‐Insured Medical Claims                       $       214.56
ANO   EMPLOYEE INSURANCE FUND   0766   6/1/2020        50004         Self‐Insured Medical Claims                       $     2,650.73
ANO   EMPLOYEE INSURANCE FUND   0766   6/2/2020        50005         Self‐Insured Medical Claims                       $        51.33
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50006         Self‐Insured Medical Claims                       $   371,830.18
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50007         Self‐Insured Medical Claims                       $       112.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50008         Self‐Insured Medical Claims                       $        30.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50009         Self‐Insured Medical Claims                       $       148.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50010         Self‐Insured Medical Claims                       $         6.12
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50011         Self‐Insured Medical Claims                       $        15.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50012         Self‐Insured Medical Claims                       $        21.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50013         Self‐Insured Medical Claims                       $     1,307.22
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50014         Self‐Insured Medical Claims                       $       291.81
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50015         Self‐Insured Medical Claims                       $     2,100.36
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50016         Self‐Insured Medical Claims                       $       179.57
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50017         Self‐Insured Medical Claims                       $       179.18
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50018         Self‐Insured Medical Claims                       $        17.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50019         Self‐Insured Medical Claims                       $       397.95
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50020         Self‐Insured Medical Claims                       $     1,384.66
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50021         Self‐Insured Medical Claims                       $        33.94
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50022         Self‐Insured Medical Claims                       $       180.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50023         Self‐Insured Medical Claims                       $       179.18
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50024         Self‐Insured Medical Claims                       $       502.89
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50025         Self‐Insured Medical Claims                       $    19,624.44
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50026         Self‐Insured Medical Claims                       $         1.26
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50027         Self‐Insured Medical Claims                       $        79.59
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50028         Self‐Insured Medical Claims                       $       180.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50029         Self‐Insured Medical Claims                       $        46.06
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50030         Self‐Insured Medical Claims                       $        52.80
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50031         Self‐Insured Medical Claims                       $       318.36
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50032         Self‐Insured Medical Claims                       $        19.50
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50033         Self‐Insured Medical Claims                       $        51.33
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50034         Self‐Insured Medical Claims                       $        89.59
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50035         Self‐Insured Medical Claims                       $        94.21
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50036         Self‐Insured Medical Claims                       $       299.70
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50037         Self‐Insured Medical Claims                       $        12.10
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50038         Self‐Insured Medical Claims                       $       433.74
ANO   EMPLOYEE INSURANCE FUND   0766   6/5/2020        50039         Self‐Insured Medical Claims                       $     2,442.36
ANO   EMPLOYEE INSURANCE FUND   0766   6/8/2020    N/A ‐ EFT Draft   EFT Draft                                         $   633,353.84
ANO   EMPLOYEE INSURANCE FUND   0766   6/8/2020    N/A ‐ EFT Draft   EFT Draft                                         $     3,514.51
ANO   EMPLOYEE INSURANCE FUND   0766   6/9/2020        50040         Self‐Insured Medical Claims                       $     2,883.89
ANO   EMPLOYEE INSURANCE FUND   0766   6/9/2020        50041         Self‐Insured Medical Claims                       $       252.47
ANO   EMPLOYEE INSURANCE FUND   0766   6/9/2020        50042         Self‐Insured Medical Claims                       $        21.33
ANO   EMPLOYEE INSURANCE FUND   0766   6/10/2020       50043         Self‐Insured Medical Claims                       $     7,684.03
ANO   EMPLOYEE INSURANCE FUND   0766   6/10/2020       50044         Self‐Insured Medical Claims                       $        44.24
ANO   EMPLOYEE INSURANCE FUND   0766   6/11/2020       50045         Self‐Insured Medical Claims                       $     8,082.13
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50046         Self‐Insured Medical Claims                       $       408.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50047         Self‐Insured Medical Claims                       $        15.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50048         Self‐Insured Medical Claims                       $       277.69
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50049         Self‐Insured Medical Claims                       $       116.34
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50050         Self‐Insured Medical Claims                       $        31.49
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50051         Self‐Insured Medical Claims                       $        77.85
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50052         Self‐Insured Medical Claims                       $        79.59
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50053         Self‐Insured Medical Claims                       $     1,943.85
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50054         Self‐Insured Medical Claims                       $       317.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50055         Self‐Insured Medical Claims                       $       517.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50056         Self‐Insured Medical Claims                       $       336.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50057         Self‐Insured Medical Claims                       $       390.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50058         Self‐Insured Medical Claims                       $        79.59
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50059         Self‐Insured Medical Claims                       $       124.91
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50060         Self‐Insured Medical Claims                       $       134.07
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50061         Self‐Insured Medical Claims                       $       315.02
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50062         Self‐Insured Medical Claims                       $        61.77
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50063         Self‐Insured Medical Claims                       $       142.02
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50064         Self‐Insured Medical Claims                       $         1.26
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50065         Self‐Insured Medical Claims                       $        90.39
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50066         Self‐Insured Medical Claims                       $        52.79
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50067         Self‐Insured Medical Claims                       $        52.80
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50068         Self‐Insured Medical Claims                       $       117.16
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50069         Self‐Insured Medical Claims                       $        39.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50070         Self‐Insured Medical Claims                       $        37.10
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50071         Self‐Insured Medical Claims                       $       287.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50072         Self‐Insured Medical Claims                       $       358.36
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50073         Self‐Insured Medical Claims                       $       511.05
ANO   EMPLOYEE INSURANCE FUND   0766   6/12/2020       50074         Self‐Insured Medical Claims                       $       124.08
ANO   EMPLOYEE INSURANCE FUND   0766   6/15/2020   N/A ‐ EFT Draft   6.8 ‐ 6.12 Medical Claims                         $   465,695.16
ANO   EMPLOYEE INSURANCE FUND   0766   6/15/2020   N/A ‐ EFT Draft   6.8 ‐ 6.12 Medical Claims                         $     3,223.29
ANO   EMPLOYEE INSURANCE FUND   0766   6/15/2020       50075         Self‐Insured Medical Claims                       $        29.44
ANO   EMPLOYEE INSURANCE FUND   0766   6/15/2020       50076         Self‐Insured Medical Claims                       $        18.52
ANO   EMPLOYEE INSURANCE FUND   0766   6/17/2020       50077         Self‐Insured Medical Claims                       $       552.15
ANO   EMPLOYEE INSURANCE FUND   0766   6/17/2020       50078         Self‐Insured Medical Claims                       $       552.15
ANO   EMPLOYEE INSURANCE FUND   0766   6/18/2020       50079         Self‐Insured Medical Claims                       $        17.68
ANO   EMPLOYEE INSURANCE FUND   0766   6/18/2020       50080         Self‐Insured Medical Claims                       $       356.61
ANO   EMPLOYEE INSURANCE FUND   0766   6/18/2020       50081         Self‐Insured Medical Claims                       $       976.47
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50082         Self‐Insured Medical Claims                       $   411,117.04
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50083         Self‐Insured Medical Claims                       $       232.75
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50084         Self‐Insured Medical Claims                       $       308.00
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50085         Self‐Insured Medical Claims                       $        57.28
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50086         Self‐Insured Medical Claims                       $       122.67
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50087         Self‐Insured Medical Claims                       $       256.62
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50088         Self‐Insured Medical Claims                       $     1,189.93
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50089         Self‐Insured Medical Claims                       $        63.28
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50090         Self‐Insured Medical Claims                       $        60.21
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50091         Self‐Insured Medical Claims                       $        66.28
ANO   EMPLOYEE INSURANCE FUND   0766   6/19/2020       50092         Self‐Insured Medical Claims                       $       715.13
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                                           605
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50093                                                        Self‐Insured Medical Claims                                              $       104.54
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50094                                                        Self‐Insured Medical Claims                                              $        89.59
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50095                                                        Self‐Insured Medical Claims                                              $        17.64
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50096                                                        Self‐Insured Medical Claims                                              $        81.87
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50097                                                        Self‐Insured Medical Claims                                              $        74.48
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50098                                                        Self‐Insured Medical Claims                                              $       397.95
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50099                                                        Self‐Insured Medical Claims                                              $        70.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50100                                                        Self‐Insured Medical Claims                                              $       295.80
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50101                                                        Self‐Insured Medical Claims                                              $        31.15
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50102                                                        Self‐Insured Medical Claims                                              $        79.59
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50103                                                        Self‐Insured Medical Claims                                              $         7.83
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50104                                                        Self‐Insured Medical Claims                                              $       782.19
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50105                                                        Self‐Insured Medical Claims                                              $        38.32
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50106                                                        Self‐Insured Medical Claims                                              $         1.26
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50107                                                        Self‐Insured Medical Claims                                              $       238.77
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50108                                                        Self‐Insured Medical Claims                                              $        78.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50109                                                        Self‐Insured Medical Claims                                              $        80.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50110                                                        Self‐Insured Medical Claims                                              $       549.14
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50111                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50112                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50113                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50114                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50115                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50116                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50117                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50118                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50119                                                        Self‐Insured Medical Claims                                              $        50.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50120                                                        Self‐Insured Medical Claims                                              $        73.39
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/19/2020            50121                                                        Self‐Insured Medical Claims                                              $     2,587.74
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/22/2020            50122                                                        Self‐Insured Medical Claims                                              $        35.55
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/22/2020       N/A ‐ EFT Draft                                                   EFT Draft                                                                $   479,932.27
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/22/2020       N/A ‐ EFT Draft                                                   EFT Draft                                                                $     5,686.35
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/23/2020            50123                                                        Self‐Insured Medical Claims                                              $       474.34
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/24/2020            50124                                                        Self‐Insured Medical Claims                                              $       136.77
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/24/2020            50125                                                        Self‐Insured Medical Claims                                              $       552.15
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/25/2020            50126                                                        Self‐Insured Medical Claims                                              $        42.48
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50127                                                        Self‐Insured Medical Claims                                              $        73.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50128                                                        Self‐Insured Medical Claims                                              $        23.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50129                                                        Self‐Insured Medical Claims                                              $       360.28
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50130                                                        Self‐Insured Medical Claims                                              $       260.09
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50131                                                        Self‐Insured Medical Claims                                              $       269.46
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50132                                                        Self‐Insured Medical Claims                                              $        15.40
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50133                                                        Self‐Insured Medical Claims                                              $        72.16
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50134                                                        Self‐Insured Medical Claims                                              $       404.07
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50135                                                        Self‐Insured Medical Claims                                              $       159.18
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50136                                                        Self‐Insured Medical Claims                                              $        58.32
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50137                                                        Self‐Insured Medical Claims                                              $       409.61
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50138                                                        Self‐Insured Medical Claims                                              $       130.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50139                                                        Self‐Insured Medical Claims                                              $        54.63
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50140                                                        Self‐Insured Medical Claims                                              $       129.45
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50141                                                        Self‐Insured Medical Claims                                              $       159.18
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50142                                                        Self‐Insured Medical Claims                                              $       268.77
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50143                                                        Self‐Insured Medical Claims                                              $       105.86
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50144                                                        Self‐Insured Medical Claims                                              $       107.35
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50145                                                        Self‐Insured Medical Claims                                              $        46.06
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50146                                                        Self‐Insured Medical Claims                                              $        61.77
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50147                                                        Self‐Insured Medical Claims                                              $        60.66
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50148                                                        Self‐Insured Medical Claims                                              $       318.36
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50149                                                        Self‐Insured Medical Claims                                              $        79.59
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50150                                                        Self‐Insured Medical Claims                                              $        39.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50151                                                        Self‐Insured Medical Claims                                              $       140.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50152                                                        Self‐Insured Medical Claims                                              $        40.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50153                                                        Self‐Insured Medical Claims                                              $       292.63
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50154                                                        Self‐Insured Medical Claims                                              $       318.36
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50155                                                        Self‐Insured Medical Claims                                              $       179.18
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50156                                                        Self‐Insured Medical Claims                                              $       258.36
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50157                                                        Self‐Insured Medical Claims                                              $       240.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50158                                                        Self‐Insured Medical Claims                                              $       552.15
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50159                                                        Self‐Insured Medical Claims                                              $        80.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/26/2020            50160                                                        Self‐Insured Medical Claims                                              $        80.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50161                                                        Self‐Insured Medical Claims                                              $       131.98
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50162                                                        Self‐Insured Medical Claims                                              $       112.72
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50163                                                        Self‐Insured Medical Claims                                              $       517.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50164                                                        Self‐Insured Medical Claims                                              $       397.95
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50165                                                        Self‐Insured Medical Claims                                              $       584.52
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50166                                                        Self‐Insured Medical Claims                                              $    17,556.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50167                                                        Self‐Insured Medical Claims                                              $         7.47
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50168                                                        Self‐Insured Medical Claims                                              $       210.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50169                                                        Self‐Insured Medical Claims                                              $        61.77
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50170                                                        Self‐Insured Medical Claims                                              $        60.66
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50171                                                        Self‐Insured Medical Claims                                              $        25.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50172                                                        Self‐Insured Medical Claims                                              $        39.00
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50173                                                        Self‐Insured Medical Claims                                              $        62.95
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50174                                                        Self‐Insured Medical Claims                                              $       744.80
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50175                                                        Self‐Insured Medical Claims                                              $       154.12
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50176                                                        Self‐Insured Medical Claims                                              $       444.43
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50177                                                        Self‐Insured Medical Claims                                              $       174.86
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/30/2020            50178                                                        Self‐Insured Medical Claims                                              $       128.81
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12282                                                        Self‐Insured Medical Claims                                              $       495.00
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12283                                                        Self‐Insured Medical Claims                                              $        96.47
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12284                                                        Self‐Insured Medical Claims                                              $        56.43
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12285                                                        Self‐Insured Medical Claims                                              $        50.73
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12286                                                        Self‐Insured Medical Claims                                              $        74.82
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12287                                                        Self‐Insured Medical Claims                                              $        78.86
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12288                                                        Self‐Insured Medical Claims                                              $       135.72
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12289                                                        Self‐Insured Medical Claims                                              $       200.55
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12290                                                        Self‐Insured Medical Claims                                              $        38.06
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12291                                                        Self‐Insured Medical Claims                                              $        87.59
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12292                                                        Self‐Insured Medical Claims                                              $        19.50
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12293                                                        Self‐Insured Medical Claims                                              $        94.21
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12294                                                        Self‐Insured Medical Claims                                              $       330.00
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12295                                                        Self‐Insured Medical Claims                                              $        30.00
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12296                                                        Self‐Insured Medical Claims                                              $       116.00
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12297                                                        Self‐Insured Medical Claims                                              $        73.94
ANO   Archdiocese of New Orleans                                    8597   5/29/2020            12298                                                        Self‐Insured Medical Claims                                              $        44.24
ANO   Archdiocese of New Orleans                                    8597   6/4/2020              N/A                                                         Self‐Insured Medical Claims (Various)                                    $     5,244.91
ANO   Archdiocese of New Orleans                                    8597   6/4/2020              N/A                                                         Self‐Insured Medical Claims (Various)                                    $   123,629.44
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89572         ST ANTHONY PRIORY                              SPECIAL FUNCTIONS,AUTOMOBILE EXPENSE,OFFICE SUPPLIES,TELEPHONE EXPENSE   $     2,400.93   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89556         BAYCARE HEALTH SYSTEM INC                      Active Priest Medical Expense ‐ Medical Co‐Pays                          $     6,649.64   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89557         CLECO POWER LLC                                PRIEST VACATION VILLA                                                    $       111.95   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89558         COX BUSINESS                                   IT EQUIPMENT                                                             $       571.16   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89559         ENTERGY                                        UTILITIES                                                                $     1,782.38   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89560         ENTERGY                                        SUBSIDY                                                                  $        19.95   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89561         ENTERGY                                        HOUSEHOLD UTILITIES                                                      $        26.66   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89562         ENTERGY                                        HOUSEHOLD UTILITIES                                                      $        19.95   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89563         JEFFERSON PARISH DEPT OF WATER                 UTILITIES                                                                $       136.67   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89564         LCMC ‐ SBO                                     Retired Priest Plus Expense ‐ Medical Co‐Pays                            $     1,659.71   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89565         LINCARE INC                                    Active Priest Medical Expense ‐ Medical Co‐Pays                          $        20.87   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89566         NEW ORLEANS PHYSICIAN SERVICES                 Retired Priest Plus Expense ‐ Medical Co‐Pays                            $        97.14   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89567         OCHSNER HEALTH SYSTEM                          Active Priest Medical Expense ‐ Medical Co‐Pays                          $       449.68   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89568         PARADIGM HEALTH SYSTEM                         Active Priest Medical Expense ‐ Medical Co‐Pays                          $        70.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89570         SPARKLIGHT                                     IT EQUIPMENT                                                             $       130.07   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89636         DR PATRICIA JACKSON LLC                        Retired Priest Plus Expense ‐ Medical Co‐Pays                            $       125.07   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020            89762         CLECO POWER LLC                                HOUSEHOLD UTILITIES                                                      $     1,338.25   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020            89765         LCMC ‐ SBO                                     Retired Priest Plus Expense ‐ Medical Co‐Pays                            $     2,397.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020            89766         LOUISIANA DENTAL CENTER                        Active Priest Medical Expense ‐ Dental & Vision                          $       124.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020            89768         METROPOLITAN GASTROENTEROLOGY ASSOC            Retired Priest Plus Expense ‐ Medical Co‐Pays                            $        35.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020            89770         OCHSNER HEALTH SYSTEM                          Active Priest Medical Expense ‐ Medical Co‐Pays                          $     1,365.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020            89775         SEWERAGE & WATER BOARD OF N.O.                 HOUSEHOLD UTILITIES                                                      $       142.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/23/2020            89901         Armentor Service Center                        RETREAT INCOME ‐ SCHEDULED RETREATS                                      $        75.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020            89939         OCHSNER HEALTH SYSTEM                          Active Priest Medical Expense ‐ Medical Co‐Pays                          $       625.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020            89941         TULANE UNIVERSITY MEDICAL GROUP                Active Priest Medical Expense ‐ Medical Co‐Pays                          $        15.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90052         LCMC ‐ SBO                                     Retired Priest Plus Expense ‐ Medical Co‐Pays                            $     1,033.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90059         SCOTT BROTHERS PHD                             PRIEST THERAPY                                                           $       280.00   *
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89571         ST ANTHONY OF PADUA CHURCH                     RENT                                                                     $       507.61   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89604         INTERNATIONAL SOLUTIONS FOR GROWTH GROUP LLC   GRANT EXPENSES ‐ EEF                                                     $    11,000.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020            89936         FLOURISH COUNSELING & WELLNESS CENTER          FINANCIAL ASSISTANCE TO VICTIMS                                          $     1,200.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020            89937         FLOURISH COUNSELING & WELLNESS CENTER          FINANCIAL ASSISTANCE TO VICTIMS                                          $       525.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90054         MEITLER CONSULTANTS INC                        GRANT EXPENSES ‐ EEF                                                     $    60,300.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90055         NOTRE DAME SEMINARY                            GRANT EXPENSES ‐ EEF                                                     $       975.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90048         DATA RECOGNITION CORP                          GRANT EXPENSES ‐ EEF                                                     $    44,535.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90050         HEINEMANN                                      GRANT EXPENSES ‐ EEF                                                     $     5,395.50   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90051         K12 MANAGEMENT INC                             GRANT EXPENSES ‐ EEF                                                     $     7,500.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90053         Marillac Community Health Centers              GRANT EXPENSES ‐ EEF                                                     $     3,055.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90056         OUR LADY OF PERPETUAL HELP SCHOOL              GRANT EXPENSES ‐ EEF                                                     $    50,000.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90060         ST BENILDE SCHOOL                              GRANT EXPENSES ‐ EEF                                                     $    40,000.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90062         ST PAUL S HIGH SCHOOL                          GRANT EXPENSES ‐ EEF                                                     $   100,000.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90063         ST STEPHEN SCHOOL                              GRANT EXPENSES ‐ EEF                                                     $    30,000.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90064         Stay the Course EDU                            GRANT EXPENSES ‐ EEF                                                     $       300.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90066         URSULINE ACADEMY                               GRANT EXPENSES ‐ EEF                                                     $    75,000.00   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90067         WHITE OAK CONSULTING                           GRANT EXPENSES ‐ EEF                                                     $    27,012.25   **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90068         WHITE OAK CONSULTING                           GRANT EXPENSES ‐ EEF                                                     $       400.00   **
ANO   Business Check Card Acct                                      9625   6/4/2020    A ‐ debit card transactChevron                                        Lawn Maintenance Gas                                                     $        33.51
ANO   Business Check Card Acct                                      9625   6/10/2020   A ‐ debit card transactChevron                                        Lawn Maintenance Gas                                                     $        41.22
ANO   Business Check Card Acct                                      9625   6/11/2020   A ‐ debit card transactSociety of Louisana CPAs                       LCPA CPE                                                                 $        39.00
ANO   Business Check Card Acct                                      9625   6/11/2020   A ‐ debit card transactSociety of Louisana CPAs                       LCPA CPE                                                                 $        39.00
ANO   Business Check Card Acct                                      9625   6/18/2020   A ‐ debit card transactChevron                                        Lawn Maintenance Gas                                                     $        36.38
ANO   Business Check Card Acct                                      9625   6/18/2020   A ‐ debit card transactEastbank Cyclery                               Lawn Maintenance                                                         $       424.95
ANO   Business Check Card Acct                                      9625   6/19/2020   A ‐ debit card transactChevron                                        Lawn Maintenance Gas                                                     $        31.37
ANO   Business Check Card Acct                                      9625   6/26/2020   A ‐ debit card transactChevron                                        Lawn Maintenance Gas                                                     $        25.77
ANO   Business Check Card Acct                                      9625   6/29/2020   A ‐ debit card transactChevron                                        Lawn Maintenance Gas                                                     $        10.09
ANO   Payroll Account                                               9614   6/4/2020              N/A          ANO Retirement Account                         To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ 401k                  $    25,092.24   X
ANO   Payroll Account                                               9614   6/4/2020              N/A          ANO Retirement Account                         To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ 401k (Entwisle)       $     1,167.72   X       Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/19/2020             N/A          ANO Retirement Account                         401K PAYROLL JOURNAL ENTRY ‐ 6.1 ‐ 6.15                                  $    27,464.77   X
ANO   Payroll Account                                               9614   6/19/2020             N/A          ANO Retirement Account                         401K PAYROLL JOURNAL ENTRY ‐ 6.1 ‐ 6.15 (Entwisle)                       $     1,167.72   X       Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/29/2020             N/A          ANO Retirement Account                         6.30.2020 Clergy 401k Payroll                                            $     5,337.14   X
ANO   Payroll Account                                               9614   6/29/2020             N/A          ANO Retirement Account                         6.30.2020 Clergy 401k Payroll (Aymond)                                   $        87.00   X       Yes ‐ Aymond
ANO   Payroll Account                                               9614   6/29/2020             N/A          ANO Retirement Account                         6.30.2020 Clergy 401k Payroll(Akpoghiran)                                $        82.36   X       Yes ‐ Akpoghiran
ANO   Payroll Account                                               9614   6/29/2020             N/A          ANO Retirement Account                         6.30.2020 Clergy 401k Payroll (Cheri)                                    $        86.16   X       Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020              N/A          Capital One Insurance                          Capital One Insurance                                                    $    13,845.13   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020              N/A          First Bank and Trust                           6.3.20 FBT Operating to Payroll Transfer                                 $   175,000.00   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/5/2020              N/A          Capital One Insurance                          Capital One Insurance                                                    $    21,911.20   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/12/2020             N/A          Capital One Insurance                          Capital One Insurance                                                    $    21,119.91   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020             N/A          Capital One Insurance                          Capital One Insurance                                                    $    51,989.64   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020             N/A          First Bank and Trust                           6.18.20 Funds transfer from Whit. Op. to FBT Op.                         $   300,000.00   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/22/2020             N/A          EIF                                            Whitney Operating Loan to EIF                                            $   200,000.00   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/24/2020             N/A          Capital One Insurance                          Capital One Insurance                                                    $    24,592.45   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/24/2020             N/A          First Bank and Trust                           6.24.20 FBT Transfer from Whitney Operating                              $    78,000.00   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/26/2020             N/A          Capital One Insurance                          Capital One Insurance                                                    $    27,268.13   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020             N/A          Capital One Insurance                          Capital One Insurance                                                    $    18,009.38   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/3/2020              N/A          ANO FBT Payroll Account                        To record IOI 6.3.2020 payroll invoice                                   $       552.50   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/4/2020              N/A          ANO FBT Payroll Account                        To record 5.16‐5.31 FBT payroll transfer                                 $   241,379.36   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/10/2020             N/A          ANO FBT Payroll Account                        To record IOI payroll invoice 6.10                                       $       552.50   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/17/2020             N/A          ANO FBT Payroll Account                        To record IOI payroll invoice ‐ 6.17.2020                                $       552.50   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/19/2020             N/A          ANO FBT Payroll Account                        Record payroll transfer from FBT oper. to FBT payroll                    $   296,424.41   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/24/2020             N/A          ANO FBT Payroll Account                        To record IOI payroll invoice                                            $       552.50   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/25/2020             N/A          ANO FBT Payroll Account                        Camp Abbey end of june payroll transfer                                  $    19,708.15   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/29/2020             N/A          ANO FBT Payroll Account                        6.30.2020 payroll transfer from FBT oper. to FBT payrol                  $    78,499.38   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/30/2020                          ANO FBT Payroll Account                        To record manual payroll checks clearing ‐ #10006 & 10008                $       577.36   X
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/30/2020                          FBT BCC Debit Card                             FBT BCC Transfer from FBT Operating                                      $     1,242.27   X
ANO   EMPLOYEE INSURANCE FUND                                       0766   6/1/2020        N/A ‐ EFT Draft Various                                           EIF Medical Claims 5.25.20 ‐ 5.29.20                                     $   130,896.47   X
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020             N/A          Archbishop Shaw                                Deposit and Loan Fund                                                    $   303,500.00   Y
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90047         ACADEMY OF OUR LADY SCHOOL                     GRANT EXPENSES ‐ EEF                                                     $    60,000.00   Y, **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90057         POPE JOHN PAUL II HIGH SCHOOL                  GRANT EXPENSES ‐ EEF                                                     $     9,861.96   Y, **
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020            90061         ST CHARLES CATHOLIC HIGH SCHOOL                GRANT EXPENSES ‐ EEF                                                     $    19,500.00   Y, **
ANO   Business Check Card Acct                                      9625   6/1/2020    A ‐ debit card transactShell                                          Archbishop Automobile expenses                                           $        41.44           Yes ‐ Aymond
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                                           605
ANO   Business Check Card Acct                                      9625   6/2/2020    A ‐ debit card transactsafari car wash                             Archbishop Automobile expenses                                         $        33.90   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/12/2020   A ‐ debit card transactWalmart                                     Archbishop Residence Household expenses                                $       104.61   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/15/2020   A ‐ debit card transactsafari car wash                             Archbishop Automobile expenses                                         $        28.95   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/16/2020   A ‐ debit card transactWalgreens                                   Archbishop Residence Household expenses                                $         6.54   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/16/2020   A ‐ debit card transactShell                                       Archbishop Automobile expenses                                         $        16.46   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/17/2020   A ‐ debit card transactsafari car wash                             Archbishop Automobile expenses                                         $        28.95   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/18/2020   A ‐ debit card transactRobert Fresh Market                         Archbishop Residence Household expenses                                $        56.66   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/22/2020   A ‐ debit card transactWalmart                                     Archbishop Residence Household expenses                                $        51.38   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/23/2020   A ‐ debit card transactRobert Fresh Market                         Archbishop Residence Household expenses                                $        10.42   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/29/2020   A ‐ debit card transactWalmart                                     Archbishop Residence Household expenses                                $        17.24   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/29/2020   A ‐ debit card transactWalmart                                     Archbishop Residence Household expenses                                $        45.81   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/30/2020   A ‐ debit card transactBreauxMart                                  Archbishop Residence Household expenses                                $        13.53   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/30/2020   A ‐ debit card transactGarden District                             Archbishop Residence Household expenses                                $        19.59   Yes ‐ Aymond
ANO   Business Check Card Acct                                      9625   6/17/2020   A ‐ debit card transactWalmart                                     Vicar General Household Expenses                                       $        46.50   Yes ‐ Bishop Cheri
ANO   Business Check Card Acct                                      9625   6/11/2020   A ‐ debit card transactSociety of Louisana CPAs                    LCPA CPE (Entwisle)                                                    $        39.00   Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/3/2020              N/A          PrimePay                                    KXXAA‐PRIMEPAY INVOICE KXXAAXXXXXX5539                                 $       552.50
ANO   Payroll Account                                               9614   6/4/2020              N/A          Crescent Payroll Solutions                  To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ gross               $   148,841.26
ANO   Payroll Account                                               9614   6/4/2020              N/A          Crescent Payroll Solutions                  To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ gross (Entwisle)    $     3,260.64   Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/4/2020              N/A          ANO Benefit Trust                           To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ BenTrust            $     3,747.74
ANO   Payroll Account                                               9614   6/4/2020              N/A          ANO Benefit Trust                           To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ BenTrust (Entwisle) $       119.97   Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/4/2020              N/A          Crescent Payroll Solutions                  To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ tax                 $    57,799.85
ANO   Payroll Account                                               9614   6/4/2020              N/A          Crescent Payroll Solutions                  To record 6.5.2020 payroll, pay period 5.16‐5.31 ‐ tax (Entwisle)      $     1,349.94   Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/10/2020             N/A          PrimePay                                    KXXAA‐PRIMEPAY INVOICE KXXAAXXXXXX0703                                 $       552.50
ANO   Payroll Account                                               9614   6/17/2020             N/A          PrimePay                                    KXXAA‐PRIMEPAY INVOICE KXXAAXXXXXX3147                                 $       552.50
ANO   Payroll Account                                               9614   6/19/2020             N/A          Crescent Payroll Solutions                  PAYROLL JOURNAL ENTRY ‐ 6.1 ‐ 6.15                                     $   166,721.77
ANO   Payroll Account                                               9614   6/19/2020             N/A          Crescent Payroll Solutions                  PAYROLL JOURNAL ENTRY ‐ 6.1 ‐ 6.15 (Entwisle)                          $     3,260.65   Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/19/2020             N/A          PrimePay                                    PAYROLL TAX JOURNAL ENTRY ‐ 6.1 ‐ 6.15                                 $    63,334.36
ANO   Payroll Account                                               9614   6/19/2020             N/A          PrimePay                                    PAYROLL TAX JOURNAL ENTRY ‐ 6.1 ‐ 6.15 (Entwisle)                      $     1,349.93   Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/19/2020             N/A          ANO Benefit Trust                           BenTrust PAYROLL JOURNAL ENTRY ‐ 6.1 ‐ 6.15                            $     3,892.79
ANO   Payroll Account                                               9614   6/19/2020             N/A          ANO Benefit Trust                           BenTrust PAYROLL JOURNAL ENTRY ‐ 6.1 ‐ 6.15 (Entwisle)                 $       119.97   Yes ‐ Entwisle
ANO   Payroll Account                                               9614   6/19/2020             N/A          Crescent Payroll Solutions                  6.22.2020 iSolved invoice ‐ Camp Abbey                                 $        20.00
ANO   Payroll Account                                               9614   6/19/2020             N/A          Crescent Payroll Solutions                  6.22.2020 iSolved invoice ‐ lay payroll                                $     4,248.25
ANO   Payroll Account                                               9614   6/22/2020             N/A          Crescent Payroll Solutions                  Camp Abbey mid‐june payroll; pay date 6.22.2020                        $    19,649.56
ANO   Payroll Account                                               9614   6/22/2020             N/A          Crescent Payroll Solutions                  Camp Abbey mid‐june payroll; pay date 6.22.2020                        $     5,712.88
ANO   Payroll Account                                               9614   6/24/2020             N/A          PrimePay                                    KXXAA‐PRIMEPAY INVOICE KXXAAXXXXXX3930                                 $       552.50
ANO   Payroll Account                                               9614   6/25/2020             N/A          Crescent Payroll Solutions                  Camp Abbey end of june payroll; pay date 6.26.2020                     $    16,968.70
ANO   Payroll Account                                               9614   6/25/2020             N/A          Crescent Payroll Solutions                  Camp Abbey end of june payroll; pay date 6.26.2020                     $     4,485.91
ANO   Payroll Account                                               9614   6/25/2020             N/A          Crescent Payroll Solutions                  Camp Abbey end of june payroll invoice                                 $     1,080.50
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  CLERGY SALARIES                                                        $    57,931.74
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  CLERGY SALARIES (Aymond)                                               $     1,655.22   Yes ‐ Aymond
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  CLERGY SALARIES (Akpoghiran)                                           $     1,776.64   Yes ‐ Akpoghiran
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  CLERGY SALARIES (Cheri)                                                $     1,521.75   Yes ‐ Cheri
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  6.30.2020 Clergy Payroll Tax                                           $     7,334.83
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  6.30.2020 Clergy Payroll Tax (Aymond)                                  $       432.78   Yes ‐ Aymond
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  6.30.2020 Clergy Payroll Tax (Akpoghiran)                              $       200.00   Yes ‐ Akpoghiran
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  6.30.2020 Clergy Payroll Tax (Cheri)                                   $       546.09   Yes ‐ Cheri
ANO   Payroll Account                                               9614   6/29/2020             N/A          ANO Benefit Trust                           6.30.2020 Clergy BenTrust Payroll                                      $       118.42
ANO   Payroll Account                                               9614   6/29/2020             N/A          Crescent Payroll Solutions                  6.30.2020 clergy iSolved payroll invoice                               $     1,389.25
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/1/2020              N/A          NSF CHECK                                   NSF Check                                                              $       100.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89575         AT&T                                        TELEPHONE EXPENSE                                                      $       111.55
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89576         AT&T                                        TELEPHONE EXPENSE                                                      $       330.59
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89577         AT&T                                        TELEPHONE EXPENSE                                                      $        48.99
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89578         AT&T MOBILITY                               TELEPHONE EXPENSE                                                      $        72.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89579         CDW GOVERNMENT INC                          IT EQUIPMENT                                                           $    24,960.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89580         CHURCH SUPPLY HOUSE                         LITURGICAL SUPPLIES                                                    $        12.71
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89581         CORVUS OF NEW ORLEANS LLC                   CONTRACTED SERVICE                                                     $       485.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89582         COWLEY DENTAL CARE LLC                      Active Priest Medical Expense ‐ Dental & Vision                        $       115.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89583         COX                                         IT EQUIPMENT                                                           $       285.58
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89584         COX BUSINESS                                COMMUNICATIONS                                                         $       514.77
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89585         COX COMMUNICATIONS                          COMMUNICATIONS                                                         $       113.36
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89588         DELL MARKETING L. P.                        IT EQUIPMENT                                                           $     1,455.60
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89589         DOCUMART                                    STATIONERY & PRINTING                                                  $       463.66
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89590         EAGLE SECURITY SYSTEMS INC                  HOUSEHOLD EXPENSES                                                     $        63.00   Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89591         ED SMITH STENCIL WORKS LTD                  OFFICE SUPPLIES                                                        $        10.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89592         ENHANCING BEAUTIFUL MINDS LLC               GRANT EXPENSES ‐ EEF                                                   $     2,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89593         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $        28.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89594         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $        59.59
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89595         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $       546.22
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89596         ENTERGY                                     UTILITIES                                                              $        19.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89597         ENTERGY                                     UTILITIES                                                              $     1,950.36
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89598         FAXLOGIC, LLC                               IT EQUIPMENT                                                           $     1,532.96
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89600         GENOVESE TRACTOR SERVICE LLC                CONTRACTED SERVICE                                                     $       125.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89601         GLENN D LEBOEUF MSW LCSW BCD                PRIEST THERAPY                                                         $     1,800.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89602         GRAYBAR ELECTRIC COMPANY INC                IT EQUIPMENT                                                           $     3,572.16
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89603         HOME DEPOT PRO                              HOUSEHOLD EXPENSES                                                     $       211.13
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89605         JEWISH FAMILY SERVICE                       Active Priest Medical Expense ‐ Miscellaneous                          $       101.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89606         JOHNSON CONTROLS FIRE PROTECTION LP         CONTRACTED SERVICE                                                     $       183.68
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89607         JSR VETTING SERVICES LLC                    CONSULTANT FEES, SEMINARIAN ASSIST                                     $       210.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89610         KENTWOOD SPRINGS                            HOUSEHOLD EXPENSES                                                     $        54.10
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89611         KENTWOOD SPRINGS                            COFFEE & SOFT DRINK EXPENSE                                            $        57.38
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89612         LOUISIANA OFFICE PRODUCTS INC               HOUSEHOLD EXPENSES                                                     $       107.96
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89613         MESSINA S CATERING INC                      SOCIAL FUNCTIONS                                                       $       300.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89614         MMG PROPERTIES                              REPAIRS & MAINTENANCE                                                  $     3,850.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89615         ORKIN INC.                                  CONTRACTED SERVICE                                                     $       321.25
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89616         ORY FAMILY DENTISTRY                        Active Priest Medical Expense ‐ Dental & Vision                        $        93.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89618         PELLERIN LAUNDRY MACHINERY                  REPAIRS & MAINTENANCE ‐ BUILDING                                       $       273.01
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89619         PUBLIC STORAGE 25740                        RECORDS DISPOSITION                                                    $     1,078.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89620         REPUBLIC SERVICES # 842                     CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                               $       134.87
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89628         RICOH USA INC                               XEROX COPIES                                                           $        71.90
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89629         SERVIKLEEN JANITORIAL SERVICES              CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                               $       329.98
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89631         SPARKLIGHT                                  IT EQUIPMENT                                                           $       130.07
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89632         ST PIERRE FAMILY DENTISTRY                  Active Priest Medical Expense ‐ Dental & Vision                        $     1,242.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020             89633         TERMINIX                                    CONTRACTED SERVICE                                                     $       816.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020              N/A          GoDaddy.com                                 IT EQUIPMENT                                                           $     2,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/2/2020              N/A          St. Patrick Church NOLA                     Deposit and Loan Fund                                                  $    33,601.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020             89634         ST ANTHONY PRIORY                           AUTOMOBILE EXPENSE,OFFICE SUPPLIES,TELEPHONE EXPENSE,REPAIRS & MAINTEN $     5,907.30
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020              N/A          Our Lady of the Lake Schol                  Deposit and Loan Fund                                                  $       500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020              N/A          Our Lady of the Lake Schol                  Deposit and Loan Fund                                                  $   300,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020              N/A          Our Lady of the Lake Schol                  Deposit and Loan Fund                                                  $     1,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020              N/A          Our Lady of the Lake Schol                  Deposit and Loan Fund                                                  $       500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/3/2020              N/A          Our Lady of the Lake Schol                  Deposit and Loan Fund                                                  $     1,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/4/2020              N/A          Good Shepherd Parish                        Deposit and Loan Fund                                                  $     1,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/4/2020              N/A          St. Agnes Church                            Deposit and Loan Fund                                                  $    10,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/4/2020              N/A          St. Agnes Church                            Deposit and Loan Fund                                                  $     5,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/4/2020              N/A          St. Luke the Evangelist Slidell             Deposit and Loan Fund                                                  $    15,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89639         AMERICAN BANKERS INS. CO. OF FL             PREPAID INSURANCE                                                      $     1,912.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89641         AT&T                                        TELEPHONE EXPENSE                                                      $       274.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89642         AT&T                                        TELEPHONE EXPENSE                                                      $         3.17
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89643         AT&T                                        IT EQUIPMENT                                                           $     6,118.94
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89644         ATMOS ENERGY LOUISIANA                      HOUSEHOLD UTILITIES                                                    $        26.32
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89645         ATMOS ENERGY LOUISIANA                      HOUSEHOLD UTILITIES                                                    $        29.76
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89646         ATMOS ENERGY LOUISIANA                      UTILITIES                                                              $       383.38
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89647         B4 TIME, INC                                CONTRACTED SERVICE                                                     $       415.80
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89652         CATHOLIC UNIVERSITY OF AMERICA              CLERGY EDUCATION                                                       $     1,293.44
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89654         CHATEAU DE NOTRE DAME                       Retired Priest Plus Expense ‐ Medical Co‐Pays                          $     6,723.30
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89655         CHATEAU DE NOTRE DAME APARTMENTS            Retired Priest Plus Expense ‐ Medical Co‐Pays                          $    17,902.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89656         CHRIS LARTIGUE, MD LLC                      Active Priest Medical Expense ‐ Miscellaneous                          $       480.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89658         CINTAS CORPORATION #544                     CONTRACTED SERVICE                                                     $       475.01
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89659         CLECO POWER LLC                             HOUSEHOLD UTILITIES                                                    $       254.40
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89660         Coastal Environmental Services of LA, LLC   REPAIRS & MAINTENANCE                                                  $        68.76
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89661         CORVUS OF NEW ORLEANS LLC                   HOUSEHOLD EXPENSES                                                     $     1,138.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89662         CORVUS OF NEW ORLEANS LLC                   REPAIRS & MAINTENANCE                                                  $     2,962.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89663         COWLEY DENTAL CARE LLC                      Active Priest Medical Expense ‐ Dental & Vision                        $       115.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89664         COX BUSINESS                                TELEPHONE EXPENSE                                                      $       104.99
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89665         COX BUSINESS                                HOUSEHOLD UTILITIES                                                    $       219.11
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89666         COX COMMUNICATIONS                          HOUSEHOLD EXPENSES                                                     $       185.31   Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89668         DAVIS PRODUCTS CO INC                       CAMP ABBEY                                                             $       927.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89669         DELL MARKETING L. P.                        REPAIRS & MAINTENANCE                                                  $     1,033.36
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89670         DOCUMART                                    STATIONERY & PRINTING                                                  $       524.59
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89673         ENTERGY                                     UTILITIES                                                              $     8,682.29
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89674         ENTERGY                                     MISCELLANEOUS RECEIVABLES                                              $       175.66
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89675         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $     4,747.63
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89676         ENTERGY                                     HOUSEHOLD EXPENSES                                                     $       332.83   Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89677         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $        28.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89678         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $       122.05
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89679         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $       209.16
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89680         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $        20.67
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89681         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $       101.53
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89682         ENTERGY                                     HOUSEHOLD UTILITIES                                                    $     2,918.08
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89683         FAUX PAS PRINTS                             SUPPLIES ‐ SUMMER CAMP                                                 $       838.56
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89684         FRANCISCAN MEDIA                            BOOKS & SUBSCRIPTION                                                   $        55.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89687         GREG'S LAWN SERVICE, LLC                    REPAIRS & MAINTENANCE                                                  $     1,100.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89688         GULF COAST OFFICE PRODUCTS                  XEROX COPIES                                                           $        17.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89689         HOME DEPOT PRO                              HOUSEHOLD EXPENSES                                                     $       287.11
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89690         IRON MOUNTAIN                               RECORDS DISPOSITION                                                    $       235.53
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89691         JEFFERSON PARISH DEPT OF WATER              UTILITIES                                                              $       424.07
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89692         JEFFERSON PARISH DEPT OF WATER              HOUSEHOLD UTILITIES                                                    $        14.33
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89693         JEFFERSON PARISH DEPT OF WATER              HOUSEHOLD UTILITIES                                                    $        11.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89695         JSR VETTING SERVICES LLC                    CONSULTANT FEES                                                        $       330.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89698         KENTWOOD SPRINGS                            COFFEE & SOFT DRINK EXPENSE                                            $        85.83
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89699         KENTWOOD SPRINGS                            COFFEE & SOFT DRINK                                                    $        22.76
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89700         KGLA RADIO TROPICAL                         ADVERTISING                                                            $       750.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89704         Mance Consulting                            CONSULTANT FEES                                                        $     1,269.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89705         MANIX COMPUTING SERVICES INC                CONSULTANT FEES, IT EQUIPMENT                                          $     1,575.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89706         MERIT SPRINKLER COMPANY INC.                CONTRACTED SERVICE                                                     $       438.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89707         OUR LADY OF WISDOM HEALTH CARE              Retired Priest Plus Expense ‐ Medical Co‐Pays                          $    15,057.60
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89708         POOLE LUMBER COMPANY                        CAMP ABBEY                                                             $       162.29
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89709         REPUBLIC SERVICES # 842                     CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                               $        10.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89717         RICOH USA INC                               XEROX COPIES                                                           $     2,013.02
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89718         RIVER PARISH DISPOSAL LLC                   CONTRACTED SERVICE                                                     $       921.17
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89719         RIVER PARISH DISPOSAL LLC                   CONTRACTED SERVICE                                                     $       339.44
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89721         S & S LAWN SERVICE                          REPAIRS & MAINTENANCE                                                  $       320.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89722         SEWERAGE & WATER BOARD OF N.O.              REPAIRS & MAINTENANCE                                                  $       174.52
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89723         SEWERAGE & WATER BOARD OF N.O.              HOUSEHOLD UTILITIES                                                    $        84.58
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89724         SEWERAGE & WATER BOARD OF N.O.              UTILITIES                                                              $     1,993.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89725         SOUTHWEST ENGINEERS                         CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                               $       207.19
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89728         SWYFT CONNECT                               DUES & ASSESSMENTS, TRAVEL, MEALS & ENTERTAINMENT                      $       151.25
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89729         TERMINIX                                    IT EQUIPMENT                                                           $       392.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89730         TERMINIX                                    MISCELLANEOUS RECEIVABLES                                              $        84.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89731         TEXAS UBS INC.                              HOUSING COSTS ‐ PRIESTS                                                $     6,004.20
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89732         THE COMPUTER DEPARTMENT INC.                CONTRACTED SERVICE                                                     $     1,800.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89733         U S DEPARTMENT OF HOMELAND SECURITY         LEGAL FEES ‐ Immigration                                               $     1,440.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89734         UTILITIES INC. OF LOUISIANA                 REPAIRS & MAINTENANCE                                                  $       176.61
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89735         VI COMMUNICATIONS INC                       IT EQUIPMENT                                                           $     4,653.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89737         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $    13,905.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89738         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $       797.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89739         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     3,806.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89740         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     1,259.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89741         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     1,229.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89742         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     3,806.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89743         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     1,902.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89745         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     8,178.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89747         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     6,180.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89748         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     6,036.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89749         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     1,742.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89750         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     5,387.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89751         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     5,856.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89752         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     5,334.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89753         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     7,182.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89754         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $    11,495.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89755         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $     8,412.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89756         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $    10,742.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89757         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $    10,261.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89758         WRIGHT NATIONAL FLOOD INS CO                PREPAID INSURANCE                                                      $    11,688.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020             89759         HOLY FAMILY CHURCH                          MISCELLANEOUS RECEIVABLES                                              $        28.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020              N/A          Catholic Community Foundation               Deposit and Loan Fund                                                  $    26,277.53
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ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020        N/A        St. Ann Church                          Deposit and Loan Fund                                    $     500,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/9/2020        N/A        St. Cletus                              Deposit and Loan Fund                                    $     121,904.08
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/10/2020       N/A        MARY QUEEN OF PEACE CHURCH              Deposit and Loan Fund                                    $      68,922.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/10/2020       N/A        Ponitifical Mission Socieities          Deposit and Loan Fund                                    $      12,363.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/10/2020   89523 (Void)   REV‐THE PREMISES‐Computer Check‐89523   VOID                                                     $        (962.00)
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/11/2020       N/A        CATHOLIC UMBRELLA POOL                  CUP wire                                                 $     118,694.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/11/2020       N/A        P & A ADMINISTRATIVE SERVICE INC        FLEX ACCOUNT                                             $         325.12
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/12/2020       N/A        OLPS CHURCH CHALMETTE                   Deposit and Loan Fund                                    $      10,145.65
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/12/2020       N/A        ST. ANDREW THE APOSTLE SCHOOL           Deposit and Loan Fund                                    $     276,800.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/12/2020       N/A        ST. ANGELA MERICI SCHOOL                Deposit and Loan Fund                                    $     167,759.90
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/12/2020       N/A        ST. ANTHONY OF PADUA LULING             Deposit and Loan Fund                                    $      55,671.02
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/15/2020       N/A        CHATEAU DE NOTRE DAME                   Deposit and Loan Fund                                    $     491,400.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/15/2020       N/A        NSF CHECK                               Returned check                                           $       1,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/15/2020       N/A        St. Agnes Church                        Deposit and Loan Fund                                    $       4,960.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/15/2020       N/A        VISITATION OF OUR LADY SCHOOL           Deposit and Loan Fund                                    $     320,390.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/16/2020       N/A        St. Matthew the Apostle School          Deposit and Loan Fund                                    $     224,611.24
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/16/2020       N/A        Whitney                                 Whitney bank fees                                        $       1,499.41
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89771       OUR LADY OF PERPETUAL HELP SCHOOL       SCHOOL SUBSIDIES CONTRIBUTIONS                           $       5,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89776       ST FRANCIS XAVIER SCHOOL                SCHOOL SUBSIDIES CONTRIBUTIONS                           $       3,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89777       A & L SALES INC                         HOUSEHOLD EXPENSES                                       $         694.65
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89778       A 1 SERVICE INC.                        REPAIRS & MAINTENANCE                                    $          90.48
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89779       ACADIANA CATHOLIC                       ADVERTISING                                              $         178.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89780       AMERICA'S SWIMMING POOL CO              REPAIRS & MAINTENANCE ‐ CAMP                             $       1,800.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89781       AMERICAN OFFICE MACHINES INC.           REPAIRS & MAINTENANCE                                    $         125.27
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89782       ARCHIBALD L MELCHER IV LLC              Active Priest Medical Expense ‐ Dental & Vision          $         464.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89783       AT&T                                    TELEPHONE EXPENSE                                        $          89.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89784       AT&T                                    TELEPHONE EXPENSE                                        $          49.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89785       AT&T                                    TELEPHONE EXPENSE                                        $         134.87
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89786       AT&T                                    TELEPHONE EXPENSE                                        $          54.01
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89787       AT&T                                    HOUSEHOLD EXPENSES                                       $         205.06
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89788       AT&T                                    HOUSEHOLD UTILITIES                                      $          45.70
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89789       AT&T                                    UTILITIES                                                $         518.21
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89790       AT&T                                    TELEPHONE EXPENSE                                        $         199.41
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89791       AT&T MOBILITY                           TELEPHONE EXPENSE                                        $          62.08
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89792       AT&T MOBILITY                           HOUSING COSTS ‐ PRIESTS                                  $          74.49
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89793       AT&T MOBILITY                           TELEPHONE EXPENSE                                        $          55.09
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89795       BLUE FLASH SEWER SERVICE                REPAIRS & MAINTENANCE ‐ BUILDING                         $         195.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89796       BORDEN DAIRY COMPANY                    KITCHEN FOOD ‐ SUMMER CAMP                               $         233.59
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89797       CANON LAW SOCIETY OF AMERICA            DUES & ASSESSMENTS                                       $         750.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89798       CATHOLIC BOOK STORE                     BOOKS & SUBSCRIPTIONS                                    $         102.65
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89799       CATHOLIC CHARITIES                      CONSULTANT FEES                                          $          37.82
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89800       CDW GOVERNMENT INC                      IT EQUIPMENT                                             $         729.67
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89801       CHEMSEARCH                              REPAIRS & MAINTENANCE                                    $         334.26
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89802       CHURCH SUPPLY HOUSE                     LITURGICAL SUPPLIES                                      $         121.73
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89803       CIRCUITREE LLC                          CONTRACTED SERVICE                                       $         544.98
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89804       COX                                     IT EQUIPMENT                                             $         255.58
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89805       COX                                     IT EQUIPMENT                                             $         170.63
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89806       COX BUSINESS                            COMMUNICATIONS                                           $          62.48
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89807       COX BUSINESS NEW ORLEANS                CONTRACTED SERVICE                                       $          40.88
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89808       COX COMMUNICATIONS                      HOUSING COSTS ‐ PRIESTS                                  $         291.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89809       DAVIS PRODUCTS CO INC                   SUPPLIES ‐ SUMMER CAMP                                   $         301.29
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89810       DIGITAL SOLUTIONS LLC                   IT EQUIPMENT                                             $       1,443.75
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89811       DOCUMART                                STATIONERY & PRINTING, OFFICE SUPPLIES                   $         793.29
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89812       EAGLE SECURITY SYSTEMS INC              REPAIRS & MAINTENANCE                                    $         105.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89813       EATEL                                   IT EQUIPMENT                                             $          62.19
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89814       Education Modified, Inc.                Program Expense                                          $       8,400.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89816       ELECTRONICS & COMMUNICATIONS            CONTRACTED SERVICE                                       $         435.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89818       ENTERGY                                 HOUSEHOLD UTILITIES                                      $       1,318.12
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89819       ENTERGY                                 HOUSEHOLD UTILITIES                                      $         957.28
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89820       EVERGREEN LAWN SERVICE LLC              CONTRACTED SERVICE                                       $         830.92
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89821       FEDEX                                   POSTAGE                                                  $         204.09
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89824       General Work Products, LLC              OFFICE SUPPLIES                                          $         104.90
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89825       GIA PUBLICATIONS INC                    BOOKS & SUBSCRIPTIONS                                    $          19.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89827       GRAINGER                                REPAIRS & MAINTENANCE                                    $          79.01
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89828       GULF COAST OFFICE PRODUCTS              XEROX COPIES                                             $          73.51
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89830       HOME DEPOT CREDIT SERVICES              REPAIRS & MAINTENANCE                                    $         103.46
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89831       HUNT TELECOMMUNICATIONS LLC             TELEPHONE EXPENSE, IT EQUIPMENT                          $         152.41
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89832       HUNT TELECOMMUNICATIONS LLC             TELEPHONE EXPENSE, IT EQUIPMENT                          $      47,151.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89839       KASEYA US SALES LLC                     IT EQUIPMENT, REPAIRS & MAINTENANCE, TELEPHONE EXPENSE   $       7,500.09
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89842       KENTWOOD SPRINGS                        COFFEE & SOFT DRINK                                      $          17.65
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89843       KENTWOOD SPRINGS                        COFFEE & SOFT DRINK EXPENSE                              $          23.85
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89844       KGLA RADIO TROPICAL                     XEROX COPIES                                             $       3,200.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89846       LIQUID ENVIRONMENTAL SOLUTIONS          MISCELLANEOUS EXPENSE                                    $         364.47
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89847       LOUISIANA DEPARTMENT OF HEALTH          CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                 $         150.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89848       LOUISIANA DEPT OF PUBLIC SAFETY         INSURANCE                                                $         100.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89849       LOUISIANA OFFICE PRODUCTS INC           OFFICE SUPPLIES, XEROX COPIES                            $         172.82
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89850       MANIX COMPUTING SERVICES INC            CONSULTANT FEES                                          $         225.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89851       MARY QUEEN OF PEACE CHURCH              Clearing                                                 $         347.73
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89853       NATIONAL ASSOCIATION OF DIACONATE       DUES & ASSESSMENTS                                       $         625.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89854       NEW ORLEANS PEST MANAGEMENT             CONTRACTED SERVICE                                       $         360.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89855       OMNICARE OF NEW ORLEANS                 Retired Priest Plus Expense ‐ Medical Co‐Pays            $         545.07
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89856       OUR LADY OF PERPETUAL HELP CHURCH       CONVOCATION FEE INCOME                                   $         500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89857       OUR LADY OF THE ROSARY CHURCH           CONVOCATION FEE INCOME                                   $         500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89858       PAN AMERICAN LIFE INS COMPANY           FRINGE BENEFIT COSTS                                     $          27.10
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89859       PM MAINTENANCE INC                      CONTRACTED SERVICE                                       $         600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89861       Retiree First                           PREPAID INSURANCE                                        $      18,375.81
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89873       RICOH USA INC                           XEROX COPIES                                             $          16.66
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89875       SCOTT BROTHERS PHD                      PRIEST THERAPY                                           $         240.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89877       SMILE CARE DENTAL                       Active Priest Medical Expense ‐ Dental & Vision          $       1,590.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89878       SOCIETY OF LOUISIANA CPA S              DUES & ASSESSMENTS                                       $         245.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89879       SOCIETY OF LOUISIANA CPA S              STAFF DEVELOPMENT                                        $         538.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89880       ST AGNES CHURCH                         CONVOCATION FEE INCOME                                   $         500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89881       ST BENILDE CHURCH                       OTHER FUNDS ON DEP                                       $       2,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89882       ST CHARLES PARISH                       HOUSEHOLD UTILITIES                                      $          26.91
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89883       ST JOHN THE BAPTIST CHURCH              CONVOCATION FEE INCOME                                   $         500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89884       ST MARTHA CHURCH                        HOUSEHOLD UTILITIES                                      $         260.74
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89885       State of LA DEQ                         MISCELLANEOUS EXPENSE                                    $          83.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89886       SYSCO FOOD SERVICES OF NEW ORLEANS      KITCHEN FOOD ‐ SUMMER CAMP                               $       4,067.94
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89887       THYSSENKRUPP ELEVATOR CORP              REPAIRS & MAINTENANCE                                    $       7,645.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89888       VOIP SUPPLY LLC                         IT EQUIPMENT                                             $       2,167.45
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89889       WASTE MANAGEMENT OF ST TAMMANY          HOUSEHOLD UTILITIES                                      $         356.89
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89890       WEBPRO PRODUCTIONS LLC                  ADVERTISING                                              $      91,740.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020      89891       WFNO AM                                 Program Expense                                          $         720.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/17/2020       N/A        IMMACULATE CONCEPTION CHURCH            PRIESTS & RELIGIOUS                                      $      14,690.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020      89894       FRAMIN' PLACE & GALLERY                 OFFICE SUPPLIES                                          $         256.62
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020      89895       General Work Products, LLC              OFFICE SUPPLIES                                          $         104.90
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020       N/A        NSF CHECK                               To Move Returned Check Out of OCS School Subsidies       $         102.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020       N/A        P & A ADMINISTRATIVE SERVICE INC        FLEX ACCOUNT                                             $          74.15
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/18/2020       N/A        St. Rosalie School                      Deposit and Loan Fund                                    $     100,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/19/2020       N/A        RESTO GROUP INC                         CONSULTANT FEES                                          $       1,015.38
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/22/2020       N/A        BLESSED TRINITY PARISH                  Deposit and Loan Fund                                    $     105,624.88
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/22/2020       N/A        Catholic Community Foundation           Deposit and Loan Fund                                    $   1,500,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/22/2020       N/A        Catholic Community Foundation           Deposit and Loan Fund                                    $      19,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/22/2020       N/A        St. Agnes Church                        Deposit and Loan Fund                                    $         760.08
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/24/2020       N/A        St. Elizabeth Ann Seton                 Deposit and Loan Fund                                    $     100,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89943       A 1 SERVICE INC.                        REPAIRS & MAINTENANCE                                    $          90.48
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89944       ADI                                     REPAIRS & MAINTENANCE                                    $         788.40
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89946       AT&T                                    TELEPHONE EXPENSE                                        $         252.27
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89947       BARCLAYS                                OFFICE SUPPLIES                                          $          75.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89949       BLESSED TRINITY PARISH                  PRIESTS & RELIGIOUS                                      $       1,257.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89950       BURVANT FAMILY DENTISTRY LLC            Active Priest Medical Expense ‐ Dental & Vision          $         190.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89951       CALUDA'S COTTAGE CATERING               MARRIAGE PREPARATION                                     $         297.37
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89952       CATHOLIC BOOK STORE                     UTILITIES                                                $          25.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89953       CATHOLIC MUTUAL GROUP                   CONTRACTED SERVICE                                       $      63,666.67
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89954       CHEMSEARCH                              REPAIRS & MAINTENANCE                                    $       1,126.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89955       Christ the King Catholic Church         SEMINARIAN ASSIST                                        $         600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89956       CLARION HERALD                          LAY EMPLOYEES SALARY                                     $         775.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89957       COX BUSINESS                            HOUSEHOLD UTILITIES                                      $         285.67
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89958       COX BUSINESS                            TELEPHONE EXPENSE                                        $          86.22
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89959       COX COMMUNICATIONS                      HOUSEHOLD UTILITIES                                      $         175.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89960       CROWN COFFEE SERVICE INC                COFFEE & SOFT DRINK EXPENSE                              $          86.09
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89966       DOCUMART                                STATIONERY & PRINTING                                    $         519.04
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89967       DOMINICAN FATHERS                       PRIESTS' CONTINUING EDUCATION                            $       2,748.20
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89968       DR. CORNELIUS SCHUTTE                   PRIEST THERAPY                                           $         240.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89969       EAGLE SECURITY SYSTEMS INC              REPAIRS & MAINTENANCE, HOUSEHOLD EXPENSES                $         528.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89970       EDUCATIONAL CONSULTING ASSOCIATES INC   IT EQUIPMENT                                             $       8,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89973       ENTERGY                                 HOUSEHOLD UTILITIES                                      $         490.39
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89974       ENTERGY                                 HOUSING COSTS ‐ PRIESTS                                  $         106.87
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89975       ENTERGY                                 UTILITIES                                                $          19.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89976       ENTERGY                                 UTILITIES                                                $         760.35
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89977       ENTERGY                                 UTILITIES                                                $       1,175.34
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89978       FLOURISH COUNSELING & WELLNESS CENTER   FINANCIAL ASSISTANCE TO VICTIMS                          $         875.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89979       GRAYBAR ELECTRIC COMPANY INC            IT EQUIPMENT                                             $          22.17
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89980       GULF COAST OFFICE PRODUCTS              XEROX COPIES                                             $         790.64
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89982       JEFFERSON PARISH DEPT OF WATER          UTILITIES                                                $       3,086.96
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89985       K.A.R. JANITORIAL SUPPLIES INC          HOUSEHOLD SUPPLIES                                       $         312.46
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89987       LOUISIANA INTERCHURCH                   DUES ‐ LA INTERCHURCH CONFERENCE                         $       2,167.50
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89988       LOUISIANA OFFICE PRODUCTS INC           OFFICE SUPPLIES, XEROX COPIES                            $         500.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89989       MANIX COMPUTING SERVICES INC            CONSULTANT FEES                                          $         525.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89990       MESSINA S CATERING INC                  SOCIAL FUNCTIONS                                         $         560.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89992       NEW ORLEANS PEST MANAGEMENT             REPAIRS & MAINTENANCE                                    $          60.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89993       NFIP DIRECT SERVICING AGENT             PREPAID INSURANCE                                        $       8,550.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89994       NORTHWEST FAMILY SERVICES               DUES & ASSESSMENTS                                       $         140.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89995       PARADIGM HEALTH SYSTEM                  Active Priest Medical Expense ‐ Medical Co‐Pays          $          35.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90003       RICOH USA INC                           XEROX COPIES                                             $          14.94
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90005       SEMANTIKOS LLC                          Program Expense                                          $         500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90006       SERVIKLEEN JANITORIAL SERVICES          CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                 $         293.32
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90007       SHERWIN WILLIAMS CO                     REPAIRS & MAINTENANCE ‐ BUILDING                         $         111.16
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90008       SLIDELL MEMORIAL HOSPITAL               Active Priest Medical Expense ‐ Medical Co‐Pays          $          30.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90009       SOUTHERN DOMINICAN PROVINCE             FRINGE BENEFIT COSTS ‐ LAY                               $       1,166.68
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90010       SOUTHERN DOMINICAN PROVINCE             FRINGE BENEFIT COSTS ‐ LAY                               $         583.34
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90011       SOUTHERN ELECTR0NICS SUPPLY INC         REPAIRS & MAINTENANCE                                    $           3.89
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90012       SPECTRUM BUSINESS                       TELEPHONE EXPENSE                                        $         324.97
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90013       ST ANTHONY PRIORY                       AUTOMOBILE EXPENSE                                       $       1,713.96
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90014       ST ANTHONY PRIORY                       PRIESTS & RELIGIOUS                                      $       4,581.37
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90015       ST ANTHONY PRIORY                       RENT                                                     $         474.79
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90016       ST PIUS X CHURCH                        PRIESTS & RELIGIOUS                                      $       1,492.17
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90017       ST. ANTHONY PRIORY                      PRIESTS & RELIGIOUS                                      $       4,098.33
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90018       TRANSFIGURATION OF THE LORD             RENT                                                     $       2,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90021       UNIVERSITY OF DAYTON                    ACCP EXPENSE                                             $         105.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90023       WILLIS TOWERS WATSON US LLC             CONTRACTED SERVICE                                       $       1,250.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90024       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       3,090.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90025       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      11,553.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90026       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $         830.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90027       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       2,559.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90028       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       2,559.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90029       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $         729.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90030       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      14,141.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90031       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       6,340.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90032       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       6,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90033       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       7,208.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90034       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       3,516.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90035       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       3,376.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90036       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       6,666.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90037       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      17,602.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90038       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       4,940.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90039       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       9,580.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90040       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $       8,279.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90041       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      21,762.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90042       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      17,967.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90043       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      19,099.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90044       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      17,252.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90045       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      24,182.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      90046       WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                        $      25,181.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020       N/A        CATHOLIC MUTUAL GROUP                   PREPAID INSURANCE, GENERAL LIABILITY, PRIESTS AUTO       $     557,118.61
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020       N/A        Our Lady of Lake School                 Deposit and Loan Fund                                    $     309,680.62
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ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020       N/A        St. Francis Xavier Church                       Deposit and Loan Fund                                       $     5,089.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89964       DELL MARKETING L. P.                            IT EQUIPMENT                                                $    33,443.37
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/25/2020      89965       Diocese of Charleston                           SEMINARIAN ASSIST                                           $       600.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/26/2020       N/A        Catholic Community Foundation                   Deposit and Loan Fund                                       $    12,650.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/26/2020       N/A        LA Catholic Conference of Catholic Bishops      FY20‐21 First quarter assessment                            $    21,395.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/26/2020       N/A        Louisiana Conference of Catholic Bishops        LA CATHOLIC CONFERENCE                                      $    21,395.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/26/2020       N/A        Pontifical Mission Societies                    To return funds from deposited POF Check                    $    10,821.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020       N/A        MARIANITES OF HOLY CROSS                        PRIESTS & RELIGIOUS                                         $     1,530.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020       N/A        SISTERS OF MOUNT CARMEL                         PRIESTS & RELIGIOUS, FRINGE BENEFIT COSTS ‐ RELIGIOUS       $    10,595.74
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/29/2020       N/A        SOUTHERN DOMINICAN PROVINCE                     PRIESTS & RELIGIOUS, FRINGE BENEFIT COSTS ‐ LAY             $     7,143.07
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90104       CROWN COFFEE SERVICE INC                        COFFEE & SOFT DRINK EXPENSE                                 $        17.40
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90105       DELL MARKETING L. P.                            IT EQUIPMENT                                                $    36,997.38
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90069       A 1 SERVICE INC.                                REPAIRS & MAINTENANCE                                       $        32.55
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90070       A/C SUPPLY INC                                  REPAIRS & MAINTENANCE ‐ CAMP                                $       220.73
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90071       ACTION SCREEN PRINTERS                          SUPPLIES ‐ SUMMER CAMP                                      $       305.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90072       ADS SYSTEMS LLC                                 Construction in Progress                                    $    65,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90073       ALARM DETECTION & SUPPRESSION                   REPAIRS & MAINTENANCE                                       $       440.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90076       AT&T                                            PRIEST VACATION VILLA                                       $        33.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90077       AT&T                                            MISCELLANEOUS RECEIVABLES                                   $       111.55
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90078       AT&T                                            TELEPHONE EXPENSE                                           $        48.99
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90080       AT&T MOBILITY                                   TELEPHONE EXPENSE                                           $        54.31
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90081       ATMOS ENERGY LOUISIANA                          HOUSEHOLD UTILITIES                                         $        61.09
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90082       BASSIL S ACE HASRDWARE                          Repairs & Maintenance ‐ Supplies                            $        35.59
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90083       Beneo Products, LLC                             SUPPLIES ‐ SUMMER CAMP                                      $       252.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90084       BLESSED FRANCIS XAVIER SEELOS                   RENT                                                        $       689.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90085       BUCK KREIHS MARINE REPAIR LLC                   REPAIRS & MAINTENANCE ‐ BUILDING                            $     4,911.76
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90089       CATHOLIC CHARITIES                              CONSULTANT FEES                                             $     1,059.25
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90090       CATHOLIC JOURNEYS.COM                           AUTOMOBILE EXPENSE                                          $     2,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90091       CDW GOVERNMENT INC                              IT EQUIPMENT                                                $       688.65
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90093       CENTURYLINK                                     TELEPHONE EXPENSE                                           $        25.63
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90094       CHEMSEARCH                                      REPAIRS & MAINTENANCE                                       $     1,126.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90095       CITY BUSINESS                                   BOOKS & SUBSCRIPTIO                                         $       135.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90096       CLECO POWER LLC                                 HOUSEHOLD UTILITIES                                         $     1,417.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90097       COASTLINE SECURITY AND FIRE PROTECTION          REPAIRS & MAINTENANCE                                       $       264.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90098       CORVUS OF NEW ORLEANS LLC                       REPAIRS & MAINTENANCE                                       $     4,585.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90101       COX BUSINESS                                    TELEPHONE EXPENSE                                           $       119.90
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90102       COX BUSINESS                                    CONTRACTED SERVICE                                          $        71.82
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90103       CRESCENT TRANSPORT INC                          Program Expense                                             $        68.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90106       DKI OFFICE FURNITURE & SUPPLIES                 OFFICE SUPPLIES                                             $       306.44
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90107       DOCUMART                                        OFFICE SUPPLIES                                             $        34.64
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90109       ECONOMICAL JANITORIAL & PAPER                   OFFICE SUPPLIES                                             $        51.08
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90110       ELIO S                                          SOCIAL FUNCTIONS                                            $       905.72
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90111       ENTERGY                                         UTILITIES                                                   $    10,386.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90112       ENTERGY                                         HOUSEHOLD UTILITIES                                         $        26.59
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90113       ENTERGY                                         UTILITIES                                                   $     1,631.08
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90114       ENTERGY                                         HOUSEHOLD UTILITIES                                         $        88.98
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90115       ENTERGY                                         HOUSEHOLD UTILITIES                                         $       103.39
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90116       ENTERGY                                         HOUSEHOLD UTILITIES                                         $        19.95
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90117       ENTERGY                                         HOUSEHOLD UTILITIES                                         $     1,052.71
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90118       FAUX PAS PRINTS                                 SUPPLIES ‐ SUMMER CAMP                                      $       555.14
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90119       FAXLOGIC, LLC                                   IT EQUIPMENT                                                $     1,532.96
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90120       GALLAGHER BENEFIT SERVICES INC                  Active Priest Medical Expense ‐ Health Insurance Premiums   $   130,192.99
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90120       GALLAGHER BENEFIT SERVICES INC                  Active Priest Medical Expense ‐ Health Insurance Premiums   $       686.12        Yes ‐ Carr
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90120       GALLAGHER BENEFIT SERVICES INC                  Active Priest Medical Expense ‐ Health Insurance Premiums   $       686.12        Yes ‐ Cheri
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90120       GALLAGHER BENEFIT SERVICES INC                  Active Priest Medical Expense ‐ Health Insurance Premiums   $       686.12        Yes ‐ Akpoghiran
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90120       GALLAGHER BENEFIT SERVICES INC                  Active Priest Medical Expense ‐ Health Insurance Premiums   $       686.12        Yes ‐ Aymond
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90120       GALLAGHER BENEFIT SERVICES INC                  Active Priest Medical Expense ‐ Health Insurance Premiums   $       554.40        Yes ‐ Entwisle
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90121       GALLAGHER BENEFIT SERVICES INC                  Health Insurance Premiums                                   $    77,571.42
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90123       General Work Products, LLC                      OFFICE SUPPLIES                                             $       199.80
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90124       GENOVESE TRACTOR SERVICE LLC                    CONTRACTED SERVICE                                          $       125.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90125       GIZELLE RICHARD DDS                             Active Priest Medical Expense ‐ Dental & Vision             $       227.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90126       GRAYBAR ELECTRIC COMPANY INC                    REPAIRS & MAINTENANCE                                       $        19.66
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90127       GREAT MINDS LLC                                 GRANT EXPENSES ‐ EEF                                        $    58,765.26
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90129       GUILLORY SHEET METAL WORKS INC                  REPAIRS & MAINTENANCE                                       $       985.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90132       JDL INNOVATIVE SOLUTIONS, LLC                   SCHOOL SUPPORT                                              $     1,500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90133       JEFFERSON PARISH DEPT OF WATER                  HOUSING COSTS ‐ PRIESTS                                     $        54.13
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90138       KENTWOOD SPRINGS                                COFFEE & SOFT DRINK                                         $       226.07
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90139       KENTWOOD SPRINGS                                COFFEE & SOFT DRINK                                         $        46.19
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90140       LOU PIAZZA & ASSOCIATES LLC                     HEALTHY FAMILY                                              $       250.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90141       LOUISIANA OFFICE PRODUCTS INC                   XEROX COPIES                                                $       392.93
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90142       MANIX COMPUTING SERVICES INC                    IT EQUIPMENT                                                $       225.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90147       MMG PROPERTIES                                  REPAIRS & MAINTENANCE                                       $     3,850.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90149       NEW ORLEANS ARCHDIOCESAN CEMETERIES             OTHER FUNDS ON DEP                                          $     2,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90150       NEW ORLEANS PEST MANAGEMENT                     REPAIRS & MAINTENAN                                         $        95.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90152       REPUBLIC SERVICES # 842                         CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $       114.06
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90162       RICHARD OWENS, DDS LLC                          Active Priest Medical Expense ‐ Dental & Vision             $       215.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90163       RIVAGE                                          Active Priest Medical Expense ‐ Dental & Vision             $       167.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90164       SACRED HEART CHURCH                             PRIESTS' CONTINUING EDUCATION ‐ RETREATS                    $       500.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90165       SEWERAGE & WATER BOARD OF N.O.                  HOUSEHOLD UTILITIES                                         $       103.11
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90166       SEWERAGE & WATER BOARD OF N.O.                  UTILITIES                                                   $       244.88
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90167       SEWERAGE & WATER BOARD OF N.O.                  HOUSEHOLD UTILITIES                                         $       739.73
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90169       SOLOMON EPISCOPAL CONFERENCE CENTER             STAFF DEVELOPMENT                                           $     4,650.75
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90170       SOUTHERN ELECTR0NICS SUPPLY INC                 IT EQUIPMENT                                                $       269.84
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90171       ST ANTHONY'S GARDENS                            Retired Priest Plus Expense ‐ Medical Co‐Pays               $    14,515.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90172       ST ANTHONY'S GARDENS                            Retired Priest Plus Expense ‐ Medical Co‐Pays               $     4,562.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90173       ST ANTHONY'S GARDENS                            Retired Priest Plus Expense ‐ Medical Co‐Pays               $     5,425.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90175       STAPLES ADVANTAGE                               OFFICE SUPPLIES                                             $       998.18
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90176       SYSCO FOOD SERVICES OF NEW ORLEANS              KITCHEN FOOD ‐ SUMMER CAMP                                  $     1,653.47
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90178       WASTE MANAGEMENT OF ST TAMMANY                  PRIEST VACATION VILLA                                       $        95.40
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90179       WHITE OAK CONSULTING                            GRANT EXPENSES ‐ EEF                                        $     1,004.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90180       WJS ENTERPRISES INC                             XEROX COPIES                                                $       174.39
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90181       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $    21,729.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90182       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     5,498.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90183       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     4,237.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90184       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     4,547.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90185       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     3,727.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90186       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     6,587.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90187       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $    17,652.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90188       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     6,218.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90189       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     7,662.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90190       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     6,768.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90191       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     9,477.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90192       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     8,431.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90193       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     7,468.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90194       WRIGHT NATIONAL FLOOD INS CO                    PREPAID INSURANCE                                           $     3,402.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90219       United States Treasury                          Clearing                                                    $    12,534.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020      90220       ST THERESE ACADEMY                              EQUIPMENT PURCHASES ‐ 8G GRANT                              $    14,037.20
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        Catholic Community Foundation                   Deposit and Loan Fund                                       $   137,774.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        Donlin Recano & Company Inc.                    Legal Fees                                                  $    99,224.33
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        Holy Name of Mary Cemetery                      Deposit and Loan Fund                                       $       825.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        OUR LADY OF PROMPT SUCCOR CEMETERY              Deposit and Loan Fund                                       $       840.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        P & A ADMINISTRATIVE SERVICE INC                FLEX ACCOUNT                                                $       308.34
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        St. Peter Cemetery                              Deposit and Loan Fund                                       $     8,000.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        WHITNEY BANK                                    Credit Card fees                                            $     3,925.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        AT&T‐Computer Check                             UTILITIES                                                   $       111.55
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        COX BUSINESS                                    CONTRACTED SERVICE                                          $        71.82
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        Hancock Whitney Bank                            CREDIT CARD FEES                                            $     3,925.00
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90079 (Void)   REV‐AT&T‐Computer Check‐90079                   VOID                                                        $      (111.55)
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90100 (Void)   REV‐COX BUSINESS‐Computer Check‐90100           VOID                                                        $       (71.82)
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020   90130 (Void)   REV‐Hancock Whitney Bank‐Computer Check‐90130   VOID                                                        $    (3,925.00)
ANO   The Roman Catholic Church of the Archdiocese of New Orleans   2118   6/30/2020       N/A        Check error                                     Check deposit error ‐ fixed in July                         $        (5.00)
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680    6/2/2020       N/A        eCatholic (BluePay)                             To record Tulane Catholic fees                              $       145.19
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680    6/3/2020       N/A        eCatholic (BluePay)                             ECatholic fees                                              $        66.08
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680    6/5/2020       N/A        eCatholic (BluePay)                             BluePay monthly fees                                        $         5.95
ANO   Roman Catholic Church of the Archdiocese of New Orleans       9680   6/30/2020       N/A        First Bank Trust                                Service Charge for June                                     $        65.96
ANO   Insurance                                                     3664   6/16/2020       N/A        Capital One                                     Bank Analysis Service Charge                                $       412.62
ANO   Retirement Account                                            2718    6/4/2020    N/A ‐ Wire    Voya                                            Employee Benefit Plan Remittance                            $   245,394.34
ANO   Retirement Account                                            2718    6/8/2020    N/A ‐ Wire    Voya                                            Employee Benefit Plan Remittance                            $    19,446.40
ANO   Retirement Account                                            2718   6/11/2020    N/A ‐ Wire    Voya                                            Employee Benefit Plan Remittance                            $    68,169.40
ANO   Retirement Account                                            2718   6/17/2020    N/A ‐ Wire    Voya                                            Employee Benefit Plan Remittance                            $    57,963.81
ANO   Retirement Account                                            2718   6/26/2020    N/A ‐ Wire    Voya                                            Employee Benefit Plan Remittance                            $   204,243.45
AOL   Operating Account                                             1492   6/19/2020      18858                                                       Prepetition Liability                                       $       138.10    *
AOL   Operating Account                                             1492   6/19/2020      18857                                                       Prepetition Liability                                       $       566.62    *
AOL   Operating Account                                             1492   6/19/2020      18856                                                       Prepetition Liability                                       $        27.05    *
AOL   Operating Account                                             1492   6/18/2020      18852                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18851                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18849                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18846                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18845                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18844                                                       Track Fee Refund ‐ Student Activities                       $        55.58    *
AOL   Operating Account                                             1492   6/18/2020      18843                                                       Key Club Convention ‐ Agency Pay.                           $       100.00    *
AOL   Operating Account                                             1492   6/18/2020      18842                                                       Abbey Youth Fest Refund ‐ Agency Payable                    $        65.00    *
AOL   Operating Account                                             1492   6/18/2020      18841                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18840                                                       Sr. Prom/Sr. Retreat Agency Payable                         $       146.43    *
AOL   Operating Account                                             1492   6/18/2020      18839                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18838                                                       Sr. Prom/Sr. Retreat Agency Payable                         $       146.43    *
AOL   Operating Account                                             1492   6/18/2020      18837                                                       Senior Prom ‐ 2 daughters ‐ Agency Pay.                     $       192.86    *
AOL   Operating Account                                             1492   6/18/2020      18836                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18835                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18834                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18833                                                       Sr. Prom/Sr. Retreat Agency Payable                         $       196.43    *
AOL   Operating Account                                             1492   6/18/2020      18832                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18831                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18830                                                       Track Fee Refund ‐ Student Activities                       $        55.58    *
AOL   Operating Account                                             1492   6/18/2020      18829                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18828                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18827                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18826                                                       Key Club Convention Agency Payable                          $       250.00    *
AOL   Operating Account                                             1492   6/18/2020      18825                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18824                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18823                                                       Track Fee Refund ‐ Student Activities                       $        55.58    *
AOL   Operating Account                                             1492   6/18/2020      18822                                                       Sr. Retreat/Track Fee Refunds                               $       105.58    *
AOL   Operating Account                                             1492   6/18/2020      18821                                                       Track Fee Refund ‐ Student Activities                       $        55.58    *
AOL   Operating Account                                             1492   6/18/2020      18820                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18819                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18818                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18817                                                       Sr. Retreat.Key ClubAgency Payable                          $       450.00    *
AOL   Operating Account                                             1492   6/18/2020      18815                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18814                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18813                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18812                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18811                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18810                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18809                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18808                                                       Prom/Track Fees Refund Agency Payable/Student Activities    $       152.01    *
AOL   Operating Account                                             1492   6/18/2020      18807                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18806                                                       Agency Payable                                              $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18805                                                       Key Club Convention Agency Payable                          $       100.00    *
AOL   Operating Account                                             1492   6/18/2020      18804                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18803                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18802                                                       Key Club Convention Agency Payable                          $       200.00    *
AOL   Operating Account                                             1492   6/18/2020      18801                                                       Key Club Convention Agency Payable                          $       100.00    *
AOL   Operating Account                                             1492   6/18/2020      18800                                                       Key Club Convention Agency Payable                          $       100.00    *
AOL   Operating Account                                             1492   6/18/2020      18799                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18798                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18797                                                       Track Fee Refund ‐ Student Activities                       $        55.58    *
AOL   Operating Account                                             1492   6/18/2020      18796                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18795                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18794                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18793                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18792                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18791                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18790                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18789                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18788                                                       Senior Prom Agency Payable                                  $        96.43    *
AOL   Operating Account                                             1492   6/18/2020      18787                                                       Senior Prom Agency Payable                                  $        96.43    *
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                                           605
AOL   Operating Account   1492   6/18/2020   18786                                                                Key Club Convention Agency Payable               $       100.00   *
AOL   Operating Account   1492   6/18/2020   18785                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18784                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18783                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18782                                                                Track Fee Refund ‐ Student Activities            $        55.58   *
AOL   Operating Account   1492   6/18/2020   18781                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18780                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18779                                                                Abbey Youth Fest Agency Payable                  $        32.50   *
AOL   Operating Account   1492   6/18/2020   18777                                                                Abbey Youth Fest Agency Payable                  $        65.00   *
AOL   Operating Account   1492   6/18/2020   18776                                                                Abbey Youth Fest Agency Payable                  $        65.00   *
AOL   Operating Account   1492   6/18/2020   18775                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18774                                                                Key Club Convention Ageny Payable                $       100.00   *
AOL   Operating Account   1492   6/18/2020   18773                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18772                                                                Key Club Convention Ageny Payable                $       100.00   *
AOL   Operating Account   1492   6/18/2020   18770                                                                Track Fee Refund ‐ Student Activities            $        55.58   *
AOL   Operating Account   1492   6/18/2020   18769                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18768                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18767                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18766                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18765                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18764                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18763                                                                Sr. Prom/Abbey Youth Fest Agency Payable         $       161.43   *
AOL   Operating Account   1492   6/18/2020   18762                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18761                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18760                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18759                                                                Track Fee Refund ‐ Student Activities            $        55.58   *
AOL   Operating Account   1492   6/18/2020   18758                                                                Sr. Prom/Sr. Retreat Agency Payable              $       146.43   *
AOL   Operating Account   1492   6/18/2020   18757                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18756                                                                Key Club Convention Ageny Payable                $       100.00   *
AOL   Operating Account   1492   6/18/2020   18754                                                                Abbey Youth Fest Agency Payable                  $        65.00   *
AOL   Operating Account   1492   6/18/2020   18753                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18752                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18751                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18750                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18749                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18748                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18747                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18746                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18745                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18744                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18743                                                                Track Fee Refund ‐ Student Activities            $        55.58   *
AOL   Operating Account   1492   6/18/2020   18742                                                                Senior Retreat Agency Payable                    $        50.00   *
AOL   Operating Account   1492   6/18/2020   18741                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18740                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18739                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18738                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18737                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18735                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18733                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18732                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18731                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18730                                                                Key Club Convention Ageny Payable                $       100.00   *
AOL   Operating Account   1492   6/18/2020   18728                                                                Key Club Convention Ageny Payable                $       100.00   *
AOL   Operating Account   1492   6/18/2020   18727                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18725                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18724                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18723                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18722                                                                Abbey Youth Fest Agency Payable                  $        32.50   *
AOL   Operating Account   1492   6/18/2020   18721                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18720                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18719                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18718                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/18/2020   18717                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/19/2020   18854                                                                Senior Prom Agency Payable                       $        96.43   *
AOL   Operating Account   1492   6/2/2020    7659                                                                 COVID 19 School Aid                              $       814.13
AOL   Operating Account   1492   6/2/2020    7658                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/2/2020    7657                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/2/2020    7656                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/2/2020    7655                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/2/2020    7654                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/2/2020    7653                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/2/2020    7652                                                                 COVID 19 School Aid                              $       801.12
AOL   Operating Account   1492   6/2/2020    7651                                                                 COVID 19 School Aid                              $       800.12
AOL   Operating Account   1492   6/2/2020    7650                                                                 COVID 19 School Aid                              $       800.12
AOL   Operating Account   1492   6/2/2020    7649                                                                 COVID 19 School Aid                              $       800.12
AOL   Operating Account   1492   6/2/2020    7648                                                                 COVID 19 School Aid                              $       800.12
AOL   Operating Account   1492   6/2/2020    7647                                                                 COVID 19 School Aid                              $       796.03
AOL   Operating Account   1492   6/2/2020    7646                                                                 COVID 19 School Aid                              $       796.02
AOL   Operating Account   1492   6/2/2020    7645                                                                 COVID 19 School Aid                              $       404.27
AOL   Operating Account   1492   6/2/2020    7644                                                                 COVID 19 School Aid                              $       399.44
AOL   Operating Account   1492   6/2/2020    7643                                                                 COVID 19 School Aid                              $       354.66
AOL   Operating Account   1492   6/2/2020    18705                                                                Operations and Maintenance of Plant              $       244.04
AOL   Operating Account   1492   6/2/2020    18701                                                                Administrative                                   $     3,201.71
AOL   Operating Account   1492   6/2/2020    18700                                                                Student Activities                               $       140.00
AOL   Operating Account   1492   6/9/2020    18707                                                                Tuition and Fees                                 $     8,390.00
AOL   Operating Account   1492   6/12/2020   7664                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/12/2020   7663                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/12/2020   7662                                                                 COVID 19 School Aid                              $       808.53
AOL   Operating Account   1492   6/12/2020   7661                                                                 COVID 19 School Aid                              $       407.07
AOL   Operating Account   1492   6/12/2020   7660                                                                 Artete Scholarship                               $       300.00
AOL   Operating Account   1492   6/15/2020   7666                                                                 COVID 19 School Aid                              $       832.03
AOL   Operating Account   1492   6/15/2020   7665                                                                 COVID 19 School Aid                              $       378.46
AOL   Operating Account   1492   6/17/2020   7674                                                                 COVID 19 School Aid                              $       883.40
AOL   Operating Account   1492   6/17/2020   7673                                                                 COVID 19 School Aid                              $       883.40
AOL   Operating Account   1492   6/17/2020   7672                                                                 COVID 19 School Aid                              $       874.19
AOL   Operating Account   1492   6/17/2020   7671                                                                 COVID 19 School Aid                              $       866.30
AOL   Operating Account   1492   6/17/2020   7670                                                                 COVID 19 School Aid                              $       866.29
AOL   Operating Account   1492   6/17/2020   7669                                                                 COVID 19 School Aid                              $       832.30
AOL   Operating Account   1492   6/17/2020   7668                                                                 COVID 19 School Aid                              $       807.03
AOL   Operating Account   1492   6/17/2020   7667                                                                 COVID 19 School Aid                              $       383.86
AOL   Operating Account   1492   6/18/2020   18848                                                                Scholarship                                      $       500.00
AOL   Operating Account   1492   6/18/2020   18778                                                                Administrative                                   $        48.80
AOL   Operating Account   1492   6/18/2020   18771                                                                Agency Payable ‐ voided                          $          ‐
AOL   Operating Account   1492   6/18/2020   18755                                                                Instructional Expense                            $        97.45
AOL   Operating Account   1492   6/18/2020   18736                                                                Agency Payable voided                            $          ‐
AOL   Operating Account   1492   6/18/2020   18734                                                                Athletic Supplies ‐ Student Activities           $        87.36
AOL   Operating Account   1492   6/18/2020   18726                                                                Agency Payable ‐ voided                          $          ‐
AOL   Operating Account   1492   6/30/2020   18871                                                                Refund of tuition and fees                       $       660.00
AOL   Operating Account   1492   6/2/2020    18702   Salesian Sisters‐001                                         Administrative and Instructional                 $     6,454.16   *
AOL   Operating Account   1492   6/18/2020   18816   Pan‐American Life Insurance Company                          Other payroll deductions ‐ insurance             $        53.30   *
AOL   Operating Account   1492   6/26/2020   18869   Immaculate Conception School                                 Other payroll deductions ‐ Tuition               $     2,938.07   *
AOL   Operating Account   1492   6/30/2020    14     Summer Camp Refunds ‐ Student Services                       Student Services Income                          $     1,120.00   *
AOL   Operating Account   1492   6/30/2020    14     Summer Camp Refunds ‐ Student Services                       Student Services Income                          $     2,985.00   *
AOL   Operating Account   1492   6/30/2020    14     Summer Camp Refunds ‐ Student Services                       Student Services Income                          $    11,420.00   *
AOL   Operating Account   1492   6/30/2020    14     Summer Camp Refunds ‐ Student Services                       Student Services Income                          $       910.00   *
AOL   Operating Account   1492   6/30/2020     4     Transfer to payroll account                                  Payroll transfer                                 $    21,224.73   X
AOL   Operating Account   1492   6/30/2020     4     Transfer to payroll account                                  Payroll transfer                                 $   179,593.61   X
AOL   Operating Account   1492   6/30/2020     4     Transfer to payroll account                                  Administrative                                   $        35.00   X
AOL   Tuition Funded      0011   6/30/2020                                                                        Transfer for tuition                             $     4,877.95   X
AOL   Tuition Funded      0011   6/30/2020                                                                        Transfer for tuition                             $     7,626.47   X
AOL   Tuition Funded      0011   6/30/2020                                                                        Transfer for tuition                             $    54,555.68   X
AOL   Tuition Funded      0011   6/30/2020                                                                        Transfer for tuition                             $    13,582.42   X
AOL   Tuition Funded      0011   6/30/2020                                                                        Transfer for tuition                             $   144,596.02   X
AOL   Tuition Funded      0011   6/30/2020                                                                        Transfer for tuition                             $     6,241.69   X
AOL   Operating Account   1492   6/12/2020   18716   Archdiocese of New Orleans                                   Administrative                                   $        58.00   Y
AOL   Operating Account   1492   6/12/2020   18715   Archdiocese of New Orleans                                   Administrative                                   $        58.00   Y
AOL   Operating Account   1492   6/12/2020   18710   Archdiocese of New Orleans                                   Administrative                                   $        58.00   Y
AOL   Operating Account   1492   6/18/2020   18850   Archdiocese of New Orleans                                   Administrative                                   $        10.00   Y
AOL   Operating Account   1492   6/18/2020   18847   Archdiocese of New Orleans                                   Administrative                                   $        58.00   Y
AOL   Operating Account   1492   6/18/2020   18729   Archdiocese of New Orleans                                   Administrative                                   $        10.00   Y
AOL   Operating Account   1492   6/19/2020   18855   Archdiocese of New Orleans ‐ Information Technology          Instructional Expense                            $       265.00   Y
AOL   Operating Account   1492   6/25/2020   18860   Archdiocese of New Orleans                                   Administrative                                   $        58.00   Y
AOL   Operating Account   1492   6/2/2020    18706   WM Corporate Services, Inc. ‐ Waste Management               Operations and Maintenance of Plant              $        97.00
AOL   Operating Account   1492   6/2/2020    18704   U.S. Copy Incorporated                                       Administrative                                   $        79.91
AOL   Operating Account   1492   6/2/2020    18703   Synergy Building Solutions, LLC                              Operations and Maintenance of Plant              $     2,076.00
AOL   Operating Account   1492   6/12/2020   18714   Fire & Safety Commodities                                    Administrative                                   $       350.00
AOL   Operating Account   1492   6/12/2020   18713   De Lage Landen Financial Services, Inc.                      Obligations Under Capital Lease                  $       738.19
AOL   Operating Account   1492   6/12/2020   18712   Clarion Herald                                               Development and Marketing                        $       820.00
AOL   Operating Account   1492   6/12/2020   18711   AT&T                                                         Operations and Maintenance of Plant              $        99.60
AOL   Operating Account   1492   6/12/2020   18709   Apple, Inc.                                                  Instructional Expense                            $     4,495.00
AOL   Operating Account   1492   6/12/2020   18708   Acme Lock Co.                                                Operations and Maintenance of Plant              $       212.50
AOL   Operating Account   1492   6/19/2020   18853   Immaculate Conception School                                 VOID                                             $          ‐
AOL   Operating Account   1492   6/22/2020           Regions                                                      Credit Card Payment                              $    18,776.36
AOL   Operating Account   1492   6/25/2020   18868   Salesian Sisters‐001                                         Instructional and Administrative                 $     6,454.16
AOL   Operating Account   1492   6/25/2020   18867   NOVA Recognition                                             Student Activities                               $     1,102.21
AOL   Operating Account   1492   6/25/2020   18866   Lowe's Business Account                                      Operations and Maintenance of Plant              $       198.74
AOL   Operating Account   1492   6/25/2020   18865   Louisiana Office Products                                    Instructional                                    $       442.80
AOL   Operating Account   1492   6/25/2020   18864   Immaculate Conception School                                 Other payroll deductions ‐ Tuition               $     1,288.30
AOL   Operating Account   1492   6/25/2020   18863   Gallagher Benefit Services                                   Health insurance                                 $    29,437.69
AOL   Operating Account   1492   6/25/2020   18862   Chauvin Bros. Tractor Inc.                                   Operations and Maintenance of Plant              $       487.44
AOL   Operating Account   1492   6/25/2020   18861   Carbonite Inc.                                               Instructional                                    $       340.70
AOL   Operating Account   1492   6/25/2020   18859   Ameriprise Financial Services, Inc.                          Other Payroll ‐ 403b                             $       100.00
AOL   Operating Account   1492   6/30/2020    37     Verizon Wireless                                             Operations and Maintenance of Plant              $        90.57
AOL   Operating Account   1492   6/30/2020    35     The Guardian                                                 Other payroll ‐ dental/vision/life               $     2,319.55
AOL   Operating Account   1492   6/30/2020    34     E.Corp Service                                               Administrative                                   $        25.00
AOL   Operating Account   1492   6/30/2020    34     Stop Payment Fee                                             Administrative                                   $        30.00
AOL   Operating Account   1492   6/30/2020    25     Hunt Telecommunications, LLC                                 Operations and Maintenance of Plant              $       805.79
AOL   Operating Account   1492   6/30/2020    21     First Bank Service Fee                                       administrative                                   $       147.16
AOL   Operating Account   1492   6/30/2020    21     First Bank Service Fee                                       administrative                                   $        14.95
AOL   Operating Account   1492   6/30/2020    21     First Bank Service Fee                                       administrative                                   $        32.80
AOL   Operating Account   1492   6/30/2020    21     First Bank Service Fee                                       administrative                                   $        14.77
AOL   Operating Account   1492   6/30/2020    21     First Bank Service Fee                                       administrative                                   $        11.80
AOL   Operating Account   1492   6/30/2020    21     First Bank Service Fee                                       administrative                                   $         2.98
AOL   Operating Account   1492   6/30/2020    21     First Bank Service Fee                                       administrative                                   $         2.66
AOL   Operating Account   1492   6/30/2020    20     Prime Pay                                                    administrative                                   $       160.80
AOL   Operating Account   1492   6/30/2020    17     FDGL Lease                                                   administrative                                   $        23.96
AOL   Operating Account   1492   6/30/2020    16     Jefferson Parish Dept. of Water                              Operations and Maintenance of Plant              $       121.69
AOL   Operating Account   1492   6/30/2020    16     Jefferson Parish Dept. of Water                              Operations and Maintenance of Plant              $       717.01
AOL   Operating Account   1492   6/30/2020    15     Entergy                                                      Operations and Maintenance of Plant              $     5,608.04
AOL   Operating Account   1492   6/30/2020    14     ECatholic fees deducted from operating account               Student Council ‐ Spritirwear ‐ Agency payable   $        16.50
AOL   Operating Account   1492   6/30/2020    14     ECatholic fees deducted from operating account               Student Council ‐ Spritirwear ‐ Agency payable   $        45.01
AOL   Operating Account   1492   6/30/2020     6     Gulf Coast Bank nsf check fee for returned deposited check   Administrative                                   $         8.00
AOL   Operating Account   1492   6/30/2020     6     Gulf Coast Bank nsf check fee for returned deposited check   Administrative                                   $         8.00
AOL   Operating Account   1492   6/30/2020     6     Summer Enrichment Parent                                     AR NSFs                                          $       400.00
AOL   Operating Account   1492   6/30/2020     6     Summer Enrichment Parent                                     AR NSFs                                          $       400.00
AOL   Operating Account   1492   6/30/2020     3     Atmos Energy                                                 Operations and Maintenance of Plant              $        26.32
AOL   Payroll Account     7654   6/30/2020           Prime Pay                                                    Payroll                                          $   132,375.60
AOL   Payroll Account     7654   6/30/2020           Prime Pay                                                    Payroll                                          $    47,218.01
AOL   Payroll Account     7654   6/30/2020           Prime Pay                                                    Payroll                                          $    18,051.16
AOL   Payroll Account     7654   6/30/2020           Prime Pay                                                    Payroll                                          $     3,173.57
AOL   Payroll Account     7654   6/30/2020                                                                        Stop payment fee                                 $        35.00
AOL   Tuition Funded      0011   6/2/2020    7675    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       156.50
AOL   Tuition Funded      0011   6/16/2020   7697    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       235.00
AOL   Tuition Funded      0011   6/2/2020    7676    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       343.50
AOL   Tuition Funded      0011   6/2/2020    7687    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/2/2020    7684    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/2/2020    7683    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/2/2020    7681    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/2/2020    7680    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/2/2020    7679    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/2/2020    7678    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/2/2020    7677    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       500.00
AOL   Tuition Funded      0011   6/16/2020   7698    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       515.00
AOL   Tuition Funded      0011   6/16/2020   7729    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       750.00
AOL   Tuition Funded      0011   6/16/2020   7728    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       750.00
AOL   Tuition Funded      0011   6/16/2020   7727    Gulf Coast Bank Reduction                                    Tuition and Fees ‐ loan reduction                $       750.00
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                                           605
AOL    Tuition Funded                                0011   6/16/2020            7726         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7725         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7724         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7723         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7722         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7721         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7720         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7719         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7718         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7717         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7716         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7715         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7714         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7713         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7712         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7711         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7710         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7709         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7708         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7707         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7706         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7705         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7704         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7703         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7702         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7701         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7700         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/16/2020            7699         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $        750.00
AOL    Tuition Funded                                0011   6/2/2020             7685         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      1,000.00
AOL    Tuition Funded                                0011   6/2/2020             7682         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      2,000.00
AOL    Tuition Funded                                0011   6/18/2020            7731         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,200.00
AOL    Tuition Funded                                0011   6/29/2020            7693         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,200.00
AOL    Tuition Funded                                0011   6/11/2020            7691         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,412.00
AOL    Tuition Funded                                0011   6/11/2020            7690         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,412.00
AOL    Tuition Funded                                0011   6/16/2020            7730         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7736         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7735         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7734         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7733         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7696         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7695         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7694         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/29/2020            7737         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,500.00
AOL    Tuition Funded                                0011   6/12/2020            7692         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,663.50
AOL    Tuition Funded                                0011   6/4/2020             7688         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,682.50
AOL    Tuition Funded                                0011   6/11/2020            7689         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      4,963.50
AOL    Tuition Funded                                0011   6/2/2020             7686         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      5,000.00
AOL    Tuition Funded                                0011   6/22/2020            7732         Gulf Coast Bank Reduction                          Tuition and Fees ‐ loan reduction                                             $      7,700.00
ARHS   Operating Account                             2799    6/5/2020           60815                                                            Stu Activ ‐ Robotics Reimburse                                                $      1,824.12
ARHS   Operating Account                             2799    6/5/2020           60813                                                            Stu Activ Graduation Awards                                                   $         49.45
ARHS   Operating Account                             2799    6/5/2020           60811                                                            Stu Services Smr Day Camp                                                     $        494.70
                                                                         FBT Operating Stop
ARHS   Operating Account                             2799   6/9/2020             Pays                                                            Stu Activ Band NSF Bank Charge                                                $          6.00
ARHS   Operating Account                             2799   6/12/2020           60823                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/12/2020           60829                                                            Stu Services‐Food Services Reimb                                              $        458.58
ARHS   Operating Account                             2799   6/12/2020           60834                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/12/2020           60835                                                            Stu Activ‐Athletics                                                           $      2,118.58
ARHS   Operating Account                             2799   6/12/2020           60836                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/12/2020           60838                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/12/2020           60840                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/12/2020           60842                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61002                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/30/2020      FBT NSF Check                                                         Student Activities‐Stu Council                                                $         50.00
                                                                           FBT NSF Check
ARHS   Operating Account                             2799   6/30/2020           Charge                                                           Stu Activ‐St Cncl‐NSF Bank Charge                                             $          6.00
ARHS   Operating Account                             2799   6/19/2020           61016                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61014                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61013                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61012                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61009                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61008                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61007                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61006                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61019                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/19/2020           61020                                                            Stu Activ Athletics‐Baseball Umpire                                           $        240.00
ARHS   Operating Account                             2799   6/26/2020           61022                                                            Maintenance                                                                   $      4,421.20
ARHS   Operating Account                             2799   6/26/2020           61031                                                            Stu Services‐Smr Day Camp Reimb                                               $         94.74
ARHS   Operating Account                             2799   6/28/2020           61036                                                            Stu Services‐Smr Day Camp Refund                                              $        750.00
ARHS   Operating Account                             2799   6/28/2020           61047                                                            Stu Activ Athletics‐Baseball Umpire                                           $        120.00
ARHS   Operating Account                             2799   6/28/2020           61044         Jefferson Parish Public School Sys                 Instructional‐Sp Educ Salary                                                  $     52,367.67 *
                                                                            Internal Bank
ARHS   Online Tuition/Fees                           2777   6/30/2020          Transfer       FBT Operating                                      Transfer to Operating                                                         $   2,375,404.00 X
                                                                             FBT Internal
ARHS   Operating Account                             2799   6/26/2020          Transfer       FBT Transfer to Tuition & Fees                     FBT Internal Transfer                                                         $     15,000.00   X
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/3/2020     FBT TuitRsrvJune20   FBT Loans                                          Final Tuition Loan Disbursement Credits for 1920 Loans from Reserve Account   $    141,442.96   X
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/3/2020     FBT TuitRsrvJune20   FBT Loans                                          Prior Month Interest to Tuition MM                                            $        540.67   X
ARHS   Tuition Money Manager                         2755   6/15/2020                                                                            Transfer to FBT Payroll Acct                                                  $    150,000.00   X
ARHS   Operating Account                             2799   6/4/2020             60819       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/5/2020             60818       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/5/2020             60817       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/5/2020             60816       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/5/2020             60810       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/5/2020             60809       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/10/2020            60820       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/10/2020            60821       Archdiocese of New Orleans                          Admin new employee fingerprint                                                $         58.00   Y
ARHS   Operating Account                             2799   6/12/2020            60824       Archdiocese of N O Casualty Ins.                    Other‐Insurance                                                               $     90,872.00   Y
ARHS   Operating Account                             2799   6/12/2020            60825       Ardhdiocese of NO Field House Loan                  Loan Payment                                                                  $     12,640.00   Y
ARHS   Operating Account                             2799   6/12/2020            60826       Archdiocese of NO Vehicle Loan                      Loan Payment                                                                  $      4,000.00   Y
ARHS   Operating Account                             2799   6/28/2020            61068       Archdiocese of New Orleans                          Transfer of Funds for Deposit                                                 $    375,404.00   Y
ARHS   Operating Account                             2799   6/26/2020            61025       Archbishop Chapelle High School                     Music/Band Chapellette Reimburse                                              $      5,226.05   Y, *
ARHS   Operating Account                             2799   6/26/2020            61026       Archdiocese of New Orleans Information Technology   Instructional‐Technology Services                                             $      1,200.00   Y, *
ARHS   Operating Account                             2799   6/28/2020            61064       Archdiocese of New Orleans                          Transfer of Funds for Deposit                                                 $    500,000.00   Y, X
ARHS   Operating Account                             2799   6/28/2020            61065       Archdiocese of New Orleans                          Transfer of Funds for Deposit                                                 $    500,000.00   Y, X
ARHS   Operating Account                             2799   6/28/2020            61066       Archdiocese of New Orleans                          Transfer of Funds for Deposit                                                 $    500,000.00   Y, X
ARHS   Operating Account                             2799   6/28/2020            61067       Archdiocese of New Orleans                          Transfer of Funds for Deposit                                                 $    500,000.00   Y, X
ARHS   Day Camp Account                              2887   6/11/2020    FBT Debit 87856863 Deluxe Business Products                             New Checks for Bankruptcy                                                     $        164.24
                                                                             Stripe Online
                                                                             Refunds ST‐
ARHS   Day Camp Account                              2887   6/29/2020       U5C1A7EOD0J4 Multiple                                                All Camp Refunds June                                                         $      2,388.44
ARHS   Merchant Account                              2876   6/2/2020    hant Serv Fee XXXXXXFB&T                                                 Administrative                                                                $         42.50
ARHS   Merchant Account                              2876   6/2/2020    hant Serv Fee XXXXXXFB&T                                                 Administrative                                                                $         66.76
ARHS   Merchant Account                              2876   6/2/2020    hant Serv Fee XXXXXXFB&T                                                 Administrative                                                                $         78.92
ARHS   Merchant Account                              2876   6/29/2020    Bank Ref No. 15001 Denim Smith                                          Tuition and Fees                                                              $         15.00
                                                                          Merchant Service
                                                                           Dep XXXXXX5506
ARHS   Merchant Account                              2876   6/30/2020           Refund       Cervantes‐Smr School                                Stu Services Smr School Refund                                                $        360.00
ARHS   Online Advancement                            2832   6/2/2020    et Gateway Bill XXXX FB&T                                                Administration                                                                $          8.00
ARHS   Online Advancement                            2832   6/2/2020    hant Serv Fee XXXXXXFB&T                                                 Administration                                                                $         42.50
ARHS   Online Fundraising                            2865   6/2/2020    Monthly Fees 628078 FB&T                                                 Administration                                                                $         10.00
ARHS   Operating Account                             2799   6/5/2020             60814       Total Electronics Systems                           Maintenance                                                                   $      1,080.00
ARHS   Operating Account                             2799   6/5/2020             60812       Pan American Life Insurance                         Cancer Prem Employee Benefits                                                 $        476.40
                                                                         FBT Operating Stop
ARHS   Operating Account                             2799   6/9/2020              Pays       NSF Shanel Cottrell CK110 for Candy                 Stu Activ Band NSF for Candy Sales                                            $         60.00
                                                                         FBT Operating Stop
ARHS   Operating Account                             2799   6/9/2020              Pays       Bank Charge for 14 Stop Orders                      Admin‐Bank Charge for Stop Pays                                               $        448.00
ARHS   Operating Account                             2799   6/12/2020            60822       A & L Sales, Inc.                                   Maintenance supplies                                                          $      2,556.67
ARHS   Operating Account                             2799   6/12/2020            60827       Bella Productinos                                   Stu Activ‐Genesian Players                                                    $        700.00
ARHS   Operating Account                             2799   6/12/2020            60828       Broad Glass                                         Maintenance                                                                   $        107.16
ARHS   Operating Account                             2799   6/12/2020            60830       Cox Communications                                  Instructional‐Technology                                                      $        145.49
ARHS   Operating Account                             2799   6/12/2020            60831       Entergy                                             Maintenance utilities                                                         $      8,348.40
ARHS   Operating Account                             2799   6/12/2020            60832       Greenkeepers, Inc.                                  Maintenance                                                                   $      3,584.00
ARHS   Operating Account                             2799   6/12/2020            60833       Interface Security Systems, LLC                     Maintenance                                                                   $      1,021.11
ARHS   Operating Account                             2799   6/12/2020            60837       Richard Reames Trophy & Awards                      Stu Activ‐Athletics                                                           $        382.20
ARHS   Operating Account                             2799   6/12/2020            60839       Union Service and Maintenance                       Maintenance                                                                   $      1,498.64
ARHS   Operating Account                             2799   6/12/2020            60841       Wes Pet, Inc.                                       Maintenance                                                                   $         17.34
ARHS   Operating Account                             2799   6/19/2020            61003       C. T. Traina, Inc.                                  Maintenance                                                                   $      1,013.59
ARHS   Operating Account                             2799   6/19/2020            61001       BLP Mobile Paints                                   Maintenance                                                                   $        176.96
ARHS   Operating Account                             2799   6/19/2020            61000       A & L Sales, Inc.                                   Maintenance                                                                   $        270.60
ARHS   Operating Account                             2799   6/30/2020      Online Payment Guardian Dental                                        Dental‐Employee Benefits                                                      $      1,869.43
ARHS   Operating Account                             2799   6/30/2020      Online Payment Guardian Dental                                        Dental‐Employee Benefits                                                      $        120.60
ARHS   Operating Account                             2799   6/30/2020       ACH Bank Draft Gallagher Medical Insurance                           Medical‐Employee Benefits                                                     $      1,813.19
ARHS   Operating Account                             2799   6/30/2020       ACH Bank Draft Gallagher Medical Insurance                           Medical‐Employee Benefits                                                     $     40,800.94
ARHS   Operating Account                             2799   6/30/2020      Online Payment Atmos                                                  Maintenance‐Utilities                                                         $         26.32
ARHS   Operating Account                             2799   6/30/2020      Online Payment Atmos                                                  Maintenance‐Utilities                                                         $        442.67
                                                                           FBT June Service
ARHS   Operating Account                             2799   6/30/2020           Charge       FBT                                                 Other‐Bank Service Charge                                                     $         50.00
ARHS   Operating Account                             2799   6/19/2020            61017       Union Service and Maintenance                       Maintenance                                                                   $        625.18
ARHS   Operating Account                             2799   6/19/2020            61015       Star Service Inc.                                   Maintenance                                                                   $      2,886.00
ARHS   Operating Account                             2799   6/19/2020            61011       Presto‐X                                            Maintenance                                                                   $        368.00
ARHS   Operating Account                             2799   6/19/2020            61010       Pontchaartrin Center                                Stu Activities‐Graduation                                                     $      6,726.20
ARHS   Operating Account                             2799   6/19/2020            61005       Hunt Telecommunications, LLC                        Maintenance‐tilities                                                          $        314.66
ARHS   Operating Account                             2799   6/19/2020            61004       Dis in Fx                                           Maintenance                                                                   $        700.00
ARHS   Operating Account                             2799   6/19/2020            61018       Waste Connections                                   Maintenance                                                                   $        654.04
ARHS   Operating Account                             2799   6/26/2020            61021       A & L Sales, Inc.                                   Maintenance                                                                   $      1,944.88
ARHS   Operating Account                             2799   6/26/2020            61023       ADS Systems LLC                                     Maintenance                                                                   $        135.00
ARHS   Operating Account                             2799   6/26/2020            61024       Alfred Music                                        Instructional‐Muisc/Band                                                      $        205.00
ARHS   Operating Account                             2799   6/26/2020            61027       AT&T Mobility                                       Maintenance‐utilities                                                         $        886.82
ARHS   Operating Account                             2799   6/26/2020            61028       Awards by Mark                                      Stu Activ‐Football                                                            $        107.01
ARHS   Operating Account                             2799   6/26/2020            61029       Best Business Forms                                 Administration                                                                $        577.26
ARHS   Operating Account                             2799   6/26/2020            61030       Canon Financial Servies                             Liab Lease Payment Copy Machines                                              $      2,883.95
ARHS   Operating Account                             2799   6/26/2020            61032       Cici's Pizza                                        Stu Services‐Food Services                                                    $        573.30
ARHS   Operating Account                             2799   6/28/2020            61033       A & A Services                                      Maintenance                                                                   $        870.00
ARHS   Operating Account                             2799   6/28/2020            61034       A & A Signs                                         Maintenance                                                                   $         25.00
ARHS   Operating Account                             2799   6/28/2020            61035       Clarion Herald                                      Development‐Marketing                                                         $        795.00
ARHS   Operating Account                             2799   6/28/2020            61037       FBT VISA Statement Strickland                       Instructional‐Technology Reimburse                                            $         99.98
ARHS   Operating Account                             2799   6/28/2020            61038       FBT VISA Statement Carrigee                         Admin‐Supplies and Repair items                                               $        127.70
ARHS   Operating Account                             2799   6/28/2020            61039       FBT VISA Statement Development                      Development‐Admissions                                                        $        374.37
ARHS   Operating Account                             2799   6/28/2020            61040       FBT VISA Faculty and Staff                          Development‐Marketing                                                         $        736.14
ARHS   Operating Account                             2799   6/28/2020            61041       FBT VISA Francioni                                  Development‐Fundraising                                                       $         27.01
ARHS   Operating Account                             2799   6/28/2020            61042       Grundmann's Athletic Co.                            Stu Activities‐Graduation                                                     $        102.21
ARHS   Operating Account                             2799   6/28/2020            61043       Jefferson Parish Dept of Water                      Utilities                                                                     $      2,239.31
ARHS   Operating Account                             2799   6/28/2020            61045       Kentwood Springs Water                              Maintenance                                                                   $         50.25
ARHS   Operating Account                             2799   6/28/2020            61046       Lobb‐Alexis, Inc.                                   Maintenance                                                                   $      3,600.00
ARHS   Operating Account                             2799   6/28/2020            61048       Office Depot Business Acct.                         Stu Services‐Smr Day Camp Sply                                                $        117.51
ARHS   Operating Account                             2799   6/28/2020            61049       Perret's                                            Stu Services‐Smr Day Camp Apparel                                             $      2,694.58
ARHS   Operating Account                             2799   6/28/2020            61050       Pitney BowesGlobal Financial Serv                   Liab Lease Payment Postage Machine                                            $      1,258.38
ARHS   Operating Account                             2799   6/28/2020            61051       Precision Door Service                              Maintenance                                                                   $        214.95
ARHS   Operating Account                             2799   6/28/2020            61052       Red Stick Sports                                    Student Activities‐General                                                    $        812.62
ARHS   Operating Account                             2799   6/28/2020            61053       S & S Worldwide, Inc.                               Stu Services‐Smr Day Camp Equip                                               $      1,600.87
ARHS   Operating Account                             2799   6/28/2020            61054       Screen Printing Unlimited, LLC                      Stu Activ‐Baseball                                                            $        985.70
ARHS   Operating Account                             2799   6/28/2020            61055       Southland Plumbing Supply, Inc.                     Maintenance                                                                   $        199.88
ARHS   Operating Account                             2799   6/28/2020            61056       Star Service, Inc.                                  Maintenance                                                                   $      2,886.00
ARHS   Operating Account                             2799   6/28/2020            61057       Synergy Bulding Solutions, Inc.                     Maintenance                                                                   $        480.00
ARHS   Operating Account                             2799   6/28/2020            61058       Time Clock Plus, LLC                                Administration                                                                $        675.00
ARHS   Operating Account                             2799   6/28/2020            61059       Union Service & Maintenance                         Maintenance                                                                   $        932.83
ARHS   Operating Account                             2799   6/28/2020            61060       W. D. Scott Group, Inc.                             Maintenance                                                                   $      6,028.15
ARHS   Operating Account                             2799   6/28/2020            61061       Wells Fargo Vendor Fin Service                      Liab Lease Payment Tchr MacBks                                                $     18,459.20
ARHS   Operating Account                             2799   6/28/2020            61062       Wes‐Pet, Inc                                        Maintenance                                                                   $         16.58
ARHS   Operating Account                             2799   6/28/2020            61063       WRKN‐FM Cumulus Media                               Development‐Marekting                                                         $        200.00
                                                                          PRIME PAY AN110
                                                                             A TAX AN110
ARHS   Payroll Account                               2821   6/5/2020          ARCHBISHO      Prime Pay                                           Payroll‐June                                                                  $        438.19
ARHS   Payroll Account                               2821   6/5/2020      AN1100000030143 Prime Pay                                              Payroll‐June                                                                  $        196.91
                                                                          AN1100000003014
ARHS   Payroll Account                               2821   6/5/2020               3         Prime Pay                                           Payroll‐June                                                                  $         39.81
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                                           605
                                                                         AN1100000003014
ARHS   Payroll Account                               2821   6/5/2020             2           Prime Pay   Payroll‐June                                                                      $      1,370.46
                                                                        PRIME PAY INVOICE
ARHS   Payroll Account                               2821   6/5/2020    KXXAAXXXXXX1705      Prime Pay   Payroll‐June                                                                      $         43.18
ARHS   Payroll Account                               2821   6/12/2020    AN1100000030143     Prime Pay   Payroll‐June                                                                      $        196.91
ARHS   Payroll Account                               2821   6/12/2020    AN1100000030143     Prime Pay   Payroll‐June                                                                      $         39.81
ARHS   Payroll Account                               2821   6/12/2020    AN1100000030142     Prime Pay   Payroll‐June                                                                      $      1,370.46
                                                                             TAX AN110
ARHS   Payroll Account                               2821   6/12/2020        ARCHBISHO       Prime Pay   Payroll‐June                                                                      $       438.19
                                                                        PRIME PAY INVOICE
ARHS   Payroll Account                               2821   6/12/2020   KXXAAXXXXXX5426      Prime Pay   Payroll‐June                                                                      $        43.18
ARHS   Payroll Account                               2821   6/19/2020    AN1100000030148     Prime Pay   Payroll‐June                                                                      $        39.81
ARHS   Payroll Account                               2821   6/19/2020    AN1100000030149     Prime Pay   Payroll‐June                                                                      $       196.91
                                                                        PRIMEPAY AN110 A
ARHS   Payroll Account                               2821   6/19/2020   TAX AN110 ARCHBI     Prime Pay   Payroll‐June                                                                      $      2,101.14
                                                                             TAX AN109
ARHS   Payroll Account                               2821   6/19/2020        ARCHBISHO       Prime Pay   Payroll‐June                                                                      $      1,370.46
                                                                        PRIME PAY INVOICE
ARHS   Payroll Account                               2821   6/19/2020   KXXAAXXXXXX5300      Prime Pay   Payroll‐June                                                                      $      7,804.85
ARHS   Payroll Account                               2821   6/19/2020    AN1100000030142     Prime Pay   Payroll‐June                                                                      $         82.81
ARHS   Payroll Account                               2821   6/26/2020    AN1100000030143     Prime Pay   Payroll‐June                                                                      $        196.91
ARHS   Payroll Account                               2821   6/26/2020    AN1100000030143     Prime Pay   Payroll‐June                                                                      $      7,585.58
                                                                             TAX AN110
ARHS   Payroll Account                               2821   6/26/2020        ARCHBISHO       Prime Pay   Payroll‐June                                                                      $        39.81
                                                                        PRIME PAY INVOICE
ARHS   Payroll Account                               2821   6/26/2020   KXXAAXXXXXX1616      Prime Pay   Payroll‐June                                                                      $      2,035.14
ARHS   Payroll Account                               2821   6/26/2020    AN1100000030142     Prime Pay   Payroll‐June                                                                      $        107.65
ARHS   Payroll Account                               2821   6/26/2020    AN1100000030143     Prime Pay   Payroll‐June                                                                      $      1,370.46
ARHS   Payroll Account                               2821   6/30/2020    AN1100000030143     Prime Pay   Payroll‐June                                                                      $      2,994.00
                                                                             TAX AN110
ARHS   Payroll Account                               2821   6/30/2020        ARCHBISHO       Prime Pay   Payroll‐June                                                                      $     83,284.88
                                                                          PRIME PAY AN109
                                                                             A PAYROLL
ARHS   Payroll Account                               2821   6/30/2020    AN1090000020570     Prime Pay   Payroll‐June                                                                      $      5,635.95
ARHS   Payroll Account                               2821   6/30/2020    AN1100000030142     Prime Pay   Payroll‐June                                                                      $         30.00
                                                                           DELUXE BUS SYS
                                                                             BUS PRODS
ARHS   Payroll Account                               2821   6/30/2020         87856946       Prime Pay   Payroll‐June                                                                      $       216.81
                                                                             PRIME PAY
                                                                         INVOICEKXXAAXXX
ARHS   Payroll Account                               2821   6/30/2020         XXX0021        Prime Pay   Payroll‐June                                                                      $       245.65
                                                                               AN109
                                                                            ARCHBISHOP
                                                                              PAYROLL
ARHS   Payroll Account                               2821   6/30/2020       AN10920570       Prime Pay   Payroll‐June                                                                      $    233,214.76
                                                                               AN109
                                                                            ARCHBISHOP
                                                                              PAYROLL
ARHS   Payroll Account                               2821   6/30/2020       AN10920570       Prime Pay   Payroll‐June                                                                      $     28,004.56
                                                                        Manual PR Ck#1151
ARHS   Payroll Account                               2821   6/30/2020   for Uncashed Check   Prime Pay   Payroll‐June                                                                       $       100.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13925         FBT Loans   19/20 Loan Chargeback (prin 7738.88 int 257.15 late 60.00 fees 50.00 = 8106.03) $        8,106.03
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13909         FBT Loans   19/20 Loan Charge Back (prin 6688.31 Int 204.21 late 105.00 fee 50.00=$7047.52) $        7,047.52
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13903         FBT Loans   19/20 Loan Charge back (Prin 6620.37 Int $178.74 Late 90.00 = 6999.11)             $     6,999.11
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13917         FBT Loans   19/20 Loan Chargeback (prin 6578.65 int 193.13 late 60.00 fees 50.00 =6881.78)     $     6,881.78
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13911         FBT Loans   19/20 Loan Chargeback (prin 5801.85 Int 194.91 late 90.00 fee 85.00= 6171.76)      $     6,171.76
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13927         FBT Loans   19/20 Loan Chargeback (prin 5662.50 int 166.13 late 45.00 fee 50.00 = 5923.63)     $     5,923.63
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13931         FBT Loans   19/20 Loan Chargeback (prin 5343.82 int 149.24 late 119.68 fees 135.00 = 5747.92 $       5,747.92
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13916         FBT Loans   19/20 Loan Chargeback (prin 5328.28 int 137.60 late 105.00 fees 60.00= 5630.88) $        5,630.88
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13920         FBT Loans   19/20 Loan Chargeback (prin 4443.79 int 157.02 late 90.00 fees 50.00=4740.81)      $     4,740.81
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13921         FBT Loans   19/20 Loan Chargeback (prin 4245.52 int 92.68 late 45.00 fees 50.00= 4433.20)      $     4,433.20
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13913         FBT Loans   19/20 Loan Chargeback (prin 4024.85 int 133.97 late 60.00 fees 50.00= 4268.82)     $     4,268.82
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13918         FBT Loans   19/20 Loan Chargeback (prin3862.72 int 128.35 late 60.00 fees 50.00 = 4101.07)     $     4,101.07
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13923         FBT Loans   19/20 Loan Chargeback (prin 3650.64 int 96.47 late 135.00 fees 135.00= 4017.11) $        4,017.11
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13907         FBT Loans   19/20 Loan Charge Back (Prin 3136.32 Int 53.55 fees 25.00 = 3214.87)               $     3,214.87
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13912         FBT Loans   19/20 Loan Chargeback (prin 2767.54 Int 52.67 late 45.00 fees 75.00= 2940.21)      $     2,940.21
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13930         FBT Loans   19/20 Loan Chargeback (prin 2728.70 int 54.72n late 30.00 fees 50.00 = 2863.42) $        2,863.42
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13929         FBT Loans   19/20 Loan Chargeback (prin 2625.00 int 44.46 fees 25.00 = 2694.46)                $     2,694.46
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13908         FBT Loans   19/20 Loan Charge Back (Prin 2422.25 Int 62.64 Late 75.00 = 2634.89)               $     2,634.89
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13919         FBT Loans   19/20 Loan Chargeback (prin 2419.07 int 75.59 late 105.00= 2599.66)                $     2,599.66
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13932         FBT Loans   19/20 Loan Chargeback (prin 2086.85 int 28.89 late 111.95 fees 35.00= 2262.69)     $     2,262.69
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13915         FBT Loans   19/20 Loan Chargeback (prin 2007.22 int 25.01 late 60.00 fee 25.00= 2117.23)       $     2,117.23
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13926         FBT Loans   19/20 Loan Chargeback (prin 1853.85 Int 16.99 late 30.00 fees 125.00 = 2025.84) $        2,025.84
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13933         FBT Loans   19/20 Loan Chargeback (prin 2008.06 int (163.36) late 60.00 fees 75.00= 1979.43 $        1,979.43
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13904         FBT Loans   19/20 Loan Charge Back (Prin 1881.81 Int 29.77 = 1911.58)                          $     1,911.58
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13922         FBT Loans   19/20 Loan Chargeback (prin 1881.81 int 25.64 = 1907.45)                           $     1,907.45
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13928         FBT Loans   19/20 Loan Chargeback (prin 1745.00 int 37.63 late 30.00 fees 50.00 = 1862.63)     $     1,862.63
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13914         FBT Loans   19/20 Loan Chargeback (prin 1536.29 int 19.99 = 1556.28)                           $     1,556.28
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13905         FBT Loans   19/20 Loan Charge Back (Prin 1065.15 Int 29.78 Late 120.00 = 1299.93)              $     1,299.93
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13935         FBT Loans   19/20 Loan Chargeback (prin 1105.52 int 13.61 fees 50.00 = 1169.13)                $     1,169.13
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13910         FBT Loans   19/20 Loan Chargeback (prin1045.43 int 13.89 = 1059.32)                            $     1,059.32
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13902         FBT Loans   19/20 Loan Charge back ‐ Prin 827.10 Int 1.92 Late $105.00 = $974.02               $       974.02
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13934         FBT Loans   19/20 Loan Chargeback (prin 865.00 int 11.49 = 876.49)                             $       876.49
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13906         FBT Loans   19/20 Loan Charge back (Prin 438.09 Int .84 Late 71.40 Fees 209.40=719.73)         $       719.73
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13901         FBT Loans   19/20 Loan Chargeback ‐ Prin 481.80 Int 1.76= $483.56                              $       483.56
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/1/2020           13924         FBT Loans   19/20 Loan Chargeback (prin 459.69 int 7.67 = 467.36)                              $       467.36
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14350         FBT Loans   20‐21 tuition already paid11 Month Loan Reduction prior to initial Funding         $     9,850.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14553         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     8,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14500         FBT Loans   20‐21 ARETE & BAND 11 Month Loan Reduction prior to initial Funding                $     7,464.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14734         FBT Loans   20‐21 Academic 4200 Segretto 3050 11 Month Loan Reduction prior to initial Fundi $       7,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14059         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding Work Study $3000.00 online $      7,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14467         FBT Loans   20‐21 ARETE & Academic 11 Month Loan Reduction prior to initial Funding            $     6,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14010         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding Work Study $4500.00 Onlin $       6,700.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14590         FBT Loans   20‐21 Work Study & BAnd/Geb 11 Month Loan Reduction prior to initial Funding       $     6,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14243         FBT Loans   20‐21 11 Month Loan Reduction 3600.00 Academic & 2500.00 Band Genesian prior $           6,100.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14307         FBT Loans   20‐21 Work Study & Payment 11 Month Loan Reduction prior to initial Funding        $     5,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14178         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     5,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14044         FBT Loans   20‐21 WORK STUDY 11 Month Loan Reduction prior to initial Funding                  $     5,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14404         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding                             $     5,325.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14880         FBT Loans   20‐21 Academic 2000 & Work Study 11 Month Loan Reduction prior to initial Fundi $        5,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14509         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     5,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14070         FBT Loans   20‐21 WORK STUDY 11 Month Loan Reduction prior to initial Funding                  $     5,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14883         FBT Loans   20‐21 ARETE 11 Month Loan Reduction prior to initial Funding                       $     4,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14838         FBT Loans   20‐21 ARETE 11 Month Loan Reduction prior to initial Funding                       $     4,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14829         FBT Loans   20‐21 ARETE 11 Month Loan Reduction prior to initial Funding                       $     4,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14633         FBT Loans   20‐21 ARETE 11 Month Loan Reduction prior to initial Funding                       $     4,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14439         FBT Loans   20‐21 ARETE 11 Month Loan Reduction prior to initial Funding                       $     4,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14436         FBT Loans   20‐21 ARETE 11 Month Loan Reduction prior to initial Funding                       $     4,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14032         FBT Loans   20‐21 11 ARETE Scholarship Month Loan Reduction prior to initial Funding           $     4,964.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14859         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14823         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14730         FBT Loans   20‐21 Ace 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14665         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14644         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14518         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14503         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14472         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14414         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14341         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14168         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14146         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14084         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14025         FBT Loans   20‐21 ACE Scholarship 11 Month Loan Reduction prior to initial Funding             $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14002         FBT Loans   20‐21 ACE Award ‐11 Month Loan Reduction prior to initial Funding                  $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14000         FBT Loans   20‐21‐ ACE PENDING 11 Month Loan Reduction prior to initial Funding                $     4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14249         FBT Loans   20‐21 Work Study 11 Month Loan Reduction and 400.00 overpayment prior to initia $        4,400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14112         FBT Loans   20‐21 3600.00 academic and remove Fee bill and Deferred registration 11 Month Lo $       4,400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14110         FBT Loans   20‐21 3600.00 academic scholarship remove Fee bill and Deferred Reg 11 Month Lo $        4,400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14870         FBT Loans   20‐21 Academic 4200.00 11 Month Loan Reduction prior to initial Funding            $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14867         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14641         FBT Loans   20‐21 Academic 4200.00 11 Month Loan Reduction prior to initial Funding            $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14618         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14571         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14565         FBT Loans   20‐21 Academic 4200.00 11 Month Loan Reduction prior to initial Funding            $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14508         FBT Loans   20‐21 Academic 11 Month Loan Reduction prior to initial Funding                    $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14269         FBT Loans   20‐21 ACE 11 Month Loan Reduction prior to initial Funding                         $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14197         FBT Loans   20‐21ACE 11 Month Loan Reduction prior to initial Funding                          $     4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14694         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     4,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14645         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     4,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14291         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     4,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14226         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     4,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14848         FBT Loans   20‐21 Work Study & Payment 11 Month Loan Reduction prior to initial Funding        $     3,700.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14774         FBT Loans   20‐21 Academic 3600.00 11 Month Loan Reduction prior to initial Funding            $     3,600.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14813         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding                             $     3,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14455         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     3,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14538         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     3,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14360         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding                             $     3,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14187         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     3,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14036         FBT Loans   20‐21 WORK STUDY 11 Month Loan Reduction prior to initial Funding                  $     3,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14745         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding                             $     2,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14657         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14613         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14259         FBT Loans   20‐21 Band/Gen Scholarship11 Month Loan Reduction prior to initial Funding         $     2,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14077         FBT Loans   20‐21 Band Scholarship 11 Month Loan Reduction prior to initial Funding            $     2,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14418         FBT Loans   20‐21 SWE 11 Month Loan Reduction prior to initial Funding                         $     2,482.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14231         FBT Loans   20‐21 SWE 11 Month Loan Reduction prior to initial Funding                         $     2,482.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14175         FBT Loans   20‐21 SWE 11 Month Loan Reduction prior to initial Funding                         $     2,482.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14718         FBT Loans   20‐21 Work Study and Over payment 11 Month Loan Reduction prior to initial Fund $        2,400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14319         FBT Loans   20‐21 Academic and over payment 11 Month Loan Reduction prior to initial Funding $       2,400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14165         FBT Loans   20‐21 11 Month Loan Reduction Work Study 2000.00 and 400.00 over payment pri $           2,400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14387         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,350.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14884         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14805         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14758         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14703         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14654         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14601         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14596         FBT Loans   20‐21 Academic 2000.00 11 Month Loan Reduction prior to initial Funding            $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14582         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14575         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14515         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14496         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14459         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14443         FBT Loans   20‐21 Academic 11 Month Loan Reduction prior to initial Funding                    $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14295         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14246         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14154         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14150         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14137         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14134         FBT Loans   20‐21 WORK STUDY 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14055         FBT Loans   20‐21 WORK STUDY 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14052         FBT Loans   20‐21 WORK STUDY 11 Month Loan Reduction prior to initial Funding                  $     2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14680         FBT Loans   20‐21 Academic 1800.00 11 Month Loan Reduction prior to initial Funding            $     1,800.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14422         FBT Loans   20‐21 Academic 11 Month Loan Reduction prior to initial Funding                    $     1,800.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14097         FBT Loans   20‐21 WORK STUDY 11 Month Loan Reduction prior to initial Funding                  $     1,800.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14782         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     1,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14380         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     1,250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14529         FBT Loans   20‐21 Work Study 11 Month Loan Reduction prior to initial Funding                  $     1,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14627         FBT Loans   20‐21 Building fee ‐ fee bill 11 Month Loan Reduction prior to initial Funding     $     1,100.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14338         FBT Loans   20‐21 Over payment 11 Month Loan Reduction prior to initial Funding                $       700.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14483         FBT Loans   20‐21 over payment 11 Month Loan Reduction prior to initial Funding                $       650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14332         FBT Loans   20‐21 cannot include CY reg and IPad 11 Month Loan Reduction prior to initial Fund $       650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14331         FBT Loans   20‐21 11 Month Loan Reduction cannot include Cy reg and ipad prior to initial Fund $       650.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14761         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding cannot include deferred he $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14749         FBT Loans   20‐21 11 Month Loan Reduction prior to initial Funding                             $       400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   6/12/2020          14677         FBT Loans   20‐21 over payment 11 Month Loan Reduction prior to initial Funding                $       400.00
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                                           605
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14646        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14630        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14622        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14606        FBT Loans                      20‐21 11 Month Loan Reduction prior to initial Funding cannot put deferred he is a $       400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14561        FBT Loans                      20‐21 11 Month Loan Reduction prior to initial Funding cannot put Deferred he is a $       400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14527        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14524        FBT Loans                      20‐21 Over payment11 Month Loan Reduction prior to initial Funding                  $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14521        FBT Loans                      20‐21 Reg Over payment 11 Month Loan Reduction prior to initial Funding             $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14512        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14479        FBT Loans                      20‐21 11 Month Loan Reduction prior to initial Funding reduced 400 can not do DEf $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14450        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14401        FBT Loans                      20‐21 400.00 Deferred he is a Sr 11 Month Loan Reduction prior to initial Funding $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14354        FBT Loans                      20‐21 cannot include Deferred Senior 11 Month Loan Reduction prior to initial Fund $       400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14266        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14125        FBT Loans                      20‐21 reduced loan could not put Deferred student is a senior 11 Month Loan Redu $         400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14636        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14410        FBT Loans                      20‐21 over payment 11 Month Loan Reduction prior to initial Funding                 $      300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14392        FBT Loans                      20‐21 11 Month Loan Reduction prior to initial Funding                              $      300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14372        FBT Loans                      20‐21 11 Month Loan Reduction prior to initial Funding cannot finance Ipad          $      300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14139        FBT Loans                      20‐21 reduction cannot put Ipad in loan 11 Month Loan Reduction prior to initial Fu $      300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14708        FBT Loans                      20‐21 11 Month Loan Reduction prior to initial Funding                              $      250.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14854        FBT Loans                      20‐21 removed Def on Dad's loan 11 Month Loan Reduction prior to initial Funding $         200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14304        FBT Loans                      20‐21 overpayment 11 Month Loan Reduction prior to initial Funding                  $      180.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/12/2020            14091        FBT Loans                      20‐21 loan wrong amount by 100.00 11 Month Loan Reduction prior to initial Fundi $         100.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14895        FBT Loans                      Decrease First Bank & Trust Loan Work Study                                         $    4,800.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14894        FBT Loans                      Decrease First Bank & Trust Loan ACE Pending                                        $    4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14893        FBT Loans                      Decrease First Bank & Trust Loan Academic Scholarship                               $    4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14892        FBT Loans                      Decrease First Bank & Trust Loan ACE pending                                        $    4,200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14891        FBT Loans                      Decrease First Bank & Trust Loan Segretto Scholarship $3050.00                      $    3,050.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14890        FBT Loans                      Decrease First Bank & Trust Loan Work Study 1500.00 and lump sum 1500.00            $    3,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14889        FBT Loans                      Decrease First Bank & Trust Loan Academic scholarship                               $    2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14886        FBT Loans                      Decrease First Bank & Trust Loan ‐ Mom band scholarship                             $    1,470.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/23/2020            14887        FBT Loans                      Decrease First Bank & Trust Loan Dad band scholarship                               $      750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/24/2020            15011        FBT Loans                      Decrease First Bank & Trust Loan Band Genesian Scholarship                          $    2,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/24/2020            15006        FBT Loans                      Decrease First Bank & Trust Loan Work Study                                         $    2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/24/2020            14896        FBT Loans                      Decrease First Bank & Trust Loan Academic Scholarship                               $    2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/24/2020            15012        FBT Loans                      Decrease First Bank & Trust Loan Lump Sum Spring                                    $    1,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/26/2020            15013        FBT Loans                      Cancel First Bank & Trust Loan (10650.00 + 35.00 annual fee = $17.50 Interest=$107 $    10,702.50
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/26/2020            14898        FBT Loans                      Decrease First Bank & Trust Loan Remove fee bill per mom                            $      400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/27/2020            15014        FBT Loans                      Decrease First Bank & Trust Loan Work Study                                         $    4,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/27/2020            15015        FBT Loans                      Decrease First Bank & Trust Loan Work Study                                         $    2,000.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/29/2020            15018        FBT Loans                      Decrease First Bank & Trust Loan ACE Pending                                        $    4,500.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431       6/29/2020            15019        FBT Loans                      Decrease First Bank & Trust Loan Additional Work Study                              $    2,950.00
ARHS   Tuition Money Manager                         2755       6/10/2020       FBT Other Debit   FBT Money Mgr                  19‐20 Loan Chargeback                                                               $    1,094.85
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    2,170.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    2,085.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    1,875.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    1,785.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    1,735.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    1,555.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    1,298.99   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $    1,050.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      900.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      855.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      695.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      695.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      665.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      635.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      615.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      605.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      550.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      550.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      545.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      515.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      500.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      495.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      465.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      455.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      400.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      400.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      375.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      375.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020            20504                                       Band Trip Refund                                                                    $      360.52   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      350.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      320.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      300.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      300.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      285.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      265.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      225.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $      100.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $       50.00   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020           Refund                                       Band Trip Refund                                                                    $       50.00   *
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20559                                       Band Trip Refund                                                                    $    2,700.00   *
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20558                                       Band Trip Refund                                                                    $    1,390.00   *
ASHS   OPERATING ACCOUNT                             2429        6/3/2020            Pledge                                      Tuition/Fees                                                                        $      763.94
ASHS   OPERATING ACCOUNT                             2429       6/10/2020            20314                                       Refund/Agency                                                                       $      500.00
ASHS   OPERATING ACCOUNT                             2429       6/10/2020             5719                                       Refund Scholarship                                                                  $    1,000.00
ASHS   OPERATING ACCOUNT                             2429       6/10/2020            20316                                       Administrative Expenses                                                             $      430.23
ASHS   OPERATING ACCOUNT                             2429       6/15/2020            20323                                       Student Services                                                                    $       40.00
ASHS   OPERATING ACCOUNT                             2429       6/23/2020            20554                                       Other Expenses/Yrbook                                                               $      670.00
ASHS   OPERATING ACCOUNT                             2429       6/25/2020           Refund                                       Tuition and Fees                                                                    $   10,000.00
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20557                                       Agency Payables/Student Activites                                                   $      400.00
ASHS   OPERATING ACCOUNT                             2429       6/30/2020           15‐2023       IOI                            Payroll                                                                             $      217.50   *
ASHS   OPERATING ACCOUNT                             2429       6/18/2020            20502        Awards by Mark                 Instructional Expenses                                                              $    1,725.00   *
ASHS   TUITION RESERVE ACCOUNT                       0007        6/1/2020           15‐2023                                      int transfer to oper                                                                $      118.13   X
ASHS   TUITION RESERVE ACCOUNT                       0007        6/3/2020           15‐2023                                      Transfer of Final Tuition                                                           $   20,902.63   X
ASHS   OPERATING ACCOUNT                             2429        6/4/2020           15‐2028                                      transfer to payroll                                                                 $   80,000.00   X
ASHS   OPERATING ACCOUNT                             2429       6/29/2020           15‐2027                                      transfer to payroll                                                                 $   93,500.00   X
ASHS   OPERATING ACCOUNT                             2429       6/22/2020            20545        Arch of New Orleans IT         License Interenet                                                                   $       15.00   Y
ASHS   OPERATING ACCOUNT                             2429       6/30/2020            20565        Archdioces od New Orleans      Flood Insurance                                                                     $   27,847.00   Y
ASHS   OPERATING ACCOUNT                             2429       6/30/2020            20566        Archdiocese of New Orleans     Liability Insurance                                                                 $   43,120.69   Y, *
ASHS   COMM INTEREST CHECKING ACCOUNT                2440        6/8/2020           15‐208        IOI                            Payroll                                                                             $   76,234.89
ASHS   COMM INTEREST CHECKING ACCOUNT                2440        6/8/2020           15‐208        IOI                            Payroll                                                                             $   11,721.28
ASHS   COMM INTEREST CHECKING ACCOUNT                2440       6/12/2020           15‐2023       IOI                            Payroll                                                                             $   81,380.43
ASHS   COMM INTEREST CHECKING ACCOUNT                2440       6/12/2020           15‐2023       IOI                            Payroll                                                                             $   11,972.02
ASHS   NEXT YEAR'S TUITION AND FEES                  3085        6/3/2020           15‐2031       Isiah Barnes                   Correction of Registration fees                                                     $      300.00
ASHS   TUITION RESERVE ACCOUNT                       0007        6/1/2020       Various Parents   FBT loan chargeback            chargeback of Tuition                                                               $   38,568.09
ASHS   TUITION RESERVE ACCOUNT                       0007   06/18/20‐06/29/20       Various       FBT tuition loans              Reduction in Tuition Loans                                                          $   93,255.23
ASHS   OPERATING AND PAYROLL MMA                     9162       6/26/2020               0                                        Return NSF from Deposit                                                             $       60.00
ASHS   OPERATING AND PAYROLL MMA                     9162       6/26/2020               0                                        Return NSF Fee                                                                      $        6.00
ASHS   OPERATING ACCOUNT                             2429        6/2/2020           15‐2030       First Bank and Trust           Monthly Visa Fees                                                                   $       26.30
ASHS   OPERATING ACCOUNT                             2429        6/2/2020            20303        Downtown Delivery              Courier                                                                             $      200.00
ASHS   OPERATING ACCOUNT                             2429        6/2/2020           15‐2030       First Bank and Trust           Monthly Visa Fees                                                                   $      105.43
ASHS   OPERATING ACCOUNT                             2429        6/2/2020            20302        Alarm Protection Services      Operations and Maintenace                                                           $       81.00
ASHS   OPERATING ACCOUNT                             2429        6/2/2020            20301        A & L Sales, Inc.              Operations and Maintenace                                                           $       56.78
ASHS   OPERATING ACCOUNT                             2429        6/2/2020            20306        Guardian                       Dental/Vision insurance                                                             $    1,709.37
ASHS   OPERATING ACCOUNT                             2429        6/2/2020            20305        Gallagher                      Health Insurance                                                                    $   25,375.83
ASHS   OPERATING ACCOUNT                             2429        6/2/2020            20304        WM Corporate Services, Inc.    Operations and Maintenace                                                           $      227.00
ASHS   OPERATING ACCOUNT                             2429        6/3/2020            20307        Salesian Society               Pension                                                                             $    7,137.17
ASHS   OPERATING ACCOUNT                             2429        6/3/2020            20309        Entergy                        Utilites                                                                            $    6,133.35
ASHS   OPERATING ACCOUNT                             2429        6/3/2020            20308        Pan American Life              Employee Insurance                                                                  $       28.00
ASHS   OPERATING ACCOUNT                             2429        6/3/2020            20310        Atmos Entergy                  Utilites                                                                            $      267.90
ASHS   OPERATING ACCOUNT                             2429        6/4/2020            20311        Deluxe Pest Control            Operations and Maintenace                                                           $      133.00
ASHS   OPERATING ACCOUNT                             2429        6/5/2020           15‐2029       IOI                            Payroll                                                                             $      184.82
ASHS   OPERATING ACCOUNT                             2429        6/9/2020            20312        Home Depot                     Operations and Maintenace                                                           $    1,358.84
ASHS   OPERATING ACCOUNT                             2429        6/9/2020            20313        Sherwin Williams               Operations and Maintenace                                                           $      429.18
ASHS   OPERATING ACCOUNT                             2429       6/10/2020           15‐2008       IOI                            Payroll                                                                             $   26,648.57
ASHS   OPERATING ACCOUNT                             2429       6/10/2020           15‐2008       IOI                            Payroll                                                                             $      217.50
ASHS   OPERATING ACCOUNT                             2429       6/10/2020            20318        Jesuit High School             Student Activities                                                                  $      184.66
ASHS   OPERATING ACCOUNT                             2429       6/15/2020            20326        Visa                           Operations and Maintenace                                                           $    1,204.59
ASHS   OPERATING ACCOUNT                             2429       6/15/2020            20319        Foley                          Uniforms                                                                            $      793.54
ASHS   OPERATING ACCOUNT                             2429       6/15/2020            20321        Lowes                          Operations and Maintenace                                                           $      217.70
ASHS   OPERATING ACCOUNT                             2429       6/15/2020            20320        Holy Cross                     Agency Payables/Student Activites                                                   $       80.00
ASHS   OPERATING ACCOUNT                             2429       6/15/2020            20325        Visa                           Development and Marketing                                                           $       70.23
ASHS   OPERATING ACCOUNT                             2429       6/15/2020            20322        Ricoh USA                      Instructional Expenses                                                              $        6.50
ASHS   OPERATING ACCOUNT                             2429       6/17/2020            20501        College Board                  Instructional Expenses/AP Testing                                                   $    7,149.00
ASHS   OPERATING ACCOUNT                             2429       6/18/2020            20503        Chromebooks Parts              Instructional Expenses                                                              $    5,704.43
ASHS   OPERATING ACCOUNT                             2429       6/18/2020            20505        New Orleans Party Rentals      Other Cost/Graduation                                                               $      410.36
ASHS   OPERATING ACCOUNT                             2429       6/18/2020            20506        Visa                           Other Cost/Fees                                                                     $        0.33
ASHS   OPERATING ACCOUNT                             2429       6/22/2020            20546        Rediker Software               Instructional Expenses                                                              $    9,284.00
ASHS   OPERATING ACCOUNT                             2429       6/22/2020            20548        Windstream                     Utilites                                                                            $      670.73
ASHS   OPERATING ACCOUNT                             2429       6/22/2020            20547        Visa                           Other Cost/Interest                                                                 $        2.41
ASHS   OPERATING ACCOUNT                             2429       6/23/2020            20551        Graduate Supply House          Oter Expenses/Graduation                                                            $    4,693.55
ASHS   OPERATING ACCOUNT                             2429       6/23/2020            20552        Pitney Bowes                   Administrative Expenses                                                             $      141.52
ASHS   OPERATING ACCOUNT                             2429       6/23/2020            20555        Liminex                        Instructional/Chromebook                                                            $    3,541.50
ASHS   OPERATING ACCOUNT                             2429       6/23/2020            20553        Purchase Power                 Administrative Expenses                                                             $      500.00
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20562        Cox Business                   Utilites                                                                            $       44.64
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20561        AA Screens & Glass             Operations and Maintenace                                                           $       45.91
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20563        Raymond Plumbing               Operations and Maintenace                                                           $      200.08
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20564        Trane USA                      Operations and Maintenace                                                           $      347.50
ASHS   OPERATING ACCOUNT                             2429       6/29/2020            20560        A. C. Cross                    Operations and Maintenace                                                           $    1,875.26
ASHS   OPERATING ACCOUNT                             2429       6/30/2020           15‐2023       IOI                            Payroll                                                                             $   28,496.44
ASHS   OPERATING ACCOUNT                             2429       6/30/2020           15‐2023       IOI                            Payroll                                                                             $      159.55
OLG    Operating                                     4318       6/16/2020            53440                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/30/2020            53477                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/3/2020             53410                                       Personnel Costs:Salary‐Musicians                                                    $      210.00
OLG    Operating                                     4318       6/16/2020            53441                                       Personnel Costs:Salary‐Musicians                                                    $      140.00
OLG    Operating                                     4318       6/30/2020            53478                                       Personnel Costs:Salary‐Musicians                                                    $      140.00
OLG    Operating                                     4318       6/22/2020            53460                                       Other Parish Expenses:Household expenses                                            $      260.00
OLG    Operating                                     4318       6/29/2020            53470                                       Other Parish Expenses:Household expenses                                            $      233.00
OLG    Operating                                     4318       6/15/2020            53437                                       Other Parish Expenses:Household expenses                                            $      210.00
OLG    Operating                                     4318       6/26/2020            53469                                       Other Parish Expenses:Household expenses                                            $      273.86
OLG    Operating                                     4318       6/30/2020            53479                                       Personnel Costs:Salary‐Musicians                                                    $      100.00
OLG    Operating                                     4318       6/3/2020             53411                                       Personnel Costs:Salary‐Musicians                                                    $       75.00
OLG    Operating                                     4318       6/16/2020            53442                                       Personnel Costs:Salary‐Musicians                                                    $       50.00
OLG    Operating                                     4318       6/30/2020            53480                                       Personnel Costs:Salary‐Musicians                                                    $      100.00
OLG    Operating                                     4318       6/16/2020            53443                                       Personnel Costs:Salary‐Musicians                                                    $       50.00
OLG    Operating                                     4318       6/16/2020            53444                                       Personnel Costs:Salary‐Musicians                                                    $      100.00
OLG    Operating                                     4318       6/30/2020            53481                                       Personnel Costs:Salary‐Musicians                                                    $      100.00
OLG    Operating                                     4318       6/3/2020             53412                                       Personnel Costs:Salary‐Musicians                                                    $       75.00
OLG    Operating                                     4318       6/12/2020            53425                                       Other Parish Expenses:Votives, Religious Goods                                      $      120.00
OLG    Operating                                     4318       6/30/2020            53482                                       Personnel Costs:Salary‐Musicians                                                    $      280.00
OLG    Operating                                     4318       6/3/2020             53413                                       Personnel Costs:Salary‐Musicians                                                    $      210.00
OLG    Operating                                     4318       6/16/2020            53445                                       Personnel Costs:Salary‐Musicians                                                    $      140.00
OLG    Operating                                     4318       6/12/2020            53429                                       Personnel Costs:Salary‐Musicians                                                    $      477.23
OLG    Operating                                     4318       6/3/2020             53415                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/16/2020            53447                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/30/2020            53484                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/19/2020            53458                                       Other Expenditures‐Capital:Renovations and Repairs                                  $    1,800.00
OLG    Operating                                     4318       6/19/2020            53459                                       Other Expenditures‐Capital:Renovations and Repairs                                  $    1,000.00
OLG    Operating                                     4318       6/19/2020            53456                                       Other Expenditures‐Capital:Renovations and Repairs                                  $         ‐
OLG    Operating                                     4318       6/19/2020            53457                                       Other Expenditures‐Capital:Renovations and Repairs                                  $         ‐
OLG    Operating                                     4318       6/16/2020            53448                                       Personnel Costs:Salary‐Musicians                                                    $      250.00
OLG    Operating                                     4318       6/3/2020             53416                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/30/2020            53486                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/30/2020            53474                                       Other Parish Expenses:Church Office Costs:Envelope Mail Out                         $      589.53
OLG    Operating                                     4318       6/30/2020            53487                                       Personnel Costs:Salary‐Musicians                                                    $      200.00
OLG    Operating                                     4318       6/16/2020            53449                                       Personnel Costs:Salary‐Musicians                                                    $      100.00
OLG    Operating                                     4318       6/4/2020              341                                        Personnel Costs:Salary‐Musicians                                                    $      100.00
OLG    Operating                                     4318       6/1/2020             53408        Archdiocese of New Orleans     Current Assessment Payment                                                          $   16,750.00   Y
OLG    Operating                                     4318       6/23/2020            53461        Archdiocese of New Orleans     Current Assessment Payment                                                          $   16,685.00   Y
OLG    Operating                                     4318       6/16/2020            53452        Archdiocese of New Orleans     Past Assessmentr Payment                                                            $    2,700.00   Y
OLG    Operating                                     4318       6/1/2020             53407        Archdiocese of New Orleans     Diocessan Priest169.04 Extra‐Diocesan Payments:Other Extra‐Dioces. Pmts:Diocesa $          360.00   Y
OLG    Operating                                     4318       6/1/2020             53397        Ascension of Our Lord School   Other Parish Expenses:Miscellaneous Expense:Vouchers                                $      300.00   Y
OLG    Operating                                     4318       6/30/2020            53485        St. Joseph's Church            Personnel Costs:Salary‐Extra Priests                                                $      100.00   Y
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OLG     Operating           4318   6/3/2020          53417        St. Joseph's Church                                   Personnel Costs:Salary‐Extra Priests                                                $       50.00   Y
OLG     Operating           4318   6/16/2020         53454        St. Joseph's Church                                   Personnel Costs:Salary‐Extra Priests                                                $       50.00   Y
OLG     Operating           4318   6/12/2020         53419        American Express                                      Office / General Administrative Expense                                             $      299.75
OLG     Operating           4318   6/16/2020         53450        American Express                                      Replacement of Furniture and equipment                                              $       55.98
OLG     Operating           4318   6/30/2020         53471        American Express                                      Office / General Administrative Expense                                             $       37.37
OLG     Operating           4318   6/12/2020         53420        AT & T                                                Other Parish Expenses:Household expenses:Household Exp. ‐ Cable Bill                $      374.21
OLG     Operating           4318   6/12/2020         53422        Church Supply House                                   Other Parish Expenses:Sanctuary Expenses                                            $      226.81
OLG     Operating           4318   6/16/2020         53451        Church Supply House                                   Other Parish Expenses:Sanctuary Expenses                                            $       27.38
OLG     Operating           4318   6/12/2020         53421        Church Supply House                                   Other Parish Expenses:Sanctuary Expenses                                            $         ‐
OLG     Operating           4318   6/1/2020          53398        Clarion Herald                                        Diocesan Assessment ‐ Clarion Herald                                                $      632.96
OLG     Operating           4318   6/1/2020          53401        Entergy                                               Utilities Expense ‐ Ytilities Electricity                                           $    1,453.09
OLG     Operating           4318   6/23/2020         53463        Entergy                                               Utilities Expense ‐ Ytilities Electricity                                           $      722.63
OLG     Operating           4318   6/1/2020          53400        Entergy                                               Utilities Expense ‐ Ytilities Electricity                                           $      194.36
OLG     Operating           4318   6/23/2020         53465        Entergy                                               Utilities Expense ‐ Ytilities Electricity                                           $       90.57
OLG     Operating           4318   6/23/2020         53464        Entergy                                               Utilities Expense ‐ Ytilities Electricity                                           $       22.89
OLG     Operating           4318   6/1/2020          53399        Entergy                                               Utilities Expense ‐ Ytilities Electricity                                           $       20.32
OLG     Operating           4318   6/12/2020         53418        First Bank And Trust                                  Other Parish Expenses:Miscellaneous Expense:Vouchers                                $      575.00
OLG     Operating           4318   6/30/2020         53472        Gallagher                                             Personnel Costs:Health Care Costs                                                   $    2,659.36
OLG     Operating           4318   6/1/2020          53402        Guardian                                              Personnel Costs:Health Care Costs                                                   $      218.16
OLG     Operating           4318   6/15/2020         53438        Holy Angel Apartments                                 Church Income:Loose Collection                                                      $      230.75
OLG     Operating           4318   6/16/2020         53455        Holy Name of Jesus School                             Other Parish Expenses:Miscellaneous Expense:Vouchers                                $      600.00
OLG     Operating           4318   6/12/2020         53423        Kentwood Springs                                      Other Parish Expenses:Household expenses:Household expense                          $       19.30
OLG     Operating           4318   6/12/2020         53424        Marianites of Holy Cross                              Miscellaneous Expense:Community Center                                              $      500.00
OLG     Operating           4318   6/16/2020         53439        Marianites of Holy Cross                              Miscellaneous Expense:Community Center                                              $      500.00
OLG     Operating           4318   6/23/2020         53466        Marianites of Holy Cross                              Miscellaneous Expense:Community Center                                              $      500.00
OLG     Operating           4318   6/30/2020         53473        Marianites of Holy Cross                              Miscellaneous Expense:Community Center                                              $      500.00
OLG     Operating           4318   6/12/2020         53426        Mercier Realty & Investment Co.                       Misc Expenses ‐ Misc ‐ Rent                                                         $    1,500.00
OLG     Operating           4318   6/12/2020         53427        Mercier Realty & Investment Co.                       Other Parish Expenses:Miscellaneous Expense:Taxes Paid                              $    1,000.76
OLG     Operating           4318   6/23/2020         53467        N.A.S.P.A.                                            Other Parish Expenses:Parish Twinning                                               $      150.00
OLG     Operating           4318   6/1/2020          53409        Oblates of Mary Immaculate                            Priest expense                                                                      $    4,969.00
OLG     Operating           4318   6/23/2020         53462        Oblates of Mary Immaculate                            Priest expense                                                                      $    4,969.00
OLG     Operating           4318   6/12/2020         53428        One License                                           Other Parish Expenses:Sanctuary Expenses                                            $      925.00
OLG     Operating           4318   6/1/2020          53403        Orkin Pest Control                                    Personnel Costs:Contract Labor ‐ Others:Contract Services                           $      122.31
OLG     Operating           4318   6/23/2020         53468        Our Sunday Visitor                                    Church Office Costs:Envelope Mail Out                                               $    1,458.61
OLG     Operating           4318   6/16/2020         53453        Our Sunday Visitor                                    Church Office Costs:Envelope Mail Out                                               $       37.25
OLG     Operating           4318   6/16/2020         53446        Professional Music Services, Inc                      Personnel Costs:Salary‐Musicians                                                    $      600.00
OLG     Operating           4318   6/30/2020         53483        Professional Music Services, Inc                      Personnel Costs:Salary‐Musicians                                                    $      600.00
OLG     Operating           4318   6/3/2020          53414        Professional Music Services, Inc                      Personnel Costs:Salary‐Musicians                                                    $      450.00
OLG     Operating           4318   6/1/2020          53404        Purchase Power                                        5220.05 Other Parish Expenses:Church Office Costs:Postage                           $      844.76
OLG     Operating           4318   6/12/2020         53432        Sewerage and Water Board                               Other Parish Expenses:Utilities Expense:Utilities ‐ Water                          $      117.01
OLG     Operating           4318   6/12/2020         53433        Sewerage and Water Board                              Other Parish Expenses:Utilities Expense:Utilities ‐ Water                           $       11.49
OLG     Operating           4318   6/30/2020         53475        Tchoupitoulas Sales                                   Other Parish Expenses:Votives, Religious Goods                                      $    1,725.21
OLG     Operating           4318   6/12/2020         53434        The Word Among Us                                     Other Parish Expenses:Social Program Expense:Supplies & Materials                   $      111.50
OLG     Operating           4318   6/30/2020         53476        Vexus Fiber                                           Other Parish Expenses:Utilities Expense:Utilities ‐ Phone Bill                      $      564.37
OLG     Operating           4318   6/12/2020         53435        Waste Connections Bayou. INC                          Personnel Costs:Contract Labor ‐ Others:Contract Services                           $      429.33
OLG     Operating           4318   6/1/2020          53405        Xerox Corp.                                           Other Parish Expenses:Church Office Costs:Office/General Administrative Expenses    $      207.16
OLG     Operating           4318   6/12/2020         53436        Xerox Corp.                                           Other Parish Expenses:Church Office Costs:Office/General Administrative Expenses    $      119.65
OLG     Operating           4318   6/1/2020          53406        Year Round Heating & A/C                              Furniture, Fixtures, & Equipment:F,F&E‐ Church                                      $      272.50
OLG     Operating           4318   6/5/2020           335                                                               To record June 5th Payroll                                                          $    3,373.32
OLG     Operating           4318   6/19/2020          336                                                               to record June 19th Payroll                                                         $    3,019.91
OLG     Operating           4318   6/5/2020           335                                                               To record June 5th Payroll                                                          $    1,123.81
OLG     Operating           4318   6/5/2020           335                                                               To record June 5th Payroll                                                          $    1,064.08
OLG     Operating           4318   6/19/2020          336                                                               to record June 19th Payroll                                                         $    1,062.63
OLG     Operating           4318   6/19/2020          336                                                               to record June 19th Payroll                                                         $    1,026.08
OLG     Operating           4318   6/15/2020          337                                                               To record record reorder fee for check stock for operating account                  $      510.18
OLG     Operating           4318   6/5/2020           335                                                               June payroll fee                                                                    $      144.00
OLG     Operating           4318   6/16/2020       SVCCHRG                                                              5220.07 Other Parish Expenses:Church Office Costs:Office/General Administrative E   $      135.26
OLG     Operating           4318   6/29/2020          338                                                               Avh Entergy and ACH fee $2.95                                                       $      102.95
OLG     Operating           4318   6/22/2020          340                                                               To record deposit corrwection                                                       $       40.00
OLG     Operating           4318   6/8/2020           342                                                               To record misc charge                                                               $       25.00
OLG     Operating           4318   6/15/2020          337                                                               To record record reorder fee for check stock for operating account                  $       12.06
OLG     Operating           4318   6/17/2020          339                                                               To record nsf check                                                                 $       10.00
PJPHS   Operating Account   8055   6/18/2020         47011                                                              Student Services            WAS ON APPROVED REFUND LIST                             $    1,370.00   *
PJPHS   Operating Account   8055   6/25/2020         47013                                                              Student Services                                                                    $    4,500.00
PJPHS   Operating Account   8055   6/18/2020         47001                                                              Student Services                                                                    $       85.00
PJPHS   Operating Account   8055   6/3/2020          45088                                                              Instructional Expenses                                                              $        4.80
PJPHS   Operating Account   8055   6/18/2020         47005                                                              Student Activities                                                                  $       50.00
PJPHS   Operating Account   8055   6/18/2020         47006                                                              Student Activities                                                                  $      135.00
PJPHS   Operating Account   8055   6/3/2020          45089                                                              Administration ‐ HR                                                                 $      229.94
PJPHS   Operating Account   8055   6/18/2020         47007                                                              Student Activities                                                                  $       50.00
PJPHS   Operating Account   8055   6/15/2020         45107                                                              Administration                                                                      $      132.87
PJPHS   Operating Account   8055   6/25/2020         47020                                                              Administration                                                                      $      175.66
PJPHS   Operating Account   8055   6/3/2020          45093                                                              Student Services                                                                    $      219.80
PJPHS   Reserve Loan        0271   6/1/2020         Interest      FB&T                                                  Interest                                                                            $      280.23   X
PJPHS   Operating Account   8055   6/18/2020         47000        Archdiocese of New Orleans ‐ Information Technology   Instructional Expenses                                                              $      265.00   Y
PJPHS   Operating Account   8055   6/25/2020         47022        Archdiocese of New Orleans OCS                        Administration ‐ HR                                                                 $       58.00   Y
PJPHS   Operating Account   8055   6/25/2020         47021        Archdiocese of New Orleans OCS                        Administration ‐ HR                                                                 $       58.00   Y
PJPHS   Operating Account   8055   6/25/2020         47012        Archdiocese of New Orleans OCS                        Administration ‐ HR                                                                 $       58.00   Y
PJPHS   Operating Account   8055   6/30/2020          ACH         Archdiocese of New Orleans                            Administration ‐ Loan Interest                                                      $      579.94   Y
PJPHS   Operating Account   8055   6/3/2020          45087        ATMOS Energy Louisiana ‐ LGS                          VOIDED                                                                              $         ‐
PJPHS   Operating Account   8055   6/15/2020         45099        ATMOS Energy Louisiana ‐ LGS                          Oper of facility ‐ Utility ‐ Gas                                                    $      119.89
PJPHS   Operating Account   8055   6/15/2020         45100        Attaway's Award Center                                Student Activities ‐ Awards                                                         $       83.70
PJPHS   Operating Account   8055   6/15/2020         45101        Balfour New Orleans, LLC                              Student Activities ‐ Graduation                                                     $    1,463.82
PJPHS   Operating Account   8055   6/15/2020         45102        Canon Financial Services Inc                          Student Services ‐ Lease                                                            $      624.22
PJPHS   Operating Account   8055   6/15/2020         45103        Catholic Relief Services                              Student Activities                                                                  $      376.50
PJPHS   Operating Account   8055   6/25/2020         47014        Chase Cardmember Services                             Administration                                                                      $    2,673.33
PJPHS   Operating Account   8055   6/15/2020         45104        City of Slidell                                       Oper of facility ‐ Utility ‐ Water                                                  $      151.55
PJPHS   Operating Account   8055   6/25/2020         47015        Davis Products Co., Inc                               Oper of facility                                                                    $       88.59
PJPHS   Operating Account   8055   6/18/2020         47002        Development Innovations 360                           Administration ‐ Consultant                                                         $    4,327.00
PJPHS   Operating Account   8055   6/25/2020         47016        Dudley Smith Printing                                 Student Activities ‐ Graduation                                                     $      475.00
PJPHS   Operating Account   8055   6/18/2020         47003        Educational Electronics Corp.                         Oper of Facility                                                                    $    1,878.61
PJPHS   Operating Account   8055   6/18/2020         47004        Esyncs                                                Advertising                                                                         $       95.00
PJPHS   Operating Account   8055   6/25/2020         47017        Geaux Preaux Printing                                 Student Services                                                                    $      152.18
PJPHS   Operating Account   8055   6/18/2020         47010        Jazz Athesthesia                                      Student Services            WAS ON APPROVED REFUND LIST                             $      285.00
PJPHS   Operating Account   8055   6/25/2020         47018        Lowe's Business Account                               Student Activities                                                                  $       27.12
PJPHS   Operating Account   8055   6/15/2020         45105        Nelnet Business Solutions                             Student Services ‐ Software                                                         $      507.83
PJPHS   Operating Account   8055   6/15/2020         45106        Northshore Harbor Center                              Student Activities ‐ Graduation                                                     $    1,818.75
PJPHS   Operating Account   8055   6/18/2020         47008        Office Depot Credit Plan                              Administration                                                                      $      148.69
PJPHS   Operating Account   8055   6/3/2020          45090        Pan American Life Insurance Co                        Staff Benefits ‐ Insurance                                                          $      101.60
PJPHS   Operating Account   8055   6/3/2020          45091        Pro's Pest Control Service, Inc                       Oper of facility                                                                    $      205.00
PJPHS   Operating Account   8055   6/18/2020         47009        Roylyne Fasullo, FBO PJP Cash Box                     Student Services                                                                    $      400.00
PJPHS   Operating Account   8055   6/3/2020          45092        Seruntine Refrigeration Serivices, Inc (SRS)          Oper of facility                                                                    $      625.00
PJPHS   Operating Account   8055   6/26/2020         47023        Sign Artist                                           Administration                                                                      $      200.00
PJPHS   Operating Account   8055   6/26/2020         47024        Slidell City Marshal City Court                       Administration ‐ wage garnishment                                                   $    1,811.00
PJPHS   Operating Account   8055   6/26/2020         47025        Slidell Independent                                   Advertising                                                                         $      400.00
PJPHS   Operating Account   8055   6/25/2020         47019        St Tammany Maintenance Inc                            oper of facility                                                                    $    1,499.00
PJPHS   Operating Account   8055   6/26/2020         47026        The Advocate (St Tammany Farmer local paper name)     Advertising                                                                         $      360.00
PJPHS   Operating Account   8055   6/26/2020         47027        The College Board (AP Exams)                          Instructional Expenses                                                              $    7,310.00
PJPHS   Operating Account   8055   6/15/2020         45108        Wash‐St Tammany Electric Co Inc                       Oper of facility ‐ utility ‐ elec                                                   $    3,265.19
PJPHS   Operating Account   8055   6/3/2020          45094        Waste Management of St Tammany                        Oper of facility ‐ garbage                                                          $      156.39
PJPHS   Operating Account   8055   6/15/2020         45109        WEX Bank                                              Student Services                                                                    $      200.00
PJPHS   Operating Account   8055   6/1/2020           ACH         Paymentech Chase CC                                   Administration ‐ Service Fee                                                        $       25.00
PJPHS   Operating Account   8055   6/3/2020           ACH         JP Morgan Chase                                       Administration ‐ Service Fee                                                        $       50.00
PJPHS   Operating Account   8055   6/15/2020          ACH         Crescent Payroll                                      Administration ‐ Service Fee                                                        $      379.25
PJPHS   Operating Account   8055   6/17/2020          ACH         Intuit                                                Administration                                                                      $      289.11
PJPHS   Operating Account   8055   6/15/2020         20‐114       Crescent Payroll                                      Administration ‐ PR                                                                 $   47,971.27
PJPHS   Operating Account   8055   6/15/2020         20‐116       Crescent Payroll                                      Administration ‐ Pension/Ben Trust                                                  $    8,539.87
PJPHS   Operating Account   8055   6/15/2020         20‐115       Crescent Payroll                                      Administration ‐ PR tax                                                             $   18,236.68
PJPHS   Operating Account   8055   6/30/2020         20‐118       Crescent Payroll                                      Administration ‐ PR                                                                 $   47,971.26
PJPHS   Operating Account   8055   6/30/2020         20‐119       Crescent Payroll                                      Administration ‐ PR tax                                                             $   18,236.70
PJPHS   Operating Account   8055   6/30/2020         20‐120       Crescent Payroll                                      Administration ‐ Pension/Ben Trust                                                  $    8,539.87
PJPHS   Operating Account   8055   6/30/2020         20‐129       Recncile Beg Bal                                      Administration                                                                      $        0.05
PJPHS   Operating Account   8055   6/30/2020         20‐130       Reclass JE 20‐62 03/17/2020                           Administration                                                                      $      500.00
PJPHS   Reserve Loan        0271   6/18/2020   Loan Adjustments   FB&T                                                  Loan Adjustments                                                                    $    8,650.00
PJPHS   Checking Account    4242   6/19/2020     ACH Wire Fee     FB&T                                                  Administration Expenses                                                             $       15.00
PJPHS   Checking Account    4242   6/25/2020     ACH Wire Fee     FB&T                                                  Administration Expenses                                                             $       15.00
SCCS    Operating           0502   6/24/2020         25058                                                              Refund of Registration payment                                                      $      425.00   *
SCCS    Operating           0502   6/24/2020         25059                                                              Refund of Registration payment                                                      $      425.00   *
SCCS    Operating           0502   6/24/2020         25060                                                              Refund of Registration payment                                                      $      425.00   *
SCCS    Operating           0502   6/24/2020         25063                                                              Prepetition liability, Student activities                                           $      636.76   *
SCCS    Operating           0502   6/24/2020         25063                                                              Prepetition liability, Student activities                                           $       62.49
SCCS    Operating           0502    6/2/2020         24092                                                              Student activities                                                                  $      221.00
SCCS    Operating           0502   6/17/2020         24112                                                              Student activities                                                                  $      250.00
SCCS    Operating           0502   6/18/2020         24121                                                              Graduation expenses                                                                 $      140.00
SCCS    Operating           0502   6/18/2020         24114                                                              Graduation expenses                                                                 $      140.00
SCCS    Operating           0502   6/18/2020         24115                                                              Graduation expenses                                                                 $      140.00
SCCS    Operating           0502   6/18/2020         24116                                                              Graduation expenses                                                                 $      140.00
SCCS    Operating           0502   6/18/2020         24117                                                              Graduation expenses                                                                 $      140.00
SCCS    Operating           0502   6/18/2020         24120                                                              Graduation expenses                                                                 $      140.00
SCCS    Operating           0502   6/18/2020         24123                                                              Student activities                                                                  $      100.00
SCCS    Operating           0502   6/18/2020         24127                                                              Student activities                                                                  $       37.93
SCCS    Operating           0502   6/18/2020         24125                                                              Student activities                                                                  $        2.93
SCCS    Operating           0502   6/18/2020         24126                                                              Student activities                                                                  $         ‐
SCCS    Operating           0502   6/18/2020         24136                                                              Student services                                                                    $      500.00
SCCS    Operating           0502   6/18/2020         24124                                                              Refund for credit balance                                                           $    2,000.00
SCCS    Operating           0502   6/24/2020         25062                                                              Administration Expenses                                                             $      343.08
SCCS    Operating           0502   6/24/2020         25064                                                              Student activities                                                                  $       76.58
SCCS    Operating           0502   6/30/2020         25080                                                              Athletic stipend                                                                    $    1,000.00
SCCS    Operating           0502   6/30/2020         25068                                                              Student activities                                                                  $      171.73
SCCS    Operating           0502   6/30/2020         25071                                                              Student activities                                                                  $      139.26
SCCS    Operating           0502   6/30/2020         25077                                                              Student activities                                                                  $       48.13
SCCS    Operating           0502   6/24/2020     25000‐25057      Various                                               Refund ‐ Sr. Overnight Retreat ‐ $70 each                                           $    4,060.00   *
SCCS    Tuition Reserve     0437    6/1/2020        Transfer      St. Charled Catholic                                  FBT Operating                                                                       $      105.80   X
SCCS    Tuition Reserve     0437    6/3/2020        Transfer      St. Charled Catholic                                  Transfer to FBT‐Operating account                                                   $    7,326.16   X
SCCS    Operating           0502   6/17/2020         24108        ARCHNO ‐ Insurance Off.                               Insurance                                                                           $   19,020.17   Y
SCCS    Operating           0502   6/18/2020         24128        ARCHNO ‐ IT Office                                    Internet costs                                                                      $      265.00   Y
SCCS    Operating           0502   6/24/2020         25065        ARCHNO ‐ Accounting Office                            Loan Payable                                                                        $   25,000.00   Y
SCCS    Operating           0502   6/24/2020         25066        ARCHNO ‐ CFO                                          Loan Payable                                                                        $    2,134.39   Y
SCCS    Tuition Reserve     0437    6/1/2020      Bank Debits     FBT                                                   Loan reductions                                                                     $    4,608.66
SCCS    Tuition Reserve     0437    6/1/2020      Bank Debits     FBT                                                   Loan chargebacks                                                                    $   33,564.94
SCCS    Tuition Reserve     0437   6/26/2020      Bank Debits     FBT                                                   Loan reductions                                                                     $    3,505.88
SCCS    Operating           3063    6/2/2020      Bank Debit      Elevon                                                Fundraising                                                                         $       15.00
SCCS    Operating           3063    6/5/2020      Bank Debit      Tuition charge back                                   Returned payment                                                                    $      525.00
SCCS    Operating           0502    6/2/2020         24087        American All‐Star, LLC                                Student activities                                                                  $      265.00
SCCS    Operating           0502    6/2/2020         24088        Fisse Graphics                                        Student activities                                                                  $      655.78
SCCS    Operating           0502    6/2/2020         24089        Pitney Bowes Purchase Power                           Administration Expenses                                                             $      153.73
SCCS    Operating           0502    6/2/2020         24090        Proforma                                              Student activities                                                                  $    2,182.64
SCCS    Operating           0502    6/2/2020         24091        Stix Bat Company                                      Student activities                                                                  $      975.00
SCCS    Operating           0502    6/2/2020         24093        Universal Cheer Association                           Student activities                                                                  $    2,600.00
SCCS    Operating           0502    6/2/2020      ACH060220       Elevon                                                Development & Marketing                                                             $       87.31
SCCS    Operating           0502    6/9/2020         24094        Apple, Inc. 864214                                    Repiars ‐ Technology                                                                $      591.00
SCCS    Operating           0502    6/9/2020         24095        Balfour New Orleans, LLC                              Student activities                                                                  $    3,214.05
SCCS    Operating           0502    6/9/2020         24096        Bloomerang, LLC                                       Development & Marketing                                                             $    2,388.00
SCCS    Operating           0502    6/9/2020         24097        Cool Concepts                                         Student activities                                                                  $      280.83
SCCS    Operating           0502    6/9/2020         24098        Dynamic Audio Video                                   Graduation expenses                                                                 $    1,250.00
SCCS    Operating           0502    6/9/2020         24099        Fisher's Ace Hardware, Inc.                           Repairs & Maint., Ground upkeep                                                     $       29.54
SCCS    Operating           0502    6/9/2020         24100        Geo Surfaces                                          Student activities                                                                  $    1,500.00
SCCS    Operating           0502    6/9/2020         24101        L'Observateur                                         Development & Marketing                                                             $      299.00
SCCS    Operating           0502    6/9/2020         24102        Office Depot                                          Administration Expenses                                                             $      267.76
SCCS    Operating           0502    6/9/2020         24103        Ruhr Valley Publishing, Inc.                          Development & Marketing                                                             $      350.00
SCCS    Operating           0502    6/9/2020         24104        Superior Office Products Inc                          Administration Expenses                                                             $      253.41
SCCS    Operating           0502    6/9/2020         24105        The University of Alabama                             Instructional expenses                                                              $      650.00
SCCS    Operating           0502    6/9/2020         24106        True Value Rental                                     Graduation expenses                                                                 $    1,024.00
SCCS    Operating           0502    6/9/2020      Bank debit      First American Bank                                   Stop payment charges                                                                $      320.00
SCCS    Operating           0502   6/10/2020      ACH061020       SCRIP                                                 Student activities                                                                  $    2,185.70
SCCS    Operating           0502   6/11/2020      ACH061120       Intuit Checks & Supplies                              Administration Expenses                                                             $      231.98
SCCS    Operating           0502   6/15/2020         24107        VISA                                                  Payment on statement balance @ 5‐31‐20                                              $    1,274.22
SCCS    Operating           0502   6/17/2020         24109        Economical Janitorial & Paper Supplies                Plant upkeep                                                                        $      872.24
SCCS    Operating           0502   6/17/2020         24110        Xerox Financial Services                              Administration/Instructional Expenses                                               $    1,370.15
SCCS    Operating           0502   6/17/2020         24113        Waguespack Oil Co., Inc.                              Ground                                                                              $      164.52
SCCS    Operating           0502   6/17/2020         24111        Louisiana Lift and Equipment, Inc.                    Graduation expenses                                                                 $      375.17
SCCS    Operating           0502   6/18/2020         24122        Gem Drugs                                             Administration Expenses                                                             $      142.61
SCCS    Operating           0502   6/18/2020         24131        Fisher's Ace Hardware, Inc.                           Plant upkeep                                                                        $      128.80
SCCS    Operating           0502   6/18/2020         24129        Coca Cola Bottling Company United 2702                Graduation expenses                                                                 $      116.57
SCCS    Operating           0502   6/18/2020         24132        The Church Supply House                               Student services                                                                    $      105.44
SCCS    Operating           0502   6/18/2020         24130        Curtis Environmental Services, Inc.                   Plant upkeep                                                                        $      160.00
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SCCS   Operating                    0502   6/18/2020        24118            Elite Affairs Event Rentals                      Graduation expenses                                                                 $       651.61
SCCS   Operating                    0502   6/18/2020        24134            Tri‐Parish Trophies                              Graduation expenses                                                                 $     1,563.21
SCCS   Operating                    0502   6/18/2020        24133            The Recognition Company                          Student activities                                                                  $     2,114.81
SCCS   Operating                    0502   6/18/2020        24135            True Value Rental                                Graduation expenses                                                                 $       198.20
SCCS   Operating                    0502   6/18/2020     ACH061820           SCRIP                                            Student activities                                                                  $       678.00
SCCS   Operating                    0502   6/23/2020     ACH062320           SCRIP                                            Student activities                                                                  $       518.20
SCCS   Operating                    0502   6/24/2020        25061            Madere Ventures, LLC                             Instructional Technology Expenses                                                   $     2,781.70
SCCS   Operating                    0502   6/30/2020        25078            The Decor Shoppe                                 Building & Improvements                                                             $     5,811.25
SCCS   Operating                    0502   6/30/2020        25079            Tri‐Parish Trophies                              Student activities                                                                  $        47.16
SCCS   Operating                    0502   6/30/2020        25075            Seruntine Refrigeration Service, Inc             Plant upkeep                                                                        $     4,775.00
SCCS   Operating                    0502   6/30/2020        25076            St. Charles Printing                             Student activities                                                                  $       641.11
SCCS   Operating                    0502   6/30/2020        25073            Pitney Bowes Purchase Power                      Administration Expenses                                                             $       411.12
SCCS   Operating                    0502   6/30/2020        25074            Sensalert Security Services                      Administration Expenses                                                             $       400.00
SCCS   Operating                    0502   6/30/2020        25070            Fisher's Ace Hardware, Inc.                      Plant upkeep                                                                        $       308.71
SCCS   Operating                    0502   6/30/2020        25072            Matherne's Supermarket                           Development & Marketing                                                             $       174.46
SCCS   Operating                    0502   6/30/2020        25069            Fastsigns of St. Charles                         Student activities                                                                  $       164.18
SCCS   Operating                    0502   6/30/2020        25081            Madere Ventures, LLC ‐ Other                     Reimburse for technology supplies                                                   $        72.69
SCCS   Operating                    0502   6/30/2020        25067            College Board                                    Testing expenses                                                                    $     4,930.00
SCCS   QB Club                      7036    6/1/2020   Debit transaction     Shell                                            Student activities                                                                  $        18.95
SCCS   QB Club                      7036   6/12/2020   Debit transaction     Fisher's Ace                                     Student activities                                                                  $        62.83
SCCS   QB Club                      7036   6/14/2020   Debit transaction     Home Depot                                       Student activities                                                                  $        54.21
SCCS   QB Club                      7036   6/14/2020         4512            State of LA                                      Student activities                                                                  $        12.00
SCCS   Payroll (PPP)                5678    6/1/2020         1018            Gallagher Benefit Services                       Payroll ‐ Health Insurance                                                          $    21,995.07
SCCS   Payroll (PPP)                5678    6/1/2020         1019            Guardian                                         Payroll ‐ Health Insurance                                                          $     1,265.47
SCCS   Payroll (PPP)                5678    6/2/2020         1020            Pan American Life Ins. Co.                       Payroll ‐ Health Insurance                                                          $       127.80
SCCS   Payroll (PPP)                5678    6/2/2020         1021            Reliastar Life Insurance Co. of New York         Employee Cancer Insurance (P/R)                                                     $        30.12
SCCS   Payroll (PPP)                5678   6/12/2020         1022            Entergy                                          Electricity service (Utilities)                                                     $     6,144.80
SCCS   Payroll (PPP)                5678   6/12/2020         1025            Waste Management of Louisiana, LLC               Dumpster service (Utilities)                                                        $        97.00
SCCS   Payroll (PPP)                5678   6/12/2020         1024            Reserve Telecommunications                       Telephone service (Utilities)                                                       $       275.21
SCCS   Payroll (PPP)                5678   6/12/2020         1023            Nextel ‐ Sprint                                  Cell phone service (Utilities)                                                      $       116.54
SCCS   Payroll (PPP)                5678   6/17/2020         1027            St. John the Baptist Parish Utilities            Water, Sewage service (Utilities)                                                   $       149.10
SCCS   Payroll (PPP)                5678   6/17/2020         1026            Reliastar Life Insurance Co. of New York         Employee Cancer Insurance (P/R)                                                     $        30.12
SCCS   Payroll (PPP)                5678   6/17/2020      ACH Debit          Primepay                                         Payroll                                                                             $       143.22
SCCS   Payroll (PPP)                5678   6/18/2020      ACH Debit          Primepay                                         Payroll                                                                             $   115,939.68
SCCS   Payroll (PPP)                5678   6/18/2020      ACH Debit          Primepay                                         Payroll                                                                             $    45,595.51
SCCS   Payroll (PPP)                5678   6/18/2020      ACH Debit          Primepay                                         Payroll                                                                             $    21,920.99
SCCS   Payroll (PPP)                5678   6/18/2020      ACH Debit          Primepay                                         Payroll                                                                             $     3,206.25
SCCS   Payroll (PPP)                5678   6/30/2020     Bank Debit          First Bank & Trust                               Bank Service Charge                                                                 $         2.57
SLC    Operating Account            3736   6/7/2020          5478                                                             Reimbursement for Laundry                                                           $        13.49
SLC    Operating Account            9250   6/30/2020        33291                                                             Salary ‐ business & communication director                                          $       270.00
SLC    Operating Account            9250   6/30/2020        33290                                                             Janitorial services                                                                 $       375.00
SLC    Operating Account            9250   6/30/2020        33289                                                             Automobile & Business Expenses                                                      $       175.00
SLC    Operating Account            9250   6/30/2020        33288                                                             Automobile & Business Expenses                                                      $       175.00
SLC    Operating Account            9250   6/30/2020        33287                                                             Automobile & Business Expenses                                                      $       600.00
SLC    Operating Account            9250   6/26/2020        33281                                                             Salary ‐ business & communication director                                          $       270.00
SLC    Operating Account            9250   6/26/2020        33280                                                             Janitorial services                                                                 $       375.00
SLC    Operating Account            9250   6/26/2020        33279                                                             Church Security Masses                                                              $       350.00
SLC    Operating Account            9250   6/26/2020        33273                                                             reimbursement ‐ Household Expenses                                                  $       113.40
SLC    Operating Account            9250   6/25/2020        33272                                                             reimbursement ‐ Household Expenses                                                  $        64.13
SLC    Operating Account            9250   6/24/2020        33271                                                             reimbursement ‐ Household Expenses                                                  $        80.52
SLC    Operating Account            9250   6/19/2020        33270                                                             Salary ‐ business & communication director                                          $       270.00
SLC    Operating Account            9250   6/19/2020        33269                                                             reimbursement ‐ Household Expenses                                                  $        47.96
SLC    Operating Account            9250   6/19/2020        33265                                                             Household expenses                                                                  $       175.75
SLC    Operating Account            9250   6/18/2020        33264                                                             Reimbursement‐ Appreciation Dinner/Reception                                        $       139.20
SLC    Operating Account            9250   6/18/2020        33263                                                             reimbursement ‐ Household Expenses                                                  $        74.94
SLC    Operating Account            9250   6/17/2020        33262                                                             Janitorial services                                                                 $       375.00
SLC    Operating Account            9250   6/17/2020        33261                                                             reimbursement ‐ Household Expenses                                                  $        27.50
SLC    Operating Account            9250   6/16/2020        33260                                                             reimbursement ‐ Household Expenses                                                  $        25.61
SLC    Operating Account            9250   6/12/2020        33258                                                             reimbursement ‐ Household Expenses                                                  $        60.05
SLC    Operating Account            9250   6/12/2020        33249                                                             reimbursement ‐ Household Expenses                                                  $        33.05
SLC    Operating Account            9250   6/12/2020        33247                                                             Janitorial services                                                                 $       375.00
SLC    Operating Account            9250   6/7/2020         33245                                                             contract labor ‐ extra priests                                                      $       325.00
SLC    Operating Account            9250   6/7/2020         33242                                                             contract labor ‐ part time sacristan                                                $       500.00
SLC    Operating Account            9250   6/4/2020         33237                                                             Church security masses                                                              $       160.00
SLC    Operating Account            9250   6/4/2020         33236                                                             Church security masses                                                              $       440.00
SLC    Operating Account            9250   6/4/2020         33235                                                             Church security masses                                                              $       550.00
SLC    Operating Account            9250   6/3/2020         33229                                                             Other Salary ‐ Cantors                                                              $       250.00
SLC    Operating Account            9250   6/3/2020         33228                                                             Other Salary ‐ Cantors; Contract Labor ‐ organists, musicians                       $       600.00
SLC    Operating Account            9250   6/3/2020         33223                                                             Automobile & Business Expenses                                                      $       600.00
SLC    Operating Account            9250   6/3/2020         33222                                                             Automobile & Business Expenses                                                      $       175.00
SLC    Operating Account            9250   6/3/2020         33221                                                             Automobile & Business Expenses                                                      $       175.00
SLC    Operating Account            9250   6/3/2020         33219                                                             Janitorial Services                                                                 $       375.00
SLC    Operating Account            3736   6/4/2020          5471            St. Louis Cathedral                              May Payroll Reimbursement                                                           $    10,813.13   X
SLC    Cambone Account              3604   6/4/2020          3261            St. Louis Cathedral                              Payroll Reimbursement May 2020                                                      $     8,066.89   X
SLC    Operating Account            3736   6/26/2020         5489            Archdiocese of New Orleans                       Computer Expense                                                                    $       200.00   Y
SLC    Operating Account            3736   6/4/2020          5475            Archdiocese of New Orleans                       Other contracts                                                                     $       200.00   Y
SLC    Operating Account            9250   6/19/2020        33268            Archdiocese of New Orleans                       2nd Collection ‐ Collection for Military                                            $       955.00   Y
SLC    Operating Account            9250   6/19/2020        33267            Archdiocese of New Orleans                       2nd Collection ‐ Peter's Pence Collection 5/31/20                                   $       369.00   Y
SLC    Operating Account            9250   6/19/2020        33266            Archdiocese of New Orleans                       2nd Collection ‐ Catholic Charities Collection 2/9/20                               $     2,232.00   Y
SLC    Operating Account            9250   6/3/2020         33224            Archdiocese of New Orleans                       Monthly Assessment ‐ June 2020                                                      $    10,128.83   Y
SLC    Operating Account            3736   6/30/2020         5494            AT&T                                             Computer Expense                                                                    $        40.00
SLC    Operating Account            3736   6/30/2020         5493            AT&T Mobility                                    Telephone                                                                           $       344.08
SLC    Operating Account            3736   6/26/2020         5492            Cox Communications                               Cox Cable                                                                           $       434.00
SLC    Operating Account            3736   6/26/2020         5491            Entergy                                          Electric                                                                            $       167.99
SLC    Operating Account            3736   6/26/2020         5490            Fire Extinguisher and Supply Co., Inc.           Catholic Cultural Center‐Annual MaintenanceSt. Ann Building ‐ Annual Maintenance    $       723.87
SLC    Operating Account            3736   6/12/2020         5488            Entergy                                          Electric                                                                            $       519.07
SLC    Operating Account            3736   6/12/2020         5487            Sewerage and Water Board of New Orleans          Water                                                                               $        47.41
SLC    Operating Account            3736   6/12/2020         5486            Sewerage and Water Board of New Orleans          Water                                                                               $        53.33
SLC    Operating Account            3736   6/12/2020         5485            Entergy                                          Electric                                                                            $       209.94
SLC    Operating Account            3736   6/12/2020         5484            Entergy                                          Electric                                                                            $        21.77
SLC    Operating Account            3736   6/12/2020         5483            A & L Sales                                      Janitorial Supplies                                                                 $       146.43
SLC    Operating Account            3736   6/8/2020          5482            Capital One N.A.                                 Extraordinary repairs; laundry & linen                                              $       437.09
SLC    Operating Account            3736   6/7/2020          5481            Cox Communications                               Cox Cable                                                                           $       217.06
SLC    Operating Account            3736   6/4/2020          5477            Cox Communications                               Cox Cable                                                                           $       219.10
SLC    Operating Account            3736   6/4/2020          5476            Sonitrol                                         Contracted Services                                                                 $     1,017.00
SLC    Operating Account            3736   6/4/2020          5474            Hunt Telecom                                     Telephone                                                                           $       736.74
SLC    Operating Account            3736   6/4/2020          5473            Southern Services, LLC                           Lawn & Garden                                                                       $       700.00
SLC    Operating Account            3736   6/4/2020          5472            Southern Services, LLC                           Lawn & Garden                                                                       $       700.00
SLC    Operating Account            9250   6/30/2020        33286            Gallagher Benefit Service                        Health Insurance                                                                    $     6,360.87
SLC    Operating Account            9250   6/30/2020        33285            Guillory Sheet Metal                             Repairs ‐ Air Condition and Heating                                                 $       683.00
SLC    Operating Account            9250   6/30/2020        33284            Cox Communications                               Cable                                                                               $       220.60
SLC    Operating Account            9250   6/30/2020        33283            Guillory Sheet Metal                             Repairs ‐ Air Condition and Heating                                                 $       740.00
SLC    Operating Account            9250   6/30/2020        33282            Sonitrol of New Orleans, Inc.                    Alarm monitoring                                                                    $       237.00
SLC    Operating Account            9250   6/30/2020          889                                                             Chargeback stop pay                                                                 $       100.00
SLC    Operating Account            9250   6/30/2020          889                                                             Chargeback stop pay                                                                 $        25.00
SLC    Operating Account            9250   6/30/2020          889                                                             Chargeback NSF                                                                      $       600.00
SLC    Operating Account            9250   6/30/2020          889                                                             Chargeback NSF                                                                      $        50.00
SLC    Operating Account            9250   6/30/2020          889                                                             Bank Charges                                                                        $        56.07
SLC    Operating Account            9250   6/30/2020          888            Payroll                                          May Payroll                                                                         $    24,676.94
SLC    Operating Account            9250   6/30/2020          888            Payroll                                          May Payroll                                                                         $     9,175.78
SLC    Operating Account            9250   6/30/2020          888            Payroll                                          May Payroll                                                                         $     3,884.43
SLC    Operating Account            9250   6/30/2020          888            Payroll                                          May Payroll                                                                         $       667.80
SLC    Operating Account            9250   6/30/2020          888            Payroll                                          May Payroll                                                                         $        64.17
SLC    Operating Account            9250   6/26/2020        33278            Sewerage & Water Board of New Orleans            Water                                                                               $       271.57
SLC    Operating Account            9250   6/26/2020        33277            Entergy                                          Electric                                                                            $       284.11
SLC    Operating Account            9250   6/26/2020        33276            Entergy                                          Electric                                                                            $        19.40
SLC    Operating Account            9250   6/26/2020        33275            Entergy                                          Electric                                                                            $        30.17
SLC    Operating Account            9250   6/26/2020        33274            Gulf Coast Office Products                       Office Contracts                                                                    $        28.74
SLC    Operating Account            9250   6/12/2020        33259            Fire Extinquisher and Supply Co., Inc.           Permit & Insepctions ‐ Extinguisher inspections Cathedral and Rectory               $       490.12
SLC    Operating Account            9250   6/12/2020        33257            Light Bulb Depot                                 Janitorial supplies                                                                 $        19.70
SLC    Operating Account            9250   6/12/2020        33256            Loomis                                           Office Contracts                                                                    $       270.85
SLC    Operating Account            9250   6/12/2020        33255            Our Sunday Visitor, Inc.                         Collection envenlopes                                                               $       171.59
SLC    Operating Account            9250   6/12/2020        33254            Sam's Club                                       Household expenses                                                                  $       223.61
SLC    Operating Account            9250   6/12/2020        33253            Entergy                                          Electric                                                                            $       646.40
SLC    Operating Account            9250   6/12/2020        33252            Entergy                                          Electric                                                                            $     2,491.68
SLC    Operating Account            9250   6/12/2020        33251            Sewerage & Water Board of New Orleans            Water                                                                               $        47.52
SLC    Operating Account            9250   6/12/2020        33250            Nashville Chemical                               Janitorial Supplies Unifirst                                                        $       216.24
SLC    Operating Account            9250   6/12/2020        33248            Sewerage & Water Board of New Orleans            water                                                                               $       103.91
SLC    Operating Account            9250   6/8/2020         33246            Capital One, N.A                                 Household expenses; sanctuary supplies; parish fellowship; auto & business expens   $       911.50
SLC    Operating Account            9250   6/7/2020         33244            Gallagher Benefit Service                        Health Insurance                                                                    $     5,700.89
SLC    Operating Account            9250   6/7/2020         33243            Josephite Community                              contract labor ‐ extra priests                                                      $       300.00
SLC    Operating Account            9250   6/4/2020         33241            Gulf Coast Office Products                       Office Contracts                                                                    $        52.25
SLC    Operating Account            9250   6/4/2020         33240            The Guardian Life Insurance Company of America   Health Insurance                                                                    $       285.12
SLC    Operating Account            9250   6/4/2020         33239            Sonitrol of New Orleans, Inc.                    Alarm monitoring                                                                    $       237.00
SLC    Operating Account            9250   6/4/2020         33238            Heritage Electrical Co. Inc.                     Repairs on 2nd and 3rd Floors/fixtures                                              $       172.00
SLC    Operating Account            9250   6/3/2020         33234            JW Pepper                                        Classical concert expense; church music program                                     $       812.93
SLC    Operating Account            9250   6/3/2020         33233            CompuCast                                        Website Maintenance                                                                 $         5.00
SLC    Operating Account            9250   6/3/2020         33232            Clarion Herald                                   Clarion Herald Subscription                                                         $       541.23
SLC    Operating Account            9250   6/3/2020         33231            Nu‐Lite                                          Replacement of Equipment                                                            $       229.81
SLC    Operating Account            9250   6/3/2020         33230            New Orleans Children's Chorus                    Rentals ‐ Chruch ‐ Refund ‐ Concert cancelled due to Coronavirus pandemic           $     5,000.00
SLC    Operating Account            9250   6/3/2020         33227            US Bank                                          Office Contracts                                                                    $       259.99
SLC    Operating Account            9250   6/3/2020         33226            Waste Connections Bayou, INC                     Janitorial Supplies                                                                 $       610.58
SLC    Operating Account            9250   6/3/2020         33225            Kentwood Spring Water                            Household expenses                                                                  $       277.63
SLC    St. Anthony Garden Account   3744   6/4/2020          1244            NOLA+Design, Inc                                 Landscape                                                                           $     1,245.83
SLC    Souvenir Shop Account        3728   6/18/2020         4688            Goldscheider of VIenna                           Product Purchases Gift Shop                                                         $     1,757.73
SLC    Souvenir Shop Account        3728   6/18/2020         4687            Louisiana Department of Revenue                  Sales Tax                                                                           $        40.00
SLC    Souvenir Shop Account        3728   6/18/2020         4686            City of New Orleans Department of Finance        Sales Tax                                                                           $        45.00
SLC    Souvenir Shop Account        3728   6/5/2020          4685            Capital One, N.A                                 Product Purchases Gift Shop; postage                                                $     2,629.10
SLC    Souvenir Shop Account        3728   6/5/2020                          Mercury Payment Systems                          Bank charges                                                                        $       158.29
SLC    Souvenir Shop Account        3728   6/5/2020                          Mercury Payment Systems                          Bank charges                                                                        $       134.80
SLC    Souvenir Shop Account        3728   6/4/2020          4684            Christian Brands                                 Product Purchases Gift Shop                                                         $     5,576.79
SLC    Souvenir Shop Account        3728   6/4/2020          4683            Ganz USA, LLC                                    Product Purchases Gift Shop                                                         $     2,825.00
SLC    Souvenir Shop Account        3728   6/4/2020          4682            McVan, Inc                                       Product Purchases Gift Shop                                                         $       133.50
SMSS   Operating Account            3693   6/4/2020          57507                                                            voided                                                                              $          ‐
SMSS   Operating Account            3693   6/4/2020          57312                                                            voided                                                                              $          ‐
SMSS   Operating Account            3693   6/10/2020         57314                                                            Development Supplies                                                                $       102.77
SMSS   Operating Account            3693   6/10/2020         57316                                                            Classroom Supplies                                                                  $       134.78
SMSS   Operating Account            3693   6/10/2020         57317                                                            Refund student tuition                                                              $       154.56
SMSS   Operating Account            3693   6/10/2020         57322                                                            Refund student tuition                                                              $       309.02
SMSS   Operating Account            3693   6/17/2020         57329                                                            Other instructional expense bells                                                   $        45.96
SMSS   Operating Account            3693   6/23/2020         57509                                                            Refund student tuition                                                              $       250.00
SMSS   Operating Account            3693   6/23/2020         57507                                                            Other instructional expense                                                         $        43.08
SMSS   Operating Account            3693   6/23/2020         57506                                                            Refund student tuition                                                              $       271.00
SMSS   Operating Account            3693   6/23/2020         57505                                                            Refund student tuition                                                              $     2,682.50
SMSS   Operating Account            3693   6/23/2020         57502                                                            Refund student tuition                                                              $        50.00
SMSS   Operating Account            3693   6/23/2020         57501                                                            Refund student tuition                                                              $     2,246.50
SMSS   Operating Account            3693   6/27/2020         57516                                                            Administrative Supplies                                                             $       131.47
SMSS   Operating Account            3693   6/27/2020         57513                                                            voided                                                                              $          ‐
SMSS   Operating Account            3693   6/27/2020   Transfer to Payroll   First Bank                                       Transfer to Payroll                                                                 $       133.19   X
SMSS   Operating Account            3693   6/27/2020   Transfer to Payroll   First Bank                                       Transfer to Payroll                                                                 $   128,996.74   X
SMSS   Operating Account            3693   6/27/2020   Transfer to Payroll   First Bank                                       Transfer to Payroll                                                                 $    13,142.99   X
SMSS   Operating Account            3693   6/27/2020   Transfer to Payroll   First Bank                                       Transfer to Payroll                                                                 $         5.00   X
SMSS   Money Market Account         9129   6/5/2020          SMSS            SMSS                                             Transfer to Operating                                                               $    10,500.00   X
SMSS   Money Market Account         9129   6/10/2020         SMSS            SMSS                                             Transfer to Operating                                                               $     4,800.00   X
SMSS   Money Market Account         9129   6/15/2020         SMSS            SMSS                                             Transfer to Operating                                                               $   142,200.00   X
SMSS   Money Market Account         9129   6/17/2020         SMSS            SMSS                                             Transfer to Operating                                                               $     8,000.00   X
SMSS   Money Market Account         9129   6/23/2020         SMSS            SMSS                                             Transfer to Operating                                                               $    14,000.00   X
SMSS   Money Market Account         9129   6/27/2020         SMSS            SMSS                                             Transfer to Operating                                                               $   105,000.00   X
SMSS   Operating Account            3693   6/4/2020          57313           ARCHDIOCESE OF N.O. Insurance                    Casualty Insurance                                                                  $     7,334.00   Y
SMSS   Operating Account            3693   6/27/2020         57518           THE CATHOLIC FOUNDATION                          Move money to endowment                                                             $   103,265.00   Y
SMSS   Operating Account            3693   6/4/2020          57309           SUMMIT INTEGRATION SYSTEMS                       Smart Boards                                                                        $     2,597.00
SMSS   Operating Account            3693   6/4/2020          57308           RIVER PARISH DISPOSAL, INC.                      Trash Pickup                                                                        $        90.00
SMSS   Operating Account            3693   6/4/2020          57310           Hunt Telecom                                     Telephone                                                                           $        67.26
SMSS   Operating Account            3693   6/4/2020          57311           ENTERGY                                          Utilities Electric                                                                  $        36.33
SMSS   Operating Account            3693   6/10/2020         57315           GULF COAST BANK & TRUST MASTERCARD               Other Instructional Expense                                                         $       419.39
SMSS   Operating Account            3693   6/10/2020         57318           SEWERAGE & WATER BOARD                           Utilities Water                                                                     $     1,105.30
SMSS   Operating Account            3693   6/10/2020         57319           Kelley & Abide                                   Other Instructional Expense                                                         $     1,464.48
SMSS   Operating Account            3693   6/10/2020         57320           Jani‐King of New Orleans                         Cleaning services                                                                   $       750.00
SMSS   Operating Account            3693   6/10/2020         57321           COX COMMUNICATIONS                               Utilities Internet                                                                  $        23.34
SMSS   Operating Account            3693   6/10/2020         57323           A CUT ABOVE                                      Gardening                                                                           $       425.00
SMSS   Operating Account            3693   6/17/2020         57324           SOS Technologies                                 Plant maintenance                                                                   $       170.00
SMSS   Operating Account            3693   6/17/2020         57325           School Datebooks Inc                             Textbooks                                                                           $       235.46
SMSS   Operating Account            3693   6/17/2020         57326           PRIORITY SYSTEMS, INC.                           Plant maintenance                                                                   $       460.96
SMSS   Operating Account            3693   6/17/2020         57327           N2y LLC                                          Textbooks                                                                           $       874.72
SMSS   Operating Account            3693   6/17/2020         57328           MPRESS                                           Development supplies                                                                $     1,740.73
SMSS   Operating Account            3693   6/17/2020         57330           EDGENUITY, INC.                                  Computer software                                                                   $     1,710.00
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SMSS   Operating Account                              3693   6/17/2020          57331         COUNCIL FOR EXCEPTIONAL CHILDREN            Memberships                                                                       $           220.00
SMSS   Operating Account                              3693   6/17/2020          57332         Attainment Company                          Textbooks                                                                         $         2,091.76
SMSS   Operating Account                              3693   6/18/2020      Clearant Fees     Clearant                                    Bank Fees                                                                         $           173.79
SMSS   Operating Account                              3693   6/18/2020   Stop Payment Fee     First Bank                                  Bank Fees                                                                         $            64.00
SMSS   Operating Account                              3693   6/18/2020       Check order      First Bank                                  Accounting and Legal                                                              $           489.21
SMSS   Operating Account                              3693   6/23/2020          57512         Attainment Company                          Textbooks                                                                         $           139.00
SMSS   Operating Account                              3693   6/23/2020          57511         YEAR ROUND HEATING & A/C                    Minor plant maintenance                                                           $           600.00
SMSS   Operating Account                              3693   6/23/2020          57510         William H. Sadlier Inc                      Textbooks                                                                         $         3,319.37
SMSS   Operating Account                              3693   6/23/2020          57508         SOS Technologies                            Plant maintenance                                                                 $           170.00
SMSS   Operating Account                              3693   6/23/2020          57504         Jani‐King of New Orleans                    Cleaning services                                                                 $         1,500.00
SMSS   Operating Account                              3693   6/23/2020          57503         Jackson Container & Trailer Rental, Inc.    Storage                                                                           $            86.47
SMSS   Operating Account                              3693   6/23/2020          57500         Curriculum Associates LLC                   Textbooks                                                                         $         2,250.00
SMSS   Operating Account                              3693   6/27/2020          57517         ENTERGY                                     Utilities ‐ Electric                                                              $         1,424.35
SMSS   Operating Account                              3693   6/27/2020          57515         THE CATHOLIC FOUNDATION                     voided                                                                            $              ‐
SMSS   Operating Account                              3693   6/27/2020          57514         ENTERGY                                     voided                                                                            $              ‐
SMSS   Operating Account                              3693   6/30/2020     Service Charge     First Bank                                  Service Charge                                                                    $            14.66
SMSS   Money Market Account                           9129   6/30/2020        First Bank      First Bank                                  Bank Fees                                                                         $            10.00
SMSS   Money Market Account                           9129   6/30/2020        First Bank      First Bank                                  Bank Fees                                                                         $            41.54
SMSS   Payroll Account                                9602   6/30/2020      Bank Charges      First Bank                                  Bank Charges                                                                      $             5.00
                                                                         Payroll Processing
SMSS   Payroll Account                                9602   6/27/2020            Fee         Prime Pay                                   Payroll Processing Fee                                                            $          133.19
SMSS   Payroll Account                                9602   6/27/2020        Bentrust        Prime Pay                                   Bentrust                                                                          $        2,356.72
SMSS   Payroll Account                                9602   6/27/2020          401(K)        Prime Pay                                   401(K)                                                                            $       10,786.27
                                                                             Employer &
SMSS   Payroll Account                                9602   6/27/2020    Employee Taxes      Prime Pay                                   Employer & Employee Taxes                                                          $      32,654.43
SMSS   Payroll Account                                9602   6/27/2020       Net Payroll      Prime Pay                                   Net Payroll Deposits                                                               $      96,342.31
SMSS   Capital Funds                                  1509   6/30/2020                        Whitney                                     service charges                                                                    $           3.00
SSA    Operating Account                              3065   6/10/2020          16584                                                     EE Reimbursement, Utilties, Cell Ph                                                $         150.00    *
SSA    Operating Account                              3065   6/25/2020          16621                                                     Pre‐Petition, Summer Camp refund                                                   $         100.00    *
SSA    Operating Account                              3065   6/25/2020          16626                                                     Pre‐Petition, Summer Camp refund                                                   $         175.00    *
SSA    Operating Account                              3065   6/25/2020          16627                                                     Pre‐Petition, Summer Camp refund                                                   $         350.00    *
SSA    Operating Account                              3065   6/18/2020   online BBMS refund                                               SOAR SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION appr $                125.00    *
SSA    Operating Account                              3065   6/18/2020   online BBMS refund                                               SOAR SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION appr $                125.00    *
SSA    Operating Account                              3065   6/18/2020   online BBMS refund                                               SOAR SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION appr $                125.00    *
SSA    Operating Account                              3065   6/18/2020   online BBMS refund                                               SOAR SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION appr $                125.00    *
SSA    Operating Account                              3065   6/18/2020   online BBMS refund                                               SOAR SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION appr $                125.00    *
SSA    Operating Account                              3065   6/18/2020   online BBMS refund                                               SOAR SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION appr $                250.00    *
SSA    Operating Account                              3065   6/23/2020   online BBMS refund                                               SummerCamp REFUND (In‐Transit) of prior CKS or Online Card Pymts, PRE‐PETITION $             175.00    *
SSA    Operating Account                              3065   6/22/2020   online BBMS refund                                               SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION approved, $                325.00    *
SSA    Operating Account                              3065   6/18/2020   online BBMS refund                                               SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION approved, $                175.00    *
SSA    Operating Account                              3065   6/22/2020   online BBMS refund                                               SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION approved, $                175.00    *
SSA    Operating Account                              3065   6/22/2020   online BBMS refund                                               SummerCamp REFUND of prior CKS or Online Card Pymts, PRE‐PETITION approved, $                175.00    *
SSA    Operating Account                              3065   6/10/2020          16589                                                     EE Reimbursement, Instructional & Cell Ph                                          $         229.90    *
SSA    Operating Account                              3065   6/10/2020          16589                                                     EE Reimbursement, Instructional & Cell Ph                                          $          75.00
SSA    Operating Account                              3065   6/10/2020          16578                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00
SSA    Operating Account                              3065   6/10/2020          16578                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00    *
SSA    Operating Account                              3065   6/10/2020          16585                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00
SSA    Operating Account                              3065   6/10/2020          16585                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00    *
SSA    Operating Account                              3065   6/3/2020           16554                                                     Agency Dance Payables                                                              $         200.00
SSA    Operating Account                              3065   6/3/2020           16560                                                     Agency Dance Payables                                                              $         150.00
SSA    Operating Account                              3065   6/3/2020           16561                                                     Agency Dance Payables                                                              $         150.00
SSA    Operating Account                              3065   6/4/2020           16567                                                     Agency Dance Payables                                                              $         150.00
SSA    Operating Account                              3065   6/5/2020           16572                                                     Tuition & Fees Refund ck voided, student remaining at SSA                          $            ‐
SSA    Operating Account                              3065   6/10/2020          16577                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00
SSA    Operating Account                              3065   6/10/2020          16583                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00
SSA    Operating Account                              3065   6/18/2020          16604                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00
SSA    Operating Account                              3065   6/25/2020          16620                                                     Administrative Exp                                                                 $         120.00
SSA    Operating Account                              3065   6/25/2020          16625                                                     EE Reimbursement, Utilties, Cell Ph                                                $          75.00
SSA    Operating Account                              3065   6/25/2020          16628                                                     Student Services, CDL Medical                                                      $          80.00
SSA    Operating Account                              3065   6/25/2020          16631                                                     Instructional Exp, EE reimb                                                        $          74.99
SSA    Operating Account                              3065   6/29/2020          16642                                                     Student Actifities, Athletic                                                       $         444.13
SSA    Operating Account                              3065   6/29/2020          16648                                                     Tuition & Fees Refund, paid twice after 5/1                                        $      10,440.00
SSA    Operating Account                              3065   6/10/2020          16586         Excel LD                                    Pre‐Petition, Plant Utilties                                                       $          40.17    *
SSA    Operating Account                              3065   6/10/2020          16596         Waste Management of St Tammany              Plant Utilities                                                                    $          55.91    *
SSA    Operating Account                              3065   6/23/2020          16615         Home Bank, NA                               Visa Ck voided bef issue b/c had Pre‐Petition charges to break out, see ck # 16616 $            ‐
SSA    Borrower Loan Funds As Custodian for Tuition   0067   6/1/2020          Transfer       ‐‐                                          int transfer to MM acct                                                            $          25.23    X
SSA    Operating Account                              3065   6/29/2020          16645         St Scholastica Academy Parent Club          transfer to CapitalOne PC acct                                                     $       4,164.20    X
SSA    Operating Account                              3065   6/26/2020          16649         St Scholastica Academy Athletic Assoc       transfer to CapitalOne AA acct                                                     $       2,366.42    X
SSA    Operating Account                              3065   6/24/2020           ACH                                                      Transfer to CapitalOne PR acct                                                     $     177,531.51    X
SSA    PPP                                            4366   6/30/2020           ACH          txf                                         txf fr Home Bank PPP to PR Cap1                                                    $      72,468.49    X
SSA    Operating Account                              3065   6/4/2020           16566         Archdiocese of New Orleans {8}              Administrative, fingerprinting                                                     $          58.00    Y
SSA    Operating Account                              3065   6/4/2020           16570         Archdiocese of New Orleans {8}              Administrative, fingerprinting                                                     $          58.00    Y
SSA    Operating Account                              3065   6/4/2020           16571         Archdiocese of New Orleans {8}              Administrative, fingerprinting                                                     $          58.00    Y
SSA    Operating Account                              3065   6/10/2020          16597         Archdiocese of New Orleans {8}              Administrative, fingerprinting                                                     $          58.00    Y
SSA    Operating Account                              3065   6/18/2020          16600         Archdiocese of New Orleans {4}              Instructional Exp, Technology                                                      $         265.00    Y
SSA    Operating Account                              3065   6/18/2020          16601         Archdiocese of New Orleans {8}              Administrative, fingerprinting                                                     $          58.00    Y
SSA    Operating Account                              3065   6/25/2020          16617         Archdiocese of New Orleans (9)              Student Services, Summer Camp Ins                                                  $         187.50    Y
SSA    Operating Account                              3065   6/25/2020          16618         Archdiocese of New Orleans {8}              Administrative, fingerprinting                                                     $          58.00    Y
SSA    Operating Account                              3065   6/30/2020          16650         Archdiocese of New Orleans (7E)             Operations and Maintenance of Plant                                                $         795.56    Y
SSA    St Scholastica Academy Commercial Checking     3106   6/3/2020            4052         The Recognition Company Inc                 Agency, Athletic Plaques                                                           $         416.30
SSA    St Scholastica Academy Commercial Checking     3106   6/25/2020           4053         Uniform A Tee School Apparel                Agency, Student Services                                                           $         550.00
SSA    St Scholastica Academy Commercial Checking     3106   6/25/2020           4054         The Recognition Company Inc                 Agency, State&Distr Banners                                                        $         749.70
SSA    Regular Checking                               6217    6/3/2020           4027         Cupcake Concept                             Instructional & Admin Exp                                                          $         635.90
SSA    Operating Account                              4776   6/15/2020           ACH          Crescent Payroll                            payroll                                                                            $      89,656.20
SSA    Operating Account                              4776   6/15/2020           ACH          Crescent Payroll                            payroll                                                                            $      14,826.37
SSA    Operating Account                              4776   6/30/2020           ACH          Crescent Payroll                            payroll                                                                            $      33,627.14
SSA    Operating Account                              4776   6/30/2020           ACH          Crescent Payroll                            payroll                                                                            $      27,847.47
SSA    Operating Account                              4776   6/30/2020           ACH          Crescent Payroll                            admin                                                                              $         638.00
SSA    Operating Account                              4776   6/30/2020           ACH          Crescent Payroll                            admin                                                                              $          28.50
SSA    Operating Account                              4776   6/30/2020           ACH          Crescent Payroll                            payroll                                                                            $      77,899.66
SSA    Operating Account                              4776   6/30/2020           ACH          Crescent Payroll                            payroll                                                                            $      12,784.55
SSA    Operating Account                              4776   6/30/2020           ACH          Capital One                                 admin                                                                              $           2.42
SSA    Operating Account                              3065   6/3/2020           16548         1000 Bulbs                                  PJs‐Student Activities                                                             $       1,471.51
SSA    Operating Account                              3065   6/3/2020           16549         A&L Sales, Inc                              Operations and Maintenance of Plant                                                $         106.92
SSA    Operating Account                              3065   6/3/2020           16550         Cognia Inc                                  Administrative, Membership                                                         $       1,200.00
SSA    Operating Account                              3065   6/3/2020           16551         CTT LLC                                     Instructional, Web Hosting                                                         $          50.00
SSA    Operating Account                              3065   6/3/2020           16552         Gallagher Benefit Services                  Jun PR Benefits premiums                                                           $       9,890.73
SSA    Operating Account                              3065   6/3/2020           16553         Gallardo Signs & Printing                   Operations and Maintenance of Plant                                                $          36.00
SSA    Operating Account                              3065   6/3/2020           16555         Guardian                                    Jun PR Benefits premiums                                                           $       2,653.08
SSA    Operating Account                              3065   6/3/2020           16556         Guillory's Sheet Metal Works Inc            Operations and Maintenance of Plant                                                $         175.00
SSA    Operating Account                              3065   6/3/2020           16557         North Shore Broadcasting Inc                Development, Graduation Ad                                                         $       1,000.00
SSA    Operating Account                              3065   6/3/2020           16558         Office Depot Business Credit                Administrative Office Supplies                                                     $         153.97
SSA    Operating Account                              3065   6/3/2020           16559         Pan‐American Life Ins Company               PR Benefits                                                                        $          14.80
SSA    Operating Account                              3065   6/3/2020           16562         W T Kentzel Inc                             Admin & Student Activities Exp                                                     $         313.39
SSA    Operating Account                              3065   6/3/2020           16563         Wagner's Landscaping LLC                    Operations and Maintenance of Plant                                                $         600.00
SSA    Operating Account                              3065   6/3/2020           16564         Waste Management of St Tammany              Plant Utilities                                                                    $          91.22
SSA    Operating Account                              3065   6/3/2020           16565         Wesco Gas & Welding Supply, Inc             Development Exp, Fundraising                                                       $          19.88
SSA    Operating Account                              3065   6/4/2020           16568         The Center for Gifted Studies at WKU        Instructional, AP Calc                                                             $         650.00
SSA    Operating Account                              3065   6/4/2020           16569         UT High School‐APSI Program                 Instructional Exp                                                                  $         595.00
SSA    Operating Account                              3065   6/10/2020          16573         A&L Sales, Inc                              Operations and Maintenance of Plant                                                $       1,087.11
SSA    Operating Account                              3065   6/10/2020          16574         A/C Supply Inc                              Operations and Maintenance of Plant                                                $         222.11
SSA    Operating Account                              3065   6/10/2020          16575         Adobe, Inc.                                 Instructional Exp                                                                  $       2,496.00
SSA    Operating Account                              3065   6/10/2020          16576         Blossman Oil Company Inc                    Student Services                                                                   $           9.51
SSA    Operating Account                              3065   6/10/2020          16579         Clarion Herald                              Administrative, Graduation Ad                                                      $         571.00
SSA    Operating Account                              3065   6/10/2020          16580         Cleco                                       Plant Utilities                                                                    $         238.43
SSA    Operating Account                              3065   6/10/2020          16581         Coastal Environmental Services of LA, LLC   Plant Utilities                                                                    $          54.00
SSA    Operating Account                              3065   6/10/2020          16582         Davis Products Company, Inc                 Operations and Maintenance of Plant                                                $         237.69
SSA    Operating Account                              3065   6/10/2020          16587         Gilbride's Aqua Service LLC                 Operations and Maintenance of Plant                                                $         310.00
SSA    Operating Account                              3065   6/10/2020          16588         Home Depot Credit Services                  Operations and Maintenance of Plant                                                $         367.92
SSA    Operating Account                              3065   6/10/2020          16590         Jostens/The Grad Shoppe, Inc.               Student Activities, graduation                                                     $          51.36
SSA    Operating Account                              3065   6/10/2020          16591         Kentwood Spring Water                       Development Exp, Office Supplies                                                   $          12.70
SSA    Operating Account                              3065   6/10/2020          16592         Larry's Hardware Inc                        Operations and Maintenance of Plant                                                $         341.22
SSA    Operating Account                              3065   6/10/2020          16593         Mesalain Consulting Group, LLC              Operations and Plant, Contracted                                                   $       1,225.00
SSA    Operating Account                              3065   6/10/2020          16594         Romaguera Photography                       Agency Sr. Portraits Payables                                                      $         633.36
SSA    Operating Account                              3065   6/10/2020          16595         The Shipping Post                           Development Fundraising                                                            $          60.00
SSA    Operating Account                              3065   6/15/2020          16598         City of Covington (2)                       Plant Utilities                                                                    $          25.00
SSA    Operating Account                              3065   6/18/2020          16602         Canon Solutions America Inc                 Instructional Copy Machine                                                         $          21.19
SSA    Operating Account                              3065   6/18/2020          16603         Capital City Press                          Administrative, Graduation Ad                                                      $       1,440.00
SSA    Operating Account                              3065   6/18/2020          16605         College Board                               Instructional, May AP Exams                                                        $      11,730.00
SSA    Operating Account                              3065   6/18/2020          16606         Davis Products Company, Inc                 Operations and Maintenance of Plant                                                $         679.65
SSA    Operating Account                              3065   6/18/2020          16607         Excel LD                                    Plant Utilities                                                                    $          42.75
SSA    Operating Account                              3065   6/18/2020          16608         Gulf Coast Office Products                  Instructional Copy Machine                                                         $          56.64
SSA    Operating Account                              3065   6/18/2020          16609         Louisiana Landscape Specialty, Inc.         Operations and Plant, Contracted                                                   $       1,990.00
SSA    Operating Account                              3065   6/18/2020          16610         Savvas Learning Company LLC                 Instructional, Math Codes                                                          $      20,120.00
SSA    Operating Account                              3065   6/18/2020          16611         School Datebooks                            Student Activities                                                                 $       3,222.53
SSA    Operating Account                              3065   6/18/2020          16612         St. Tammany Trophies                        Student Activities, awards                                                         $         172.72
SSA    Operating Account                              3065   6/19/2020          16613         St. Tammany Trophies                        Student Activities, awards                                                         $         215.60
SSA    Operating Account                              3065   6/19/2020          16614         Uniform A Tee School Apparel                Student & Alum Services                                                            $         742.00
SSA    Operating Account                              3065   6/23/2020          16616         Home Bank, NA                               Instructional, teacher & graduation                                                $       3,083.76
SSA    Operating Account                              3065   6/25/2020          16619         Atmos Energy Louisiana LGS                  Plant Utilities                                                                    $         234.87
SSA    Operating Account                              3065   6/25/2020          16622         City Of Covington                           Plant Utilities                                                                    $         206.51
SSA    Operating Account                              3065   6/25/2020          16623         Cleco                                       Plant Utilities                                                                    $         210.72
SSA    Operating Account                              3065   6/25/2020          16624         CTT LLC                                     Instructional, Web Hosting                                                         $          50.00
SSA    Operating Account                              3065   6/25/2020          16629         LEAF                                        Instructional Copy Machine                                                         $         450.02
SSA    Operating Account                              3065   6/25/2020          16630         Office Depot Business Credit                Administrative Office Supplies                                                     $          79.33
SSA    Operating Account                              3065   6/29/2020          16632         A&L Sales, Inc                              Operations and Maintenance of Plant                                                $         747.86
SSA    Operating Account                              3065   6/29/2020          16633         AT&T                                        Plant Utilities                                                                    $         759.49
SSA    Operating Account                              3065   6/29/2020          16634         City Of Covington                           Plant Utilities                                                                    $         498.89
SSA    Operating Account                              3065   6/29/2020          16635         Custom Jewelry by Barattini                 Admiinistrative Exp                                                                $          65.00
SSA    Operating Account                              3065   6/29/2020          16636         Davis Products Company, Inc                 Operations and Maintenance of Plant                                                $       1,195.70
SSA    Operating Account                              3065   6/29/2020          16637         Evergreen Tractor & Equipment Inc           Operations and Maintenance of Plant                                                $          19.64
SSA    Operating Account                              3065   6/29/2020          16638         Gallagher Benefit Services                  Prepaids for PR Fringe Benefits                                                    $      38,903.54
SSA    Operating Account                              3065   6/29/2020          16639         General Work Products                       Student Actifities, Athletic                                                       $         299.70
SSA    Operating Account                              3065   6/29/2020          16640         Guillory's Sheet Metal Works Inc            Operations and Maintenance of Plant                                                $       4,047.00
SSA    Operating Account                              3065   6/29/2020          16641         JSR Vetting Service LLC                     Admiinistrative Exp                                                                $         570.00
SSA    Operating Account                              3065   6/29/2020          16643         NAPA AUTO PARTS                             Student Services                                                                   $          15.21
SSA    Operating Account                              3065   6/29/2020          16644         NOLA Coffee Repairs                         Fixed Assets, FF & Equipment                                                       $      12,127.17
SSA    Operating Account                              3065   6/29/2020          16646         Uniform A Tee School Apparel                Student Services                                                                   $         366.00
SSA    Operating Account                              3065   6/29/2020          16647         Waste Management of St Tammany              Plant Utilities                                                                    $         152.91
SSA    Operating Account                              3065   6/30/2020          16651         Docucenter                                  Student Activities, Non‐Athletic                                                   $       1,864.21
SSA    Operating Account                              3065   6/30/2020          16652         Fisher Scientific                           Instructional Expense                                                              $         548.43
SSA    Operating Account                              3065   6/30/2020          16653         Northshore Painting & Home Improvement      Operations and Maintenance of Plant                                                $       5,175.00
SSA    Operating Account                              3065   6/30/2020       bank charge      BBMS                                        Card Processing Fee In‐Transit BBMS                                                $          16.58
SSA    Operating Account                              3065   6/30/2020       bank charge      Home Bank, NA                               Bank Stmt Charge                                                                   $         187.69
SSA    Operating Account                              3065   6/30/2020       bank charge      parent                                      NSF Ck for Tuition & Fees                                                          $       5,220.00
SSA    Operating Account                              3065   6/30/2020       bank charge      parent                                      NSF Ck for Tuition & Fees                                                          $      10,440.00
SSA    PPP                                            4366   6/30/2020           5059         Cleco                                       Cleco, Jun, Acct #210000686787, Billed 5/21/20                                     $         300.92
SSA    PPP                                            4366   6/30/2020           5054         Cleco                                       Cleco, Jun, Acct #210000687140, Billed 5/21/20                                     $         274.72
SSA    PPP                                            4366   6/30/2020           5046         Cleco                                       Cleco, Jun, Acct #200001949573, Billed 5/18/20                                     $         239.27
SSA    PPP                                            4366   6/30/2020           5049         Cleco                                       Cleco, Jun, Acct #200001961362, Billed 5/21/20                                     $         232.87
SSA    PPP                                            4366   6/30/2020           5047         Cleco                                       Cleco, Jun, Acct #200001960109, Billed 5/21/20                                     $         228.50
SSA    PPP                                            4366   6/30/2020           5056         Cleco                                       Cleco, Jun, Acct #210000686985, Billed 5/21/20                                     $         220.56
SSA    PPP                                            4366   6/30/2020           5060         Cleco                                       Cleco, Jun, Acct #210000686761, Billed 5/21/20                                     $         142.62
SSA    PPP                                            4366   6/30/2020           5053         Cleco                                       Cleco, Jun, Acct #200001961099, Billed 5/21/20                                     $         137.94
SSA    PPP                                            4366   6/30/2020           5048         Cleco                                       Cleco, Jun, Acct #200001960794, Billed 5/21/20                                     $         136.26
SSA    PPP                                            4366   6/30/2020           5055         Cleco                                       Cleco, Jun, Acct #210000687124, Billed 5/21/20                                     $          60.17
SSA    PPP                                            4366   6/30/2020           5061         Cleco                                       Cleco, Jun, Acct #210000686746, Billed 5/21/20                                     $          57.89
SSA    PPP                                            4366   6/30/2020           5057         Cleco                                       Cleco, Jun, Acct #210000686928, Billed 5/21/20                                     $          31.97
SSA    PPP                                            4366   6/30/2020           5050         Cleco                                       Cleco, Jun, Acct #200002474811, Billed 5/21/20                                     $          29.61
SSA    PPP                                            4366   6/30/2020           5058         Cleco                                       Cleco, Jun, Acct #210000686902, Billed 5/21/20                                     $          28.40
SSA    PPP                                            4366   6/30/2020           5051         Cleco                                       Cleco, Jun, Acct #200001949797, Billed 5/18/20                                     $          26.32
SSA    PPP                                            4366   6/30/2020           5052         Cleco                                       Cleco, Jun, Acct #200001593405, Billed 5/18/20                                     $          25.91
SSA    PPP                                            4366   6/30/2020        5062, 5063      Gallagher                                   Jun Er‐Paid Health/c Gallagher Invoice Premiums Paid                               $      26,521.49

                                                                                                                                                                                                                            $    33,867,097.28
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Quarterly Fee Summary

Case name                   The Roman Catholic Church of the Archdiocese of New Orleans
Case number                 20‐10846

Month ended:                June 30, 2020

Payment date                Cash Disbursements*            Quarterly Fee Due           Check No.           Date
January
February
March
Total 1st Quarter

April
May                          $     8,899,705.93             $      88,997.06
June                         $    16,698,521.95             $     166,985.22
Total 2nd Quarter                                           $     250,000.00 <A>       <B>                 <B>

July
August
September
Total 3rd Quarter

October
November
December
Total 4th Quarter
                                                      <A> Total Quarterly Fee due for disbursements
                                                          $1,000,000 or more category exceeded
Disbursement Category       Quarterly Fee Due             $250,000 threshold.
$0 to $14,999.99             $               325      <B> Fees above will be paid on‐line prior to 7/31/2020
$15,000 to $74,999.99        $               650
$75,000 to $149,999.99       $               975
$150,000 to $224,999.99      $             1,625
$225,000 to $299,999.99      $             1,950
$300,000 to $999,999.99      $             4,875
$1,000,000 or more          1% of quarterly disbursements or $250,000, whichever is less
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         AP Aging
         AP Aging
         Case name                        The Roman Catholic Church of the Archdiocese of New Orleans
         Case number                      20‐10846

         For Period June 1 to June 31, 2020

                                                                                                                              Post‐Petition Accounts Payable Aging Report

Entity   Type                             Date Incurred                                 Days Outstanding                                 Vendor                             Description                                                      Amount
ACHS     Trade                            06/03/2020                                          0‐30                                                                          MASKING TAPE,FOIL, PLATES, CUPS, MISC                              $         172.86
ACHS     Trade                            06/21/2020                                          0‐30                                                                          Painting                                                           $       2,540.00
ACHS     Trade                            06/23/2020                                          0‐30                                                                          Prom Fest                                                          $         152.14
ACHS     Trade                            06/24/2020                                          0‐30                                                                          APPLE MACBOOK PRO 13" (E. RADCLIFFE)                               $       1,310.39
ACHS     Trade                            06/29/2020                                          0‐30                                                                          Student awards                                                     $          62.12
ACHS     Trade                            06/30/2020                                          0‐30                                                                          Alumna event                                                       $         245.00
ACHS     Trade                            06/30/2020                                          0‐30                                                                          Alumna event                                                       $         240.19
ACHS     Trade                            06/30/2020                                          0‐30                                                                          TREE REMOVALS/TRIMMING,CLEANING, HAULING ALL DEBRIS                $       4,305.00
ACHS     Trade                            06/27/2020                                          0‐30                                                                          APPLE KEYBOARD                                                     $         129.95
ACHS     Trade                            06/30/2020                                          0‐30                                                                          Cheer supplies                                                     $         103.85
ACHS     Trade                            06/30/2020                                          0‐30                                                                          148.1570‐ VB CLUB‐ VOLLEYBALL BALL CART                            $         102.99
ACHS     Trade                            06/01/2020                                          0‐30         WASTE MANAGEMENT OF LOUISIANA, L.L.C.                            DUMPSTER SERVICE ‐ 5/20                                            $         168.00
ACHS     Trade                            06/12/2020                                          0‐30         LIBRARY INTERIORS,INC.                                           SAFETY GUARDS COVID 19                                             $         350.00
ACHS     Trade                            06/15/2020                                          0‐30         EASYPERMIT POSTAGE                                               POSTAGE REFILL                                                     $       1,200.00
ACHS     Trade                            06/16/2020                                          0‐30         DOCUMART                                                         CHIPSTART ACTIVITY BOOKS FOR 110                                   $         157.76
ACHS     Trade                            06/17/2020                                          0‐30         COCA‐COLA BOTTLING COMPANY UNITED                                STEUBENVILLE IN THE BURROW RETREAT ‐ SOFT DRINKS                   $          70.28
ACHS     Trade                            06/18/2020                                          0‐30         ARCHBISHOP RUMMEL HIGH SCHOOL                                    RUMMEL BAND PROGRAM                                                $       4,000.00
ACHS     Trade                            06/19/2020                                          0‐30         AT&T                                                             PHONE                                                              $         155.27
ACHS     Trade                            06/22/2020                                          0‐30         A‐1 SERVICE, INC.                                                Rugs gym                                                           $         770.00
ACHS     Trade                            06/22/2020                                          0‐30         VERNIER SOFTWARE AND TECHNOLOGY                                  PHYSICS LAB MANUEL                                                 $          55.00
ACHS     Trade                            06/23/2020                                          0‐30         DISINFX INC                                                      ANTIMICROBIAL & DISINFECTION SERVICE W/ ATP TESTING                $         575.00
ACHS     Trade                            06/23/2020                                          0‐30         GBP DIRECT, INC.                                                 LEGAL PADS,FILE FOLDERS,NOTEBOOK,STICKY NOTES,STAPLER,TAPE         $          85.23
ACHS     Trade                            06/23/2020                                          0‐30         JONES SCHOOL SUPPLY COMPANY                                      CHEER PINS AND AWARDS                                              $          64.94
ACHS     Trade                            06/25/2020                                          0‐30         AQUATIC SPECIALTIES, INC.                                        AQUARIUM MAINT ‐ 6/11, 6/24), AQUARIUM HEATER ‐ 6/24               $         193.67
ACHS     Trade                            06/26/2020                                          0‐30         PENNANT SHOP, INC.                                               AWARDS                                                             $         131.04
ACHS     Trade                            06/28/2020                                          0‐30         FRANCISCO PALACIO                                                Painting                                                           $       2,050.00
ACHS     Trade                            06/29/2020                                          0‐30         GBP DIRECT, INC.                                                 LEGAL PADS,FILE FOLDERS,NOTEBOOK,STICKY NOTES,STAPLER,TAPE         $          71.88
ACHS     Trade                            06/01/2020                                          0‐30         FACTORY SERVICE AGENCY, INC.                                     A/C WATER LEAK (FA BLDG, 2ND FL) ‐ REPLACED VICTAULIC COUPLING     $         595.80
ACHS     Trade                            06/17/2020                                          0‐30         FACTORY SERVICE AGENCY, INC.                                     A/C WATER LEAK (LIBRARY) ‐REPAIR CRACK IN PVC D/LINE               $         170.00
ACHS     Trade                            06/30/2020                                          0‐30         FACTORY SERVICE AGENCY, INC.                                     QUARTERLY MAINTENANCE & INSPECTION ‐ 5/20‐6/20                     $       6,060.00
ACHS     Trade                            06/30/2020                                          0‐30         JOSTENS                                                          LETTER "C" (40) (ATHLETIC AWARDS‐LETTER WINNERS)                   $         298.00
ACHS     Trade                            06/23/2020                                          0‐30         ON‐TIME DRAIN CLEANING LLC.                                      REPLACED KITCHEN SINK DRAIN ADVANCEMENT OFFICE                     $         410.00
ACHS     Trade                            06/25/2020                                          0‐30         AT&T                                                             PHONE ‐ 6/25‐7/24                                                  $          77.64
ACHS     Trade                            06/25/2020                                          0‐30         AT&T                                                             PHONE ‐ 6/25‐7/24                                                  $          77.64
ACHS     Trade                            06/26/2020                                          0‐30         A.C. SPECIALTIES, INC.                                           BOOKSTORE ‐ MEDIUM FLEECE                                          $         971.18
ACHS     Trade                            6/28/2020                                           0‐30         HOME DEPOT                                                       MAINTENANCE SUPPLIES                                               $       1,233.96
ACHS     Trade                            6/30/2020                                           0‐30         SAM'S                                                            SUMMER CAMP SUPPLIES                                               $       2,640.16
ACHS     Trade                            6/30/2020                                           0‐30         VISA                                                             VARIOUS EXPENSES                                                  $           7,646.03
ACHS     Trade                            6/30/2020                                           0‐30         Archdicocese of New Orleans                                      Corrosive Testing                                                 $             690.12
AHHS     Bill                             6/23/2020                                           0‐30         VI Communications                                                Operations                                                         $         564.00
AHHS     Bill                             06/24/2020                                          0‐30         Wells Fargo Vendor Fin Serv                                      Instructional                                                      $       1,802.64
AHHS     Bill                             06/24/2020                                          0‐30         Pitney Bowes Global Financial Services LLC                       Administrative                                                     $          32.00
AHHS     Bill                             06/27/2020                                          0‐30         Kentwood Springs                                                 Administrative                                                     $          79.00
AHHS     Bill                             06/19/2020                                          0‐30         Waste Management                                                 Operations                                                         $         355.51
AHHS     Bill                             06/30/2020                                          0‐30         Employee 1                                                       Operations                                                         $         383.16
AHHS     Bill                             06/30/2020                                          0‐30         Employee 1                                                       Operations                                                         $          75.00
AHHS     Bill                             06/30/2020                                          0‐30         Employee 1                                                       Operations                                                         $          54.07
AHHS     Bill                             06/02/2020                                          0‐30         Authentic Exterminating, Inc.                                    Operations                                                         $         225.00
AHHS     Bill                             06/23/2020                                          0‐30         Waste Management                                                 Operations                                                         $         263.00
AHHS     Bill                             06/23/2020                                          0‐30         Davis Products Bogalusa                                          Operations                                                         $          57.55
AHHS     Bill                             06/25/2020                                          0‐30         Deere Credit, Inc.                                               Operations                                                         $         391.24
AHHS     Bill                             06/26/2020                                          0‐30         Tammany Utilities                                                Operations                                                         $         939.61
AHHS     Bill                             06/26/2020                                          0‐30         Tammany Utilities                                                Operations                                                         $         477.45
AHHS     Bill                             06/18/2020                                          0‐30         Varsity Spirit Fashions                                          Student Activities                                                 $      21,802.36
AHHS     Bill                             06/28/2020                                          0‐30         Home Depot Credit Services                                       Operations                                                         $         402.99
AHHS     Bill                             06/19/2020                                          0‐30         Varsity Spirit Fashions                                          Student Activities                                                 $      30,990.67
AHHS     Bill                             06/20/2020                                          0‐30         Star Service, Inc.                                               Operations                                                         $       2,210.00
AHHS     Bill                             06/20/2020                                          0‐30         Star Service, Inc.                                               Operations                                                         $       1,873.33
AHHS     Bill                             06/22/2020                                          0‐30         AT&T                                                             Operations                                                         $         190.09
AHHS     Bill                             06/23/2020                                          0‐30         LEAF                                                             Instructional                                                      $         322.19
AHHS     Bill                             06/24/2020                                          0‐30         Summit Integration Systems                                       Instructional                                                      $       7,141.00
AHHS     Bill                             06/24/2020                                          0‐30         Guardian ‐ Appleton                                              Administrative                                                     $       2,564.52
AHHS     Bill                             06/25/2020                                          0‐30         Balfour New Orleans, LLC                                         Student Activities                                                 $          37.45
AHHS     Bill                             06/26/2020                                          0‐30         Mele Printing                                                    Development                                                        $          80.00
AHHS     Bill                             06/29/2020                                          0‐30         Sherwin‐Williams ‐ Covington                                     Operations                                                         $         352.14
AHHS     Bill                             06/29/2020                                          0‐30         Davis Products Covington                                         Operations                                                         $         452.37
AHHS     Bill                             06/30/2020                                          0‐30         Sherwin‐Williams ‐ Covington                                     Operations                                                         $          32.94
AHHS     Bill                             6/16/2020                                           0‐30         ARNO ‐ Casualty Insurnace                                        Operations                                                         $       7,809.85
ANO      Post Petition Payable            6/3/2020                                            0‐30                                                                          AUTOMOBILE EXPENSE                                                $             292.93
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          TELEPHONE EXPENSE                                                 $              85.28
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          AUTOMOBILE EXPENSE                                                $              47.15
ANO      Post Petition Payable            6/28/2020                                           0‐30                                                                          TRAVEL, MEALS & ENTERTAINMENT                                     $              91.74
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          PARISH FAMILY MINISTRY                                            $             364.62
ANO      Post Petition Payable            6/29/2020                                           0‐30                                                                          MARRIAGE PREPARATION                                              $             200.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          TELEPHONE EXPENSE                                                 $              82.46
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          MARRIAGE PREPARATION                                              $              65.79
ANO      Post Petition Payable            6/25/2020                                           0‐30                                                                          TELEPHONE EXPENSE                                                 $              73.99
ANO      Post Petition Payable            6/29/2020                                           0‐30                                                                          AUTOMOBILE EXPENSE                                                $              87.57
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          PRIEST VACATION VILLA                                             $             200.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          CONSULTANT FEES                                                   $             750.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          DUES & ASSESSMENTS                                                $             245.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          STAFF DEVELOPMENT                                                 $             336.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Retired Priest Plus Expense ‐ Dental & Vision                     $             545.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Retired Priest Plus Expense ‐ Medical Co‐Pays                     $              64.30
ANO      Post Petition Payable            6/29/2020                                           0‐30                                                                          BOOKS & SUBSCRIPTIONS                                             $              75.00
ANO      Post Petition Payable            6/26/2020                                           0‐30                                                                          PRINTED MATTER COSTS                                              $              67.76
ANO      Post Petition Payable            6/26/2020                                           0‐30                                                                          NATURAL FAMILY PLANNING                                           $             400.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          KITCHEN FOOD                                                      $             132.54
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          HOUSEHOLD EXPENSES                                                $              99.40
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          HOUSEHOLD EXPENSES                                                $              10.90
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          POSTAGE                                                           $               2.20
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          RENT                                                              $             345.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          BOOKS & SUBSCRIPTIONS                                             $              29.99
ANO      Post Petition Payable            6/26/2020                                           0‐30                                                                          CONTRACTED SERVICE                                                $             150.00
ANO      Post Petition Payable            6/29/2020                                           0‐30                                                                          AUTOMOBILE EXPENSE                                                $             606.10
ANO      Post Petition Payable            6/26/2020                                           0‐30                                                                          IT EQUIPMENT                                                      $              72.04
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $             114.15
ANO      Post Petition Payable            6/26/2020                                           0‐30                                                                          HOUSING COSTS ‐ PRIE                                              $             416.56
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $             394.64
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          INSURANCE CLAIMS ‐ ALL                                            $              82.85
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $             220.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $             724.61
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $              38.79
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $             172.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          HOUSING COSTS ‐ PRIESTS                                           $             126.12
ANO      Post Petition Payable            6/29/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Dental & Vision                   $             580.26
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $              35.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          Active Priest Medical Expense ‐ Medical Co‐Pays                   $              91.50
ANO      Post Petition Payable            6/11/2020                                           0‐30                                                                          CONTRACTED SERVICE                                                $             100.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          AUTOMOBILE EXPENSE                                                $              22.43
ANO      Post Petition Payable            6/25/2020                                           0‐30                                                                          ADVERTISING                                                       $             399.00
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          CONTRACTED SERVICE                                                $             411.30
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          AUTOMOBILE EXPENSE                                                $              90.28
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          KITCHEN FOOD ‐ SUMMER CAMP                                        $             655.27
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          SUPPLIES ‐ SUMMER CAMP                                            $           1,064.54
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          SUPPLIES ‐ SUMMER CAMP                                            $           4,145.82
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          AUTOMOBILE EXPENSE                                                $             418.03
ANO      Post Petition Payable            6/30/2020                                           0‐30                                                                          ADVERTISING                                                       $              25.00
ANO      Post Petition Payable            5/31/2020                                           0‐30         ANO Captive                                                      Captive Premium May 2020                                          $        438,212.32
ANO      Post Petition Payable            6/30/2020                                           0‐30         ANO Captive                                                      Captive Premium June 2020                                         $        438,212.32
ANO      Post Petition Payable            6/30/2020                                           0‐30         GALLAGHER                                                        CONSULTANT FEES                                                   $         28,390.00
ANO      Post Petition Payable            6/30/2020                                           0‐30         UMR                                                              STOP LOSS & TPA FEES                                              $        159,363.56
ANO      Post Petition Payable            6/30/2020                                           0‐30         P & A Admin.                                                     FLEX ACCOUNT                                                      $          (2,657.61)
ANO      Post Petition Payable            6/29/2020                                           0‐30         A 1 SERVICE INC.                                                 REPAIRS & MAINTENANCE                                             $              32.55
ANO      Post Petition Payable            6/29/2020                                           0‐30         A 1 SERVICE INC.                                                 CONTRACTED SERVICE                                                $              57.93
ANO      Post Petition Payable            6/29/2020                                           0‐30         A 1 SERVICE INC.                                                 CONTRACTED SERVICE                                                $              54.10
ANO      Post Petition Payable            6/29/2020                                           0‐30         A 1 SERVICE INC.                                                 CONTRACTED SERVICE                                                $              54.10
ANO      Post Petition Payable            6/23/2020                                           0‐30         ADI                                                              IT EQUIPMENT                                                      $           1,688.78
ANO      Post Petition Payable            6/22/2020                                           0‐30         APOGEE MED GROUP LOUISIANA                                       Retired Priest Plus Expense ‐ Medical Co‐Pays                     $           1,882.86
ANO      Post Petition Payable            6/20/2020                                           0‐30         AT&T                                                             TELEPHONE EXPENSE                                                 $              91.50
ANO      Post Petition Payable            6/20/2020                                           0‐30         AT&T                                                             SUBSIDY                                                           $              91.50
ANO      Post Petition Payable            6/20/2020                                           0‐30         AT&T                                                             MISCELLANEOUS RECEIVABLES                                         $              91.50
ANO      Post Petition Payable            6/19/2020                                           0‐30         AT&T                                                             MISCELLANEOUS RECEIVABLES                                         $              82.64
ANO      Post Petition Payable            6/19/2020                                           0‐30         AT&T                                                             TELEPHONE EXPENSE                                                 $             247.95
ANO      Post Petition Payable            6/19/2020                                           0‐30         AT&T                                                             IT EQUIPMENT                                                      $           3,051.12
ANO      Post Petition Payable            6/28/2020                                           0‐30         AT&T MOBILITY                                                    TELEPHONE EXPENSE                                                 $              62.08
ANO      Post Petition Payable            6/24/2020                                           0‐30         AT&T MOBILITY                                                    TELEPHONE EXPENSE                                                 $           4,304.82
ANO      Post Petition Payable            6/25/2020                                           0‐30         ATMOS ENERGY LOUISIANA                                           HOUSEHOLD UTILITIES                                               $              27.53
ANO      Post Petition Payable            6/23/2020                                           0‐30         ATMOS ENERGY LOUISIANA                                           MISCELLANEOUS RECEIVABLES                                         $               5.00
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ANO     Post Petition Payable   6/23/2020     0‐30   ATMOS ENERGY LOUISIANA                UTILITIES                                            $       15.01
ANO     Post Petition Payable   6/23/2020     0‐30   ATMOS ENERGY LOUISIANA                HOUSEHOLD UTILITIES                                  $       30.99
ANO     Post Petition Payable   6/30/2020     0‐30   ATMOS ENERGY LOUISIANA                UTILITIES                                            $      371.91
ANO     Post Petition Payable   6/30/2020     0‐30   Blackbaud, Inc.                       CONTRACTED SERVICE                                   $   19,310.00
ANO     Post Petition Payable   6/30/2020     0‐30   Blackbaud, Inc.                       CONTRACTED SERVICE                                   $   (6,036.42)
ANO     Post Petition Payable   6/30/2020     0‐30   Blackbaud, Inc.                       CONTRACTED SERVICE                                   $   (2,791.56)
ANO     Post Petition Payable   6/30/2020     0‐30   Cambas Electric Inc.                  REPAIRS & MAINTENANCE                                $    1,210.00
ANO     Post Petition Payable   6/23/2020     0‐30   CHARLES SCHOF DDS                     Active Priest Medical Expense ‐ Dental & Vision      $      311.00
ANO     Post Petition Payable   6/27/2020     0‐30   CHEMSEARCH                            REPAIRS & MAINTENANCE                                $      334.26
ANO     Post Petition Payable   5/1/2020      0‐30   CORVUS OF NEW ORLEANS, LLC            CONTRACTED SERVICE                                   $      168.40
ANO     Post Petition Payable   5/1/2020      0‐30   CORVUS OF NEW ORLEANS, LLC            CONTRACTED SERVICE                                   $      101.04
ANO     Post Petition Payable   6/28/2020     0‐30   COX COMMUNICATIONS                    HOUSEHOLD EXPENSES                                   $      289.76
ANO     Post Petition Payable   6/26/2020     0‐30   CURTIS ENVIRONMENTAL SERVICES INC     HOUSEHOLD UTILITIES                                  $       70.00
ANO     Post Petition Payable   6/26/2020     0‐30   DAVIS PRODUCTS CO INC                 SUPPLIES ‐ SUMMER CAMP                               $      372.81
ANO     Post Petition Payable   6/29/2020     0‐30   DELL MARKETING L. P.                  IT EQUIPMENT                                         $      908.07
ANO     Post Petition Payable   6/17/2020     0‐30   DEPARTMENT OF PUBLIC SAFETY           FINGERPRINTING EXPENSE                               $       78.50
ANO     Post Petition Payable   5/18/2020     0‐30   DOCUMART                              STATIONERY & PRINTING                                $      423.63
ANO     Post Petition Payable   6/29/2020     0‐30   DR JOSEPH TRAMONTANA, PHD             CONSULTANT FEES                                      $      400.00
ANO     Post Petition Payable   6/29/2020     0‐30   ELIZABETH TROENDLE DDS                Active Priest Medical Expense ‐ Dental & Vision      $      129.00
ANO     Post Petition Payable   6/24/2020     0‐30   ENTERGY                               HOUSEHOLD UTILITIES                                  $       19.93
ANO     Post Petition Payable   6/26/2020     0‐30   ENTERGY                               HOUSEHOLD UTILITIES                                  $    3,133.57
ANO     Post Petition Payable   6/26/2020     0‐30   ENTERGY                               HOUSEHOLD UTILITIES                                  $      635.28
ANO     Post Petition Payable   6/29/2020     0‐30   ENTERGY                               UTILITIES                                            $    2,537.45
ANO     Post Petition Payable   6/29/2020     0‐30   ENTERGY                               UTILITIES                                            $       19.95
ANO     Post Petition Payable   6/24/2020     0‐30   GRAYBAR ELECTRIC COMPANY INC          IT EQUIPMENT                                         $      734.68
ANO     Post Petition Payable   6/25/2020     0‐30   GREGORY P GUERRA, DDS                 Active Priest Medical Expense ‐ Dental & Vision      $      386.00
ANO     Post Petition Payable   6/30/2020     0‐30   GULF SOUTH PEST CONTROL INC           CONTRACTED SERVICE                                   $      305.00
ANO     Post Petition Payable   6/21/2020     0‐30   HOME DEPOT CREDIT SERVICES            REPAIRS & MAINTENANCE                                $        8.19
ANO     Post Petition Payable   6/21/2020     0‐30   HOME DEPOT CREDIT SERVICES            REPAIRS & MAINTENANCE                                $       67.03
ANO     Post Petition Payable   6/21/2020     0‐30   HOME DEPOT CREDIT SERVICES            Repairs & Maintenance ‐ Supplies                     $      146.87
ANO     Post Petition Payable   6/30/2020     0‐30   HOME DEPOT PRO                        HOUSEHOLD EXPENSES                                   $      880.30
ANO     Post Petition Payable   6/30/2020     0‐30   HUNT TELECOMMUNICATIONS LLC           TELEPHONE EXPENSE                                    $    4,387.00
ANO     Post Petition Payable   6/30/2020     0‐30   HUNT TELECOMMUNICATIONS LLC           TELEPHONE EXPENSE                                    $    3,219.41
ANO     Post Petition Payable   6/30/2020     0‐30   IRON MOUNTAIN                         RECORDS DISPOSITION                                  $      306.95
ANO     Post Petition Payable   6/30/2020     0‐30   JEFFERSON PARISH DEPT OF WATER        HOUSEHOLD UTILITIES                                  $       26.28
ANO     Post Petition Payable   6/30/2020     0‐30   JEFFERSON PARISH DEPT OF WATER        HOUSEHOLD UTILITIES                                  $       38.23
ANO     Post Petition Payable   6/30/2020     0‐30   JEFFERSON PARISH DEPT OF WATER        HOUSEHOLD UTILITIES                                  $      193.30
ANO     Post Petition Payable   6/30/2020     0‐30   JEFFERSON PARISH DEPT OF WATER        HOUSEHOLD UTILITIES                                  $        6.32
ANO     Post Petition Payable   6/19/2020     0‐30   JOHNSON CONTROLS FIRE PROTECTION LP   REPAIRS & MAINTENANCE ‐ BUILDING                     $      610.76
ANO     Post Petition Payable   6/30/2020     0‐30   JONES FUSSELL L.L.P.                  Clearing                                             $      375.00
ANO     Post Petition Payable   6/30/2020     0‐30   JONES FUSSELL L.L.P.                  LEGAL FEES                                           $       27.30
ANO     Post Petition Payable   6/17/2020     0‐30   KENTWOOD SPRINGS                      COFFEE & SOFT DRINK                                  $       33.16
ANO     Post Petition Payable   6/21/2020     0‐30   KENTWOOD SPRINGS                      HOUSEHOLD EXPENSES                                   $       69.04
ANO     Post Petition Payable   6/21/2020     0‐30   KENTWOOD SPRINGS                      COFFEE & SOFT DRINK EXPENSE                          $       84.66
ANO     Post Petition Payable   6/24/2020     0‐30   KENTWOOD SPRINGS                      COFFEE & SOFT DRINK EXPENSE                          $       34.43
ANO     Post Petition Payable   6/17/2020     0‐30   KENTWOOD SPRINGS                      COFFEE & SOFT DRINK                                  $       12.75
ANO     Post Petition Payable   6/30/2020     0‐30   KGLA RADIO TROPICAL                   ADVERTISING                                          $      600.00
ANO     Post Petition Payable   6/20/2020     0‐30   LINCARE INC                           Active Priest Medical Expense ‐ Medical Co‐Pays      $        7.15
ANO     Post Petition Payable   6/15/2020     0‐30   LOUISIANA DEPARTMENT OF REVENUE       TAXES                                                $    6,400.00
ANO     Post Petition Payable   6/30/2020     0‐30   NEW ORLEANS PEST MANAGEMENT           REPAIRS & MAINTENANCE                                $      150.00
ANO     Post Petition Payable   6/30/2020     0‐30   NEW ORLEANS PEST MANAGEMENT           CONTRACTED SERVICE                                   $       60.00
ANO     Post Petition Payable   6/29/2020     0‐30   NEW ORLEANS PEST MANAGEMENT           REPAIRS & MAINTENANCE                                $       60.00
ANO     Post Petition Payable   6/30/2020     0‐30   OUR LADY OF WISDOM HEALTH CARE        Retired Priest Plus Expense ‐ Medical Co‐Pays        $    1,760.00
ANO     Post Petition Payable   6/30/2020     0‐30   REPUBLIC SERVICES #842                CONTRACTED SERVICE ‐ BUILDING/JANITORIAL             $       15.00
ANO     Post Petition Payable   6/25/2020     0‐30   RICOH USA INC                         XEROX COPIES                                         $      311.80
ANO     Post Petition Payable   6/21/2020     0‐30   RICOH USA INC                         CONTRACTED SERVICE                                   $      143.63
ANO     Post Petition Payable   6/26/2020     0‐30   RICOH USA INC                         XEROX COPIES                                         $      104.75
ANO     Post Petition Payable   6/27/2020     0‐30   S & S LAWN SERVICE                    MISCELLANEOUS RECEIVABLES                            $       80.00
ANO     Post Petition Payable   6/27/2020     0‐30   S & S LAWN SERVICE                    REPAIRS & MAINTENANCE                                $      240.00
ANO     Post Petition Payable   6/27/2020     0‐30   S & S LAWN SERVICE                    REPAIRS & MAINTENANCE                                $       80.00
ANO     Post Petition Payable   6/30/2020     0‐30   SEWERAGE & WATER BOARD OF N.O.        HOUSEHOLD UTILITIES                                  $      331.54
ANO     Post Petition Payable   6/30/2020     0‐30   SEWERAGE & WATER BOARD OF N.O.        HOUSEHOLD UTILITIES                                  $      168.78
ANO     Post Petition Payable   6/30/2020     0‐30   SEWERAGE & WATER BOARD OF N.O.        UTILITIES                                            $    1,830.75
ANO     Post Petition Payable   6/25/2020     0‐30   SHERWIN WILLIAMS CO                   Repairs & Maintenance ‐ Supplies                     $       28.85
ANO     Post Petition Payable   6/25/2020     0‐30   SHERWIN WILLIAMS CO                   Repairs & Maintenance ‐ Supplies                     $       28.85
ANO     Post Petition Payable   6/30/2020     0‐30   SONITROL OF NEW ORLEANS INC.          REPAIRS & MAINTENANCE                                $      923.64
ANO     Post Petition Payable   6/16/2020     0‐30   SOUTHERN NETWORKING SERVICES LLC      IT EQUIPMENT                                         $    1,360.00
ANO     Post Petition Payable   6/30/2020     0‐30   SPARKLIGHT                            IT EQUIPMENT                                         $      130.07
ANO     Post Petition Payable   6/30/2020     0‐30   ST GENEVIEVE CHURCH                   PRINTED MATTER COSTS                                 $       60.00
ANO     Post Petition Payable   6/6/2020      0‐30   SWEET TOOTH DENTAL                    Active Priest Medical Expense ‐ Dental & Vision      $      321.00
ANO     Post Petition Payable   6/23/2020     0‐30   SWYFT CONNECT                         IT EQUIPMENT                                         $      262.50
ANO     Post Petition Payable   6/30/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    1,780.19
ANO     Post Petition Payable   6/30/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $       21.87
ANO     Post Petition Payable   6/30/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    2,137.30
ANO     Post Petition Payable   6/30/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    2,165.91
ANO     Post Petition Payable   6/16/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    2,133.86
ANO     Post Petition Payable   6/16/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    1,267.06
ANO     Post Petition Payable   6/16/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    1,462.12
ANO     Post Petition Payable   6/16/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    1,163.47
ANO     Post Petition Payable   6/16/2020     0‐30   SYSCO FOOD SERVICES OF NEW ORLEANS    KITCHEN FOOD ‐ SUMMER CAMP                           $    1,670.95
ANO     Post Petition Payable   6/25/2020     0‐30   TERMINIX                              CONTRACTED SERVICE                                   $       84.00
ANO     Post Petition Payable   6/17/2020     0‐30   THE HOLY ROOD GUILD                   HOUSEHOLD EXPENSES                                   $      250.00
ANO     Post Petition Payable   6/22/2020     0‐30   UTILITIES INC. OF LOUISIANA           MISCELLANEOUS RECEIVABLES                            $       35.58
ANO     Post Petition Payable   6/22/2020     0‐30   UTILITIES INC. OF LOUISIANA           REPAIRS & MAINTENANCE                                $       35.58
ANO     Post Petition Payable   6/22/2020     0‐30   UTILITIES INC. OF LOUISIANA           REPAIRS & MAINTENANCE                                $      106.75
ANO     Post Petition Payable   6/1/2020      0‐30   VISUAL CHANGES INC.                   PRIEST VACATION VILLA                                $      130.00
ANO     Post Petition Payable   6/23/2020     0‐30   WASTE MANAGEMENT OF ST TAMMANY        HOUSEHOLD UTILITIES                                  $    1,076.89
ANO     Post Petition Payable   6/30/2020     0‐30   YOUNG'S DRYCLEANING                   HOUSEHOLD EXPENSES                                   $       83.99
AOL     Trade payable           6/30/2020    0‐30                                          Student Services                                     $       20.00
AOL     Trade payable           6/16/2020     0‐30                                         Senior Prom Refund                                   $       96.43
AOL     Trade payable           6/25/2020    0‐30    Arrow Fence and Supply                Operations and Maintenance                           $      108.00
AOL     Trade payable           6/25/2020    0‐30    Foley Marketing                       Student Council Spiritwear                           $    3,733.50
AOL     Trade payable           6/28/2020    0‐30    Francotyp‐Postalia, Inc.              Administrative                                       $      126.26
AOL     Trade payable           6/22/2020     0‐30   Nu‐Lite Electrical Wholesalers        Operations and Maintenance                           $       63.30
AOL     Trade payable           6/22/2020     0‐30   Pan‐American Life Insurance           Insurance                                            $       53.30
AOL     Trade payable           6/30/2020     0‐30   Rumbelow Consulting, LLC              Administrative                                       $      565.50
AOL     Trade payable           5/13/2020    30‐60   Tujays Services Inc.                  Operations and Maintenance                           $    5,110.00
AOL     Trade payable           6/23/2020     0‐30   WM Corporate Services, Inc.           Operations and Maintenance                           $       97.00
AOL     Other payable           N/A           90+    Various                               Old issue with subledger agreeing to balance sheet   $       98.70
ARHS    Bill                    6/30/2020     0‐30                                         Reimbursement Fd Serv Sply                           $       50.00
ARHS    Bill                    6/30/2020     0‐30                                         Supply Reimbursement                                 $       35.58
ARHS    Bill                    6/30/2020     0‐30                                         Supply Reimbursement                                 $       29.29
ARHS    Bill                    6/1/2020     30‐60   Archdiocese                           Internet Services                                    $    4,640.25
ARHS    Bill                    6/22/2020     0‐30   Entergy                               Utilities                                            $      648.97
ARHS    Bill                    6/22/2020     0‐30   Exxon Mobil                           Gasoline                                             $       77.16
ARHS    Bill                    6/30/2020     0‐30   CiCi's                                Food Service                                         $      289.38
ARHS    Bill                    6/2/2020      0‐30   Nelnet Business Sol                   Technology                                           $    1,108.65
ARHS    Bill                    6/3/2020      0‐30   A&L Sales                             Custodial Supplies                                   $      231.88
ARHS    Bill                    6/19/2020     0‐30   Villere's Florist                     Flowers                                              $       62.99
ARHS    Bill                    6/25/2020     0‐30   First Tee LLC                         Camp T Shirts                                        $      425.88
ARHS    Bill                    6/29/2020     0‐30   First Tee LLC                         Camp T Shirts                                        $      485.94
ARHS    Bill                    6/29/2020     0‐30   First Tee LLC                         Camp T Shirts                                        $      174.72
ARHS    Bill                    3/30/2020     0‐30   Nelnet Business Sol                   Technology                                           $    1,092.51
ASHS    Trade Payable           6/23/2020     0‐30   Chromebookparts.com                   Chromebooks                                          $      873.62
ASHS    Trade Payable           6/23/2020     0‐30   WM Corporate Services, Inc,           Garbage Disposal                                     $      227.00
ASHS    Trade Payable           6/19/2020     0‐30   Blick Art Materials                   Art Supplies                                         $       11.22
ASHS    Trade Payable           6/5/2020      0‐30   Jefferson Parish Water                Utilities                                            $    1,484.01
ASHS    Trade Payable           6/1/2020      0‐30   Pan American Life                     Employee Life Insurance                              $       28.00
ASHS    Trade Payable           6/16/2020     0‐30   Sherwin Williams                      Plant Maintenance                                    $      243.38
ASHS    Trade Payable           6/24/2020     0‐30   Deluxe Pest Control                   Plant Maintenance                                    $      133.00
ASHS    Trade Payable           6/19/2020     0‐30   Entergy                               Utilities                                            $    9,001.30
ASHS    Trade Payable           6/18/2020     0‐30   Grundmann's Ath. Company              Legion Uniforms                                      $    1,096.62
ASHS    Trade Payable           6/12/2020     0‐30   Kentwood Springs                      Administrative                                       $        7.64
ASHS    Trade Payable           6/24/2020     0‐30   Home Depot                            Plant Maintenance                                    $      756.52
OLG     Bill                    05/07/2020   30‐60                                         Personnel Costs:Salary‐Musicians                     $      100.00
OLG     Bill                    05/07/2020   30‐60                                         Personnel Costs:Salary‐Musicians                     $       70.00
OLG     Bill                    05/07/2020   30‐60                                         Personnel Costs:Salary‐Musicians                     $       50.00
OLG     Bill                    05/07/2020   30‐60                                         Personnel Costs:Salary‐Musicians                     $       25.00
OLG     Bill                    05/07/2020   30‐60   Professional Music Services, Inc      Personnel Costs:Salary‐Musicians                     $      150.00
OLG     Bill                    05/14/2020   30‐60   Pitney Bowes                          Other Parish Expenses:Church Office Costs:Postage    $      820.99
PJPHS   Administrative          6/30/2020    0‐30                                          Accounting Services                                  $      192.50
PJPHS   Administrative          6/1/2020     0‐30    Venuetize                             Rapid Responder Service                              $      180.00
PJPHS   Administrative          6/1/2020     0‐30    ITA Truck                             Operations Maint                                     $    3,876.75
PJPHS   Administrative          6/3/2020     0‐30    Hickory Truck & Auto Repair           Operations Maint                                     $      507.18
PJPHS   Administrative          6/24/2020    0‐30    Hickory Truck & Auto Repair           Operations Maint                                     $      586.52
PJPHS   Administrative          6/30/2020    0‐30    Chase Cardmember Services             Development / Marketing                              $       82.16
PJPHS   Plant Operations        6/30/2020    0‐30    City of Slidell                       Plant Operations (water)                             $      131.59
PJPHS   Plant Operations        6/30/2020    0‐30    Coastal Enviornmental Services        Plant Operations                                     $      425.00
PJPHS   Plant Operations        6/24/2020    0‐30    ATMOS Energy                          Plant Operations (gas)                               $      117.69
PJPHS   Plant Operations        6/30/2020    0‐30    Washington St Tammany                 Plant Operations (electric)                          $    6,125.69
PJPHS   Plant Operations        6/30/2020    0‐30    Washington St Tammany                 Plant Operations (electric)                          $      199.90
PJPHS   Plant Operations        6/30/2020    0‐30    Washington St Tammany                 Plant Operations (electric)                          $       14.64
PJPHS   Student Services        6/30/2020    0‐30    Nelnet Business                       Student Services (FACTS)                             $      507.83
PJPHS   Plant Operations        6/1/2020     0‐30    Hunt Telcom                           Plant Operations (phone)                             $      137.77
PJPHS   Plant Operations        6/30/2020    0‐30    ANO Building Office                   Plant Operations                                     $      442.61
SCCS    Trade                   6/1/2020      0‐30   Apple, Inc. 864214                    Applecare service fee ‐ Mac level 1                  $       49.00
SCCS    Trade                   06/01/2020    0‐30   St. Charles Printing                  Letterhead                                           $      164.84
SCCS    Trade                   06/11/2020    0‐30   Atmos Energy 51                       Utilities: Gas                                       $       82.21
SCCS    Trade                   06/11/2020    0‐30   Atmos Energy 35                       Utilities: Gas                                       $       39.03
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                                           605
SCCS   Trade                 06/15/2020                                    0‐30        The Decor Shoppe                                                        New tile                                                                  $                                                 2,861.50
SCCS   Trade                 06/30/2020                                    0‐30        ARCHNO ‐ Accounting Office                                              National Corrosion ‐ Various annual gas tests & notices                   $                                                   442.61
SCCS   Trade                 06/02/2020                                    0‐30        Office Depot                                                            Sticky notes                                                              $                                                     32.30
SCCS   Trade                 06/02/2020                                    0‐30        Office Depot                                                            Sticky notes                                                              $                                                     18.33
SCCS   Trade                 05/07/2020                                    0‐30        Fisher's Ace Hardware, Inc.                                             Bleach                                                                    $                                                     24.41
SCCS   Trade                 05/28/2020                                    0‐30        Proforma                                                                Stadium cups                                                              $                                                   358.80
SCCS   Trade                 05/13/2020                                    0‐30        Entergy                                                                 Account #28184950 Meter #5153532 ‐                                        $                                                 5,657.38
SCCS   Trade                 05/15/2020                                    0‐30        Entergy                                                                 Acct# 128189487 Meter# 7867485                                            $                                                   463.75
SCCS   Trade                 05/15/2020                                    0‐30        Entergy                                                                 Account #2816542 Meter #405285                                            $                                                   370.97
SCCS   Trade                 05/15/2020                                    0‐30        Entergy                                                                 Acct# 128189484 Meter# 7793740                                            $                                                   116.44
SCCS   Trade                 6/23/2020                                     0‐30        Waste Management of Louisiana, LLC                                      Dumpster service                                                          $                                                     97.00
SCCS   Trade                 6/29/2020                                     0‐30        Nextel ‐ Sprint                                                         Cell service                                                              $                                                   116.54
SCCS   Trade                 6/30/2020                                     0‐30        Xerox Financial Services                                                Copier lease                                                              $                                                 1,370.15
SCCS   Trade                 05/15/2020                                    0‐30        St. John the Baptist Parish Utilities                                   Customer ID: 0360000127                                                   $                                                     99.58
SCCS   Trade                 05/15/2020                                    0‐30        St. John the Baptist Parish Utilities                                   Customer ID: 0360000126                                                   $                                                     49.66
SCCS   Trade                 05/26/2020                                    0‐30        St. John the Baptist Parish Utilities                                   Customer ID: 0360000124                                                   $                                                     43.07
SCCS   Trade                 05/22/2020                                    0‐30        St. John the Baptist Parish Utilities                                   Customer ID: 0360000122                                                   $                                                     43.07
SCCS   Trade                 05/19/2020                                    0‐30        Zeringue's Plumbing & Mechanical, Inc.                                  School backflow tests                                                     $                                                   950.00
SCCS   Trade                 05/24/2020                                    0‐30        ARCHNO ‐ IT Office                                                      Internet Connectivity, email accounts, Hosting                            $                                                 3,432.00
SCCS   Trade                 05/29/2020                                    0‐30        Fastsigns of St. Charles                                                Scholarship wall / Gym                                                    $                                                 1,414.64
SCCS   Vendor Credit         06/30/2015                                    90+         Follett Educational Services                                            Credit from texbook order                                                 $                                                    (35.23)
SCCS   Vendor Credit         06/30/2015                                    90+         ASCD                                                                    Credit for cancelled membership                                            $                                                 (130.00)
SCCS   Vendor Credit         04/03/2017                                    90+         Triumph Learning                                                        Credit for overpayment on 4‐5‐2016 Ck#19738                                $                                                 (140.13)
SMSS   Plant Maint           6/19/2020                                     0‐30        Guillory Sheet Metal                                                    Repair AC Unit                                                            $                                                   175.00
SMSS   Classroom             6/22/2020                                     0‐30        Gulf Coast Office Prods                                                 Copier Ink & Service Call                                                 $                                                 1,058.36
SMSS   Bldg Improvements     5/29/2020                                     0‐30        ASI Signage                                                             Signage                                                                   $                                                   975.23
SSA    Trade payables        11/01/2018                                    90+                                                                                 Agency Club reimbursements                                                 $                                               107.34
SSA    Trade payables        02/06/2020                                    90+                                                                                 EE reimbursement                                                          $                                                 (0.60)
SSA    Trade payables        06/30/2020                                    0‐30                                                                                summer camp refund (not Pre‐Petition)                                      $                                                92.00
SSA    Trade payables        06/30/2020                                    0‐30                                                                                EE Reimbursement, Utilties, Cell Ph                                        $                                                75.00
SSA    Trade payables        06/30/2020                                    0‐30                                                                                summer camp refund (not Pre‐Petition)                                      $                                                69.00
SSA    Trade payables        06/30/2016                                    90+         audit vendor                                                            Other Administrative                                                      $                                               (74.96)
SSA    Trade payables        05/30/2019                                    90+         Waste Connections Bayou, Inc                                            Operations & Maintenance Plant                                            $                                              (277.20)
SSA    Trade payables        01/16/2020                                    90+         BSN Sports                                                              Student Activities                                                        $                                                 (8.00)
SSA    Trade payables        06/30/2020                                    0‐30        Home Bank, NA                                                           Visa stmt, mostly Instructional & Admin exp                                $                                             8,027.71
SSA    Trade payables        06/30/2020                                    0‐30        School Specialty Inc                                                    Instructional Exp, Other                                                   $                                             2,872.20
SSA    Trade payables        06/30/2020                                    0‐30        Home Bank, NA                                                           Visa stmt, mostly Instructional & Admin exp                                $                                             1,158.23
SSA    Trade payables        06/30/2020                                    0‐30        Mesalain Consulting Group, LLC                                          Operations & Maintenance Plant                                             $                                             1,030.00
SSA    Trade payables        06/30/2020                                    0‐30        Cleco                                                                   Plant Utilities                                                            $                                               886.78
SSA    Trade payables        06/30/2020                                    0‐30        Cleco                                                                   Plant Utilities                                                            $                                               851.31
SSA    Trade payables        06/30/2020                                    0‐30        Cleco                                                                   Plant Utilities                                                            $                                               692.44
SSA    Trade payables        06/30/2020                                    0‐30        Wagner's Landscaping LLC                                                Operations & Maintenance Plant                                             $                                               600.00
SSA    Trade payables        06/30/2020                                    0‐30        Cleco                                                                   Plant Utilities                                                            $                                               557.68
SSA    Trade payables        06/30/2020                                    0‐30        Apple Inc                                                               Instructional Exp                                                          $                                               549.00
SSA    Trade payables        06/27/2020                                    0‐30        LEAF                                                                    Instructional Exp, Other Copier                                            $                                               495.02
SSA    Trade payables        06/30/2020                                    0‐30        Archdiocese of New Orleans {5}                                          Operations and Maintenance of Plant                                        $                                               442.61
SSA    Trade payables        06/30/2020                                    0‐30        Poole Lumber                                                            Operations and Maintenance of Plant                                        $                                               191.31
SSA    Trade payables        06/30/2020                                    0‐30        Cleco                                                                   Plant Utilities                                                            $                                               187.44
SSA    Trade payables        06/30/2020                                    0‐30        Home Bank, NA                                                           Visa stmt, mostly Instructional & Admin exp                                $                                               181.46
SSA    Trade payables        06/30/2020                                    0‐30        Cleco                                                                   Plant Utilities                                                            $                                               150.15
SSA    Trade payables        06/30/2020                                    0‐30        School Specialty Inc                                                    Admin Exp, Office supplies                                                 $                                               136.25
SSA    Trade payables        06/30/2020                                    0‐30        Cleco                                                                   Plant Utilities                                                            $                                                84.48
SSA    Trade payables        06/30/2020                                    0‐30        Larry's Hardware Inc                                                    Operations and Maintenance of Plant                                        $                                                64.92
SSA    Trade payables        06/30/2020                                    0‐30        Home Bank, NA                                                           Visa stmt, mostly Student Activities, Plant O&M, Admin Exp                 $                                                61.46
SSA    Trade payables        6/25/2020                                     0‐30        Kentwood Spring Water                                                   Developm & Mkt Exp, Office Supplies                                        $                                                30.90
SSA    Trade payables        06/30/2020                                    0‐30        Wesco Gas & Welding Supply, Inc                                         Developm & Mkt Exp, Fundraising                                            $                                                17.44
SSA    Trade payables        06/30/2020                                    0‐30        Wesco Gas & Welding Supply, Inc                                         Developm & Mkt Exp, Fundraising                                           $                                                   2.00




       Total Amount                                                                                                                                                                                                                       $                                              1,364,036
                                                                                                                                                                                                                Inter‐debtor eliminations $                                               (131,489)
                                                                                                                                                                                                                                          $                                              1,232,547


                                                                                                           Pre‐Petition Liabilities NOT identified at Petition Date of 4/30/2020

               Month Added                     Type                    Date Incurred                             Days Outstanding                                                                  Vendor                                                          Description                            Amount
SLC             May 2020                  Journal Entry                  4/24/2020                                    30‐60                                    Gulf Coast Office Products                                                Invoice #607386                                              $         108.78
SLC             May 2020                  Journal Entry                  1/31/2020                                     90+                                     Archdiocese of New Orleans                                                Accounting Assistance ‐ January 2020                         $         200.00
SLC             May 2020                  Journal Entry                  4/14/2020                                    30‐60                                    Bohnenstiehl Electric, Inc.                                               Invoice #11272‐AB                                            $         199.50
SLC             May 2020                  Journal Entry                  3/24/2020                                    60‐90                                    J. Prestes & Co., Inc.                                                    Invoice #177958 ‐ Large altar bread                          $         477.73
SLC             May 2020                  Journal Entry                  2/28/2020                                     90+                                     Archdiocese of New Orleans                                                February Accounting Assistance                               $         200.00
SLC             May 2020                  Journal Entry                  4/22/2020                                     0‐30                                    Guillory Sheet Metal Works                                                Invoice #12309 4/22/2020                                     $         594.00
ACHS            June 2020                     Trade                     Pre‐Petition                                   90+                                                                                                               STOP PAYMENT (VOID) CK #12648 DATED 1/24/20 ‐ SOCCER B $               375.00
ACHS            June 2020                     Trade                     Pre‐Petition                                   90+                                                                                                               INCENTIVE FOR STUDENT SELLING WINNING TICKET                 $          50.00
ACHS            June 2020                     Trade                     Pre‐Petition                                   90+                                                                                                               REFUND REGISTRATION 2020‐21                                  $         700.00
AHHS            June 2020                    Invoice                     2/12/2020                                     90+                                                                                                               Donation                                                     $         205.00
ACHS            June 2020                     Trade                     Pre‐Petition                                   90+                                     FAVORITES PROMOTIONAL PRODUCTS                                            Spend the Day shirts‐reorder                                 $         453.63
ACHS            June 2020                     Trade                     Pre‐Petition                                   90+                                     ADMINISTRATORS‐TULANE EDUC. FUND                                          TRAINER INVOICE ‐ 2ND QTR (19‐20)                            $       6,500.00
ACHS            June 2020                     Trade                     Pre‐Petition                                  60‐90                                    GILBERT, KELLY & COUTURIE                                                 SURVEY OF LAND FOR FRONT SIGN                                $       1,700.00
AHHS            June 2020                      Reim                     10/20/2019                                     90+                                                                                                               Administrative                                               $       1,658.17
ANO             June 2020    Prepetition payable subsequently entere       4/16/20                                    31‐60                                                                                                              OFFICE SUPPLIES                                              $          96.20
ACHS            June 2020                     Trade                     Pre‐Petition                                   90+                                     VARIOUS PARENTS                                                           REFUNDS FOR FATHER/DAUGHTER DANCE,TSHIRTS,TESTING F $               21,603.65
ACHS            May 2020                      Trade                       2/1/2020                                     90+                                     DOW JONES & COMPANY INC                                                   Sunscription                                                 $          61.18
ACHS            May 2020                      Trade                      3/27/2020                                    60‐90                                    STATE OF LA DEQ                                                           HW Generator Fee                                             $          83.00
ACHS            May 2020                      Trade                      4/30/2020                                     0‐30                                    JESUIT HIGH SCHOOL                                                        Athetic Directors meetings                                   $         184.66
AHHS            June 2020                    Invoice                     1/24/2020                                     90+                                     Glenn's Towing & Recovery                                                 Operations                                                   $         260.00
AHHS            June 2020                    Invoice                     3/11/2020                                     90+                                     Chick Fil A                                                               Student Activities                                           $         172.94
AHHS            June 2020                    Invoice                     3/13/2020                                     90+                                     CYO Youth Office ‐ Camp Abbey                                             Student Activities                                           $       1,000.00
AHHS            June 2020                    Invoice                     2/19/2020                                     90+                                     Third Coast Soccer                                                        Student Activities                                           $          46.99
ANO             June 2020    Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              Temporary Help                                               $         225.00
AHHS            June 2020                    Invoice                      2/4/2020                                     90+                                     Peter Verret Jump Start Team Camp                                         Student Activities                                           $         220.00
AHHS            June 2020                    Invoice                     1/22/2020                                     90+                                     Sign Gypsies Northshore                                                   Student Activities                                           $          53.26
ANO             June 2020    Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              SEMINARIAN ASSIST                                            $         595.00
AHHS            June 2020                    Invoice                     2/10/2020                                     90+                                     Prep Fan Sports                                                           Student Activities                                           $         555.00
AHHS            June 2020                    Invoice                     4/30/2020                                    60‐90                                    Home Depot Credit Services                                                Operations                                                   $         116.39
AHHS            May 2020                     Invoice                     4/29/2020                                    30‐60                                    Davis Products Covington                                                  Operations ‐custodial supplies                               $         565.46
AHHS            May 2020                     Invoice                     3/27/2020                                    60‐90                                    State of LA Dept of Environmental Quality                                 Instructional ‐ hazardous materials license                  $          83.00
AHHS            May 2020                     Invoice                     4/25/2020                                    30‐60                                    Deere Credit, Inc                                                         Operations ‐ equipment lease                                 $         366.24
AHHS            May 2020                     Invoice                     4/30/2020                                    30‐60                                    Scantron                                                                  Instructional ‐ testing supplies                             $         943.21
AHHS            May 2020                     Invoice                     3/20/2020                                    60‐90                                    Star Services                                                             Operations ‐ HVAC maintenance                                $       2,210.00
AHHS            May 2020                     Invoice                     3/20/2020                                    60‐90                                    Star Services                                                             Operations ‐ HVAC maintenance                                $       1,873.33
AHHS            May 2020                 Credit Card Stmt                4/30/2020                                    30‐60                                    First Bank and Trust (General Use)                                        Instructional, Administrative, Operations                    $       9,909.04
AHHS            May 2020                 Credit Card Stmt                4/30/2020                                    30‐60                                    First Bank and Trust (Gas Card)                                           Instructional, Administrative, Operations                    $       1,046.68
ANO             June 2020    Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              RETREAT INCOME ‐ SCHEDULED RETREATS                          $         150.00
ARHS            June 2020                 Trade Payable                  4/21/2020                                    60‐90                                    A & L Sales                                                               Hospital Disinfectant                                        $         154.58
ARHS            June 2020                 Trade Payable                  3/13/2020                                     90+                                     Allstate Sugar Bowl                                                       Sugar Bowl Scholar Athlete Banquet‐one table                 $         300.00
ARHS            June 2020                 Trade Payable                  1/30/2020                                     90+                                     Archdiocese of NO                                                         New employee fingerprinting                                  $          48.00
ARHS            June 2020                 Trade Payable                  1/30/2020                                     90+                                     Archdiocese of NO                                                         New employee fingerprinting                                  $          48.00
ANO             June 2020    Prepetition payable subsequently entere       4/6/20                                     31‐60                                                                                                              SEMINARIAN ASSIST                                            $       1,200.00
ANO             June 2020    Prepetition payable subsequently entere       3/30/20                                    61‐90                                                                                                              MISC SCHOOL SUPPORT                                          $       2,381.52
ARHS            June 2020                 Trade Payable                 12/24/2019                                     90+                                     Dept of Children Services                                                 Garnishment of former employee                               $          52.50
ARHS            June 2020                 Trade Payable                  4/25/2020                                    60‐90                                    DisinFX                                                                   Antimicrobial and Disinfection Serv.                         $         700.00
ANO             June 2020    Prepetition payable subsequently entere       3/30/20                                    61‐90                                                                                                              MISC SCHOOL SUPPORT                                          $         746.16
ANO             June 2020    Prepetition payable subsequently entere       4/27/20                                    31‐60                                                                                                              FINANCIAL ASSISTANCE TO VICTIMS                              $         750.00
ANO             June 2020    Prepetition payable subsequently entere       4/27/20                                    31‐60                                                                                                              FINANCIAL ASSISTANCE TO VICTIMS                              $         750.00
ARHS            June 2020                 Trade Payable                  2/7/2020                                      90+                                     Harry Thompson Center                                                     Donation from Salt Club                                      $         250.00
ANO             May 2020     Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              ATHLETIC LEAGUE                                              $          35.00
ARHS            June 2020                 Trade Payable                  12/5/2019                                     90+                                     Jefferson Parish Sheriff's Office                                         Fingerprinting for new employee                              $          54.25
ARHS            June 2020                 Trade Payable                  3/15/2019                                     90+                                     LHSPLA                                                                    Powerlifting Team entry fees                                 $          40.00
ANO             May 2020     Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              RETREAT INCOME ‐ SCHEDULED RETREATS                          $          75.00
ARHS            June 2020                 Trade Payable                   3/2/2020                                     90+                                     Nelnet Business                                                           Technology for school database‐March                         $       1,073.50
ARHS            June 2020                 Trade Payable                   4/2/2020                                     90+                                     Nelnet Business                                                           Technology for school database‐April                         $       1,076.40
ARHS            June 2020                 Trade Payable                 12/12/2019                                     90+                                     Order of OPSE                                                             Orleans Parish Security for Raider Club Function             $         162.79
ARHS            June 2020                 Trade Payable                  3/13/2020                                     90+                                     Rocky and Carlos'                                                         invoice for 3 pans baked mac and cheese for Lent             $         910.00
ANO             May 2020     Prepetition payable subsequently entere       3/12/20                                    61‐90                                                                                                              KITCHEN FOOD ‐ RETREATS                                      $       1,454.89
ANO             May 2020     Prepetition payable subsequently entere       3/12/20                                    61‐90                                                                                                              KITCHEN FOOD ‐ RETREATS                                      $          47.71
ANO             May 2020     Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              KITCHEN FOOD ‐ RETREATS                                      $         368.18
ARHS            June 2020                 Trade Payable                   3/2/2020                                     90+                                     Synergy Bldg.                                                             Technician service for schedule change                       $         240.00
ARHS            June 2020                 Trade Payable                   3/2/2020                                     90+                                     Synergy Bldg.                                                             Technicial service due to Tstat lockout                      $         240.00
ANO             May 2020     Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              ATHLETIC LEAGUE                                              $          70.00
ANO             May 2020     Prepetition payable subsequently entere       3/9/20                                     61‐90                                                                                                              ATHLETIC LEAGUE                                              $          90.00
ANO             May 2020     Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              RETREAT INCOME ‐ SCHEDULED RETREATS                          $          75.00
ANO             May 2020     Prepetition payable subsequently entere     4/30/2020                                    31‐60                                                                                                              ATHLETIC LEAGUE                                              $         245.00
ARHS            May 2020                  Trade Payable                  3/31/2020                                    60‐90                                    Hahn Enterprises,Inc.                                                     3/31/20 Inv. 6721‐6594 2 new main court basketball units, de $      13,601.44
ARHS            May 2020                  Trade Payable                  2/27/2020                                     90+                                     A & KL Sales, Inc.                                                        Feb 27,2020 Inv.7089688 Custodial Supplies                   $         119.68
ARHS            May 2020                  Trade Payable                  2/26/2020                                     90+                                     Cengage learning                                                          2/26/20 Inv. 70039399 for Library Media Supplies             $       1,005.48
ARHS            May 2020                  Trade Payable                  3/31/2020                                    60‐90                                    Green Acres Cntry Clb                                                     03/31/20 Inv.20391 Tennis Court Rental                       $         300.00
ARHS            May 2020                  Trade Payable                  2/20/2020                                     90+                                     Grundmann's Ath Co                                                        2/20/20 Inv. 78775‐00 for Baseball Practice Jerseys for Var  $         882.82
ARHS            May 2020                  Trade Payable                  4/24/2020                                    30‐60                                    Grundmann's Ath Co                                                        4/24/20 Inv. 78895‐00 Custom Express Baseball Caps           $       1,690.47
ARHS            May 2020                  Trade Payable                   2/1/2020                                     90+                                     Orthopedic & Sports                                                       February 2020 Invoice for Trainer Expenses; I                $         543.07
ARHS            May 2020                  Trade Payable                  2/20/2020                                     90+                                     Perret's                                                                  2/20/20 Inv.84895 for Tennis Team Shirts                     $         125.58
ARHS            May 2020                  Trade Payable                  3/27/2020                                    60‐90                                    State of LA DEQ                                                           3/27/20 Inv. 698337 Annual Fee Haz Waste HW Generator for $             83.00
ARHS            May 2020                  Trade Payable                  4/28/2020                                    30‐60                                    Wes‐Pet, inc.                                                             04/28/20 Inv. 202002178 for 27 gallons Non‐Etthanol          $          43.20
ASHS            June 2020                 Trade Payable                   3/5/2020                                     90+                                     ADS Systems                                                               Replacement Batteries                                        $         371.04
ASHS            June 2020                 Trade Payable                   3/5/2020                                     90+                                     Bubba Gump Shrimp Company                                                 Band Trip                                                    $       1,024.80
ANO             May 2020     Prepetition payable subsequently entere       3/12/20                                    61‐90                                                                                                              ATHLETIC LEAGUE                                              $          60.00
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ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ASHS    June 2020                Trade Payable                 2/21/2020     90+     First Louisiana‐Mississippi, Inc.                Robotics Championship Registration                          $       250.00
ASHS    June 2020                Trade Payable                 3/9/2020      90+     Hard Rock Cafe Orlando                           Band Trip                                                   $     1,777.02
ASHS    June 2020                Trade Payable                 1/1/2020      90+     Logo Express                                     Music Ministry Logo, Cardigan                               $       224.90
ASHS    June 2020                Trade Payable                 9/14/2019     90+     Smart Apple Media                                Books for Library                                           $       179.70
ASHS    June 2020                Trade Payable                 3/5/2020      90+     Universal City Development Partners              Band Trip                                                   $     1,105.94
ASHS    May 2020                      Bill                    1/15/2020      90+     Ave Maria Press                                  Bibles                                                      $        68.77
ASHS    May 2020                      Bill                    3/14/2020     30‐60    Chuckwagon Charters, Inc.                        Transportation                                              $       930.00
ASHS    May 2020                      Bill                    3/14/2020     30‐60    Chuckwagon Charters, Inc.                        Transportation                                              $       180.00
ASHS    May 2020                      Bill                    4/29/2020     30‐60    KT Graphics                                      Banners for Shrimp Fest                                     $       305.76
ASHS    May 2020                      Bill                    4/29/2020     30‐60    KT Graphics                                      Banners for Shrimp Fest                                     $     1,263.99
ASHS    May 2020                      Bill                    4/28/2020     30‐60    Lobb's Horticultural Spray East, Inc.            Field Spray                                                 $       760.00
PJPHS   June 2020                Trade Payable                 1/19/2020     90+     SCA Summer Camps                                 Student Activities                                          $       975.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $       140.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
PJPHS   June 2020                Trade Payable                 2/12/2020     90+     Southeast Louisiana District Literary Rally      Student Activities                                          $        66.00
PJPHS   June 2020                   Stipend                    2/24/2020     90+     LSU Powerlifting Club / Team                     Student Activities                                          $       300.00
PJPHS   June 2020                Trade Payable                 3/4/2020      90+     SLU‐Languages and Culture                        Student Activities                                          $        45.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $       150.00
PJPHS   June 2020                Trade Payable                 2/6/2020      90+     Calvary Baptist Church of Shreveport Louisiana   Student Activities                                          $        17.60
PJPHS   June 2020                Trade Payable                 2/28/2020     90+     LHSPLA                                           Student Activities                                          $     1,265.00
PJPHS   June 2020                Trade Payable                 2/28/2020     90+     LHSPLA                                           Student Activities                                          $     1,689.50
PJPHS   May 2020     Operations and Maintenance of Plant       2/28/2020     90+     Seruntine Refrigeration                          HVAC Service                                                $     3,558.99
PJPHS   May 2020                   Other Costs                 4/30/2020   30‐60     Chase Cardmember Services                        pre May 1 chrgs                                             $       509.74
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere     3/10/20     61‐90                                                     ATHLETIC LEAGUE                                             $       490.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
SCCS    June 2020                    Trade                     9/10/2019     90+     A & M Enterprises                                To Void Ck #23167 to A & M Enterprises 9/10/19              $        83.99
SCCS    June 2020                    Trade                    10/23/2019     90+     East St. John High School                        To Void Ck #23351 to East St. John High School 10/23/19     $        50.00
SCCS    June 2020                    Trade                     10/3/2019     90+     Hahn Enterprises, Inc.                           To Void Ck #23227 to Hahn Enterprises 10/03/19              $       120.73
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     FINANCIAL ASSISTANCE TO VICTIMS                             $       480.00
SCCS    June 2020                    Trade                     2/7/2020      90+     Lutcher High School                              To Void Ck #23791 to Lutcher High School 2/07/20            $       100.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $       280.00
ANO     May 2020    Prepetition payable subsequently entere     4/26/20     31‐60                                                     REPAIRS & MAINTENANCE                                       $     1,150.00
SCCS    June 2020                    Trade                     2/7/2020      90+     St. John Parish School Board                     To Void Ck #23909 to St. John Parish School Board 2/07/20   $       207.20
SCCS    June 2020                    Trade                     2/7/2020      90+     St. John Theatre                                 To Void Ck #23906 to St. John Theatre 2/07/20               $     2,400.00
SCCS    May 2020                     Trade                     3/11/2020   60 ‐ 90   Tri‐Parish Trophies                              Inv. # 46822 Student tags, pinbacks dtd 3/11/20             $        31.96
SCCS    May 2020                     Trade                     3/13/2020   60 ‐ 90   Arthur's Bus Service, LLC                        Inv # 194384 Bus for baseball dtd 3/13/20                   $       475.00
SCCS    May 2020                     Trade                     4/30/2020   30 ‐ 60   Fisher's Ace Hardware, Inc.                      124950/1‐ Paint & rollers                                   $       160.13
SCCS    May 2020                     Trade                     4/30/2020   30 ‐ 60   Hymel's Florist and Gifts                        001559.14660.1661                                           $       182.64
SCCS    May 2020                     Trade                     4/27/2020   30 ‐ 60   Kent Mitchell Bus Sales & Service, L.L.C.        R101000308:01 ‐ Brake Reapir                                $     2,588.74
SCCS    May 2020                     Trade                     4/23/2020   30 ‐ 60   Pitney Bowes Purchase Power                      20‐04 Postage                                               $       301.50
ANO     May 2020    Prepetition payable subsequently entere     4/26/20     31‐60                                                     REPAIRS & MAINTENANCE                                       $     1,150.00
ANO     May 2020    Prepetition payable subsequently entere     4/22/20     31‐60                                                     MEN'S MINISTRY EXPENSES                                     $       916.50
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     MEN'S MINISTRY EXPENSES                                     $       916.50
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $        70.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $        70.00
ANO     May 2020    Prepetition payable subsequently entere      3/5/20     61‐90                                                     CONSULTANT FEES                                             $       750.00
SSA     June 2020                Trade payables                4/30/2020   30‐60     Home Bank, NA                                    Operations & Maintenance Plant                              $       103.27
SSA     June 2020                Trade payables                2/5/2020      90+     A&L Sales, Inc                                   Agency Club reimbursement                                   $       171.51
ANO     May 2020    Prepetition payable subsequently entere     4/29/20     31‐60                                                     CONSULTANT FEES                                             $       750.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
SSA     June 2020                Trade payables               10/1/2019      90+     Archdiocese of New Orleans {8}                   FingerprintingOutstandingCh#15672StopPmt                    $        48.00
SSA     June 2020                Trade payables               12/1/2019      90+     Archdiocese of New Orleans {8}                   FingerprintingOutstandingCh#15949StopPmt                    $        48.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
SSA     June 2020                Trade payables                2/1/2020      90+     Fontainebleau High School                        OutstandingCh#16327StopPmtSBTourn                           $       120.00
SSA     June 2020                Trade payables                4/7/2020    30‐60     Home Bank, NA                                    EE reimbursement                                            $       100.00
SSA     June 2020                Trade payables                4/4/2020    30‐60     Home Bank, NA                                    Instructional Exp                                           $        81.49
SSA     June 2020                Trade payables                4/14/2020   30‐60     Ja‐Roy Exterminating                             EE reimbursement                                            $       180.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     SEMINARIAN ASSIST                                           $       340.00
SSA     June 2020                Trade payables                4/30/2020    60‐90    Mesalain Consulting Group, LLC                   Operations and Plant, Apr Contracted                        $     4,387.50
ANO     May 2020    Prepetition payable subsequently entere     3/18/20     61‐90                                                     SEMINARIAN ASSIST                                           $       125.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     MISCELLANEOUS EXPE                                          $       200.00
SSA     June 2020                Trade payables                3/31/2020     90+     School Food and Nutrition                        Student Lunch Pymts due                                     $     1,520.80
SSA     May 2020                 Trade payables                4/30/2020   30‐60     Wagner's Landscaping LLC                         Operations & Maintenance Plant                              $       600.00
SSA     May 2020                 Trade payables                4/4/2020    30‐60     Gulf Coast Office Products                       Instructional Exp                                           $        20.02
SSA     May 2020                 Trade payables                4/23/2020   30‐60     Herff Jones Inc                                  Student Activities                                          $        61.68
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
SSA     May 2020                 Trade payables                3/1/2020      90+     School Food and Nutrition                        Due to School Cafeteria Services                            $        96.70
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     June 2020   Prepetition payable subsequently entere     3/14/20     61‐90    CALUDA'S COTTAGE CATERING                        MARRIAGE PREPARATION                                        $       558.33
ANO     June 2020   Prepetition payable subsequently entere     3/14/20     61‐90    CALUDA'S COTTAGE CATERING                        MARRIAGE PREPARATION                                        $       608.33
ANO     June 2020   Prepetition payable subsequently entere    11/21/19      90+     CATHOLIC CHARITIES                               CONSULTANT FEES                                             $        76.38
ANO     June 2020   Prepetition payable subsequently entere      4/1/20     31‐60    CORVUS OF NEW ORLEANS, LLC                       CONTRACTED SERVICE                                          $       161.67
ANO     June 2020   Prepetition payable subsequently entere    4/30/2020    31‐60    CURTIS ENVIRONMENTAL SERVICES INC                HOUSEHOLD UTILITIES                                         $       700.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     June 2020   Prepetition payable subsequently entere     3/12/20     61‐90    JOSEPHUS ROBERT BARNES MD                        FINANCIAL ASSISTANCE TO VICTIMS                             $       125.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $        70.00
ANO     June 2020   Prepetition payable subsequently entere      4/3/20     31‐60    KENTWOOD SPRINGS                                 COFFEE & SOFT DRINK                                         $       233.73
ANO     June 2020   Prepetition payable subsequently entere    4/30/2020    31‐60    KENTWOOD SPRINGS                                 COFFEE & SOFT DRINK                                         $        10.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $       210.00
ANO     June 2020   Prepetition payable subsequently entere     2/19/20      90+     METROPOLITAN GASTROENTEROLOGY ASSOC              Retired Priest Plus Expense ‐ Medical Co‐Pays               $        35.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     June 2020   Prepetition payable subsequently entere    4/30/2020    31‐60    NTT Cloud Communications US Inc.                 TELEPHONE EXPENSE                                           $       135.26
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $       315.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $       245.00
ANO     June 2020   Prepetition payable subsequently entere     4/29/20     31‐60    PAUL SHURTE, PHD, LCSW                           FINANCIAL ASSISTANCE TO VICTIMS                             $       300.00
ANO     June 2020   Prepetition payable subsequently entere     10/1/19      90+     ST BERNARD PARISH HOSPITAL                       Retired Priest Plus Expense ‐ Medical Co‐Pays               $     1,130.49
ANO     June 2020   Prepetition payable subsequently entere    11/13/19      90+     THYSSENKRUPP ELEVATOR CORP                       REPAIRS & MAINTENANCE                                       $       540.00
ANO     June 2020   Prepetition payable subsequently entere    2/5/2020      90+     TROY L PATTERSON D D S                           Active Priest Medical Expense ‐ Dental & Vision             $     1,782.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    ANO Captive                                      Captive Premium April 2020                                  $   438,212.32
ANO     May 2020    Prepetition payable subsequently entere     4/21/20     31‐60    ADI                                              IT EQUIPMENT                                                $       454.25
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    AKT ENVIRONMENTAL SERVICES INC.                  REPAIRS & MAINTENANCE                                       $       275.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    ALPHA TECH                                       ADVERTISING                                                 $       715.00
ANO     May 2020    Prepetition payable subsequently entere     4/16/20     31‐60    AMERICA'S SWIMMING POOL CO                       CONTRACTED SERVICE                                          $     1,900.00
ANO     May 2020    Prepetition payable subsequently entere    4/14/2020    31‐60    APPLE INC.                                       IT EQUIPMENT                                                $     1,779.00
ANO     May 2020    Prepetition payable subsequently entere      4/6/20     31‐60    APPLE INC.                                       IT EQUIPMENT                                                $        19.00
ANO     May 2020    Prepetition payable subsequently entere      4/2/20     31‐60    APPLE INC.                                       IT EQUIPMENT                                                $       211.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     SEMINARIAN ASSIST                                           $       255.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $       210.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere     3/10/20     61‐90                                                     TEMPORARY HELP ‐ REIMBURSEMENTS                             $        41.61
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere     4/27/20     31‐60                                                     MISCELLANEOUS EXPE                                          $       200.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    BROWN RICE MARKETING                             ADVERTISING                                                 $       430.00
ANO     May 2020    Prepetition payable subsequently entere      3/1/20      90+     C F BIGGS COMPANY INC                            ELECTRONIC RECORDS                                          $       959.54
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    Cambas Electric Inc.                             REPAIRS & MAINTENANCE                                       $       255.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $       150.00
ANO     May 2020    Prepetition payable subsequently entere     3/31/20     61‐90    CAPITAL CITY PRESS LLC                           ADVERTISING                                                 $       315.00
ANO     May 2020    Prepetition payable subsequently entere     4/28/20     31‐60    CDW GOVERNMENT INC                               IT EQUIPMENT                                                $       645.00
ANO     May 2020    Prepetition payable subsequently entere     4/29/20     31‐60    CDW GOVERNMENT INC                               IT EQUIPMENT                                                $     1,290.00
ANO     May 2020    Prepetition payable subsequently entere     4/29/20     31‐60    CDW GOVERNMENT INC                               IT EQUIPMENT                                                $     1,935.00
ANO     May 2020    Prepetition payable subsequently entere     4/27/20     31‐60    CHEMSEARCH                                       REPAIRS & MAINTENANCE                                       $       334.26
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $       280.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $        70.00
ANO     May 2020    Prepetition payable subsequently entere     3/11/20     61‐90    CHURCH SUPPLY HOUSE                              OFFICE SUPPLIES                                             $        20.80
ANO     May 2020    Prepetition payable subsequently entere      4/1/20     31‐60    CHURCH SUPPLY HOUSE                              SUPPLIES ‐ RETREATS                                         $       184.25
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    CIRCUITREE LLC                                   CONTRACTED SERVICE                                          $     6,745.05
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    CIRCUITREE LLC                                   CONTRACTED SERVICE                                          $       333.45
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    CIRCUITREE LLC                                   CONTRACTED SERVICE                                          $        11.70
ANO     May 2020    Prepetition payable subsequently entere     3/14/20     61‐90    CLARION HERALD                                   ADVERTISING                                                 $       975.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    CRESCENT TRANSPORT INC                           MISC SCHOOL SUPPORT                                         $        68.00
ANO     May 2020    Prepetition payable subsequently entere      4/1/20     31‐60    CURTIS ENVIRONMENTAL SERVICES INC                HOUSEHOLD UTILITIES                                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere    4/7/2020     31‐60    CURTIS ENVIRONMENTAL SERVICES INC                HOUSEHOLD UTILITIES                                         $       700.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     ATHLETIC LEAGUE                                             $        70.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    DA EXTERMINATING                                 CONTRACTED SERVICE                                          $       155.00
ANO     May 2020    Prepetition payable subsequently entere     3/28/20     61‐90                                                     CONTRACTED SERVICE                                          $     1,009.40
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60                                                     RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
ANO     May 2020    Prepetition payable subsequently entere     3/14/20     61‐90    DARLING INGREDIENTS INC                          CONTRACTED SERVICE                                          $       231.95
AOL     June 2020                Trade Payable                 2/6/2020      90+                                                      Mu Alpha Theta club refund                                  $        22.00
ARHS    June 2020                Trade Payable                 3/12/2020     90+                                                      Reimburse fishing club supplies                             $       366.00
ARHS    June 2020                Trade Payable                 3/6/2020      90+                                                      Parade security detail for Band                             $       632.00
ARHS    June 2020                Trade Payable                2/28/2019      90+                                                      Refund for purchase of two mouthpieces                      $       388.84
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    DEPARTMENT OF PUBLIC SAFETY                      FINGERPRINTING EXPENSE                                      $        39.25
ARHS    June 2020                Trade Payable                5/16/2019      90+                                                      Reimbursement for school lunch overpay                      $        65.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    DOCUMART                                         STATIONERY & PRINTING                                       $       893.90
ANO     May 2020    Prepetition payable subsequently entere     2/27/20      90+     DOCUMART                                         STATIONERY & PRINTI                                         $       335.71
ARHS    June 2020                Trade Payable                 1/17/2020     90+                                                      Donation for ministry to s tudents in 12th grade            $        50.00
ANO     May 2020    Prepetition payable subsequently entere     4/28/20     31‐60    DR JOSEPH TRAMONTANA, PHD                        CONSULTANT FEES                                             $       400.00
ARHS    June 2020                Trade Payable                 3/6/2020      90+                                                      Speaker for Campus Ministry Night                           $       150.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020    31‐60    EVERGREEN LAWN SERVICE LLC                       CONTRACTED SERVICE                                          $       830.92
ANO     May 2020    Prepetition payable subsequently entere     1/31/20      90+     EVERGREEN LAWN SERVICE LLC                       CONTRACTED SERVICE                                          $       828.83
ANO     May 2020    Prepetition payable subsequently entere     3/31/20     61‐90    EVERGREEN LAWN SERVICE LLC                       CONTRACTED SERVICE                                          $       830.92
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ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   FEDEX                                                         POSTAGE                                                     $        85.24
ANO     May 2020    Prepetition payable subsequently entere      3/12/20   61‐90   FEDEX                                                         POSTAGE                                                     $       169.37
ANO     May 2020    Prepetition payable subsequently entere      3/12/20   61‐90   FEDEX                                                         POSTAGE                                                     $       120.79
ANO     May 2020    Prepetition payable subsequently entere      3/12/20   61‐90   FEDEX                                                         POSTAGE                                                     $        62.17
ANO     May 2020    Prepetition payable subsequently entere      3/12/20   61‐90   FEDEX                                                         POSTAGE                                                     $        79.32
ANO     May 2020    Prepetition payable subsequently entere      3/12/20   61‐90   FEDEX                                                         POSTAGE                                                     $        27.04
ANO     May 2020    Prepetition payable subsequently entere      3/12/20   61‐90   FEDEX                                                         POSTAGE                                                     $        21.46
ANO     May 2020    Prepetition payable subsequently entere      3/12/20   61‐90   FEDEX                                                         POSTAGE                                                     $       101.09
ARHS    June 2020                 Trade Payable                3/19/2020    90+                                                                  Reimbursement for CDL Expenses                              $        15.00
ARHS    June 2020                 Trade Payable               11/20/2019    90+                                                                  Reimburse for Dr Ed Payment                                 $       415.00
ARHS    June 2020                 Trade Payable                2/26/2020    90+                                                                  Parade Security Detail for Band                             $       256.00
ANO     May 2020    Prepetition payable subsequently entere      3/24/20   61‐90   GALLO MECHANICAL SERVICES LLC                                 REPAIRS & MAINTENANCE                                       $       641.18
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   GAMBEL PUBLISHING LLC                                         ADVERTISING                                                 $     1,009.00
ARHS    June 2020                 Trade Payable                12/5/2019    90+                                                                  Paint for Band Room                                         $        85.37
ARHS    June 2020                 Trade Payable                8/29/2019    90+                                                                  Reimbursement for band supplies‐paint                       $        36.19
ANO     May 2020    Prepetition payable subsequently entere      4/28/20   31‐60   GENOVESE TRACTOR SERVICE LLC                                  CONTRACTED SERVICE                                          $       125.00
ARHS    June 2020                 Trade Payable                9/12/2019    90+                                                                  Reimbursement for supplies‐Band Room                        $        18.06
ARHS    June 2020                 Trade Payable                5/16/2019    90+                                                                  Refund of overpay on lunch account                          $        41.45
ANO     May 2020    Prepetition payable subsequently entere      3/17/20   61‐90   GOLDSTAR ELECTRIC, INC                                        REPAIRS & MAINTENANCE ‐ RETREATS                            $       824.84
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   GRAYBAR ELECTRIC COMPANY INC                                  TELEPHONE EXPENSE                                           $        33.11
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   GRAYBAR ELECTRIC COMPANY INC                                  TELEPHONE EXPENSE                                           $        42.21
ANO     May 2020    Prepetition payable subsequently entere      4/22/20   31‐60   GRAYBAR ELECTRIC COMPANY INC                                  REPAIRS & MAINTENANCE                                       $        10.90
ARHS    June 2020                 Trade Payable                9/27/2019    90+                                                                  Zip drive reimburse for English                             $         6.99
ARHS    June 2020                 Trade Payable               10/11/2019    90+                                                                  Working Game Clock at Rummel BrMartin Game                  $        50.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   GREG'S LAWN SERVICE, LLC                                      CONTRACTED SERVICE                                          $     1,100.00
ANO     May 2020    Prepetition payable subsequently entere      4/20/20   31‐60   GULF COAST OFFICE PRODUCTS                                    XEROX COPIES                                                $       103.95
ANO     May 2020    Prepetition payable subsequently entere      4/20/20   31‐60   GULF COAST OFFICE PRODUCTS                                    XEROX COPIES                                                $        17.70
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $       116.81
ANO     May 2020    Prepetition payable subsequently entere      4/21/20   31‐60   HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $        75.76
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $       166.60
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $        20.00
ANO     May 2020    Prepetition payable subsequently entere      4/21/20   31‐60   HOME DEPOT CREDIT SERVICES                                    TELEPHONE EXPENSE                                           $       125.45
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   HOME DEPOT CREDIT SERVICES                                    TELEPHONE EXPENSE                                           $       130.53
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   INTERNATIONAL INSTITUTE FOR CULTURE                           MISCELLANEOUS EXPE                                          $       600.00
ASHS    June 2020                 Trade Payable                 2/4/2020    90+                                                                  Supplies for Jambalaya Dinner                               $        21.55
ANO     May 2020    Prepetition payable subsequently entere    4/23/2020   31‐60   JACK PETTY MARKETING & PROMOTIONS                             LEADERSHIP AWARDS                                           $     1,960.94
ANO     May 2020    Prepetition payable subsequently entere    4/23/2020   31‐60   JACK PETTY MARKETING & PROMOTIONS                             LEADERSHIP AWARDS                                           $       628.23
ASHS    June 2020                 Trade Payable                 2/3/2020    90+                                                                  Official for Basketball Game                                $       100.00
PJPHS   June 2020                Expense Reimb                  4/3/2019    90+                                                                  Student Activities ‐ Reimbursement Touch of Class student   $        18.63
PJPHS   June 2020                Expense Reimb                 9/19/2019    90+                                                                  Administrative ‐Meal Reimbursement ‐ between two events     $        18.43
PJPHS   June 2020                Service Payable              11/15/2019    90+                                                                  Student Activities                                          $       200.00
PJPHS   June 2020                 Trade Payable                 3/1/2020    90+                                                                  Student Activities ‐ Reimbursement                          $        66.79
PJPHS   May 2020                Student Services               4/28/2020    0‐30                                                                 student services reimb                                      $       149.50
PJPHS   May 2020                   Other Costs                 11/8/2019    90+                                                                  Winner Soccer Raffle ‐ split two people ‐ COVID19 stopped   $     4,565.00
PJPHS   May 2020                   Other Costs                 11/8/2019    90+                                                                  Winner Soccer Raffle ‐ split two people ‐ COVID19 stopped   $     4,565.00
SCCS    June 2020                     Trade                   11/22/2019    90+                                                                  To Void Ck #23511 to Iris Henry 11/22/19                    $         9.75
ANO     May 2020    Prepetition payable subsequently entere      4/24/20   31‐60   KAISER SUPPLY                                                 REPAIRS & MAINTENANCE                                       $       127.51
SCCS    June 2020                     Trade                   11/29/2019    90+                                                                  To Void Ck #23530 to Joshua Masters 11/29/19                $       140.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   KENTWOOD SPRINGS                                              COFFEE & SOFT DRINK                                         $        23.14
ANO     May 2020    Prepetition payable subsequently entere      4/17/20   31‐60   KERN INTERNATIONAL LLC                                        ST LOUIS MEDAL COSTS                                        $     2,185.61
SCCS    June 2020                     Trade                   11/15/2019    90+                                                                  To Void Ck #23462 to Michelle Jensen 11/15/19               $       232.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   KGLA RADIO TROPICAL                                           COMMUNICATIONS                                              $     2,400.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   KGLA RADIO TROPICAL                                           COMMUNICATIONS                                              $       800.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   KGLA RADIO TROPICAL                                           COMMUNICATIONS                                              $       840.00
ANO     May 2020    Prepetition payable subsequently entere      4/28/20   31‐60   KIM E VANGEFFEN PHD                                           CONSULTANT FEES                                             $     1,000.00
ANO     May 2020    Prepetition payable subsequently entere      3/31/20   61‐90   LARRY S HARDWARE INC                                          REPAIRS & MAINTENANCE ‐ RETREATS                            $        42.30
ANO     May 2020    Prepetition payable subsequently entere    4/14/2020   31‐60   LEAF                                                          CONTRACTED SERVICE                                          $       728.61
ANO     May 2020    Prepetition payable subsequently entere      2/29/20    90+    LIQUID ENVIRONMENTAL SOLUTIONS                                CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $       364.47
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   MANIX COMPUTING SERVICES INC                                  IT EQUIPMENT                                                $       150.00
SCCS    June 2020                     Trade                     4/7/2019    90+                                                                  To Void Ck #22809 to P. Doucet 4/17/19                      $        72.36
SLC     May 2020                  Journal Entry                4/24/2020   30‐60                                                                 Security detail                                             $       240.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   MELE PRINTING                                                 STATIONERY & PRINTING                                       $     2,630.99
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   MELE PRINTING                                                 SEMINARIAN ASSIST                                           $     1,180.09
SLC     May 2020                  Journal Entry                4/24/2020   30‐60                                                                 Security detail                                             $       240.00
SMSS    June 2020               Employee Reimb                   Aug‐19     0‐30                                                                 Classroom Supplies                                          $       130.44
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   MMG PROPERTIES                                                REPAIRS & MAINTENANCE                                       $     1,000.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   MMG PROPERTIES                                                REPAIRS & MAINTENANCE                                       $       700.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   MMG PROPERTIES                                                REPAIRS & MAINTENANCE                                       $     2,150.00
SMSS    June 2020               Overpaid Tuition                  Jun‐19    0‐30                                                                 Overpaid Tuition                                            $     2,047.87
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   NITA GAUTHIER INTERIOR DESIGN INC                             RETREAT INCOME ‐ SCHEDULED RETREATS                         $        75.00
SMSS    June 2020               Overpaid Tuition                  Jun‐19    0‐30                                                                 Overpaid Tuition                                            $     2,547.50
ANO     May 2020    Prepetition payable subsequently entere      4/22/20   31‐60   OFFICE DEPOT                                                  OFFICE SUPPLIES                                             $        85.15
SMSS    June 2020               Overpaid Tuition                  Jun‐19    0‐30                                                                 Overpaid Tuition                                            $       250.00
ANO     May 2020    Prepetition payable subsequently entere      3/9/20    61‐90   PM MAINTENANCE INC                                            CONTRACTED SERVICE                                          $       525.00
ANO     May 2020    Prepetition payable subsequently entere      3/30/20   61‐90   Renaissance Montgomery Hotel & Spa at the Convention Center   SPECIAL FUNCTIONS ‐ Pilgrimages                             $     6,726.91
SMSS    June 2020               Overpaid Tuition                  Jun‐19    0‐30                                                                 Overpaid Tuition                                            $     2,724.50
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   REPUBLIC SERVICES #842                                        CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $        10.00
SMSS    May 2020                employee reimb                  7/1/2019    0‐30                                                                 Classroom Supplies                                          $       100.19
ANO     May 2020    Prepetition payable subsequently entere      4/27/20   31‐60   RICOH USA INC                                                 XEROX COPIES                                                $        33.19
ANO     May 2020    Prepetition payable subsequently entere      4/26/20   31‐60   RICOH USA INC                                                 XEROX COPIES                                                $        44.50
ANO     May 2020    Prepetition payable subsequently entere    4/23/2020   31‐60   RIVER PARISH DISPOSAL LLC                                     CONTRACTED SERVICE                                          $       130.00
ANO     May 2020    Prepetition payable subsequently entere      4/28/20   31‐60   S & S LAWN SERVICE                                            MISCELLANEOUS RECEIVABLES                                   $        80.00
ANO     May 2020    Prepetition payable subsequently entere      4/28/20   31‐60   S & S LAWN SERVICE                                            REPAIRS & MAINTENANCE                                       $        80.00
ANO     May 2020    Prepetition payable subsequently entere      4/28/20   31‐60   S & S LAWN SERVICE                                            REPAIRS & MAINTENANCE                                       $       240.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   SACASA COUNSELING SERVICES LLC                                SEMINARIAN ASSIST                                           $       300.00
SSA     June 2020                Trade payables                4/17/2018    90+                                                                  TuitionOverpaymentRefund                                    $       300.00
SSA     June 2020                Trade payables                4/23/2020   30‐60                                                                 Student Activities                                          $        41.18
SSA     June 2020                Trade payables                3/1/2020     90+                                                                  ReimCDLPhysOutstandingCh#16435StopPmt                       $        30.00
SSA     June 2020                Trade payables                 6/1/2018    90+                                                                  TuitionOverpaymentRefund                                    $       700.00
SSA     June 2020                Trade payables                2/1/2020     90+                                                                  OutstandingCh#16305StopPmtRef                               $       120.00
SSA     June 2020                Trade payables                 3/1/2020    90+                                                                  Due to School Cafeteria Services                            $       194.79
SSA     June 2020                Trade payables                 6/1/2017    90+                                                                  TuitionOverpaymentRefund                                    $       700.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   UNITED STATES CONFERENCE OF                                   TRAVEL, MEALS & ENTERTAINMENT                               $     1,125.12
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   UNITED STATES CONFERENCE OF                                   TRAVEL, MEALS & ENTERTAINMENT                               $     1,125.12
SSA     May 2020                 Trade payables                 2/5/2020    90+                                                                  Agency Club reimbursement                                   $        57.07
ANO     May 2020    Prepetition payable subsequently entere    4/23/2020   31‐60   WASTE MANAGEMENT OF ST TAMMANY                                CONTRACTED SERVICE                                          $       635.96
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   WFNO AM                                                       COMMUNICATIONS                                              $       420.00
ANO     May 2020    Prepetition payable subsequently entere      4/28/20   31‐60   WFNO AM                                                       COMMUNICATIONS                                              $       720.00
ANO     May 2020    Prepetition payable subsequently entere      3/13/20   61‐90   WJS ENTERPRISES INC                                           XEROX COPIES                                                $       132.37
ANO     May 2020    Prepetition payable subsequently entere      3/28/20   61‐90   WLAE TV                                                       ADVERTISING                                                 $     1,500.00
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   YOUNG'S DRYCLEANING                                           HOUSEHOLD EXPENSES                                          $        21.28
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   ZUPPARDO FAMILY SUPER MARKETS INC.                            KITCHEN FOOD                                                $       404.78
ANO     May 2020    Prepetition payable subsequently entere    4/30/2020   31‐60   ZUPPARDO FAMILY SUPER MARKETS INC.                            KITCHEN ‐ COMMUNITY FOOD                                    $        35.79

Total                                                                                                                                                                                                        $   663,711.20
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       AR Aging
       Case name                              The Roman Catholic Church of the Archdiocese of New Orleans
       Case number                            20‐10846

       For Period June 1 to June 31, 2020

                                                                                                                 Accounts Receivable Aging Report



                              Customer                   Incurred                                     Due Date            0‐30                      31‐60            61‐90            Over 90              Total           Collection Status (90+) (for ANO only, see other entities below)
ACHS   Archbishop Rummel                                6/30/2020                                    7/31/2020                5,226.05                        -                -                   -           5,226.05

ACHS   Balfour                                          8/29/2019                                    8/30/2020                      -                         -                -                425.90          425.90

ACHS   Saenger                                          6/15/2020                                    7/31/2020                7,400.00                        -                -                   -          7,400.00

AHHS   Cheer Payments                                    5/1/2020                                    9/30/2020               27,008.30                        -                -                   -         27,008.30

AHHS   Donor 1                                          6/29/2020                                     7/6/2020                1,200.00                        -                -                   -          1,200.00

AHHS   Donor 2                                          6/29/2020                                     7/9/2020                2,800.04                        -                -                   -          2,800.04

AHHS   Employee - MacBook Purchase                      10/1/2019                                    6/30/2020                  700.00                        -                -                   -            700.00

AHHS   In and Out, Inc                                  12/1/2019                                     6/1/2020                1,666.75                        -                -                   -          1,666.75

AHHS   Senior Trip Refunds                              4/20/2020                                    6/30/2020                 (474.90)                       -                -                   -           (474.90)

AHHS   Trips Unlimited, Inc                             4/20/2020                                    6/30/2020              101,498.00                        -                -                   -        101,498.00

ANO    check deposit error                                                                                                         (5.00)                      ‐                ‐                   ‐             (5.00)

ANO    check deposit error                                                                                                       375.00                        ‐                ‐                   ‐            375.00

ANO    Academy of Our Lady                                                                                                     5,203.50                        ‐                ‐           5,138.00          10,341.50 Statement sent; general allowance recorded

ANO    All Saints Church                                                                                                         200.00                        ‐                ‐                   ‐            200.00

ANO    Annunciation Church                                                                                                          ‐                   3,013.17                ‐                   ‐          3,013.17

ANO    Annunciation Church                                                                                                     6,063.74                        ‐                ‐                   ‐          6,063.74

ANO    Annunciation School                                                                                                     3,135.75                        ‐                ‐                   ‐          3,135.75

ANO    ANO Captive                                                                                                           102,800.66               213,928.60       332,785.87                   ‐        649,515.13

ANO    ANO Captive                                                                                                            28,204.46                        ‐                ‐                   ‐         28,204.46

ANO    ANO Captive                                                                                                         1,910,833.05                        ‐                ‐                   ‐      1,910,833.05

ANO    Archbishop Chapelle High School                                                                                         4,330.50                     164.83              ‐                   ‐          4,495.33

ANO    Archbishop Chapelle High School                                                                                           690.12                        ‐                ‐                   ‐            690.12

ANO    Archbishop Chapelle High School                                                                                         2,852.00                        ‐                ‐                   ‐          2,852.00

ANO    Archbishop Chapelle HS                                                                                                     41.51                        ‐                ‐                   ‐             41.51

ANO    Archbishop Chapelle HS                                                                                                       ‐                          ‐             111.00                 ‐            111.00

ANO    Archbishop Hannan High                                                                                                    393.40                        ‐             590.10                 ‐            983.50

ANO    Archbishop Hannan High School                                                                                           4,071.75                        ‐                ‐           4,051.50           8,123.25 Statement sent; general allowance recorded

ANO    Archbishop Hannan High School                                                                                                ‐                   1,309.00                ‐                   ‐          1,309.00

ANO    Archbishop Hannan High School                                                                                               0.85                        ‐                ‐                   ‐              0.85

ANO    Archbishop Hannan High School                                                                                           3,250.00                        ‐                ‐                   ‐          3,250.00

ANO    Archbishop Hannan High School                                                                                           3,250.00                        ‐                ‐                   ‐          3,250.00

ANO    Archbishop Hannan HS                                                                                                         ‐                          ‐             120.30                 ‐            120.30

ANO    Archbishop Rummel High School                                                                                           4,647.75                 1,200.00                ‐           4,940.25          10,788.00 Statement sent; general allowance recorded

ANO    Archbishop Rummel High School                                                                                           3,831.24                        ‐                ‐                   ‐          3,831.24

ANO    Archbishop Rummel High School                                                                                             811.00                        ‐                ‐                   ‐            811.00

ANO    Archbishop Rummel High School                                                                                             758.00                        ‐                ‐                   ‐            758.00

ANO    Archbishop Rummel High School                                                                                             890.00                        ‐                ‐                   ‐            890.00

ANO    Archbishop Rummel High School                                                                                           6,009.00                        ‐                ‐                   ‐          6,009.00

ANO    Archbishop Rummel High School                                                                                           1,794.00                        ‐                ‐                   ‐          1,794.00

ANO    Archbishop Rummel High School                                                                                           1,479.00                        ‐                ‐                   ‐          1,479.00

ANO    Archbishop Rummel High School                                                                                           1,747.00                        ‐                ‐                   ‐          1,747.00

ANO    Archbishop Rummel High School                                                                                           1,321.00                        ‐                ‐                   ‐          1,321.00

ANO    Archbishop Rummel High School                                                                                           1,328.00                        ‐                ‐                   ‐          1,328.00

ANO    Archbishop Rummel High School                                                                                           3,773.00                        ‐                ‐                   ‐          3,773.00

ANO    Archbishop Shaw High                                                                                                      393.40                        ‐             590.10                 ‐            983.50

ANO    Archbishop Shaw High School                                                                                             3,000.00                      15.00              ‐           6,004.50           9,019.50 Statement sent; general allowance recorded

ANO    Archbishop Shaw High School                                                                                               442.62                        ‐                ‐                   ‐            442.62

ANO    Archbishop Shaw High School                                                                                                  ‐                          ‐                ‐          27,847.00          27,847.00 Payment in full expected at end of policy period

ANO    Archbishop Shaw High School                                                                                            17,967.03                17,967.03         7,188.26                   ‐         43,122.31

ANO    Archdiocesan Cemeteries                                                                                                     0.09                        ‐                ‐                   ‐              0.09

ANO    Archdiocese of Galveston‐Houston                                                                                         (500.00)                       ‐                ‐                   ‐           (500.00)

ANO    Ascension Of Our Lord Church                                                                                                 ‐                  17,471.00                ‐                   ‐         17,471.00

ANO    Ascension of Our Lord School                                                                                            3,191.25                        ‐                ‐                   ‐          3,191.25

ANO    Assumption of Mary Mission                                                                                                  6.75                        ‐                ‐                   ‐              6.75

ANO    Assumption Of Mary Parish, Avondale                                                                                     4,364.50                 4,364.50         3,153.25                   ‐         11,882.25

ANO    Austin Energy                                                                                                             (86.10)                       ‐                ‐                   ‐            (86.10)

ANO    BERNARD III ROUQUETTE IV                                                                                                     ‐                          ‐                ‐               (416.13)        (416.13) Statement sent

ANO    Blessed Francis Xavier Seelos Church                                                                                         ‐                          ‐                ‐          10,621.00          10,621.00 Personal phone call made

ANO    Blessed Francis Xavier Seelos Church                                                                                         ‐                          ‐                ‐                89.75            89.75 Personal phone call made

ANO    Blessed Francis Xavier Seelos Church                                                                                         ‐                          ‐                ‐           5,738.33           5,738.33 Personal phone call made

ANO    Blessed Francis Xavier Seelos Church                                                                                         ‐                          ‐                ‐          48,298.50          48,298.50 Personal phone call made

ANO    Blessed Francis Xavier Seelos Church                                                                                         ‐                          ‐                ‐           3,323.00           3,323.00 Personal phone call made
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ANO   Blessed Francis Xavier Seelos Church              ‐           ‐            ‐      7,317.00     7,317.00 Personal phone call made

ANO   Blessed Francis Xavier Seelos Church        6,628.08     6,628.08     6,628.08   47,407.77    67,292.02 Personal phone call made

ANO   Blessed Francis Xavier Seelos Church          741.00          ‐            ‐           ‐         741.00

ANO   Blessed Sacrament ‐ St. Joan of Arc           400.00          ‐            ‐           ‐         400.00

ANO   Blessed Sacrament‐St Joan Of Arc Church       442.61          ‐            ‐           ‐         442.61

ANO   Blessed Trinity                                   ‐           ‐            ‐       115.00        115.00 Statement sent

ANO   Blessed Trinity                             2,401.00          ‐            ‐           ‐       2,401.00

ANO   Blessed Trinity                                   ‐           ‐      15,395.00         ‐      15,395.00

ANO   Blessed Trinity Parish                         24.00          ‐            ‐        71.25         95.25 Statement sent; general allowance recorded

ANO   Blessed Trinity Parish                        600.00      400.00           ‐      1,620.00     2,620.00 Statement sent

ANO   Cabrini High School                         8,590.00          ‐       2,500.00    2,500.00    13,590.00 Statement sent; general allowance recorded

ANO   Catholic Charities                                ‐           ‐            ‐     10,679.16    10,679.16 Pending reconciliation of billing amounts

ANO   Catholic Charities                         35,234.00      200.00           ‐        (51.00)   35,383.00 Statement sent; general allowance recorded

ANO   Catholic Charities                         (16,803.26)        ‐            ‐           ‐      (16,803.26)

ANO   Catholic Charities                         11,515.67          ‐            ‐           ‐      11,515.67

ANO   Catholic Charities                          5,776.65          ‐            ‐           ‐       5,776.65

ANO   Catholic Charities                          2,327.25       40.67           ‐           ‐       2,367.92

ANO   Catholic Charities, Arch. Of New Orleans          ‐      1,761.58     7,056.28   17,588.18    26,406.04 Payment in full expected at end of policy period

ANO   Catholic Charities, Arch. Of New Orleans      229.88      229.88       229.88      153.26        842.88 Personal phone call made

ANO   Catholic Charities, Arch. Of New Orleans   67,102.67          ‐            ‐           ‐      67,102.67

ANO   Catholic Charities, Arch. Of New Orleans      205.38          ‐            ‐           ‐         205.38

ANO   Catholic Charities, Arch. Of New Orleans      355.30      355.30       325.72          ‐       1,036.32

ANO   Catholic Charities, Arch. Of New Orleans      355.30      355.30       325.72          ‐       1,036.32

ANO   Catholic Charities, Arch. Of New Orleans      182.88      182.88       121.93          ‐         487.69

ANO   Catholic Charities, Arch. Of New Orleans      575.62          ‐            ‐           ‐         575.62

ANO   Catholic Charities, Arch. Of New Orleans      695.35          ‐            ‐           ‐         695.35

ANO   Catholic Charities, Arch. Of New Orleans      418.67      418.67       418.67          ‐       1,256.00

ANO   Catholic Charities, Arch. Of New Orleans      160.33      160.33       160.33          ‐         481.00

ANO   Catholic Charities, Arch. Of New Orleans      182.33      182.33       182.33          ‐         547.00

ANO   Catholic Charities, Arch. Of New Orleans      252.00      252.00       252.00          ‐         756.00

ANO   Catholic Foundation                         1,968.63          ‐            ‐          5.00     1,973.63 Statement sent; general allowance recorded

ANO   Catholic Foundation                           183.60          ‐            ‐           ‐         183.60

ANO   Catholic Foundation                         4,111.92          ‐            ‐           ‐       4,111.92

ANO   Catholic Mutual                                   ‐           ‐            ‐     27,336.16    27,336.16 Amounts disputed

ANO   Catholic Mutual                               243.80          ‐            ‐           ‐         243.80

ANO   Cemeteries                                  1,505.25          ‐            ‐           ‐       1,505.25

ANO   Center of Jesus the Lord                       35.00          ‐            ‐           ‐          35.00

ANO   Center of Jesus The Lord                      200.00          ‐            ‐       200.00        400.00 Statement sent

ANO   Center Of Jesus The Lord Church                   ‐           ‐            ‐       350.00        350.00 Statement sent

ANO   Center Of Jesus The Lord Church                   ‐           ‐            ‐      2,733.00     2,733.00 Payment in full expected at end of policy period

ANO   Center Of Jesus The Lord Church                   ‐           ‐            ‐      2,393.00     2,393.00 Payments being made against balance

ANO   Center Of Jesus The Lord Church             1,588.00          ‐            ‐           ‐       1,588.00

ANO   Chateau de Notre Dame                      10,863.75          ‐            ‐           ‐      10,863.75

ANO   Chateau de Notre Dame                       5,155.34          ‐            ‐           ‐       5,155.34

ANO   Chateau De Notre Dame ‐ LTHC               12,537.50          ‐            ‐      1,147.99    13,685.49 Statement sent; general allowance recorded

ANO   CHI‐Annunciation Inn                          816.75          ‐            ‐           ‐         816.75

ANO   CHI‐Christopher Inn                           822.75          ‐            ‐       781.28      1,604.03 Statement sent; general allowance recorded

ANO   CHI‐Delille Inn                               773.25          ‐            ‐           ‐         773.25

ANO   CHI‐Mater Dolorosa Apartments                 935.25          ‐            ‐       654.60      1,589.85 Statement sent; general allowance recorded

ANO   CHI‐Metairie Manor                            283.50          ‐            ‐           ‐         283.50

ANO   CHI‐Metairie Manor III                        699.00          ‐            ‐           ‐         699.00

ANO   CHI‐Metairie Manor IV                       1,170.00          ‐            ‐      1,845.00     3,015.00 Statement sent; general allowance recorded

ANO   CHI‐Nazareth Inn I                            828.00          ‐            ‐           ‐         828.00

ANO   CHI‐Nazareth Inn II                           731.25          ‐            ‐           ‐         731.25

ANO   CHI‐Place Dubourg                             851.25          ‐            ‐           ‐         851.25

ANO   CHI‐Rouquette Lodge I                       1,970.25          ‐            ‐           ‐       1,970.25

ANO   CHI‐Rouquette Lodge III                     1,031.25          ‐            ‐           ‐       1,031.25

ANO   CHI‐Rouquette Lodge IV                      1,100.25          ‐            ‐           ‐       1,100.25

ANO   CHI‐St. Ann Square                            227.25     1,440.00          ‐           ‐       1,667.25

ANO   CHI‐St. Bernard Manor                         883.50          ‐            ‐           ‐         883.50

ANO   CHI‐St. John Berchmans Manor                  777.00          ‐            ‐       767.25      1,544.25 Statement sent; general allowance recorded

ANO   CHI‐St. Martin House                          238.50          ‐            ‐       238.50        477.00 Statement sent; general allowance recorded

ANO   CHI‐St. Martin Manor                          789.00      (200.10)         ‐           ‐         588.90

ANO   CHI‐St. Teresa Villa                          863.25          ‐            ‐       841.50      1,704.75 Statement sent; general allowance recorded

ANO   CHI‐Villa St. Maurice I & II                  846.75          ‐            ‐      1,729.50     2,576.25 Statement sent; general allowance recorded

ANO   CHI‐Wynhoven I & II                         1,011.00          ‐            ‐           ‐       1,011.00

ANO   CHRIST INN                                        ‐       (306.28)         ‐           ‐        (306.28)
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ANO   Christ The King Church                         442.62            ‐           ‐               ‐          442.62

ANO   Christ The King Church                       19,261.00           ‐      3,174.00      13,936.00      36,371.00 Payment in full expected at end of policy period

ANO   Christ The King Church                             ‐             ‐           ‐        19,221.75      19,221.75 Personal phone call made

ANO   Christ The King Church                             ‐             ‐           ‐        58,741.50      58,741.50 Personal phone call made

ANO   Christ The King Church                             ‐             ‐           ‐        29,224.00      29,224.00 Personal phone call made

ANO   Christ The King Church                             ‐             ‐           ‐        15,521.00      15,521.00 Personal phone call made

ANO   Christ The King Church                       10,450.17     10,450.17   10,450.17      28,577.50      59,928.00 Personal phone call made

ANO   Christ the King Parish                          11.25            ‐           ‐               ‐            11.25

ANO   Christ the King School                        3,498.75           ‐           ‐               ‐         3,498.75

ANO   Christian Brothers ‐ St. Anthony Campus       3,204.00           ‐           ‐               ‐         3,204.00

ANO   Christian Brothers School                     4,824.00           ‐           ‐               ‐         4,824.00

ANO   Christopher Homes                             5,636.25           ‐           ‐          6,000.50     11,636.75 Statement sent; general allowance recorded

ANO   Christopher Homes                             3,689.01           ‐           ‐               ‐         3,689.01

ANO   Christopher Homes                             1,000.00           ‐           ‐               ‐         1,000.00

ANO   Christopher Homes ‐ St. Bernard                    ‐             ‐           ‐          5,717.00       5,717.00 To be paid upon refinancing of property by Christopher Homes

ANO   Christopher Homes, Inc.                       2,923.00           ‐           ‐               ‐         2,923.00

ANO   Clarion Herald                                 593.25            ‐           ‐               ‐          593.25

ANO   Confidential                                       ‐      625,000.00         ‐      1,875,000.00   2,500,000.00 Receivable is to be paid out through FY 2022

ANO   Corpus Christi‐Epiphany Church                  51.00            ‐           ‐               ‐            51.00

ANO   Corpus Christi‐Epiphany Church                 797.00            ‐           ‐               ‐          797.00

ANO   Corpus Christi‐Epiphany Church                2,745.00           ‐           ‐               ‐         2,745.00

ANO   Corpus Christi‐Epiphany Church                 771.00            ‐           ‐               ‐          771.00

ANO   Corpus Christi‐Epiphany Community Center      1,038.00           ‐           ‐               ‐         1,038.00

ANO   De La Salle High School                       3,030.00           ‐           ‐          2,839.75       5,869.75 Statement sent; general allowance recorded

ANO   De La Salle High School                            ‐             ‐           ‐        16,907.00      16,907.00 Receivable will be offset against Required Services Payable amount to

ANO   DeLaSalle High School                              ‐             ‐           ‐           675.00         675.00 Receivable will be offset against Required Services Payable amount to

ANO   Delille Inn Provident                              ‐             ‐       454.58           35.42         490.00 Statement sent

ANO   Diocese of Lake Charles                       1,355.83      1,355.83         ‐               ‐         2,711.66

ANO   Divine Mercy Parish                            100.00            ‐           ‐        14,479.65      14,579.65 Statement sent; general allowance recorded

ANO   Divine Mercy Parish                            400.00            ‐           ‐           200.00         600.00 Statement sent

ANO   Dumb Ox Ministries                             (300.00)          ‐           ‐               ‐          (300.00)

ANO   E.D. White Catholic High School                    ‐             ‐           ‐           385.00         385.00 Statement sent; general allowance recorded

ANO   Gallagher, Various                           22,468.18      3,336.57    2,286.89        2,244.49     30,336.13 Credits have been discussed and are pending

ANO   Good Shepherd Church                           951.86            ‐           ‐               ‐          951.86

ANO   Good Shepherd Church                              0.04           ‐           ‐               ‐             0.04

ANO   Good Shepherd Parish at St. Stephen             55.50            ‐           ‐               ‐            55.50

ANO   Hanmaum Korean Catholic Church                     ‐             ‐           ‐           350.00         350.00 Statement sent

ANO   Hanmaum Korean Catholic Church                 428.57        428.57      428.57          574.99        1,860.70 Statement sent; general allowance recorded

ANO   Hanmaum Korean Catholic Church                     ‐             ‐           ‐          1,966.80       1,966.80 Statement sent; general allowance recorded

ANO   Hanmaum Korean Catholic Church                5,037.00           ‐           ‐               ‐         5,037.00

ANO   Holy Cross School                                  ‐             ‐           ‐        27,753.00      27,753.00 Personal phone call made

ANO   Holy Family Church (Luling)                   8,178.00      7,796.08         ‐               ‐       15,974.08

ANO   Holy Family Church, Franklinton                 39.75            ‐           ‐               ‐            39.75

ANO   Holy Family, Franklinton                       400.00            ‐           ‐               ‐          400.00

ANO   Holy Name Of Jesus Church                          ‐             ‐           ‐          2,301.50       2,301.50 Payment in full expected at end of policy period

ANO   Holy Name of Jesus Parish                      297.75            ‐           ‐               ‐          297.75

ANO   Holy Name of Jesus School                     3,514.25           ‐           ‐               ‐         3,514.25

ANO   Holy Name of Jesus School                          ‐             ‐       (115.00)            ‐          (115.00)

ANO   Holy Name Of Mary Church                       468.12            ‐           ‐               ‐          468.12

ANO   Holy Name Of Mary Church                          1.00           ‐           ‐               ‐             1.00

ANO   Holy Name of Mary Parish                        30.75            ‐           ‐               ‐            30.75

ANO   Holy Spirit Church                              15.00            ‐           ‐               ‐            15.00

ANO   Houma‐Thibodaux Diocese                      13,842.00      3,250.00         ‐        18,113.79      35,205.79 Statement sent; general allowance recorded

ANO   Immaculate Conception Church ‐ Marrero             ‐             ‐           ‐           415.00         415.00 Statement sent

ANO   Immaculate Conception Church (Marrero)             ‐            1.00         ‐               ‐             1.00

ANO   Immaculate Conception Church (Marrero)        2,318.00           ‐           ‐               ‐         2,318.00

ANO   Immaculate Conception Church (Marrero)         915.00            ‐           ‐               ‐          915.00

ANO   Immaculate Conception Church (Marrero)        5,317.00           ‐           ‐               ‐         5,317.00

ANO   Immaculate Conception Church (Marrero)        4,861.00           ‐           ‐               ‐         4,861.00

ANO   Immaculate Conception Church (Marrero)        4,087.00           ‐           ‐               ‐         4,087.00

ANO   Immaculate Conception Church (Marrero)        3,782.00           ‐           ‐               ‐         3,782.00

ANO   Immaculate Conception Church (Marrero)        3,648.00           ‐           ‐               ‐         3,648.00

ANO   Immaculate Conception Church (Marrero)        4,257.00           ‐           ‐               ‐         4,257.00

ANO   Immaculate Conception Church (Marrero)         752.00            ‐           ‐               ‐          752.00

ANO   Immaculate Conception Church (Marrero)        3,794.00           ‐           ‐               ‐         3,794.00

ANO   Immaculate Conception Church (New Orleans)    5,714.00           ‐           ‐               ‐         5,714.00

ANO   Immaculate Conception Church (New Orleans)         ‐             ‐           ‐          1,301.42       1,301.42 Balance subsequently paid in full
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ANO   Immaculate Conception Church (New Orleans)         10,140.74         ‐            ‐               ‐         10,140.74

ANO   Immaculate Conception Parish                         606.75      366.10           ‐               ‐            972.85

ANO   Immaculate Conception Parish (N.O.)                   35.03        (9.00)         ‐               ‐             26.03

ANO   Immaculate Conception School                        1,518.75     100.00        30.00              ‐          1,648.75

ANO   Immaculate Conception School                             ‐           ‐            ‐           415.00           415.00 Statement sent

ANO   Insurer (Various)                                        ‐           ‐      30,233.80     544,511.24       574,745.04 Pending reconciliation of billing amounts

ANO   IOI                                                      ‐           ‐            ‐       632,331.51       632,331.51 Pending lawsuit ‐ payment in full expected

ANO   Jesuit High School                                  4,500.00         ‐            ‐               ‐          4,500.00

ANO   Korean Catholic                                     2,626.73    2,558.12       25.00           13.00         5,222.85 Statement sent

ANO   Mary Queen Of Peace Church                          1,359.37         ‐            ‐               ‐          1,359.37

ANO   Mary Queen Of Peace Church                               ‐      8,353.00          ‐         3,422.01        11,775.01 Payment in full expected at end of policy period

ANO   Mary Queen Of Peace Church                          1,254.88         ‐            ‐               ‐          1,254.88

ANO   Mary Queen of Peace Parish                           245.00          ‐            ‐               ‐            245.00

ANO   Mary Queen of Peace School                          3,491.75         ‐            ‐           195.00         3,686.75 Statement sent; general allowance recorded

ANO   Mary Queen Of Vietnam Church                          54.00          ‐            ‐               ‐             54.00

ANO   Mater Dolorosa Catholic Church                        15.00          ‐            ‐               ‐             15.00

ANO   Mater Dolorosa Church                              12,202.50   12,202.50    12,202.50         392.50        37,000.00 Personal phone call made

ANO   MET MANOR                                                ‐           ‐        430.83       21,809.72        22,240.55 Statement sent

ANO   Most Holy Trinity Church                            3,396.00         ‐            ‐               ‐          3,396.00

ANO   Most Holy Trinity Parish                             593.25          ‐            ‐               ‐            593.25

ANO   N/A ‐ Allowance                                          ‐           ‐            ‐     (1,850,000.00)   (1,850,000.00) N/A ‐ Allowance to offset Insurance and Assessment Receivables abov

ANO   N/A ‐ Allowance                                          ‐           ‐            ‐      (250,000.00)     (250,000.00) N/A ‐ Allowance to offset IT Receivables above

ANO   Nazareth Inn II                                          ‐           ‐            ‐         2,127.03         2,127.03 Personal phone call made

ANO   Nazareth Inn II                                          ‐           ‐            ‐        24,271.71        24,271.71 Personal phone call made

ANO   Nazareth Inn II                                          ‐           ‐            ‐            43.48            43.48 Personal phone call made

ANO   Nazareth‐Prov                                            ‐           ‐       2,479.62      11,721.24        14,200.86 Statement sent

ANO   Notre Dame Health System                            4,690.00         ‐            ‐               ‐          4,690.00

ANO   Notre Dame Health System                            3,806.00         ‐            ‐               ‐          3,806.00

ANO   Notre Dame Home Care                                4,960.50         ‐            ‐               ‐          4,960.50

ANO   Notre Dame Hospice                                 15,180.78         ‐            ‐         1,030.00        16,210.78 Statement sent; general allowance recorded

ANO   Notre Dame Seminary                                 5,679.00         ‐            ‐               ‐          5,679.00

ANO   Notre Dame Seminary                                  750.00          ‐            ‐               ‐            750.00

ANO   Notre Dame Seminary                                  500.00          ‐            ‐               ‐            500.00

ANO   Notre Dame Seminary                                  804.00          ‐            ‐               ‐            804.00

ANO   Notre Dame Seminary                                 8,885.00         ‐            ‐               ‐          8,885.00

ANO   Notre Dame Seminary                                 5,256.00         ‐            ‐               ‐          5,256.00

ANO   OL Perpetual Help, Kenner                           2,570.00         ‐            ‐               ‐          2,570.00

ANO   Old Ursuline Convent                                     ‐       200.00           ‐               ‐            200.00

ANO   Optum RX                                                 ‐           ‐            ‐     1,120,000.00     1,120,000.00 Payments to be received quarterly

ANO   Our Lady of Divine Providence                        200.00          ‐            ‐           200.00           400.00 Statement sent

ANO   Our Lady Of Divine Providence Church                     ‐           ‐            ‐         3,850.00         3,850.00 Statement sent

ANO   Our Lady Of Divine Providence Church                5,498.00   10,874.00          ‐           872.00        17,244.00 Payment in full expected at end of policy period

ANO   Our Lady Of Divine Providence Church                     ‐           ‐            ‐           796.84           796.84 Statement sent; general allowance recorded

ANO   Our Lady Of Divine Providence Church                     ‐           ‐            ‐         4,180.00         4,180.00 Statement sent; general allowance recorded

ANO   Our Lady Of Divine Providence Church               13,256.00   13,256.00    10,037.69             ‐         36,549.69

ANO   Our Lady of Divine Providence Parish                  48.50          ‐            ‐               ‐             48.50

ANO   Our Lady Of Grace Church                             442.62          ‐            ‐               ‐            442.62

ANO   Our Lady Of Grace Church                                 ‐           ‐            ‐         1,400.00         1,400.00 Letter sent

ANO   Our Lady Of Grace Church                           11,688.00         ‐            ‐               ‐         11,688.00

ANO   Our Lady Of Grace Church                                 ‐           ‐            ‐         5,321.51         5,321.51 Letter Sent

ANO   Our Lady of Grace Parish                              33.00          ‐            ‐               ‐             33.00

ANO   Our Lady of Guadalupe Church                            2.25         ‐            ‐               ‐               2.25

ANO   Our Lady Of Lavang Mission                          1,228.98         ‐            ‐               ‐          1,228.98

ANO   Our Lady of Lourdes ‐ Violet                          15.75          ‐            ‐               ‐             15.75

ANO   Our Lady of Lourdes Church ‐ Slidell                 200.00          ‐            ‐               ‐            200.00

ANO   Our Lady Of Lourdes Church (Slidell)                     ‐      4,551.00     2,138.00             ‐          6,689.00

ANO   Our Lady Of Lourdes Church (Slidell)               32,145.27   32,145.27     5,296.57             ‐         69,587.11

ANO   Our Lady Of Lourdes Church (Violet)                      ‐           ‐            ‐           700.00           700.00 Statement sent

ANO   Our Lady Of Lourdes Church (Violet)                 2,923.00         ‐       2,273.00         581.00         5,777.00 Payment in full expected at end of policy period

ANO   Our Lady of Lourdes Parish, Slidell                   20.25          ‐            ‐               ‐             20.25

ANO   Our Lady of Lourdes School                           200.00          ‐            ‐           200.00           400.00 Statement sent

ANO   Our Lady of Lourdes School, Slidell                 6,636.99     250.00           ‐               ‐          6,886.99

ANO   Our Lady of Lourdes, Slidell                        2,407.00         ‐            ‐               ‐          2,407.00

ANO   Our Lady of Perpetual Help Church ‐ Kenner           200.00          ‐            ‐               ‐            200.00

ANO   Our Lady Of Perpetual Help Church (Belle Chasse)         ‐           ‐            ‐         4,160.90         4,160.90 Payment in full expected at end of policy period

ANO   Our Lady Of Perpetual Help Church (Kenner)               ‐      9,962.33          ‐           729.00        10,691.33 Payment in full expected at end of policy period

ANO   Our Lady Of Perpetual Help Church (Kenner)         22,694.58   22,694.58    10,812.83             ‐         56,202.00
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ANO   Our Lady of Perpetual Help Parish Kenner               4.50         ‐            ‐             ‐            4.50

ANO   Our Lady of Perpetual Help School Belle C          1,785.75         ‐            ‐             ‐        1,785.75

ANO   Our Lady of Perpetual Help School Kenner           1,755.25         ‐            ‐             ‐        1,755.25

ANO   Our Lady of Perpetual Help School Kenner            200.00          ‐            ‐         400.00         600.00 Statement sent

ANO   Our Lady Of Prompt Succor Church (Chalmette)        611.72          ‐            ‐             ‐          611.72

ANO   Our Lady Of Prompt Succor Church (Chalmette)       4,547.00         ‐            ‐       13,307.90     17,854.90 Payment in full expected at end of policy period

ANO   Our Lady Of Prompt Succor Church (Chalmette)      19,519.65   19,519.65    19,519.65     24,353.35     82,912.30 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)         442.61          ‐            ‐             ‐          442.61

ANO   Our Lady Of Prompt Succor Church (Westwego)             ‐      1,035.00          ‐       25,406.00     26,441.00 Payment in full expected at end of policy period

ANO   Our Lady Of Prompt Succor Church (Westwego)             ‐           ‐            ‐       13,481.66     13,481.66 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)             ‐           ‐            ‐      120,180.85    120,180.85 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)             ‐           ‐            ‐        2,192.46      2,192.46 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)             ‐           ‐            ‐        2,379.26      2,379.26 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)             ‐           ‐            ‐        3,323.00      3,323.00 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)             ‐           ‐            ‐       17,223.00     17,223.00 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)        2,131.25    2,131.25     2,131.25     18,646.79     25,040.54 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)       17,057.58   17,057.58    17,057.58    128,368.25    179,541.00 Personal phone call made

ANO   Our Lady Of Prompt Succor Church (Westwego)        1,754.00         ‐            ‐             ‐        1,754.00

ANO   Our Lady Of Prompt Succor Church (Westwego)        3,093.00         ‐            ‐             ‐        3,093.00

ANO   Our Lady Of Prompt Succor Church (Westwego)        1,819.00         ‐            ‐             ‐        1,819.00

ANO   Our Lady of Prompt Succor Parish ‐ Chalme           241.74          ‐            ‐             ‐          241.74

ANO   Our Lady of Prompt Succor Parish Westwego           168.00          ‐            ‐        5,936.83      6,104.83 Statement sent; general allowance recorded

ANO   Our Lady of Prompt Succor Roman Catholic Church     199.99          ‐            ‐             ‐          199.99

ANO   Our Lady of Prompt Succor School ‐ Chalme          3,064.50         ‐            ‐       23,676.83     26,741.33 Statement sent; general allowance recorded

ANO   Our Lady of Prompt Succor School ‐ Chalmette        400.00          ‐            ‐         600.00       1,000.00 Statement sent

ANO   Our Lady of Prompt Succor School ‐ Westwe          1,530.00     250.00           ‐             ‐        1,780.00

ANO   Our Lady of Prompt Succor School ‐Westwego          400.00          ‐            ‐             ‐          400.00

ANO   Our Lady of the Angels ‐ Waggaman                      2.25         ‐            ‐             ‐            2.25

ANO   Our Lady of the Holy Rosary                            9.00         ‐            ‐             ‐            9.00

ANO   Our Lady of the Holy Rosary ‐ Hahnville             200.00          ‐            ‐             ‐          200.00

ANO   Our Lady Of The Holy Rosary Church                      ‐           ‐            ‐        5,884.00      5,884.00 Payment in full expected at end of policy period

ANO   Our Lady Of The Lake Church                        1,359.36         ‐            ‐             ‐        1,359.36

ANO   Our Lady Of The Lake Church                             ‐           ‐            ‐        9,095.00      9,095.00 Payment in full expected at end of policy period

ANO   Our Lady of the Lake School                        3,556.50         ‐            ‐             ‐        3,556.50

ANO   Our Lady of The Rosary                              321.75          ‐            ‐             ‐          321.75

ANO   Our Lady Of The Rosary Church                       442.61          ‐            ‐             ‐          442.61

ANO   Our Lady of the Rosary Church                       200.00          ‐            ‐             ‐          200.00

ANO   Our Lady of Wisdom                                 7,286.25         ‐            ‐             ‐        7,286.25

ANO   Our Lady Star of the Sea                             30.00          ‐            ‐           75.50        105.50 Statement sent; general allowance recorded

ANO   Our Lady Star Of The Sea Church                    5,714.00         ‐            ‐             ‐        5,714.00

ANO   PLACE DUBOURG                                           ‐       (914.64)     (914.64)    (1,484.28)    (3,313.56) Statement sent

ANO   Pontifical Mission Society                         1,814.52         ‐            ‐             ‐        1,814.52

ANO   Pope John Paul High School                         3,486.00         ‐       2,053.00      3,479.25      9,018.25 Statement sent; general allowance recorded

ANO   Pope John Paul II High School                       442.61          ‐            ‐             ‐          442.61

ANO   Pope John Paul II High School                      3,806.00         ‐            ‐             ‐        3,806.00

ANO   Pope John Paul II HS                                    ‐           ‐        320.00            ‐          320.00

ANO   Project Lazarus                                     929.25          ‐            ‐             ‐          929.25

ANO   Project Lazarus                                    1,742.00    1,035.00     6,174.11           ‐        8,951.11

ANO   Resurrection of Our Lord Church                     165.00          ‐            ‐             ‐          165.00

ANO   Resurrection Of Our Lord Church                      84.10          ‐            ‐             ‐           84.10

ANO   Resurrection Of Our Lord Church                   17,652.00         ‐            ‐             ‐       17,652.00

ANO   Resurrection of Our Lord School                    1,965.00     595.00           ‐           15.00      2,575.00 Statement sent; general allowance recorded

ANO   ROQUETTE                                                ‐           ‐       5,634.08      8,552.53     14,186.61 Statement sent

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐       13,150.84     13,150.84 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐       18,148.00     18,148.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐         956.00         956.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐       20,871.00     20,871.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐        1,049.00      1,049.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐         600.00         600.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐         600.00         600.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐         600.00         600.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐         600.00         600.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐         600.00         600.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐         600.00         600.00 Balance deemed collectible upon refinancing

ANO   Rouquette Lodge IV                                      ‐           ‐            ‐       19,285.82     19,285.82 Balance deemed collectible upon refinancing

ANO   Sacred Heart ‐ Lacombe                                 4.50         ‐            ‐             ‐            4.50

ANO   Sacred Heart Church                                     ‐      9,474.00          ‐             ‐        9,474.00
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ANO   Sacred Heart Church                                6,485.00    6,485.00    6,485.00    36,543.00    55,998.00 Letter sent

ANO   Sacred Heart Of Jesus Church                       5,054.00         ‐           ‐            ‐       5,054.00

ANO   Sacred Heart of Jesus Church Norco                     6.75         ‐           ‐            ‐           6.75

ANO   Sacred Heart of Jesus School Norco                   13.50          ‐           ‐            ‐          13.50

ANO   SACRED HEART SCHOOL                                     ‐           ‐           ‐        415.00        415.00 Statement sent

ANO   Saint Agnes Church                                  200.00          ‐           ‐            ‐         200.00

ANO   Saint Philip Neri Church                            200.00          ‐           ‐            ‐         200.00

ANO   Saint Philip Neri School                            200.00      200.00          ‐            ‐         400.00

ANO   School Food Services                              32,469.31         ‐           ‐        182.62     32,651.93 Statement sent; general allowance recorded

ANO   Second Harvest                                     1,000.00         ‐           ‐            ‐       1,000.00

ANO   Second Harvest Food Bank Of Greater New Orleans         ‐           ‐       964.00      3,716.00     4,680.00 Payment in full expected at end of policy period

ANO   Second Harvest Food Bank Of Greater New Orleans    1,139.42    1,139.42    1,139.42    10,254.75    13,673.00 Personal phone call made

ANO   Second Harvest Food Bank Of Greater New Orleans    5,221.80         ‐           ‐            ‐       5,221.80

ANO   Security Deposit                                        ‐           ‐           ‐       8,485.89     8,485.89 N/A ‐ Security Deposit to be returned upon departure

ANO   Seminarian                                              ‐           ‐           ‐         75.00         75.00 Collection efforts in progress; write off in subsequent month if deeme

ANO   Sister of the Holy Family                          1,600.00         ‐           ‐            ‐       1,600.00

ANO   St Ann Church & Shrine                             2,407.00         ‐           ‐            ‐       2,407.00

ANO   St Bernard II dba Metairie IV                           ‐           ‐       (240.00)   (2,022.58)   (2,262.58) Statement sent

ANO   St Charles Borromeo, Destrehan                     2,472.00         ‐           ‐            ‐       2,472.00

ANO   St Francis Xavier                                  2,407.00         ‐           ‐            ‐       2,407.00

ANO   St James Major                                     2,580.00         ‐           ‐            ‐       2,580.00

ANO   St Joseph Seminary College                         4,777.67         ‐           ‐            ‐       4,777.67

ANO   St Martin Manor                                         ‐           ‐      1,800.00     2,780.94     4,580.94 Statement sent

ANO   St Thomas, Pointe a la Hache                       2,447.00    2,447.00    2,447.00     3,658.00    10,999.00 Statement sent

ANO   St. Agnes Church                                        ‐      7,208.00         ‐      11,388.77    18,596.77 Payment in full expected at end of policy period

ANO   St. Agnes Le Thi Thanh                                 4.50         ‐           ‐            ‐           4.50

ANO   St. Agnes Le Thi Thanh Church                      3,806.00         ‐           ‐            ‐       3,806.00

ANO   St. Agnes Parish                                    163.50          ‐          2.00          ‐         165.50

ANO   St. Alphonsus School ‐ NO                          1,747.50     250.00          ‐       8,693.17    10,690.67 Statement sent; general allowance recorded

ANO   St. Andrew the Apostle Church                        47.25          ‐           ‐            ‐          47.25

ANO   St. Andrew The Apostle Church                       442.61          ‐           ‐            ‐         442.61

ANO   St. Andrew The Apostle Church                           ‐           ‐           ‐      16,399.40    16,399.40 Payment in full expected at end of policy period

ANO   St. Andrew the Apostle School                      3,110.25         ‐           ‐            ‐       3,110.25

ANO   St. Angela Merici Church                                ‐      7,445.00         ‐            ‐       7,445.00

ANO   St. Angela Merici School                           4,663.75         ‐           ‐            ‐       4,663.75

ANO   St. Ann                                                 ‐           ‐           ‐        250.00        250.00 Billings to be sent at end of year (June 2020)

ANO   St. Ann Catholic School                             200.00          ‐           ‐            ‐         200.00

ANO   St. Ann Church                                      285.00          ‐           ‐            ‐         285.00

ANO   St. Ann Church                                          ‐           ‐           ‐        624.00        624.00 Personal phone call made

ANO   St. Ann Church                                    11,389.00    9,427.00         ‐            ‐      20,816.00

ANO   ST. ANN ROMAN CATHOLIC CHURCH                       200.00          ‐           ‐            ‐         200.00

ANO   St. Ann School                                     3,595.50     575.00          ‐        430.00      4,600.50 Statement sent; general allowance recorded

ANO   St. Ann Square                                       41.67       41.67       41.67       375.00        500.00 Statement sent; general allowance recorded

ANO   St. Anselm (Madisonville)                          2,414.00         ‐           ‐            ‐       2,414.00

ANO   St. Anselm Church                                 35,979.00         ‐           ‐            ‐      35,979.00

ANO   St. Anthony Church (Gretna)                        5,856.00    4,577.00         ‐            ‐      10,433.00

ANO   St. Anthony Church (Lafitte)                            ‐           ‐           ‐      29,368.00    29,368.00 Statement sent; general allowance recorded

ANO   St. Anthony Church (Lafitte)                       8,451.08    8,451.08    8,451.08     2,098.99    27,452.24 Statement sent; general allowance recorded

ANO   St. Anthony Gardens                                4,690.00         ‐           ‐            ‐       4,690.00

ANO   St. Anthony Luling                                 2,005.39         ‐           ‐            ‐       2,005.39

ANO   St. Anthony of Padua ‐ Luling                       126.50          ‐           ‐            ‐         126.50

ANO   St. Anthony Of Padua Church (Luling)               3,402.00         ‐           ‐            ‐       3,402.00

ANO   St. Anthony Of Padua Church (Luling)                741.00          ‐           ‐            ‐         741.00

ANO   St. Anthony Of Padua Church (Luling)               3,402.00         ‐           ‐            ‐       3,402.00

ANO   St. Anthony Of Padua Church (Luling)               2,035.00         ‐           ‐            ‐       2,035.00

ANO   St. Anthony Of Padua Church (New Orleans)           527.61          ‐           ‐            ‐         527.61

ANO   St. Anthony Of Padua Church (New Orleans)               ‐           ‐           ‐       8,593.00     8,593.00 Payment in full expected at end of policy period

ANO   St. Anthony Of Padua Church (New Orleans)         14,133.00   14,133.00   14,133.00    27,469.72    69,868.72 Statement sent; general allowance recorded

ANO   St. Anthony of Padua Parish                             ‐           ‐           ‐         (15.75)      (15.75) Statement sent; general allowance recorded

ANO   St. Anthony of Padua School                             ‐           ‐           ‐         (18.00)      (18.00) Statement sent; general allowance recorded

ANO   St. Anthony of Padua, Luling                        200.00          ‐           ‐            ‐         200.00

ANO   St. Anthony Parish ‐ Lafitte                           4.50         ‐           ‐            ‐           4.50

ANO   St. Anthony School, Gretna                         1,641.00         ‐           ‐            ‐       1,641.00

ANO   St. Anthony School, Gretna                          200.00          ‐           ‐            ‐         200.00

ANO   St. Anthony's Gardens                              4,298.45     567.97          ‐            ‐       4,866.42

ANO   St. Anthony's Gardens                                  0.15         ‐           ‐            ‐           0.15

ANO   St. Augustine Church                                 18.00          ‐           ‐            ‐          18.00
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ANO   St. Augustine Church                  400.00     200.00         ‐       200.00       800.00 Statement sent

ANO   St. Augustine Church                      ‐          ‐          ‐      3,036.00    3,036.00 Payment in full expected at end of policy period

ANO   St. Augustine Church                      ‐          ‐          ‐     12,968.00   12,968.00 Personal phone call made

ANO   St. Augustine Church                      ‐          ‐          ‐      1,421.00    1,421.00 Personal phone call made

ANO   St. Augustine Church                 3,587.67   3,587.67   3,587.67   16,289.00   27,052.00 Personal phone call made

ANO   St. Augustine High School                 ‐      300.00         ‐           ‐        300.00

ANO   St. Benedict Parish Covington            2.25        ‐          ‐           ‐          2.25

ANO   St. Benedict the Moor School          668.25         ‐          ‐           ‐        668.25

ANO   St. Benilde Church                    442.61         ‐          ‐           ‐        442.61

ANO   ST. BENILDE CHURCH                    200.00         ‐          ‐           ‐        200.00

ANO   St. Benilde Church                       0.20        ‐          ‐           ‐          0.20

ANO   St. Benilde Church                   3,113.00        ‐          ‐           ‐      3,113.00

ANO   St. Benilde Church                    816.00         ‐          ‐           ‐        816.00

ANO   St. Benilde Church                   2,092.00        ‐          ‐           ‐      2,092.00

ANO   St. Benilde Church                   2,120.00        ‐          ‐           ‐      2,120.00

ANO   St. Benilde Church                    495.00         ‐          ‐           ‐        495.00

ANO   St. Benilde Church                   3,406.00        ‐          ‐           ‐      3,406.00

ANO   St. Benilde Church                   3,375.00        ‐          ‐           ‐      3,375.00

ANO   St. Benilde Church                   2,550.00        ‐          ‐           ‐      2,550.00

ANO   St. Benilde Parish                       4.50        ‐          ‐           ‐          4.50

ANO   St. Benilde School                   3,459.00        ‐          ‐           ‐      3,459.00

ANO   St. Benilde School                    200.00         ‐          ‐           ‐        200.00

ANO   St. Bernard Catholic Church            26.25         ‐          ‐        76.50       102.75 Statement sent; general allowance recorded

ANO   St. Bernard Church                    600.00     400.00         ‐      1,615.00    2,615.00 Statement sent

ANO   St. Bernard Church                   5,387.00    624.00         ‐           ‐      6,011.00

ANO   St. Bernard Church                        ‐          ‐          ‐       526.16       526.16 Statement sent; general allowance recorded

ANO   St. Bernard Church                        ‐          ‐          ‐      5,035.00    5,035.00 Statement sent; general allowance recorded

ANO   St. Bernard Church                   4,226.00   4,226.00   4,226.00   15,937.20   28,615.20 Statement sent; general allowance recorded

ANO   St. Bernard III                           ‐          ‐          ‐        30.81        30.81 Statement sent

ANO   St. Bernard Manor                     830.00         ‐          ‐           ‐        830.00

ANO   St. Bonaventure                       400.00         ‐          ‐      1,215.00    1,615.00 Statement sent

ANO   St. Bonaventure Church                    ‐          ‐          ‐       350.00       350.00 Statement sent

ANO   St. Bonaventure Church                    ‐          ‐          ‐      1,050.00    1,050.00 Statement sent

ANO   St. Bonaventure Church               4,389.50   4,389.50   4,389.50   18,056.50   31,225.00 Personal phone call made

ANO   St. Catherine Of Siena Church        2,203.45        ‐          ‐           ‐      2,203.45

ANO   St. Catherine of Siena Church         200.00         ‐          ‐           ‐        200.00

ANO   St. Catherine Of Siena Church             ‐          ‐          ‐          6.95        6.95 Payment in full expected at end of policy period

ANO   St. Catherine Of Siena Church        3,250.00        ‐          ‐           ‐      3,250.00

ANO   St. Catherine Of Siena Church         741.00         ‐          ‐           ‐        741.00

ANO   St. Catherine Of Siena Church        1,848.00        ‐          ‐           ‐      1,848.00

ANO   St. Catherine Of Siena Church        2,923.00        ‐          ‐           ‐      2,923.00

ANO   St. Catherine Of Siena Church        3,250.00        ‐          ‐           ‐      3,250.00

ANO   St. Catherine Of Siena Church        3,250.00        ‐          ‐           ‐      3,250.00

ANO   St. Catherine Of Siena Church        3,250.00        ‐          ‐           ‐      3,250.00

ANO   St. Catherine Of Siena Church        3,250.00        ‐          ‐           ‐      3,250.00

ANO   St. Catherine of Siena Parish         138.75         ‐          ‐           ‐        138.75

ANO   St. Catherine of Siena School        3,465.00        ‐          ‐           ‐      3,465.00

ANO   St. Catherine of Siena School         200.00         ‐          ‐           ‐        200.00

ANO   St. Charles Borromeo                 7,076.32        ‐          ‐           ‐      7,076.32

ANO   St. Charles Borromeo Church           442.61         ‐          ‐           ‐        442.61

ANO   St. Charles Borromeo School          1,859.25        ‐          ‐           ‐      1,859.25

ANO   St. Charles Catholic High School     3,438.75        ‐          ‐      3,432.00    6,870.75 Statement sent; general allowance recorded

ANO   St. Charles Catholic High School      442.61         ‐          ‐           ‐        442.61

ANO   St. Charles Catholic HS                   ‐          ‐      115.00          ‐        115.00

ANO   St. Christopher Parish                400.00         ‐          ‐           ‐        400.00

ANO   St. Christopher The Martyr Church    8,431.00   3,546.00        ‐     14,172.00   26,149.00 Payment in full expected at end of policy period

ANO   St. Christopher The Martyr Church         ‐          ‐          ‐      1,782.50    1,782.50 Statement sent; general allowance recorded

ANO   St. Christopher The Martyr Church     118.78     118.78     118.78      712.67     1,069.00 Statement sent; general allowance recorded

ANO   St. Christopher The Martyr Church     330.80     330.80     330.80      661.60     1,654.00 Statement sent; general allowance recorded

ANO   St. Christopher the Martyr Parish     105.00         ‐          ‐           ‐        105.00

ANO   St. Christopher the Martyr School    3,602.25        ‐          ‐           ‐      3,602.25

ANO   St. Clement Of Rome Church            442.61         ‐          ‐           ‐        442.61

ANO   St. Clement Of Rome Church           6,768.00        ‐          ‐           ‐      6,768.00

ANO   St. Clement Of Rome Church          17,637.78        ‐          ‐           ‐     17,637.78

ANO   St. Clement of Rome School           3,402.00    365.00         ‐           ‐      3,767.00

ANO   St. Cletus Church                     442.61         ‐          ‐           ‐        442.61

ANO   St. Cletus Church                         ‐          ‐     6,584.00     628.00     7,212.00 Payment in full expected at end of policy period
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ANO   St. Cletus Church                                    4.00         ‐            ‐            ‐            4.00

ANO   St. Cletus School                                3,467.50         ‐            ‐            ‐        3,467.50

ANO   St. David Church                                   84.10          ‐            ‐            ‐           84.10

ANO   St. David Church                                      ‐      3,843.00          ‐       7,348.00     11,191.00 Payment in full expected at end of policy period

ANO   St. David Church                                 1,752.70    1,752.70     1,752.70    15,774.32     21,032.42 Personal phone call made

ANO   St. David Parish                                     2.25      15.00           ‐            ‐           17.25

ANO   St. Dominic Church                                530.11          ‐            ‐            ‐          530.11

ANO   St. Dominic Church                               3,534.00         ‐            ‐            ‐        3,534.00

ANO   St. Dominic Parish                                    ‐           ‐            ‐        105.00         105.00 Statement sent; general allowance recorded

ANO   St. Dominic Parish                                200.00          ‐            ‐            ‐          200.00

ANO   St. Dominic School                              40,806.40         ‐            ‐      (3,262.67)    37,543.73 Statement sent; general allowance recorded

ANO   St. Dominic School                                200.00          ‐            ‐            ‐          200.00

ANO   St. Edward The Confessor Church                   442.61          ‐            ‐            ‐          442.61

ANO   St. Edward The Confessor Church                       ‐           ‐            ‐       1,656.00      1,656.00 Payment in full expected at end of policy period

ANO   St. Edward The Confessor Church                      5.00         ‐            ‐            ‐            5.00

ANO   St. Edward the Confessor School                  2,028.75         ‐            ‐            ‐        2,028.75

ANO   St. Elizabeth Ann Seton                           600.00          ‐            ‐            ‐          600.00

ANO   St. Elizabeth Ann Seton School                   3,970.50      15.00       100.00    108,254.09    112,339.59 Statement sent; general allowance recorded

ANO   St. Francis Of Assisi Church                      442.61          ‐            ‐            ‐          442.61

ANO   St. Francis Of Assisi Church                          ‐           ‐            ‐        749.76         749.76 Payment in full expected at end of policy period

ANO   St. Francis Of Assisi Church                      750.96          ‐            ‐            ‐          750.96

ANO   St. Francis of Assisi Parish                      360.00          ‐            ‐            ‐          360.00

ANO   St. Francis Xavier                               1,884.59         ‐            ‐            ‐        1,884.59

ANO   St. Francis Xavier Church                         442.61          ‐            ‐            ‐          442.61

ANO   St. Francis Xavier Church                       11,495.00         ‐            ‐            ‐       11,495.00

ANO   St. Francis Xavier Parish                          28.50          ‐            ‐            ‐           28.50

ANO   St. Francis Xavier School                        3,277.50         ‐            ‐            ‐        3,277.50

ANO   St. Gabriel Church                                 32.25       (64.50)         ‐            ‐          (32.25)

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐       1,050.00      1,050.00 Statement sent

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐        350.00         350.00 Statement sent

ANO   St. Gabriel The Archangel Church                 6,587.00         ‐            ‐       6,214.00     12,801.00 Payment in full expected at end of policy period

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐        991.00         991.00 Personal phone call made

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐       1,184.16      1,184.16 Personal phone call made

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐     123,364.00    123,364.00 Personal phone call made

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐       5,793.00      5,793.00 Personal phone call made

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐       2,973.00      2,973.00 Personal phone call made

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐       2,842.00      2,842.00 Personal phone call made

ANO   St. Gabriel The Archangel Church                      ‐           ‐            ‐       6,173.00      6,173.00 Personal phone call made

ANO   St. Gabriel The Archangel Church                12,953.75   12,953.75    12,953.75   109,583.75    148,445.00 Personal phone call made

ANO   St. Germaine Parish                                45.00          ‐            ‐            ‐           45.00

ANO   St. Gertrude                                          ‐           ‐            ‐        410.97         410.97 Statement sent

ANO   St. Gertrude Church                              6,036.00         ‐            ‐       6,602.00     12,638.00 Payment in full expected at end of policy period

ANO   St. Gertrude Church                              2,646.00         ‐            ‐            ‐        2,646.00

ANO   St. Gertrude Church                                   ‐           ‐            ‐       5,636.00      5,636.00 Statement sent; general allowance recorded

ANO   St. Gertrude Parish                                  6.75         ‐            ‐            ‐            6.75

ANO   St. Hubert                                           2.25         ‐            ‐            ‐            2.25

ANO   St. Hubert Church                                1,902.00    7,614.00          ‐            ‐        9,516.00

ANO   St. Hubert Church                                     ‐           ‐            ‐       7,344.81      7,344.81 Personal phone call made

ANO   St. Hubert Church                                     ‐           ‐            ‐      35,191.53     35,191.53 Personal phone call made

ANO   St. Hubert Church                                     ‐           ‐            ‐       8,921.00      8,921.00 Personal phone call made

ANO   St. Hubert Church                                4,547.58    4,547.58     4,547.58    32,427.06     46,069.81 Personal phone call made

ANO   St. James Major                                      2.25         ‐            ‐            ‐            2.25

ANO   St. Jane de Chantal                                20.25          ‐            ‐            ‐           20.25

ANO   St. Jane De Chantal                               200.00          ‐            ‐            ‐          200.00

ANO   St. Jane De Chantal Church                      13,053.72    1,186.67          ‐            ‐       14,240.38

ANO   St. Jane De Chantal Church                        656.42      656.42       656.42           ‐        1,969.26

ANO   St. Jerome Church                                 140.75          ‐            ‐         (20.25)       120.50 Statement sent; general allowance recorded

ANO   St. Jerome Church                                 615.48      200.00           ‐            ‐          815.48

ANO   St. Joachim                                           ‐       (115.00)         ‐            ‐         (115.00)

ANO   St. Joachim Church                                    ‐           ‐            ‐       1,400.00      1,400.00 Statement sent

ANO   St. Joachim Church                                    ‐           ‐            ‐       3,156.00      3,156.00 Payment in full expected at end of policy period

ANO   St. Joachim Church                               5,239.75    5,239.75     5,239.75     3,235.11     18,954.36 Statement sent; general allowance recorded

ANO   St. Joachim Parish                                 26.25          ‐            ‐            ‐           26.25

ANO   St. Joan of Arc Catholic School ‐ New Orleans     400.00          ‐            ‐            ‐          400.00

ANO   St. Joan Of Arc Church                            442.61          ‐            ‐            ‐          442.61

ANO   St. Joan Of Arc Church                                ‐     22,616.00          ‐       2,575.00     25,191.00 Payment in full expected at end of policy period

ANO   St. Joan of Arc School LaPlace                   3,609.25         ‐            ‐            ‐        3,609.25
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ANO   St. Joan of Arc School New Orleans       1,343.25       35.00          ‐          0.01     1,378.26 Statement sent; general allowance recorded

ANO   St. John Berch Provident                      ‐            ‐       500.00          ‐        500.00

ANO   St. John Bosco Church                      11.25           ‐           ‐        11.25         22.50 Statement sent; general allowance recorded

ANO   St. John of the Cross                        4.50          ‐           ‐           ‐           4.50

ANO   St. John Of The Cross                    6,199.75     6,199.75    6,199.75    9,036.75    27,636.00 Personal phone call made

ANO   St. John The Baptist Church ‐ Edgard          ‐            ‐           ‐       350.00       350.00 Statement sent

ANO   St. John The Baptist Church ‐ Folsom          ‐            ‐           ‐       700.00       700.00 Statement sent

ANO   St. John The Baptist Church (Edgard)     3,806.00     5,429.00         ‐           ‐       9,235.00

ANO   St. John The Baptist Church (Edgard)          ‐            ‐           ‐      4,359.66     4,359.66 Statement sent; general allowance recorded

ANO   St. John The Baptist Church (Edgard)          ‐            ‐           ‐      3,323.00     3,323.00 Statement sent; general allowance recorded

ANO   St. John The Baptist Church (Edgard)          ‐            ‐           ‐      5,072.00     5,072.00 Statement sent; general allowance recorded

ANO   St. John The Baptist Church (Edgard)          ‐            ‐           ‐      3,550.00     3,550.00 Statement sent; general allowance recorded

ANO   St. John The Baptist Church (Edgard)     9,435.50     9,435.50    9,435.50   23,537.50    51,844.00 Statement sent; general allowance recorded

ANO   St. John The Baptist Church (Paradis)    8,412.00          ‐           ‐           ‐       8,412.00

ANO   St. John The Baptist Church (Paradis)    4,693.47     4,693.47    2,760.71         ‐      12,147.65

ANO   St. John The Baptist Church (Paradis)         ‐            ‐           ‐      1,666.78     1,666.78 Statement sent; general allowance recorded

ANO   St. John the Baptist Edgard                  2.25          ‐           ‐           ‐           2.25

ANO   St. John the Baptist, Edgard              600.00       400.00          ‐       200.00      1,200.00 Statement sent

ANO   St. Joseph Church                          17.25           ‐           ‐           ‐          17.25

ANO   St. Joseph Church (Algiers)              3,090.00          ‐           ‐           ‐       3,090.00

ANO   St. Joseph Church (Gretna)                 84.10           ‐           ‐           ‐          84.10

ANO   St. Joseph Church (Gretna)                    ‐       5,249.53    3,247.96         ‐       8,497.49

ANO   St. Joseph Church (New Orleans)          8,295.00          ‐           ‐           ‐       8,295.00

ANO   St. Joseph Church, New Orleans               2.25          ‐           ‐           ‐           2.25

ANO   St. Joseph the Worker                     254.25       735.00          ‐        24.75      1,014.00 Statement sent; general allowance recorded

ANO   St. Joseph The Worker Church             1,411.00          ‐           ‐           ‐       1,411.00

ANO   St. Joseph The Worker Church             1,309.00          ‐           ‐           ‐       1,309.00

ANO   St. Joseph The Worker Church             2,077.00          ‐           ‐           ‐       2,077.00

ANO   St. Joseph The Worker Church             3,250.00          ‐           ‐           ‐       3,250.00

ANO   St. Joseph The Worker Church             2,167.00          ‐           ‐           ‐       2,167.00

ANO   St. Joseph The Worker Church             1,035.00          ‐           ‐           ‐       1,035.00

ANO   St. Joseph The Worker Church             1,035.00          ‐           ‐           ‐       1,035.00

ANO   St. Joseph the Worker Parish              204.35           ‐           ‐           ‐        204.35

ANO   St. Jude Community                            ‐            ‐           ‐       440.00       440.00 Statement sent

ANO   St. Jude Community Center                 600.00       400.00          ‐      1,022.50     2,022.50 Statement sent

ANO   St. Jude Community Center                2,559.00          ‐           ‐           ‐       2,559.00

ANO   St. Katharine Drexel                          ‐            ‐           ‐      3,654.00     3,654.00 Receivable will be offset against Required Services Payable amount to

ANO   St. Katharine Drexel Church               172.50           ‐           ‐           ‐        172.50

ANO   St. Katharine Drexel Church                  1.00          ‐           ‐           ‐           1.00

ANO   St. Katharine Drexel School               300.00           ‐           ‐      3,342.67     3,642.67 Statement sent; general allowance recorded

ANO   St. Leo the Great Parish                     2.25          ‐           ‐        85.00         87.25 Statement sent; general allowance recorded

ANO   St. Leo the Great School                  845.00       100.00          ‐           ‐        945.00

ANO   St. Louis Cathedral                       400.00       200.00          ‐           ‐        600.00

ANO   St. Louis Cathedral Church                (955.00)         ‐           ‐           ‐        (955.00)

ANO   St. Louis Cathedral Church                   0.04          ‐           ‐           ‐           0.04

ANO   St. Louis Cathedral Parish                647.50           ‐           ‐           ‐        647.50

ANO   St. Louis King Of France Church          7,182.00          ‐           ‐           ‐       7,182.00

ANO   St. Louis King Of France Church         18,734.75    18,734.75   18,734.75   32,662.83    88,867.08 Letter sent

ANO   St. Louis King of France School          3,312.00          ‐           ‐           ‐       3,312.00

ANO   St. Luke the Evangelist Church            200.00           ‐           ‐           ‐        200.00

ANO   St. Margaret Mary Church                   48.75           ‐           ‐           ‐          48.75

ANO   St. Margaret Mary Church                  442.61           ‐           ‐           ‐        442.61

ANO   St. Margaret Mary Church                      ‐       6,913.00         ‐      7,965.04    14,878.04 Letter sent

ANO   St. Margaret Mary School                 3,537.00          ‐           ‐           ‐       3,537.00

ANO   St. Maria Goretti                         602.25           ‐           ‐           ‐        602.25

ANO   St. Maria Goretti                         195.32           ‐           ‐           ‐        195.32

ANO   St. Maria Goretti Church                  442.61           ‐           ‐           ‐        442.61

ANO   St. Maria Goretti Church                      ‐            ‐           ‐      1,400.00     1,400.00 Statement sent

ANO   St. Maria Goretti Church                      ‐            ‐           ‐      6,704.00     6,704.00 Payment in full expected at end of policy period

ANO   St. Maria Goretti Church                21,043.99    21,043.99   21,043.99   49,158.42   112,290.40 Personal phone call made

ANO   St. Mark Church                          7,662.00          ‐           ‐           ‐       7,662.00

ANO   St. Mark Church                           137.24           ‐           ‐           ‐        137.24

ANO   St. Mark Parish                              4.50          ‐           ‐           ‐           4.50

ANO   St. Martha Church                             ‐            ‐           ‐      4,713.48     4,713.48 Payment in full expected at end of policy period

ANO   St. Martha Parish                          35.25           ‐           ‐           ‐          35.25

ANO   St. Martha Parish                             ‐            ‐           ‐       400.00       400.00 Billings to be sent at end of year (June 2020)

ANO   St. Mary Magdalen Church                   13.50           ‐           ‐           ‐          13.50
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ANO   St. Mary Magdalen Church                 442.61          ‐           ‐           ‐         442.61

ANO   St. Mary Magdalen Church                 200.00          ‐           ‐           ‐         200.00

ANO   St. Mary Magdalen Church               10,261.00         ‐           ‐           ‐      10,261.00

ANO   St. Mary Magdalen School                1,455.25         ‐           ‐           ‐       1,455.25

ANO   St. Mary Magdalen School                 200.00          ‐           ‐           ‐         200.00

ANO   St. Mary of the Angels                   200.00          ‐           ‐           ‐         200.00

ANO   St. Mary of the Angels Church            154.50          ‐           ‐           ‐         154.50

ANO   St. Mary Of The Angels Church           3,727.00         ‐           ‐           ‐       3,727.00

ANO   St. Mary's Academy                      1,626.25         ‐           ‐      2,312.00     3,938.25 Statement sent; general allowance recorded

ANO   St. Matthew The Apostle Church           612.61          ‐           ‐           ‐         612.61

ANO   St. Matthew The Apostle Church          3,679.00         ‐           ‐           ‐       3,679.00

ANO   St. Matthew The Apostle Church           741.00          ‐           ‐           ‐         741.00

ANO   St. Matthew The Apostle Church          2,272.00         ‐           ‐           ‐       2,272.00

ANO   St. Matthew The Apostle Church          3,250.00         ‐           ‐           ‐       3,250.00

ANO   St. Matthew The Apostle Church          3,806.00         ‐           ‐           ‐       3,806.00

ANO   St. Matthew The Apostle Church          3,806.00         ‐           ‐           ‐       3,806.00

ANO   St. Matthew The Apostle Church          3,402.00         ‐           ‐           ‐       3,402.00

ANO   St. Matthew The Apostle Church          1,035.00         ‐           ‐           ‐       1,035.00

ANO   St. Matthew The Apostle Church          2,191.00         ‐           ‐           ‐       2,191.00

ANO   St. Matthew the Apostle Parish           121.50          ‐           ‐           ‐         121.50

ANO   St. Matthew the Apostle School          3,449.75         ‐           ‐           ‐       3,449.75

ANO   St. Michael Special School              3,350.50         ‐           ‐      3,393.75     6,744.25 Statement sent; general allowance recorded

ANO   St. Michael Special School                   ‐           ‐           ‐       (115.00)     (115.00) Statement sent

ANO   St. Michael Special School               442.61          ‐           ‐           ‐         442.61

ANO   St. Michael's school                     375.68          ‐           ‐           ‐         375.68

ANO   St. Patrick ‐ Port Sulphur                  2.25         ‐           ‐           ‐           2.25

ANO   St. Patrick Church (New Orleans)             ‐      7,273.50         ‐           ‐       7,273.50

ANO   St. Patrick Church (Port Sulphur)       7,468.00     741.00          ‐           ‐       8,209.00

ANO   St. Patrick Church (Port Sulphur)       4,397.53    4,397.53    4,397.53    3,336.91    16,529.51 Statement sent; general allowance recorded

ANO   St. Patrick Church, New Orleans          200.00          ‐           ‐           ‐         200.00

ANO   St. Patrick Parish                      2,363.55         ‐           ‐           ‐       2,363.55

ANO   St. Patrick Parish                          6.75         ‐           ‐           ‐           6.75

ANO   St. Patrick, Port Sulphur                (200.00)        ‐           ‐           ‐        (200.00)

ANO   St. Paul the Apostle Catholic Church      72.25          ‐           ‐           ‐          72.25

ANO   St. Paul The Apostle Church             6,218.00         ‐           ‐           ‐       6,218.00

ANO   St. Pauls School                        4,878.00         ‐           ‐           ‐       4,878.00

ANO   St. Paul's School                            ‐           ‐           ‐      4,720.00     4,720.00 Receivable will be offset against Required Services Payable amount to

ANO   St. Peter Catholic School, Covington     900.00          ‐           ‐           ‐         900.00

ANO   St. Peter Church ‐ Reserve                   ‐           ‐           ‐       350.00        350.00 Statement sent

ANO   St. Peter Church (Covington)                 ‐           ‐           ‐     30,128.08    30,128.08 Payment in full expected at end of policy period

ANO   St. Peter Church (Reserve)             12,113.92        0.94         ‐           ‐      12,114.86

ANO   St. Peter Claver Church                      ‐           ‐           ‐      1,400.00     1,400.00 Statement sent

ANO   St. Peter Claver Church                      ‐           ‐           ‐     22,781.00    22,781.00 Payment in full expected at end of policy period

ANO   St. Peter Claver Church                      ‐           ‐           ‐      4,987.00     4,987.00 Personal visit to church to discuss collectability

ANO   St. Peter Claver Church                      ‐           ‐           ‐      1,330.00     1,330.00 Personal visit to church to discuss collectability

ANO   St. Peter Claver Church                      ‐           ‐           ‐       675.00        675.00 Personal visit to church to discuss collectability

ANO   St. Peter Claver Church                 9,677.92    9,677.92    9,677.92   27,101.25    56,135.00 Personal visit to church to discuss collectability

ANO   St. Peter Claver Parish                  614.25          ‐           ‐      1,003.50     1,617.75 Statement sent; general allowance recorded

ANO   St. Peter Claver School                      ‐       100.00          ‐     23,070.99    23,170.99 Statement sent; general allowance recorded

ANO   St. Peter Covington                    16,491.95         ‐           ‐           ‐      16,491.95

ANO   St. Peter School Covington              3,631.75         ‐           ‐           ‐       3,631.75

ANO   St. Peter School Reserve                1,475.75         ‐           ‐      2,725.50     4,201.25 Statement sent; general allowance recorded

ANO   St. Peter School, Reserve                    ‐           ‐           ‐       830.00        830.00 Statement sent

ANO   St. Philip Neri Church                   442.61          ‐           ‐           ‐         442.61

ANO   St. Philip Neri Church                  4,237.00         ‐           ‐           ‐       4,237.00

ANO   St. Philip Neri Parish                    77.25          ‐           ‐           ‐          77.25

ANO   St. Philip Neri School                  6,699.62         ‐           ‐      5,668.25    12,367.87 Statement sent; general allowance recorded

ANO   St. Philip Neri School                       ‐           ‐           ‐     20,503.00    20,503.00 Collection letter sent

ANO   St. Phillip Neri School                      ‐       (230.00)        ‐           ‐        (230.00)

ANO   St. Pius X ‐ Crown Point                     ‐           ‐           ‐        30.00         30.00 Statement sent; general allowance recorded

ANO   St. Pius X Church                        442.61          ‐           ‐           ‐         442.61

ANO   St. Pius X Church                        200.00          ‐           ‐           ‐         200.00

ANO   St. Pius X Church                      10,742.00         ‐           ‐       873.00     11,615.00 Subsequent payments received; Payment in full expected at end of po

ANO   St. Pius X Church                       1,991.34         ‐           ‐           ‐       1,991.34

ANO   St. Pius X Church                       1,688.00         ‐           ‐           ‐       1,688.00

ANO   St. Pius X Church                       1,688.00         ‐           ‐           ‐       1,688.00

ANO   St. Pius X Parish                        426.50       (11.25)        ‐           ‐         415.25
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ANO    St. Pius X school                                                      1,016.78            ‐           ‐             ‐          1,016.78

ANO    St. Pius X School                                                     39,574.75            ‐           ‐            0.10      39,574.85 Statement sent; general allowance recorded

ANO    St. Raymond                                                                  ‐             ‐           ‐         115.00          115.00 Statement sent

ANO    St. Raymond & St. Leo The Great Parish                                   442.61            ‐           ‐             ‐           442.61

ANO    St. Rita Church (New Orleans)                                            442.61            ‐           ‐             ‐           442.61

ANO    St. Rita Church (New Orleans)                                         12,158.50            ‐           ‐             ‐        12,158.50

ANO    St. Rita Church (New Orleans)                                          3,806.00            ‐           ‐             ‐          3,806.00

ANO    St. Rita Church (New Orleans)                                          3,402.00            ‐           ‐             ‐          3,402.00

ANO    St. Rita Church (New Orleans)                                                ‐             ‐           ‐         506.36          506.36 Statement sent; general allowance recorded

ANO    St. Rita Parish                                                          174.00            ‐           ‐             ‐           174.00

ANO    St. Rita Parish Harahan                                                  274.25            ‐           ‐             ‐           274.25

ANO    St. Rita School Harahan                                                 3,846.00           ‐           ‐             ‐          3,846.00

ANO    St. Rita School New Orleans                                              964.25            ‐           ‐             ‐           964.25

ANO    St. Rosalie Church                                                      1,259.00     33,250.00         ‐        7,384.00      41,893.00 Payment in full expected at end of policy period

ANO    St. Rosalie Church                                                           ‐             ‐           ‐       53,888.82      53,888.82 Personal phone call made

ANO    St. Rosalie Church                                                           ‐             ‐           ‐        3,550.00        3,550.00 Personal phone call made

ANO    St. Rosalie Church                                                           ‐             ‐           ‐       29,778.00      29,778.00 Personal phone call made

ANO    St. Rosalie Church                                                           ‐             ‐           ‐        1,226.00        1,226.00 Personal phone call made

ANO    St. Rosalie Church                                                    13,581.00      13,581.00   13,581.00     67,229.00     107,972.00 Personal phone call made

ANO    St. Rosalie School                                                           ‐             ‐           ‐         230.00          230.00 Statement sent

ANO    St. Rosalie School (Pre‐K‐5th)                                          2,009.25           ‐           ‐             ‐          2,009.25

ANO    St. Scholastica                                                       15,149.35            ‐           ‐             ‐        15,149.35

ANO    St. Scholastica                                                         4,090.25           ‐           ‐        4,068.00        8,158.25 Statement sent; general allowance recorded

ANO    St. Scholastica                                                          795.56            ‐      1,193.34           ‐          1,988.90

ANO    St. Scholastica High School                                              442.61            ‐           ‐             ‐           442.61

ANO    St. Stephen School                                                      1,912.25           ‐           ‐       12,107.50      14,019.75 Statement sent; general allowance recorded

ANO    St. Theresa's Villa                                                          ‐             ‐           ‐       49,201.02      49,201.02 Statement sent; general allowance recorded

ANO    St. Therese Academy for Exeptional Learni                               6,449.25           ‐           ‐             ‐          6,449.25

ANO    St. Thomas Church                                                          2.25            ‐           ‐             ‐              2.25

ANO    St. Thomas Church                                                      3,402.00            ‐           ‐        6,982.00      10,384.00 Payment in full expected at end of policy period

ANO    St. Thomas Church                                                            ‐             ‐           ‐         705.00          705.00 Letter sent

ANO    St. Thomas Church                                                            ‐             ‐           ‐        3,178.00        3,178.00 Letter sent

ANO    St. Thomas Church                                                      4,010.75       4,010.75    4,010.75     10,681.32      22,713.57 Letter sent

ANO    St. Thomas Church                                                        807.33        807.33      807.33       4,844.00        7,266.00 Letter sent

ANO    St. Thomas Church                                                        151.38        151.38      151.38        756.88         1,211.00 Letter sent

ANO    St. Thomas, Braithwaite                                                  200.00        300.00          ‐         100.00          600.00 Statement sent

ANO    State of LA                                                                  ‐      188,535.25   25,065.95     85,748.36     299,349.56 Paid in full in July

ANO    Sts. Peter & Paul                                                         18.00            ‐           ‐             ‐            18.00

ANO    Sts. Peter and Paul                                                          ‐             ‐           ‐         400.00          400.00 Statement sent

ANO    Sts. Peter And Paul Church                                              3,250.00           ‐           ‐             ‐          3,250.00

ANO    Sts. Peter And Paul Church                                              3,402.00           ‐           ‐             ‐          3,402.00

ANO    Sts. Peter And Paul Church                                               741.00            ‐           ‐             ‐           741.00

ANO    Sts. Peter And Paul Church                                               886.00            ‐           ‐             ‐           886.00

ANO    Stuart Hall School                                                           ‐             ‐           ‐       16,905.00      16,905.00 Statement sent; general allowance recorded

ANO    The Visitation Of Our Lady Church                                        442.61            ‐           ‐             ‐           442.61

ANO    The Visitation Of Our Lady Church                                            ‐             ‐           ‐        1,050.00        1,050.00 Statement sent

ANO    The Visitation Of Our Lady Church                                      3,806.00            ‐     18,893.00     10,276.18      32,975.18 Payment in full expected at end of policy period

ANO    The Visitation Of Our Lady Church                                     28,085.50            ‐           ‐             ‐        28,085.50

ANO    The Visitation Of Our Lady Church                                            ‐             ‐           ‐        1,319.68        1,319.68 Statement sent; general allowance recorded

ANO    Transfiguration of The Lord                                               15.00            ‐           ‐             ‐            15.00

ANO    Trimark Build                                                                ‐             ‐       393.40            ‐           393.40

ANO    United States Treasury                                                12,534.00            ‐           ‐             ‐        12,534.00

ANO    Ursuline Academy                                                        5,725.25           ‐           ‐            0.50        5,725.75 Statement sent; general allowance recorded

ANO    Various                                                                      ‐         584.05          ‐             ‐           584.05

ANO    Various                                                               79,240.72            ‐           ‐             ‐        79,240.72

ANO    Various                                                             1,554,111.66           ‐           ‐      115,492.87    1,669,604.53 Payment made on a recurring basis.

ANO    Various Individuals                                                    (2,004.23)          ‐           ‐             ‐         (2,004.23)

ANO    Various Individuals                                                    4,053.38            ‐           ‐             ‐          4,053.38

ANO    Villa Additions St. Teresa's Villas                                          ‐             ‐      1,350.00     (1,350.00)       4,204.00 Statement sent

ANO    Villa St. Maurice                                                            ‐             ‐      2,267.73     (2,267.73)       6,345.32 Statement sent

ANO    Visitation of Our Lady School                                          3,032.25            ‐           ‐             ‐          3,032.25

ANO    Whitney                                                                      ‐             ‐           ‐      339,193.56     339,193.56 Accrued fixed income interest to be realized upon maturity

ANO    Wynhoven Health Care Center                                            9,432.75            ‐           ‐             ‐          9,432.75

ANO    WYNHOVEN I & II                                                              ‐             ‐      1,655.00      6,046.19        7,701.19 Statement sent

AOL    Summer Enrichment                           6/25/2020   6/25/2020       800.00            -           -             -            800.00

ARHS   ArchChapelle H S.                           6/1/2020    6/30/2020      4,000.00           -           -             -          4,000.00

ARHS   FEMA                                        2/1/2016    Unknown             -             -           -      108,036.73     108,036.73
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ARHS       NSF Customer #1                                                     9/3/2019                                         6/14/2020                                             (190.00)                      -                       -                            -                     (190.00)

PJPHS      Due from ARNO                                                        Various                                        12/31/2020                                           9,861.96                        -                       -                            -                 9,861.96

PJPHS      Employee Advances                                                     Varies                                         6/15/2021                                           3,667.85                   3,692.00               3,662.00                  28,134.79                 39,156.64

SCCS       Catholic Foundation (Tuition assistance)                            5/29/2020                                        6/30/2019                                           6,105.00                        -                       -                            -                 6,105.00

SCCS       CC Pledges > $10,000: Pledge #4                         Various 2015 - 2018                                          6/30/2019                                                 -                         -                       -                   20,000.00                 20,000.00

SCCS       EEF Grant                                                                                                            6/30/2019                                          19,500.00                        -                       -                            -                19,500.00

SCCS       FEMA Reimbursement                                                                                                                                                             -                         -                       -                  202,487.98               202,487.98

SCCS       Pledges $1,000 & under - Cap. Campaign                  Various 2015 - 2018                                          6/30/2019                                                 -                         -                       -                       3,457.50               3,457.50

SCCS       Pledges $1,001 to $10,000 - Cap. Campaign               Various 2015 - 2018                                          6/30/2019                                                 -                         -                       -                   18,450.00                 18,450.00

SCCS       Stadium Pledges $1,000 & under                          March / April 2020 - 2nd Payme                                various                                           59,020.00                  33,715.00                     -                       5,000.00              97,735.00

SCCS       Stadium Pledges $1,001 to $10,000                       March / April 2020 - 2nd Payme                                various                                           18,600.00                  10,250.00                     -                            -                28,850.00

SCCS       Stadium Pledges > $10,000: Pledge #1                    March 2020 - 2nd Payment                                      various                                                  -                   20,000.00                     -                            -                20,000.00

SCCS       Stadium Pledges > $10,000: Pledge #2                    April 2020 - 2nd Payment                                      various                                           24,000.00                        -                       -                            -                24,000.00

SMSS       Pledge #1                                                           8/15/2018                                       12/31/2022                                        200,000.00                         -                       -                            -              200,000.00

SSA        Pledge #1                                                           Feb 2019                                                                                                   -                         -                       -                       7,000.00               7,000.00

SSA        Pledge #2                                                           Feb 2019                                                                                                   -                         -                       -                   14,000.00                 14,000.00



           Total                                                                                                                                                                5,832,942.35              1,642,729.38              751,603.01                5,497,760.49            13,735,584.55

           Less: allowances and discounts on pledges receivable                                                                                                                                                                                                                           (22,066.55)

           Inter‐debtor eliminations                                                                                                                                                                                                                                                     (206,009.00)

           Total A/R, Net (Excluding Tuition A/R, Net)                                                                                                                                                                                                                                13,507,509.00




For any receivables in the "Over 90 Days" category, please provide the following:


           Customer                                                Receivable Date                     Status (Collection efforts taken, estimate of collectibility, write‐off, disputed account, etc.)
ACHS       Balfour                                                 8/30/2020                           Chapelle orders extra caps and gowns at the beginning of the school year in case a student loses theirs. We return to Balfour after graduation. This years
                                                                                                       graduations is later than normal.
ARHS       FEMA                                                    Unknown                             Depends on when FEMA funds are provided to Archdiocese


SSA        Pledge #1                                               calendar year 2020 is Yr 2 of a 5   Yr 2 Pledge Rec'd in Jun 2020 & in excess of scheduled amount
                                                                   year pledge
SSA        Pledge #2                                               calendar year 2020 is Yr 2 of a 5   Yr 2 Pledge Ck of $10,000 wasn't rec'd by FYE 6/30/20, but instead on 7/9/20
                                                                   year pledge
PJPHS      Employee Advances                                       6/15/2021                           This is a long‐term receivable. Payroll is deducted through the year for elementary &/or HS tuition.



SCCS       Pledges $1,000 & under ‐ Cap. Campaign                                                      All pledges listed on schedule have an approx. 5% allowance recorded for uncollectability. Communication with donors for collectability is ongoing


SCCS       Pledges $1,001 to $10,000 ‐ Cap. Campaign                                                   All pledges listed on schedule have an approx. 5% allowance recorded for uncollectability. Communication with donors for collectability is ongoing


SCCS       CC Pledges > $10,000: Pledge #4                                                             All pledges listed on schedule have an approx. 5% allowance recorded for uncollectability. Communication with donors for collectability is ongoing




SCCS       Stadium Pledges $1,000 & under                                                              All pledges listed on schedule have an approx. 5% allowance recorded for uncollectability. Communication with donors for collectability is ongoing




SCCS       FEMA Reimbursement                                                                          Amount of FEMA subsidized roof project that has been advanced by Archdiocese to be reimbursed by FEMA. A liability in the same amount appears on the balance
                                                                                                       sheet.



Include below all tuition and fees receivable for the 19/20 school year that remain uncollected AND tuition and fees receivable for the 20/21 school year after July 1 (date of tuition revenue recognition). Summarize estimated cash collections using days buckets below (0‐30, 31‐60, 61‐90, 90+)
to disclose EXPECTED timing of cash collections. If you do not expect to collect any tuition and fees A/R, the expected cash collections should be zero and not be included in any days buckets below.


                                                                                                                                  Tuition and Fees AR Aging Report
                                                                                                                                                                                                          *Expected Cash Collections
                        Tuition and Fees Receivable                             Amount                                          Due Date                                       0‐30                      31‐60                  61‐90                       Over 90                    Total

AOL        Tuition and Fees A/R‐ 19/20                                $                    97,043.03                            6/30/2020                            $                     ‐     $               698.37 $             25,176.46 $                        ‐     $           25,874.83

ACHS       Tuition and Fees A/R‐ 19/20                                $                    35,605.79                            6/30/2020                            $                     ‐     $                  ‐     $           14,736.71 $                        ‐     $           14,736.71

AHHS       Tuition and Fees A/R‐ 19/20                                $                    14,788.65                            6/30/2020                            $                6,612.81 $               1,232.00 $              1,232.00 $                   5,711.84 $             14,788.65

ARHS       Tuition and Fees A/R‐ 19/20                                $                    72,702.00                            6/30/2020                            $                     ‐     $                  ‐     $            7,697.00 $                        ‐     $               7,697.00

ASHS       Tuition and Fees A/R‐ 19/20                                $                     4,250.00                            6/30/2020                            $                     ‐     $                  ‐     $                 ‐     $                 4,250.00 $                 4,250.00

PJPHS      Tuition and Fees A/R‐ 19/20                                $                    35,292.15                              various                            $                     ‐     $            35,292.15 $                   ‐     $                      ‐     $           35,292.15

SCCS       Tuition and Fees A/R‐ 19/20                                                     33,625.00                             6/2/2020                            $                     ‐     $                  ‐     $                 ‐     $                      ‐     $                    ‐

SMSS       Tuition and Fees A/R‐ 19/20                                $                     6,280.39                            6/30/2020                            $                 744.80 $                     ‐     $                 ‐     $                 2,451.63 $                 3,196.43

SSA        Tuition and Fees A/R‐ 19/20                                $                    23,669.23                             Jun 2019                            $              10,960.50 $                3,063.95 $              3,668.85 $                        ‐     $           17,693.30




           Tuition and Fees Receivable‐ estimated to collect‐ 19/20                                                                                                                                                                                                                       123,529.07

           Tuition and Fees A/R‐ 20/21 (not yet recognized)                                                                                                                                                                                                                             6,464,397.34

           Tuition and Fees Receivable per Balance Sheet                                                                                                                                                                                                                                6,801,396.20

           Allowance for Doubtful Accounts (Tuition A/R on Balance Sheet less: Tuition estimated to collect)
                                                                                                                                                                                                                                                                                          213,469.79
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Supporting Schedules‐ Insurance

Case name                                                          The Roman Catholic Church of the Archdiocese of New Orleans
Case number                                                        20‐10846

For Period June 1 to June 30, 2020

                                                                                                               Insurance Schedule

Type                                                               Carrier/Agent                                                Coverage ($)                                                      Date of Expiration     Premium Paid
Self Insurance through Captive Insurance: Deductible               Archdiocese of New Orleans Indemnity Company, Inc.           Self‐insured through Captive ‐ $300,000 per occurrence and
reimbursement property, automobile liability, physical damage,                                                                  a combined annual aggregate of $3,500,000. Workers
workers' compensation, sexual misconduct and general liability.                                                                 Compensation on an occurrence basis and sexual
                                                                                                                                misconduct on a claims‐made basis. Workers' Compensation
                                                                                                                                has limits of $800,000 per accident and no annual aggregate. 7/1/20                      Yes
Medical Stop‐Loss Coverage:                                        Archdiocese of New Orleans Indemnity Company, Inc.           In excess of $10,000 deductible layer up to $300,000 per
                                                                                                                                individual per year.                                         7/1/20                      Yes
                                                                   United Healthcare                                            In excess of $300,000 of claims per individual per year.     7/1/20                      Yes
Coverages Through Catholic Mutual:
                                                                                                                                $2,163,078,000 Aggregate (combined policy with affiliated
Building and Building Personal Property                            The Catholic Mutual Relief Society of America                entities)                                                   7/1/2020                     Yes
Named Storm                                                        The Catholic Mutual Relief Society of America                $70,000,000 per Occurrence, 3% deductible per building
Peronal Injury, Bodily Injury including corporal punishment,
advertising injury & property damage                               The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Directors & Officers & School Board Legal Liability                The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Fire Legal Liability                                               The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Liquor Liability                                                   The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Counseling Errors & Omissions                                      The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Employee Benefits Errors & Omissions                               The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Teacher's Liability                                                The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Athletic Participants                                              The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Incidental Medical Malpractice                                     The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2020                     Yes
Limited Mold Coverage                                              The Catholic Mutual Relief Society of America                $250,000 per claimant                                       7/1/2020                     Yes
Excess Auto Liability                                              The Catholic Mutual Relief Society of America                $200,000 CSL Excess of $300,000 CSL                         7/1/2020                     Yes
Employer's Liability                                               The Catholic Mutual Relief Society of America                $800,000                                                    7/1/2020                     Yes

Sexual Misconduct Coverage:                                        The Catholic Mutual Relief Society of America
Limited Sexual Misconduct‐Claims Made                              The Catholic Mutual Relief Society of America                $3,000,000 Annual Aggregate                                 7/1/2009‐present
                                                                   The Catholic Mutual Relief Society of America                $1,000,000 Annual Aggregate                                 7/1/1998‐7/1/2009
                                                                   The Catholic Mutual Relief Society of America                $650,000 Annual Aggregate                                   7/1/1993‐7/1/1998
                                                                   The Catholic Mutual Relief Society of America                $100,000 Annual Aggregate                                   7/1/1990‐7/1/1993

Excess Employer's Liability ‐ workers' compensation                Safety National Casualty Company                             $1,000,000 Excess of $800,000                               7/1/2020                     Yes

Flood Insurance on Property                                        Wright National Flood Insurance Company                      Flood Policies Detailed Below                               See below                    Yes
 Note: Per discussion with US Trustee, there are no certificates
for Flood Insurance.


Other (optional employee coverages that are not paid by employer)
Optional Life, Dental, Vision, Critical Illness, Voluntary AD&D, Guardian Life Insurance Company
Accident Benefits.
                                                                                                                                Varies/Employee Paid Only                                   7/1/20                       Yes


FLOOD POLICY DETAIL
                                                                                                                                                                                                      Building                  Date of
       Archdiocese of New Orleans Debtor Entity Name                                       Flood Agent                          Flood Carrier                                                                                                Flood Policy #
                                                                                                                                                                                                     Description               Expiration
                                                                                                                                                                                            Chancery Office, 7887
ADM - Walmsley Avenue - Building Services                          Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Walmsley Ave., NO, LA        8/25/20            171151422199 03
                                                                                                                                                                                            70125

                                                                                                                                                                                            Catholic Bookstore-3003 S.
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Carrollton Ave., NO, LA      7/18/20            171151404183 03
                                                                                                                                                                                            70118


                                                                                                                                                                                            St. Dymphna - 23515 HWY.
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  6/27/21            171150465557 10
                                                                                                                                                                                            190, Mandeville, LA



                                                                                                                                                                                            St. Dymphna - 23515 HWY.
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  6/27/21            171150465557 09
                                                                                                                                                                                            190, Mandeville, LA



                                                                                                                                                                                            Priest Residence 2801 Pine
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  3/23/21            171151407151 04
                                                                                                                                                                                            St., New Orleans, LA 70125


                                                                                                                                                                                            Catholic Counseling Services
ADM - Catholic Counseling Services 2814 S. Carrollton Ave.,
                                                                   Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     - 2814 S. Carrollton Ave.,   9/5/20             171150992512 06
N.O.
                                                                                                                                                                                            N.O., LA 70118


                                                                                                                                                                                            Northshore Catholic Center
ADM - Northshore Pastoral Center                                   Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  10/2/20            171150578085 09
                                                                                                                                                                                            4465 Hwy. 190 (E Svc. Rd.)


                                                                                                                                                                                            Bishop Perry Center 1941
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Dauphine St., New Orleans,   6/22/21            171151404091 04
                                                                                                                                                                                            LA

                                                                                                                                                                                            Bishop Perry Center 1941
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Dauphine St., New Orleans,   6/22/20            171151404091 03
                                                                                                                                                                                            LA


                                                                                                                                                                                            Residence-2809 S. Carrollton
ADM - Archbishop's Residence                                       Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  9/14/20            171151404267 03
                                                                                                                                                                                            Ave., NO, LA 70118



ADM - Archbishop's Residence                                       Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Garage #1(Building Only)     9/14/20            171150992487 06




ADM - Archbishop's Residence                                       Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Garage #2 (Building Only)    9/14/20            171150992509 06



                                                                                                                                                                                            Church 411 North Rampart
Our Lady of Guadalupe Church - Shrine of St. Jude                  Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  10/11/20           171151415878 03
                                                                                                                                                                                            St.



Our Lady of Guadalupe Church - Shrine of St. Jude                  Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Rectory 411 N. Rampart St. 10/11/20             171151415879 03
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                                                                                                                                                     St. Mary's
ADM - Catholic Cultural Heritage Center-Old Ursuline Convent   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Church/Convent/Museum         10/11/20   171150583623 09
                                                                                                                                                     1116 Chartres St.


                                                                                                                                                     Priest Residence 1116
ADM - Catholic Cultural Heritage Center-Old Ursuline Convent   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/22/21    171151098430 06
                                                                                                                                                     Chartres St.



                                                                                                                                                     Gatehouse/ Gift Shop 1112
ADM - Catholic Cultural Heritage Center-Old Ursuline Convent   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/4/21     171151096262 06
                                                                                                                                                     Chartres St., NO, LA



ADM - Catholic Cultural Heritage Center-Old Ursuline Convent   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Service Building              4/4/21     171151096261 06



                                                                                                                                                     St. Jude Center 400 N.
St. Jude Community Center                                      Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/8/20     171151416222 03
                                                                                                                                                     Rampart St.



                                                                                                                                                     St. Jude Center 400 N.
St. Jude Community Center                                      Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/8/21     171151416222 04
                                                                                                                                                     Rampart St.



St. Louis Cathedral                                            Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Church-715-25 Chartres        9/18/20    171150567027 09



                                                                                                                                                     Rectory-615 Pere Antoine
St. Louis Cathedral                                            Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/18/20    171150567028 09
                                                                                                                                                     and Storage Bldg.



St. Louis Cathedral School                                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   School - 723 St. Ann          9/18/20    171150567004 09



                                                                                                                                                     Main Elementary School-
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/7/20    171151068920 06
                                                                                                                                                     1522 Chippewa St.



                                                                                                                                                     Chapel - 1502 Chippewa St.,
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               10/7/20      171150748312 08
                                                                                                                                                     New Orleans, LA 70130



                                                                                                                                                     Auditorium/Gymnasium -
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/7/20    171150748326 08
                                                                                                                                                     1526 Chippewa St.



                                                                                                                                                     JOY Activity Center - 1517-
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/7/20    171150748331 08
                                                                                                                                                     21 Chippewa St.



                                                                                                                                                     Exercise Room - 1507 St.
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 1/8/21     171151311595 04
                                                                                                                                                     Thomas



                                                                                                                                                     Vocational Training Building -
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                  1/7/21    171150776724 08
                                                                                                                                                     1522A Chippewa St.


                                                                                                                                                     Student Center/Rectory
ADM - UNO Newman Center                                        Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   (1981) 2000 Lakeshore Dr.,    10/17/20   171151023739
                                                                                                                                                     New Orleans, LA 70148


                                                                                                                                                     Office -14538 River Road,
ADM - Stella Maris Maritime Center                             Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 6/13/21    171151109314 06
                                                                                                                                                     New Orleans, LA 70115


                                                                                                                                                     Tulane Catholic Center
ADM - Tulane Catholic Center (St. Thomas More)                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   (2015) - 1037 Audubon St.,    9/19/20    171151279839 04
                                                                                                                                                     New Orleans, LA 70118


                                                                                                                                                     Administration Building 122
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098885 06
                                                                                                                                                     S. Massachusetts



St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Cafeteria 306 E. 20th         4/30/21    171151098881 06



                                                                                                                                                     Gymnasium 122 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098882 06
                                                                                                                                                     Massachusetts



                                                                                                                                                     Our Lady of Wisdom
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098883 06
                                                                                                                                                     (Classrooms) 420 E 20th



                                                                                                                                                     Jahncke Hall 111 S. Jahncke
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               4/30/21      171151098884 06
                                                                                                                                                     St.



                                                                                                                                                     Advancement Office 424 E.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098878 06
                                                                                                                                                     21st. Street



                                                                                                                                                     Benedictine Hall 122 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098879 06
                                                                                                                                                     Massachusetts



                                                                                                                                                     Concession Stand/RR 16181
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                             6/10/21        171151348245 04
                                                                                                                                                     Hwy. 190



                                                                                                                                                     Soccer Storage Building 109
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               6/10/21      171151348248 04
                                                                                                                                                     Massachusetts St.



                                                                                                                                                     LaSalle Hall-122 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/24/20    171150571707 09
                                                                                                                                                     Massachusetts



                                                                                                                                                     Chapel (2009) 1220 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171150403822 10
                                                                                                                                                     Massachusetts St.
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                                                                                                                                   Track Storage Shed - 1618
St. Scholastica H.S., Covington              Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Hwy. 190, Covington, LA       6/10/21    171151348251 04
                                                                                                                                   70435



St. Scholastica H.S., Covington              Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Classroom Bldg. Stem 2        9/13/20    TBA


                                                                                                                                   Church/Rectory/Hall-
                                                                                                                                   Hanmaum Korean Catholic
Korean Catholic Community Center, Metairie   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/16/20    171150507983 09
                                                                                                                                   Church-4812 W. Napoleon
                                                                                                                                   Ave., Metairie
                                                                                                                                   Church/Rectory/Hall-
                                                                                                                                   Hanmaum Korean Catholic
Korean Catholic Community Center, Metairie   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/16/21    171150507983 10
                                                                                                                                   Church-4812 W. Napoleon
                                                                                                                                   Ave., Metairie

                                                                                                                                   High School 100 Dominican
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                             6/15/21        171150442535 09
                                                                                                                                   Dr.



                                                                                                                                   High School 100 Dominican
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                             6/15/21        171150442535 10
                                                                                                                                   Dr.



                                                                                                                                   Athletic Field House (7/86)
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/2/20    171150578081 09
                                                                                                                                   100 Dominican Dr.



                                                                                                                                   Concession Stand - 100
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098428 06
                                                                                                                                   Dominican Dr.


                                                                                                                                   Athletic Building - 100
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Dominican Dr., LaPlace, LA    10/28/20   171150614825 09
                                                                                                                                   70068


                                                                                                                                   Chapel - 100 Dominican Dr.,
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               12/29/20     171151747963 01
                                                                                                                                   LaPlace, LA 70068



                                                                                                                                   Cafeteria (1984) 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098431 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   School - West Annex 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098432 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   School - East Annex 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098433 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Chapel-Don Bosco Hall 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              4/29/21       171151098434 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   School-Main Building 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098435 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Gymnasium 1000 Barataria
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098436 06
                                                                                                                                   Blvd.



                                                                                                                                   Wrestling Building 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098437 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Priests' Residence 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098438 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Baseball Stadium 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098439 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Maintenance Building 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098441 06
                                                                                                                                   Barataria Blvd.



Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Pool House 1000 Barataria     4/30/21    171151098442 06



                                                                                                                                   All Saints Hall- 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 8/12/20    171150980424 06
                                                                                                                                   Barataria Blvd. (2009)



ADM - Hope Haven Center                      Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Madonna Manor                 8/30/20    171150552032 09



                                                                                                                                   School - 8800 Veterans
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 5/30/21    171150415278 10
                                                                                                                                   Memorial Blvd.



                                                                                                                                   Gymnasium 8800 Veterans
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 5/27/21    171150415280 10
                                                                                                                                   Memorial Blvd.



                                                                                                                                   Library 8800 Veterans
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/2/20    171150578234 09
                                                                                                                                   Memorial Blvd.


                                                                                                                                   Old Convent & Chapel -
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Incarnate Word Hall- 8800     5/30/21    171150415281 10
                                                                                                                                   Veterans Memorial Blvd.


                                                                                                                                   Fine Arts & Technology 8800
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               1/6/21       171150629672 09
                                                                                                                                   Veterans Memorial Blvd.


                                                                                                                                   Barn Classroom Bldg. (2003) -
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   8800 Veterans Memorial        3/21/21    171150262606 10
                                                                                                                                   Blvd.
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                                                                                                                                        Faculty Residence/Computer
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              7/12/21       171150499189 10
                                                                                                                                        Tech Lab



                                                                                                                                        Faculty Residence/Computer
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              7/12/20       171150499189 09
                                                                                                                                        Tech Lab



Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Chapel                        7/12/21    171150499192 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Chapel                        7/12/20    171150499192 09



                                                                                                                                        Classrooms by Chapel (main
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              7/12/20       171150499198 09
                                                                                                                                        building)



                                                                                                                                        Classrooms by Chapel (main
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              7/12/21       171150499198 10
                                                                                                                                        building)



Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Classrooms Senior Wing        7/12/20    171150499191 09




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Classrooms Senior Wing        7/12/21    171150499191 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Cafeteria                     7/12/20    171150499190 09




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Cafeteria                     7/12/21    171150499190 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Gymnasium                     7/12/20    171150499194 09




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Gymnasium                     7/12/21    171150499194 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Band Room                     7/12/20    171150499193 09




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Band Room                     7/12/21    171150499193 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Field House                   7/12/20    171150499195 09




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Field House                   7/12/21    171150499195 10



                                                                                                                                        Concession & Storage
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/12/20    171150499197 09
                                                                                                                                        Building - 1983 I



                                                                                                                                        Concession & Storage
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/12/21    171150499197 10
                                                                                                                                        Building - 1983 I



                                                                                                                                        Office Building, 1916 N.
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 8/26/20    171150980414 06
                                                                                                                                        Arnoult Rd.



                                                                                                                                        Wrestling Complex 2113 N.
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/13/20    171150992490 06
                                                                                                                                        Hullen



                                                                                                                                        Portable Classroom
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 6/8/21     171151628678 02
                                                                                                                                        (Storage)



                                                                                                                                        Cenacle Retreat House-5500
ADM - Archdiocese of New Orleans Retreat Center   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/20/20    171151591691 02
                                                                                                                                        St. Mary Street, Metairie, LA



                                                                                                                                        High School - 1901 Jaguar
Pope John Paul II H.S., Slidell                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 6/20/21    171150451929 10
                                                                                                                                        Dr.



                                                                                                                                        Concessions/Storage
Pope John Paul II H.S., Slidell                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 11/13/20   171151038266 06
                                                                                                                                        Building - 1901 Jaguar Dr.



Pope John Paul II H.S., Slidell                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Classroom - 1901 Jaguar Dr. 10/2/20      171150578093 09



                                                                                                                                        Cabin 4 (B-4) 77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/29/21    171150677835 09
                                                                                                                                        70435

                                                                                                                                        Restroom (B-13) 77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       5/18/21    171150924072 07
                                                                                                                                        70435

                                                                                                                                        Lodge/Admin (B-9) - 77002
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   KC Camp Rd., Covington, LA 4/30/21       171150678032 09
                                                                                                                                        70435

                                                                                                                                        Infirmary (B-11) - 77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678033 09
                                                                                                                                        70435
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                                                                                                                                       Maintenance Shed (B-10) -
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   77002 KC Camp Rd.,           4/30/21    171150678035 09
                                                                                                                                       Covington, LA 70435

                                                                                                                                       Cafeteria (B-7) -77002 KC
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA      4/30/21    171150678042 09
                                                                                                                                       70435

                                                                                                                                       Cabin 1 (B-1) -77002 KC
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA      4/30/21    171150678095 09
                                                                                                                                       70435

                                                                                                                                       Cabin 5 (B-5) -77002 KC
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA      4/30/21    171150678045 09
                                                                                                                                       70435

                                                                                                                                       Pavilion Commissary &
                                                                                                                                       Equipment Storage (B-8) -
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                5/18/21    171151108919 06
                                                                                                                                       77002 KC Camp Rd.,
                                                                                                                                       Covington, LA

                                                                                                                                       Chapel (B-6) 77002 KC
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA      4/30/21    171150678076 09
                                                                                                                                       70435

                                                                                                                                       Pool Change House (B-12) -
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   77002 KC Camp Rd.,         5/18/21      171150924072 07
                                                                                                                                       Covington, LA 70435

                                                                                                                                       Recreational Equipment
                                                                                                                                       Building (B-12) -77002 KC
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                5/18/21    171150924069 07
                                                                                                                                       Camp Rd., Covington, LA
                                                                                                                                       70435

                                                                                                                                       Cabin 2 (B-2) -77002 KC
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA      4/30/21    171150678081 09
                                                                                                                                       70435

                                                                                                                                       Cabin 3 (B-3) -77002 KC
ADM - Camp Abbey                                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA      4/30/21    171150678085 09
                                                                                                                                       70435


                                                                                                                                                                               1711505822005
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Storage - 71324 Hwy. 1077    10/8/20
                                                                                                                                                                               09



                                                                                                                                       Gymnasium - 71324 Hwy.
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                10/8/20    171150582004 09
                                                                                                                                       1077



                                                                                                                                       Classroom Building - 71324
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                10/8/20    171150582003 09
                                                                                                                                       Hwy 1077



                                                                                                                                       Cafeteria/Kitchen - 71324
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                10/8/20    171150582006 09
                                                                                                                                       Hwy. 1077



                                                                                                                                       Admin / Library - 71324 Hwy.
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                9/25/20    171150572177 09
                                                                                                                                       1077



                                                                                                                                       Library Building - 71324 Hwy.
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/13/20   171150951626 06
                                                                                                                                       1077, Covington, LA 70433



                                                                                                                                       Library Building - 71324 Hwy.
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/13/21   171150951626 07
                                                                                                                                       1077, Covington, LA 70433


                                                                                                                                       Classroom (Bldg. 500) -
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   71324 Hwy. 1077, Covington, 7/13/21     171150951623 07
                                                                                                                                       LA 70433

                                                                                                                                       Classroom (Bldg. 500) -
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   71324 Hwy. 1077, Covington, 7/13/20     171150951623 06
                                                                                                                                       LA 70433

                                                                                                                                       Concession/Restroom -
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   71324 Highway 1077,          6/10/21    171151348233 04
                                                                                                                                       Covington, LA 70433

                                                                                                                                       Office Building/Social
ADM - Howard Avenue Building                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Services Bldg-1000 Howard    10/26/20   171150548475 09
                                                                                                                                       Ave., NOLA, 70113



ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Commons Building             5/16/21    171151103965 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment A/B                5/16/21    171151103966 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment C/D                5/16/21    171151103967 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment E/F                5/28/21    171151103968 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment G/H                5/16/21    171151103969 06


                                                                                                                                       Area A-
                                                                                                                                       Admin./Chapel/Library (2015)
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                3/6/21     171151221992 05
                                                                                                                                       5501 Westbank Expressway,
                                                                                                                                       Marrero, LA 70072

                                                                                                                                       Area C-Classroom (2015)
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   5501 Westbank Expressway, 3/6/21        171151221994 05
                                                                                                                                       Marrero, LA 70072

                                                                                                                                       Area D-Cafeteria (2015)
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   5501 Westbank Expressway, 3/6/21        171151221995 05
                                                                                                                                       Marrero, LA 70072
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                                                                                                                     Area E-Gym (2015) 5501
Academy of Our Lady, Marrero   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Westbank Expressway,          3/6/21    171151221996 05
                                                                                                                     Marrero, LA 70072

                                                                                                                     Arts Building (2015) - 5501
Academy of Our Lady, Marrero   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Westbank Expressway,          12/2/20   171151300544 04
                                                                                                                     Marrero, LA 70072

                                                                                                                     Maintenance Building-5501
Academy of Our Lady, Marrero   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Westbank Espressway,          8/16/20   171151665044 01
                                                                                                                     Marrero, LA
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                                              NARRATIVE

                                 For the Period Ending: June 30, 2020

   Please provide a brief description of any significant business and legal actions taken by the debtor,
   the creditors, or the court during the reporting period, any unusual or non-recurring accounting
   transactions that are reported in the financial statements, and any significant change in the financial
   condition of the debtor which have occurred subsequent to the report date.

    At June 30, 2020 and May 31, 2020, cash and cash equivalents per the consolidated balance
    sheet includes $26.4 million and $7.3 million, respectively, of restricted cash related to1) funds
    on deposit related to tuition loans outstanding, 2) custodial funds on deposit, and 3) amounts
    received post-petition filing date relating to funds on deposit in the Deposit and Loan fund that
    were deposited into the operating account and have not yet been transferred to the Portfolio B
    investment account.

    On May 1, 2020 (the “Petition Date”), and Debtor filed a petition for relief under chapter 11 of
    the Bankruptcy Code. The Official Committee of Unsecured Creditors (the “Creditors’
    Committee”) was appointed on May 20, 2020 [ECF Nos. 94 and 114].

    The following is a summary of the motions filed during the reporting period:

    On the Petition Date, the Debtor filed an Expedited Motion for Interim and Final Orders (A)
    Authorizing Postpetition Use of Cash Collateral, (B) Granting Adequate Protection to Lender,
    (C) Modifying the Automatic Stay, (D) Scheduling a Final Hearing, and (E) Granting Related
    Relief (the “Cash Collateral Motion”) [ECF No. 5]. Following a final hearing, a Final Order
    regarding the Cash Collateral Motion was entered on June 19, 2020 [ECF No. 173].

    On the Petition Date, the Debtor filed an Expedited Motion for Entry of (A) Interim and Final
    Orders (i) Authorizing the Maintenance of Existing Accounts, Continued Use of Existing Cash
    Management System, and Continued Use of Existing Business Forms, (ii) Waiving the
    Requirements of Section 345(b) of the Bankruptcy Code, and (iii) Granting Related Relief, and
    (B) an Order Scheduling a Final Hearing (the “Cash Management Motion”) [ECF No. 9].
    Following a final hearing, a Final Order regarding the Cash Management Motion was entered
    on June 19, 2020 [ECF No. 174].

    On the Petition Date, the Debtor filed an Expedited Motion for Interim and Final Orders (a)
    Authorizing the Debtor to Continue Insurance Coverage Entered into Prepetition and Satisfy
    Prepetition Obligations Related Thereto, (b) Authorizing the Debtor to Renew, Amend,
    Supplement, Extend, or Purchase Insurance Policies, and (c) Scheduling a Final Hearing (this
    “Insurance Motion”) [ECF No. 6]. In the Insurance Motion, the Archdiocese sought (a)
    authority to maintain the Insurance Program (as defined below) that existed before the Petition
    Date, and to satisfy prepetition obligations related thereto, including paying any applicable
    premiums, fees, deductibles, and self-insured retentions, and (b) seeks authority to renew,
    amend, supplement, extend, or purchase additional insurance policies, as needed, to maintain



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    the Insurance Program. Following a final hearing, a Final Order regarding the Insurance Motion
    was entered on June 22, 2020 [ECF No. 176].

    On the Petition Date, the Debtor filed a Motion for Order Authorizing the Roman Catholic
    Church of the Archdiocese of New Orleans to File Portions of the Schedules and State of
    Financial Affairs the Master Creditor Mailing Matrix, and Other Pleadings and Documents
    Under Seal (the “Motion to File under Seal”) [ECF No. 4], seeking authority to file, under
    seal, (a) any documents that may contain the names of individuals whose Claims against the
    Debtor are premised on allegations of abuse, as well as any other identifying information such
    as social security number, address, telephone number, names of close relatives, e-mail addresses,
    or other similar information. Following a final hearing, a Final Order regarding the Motion to
    File under Seal was entered on June 22, 2020 [ECF No. 177].

    On May 22, 2020, the Debtor filed a Motion for Entry of an Order, Pursuant to Sections 105
    and 363(b) of the Bankruptcy Code, Authorizing the (I) Payment of Certain Prepetition Invoices
    for Psychological Counsel or Therapy, and (II) Continuation of its Prepetition Practice of
    Paying for Certain Psychological Counseling or Therapy (the “Therapy Motion”) [ECF No.
    101]. In the Therapy Motion, the Archdiocese sought authority to pay certain invoices for
    prepetition therapy invoices, in an aggregate amount not to exceed $6,000, and authority to
    continue, after the Petition Date, its prepetition practice of paying invoices for certain Therapy
    in the exercise of its business judgment, as the same become due and payable. The Therapy
    Motion was granted by Order entered on June 15, 2020 [ECF No. 161].

    On May 28, 2020, the Debtor Filed a Motion for Entry of an Order, Pursuant to Sections 105,
    504(a)(7), 363(b), and 549(a)(2)(B) of the Bankruptcy Code, Authorizing the Debtor to Return
    Certain Pre-Petition Deposits, including Deposits for Events that are Canceled, Rescheduled,
    or Otherwise Altered due to the COVID-19 Pandemic (the “Refund Motion”) [ECF No. 116].
    In the Refund Motion, the Archdiocese seeks the entry of an order, in a form substantially similar
    to the Proposed Order, authorizing, but not directing, the Archdiocese to refund to individuals
    certain payments that constitute deposits, as summarized on Exhibit B to the Refund Motion
    (collectively, the “Refunds”), such Refunds to be made in accordance with its practices before
    the Petition Date, in the exercise of its business judgment, up to the aggregate amount of $3,025
    per individual. The Refund Motion was granted by Order entered on June 16, 2020 [ECF No.
    162].

    The following is a summary of the retention applications granted or filed during the
    reporting period:

    On the Petition Date, the Debtor filed an Expedited Application to Employ Donlin Recano as
    Claims, Noticing and Solicitation Agent for the Debtor Nunc Pro Tunc to the Petition Date (the
    “Claims Agent Application”) [ECF No. 10]. Following a final hearing, a Final Order regarding
    the Claims Agent Application was entered on June 25, 2020 [ECF No. 188].

    On May 15, 2020, the Debtor filed its Application to Employ Jones Walker LLP as Attorneys
    for the Debtor Nunc Pro Tunc to Petition Date (the “Jones Walker Application”), [ECF No.
    75], and an Amended Application [ECF No. 138] (collectively, the “Jones Walker Amended

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    Application”). An Order granting the Jones Walker Application was granted on June 19, 2020
    [ECF No. 170].

    On May 16, 2020, the Debtor filed its Application to Employ Carr Riggs & Ingram LLC as
    Financial Advisor (the “CRI Application”) [ECF Nos. 77 and 143]. An Order granting the CRI
    Application was entered on June 19, 2020 [ECF No. 171].

    On June 1, 2020, the Debtor filed an Application to Employ Blank Rome LLP as Special
    Insurance Counsel [ECF No. 123], which was granted by Order entered on June 19, 2020 [ECF
    No. 172].

    On June 22, 2020, the Creditors’ Committee filed an (a) Application to Employ Pachulski Stang
    Ziehl & Jones LLP as Co-Counsel for the Official Committee of Unsecured Creditors [ECF No.
    181], and (b) Application to Retain Lock Lord LLC Co-Counsel for the Official Committee of
    Unsecured Creditors [ECF No. 179]. Hearings on the Creditors’ Committee’s applications is
    scheduled for July 17, 2020.




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                                                                                              Archbishop Shaw

                                                                          1110 Cash - Operating account, Period Ending 06/30/2020

                                                                                           RECONCILIATION REPORT

                                                                                            Reconciled on: 07/06/2020

                                                                                       Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                                                  USD

 Statement beginning balance                                                                                                                                         377,823.10
 Interest earned                                                                                                                                                          12.15
 Checks and payments cleared (78)                                                                                                                                   -296,555.48
 Deposits and other credits cleared (28)                                                                                                                              37,421.05
 Statement ending balance                                                                                                                                            118,700.82

 Uncleared transactions as of 06/30/2020                                                                                                                            -140,855.68
 Register balance as of 06/30/2020                                                                                                                                   -22,154.86
 Cleared transactions after 06/30/2020                                                                                                                                     0.00
 Uncleared transactions after 06/30/2020                                                                                                                             -63,275.39
 Register balance as of 07/06/2020                                                                                                                                   -85,430.25



 Details

 Checks and payments cleared (78)

 DATE                                      TYPE                                     REF NO.                             PAYEE                                    AMOUNT (USD)
 12/18/2019                                Bill Payment                             19704                                                                                -40.00
 01/17/2020                                Bill Payment                             19913                                                                               -100.00
 02/04/2020                                Bill Payment                             20012                                                                                -21.55
 02/18/2020                                Bill Payment                             20097                               Logo Express                                    -224.90
 02/21/2020                                Bill Payment                             20132                               First Louisiana-Mississippi, Inc.               -250.00
 03/10/2020                                Bill Payment                             20069                               Universal City Development Partners           -1,105.94
 03/10/2020                                Bill Payment                             20064                               Bubba Gump Shrimp Company                     -1,024.80
 03/11/2020                                Bill Payment                             20092                               Hard Rock Cafe Orlando                        -1,777.02
 05/13/2020                                Bill Payment                             20284                               Heritage Electrical Co., Inc.                 -2,080.00
 05/20/2020                                Bill Payment                             20290                               Pitney Bowes Global Financial Services          -141.52
 05/22/2020                                Bill Payment                             20293                                                                                -12.00
 05/22/2020                                Bill Payment                             20292                               Brovac Environmental Services                   -175.00
 05/22/2020                                Bill Payment                             20294                               Red Hawk Fire & Security                      -1,167.32
 05/26/2020                                Bill Payment                             20297                               Mr. Trophy, Inc.                                -541.78
 05/26/2020                                Bill Payment                             20298                               Cox Business                                     -44.84
 05/27/2020                                Journal                                  15-1987                                                                             -217.50
 05/29/2020                                Bill Payment                             20299                                                                                -13.65
 05/29/2020                                Bill Payment                             20300                               Liturgy Training Publications                    -22.00
 06/02/2020                                Bill Payment                             20305                               Gallagher Benefits Services                  -25,375.83
 06/02/2020                                Bill Payment                             20306                               Guardian                                      -1,709.37
 06/02/2020                                Bill Payment                             20303                               Downtown Delivery                               -200.00
 06/02/2020                                Bill Payment                             20301                               A & L Sales, Inc.                                -56.78
 06/02/2020                                Bill Payment                             20304                               WM Corporate Services, Inc                      -227.00
 06/02/2020                                Bill Payment                             20302                               Alarm Protection Services                        -81.00
 06/02/2020                                Journal                                  15-2030                                                                             -105.43
 06/02/2020                                Journal                                  15-2030                                                                              -26.30
 06/03/2020                                Bill Payment                             20307                               Salesian Society                              -7,137.17
 06/03/2020                                Bill Payment                             20308                               Pan American Life                                -28.00
 06/03/2020                                Bill Payment                             20309                               Entergy                                       -6,133.35
 06/03/2020                                Bill Payment                             20310                               Atmos Entergy                                   -267.90
 06/03/2020                                Invoice                                  5804                                                                                -763.94
 06/04/2020                                Bill Payment                             20311                               Deluxe Pest Control                             -133.00
 06/04/2020                                Journal                                  15-2028                                                                          -80,000.00
 06/05/2020                                Journal                                  15-2029                                                                             -184.82
 06/09/2020                                Bill Payment                             20313                               Sherwin Williams                                -429.18
 06/09/2020                                Bill Payment                             20312                               Home Depot Credit Servic                      -1,358.84
 06/10/2020                                Refund                                   20315                                                                             -1,000.00
 06/10/2020                                Bill Payment                             20314                                                                               -500.00
 06/10/2020                                Journal                                  15-2008                                                                             -217.50
 06/10/2020                                Journal                                  15-2008                                                                          -26,648.57
 06/10/2020                                Bill Payment                             20318                               Jesuit High School                              -184.66
 06/10/2020                                Bill Payment                             20316                                                                               -430.23
 06/15/2020                                Bill Payment                             20321                               Lowes BusinessAcct/GECRB                        -217.70
 06/15/2020                                Bill Payment                             20322                               Ricoh USA, Inc                                    -6.50
 06/15/2020                                Bill Payment                             20320                               Holy Cross High School                           -80.00
 06/15/2020                                Bill Payment                             20326                               Visa                                          -1,204.59
 06/15/2020                                Bill Payment                             20325                               Visa                                             -70.23
 06/15/2020                                Bill Payment                             20323                                                                                -40.00
 06/15/2020                                Bill Payment                             20319                               Foley Marketing, Inc.                           -793.54
 06/17/2020                                Bill Payment                             20501                               College Board                                 -7,149.00
 06/18/2020                                Bill Payment                             20503                               Chromebookparts.com                           -5,704.43
 06/18/2020                                Bill Payment                             20502                               Awards By Mark                                -1,725.00
 06/18/2020                                Bill Payment                             20506                               Visa                                              -0.33
 06/18/2020                                Bill Payment                             20504                               Light Bulb Depot                                -360.52
 06/18/2020                                Check                                    20532                                                                               -400.00


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 DATE                        TYPE                REF NO. of 605      PAYEE                      AMOUNT (USD)
 06/18/2020                                Check             20539                                           -375.00
 06/18/2020                                Check             20513                                           -665.00
 06/18/2020                                Check             20540                                           -550.00
 06/18/2020                                Check             20510                                           -350.00
 06/18/2020                                Check             20520                                           -900.00
 06/18/2020                                Check             20516                                          -1,050.00
 06/18/2020                                Check             20526                                           -605.00
 06/18/2020                                Check             20541                                           -285.00
 06/18/2020                                Check             20525                                          -1,298.99
 06/18/2020                                Check             20519                                           -495.00
 06/18/2020                                Check             20533                                          -1,735.00
 06/18/2020                                Check             20534                                           -635.00
 06/18/2020                                Check             20508                                           -695.00
 06/18/2020                                Check             20531                                          -1,555.00
 06/18/2020                                Check             20542                                           -455.00
 06/18/2020                                Check             20530                                           -465.00
 06/18/2020                                Check             20511                                           -615.00
 06/18/2020                                Refund            20544                                           -300.00
 06/22/2020                                Bill Payment      20546     Rediker Software, Inc.               -9,284.00
 06/22/2020                                Bill Payment      20547     Visa                                     -2.41
 06/23/2020                                Bill Payment      20554     Herff Jones Yearbook                  -670.00
 06/29/2020                                Journal           15-2027                                       -93,500.00
 06/30/2020                                Journal           15-2023                                         -159.55

 Total                                                                                                  -296,555.48


 Deposits and other credits cleared (28)

 DATE                                      TYPE              REF NO.   PAYEE                           AMOUNT (USD)
 01/09/2020                                Bill Payment      19863     Salesian Society                         0.00
 05/13/2020                                Bill Payment      20283     Heritage Electrical Co., Inc.            0.00
 06/01/2020                                Journal           15-1996                                        1,525.00
 06/01/2020                                Journal           15-1993                                          900.00
 06/03/2020                                Journal           15-2033                                       20,902.63
 06/03/2020                                Journal           15-2033                                          118.13
 06/04/2020                                Journal           15-2001                                           72.00
 06/10/2020                                Bill Payment      20317     Jesuit High School                       0.00
 06/15/2020                                Journal           15-2032                                        1,024.80
 06/15/2020                                Journal           15-2032                                          224.90
 06/15/2020                                Journal           15-2032                                          250.00
 06/15/2020                                Journal           15-2032                                          100.00
 06/15/2020                                Journal           15-2032                                           40.00
 06/15/2020                                Journal           15-2032                                           21.55
 06/15/2020                                Journal           15-2032                                        1,777.02
 06/15/2020                                Journal           15-2032                                        1,105.94
 06/15/2020                                Journal           15-2011                                          617.58
 06/15/2020                                Journal           15-2010                                        1,000.00
 06/15/2020                                Bill Payment      20324     Visa                                     0.00
 06/16/2020                                Journal           15-2012                                          412.00
 06/16/2020                                Receive Payment                                                    400.00
 06/17/2020                                Invoice           5828                                               0.00
 06/17/2020                                Journal           15-2014                                        1,500.00
 06/18/2020                                Journal           15-2017                                        3,229.98
 06/18/2020                                Journal           15-2015                                          225.00
 06/18/2020                                Journal           15-2017                                           38.82
 06/25/2020                                Journal           15-2021                                        1,128.92
 06/29/2020                                Journal           15-2022                                          806.78

 Total                                                                                                    37,421.05


 Additional Information

 Uncleared checks and payments as of 06/30/2020

 DATE                                      TYPE              REF NO.   PAYEE                           AMOUNT (USD)
 05/26/2020                                Bill Payment      20295     Lula Restaurant                       -538.00
 06/18/2020                                Bill Payment      20505     New Orleans Party Rentals             -410.36
 06/18/2020                                Refund            20543                                           -300.00
 06/18/2020                                Check             20509                                           -695.00
 06/18/2020                                Check             20536                                          -2,085.00
 06/18/2020                                Check             20527                                          -1,875.00
 06/18/2020                                Check             20528                                             -50.00
 06/18/2020                                Check             20524                                             -50.00
 06/18/2020                                Check             20523                                           -500.00
 06/18/2020                                Check             20512                                           -855.00
 06/18/2020                                Check             20515                                           -550.00
 06/18/2020                                Check             20535                                           -320.00
 06/18/2020                                Check             20521                                           -545.00
 06/18/2020                                Check             20518                                           -100.00
 06/18/2020                                Check             20537                                           -515.00

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 DATE                        TYPE                REF NO. of 605      PAYEE                      AMOUNT (USD)
 06/18/2020                              Check           20529                                                     -1,785.00
 06/18/2020                              Check           20507                                                      -400.00
 06/18/2020                              Check           20538                                                      -225.00
 06/18/2020                              Check           20517                                                     -2,170.00
 06/18/2020                              Check           20514                                                      -375.00
 06/18/2020                              Refund          20542                                                      -265.00
 06/22/2020                              Bill Payment    20545       Arch of N.O. IT Dept.                            -15.00
 06/22/2020                              Bill Payment    20548       Windstream                                     -670.73
 06/23/2020                              Bill Payment    20553       Purchase Power                                 -500.00
 06/23/2020                              Bill Payment    20555       Liminex, Inc.                                 -3,541.50
 06/23/2020                              Bill Payment    20552       Pitney Bowes Global Financial Services         -141.52
 06/23/2020                              Bill Payment    20551       Graduate Supply House                         -4,693.55
 06/25/2020                              Refund          20556                                                    -10,000.00
 06/29/2020                              Bill Payment    20562       Cox Business                                     -44.64
 06/29/2020                              Bill Payment    20559                                                     -2,700.00
 06/29/2020                              Bill Payment    20558                                                     -1,390.00
 06/29/2020                              Bill Payment    20560       A.C. Cross, Inc.                              -1,875.26
 06/29/2020                              Bill Payment    20563       Raymond Plumbing & Heating                     -200.08
 06/29/2020                              Bill Payment    20564       Trane U.S. Inc.                                -347.50
 06/29/2020                              Bill Payment    20561       AA Screens & Glass Inc.                          -45.91
 06/29/2020                              Bill Payment    20557                                                      -400.00
 06/30/2020                              Journal         15-2023                                                  -28,496.44
 06/30/2020                              Journal         15-2023                                                    -217.50
 06/30/2020                              Bill Payment    20565       Archdiocese of New Orleans                   -27,847.00
 06/30/2020                              Bill Payment    20566       Archdiocese of New Orleans                   -43,120.69

 Total                                                                                                         -140,855.68


 Uncleared deposits and other credits as of 06/30/2020

 DATE                                    TYPE            REF NO.     PAYEE                                    AMOUNT (USD)
 06/22/2020                              Check           20522                                                         0.00
 06/22/2020                              Bill Payment    20549                                                         0.00

 Total                                                                                                                 0.00


 Uncleared checks and payments after 06/30/2020

 DATE                                    TYPE            REF NO.     PAYEE                                    AMOUNT (USD)
 07/01/2020                              Bill Payment    20567       Gallagher Benefits Services                  -28,446.47
 07/01/2020                              Bill Payment    20568       Rumbelow Consulting, LLC                         -65.25
 07/06/2020                              Bill Payment    20570       Blick Art Materials                              -11.22
 07/06/2020                              Bill Payment    20576       WM Corporate Services, Inc                     -227.00
 07/06/2020                              Bill Payment    20569       Alarm Protection Services                      -276.00
 07/06/2020                              Bill Payment    20571       Chromebookparts.com                          -28,471.62
 07/06/2020                              Bill Payment    20572       Guardian                                      -2,082.44
 07/06/2020                              Bill Payment    20574       Pan American Life                                -28.00
 07/06/2020                              Bill Payment    20577       Wood n Sips Etc.                              -2,000.00
 07/06/2020                              Bill Payment    20573       Jefferson Parish Dept. of Water               -1,484.01
 07/06/2020                              Bill Payment    20575       Sherwin Williams                               -243.38

 Total                                                                                                          -63,335.39


 Uncleared deposits and other credits after 06/30/2020

 DATE                                    TYPE            REF NO.     PAYEE                                    AMOUNT (USD)
 07/06/2020                              Journal         15-2035                                                      60.00

 Total                                                                                                               60.00




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LAVW                       VXYW                        5WZ[\5                     YAXWW                A]\K[VPK6LQ
9N;94;<9<9                 W@F6                     ^L9N94<9                    _6O39 7F        0<349R5NN
9N;94;<9<9                 ?E6                        ?W09N<90Z`VV56Z594                                   049M5R9
9N;94;<9<9                 W@F6                     ^L9N94<9                    ? 663A>            0<3M99599
9N;9<;<9<9                 a6b                     420<9^ 69 =O            ]673E67          0S31<S5R9
9N;9<;<9<9                 a6b                     420<9^ 69 =O            ? 663A>            0S3S295SR
9N;9<;<9<9                 a6b                     420<9^ 69 =O            963A >               0S32<<5RM
9N;9<;<9<9                 a6b                     420<9^ 69 =O            c=3^ E6              0432R2591
9N;9<;<9<9                 a6b                     420<9^ 69 =O            ]673A@          0S3M225<:
9N;9<;<9<9                 a6b                     420<9^ 69 =O            9 BF=3d B 6           0:3:945R1
9N;9<;<9<9                 a6b                     420<9^ 69 =O            9B 63AB              013M2R5:S
9N;9<;<9<9                 a6b                     420<9^ 69 =O            cB3Ab>              0431<M51:
9N;9<;<9<9                 a6b                     420<9^ 69 =O            `E3^ 6            0:R<5NM
9N;9<;<9<9                 a6b                     420<9^ 69 =O            ^=E3^EO                0<R<511
9N;9<;<9<9                 a6b                     420<9^ 69 =O            L 63`776                01<952N
9N;9<;<9<9                 a6b                     420<9^ 69 =O            Z73d 76               0RMN542
9N;9<;<9<9                 a6b                     420<9^ 69 =O            6B3?>6               0434:45S<
9N;9S;<9<9                 ?E6                        ?W09N<90Z`VV56Z59<                                 0:3S<N54N
9N;<N;<9<9                 W@F6                     <9<90<4^L9N<N<9            6B73`O                0N9R5M9
9N;<N;<9<9                 W@F6                     <9<90<4^L9N<N<9            6 6A6735>            0N9R5M9
9N;<N;<9<9                 W@F6                     <9<90<4^L9N<N<9            eO6 3_ O              0M11511
9N;<N;<9<9                 W@F6                     <9<90<4^L9N<N<9            9EBB63` >               0M11511
9N;<N;<9<9                 W@F6                     <9<90<4^L9N<N<9            A66 3LB6          043<99599
V7                                                                                                        0123444511
LF767777 7P:MQ
LAVW                       VXYW                        5WZ[\5                     YAXWW                A]\K[VPK6LQ
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b5994       A7 B3L 6             2341M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b599<       A66 3LB6           M322M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b599S       ` >3Ab>               R322M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b5991       ` 73?          :341M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b599M       `Eb 73?6 7 6          239:M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b599N       `Eb 73c                 :<M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b599:       `7635=           2341M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b599R       `f63]>                  R322M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b5992       `f63d >               R3<<M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b5949       `f63_  >               M311M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b5944       `E63A g                R3M99599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b594<       9 73W                 R322M599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b594S       9 73966               M3M99599
9N;4:;<9<9                 6 5F7                <9<90<4^ 6A7b5941       9 6>3] O>               R322M599
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6422         !"       22#26$%&9'(560   )*+39&"%&""        736,05
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6422         !"       22#26$%&9'(564   )-.&%312             137705
6422         !"       22#26$%&9'(561   8&"&3&+3-               736,05
6422         !"       22#26$%&9'(567   8&3/+""&               137445
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6422         !"       22#26$%&9'(526   88%&39'+&                435
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6422         !"       22#26$%&9'(520   8-*38"%&               635
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6422         !"       22#26$%&9'(521   %"+31'&              1316567
6422         !"       22#26$%&9'(527   :2+3"*&             035
6422         !"       22#26$%&9'(56   :-'"35*&             137705
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6422         !"       22#26$%&9'(562   ;2+"3;0'&             736,05
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6422         !"       22#26$%&9'(560   5%&31'&               137705
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6422         !"       22#26$%&9'(5,   $%7+038-&&              036,450
6422         !"       22#26$%&9'(5,6   $%7+03;-&"+              ,342250
6422         !"       22#26$%&9'(5,2   +3;-&"+              03,05
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6422         !"       22#26$%&9'(5,4   >-&%&#?=39'+&      37705
6422         !"       22#26$%&9'(5,1   .+=31                137705
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6422         !"       22#26$%&9'(50   %2+"35%+'&            137705
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6422         !"       22#26$%&9'(502   %&&&2-+93.0            736,05
6422         !"       22#26$%&9'(506   %&&&2-+93/+%%4         13425
6422         !"       22#26$%&9'(50,   %-3(&              037705
6422         !"       +.%&'"@%."5&"   .!%&35+.*           137705
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6422         !"       22#26$%&9'(501   %""3)+0             1305
6422         !"       22#26$%&9'(507   ."*3%"                 037705
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6422         !"       22#26$%&9'(52    *%.!%&3A .           37705
6422         !"       22#26$%&9'(56    %''35%2                13,05
6422         !"       22#26$%&9'(5,    -+-"35-"&              736,05
6422         !"       22#26$%&9'(50    -+&+3/+0'&            137705
6422         !"       22#26$%&9'(5   ?4&+3B4               137705
6422         !"       22#26$%&9'(54   ?4&+39(                432405
6422         !"       22#26$%&9'(51   A2+35               0305
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MG9: ::Q5NR                                                                     5657533438
9C9 9:9>9                                                                              N7S<N7NO8431
8>9D36=S3=5353                                                                      N7S<N7NO8431

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MBWX                      WYZX                       8X[\]4                    ZBYXX            B^]L\WQL9MR
36=3S=5353                  P                      B 363S53                 [_9P`WF          0N1433
36=32=5353                @F9                    @X036530B 8F93N                              0151433
W                                                                                                 0123433
MG9: ::Q5NR
MBWX                      WYZX                       8X[\]4                    ZBYXX            B^]L\WQL9MR
36=3N=5353                @F9                    @X036530[_WW89[83N                                N314O3
36=3N=5353                MG                                                                     67333433
36=35=5353                MG                                               @ 997B?           251433
36=3S=5353                @F9                    @X036530[_WW89[835                              <7S564N6
36=32=5353                MG                                                                     O712<433
36=32=5353                MG                                                                     N71384S8
36=31=5353                MG                                                                     67351433
36=38=5353                MG                                                                    NN7321433
36=38=5353                MG                                                                    NO7881433
36=N3=5353                MG                                                                     <7313433
36=NN=5353                MG                                                                    N878S1433
36=N5=5353                MG                                                                    NO7N23433
36=N1=5353                MG                                                                     O78OO433
36=N6=5353                MG                                               [F97_?99        87N21433
36=NO=5353                MG                                                                    227531433
36=55=5353                MG                                                                     87153433
36=5S=5353                MG                                                                    N87583433
36=52=5353                MG                                                                    5<7283433
36=58=5353                MG                                                                    537NO1433
36=S3=5353                MG                                                                    NO7553433
36=S3=5353                MG                                               [_9P`WF            1S4<2
W                                                                                              5657533438
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ABCCD                                                                                                                     E0F
01619<90179000768609                                                                                              GHIJKIL2M3
459N601@68<901896791OMPQ                                                                                          RMLJG3M2GH
F9@ 160115977911896791O6IQ                                                                                       KLKJ3LK23G
01619<9019010768609                                                                                                M34JIGG2KH
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E089679117606106=3L5I356363                                                                                       R64JHG42MG
/9 1977686096=3L5I356363                                                                                         G4MJM332KL
489679117606106=1973L5I356363                                                                                            3233
E089679117606106=1973L5I356363                                                                                          MP233
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459N601@68<901896791OMPQ
F;VW                      VXYW                          /WZ[\2                     Y;XWW                         ;]\E[VOE0FQ
K3536563KM                ^88Y68<901                   6I6LG                       Y9176                                R43233
3H5K456363                459N                          6IMMH                       ^ ?79 J\_90                        RP3233
3P5KM56363                ^88Y68<901                   6H3LL                       V59^788N4 <@608                    RP3233
3P56L56363                ^88Y68<901                   6H34I                       9;]Z0 =1_679                     RGJ4L3233
3P56L56363                ^88Y68<901                   6H34P                       ]61979`901?79Jaa4R\1597       R6J3MG233
3P56L56363                ^88Y68<901                   6H34H                       a ? 606\==9=] 17`95b             RK3233
3P56456363                ^88Y68<901                   6H3GK                       a99V76174 2Jc02                   RM32H3
3P56456363                ^88Y68<901                   6H3G3                       Z795 ?90?7                         RP63233
3P56456363                ^88Y68<901                   6H34M                       46788Z8800                         RKMG233
3P56456363                ^88Y68<901                   6H3GP                       V7RY675V7@59                       RHL324H
3P56456363                ^88Y68<901                   6H34G                       46@>/9=797610097d 9Jcb          R6P3233
3L53656363                ^88Y68<901                   6H3G4                       ;<9760;88R0167Jaa4                R6LP233
3L53656363                ^88Y68<901                   6H3GG                       Z 9e76@5                           RLPP24G
3L53656363                ^88Y68<901                   6H3GM                       Y1098^ _9Y?7569Y _97             RKPI24I
3L53656363                ^88Y68<901                   6H3MK                       01:^614 <@608                     RM4P233
3L53656363                ^88Y68<901                   6H3M6                       V8897Z 78159                       R66K233
3L53656363                ^88Y68<901                   6H3MI                       E0d976845997896197; b           R6JL33233
3L53656363                ^88Y68<901                   6H3M3                       Y7=7<6                            R6JKG62LH
3L53656363                W:@909                                                    EcZR0161?<                         RG42IK
3L53M56363                ^88Y68<901                   6H3MM                       Z 597>; 9671_679Jc02             R6M2PH
3L53M56363                ^88Y68<901                   6H3MG                       F806< ;?1 `19                   RKJ6P3233
3L53M56363                ^88Y68<901                   6H3ML                       ^8 <9760Jaa4                    R6JIGG233
3L53M56363                ^88Y68<901                   6H3MP                       ^68=?7[9_\78960Jaa4            RIJ6KH23P
3L53M56363                ^88Y68<901                   6HK33                       e9 0?7=69                        RKJP33233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
3L53M56363                ^88Y68<901                   6HK3K                       a>\797d619?7                        R6MM233
3L53M56363                ^88Y68<901                   6HK36                       \==9F9@ 1                          R6L424L
3L53M56363                ^88Y68<901                   6HK3I                       /?57`68898Y?7850Jc02            RIP3233
3L53M56363                ^88Y68<901                   6HK3H                       0?@97 7\==9Y71?1c0               R6PI2HK
3L53M56363                ^88Y68<901                   6HK3P                       V59E0d9718=;8676<6               RLP3233
3L53M56363                ^88Y68<901                   6HK3L                       V7?9`68?9/90168                 RKJ36H233
3L53M56363                ^88Y68<901                   6H3MH                       ;@@89Jc02GLH6KH                   RPMK233
3L53M56363                W:@909                                                    Z71;<9760^60NfV7?1               RI6233
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525155                                         !9"#$%$&' (!                0)655
52*555                                                                             03*4+6,5
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52**55                  -.#&         9-/52**5      0!(!-.#&'(1               0)*614
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52*,55                  %11$3"!   7*54          9-/00($#446             0*13556*,
52*,55                  %11$3"!   7**)          5$6($#&1-7630#6               0*276+
52*,55                  %11$3"!   7*51            #77"#$18$!7$1'$9           04,67
52*,55                  %11$3"!   7**5          :7$#$1;#              0*3),56*+
52*455                  -.#&         7*          <"8(6                               0*762*
52*455                  -.#&         7**4            1!944$;!!$1             02+*62*
52*455                  -.#&         7*7          8$(.$(39"                    03555655
52*455                  %11$3"!   7*4          9-/0044#                      02+655
52*455                  %11$3"!   7*1          -7#$-71$%7!!16-7"$39           0**26+,
52*455                  %11$3"!   7*)5          -(!;7"!$1;#9             0*25655
52*455                  %11$3"!   7*)*          .=9#/$>?$30#6               0*4645
52*455                  %11$3"!   7*)            .-.(#.(13/7(                0*5+677
52*455                  %11$3"!   7*))            .#76!7-7"$3             03**764*
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52755                  -.#&         +5,          /1@(3/$13                          0,5655
52755                  -.#&         +522          9-/0-                        03*)76)1
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52755                  %11$3"!   +527             #$A7?3                            0,26+4
52755                  %11$3"!   +52          44#87!                           0)7)654
52755                  -.#&         +525          "!.33$$                          07+655
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52755                  -.#&         +5)1          $"D3C$#.$3                          0,5655
52755                  -.#&         +575          >3-.$1                            0,5655
52755                  -.#&         +57)          7@!3-$71                         0,5655
52755                  -.#&         +577          7(139>                          0,5655
52755                  -.#&         +572          #.?317$                        0,5655
52755                  -.#&         +571          !3&3B7@                           0,5655
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310333                   6                        !"#$%                             533433
310033                   6                                                              231&433
31033                   6                                                             032433
31033                   6                          !"#$%                           33433
310533                   6                                                                433
310533                   6                          !"#$%                           033433
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31333                   6                                                                 14&3
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303300                   +)(>                    8,"DE*F,                          !0&3433
033300                   B**"?%.         //     G").9.,,2.(4                   !034/
03300                   +)(>               0     9"4H).GA)()*                !3433
000300                   B**"?%.         &1     ()**H..                         !433
00300                   +)(>               00      ,G.,?                                !04/
33/33                   +)(>               /00     '$(),GA)()*                     !033433
30333                   B**"?%.         031     4H).8)",                      !2&33433
30033                   +)(>               030     4H).",)()*B",#             !3/43
3/33                   B**"?%.         &35&     8)"."*B"+*$F                  !143
3/33                   B**"?%.         &351     8,("'I,?                            !15400
3/33                   B**"?%.         &35     $J?B*A."                             !0/401
313033                   B**"?%.         &30/     +*+.(                           !5345
310/33                   +)(>               &00     8,?'I,?                              !3433
310/33                   B**"?%.         &000     '$"."'@".#9K$%.2-         !/40/
310533                   +)(>               &0     H$.6$%"                            !033433
310533                   +)(>               &0/     L."M.$                               !/40
310533                   +)(>               &0     8."L".                               !40
31&33                   +)(>               35      ?,27,N$.                              !/3433
31&33                   +)(>               30     H"(F2B,"#?                             !/3433
31&33                   +)(>               33     H"(%.28"*.                         !/3433
31&33                   +)(>               30     '".#,?2O.,                         !/3433
31&33                   +)(>               3     'B*".(2*?                            !/3433
31&33                   +)(>               3     '$K$26".**                         !/3433
31&33                   +)(>               3&     "#,2"D"..")                         !/3433
31&33                   +)(>               31     A$?.2H)                           !/3433
31&33                   +)(>               3&0       .2"(                            !/3433
31&33                   +)(>               3&       .A2'$>                             !/3433
31&33                   +)(>               3&       $(>,26D.                           !/3433
31&33                   +)(>               3&/     %)2E,.                           !/3433
31&33                   +)(>               3&5     I",2+"%,?.                          !/3433
31&33                   +)(>               33     8,".2)**                             !/3433
31&33                   +)(>               30     O"*>,2B,N".                           !/3433
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9                                      6 of 605                                9
28522                                         2               !"#"3$%#"&                         0'2622
28522                                         2                ()*+$&3,$#-                            0'2622
28522                                         28               .%/&*3"/#                          0'2622
28522                                         2'               ."##/)031$#."                       0'2622
28522                                         22               //3.34+$."                           05 622
28522                     5"##$-+&6              287             $%.1&6).7388                  03'276'2
28522                                          2              ,$.9-3:-/&                            0'2622
28522                                          25             ,$663;;"                          0'2622
28522                                          2             ()"%.-3&&$                              0'2622
28522                                          27             (.$-3"$&                               0'2622
28522                                          22             ."-39-#$&                           0'2622
28522                                          274             /.763$.)7                           0'2622
28522                                          272             ";)./3/.;$&                          0'2622
28522                     5"##$-+&6              281             )*-5/#/;&$                            08446
28522                                          278             .&$&%*3$##/.-                       0'2622
28522                                          275             9)3:$6#-&                            0'2622
28522                                          27             9#$&)9"##3-#.                       0'2622
28522                                          277             9.3:$6#-&                          0'2622
28522                                          272             9$9"73/+$"&                            0'2622
28522                                          22'             %/6$#3/##"&                          0'2622
28522                                          22              5.$%-39$&                               0'2622
28522                                          225             5/).;/"73$"6                         0'2622
28522                                          22             5.;./&3(.;/.-                        0'2622
28522                                          222              <$".3$-#/.                             0'2622
28522                                          27'             "=="31#$%"+".                         0'2622
281222                     5"##$-+&6              2'1             "6&-5/>7).$7/>.             057767
281222                     5"##$-+&6              2'5             &7$#.6)."6-.9"7             0522622
281222                     5"##$-+&6              2'              .)&6"&=.";.$6"/&.9"?       053'' 622
281222                     5"##$-+&6              2'8             66$.#7."&6"&;                    0857677
281222                     5"##$-+&6              2''             )*-5/#/;&$                             052671
281222                     5"##$-+&6              2'2              9/./33                      032776
281222                     5"##$-+&6              2'4              ."0$."7./3"7                       05'678
281222                                          222             #$.&9)33                       073222622
281222                                          227             $%.1&6).738806.             0'684
281222                     5"##$-+&6              28'             /##;5/$.%                         053412622
281222                     5"##$-+&6              282             9&&"##/&"$                         07'76'1
281222                     5"##$-+&6              284             $767";&7/=66$.#7                0785672
281222                     5"##$-+&6              2'2             "7.@7,$.%>$.34&6              01226'7
281222                     5"##$-+&6              2'7             ($.-A."&;)                           071468
281222                     5"##$-+&6              2'             $6.&@7)3.+$.6                  07'5658
 /6$#                                                                                                        0123425627
&#$.%%3/7"67$&%/6..%"67$7/=281222
9                                                       6                                             9
282422                     B/).&$#                  B 02820149:                                            '618
282422                     B/).&$#                  B 02820149:                                            21644
282422                     B/).&$#                  B 02820149:                                           752622
282422                     B/).&$#                  B 02820149:                                           726'1
282422                     B/).&$#                  B 02820149:                                             2622
282422                     B/).&$#                  B 02820149:                                           1622
282422                     B/).&$#                  B 02820149:                                           722622
282422                     B/).&$#                  B 02820149:                                             46'
282422                     B/).&$#                  B 02820149:                                         3522622
282422                     B/).&$#                  B 02820149:                                           2'62
287222                                         578             8-%"$$##-                               2622
 /6$#                                                                                                          13578621
&#$.%%3/7"67$&%/6..%"67$=6.281222
9                                                       6                                             9
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3333        4                               !"#                         01233
6$                                                                                     01233
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                                                                Main Office P.O. Box 550 Vacherie, LA 70090-0550 www.fabt.com
                                                          (225)265-2265 800-738-2265 Fax(225)265-9398 First Line 800-520-2265

        ***************AUTO**SCH 5-DIGIT 70068
        4906 1.2120 AV 0.389            13 1 5
                                                                                ACCOUNT NUMBER
        ST CHARLES CATHOLIC HIGH SCHOOL
        OPERATING ACCOUNT
        100 DOMINICAN DR                                                     STATEMENT PERIOD
        LAPLACE LA 70068-3412                                              6/1/2020 TO 6/30/2020




CHECKING SUMMARY
        Super Now Business
        CHECKING BALANCE LAST STATEMENT...                                           843,136.90
          23        DEPOSITS/OTHER CREDITS                                  +        161,061.08
          95        CHECKS/OTHER DEBITS                                     -         96,809.84
        CHECKING BALANCE THIS STATEMENT.........                                     907,388.14
EARNINGS SUMMARY
30                                 DAYS IN EARNINGS PERIOD
0.05%                              ANNUAL PERCENTAGE YIELD EARNED
36.40                              INTEREST PAID THIS PERIOD
101.05                             INTEREST PAID YTD
885,717.47                         EARNINGS BALANCE
TRANSACTIONS SUMMARY
DATE            AMOUNT DESCRIPTION                                                                           Balance
06/01                  Beginning Balance                                                                  843,136.90
06/01         5,055.23 Deposit                                                                            848,192.13
06/01           -10.00 Check # 24074                                                                      848,182.13
06/01           -50.00 Check # 24066                                                                      848,132.13
06/01          -198.00 Check # 24079                                                                      847,934.13
06/02            26.35 ACH Deposit GL SCRIP CENTER GLSC                                                   847,960.48
06/02            45.00 ACH Deposit MERCHANT SERVICE MERC                                                  848,005.48
06/02           -70.00 Check # 23268                                                                      847,935.48
06/02           -90.40 Check # 24081                                                                      847,845.08
06/02        -2,098.00 Check # 24075                                                                      845,747.08
06/02           -87.31 ACH Payment MERCHANT SERVICE MERCH FEE                                             845,659.77
06/03        56,002.00 Deposit                                                                            901,661.77
06/03          -250.00 Check # 24078                                                                      901,411.77
06/05            50.00 ACH Deposit MERCHANT SERVICE MERCH DEP                                             901,461.77
06/08          -221.00 Check # 24092                                                                      901,240.77
06/08        -8,760.00 Check # 24073                                                                      892,480.77
06/09          -265.00 Check # 24087                                                                      892,215.77
06/09        -2,182.64 Check # 24090                                                                      890,033.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                890,001.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,969.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,937.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,905.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,873.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,841.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,809.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,777.13
06/09           -32.00 Stop Pmt Charge Stop Payment Charge                                                889,745.13
06/10            27.92 ACH Deposit REDIKER SOFTWARE PAYMENT                                               889,773.05
06/10           -50.00 Check # 23994                                                                      889,723.05
06/10        -2,600.00 Check # 24093                                                                      887,123.05
06/10        -2,185.70 ACH Payment GL SCRIP CENTER GLSC                                                   884,937.35
06/10           -32.00 Stop Pmt Charge Stop Payment Char                                                  884,905.35
06/11           800.00 ACH Deposit MERCHANT SERVICE MERCH DEP                                             885,705.35
06/11          -153.73 Check # 24089                                                                      885,551.62
06/11          -231.98 ACH Payment INTUIT CHECKSFORM                                                      885,319.64
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                         First American Bank And Trust
                                                                    PAGE:        2
                                                                   ACCOUNT NUMBER

   TRANSACTIONS SUMMARY
   DATE        AMOUNT   DESCRIPTION                                                     Balance
   06/12     3,064.00   Deposit                                                      888,383.64
   06/12      -975.00   Check # 24091                                                887,408.64
   06/15    10,252.00   Deposit                                                      897,660.64
   06/15      -591.00   Check # 24094                                                897,069.64
   06/16       200.00   ACH Deposit MERCHANT SERVICE MERCH   DEP                     897,269.64
   06/16       -29.54   Check # 24099                                                897,240.10
   06/16      -350.00   Check # 24103                                                896,890.10
   06/16    -1,250.00   Check # 24098                                                895,640.10
   06/16    -1,500.00   Check # 24100                                                894,140.10
   06/16    -3,214.05   Check # 24095                                                890,926.05
   06/17      -253.41   Check # 24104                                                890,672.64
   06/17    -1,024.00   Check # 24106                                                889,648.64
   06/18       525.00   Deposit                                                      890,173.64
   06/18      -460.74   Check # 24085                                                889,712.90
   06/18      -678.00   ACH Payment GL SCRIP CENTER GLSC                             889,034.90
   06/19     3,704.00   Deposit                                                      892,738.90
   06/19       100.00   ACH Deposit MERCHANT SERVICE MERCH   DEP                     892,838.90
   06/19      -164.52   Check # 24113                                                892,674.38
   06/19      -267.76   Check # 24102                                                892,406.62
   06/19      -299.00   Check # 24101                                                892,107.62
   06/19      -651.61   Check # 24118                                                891,456.01
   06/19    -2,388.00   Check # 24096                                                889,068.01
   06/22        20.00   ACH Deposit MERCHANT SERVICE MERCH   DEP                     889,088.01
   06/22      -116.57   Check # 24129                                                888,971.44
   06/22      -140.00   Check # 24121                                                888,831.44
   06/23     7,416.30   Deposit                                                      896,247.74
   06/23       200.00   ACH Deposit MERCHANT SERVICE MERCH   DEP                     896,447.74
   06/23      -105.44   Check # 24132                                                896,342.30
   06/23      -140.00   Check # 24115                                                896,202.30
   06/23      -140.00   Check # 24116                                                896,062.30
   06/23      -140.00   Check # 24114                                                895,922.30
   06/23      -142.61   Check # 24122                                                895,779.69
   06/23      -872.24   Check # 24109                                                894,907.45
   06/23    -1,274.22   Check # 24107                                                893,633.23
   06/23    -2,000.00   Check # 24124                                                891,633.23
   06/23      -518.20   ACH Payment GL SCRIP CENTER GLSC                             891,115.03
   06/24       200.00   ACH Deposit MERCHANT SERVICE MERC                            891,315.03
   06/24      -128.80   Check # 24131                                                891,186.23
   06/24      -140.00   Check # 24120                                                891,046.23
   06/24      -160.00   Check # 24130                                                890,886.23
   06/24      -198.20   Check # 24135                                                890,688.03
   06/24      -265.00   Check # 24128                                                890,423.03
   06/24    -1,370.15   Check # 24110                                                889,052.88
   06/24   -19,020.17   Check # 24108                                                870,032.71
   06/25    -1,563.21   Check # 24134                                                868,469.50
   06/26     1,583.00   Deposit                                                      870,052.50
   06/26     2,772.06   Deposit                                                      872,824.56
   06/26    10,445.00   Deposit                                                      883,269.56
   06/26     1,018.95   ACH Deposit PAYPAL TRANSFER                                  884,288.51
   06/26       -70.00   Check # 25033                                                884,218.51
   06/26       -76.58   Check # 25064                                                884,141.93
   06/26      -140.00   Check # 24117                                                884,001.93
   06/26      -655.78   Check # 24088                                                883,346.15
   06/26    -2,114.81   Check # 24133                                                881,231.34
   06/29       -70.00   Check # 25044                                                881,161.34
   06/29       -70.00   Check # 25040                                                881,091.34
   06/29       -70.00   Check # 25037                                                881,021.34
   06/29       -70.00   Check # 25006                                                880,951.34
   06/29      -500.00   Check # 24136                                                880,451.34
   06/29      -650.00   Check # 24105                                                879,801.34
   06/29    -2,134.39   Check # 25066                                                877,666.95
   06/29   -25,000.00   Check # 25065                                                852,666.95
   06/30    57,517.87   Deposit                                                      910,184.82
   06/30       -70.00   Check # 25026                                                910,114.82
   06/30       -70.00   Check # 25039                                                910,044.82
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                                                                   ACCOUNT NUMBER

   TRANSACTIONS SUMMARY
   DATE        AMOUNT   DESCRIPTION                                                     Balance
   06/30       -70.00   Check # 25035                                                909,974.82
   06/30       -70.00   Check # 25046                                                909,904.82
   06/30       -70.00   Check # 25027                                                909,834.82
   06/30       -70.00   Check # 25003                                                909,764.82
   06/30       -70.00   Check # 25008                                                909,694.82
   06/30       -70.00   Check # 25049                                                909,624.82
   06/30       -70.00   Check # 25038                                                909,554.82
   06/30       -70.00   Check # 25054                                                909,484.82
   06/30       -70.00   Check # 25023                                                909,414.82
   06/30       -70.00   Check # 25009                                                909,344.82
   06/30       -70.00   Check # 25001                                                909,274.82
   06/30       -70.00   Check # 25013                                                909,204.82
   06/30       -70.00   Check # 25015                                                909,134.82
   06/30       -70.00   Check # 25043                                                909,064.82
   06/30      -343.08   Check # 25062                                                908,721.74
   06/30      -425.00   Check # 25060                                                908,296.74
   06/30      -425.00   Check # 25059                                                907,871.74
   06/30      -520.00   Check # 24080                                                907,351.74
   06/30        36.40   Accr Earning Pymt Added to Account                           907,388.14

   CHECKS SUMMARY
   DATE         CHECK NO             AMOUNT         DATE     CHECK NO               AMOUNT
   06/02        23268                 70.00         06/24    24120*                 140.00
   06/10        23994*                50.00         06/22    24121                  140.00
   06/01        24066*                50.00         06/23    24122                  142.61
   06/08        24073*             8,760.00         06/23    24124*               2,000.00
   06/01        24074                 10.00         06/24    24128*                 265.00
   06/02        24075              2,098.00         06/22    24129                  116.57
   06/03        24078*               250.00         06/24    24130                  160.00
   06/01        24079                198.00         06/24    24131                  128.80
   06/30        24080                520.00         06/23    24132                  105.44
   06/02        24081                 90.40         06/26    24133                2,114.81
   06/18        24085*               460.74         06/25    24134                1,563.21
   06/09        24087*               265.00         06/24    24135                  198.20
   06/26        24088                655.78         06/29    24136                  500.00
   06/11        24089                153.73         06/30    25001*                  70.00
   06/09        24090              2,182.64         06/30    25003*                  70.00
   06/12        24091                975.00         06/29    25006*                  70.00
   06/08        24092                221.00         06/30    25008*                  70.00
   06/10        24093              2,600.00         06/30    25009                   70.00
   06/15        24094                591.00         06/30    25013*                  70.00
   06/16        24095              3,214.05         06/30    25015*                  70.00
   06/19        24096              2,388.00         06/30    25023*                  70.00
   06/16        24098*             1,250.00         06/30    25026*                  70.00
   06/16        24099                 29.54         06/30    25027                   70.00
   06/16        24100              1,500.00         06/26    25033*                  70.00
   06/19        24101                299.00         06/30    25035*                  70.00
   06/19        24102                267.76         06/29    25037*                  70.00
   06/16        24103                350.00         06/30    25038                   70.00
   06/17        24104                253.41         06/30    25039                   70.00
   06/29        24105                650.00         06/29    25040                   70.00
   06/17        24106              1,024.00         06/30    25043*                  70.00
   06/23        24107              1,274.22         06/29    25044                   70.00
   06/24        24108             19,020.17         06/30    25046*                  70.00
   06/23        24109                872.24         06/30    25049*                  70.00
   06/24        24110              1,370.15         06/30    25054*                  70.00
   06/19        24113*               164.52         06/30    25059*                 425.00
   06/23        24114                140.00         06/30    25060                  425.00
   06/23        24115                140.00         06/30    25062*                 343.08
   06/23        24116                140.00         06/26    25064*                  76.58
   06/26        24117                140.00         06/29    25065               25,000.00
   06/19        24118                651.61         06/29    25066                2,134.39
   * indicates gap in check sequence
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                                                                   PAGE:     4 OF 8
                          First American Bank And Trust
                                                                    PAGE:          4
                                                                   ACCOUNT NUMBER

   SUMMARY OF ELECTRONIC DEBITS AND OTHER WITHDRAWALS
   DATE        AMOUNT   DESCRIPTION
   06/02        87.31   ACH Payment MERCHANT SERVICE MERCH FEE
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/09        32.00   Stop Pmt Charge Stop Payment Charge
   06/10     2,185.70   ACH Payment GL SCRIP CENTER GLSC
   06/10        32.00   Stop Pmt Charge Stop Payment Char
   06/11       231.98   ACH Payment INTUIT CHECKSFORM
   06/18       678.00   ACH Payment GL SCRIP CENTER GL
   06/23       518.20   ACH Payment GL SCRIP CENTER GLSC
   SUMMARY OF ELECTRONIC CREDITS AND OTHER DEPOSITS
   DATE        AMOUNT   DESCRIPTION
   06/01     5,055.23   Deposit
   06/02        26.35   ACH Deposit GL SCRIP CENTER GLSC
   06/02        45.00   ACH Deposit MERCHANT SERVICE MERC
   06/03    56,002.00   Deposit
   06/05        50.00   ACH Deposit MERCHANT SERVICE MERCH DEP
   06/10        27.92   ACH Deposit REDIKER SOFTWARE PAYMENT
   06/11       800.00   ACH Deposit MERCHANT SERVICE MERCH DE
   06/12     3,064.00   Deposit
   06/15    10,252.00   Deposit
   06/16       200.00   ACH Deposit MERCHANT SERVICE MERCH DEP
   06/18       525.00   Deposit
   06/19     3,704.00   Deposit
   06/19       100.00   ACH Deposit MERCHANT SERVICE MERCH DEP
   06/22        20.00   ACH Deposit MERCHANT SERVICE MERCH DEP
   06/23     7,416.30   Deposit
   06/23       200.00   ACH Deposit MERCHANT SERVICE MERCH DEP
   06/24       200.00   ACH Deposit MERCHANT SERVICE MERCH DEP
   06/26     1,583.00   Deposit
   06/26     2,772.06   Deposit
   06/26    10,445.00   Deposit
   06/26     1,018.95   ACH Deposit PAYPAL TRANSFER
   06/30    57,517.87   Deposit
   06/30        36.40   Accr Earning Pymt Added to Account

   SUMMARY OF OVERDRAFT AND RETURNED ITEM FEES
                                                      TOTAL FOR                TOTAL
                                                     THIS PERIOD           YEAR TO DATE
   TOTAL OVERDRAFT FEES                                 $0.00                  $0.00
   TOTAL RETURNED ITEM FEES                             $0.00                 $0.00
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                                                                             ACCOUNT:
                                                                                PAGE:               5




     6/1/2020      $5,055.23       6/3/2020       $56,002.00        6/12/2020           $3,064.00




    6/15/2020      $10,252.00       6/18/2020       $525.00         6/19/2020           $3,704.00




     6/23/2020      $7,416.30      6/26/2020        $1,583.00       6/26/2020           $2,772.06




    6/26/2020      $10,445.00     6/30/2020        $57,517.87      6/2/2020         23268 $70.00




   6/10/2020      23994 $50.00    6/1/2020       24066 $50.00     6/8/2020         24073 $8,760.00




    6/1/2020     24074 $10.00    6/2/2020       24075 $2,098.00   6/3/2020          24078 $250.00




   6/1/2020      24079 $198.00   6/30/2020       24080 $520.00     6/2/2020         24081 $90.40




   6/18/2020     24085 $460.74   6/9/2020       24087 $265.00     6/26/2020         24088 $655.78
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   6/11/2020    24089 $153.73     6/9/2020    24090 $2,182.64   6/12/2020      24091 $975.00




   6/8/2020     24092 $221.00     6/10/2020   24093 $2,600.00   6/15/2020      24094 $591.00




  6/16/2020    24095 $3,214.05    6/19/2020   24096 $2,388.00   6/16/2020     24098 $1,250.00




   6/16/2020     24099 $29.54     6/16/2020   24100 $1,500.00   6/19/2020      24101 $299.00




   6/19/2020    24102 $267.76     6/16/2020    24103 $350.00    6/17/2020      24104 $253.41




   6/29/2020    24105 $650.00     6/17/2020   24106 $1,024.00   6/23/2020     24107 $1,274.22




  6/24/2020    24108 $19,020.17   6/23/2020    24109 $872.24    6/24/2020     24110 $1,370.15




   6/19/2020    24113 $164.52     6/23/2020    24114 $140.00    6/23/2020      24115 $140.00
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   6/23/2020    24116 $140.00    6/26/2020    24117 $140.00     6/19/2020     24118 $651.61




   6/24/2020    24120 $140.00    6/22/2020    24121 $140.00     6/23/2020     24122 $142.61




  6/23/2020    24124 $2,000.00   6/24/2020    24128 $265.00     6/22/2020     24129 $116.57




   6/24/2020    24130 $160.00    6/24/2020    24131 $128.80     6/23/2020     24132 $105.44




  6/26/2020    24133 $2,114.81   6/25/2020    24134 $1,563.21   6/24/2020     24135 $198.20




   6/29/2020    24136 $500.00     6/30/2020    25001 $70.00     6/30/2020     25003 $70.00




   6/29/2020    25006 $70.00      6/30/2020    25008 $70.00     6/30/2020     25009 $70.00




   6/30/2020    25013 $70.00      6/30/2020    25015 $70.00     6/30/2020     25023 $70.00
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   6/30/2020    25026 $70.00     6/30/2020    25027 $70.00    6/26/2020         25033 $70.00




   6/30/2020    25035 $70.00     6/29/2020    25037 $70.00    6/30/2020         25038 $70.00




   6/30/2020    25039 $70.00     6/29/2020    25040 $70.00    6/30/2020         25043 $70.00




   6/29/2020    25044 $70.00     6/30/2020    25046 $70.00    6/30/2020         25049 $70.00




   6/30/2020    25054 $70.00     6/30/2020   25059 $425.00    6/30/2020         25060 $425.00




   6/30/2020    25062 $343.08    6/26/2020    25064 $76.58   6/29/2020         25065 $25,000.00




  6/29/2020    25066 $2,134.39
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                                                            Main Office P.O. Box 550 Vacherie, LA 70090-0550 www.fabt.com
                                                      (225)265-2265 800-738-2265 Fax(225)265-9398 First Line 800-520-2265

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       LAPLACE LA 70068-3412                                           6/1/2020 TO 6/30/2020




CHECKING SUMMARY
        Business Checking
        CHECKING BALANCE LAST STATEMENT...                                               84.14
          0         DEPOSITS/OTHER CREDITS                              +                 0.00
          0         CHECKS/OTHER DEBITS                                 -                 0.00
        CHECKING BALANCE THIS STATEMENT.........                                         84.14

SUMMARY OF OVERDRAFT AND RETURNED ITEM FEES
                                                    TOTAL FOR                               TOTAL
                                                   THIS PERIOD                          YEAR-TO-DATE
TOTAL OVERDRAFT FEES                                  $0.00                                $128.00
TOTAL RETURNED ITEM FEES                              $0.00                                 $0.00
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                                                                 Archbishop Hannan High School

                                                      1110 FB&T Operating            Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/02/2020

                                                                  Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                        USD

 Statement beginning balance                                                                                                               308,893.31
 Service charge                                                                                                                                -25.00
 Interest earned                                                                                                                                34.96
 Checks and payments cleared (88)                                                                                                       -3,104,451.91
 Deposits and other credits cleared (95)                                                                                                 4,034,291.90
 Statement ending balance                                                                                                                1,238,743.26

 Uncleared transactions as of 06/30/2020                                                                                                 -179,941.70
 Register balance as of 06/30/2020                                                                                                      1,058,801.56
 Cleared transactions after 06/30/2020                                                                                                          0.00
 Uncleared transactions after 06/30/2020                                                                                                 -257,102.68
 Register balance as of 07/02/2020                                                                                                        801,698.88



 Details

 Checks and payments cleared (88)

 DATE                             TYPE                              REF NO.                        PAYEE                              AMOUNT (USD)
 01/22/2020                       Bill Payment                      21314                          Sign Gypsies Northshore, LLC               -53.26
 02/04/2020                       Bill Payment                      21398                          Peter Verret Jump Start Team …            -220.00
 02/12/2020                       Bill Payment                      21496                                                        …           -205.00
 02/19/2020                       Bill Payment                      21513                          Third Coast Soccer                         -46.99
 03/11/2020                       Bill Payment                      21630                          Chick-fil-A                               -172.94
 03/13/2020                       Bill Payment                      21658                          CYO Youth Office - Camp Abb…            -1,000.00
 05/14/2020                       Bill Payment                      21765                          AT&T                                      -191.42
 05/20/2020                       Bill Payment                      21770                          Sam's Club                                 -52.20
 05/27/2020                       Bill Payment                      21788                          Mele Printing                             -318.00
 05/27/2020                       Bill Payment                      21789                          Project Lead the Way Inc.               -1,550.00
 05/27/2020                       Bill Payment                      21785                          SiteOne Landscape Supply, LLC              -86.62
 05/27/2020                       Bill Payment                      21780                          CLECO Power LLC                        -13,613.27
 05/27/2020                       Bill Payment                      21781                          Klass Ink Trophies, LLC                   -559.57
 05/27/2020                       Bill Payment                      21782                          Chalk.com Education Inc.                -2,800.00
 05/27/2020                       Bill Payment                      21783                          Gulf Coast Office Products, Inc.           -86.50
 05/27/2020                       Bill Payment                      21784                          Guardian - Appleton                     -2,196.83
 05/27/2020                       Bill Payment                      21787                          Balfour New Orleans, LLC                 -4,271.91
 05/27/2020                       Bill Payment                      21786                          Blackbaud, Inc.                          -1,850.00
 05/27/2020                       Bill Payment                      21779                          Pond Solutions, LLC                        -110.00
 06/02/2020                       Journal                           1819                                                                       -56.15
 06/03/2020                       Transfer                                                                                               -500,000.00
 06/03/2020                       Transfer                                                                                               -162,631.00
 06/04/2020                       Bill Payment                                                     Clearant, LLC                              -43.62
 06/04/2020                       Transfer                                                                                               -250,000.00
 06/04/2020                       Transfer                                                                                               -350,000.00
 06/05/2020                       Transfer                                                                                               -500,000.00
 06/08/2020                       Transfer                                                                                               -500,000.00
 06/09/2020                       Bill Payment                      21810                          Sherwin-Williams - Covington               -13.78
 06/09/2020                       Bill Payment                      21809                          HiTouch Business Services LLC             -723.00
 06/09/2020                       Bill Payment                      21808                          JSR Vetting Services, LLC                 -270.00
 06/09/2020                       Bill Payment                      21807                          Rotolo Consultants, Inc.                 -2,407.50
 06/09/2020                       Bill Payment                      21805                          BSN Sports LLC                             -136.00
 06/09/2020                       Bill Payment                      21804                          Wex Bank                                    -32.90
 06/09/2020                       Bill Payment                      21803                          Office Depot - Account #    …              -387.56
 06/09/2020                       Bill Payment                      21802                          Wells Fargo Vendor Fin Serv              -1,502.24
 06/09/2020                       Bill Payment                      21801                          Pitney Bowes Global Financia…             -156.53
 06/09/2020                       Bill Payment                      21800                          AT&T                                      -190.13
 06/09/2020                       Bill Payment                      21799                          LEAF                                      -268.49

                                                                                                                                                   1/6
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 DATE                    TYPE                REF NO.
                                                     of 605      PAYEE                    AMOUNT (USD)
 06/09/2020                      Bill Payment   21798           Deere Credit, Inc.                       -366.24
 06/09/2020                      Bill Payment   21811           Sherwin-Williams - Hammond               -442.99
 06/09/2020                      Bill Payment   21790           Pond Solutions, LLC                      -110.00
 06/09/2020                      Bill Payment   21791           Star Service, Inc.                     -4,458.67
 06/09/2020                      Bill Payment   21792           Waste Management                         -263.00
 06/09/2020                      Bill Payment   21793                                                  -4,586.16
 06/09/2020                      Bill Payment   21794           NASSP/NASC/NHS                           -250.00
 06/09/2020                      Bill Payment   21795           Southern Stitches & Prints                -77.00
 06/09/2020                      Bill Payment   21797           Apple Inc.                               -890.95
 06/09/2020                      Bill Payment   21796           AAA Silkscreening & Sporting …         -3,628.59
 06/11/2020                      Bill Payment   21820           JSR Vetting Services, LLC                 -60.00
 06/11/2020                      Bill Payment   21819           Davis Products Covington                 -275.14
 06/11/2020                      Bill Payment   21818           Home Depot Credit Services             -2,602.16
 06/11/2020                      Bill Payment   21817           Coca-Cola Bottling Company …             -263.68
 06/11/2020                      Bill Payment   21816                                                    -101.94
 06/11/2020                      Bill Payment   21815           UCA - Universal Cheerleaders…         -13,048.00
 06/11/2020                      Bill Payment   21814           Atmos Energy                              -68.87
 06/11/2020                      Bill Payment   21812           CLECO Power LLC                       -10,597.46
 06/11/2020                      Bill Payment   21813           Recreation District #14 St Ta…         -1,100.00
 06/12/2020                      Journal        1837                                                   -1,681.20
 06/17/2020                      Bill Payment   21821           Hood Chevrolet LLC dba Bill …         -27,751.35
 06/18/2020                      Bill Payment   21827           Tammany Utilities                       -1,113.35
 06/18/2020                      Bill Payment   21826           Sonitrol of New Orleans, Inc.             -900.00
 06/18/2020                      Bill Payment   21824           CLECO Power LLC                       -11,447.70
 06/18/2020                      Bill Payment   21823           Hunt Telecommunications, LLC           -1,045.31
 06/18/2020                      Bill Payment   21822           ARNO - Information Technology             -250.00
 06/18/2020                      Bill Payment   ACH debit       Deluxe Business Checks                    -393.67
 06/18/2020                      Bill Payment   21828           Apple Inc.                                -398.00
 06/18/2020                      Bill Payment   21831           JourneyEd.com, Inc                     -2,425.00
 06/18/2020                      Bill Payment   21830           Balfour New Orleans, LLC               -3,653.92
 06/19/2020                      Journal        1846                                                   -8,984.00
 06/24/2020                      Bill Payment   23798           Star Service, Inc.                     -2,175.20
 06/24/2020                      Bill Payment   23799                                                     -345.00
 06/24/2020                      Bill Payment   23801           First Bank & Trust                     -8,018.08
 06/24/2020                      Bill Payment   23802           First Bank And Trust                   -2,823.27
 06/24/2020                      Bill Payment   23806           LEAF                                      -268.49
 06/24/2020                      Bill Payment   23808           Coca-Cola Bottling Company …              -119.32
 06/24/2020                      Bill Payment   23810                                         .           -898.81
 06/24/2020                      Bill Payment   23811           Riddell All American                    -2,545.11
 06/24/2020                      Bill Payment   23814           Sonitrol of New Orleans, Inc.          -2,694.00
 06/24/2020                      Bill Payment   23804           AAA Silkscreening & Sporting …            -400.51
 06/25/2020                      Bill Payment   23817                                                     -227.50
 06/25/2020                      Bill Payment   23818           Coca-Cola Bottling Company …             -348.04
 06/25/2020                      Bill Payment   23820           The College Board AP Exams            -19,295.00
 06/30/2020                      Journal        1852                                                 -186,770.62
 06/30/2020                      Journal        1853                                                  -64,551.67
 06/30/2020                      Journal        1853                                                     -500.00
 06/30/2020                      Transfer                                                            -200,000.00
 06/30/2020                      Transfer                                                            -185,000.00
 06/30/2020                      Journal        1853                                                  -26,033.53

 Total                                                                                            -3,104,451.91


 Deposits and other credits cleared (95)

 DATE                            TYPE           REF NO.         PAYEE                             AMOUNT (USD)
 05/14/2020                      Check          21755           void                                        0.00
 05/14/2020                      Check          21755           void                                        0.00
 05/14/2020                      Check          21774           void                                        0.00
 05/14/2020                      Check          21774           void                                        0.00
 05/14/2020                      Check          21775           void                                        0.00
 05/14/2020                      Check          21775           void                                        0.00
 06/01/2020                      Deposit                                                               10,395.00

                                                                                                               2/6
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 DATE                   TYPE                REF NO.
                                                    of 605      PAYEE                    AMOUNT (USD)
 06/01/2020              Deposit                               ACE Louisiana                        3,300.00
 06/01/2020              Deposit                                                           …        6,795.00
 06/01/2020              Deposit                                                                    8,000.00
 06/01/2020              Deposit                                                                    1,798.35
 06/01/2020              Deposit                                                                       39.20
 06/02/2020              Transfer                                                                1,412,631.00
 06/02/2020              Transfer                                                                  850,000.00
 06/02/2020              Journal            1831                                                      145.54
 06/04/2020              Deposit                                                                       40.00
 06/04/2020              Deposit                                                                      180.00
 06/04/2020              Deposit                                                                      310.35
 06/04/2020              Deposit                                                                    4,750.00
 06/04/2020              Deposit                                                                      450.00
 06/04/2020              Deposit                                                                    1,125.00
 06/04/2020              Deposit                                                                    3,333.30
 06/04/2020              Journal            1845                                                   14,869.31
 06/04/2020              Journal            1832                                                       96.94
 06/05/2020              Journal            1833                                                    1,797.45
 06/08/2020              Deposit                                                                    2,190.00
 06/08/2020              Journal            1834                                                    1,462.44
 06/08/2020              Deposit                                                                    1,152.00
 06/08/2020              Journal            1835                                                       48.34
 06/09/2020              Journal            1824                                                      205.00
 06/09/2020              Journal            1824                                                       53.26
 06/09/2020              Journal            1824                                                      220.00
 06/09/2020              Journal            1824                                                    1,000.00
 06/09/2020              Journal            1824                                                       46.99
 06/09/2020              Journal            1824                                                      172.94
 06/11/2020              Deposit                                                                       30.00
 06/11/2020              Deposit                                                                      190.00
 06/11/2020              Deposit                                                                      240.00
 06/11/2020              Deposit                                                                      873.00
 06/11/2020              Deposit                                                                    9,297.89
 06/11/2020              Deposit                                                                      575.00
 06/11/2020              Deposit                                                                    1,000.00
 06/11/2020              Deposit                                                                      894.00
 06/11/2020              Deposit                                                                      791.00
 06/11/2020              Deposit                                                                       66.68
 06/11/2020              Deposit                                                                    1,443.00
 06/11/2020              Deposit                                                                      419.00
 06/12/2020              Journal            1836                                                      971.50
 06/16/2020              Deposit                                                            …      10,795.00
 06/16/2020              Deposit                                                                      355.72
 06/16/2020              Deposit                                                                       48.00
 06/16/2020              Deposit                                                                      212.00
 06/16/2020              Deposit                                                                       40.00
 06/16/2020              Deposit                                                                      800.00
 06/16/2020              Deposit                                                                      111.00
 06/16/2020              Deposit                                                                      640.00
 06/16/2020              Deposit                                                                      330.00
 06/18/2020              Bill Payment       21825                                                       0.00
 06/18/2020              Deposit                                                                    2,350.00
 06/18/2020              Bill Payment       21829              Active Internet Technologies, …          0.00
 06/19/2020              Deposit                                                                      185.00
 06/19/2020              Journal            1850                                                   15,019.22
 06/22/2020              Deposit                                                                       50.00
 06/22/2020              Deposit                                                                      517.13
 06/22/2020              Deposit                                                                       44.00
 06/22/2020              Deposit                                                                    1,181.00
 06/22/2020              Deposit                                                            …         161.00
 06/22/2020              Deposit                                                                      300.00
 06/22/2020              Deposit                                                                    8,954.00
 06/22/2020              Journal            1847                                                    1,000.56


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 DATE                   TYPE                REF NO.
                                                    of 605      PAYEE                    AMOUNT (USD)
 06/22/2020                   Deposit                                                                    72.00
 06/23/2020                   Deposit                                                                   669.30
 06/24/2020                   Transfer                                                                   834.13
 06/24/2020                   Transfer                                                                42,839.55
 06/24/2020                   Transfer                                                             1,000,000.00
 06/24/2020                   Deposit                                                                  9,580.35
 06/25/2020                   Deposit                                                                    329.85
 06/25/2020                   Deposit                                                                    347.50
 06/25/2020                   Deposit                                                                   931.63
 06/25/2020                   Deposit                                                                    30.00
 06/25/2020                   Deposit                                                                     45.00
 06/25/2020                   Deposit                                                                    100.00
 06/25/2020                   Deposit                                                                  1,033.00
 06/25/2020                   Deposit                                                                   200.00
 06/25/2020                   Deposit                                                                   100.00
 06/25/2020                   Deposit                                                                  1,260.00
 06/25/2020                   Deposit                                                                     61.00
 06/25/2020                   Deposit                                                                     93.00
 06/25/2020                   Deposit                                                                   142.01
 06/25/2020                   Deposit                                                                   450.00
 06/26/2020                   Transfer                                                               300,000.00
 06/26/2020                   Deposit                                                                  5,697.34
 06/29/2020                   Transfer                                                               281,394.13
 06/29/2020                   Deposit                                                                  1,190.00
 06/30/2020                   Deposit                                                        …           400.00

 Total                                                                                           4,034,291.90


 Additional Information

 Uncleared checks and payments as of 06/30/2020

 DATE                         TYPE                REF NO.      PAYEE                             AMOUNT (USD)
 06/09/2020                   Bill Payment        21806        Gallagher Benefit Services            -40,329.02
 06/18/2020                   Bill Payment        21832        Davis Products Covington                 -180.81
 06/23/2020                   Check               23701                                      …          -463.90
 06/23/2020                   Check               23702                                     =…          -814.65
 06/23/2020                   Check               23703                                                 -875.00
 06/23/2020                   Check               23704                                      …          -814.65
 06/23/2020                   Check               23705                                                 -814.65
 06/23/2020                   Check               23706                                                 -814.65
 06/23/2020                   Check               23707                                     …           -814.65
 06/23/2020                   Check               23708                                     …           -264.65
 06/23/2020                   Check               23709                                      …          -814.65
 06/23/2020                   Check               23710                                                 -475.00
 06/23/2020                   Check               23711                                     =…          -875.00
 06/23/2020                   Check               23712                                                 -814.65
 06/23/2020                   Check               23713                                                 -875.00
 06/23/2020                   Check               23714                                                 -875.00
 06/23/2020                   Check               23715                                                  -25.00
 06/23/2020                   Check               23716                                     =…          -814.65
 06/23/2020                   Check               23717                                      …          -875.00
 06/23/2020                   Check               23718                                     …           -814.65
 06/23/2020                   Check               23719                                      …          -875.00
 06/23/2020                   Check               23720                                     (…          -875.00
 06/23/2020                   Check               23721                                                 -875.00
 06/23/2020                   Check               23722                                                 -814.65
 06/23/2020                   Check               23723                                                 -875.00
 06/23/2020                   Check               23724                                                 -264.65
 06/23/2020                   Check               23725                                                 -814.65
 06/23/2020                   Check               23726                                     …           -814.65
 06/23/2020                   Check               23727                                     …           -814.65
 06/23/2020                   Check               23728                                     …           -529.30

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 DATE                   TYPE                REF NO.
                                                    of 605      PAYEE                    AMOUNT (USD)
 06/23/2020              Check              23729                                           …       -875.00
 06/23/2020              Check              23730                                           …       -325.00
 06/23/2020              Check              23731                                            …      -715.65
 06/23/2020              Check              23732                                            …      -814.65
 06/23/2020              Check              23733                                            …      -814.65
 06/23/2020              Check              23734                                                   -264.65
 06/23/2020              Check              23735                                                   -264.65
 06/23/2020              Check              23736                                                   -814.65
 06/23/2020              Check              23737                                                   -720.65
 06/23/2020              Check              23738                                            …      -864.65
 06/23/2020              Check              23739                                                   -814.65
 06/23/2020              Check              23740                                          ,…       -600.00
 06/23/2020              Check              23741                                           …       -875.00
 06/23/2020              Check              23742                                                   -855.00
 06/23/2020              Check              23743                                                   -814.65
 06/23/2020              Check              23744                                           …       -814.65
 06/24/2020              Check              23755                                                   -325.00
 06/24/2020              Check              23754                                            …      -814.65
 06/24/2020              Check              23757                                                   -814.65
 06/24/2020              Check              23758                                                   -285.00
 06/24/2020              Check              23759                                                   -575.00
 06/24/2020              Check              23760                                                   -325.00
 06/24/2020              Check              23761                                                   -814.65
 06/24/2020              Check              23762                                           …       -814.65
 06/24/2020              Check              23763                                                   -814.65
 06/24/2020              Check              23764                                                   -325.00
 06/24/2020              Check              23765                                                   -264.65
 06/24/2020              Check              23766                                                   -814.65
 06/24/2020              Check              23767                                                   -325.00
 06/24/2020              Check              23768                                                   -814.65
 06/24/2020              Check              23769                                                   -325.00
 06/24/2020              Check              23770                                                   -814.65
 06/24/2020              Check              23771                                                   -814.65
 06/24/2020              Check              23772                                                   -684.65
 06/24/2020              Check              23773                                                   -575.00
 06/24/2020              Check              23774                                           ,…      -875.00
 06/24/2020              Check              23775                                                   -875.00
 06/24/2020              Check              23776                                                   -264.65
 06/24/2020              Check              23777                                                   -875.00
 06/24/2020              Check              23778                                                   -264.65
 06/24/2020              Check              23779                                                   -814.65
 06/24/2020              Check              23780                                                   -264.65
 06/24/2020              Check              23781                                                   -325.00
 06/24/2020              Check              23782                                                   -264.65
 06/24/2020              Check              23783                                                   -264.65
 06/24/2020              Check              23784                                                   -814.65
 06/24/2020              Check              23785                                           …       -850.00
 06/24/2020              Check              23786                                            …      -425.00
 06/24/2020              Check              23787                                                   -814.65
 06/24/2020              Check              23788                                                   -264.65
 06/24/2020              Check              23789                                                   -264.65
 06/24/2020              Check              23790                                                   -264.65
 06/24/2020              Check              23791                                                   -875.00
 06/24/2020              Check              23792                                                   -814.65
 06/24/2020              Check              23793                                                   -835.00
 06/24/2020              Check              23794                                                   -875.00
 06/24/2020              Check              23795                                            …      -264.65
 06/24/2020              Check              23796                                                   -875.00
 06/24/2020              Check              23797                                            …      -264.65
 06/24/2020              Bill Payment       23800                                                    -54.25
 06/24/2020              Bill Payment       23803              Gulf Coast Office Products, Inc.      -395.27
 06/24/2020              Bill Payment       23805              Gallagher Benefit Services         -39,931.41
 06/24/2020              Bill Payment       23807              Recreation District #14 St Ta…      -1,100.00

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 DATE                    TYPE                REF NO.
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 06/24/2020                      Bill Payment            23809     Atmos Energy                             -107.81
 06/24/2020                      Bill Payment            23812     Davis Products Covington                 -527.68
 06/24/2020                      Bill Payment            23813     Sports Floors, Inc                    -31,901.35
 06/24/2020                      Check                   23756                                  …           -814.65
 06/24/2020                      Check                   23753                                              -875.00
 06/24/2020                      Check                   23752                                              -875.00
 06/24/2020                      Check                   23751                                              -875.00
 06/24/2020                      Check                   23745                                              -775.00
 06/24/2020                      Check                   23746                                  …           -814.65
 06/24/2020                      Check                   23747                                              -875.00
 06/24/2020                      Check                   23748                                              -814.65
 06/24/2020                      Check                   23749                                              -814.65
 06/24/2020                      Check                   23750                                              -814.65
 06/25/2020                      Bill Payment            23819     Office Depot - Account                   -398.50

 Total                                                                                                 179,941 70


 Uncleared checks and payments after 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                             AMOUNT (USD)
 07/01/2020                      Bill Payment            23816     Wells Fargo Vendor Fin Serv          -244,947.49
 07/01/2020                      Bill Payment            23815     Active Internet Technologies, …       -24,000.00
 07/02/2020                      Journal                 1857                                                -56.15

 Total                                                                                                -269,003.64


 Uncleared deposits and other credits after 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                             AMOUNT (USD)
 07/01/2020                      Deposit                                                                  11,900.96

 Total                                                                                                  11,900.96




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                                                                 Archbishop Hannan High School

                                                1150.01 FB&T Tuition Savings Account, Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/02/2020

                                                                  Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                       USD

 Statement beginning balance                                                                                            2,408,509.80
 Checks and payments cleared (7)                                                                                       -3,851,537.26
 Deposits and other credits cleared (18)                                                                                1,443,027.46
 Statement ending balance                                                                                                       0.00

 Register balance as of 06/30/2020                                                                                             0.00



 Details

 Checks and payments cleared (7)

 DATE                             TYPE                              REF NO.                        PAYEE             AMOUNT (USD)
 06/02/2020                       Transfer                                                                               -850,000.00
 06/02/2020                       Transfer                                                                             -1,412,631.00
 06/08/2020                       Invoice                           20-1953                                                -6,995.00
 06/11/2020                       Invoice                           20-1952                                      …           -517.13
 06/24/2020                       Transfer                                                                             -1,000,000.00
 06/26/2020                       Transfer                                                                               -300,000.00
 06/29/2020                       Transfer                                                                               -281,394.13

 Total                                                                                                               -3,851,537.26


 Deposits and other credits cleared (18)

 DATE                             TYPE                              REF NO.                        PAYEE             AMOUNT (USD)
 06/01/2020                       Deposit                                                                                669,950.66
 06/01/2020                       Transfer                                                                                    77.60
 06/01/2020                       Receive Payment                                                                …         1,562.34
 06/02/2020                       Deposit                                                                                161,768.78
 06/03/2020                       Deposit                                                                                 69,458.23
 06/04/2020                       Deposit                                                                                 55,975.00
 06/05/2020                       Deposit                                                                                140,604.60
 06/08/2020                       Deposit                                                                                 69,418.04
 06/09/2020                       Deposit                                                                                 20,265.50
 06/11/2020                       Deposit                                                                                 93,472.69
 06/11/2020                       Deposit                                                                                 20,170.00
 06/12/2020                       Deposit                                                                                 10,324.24
 06/15/2020                       Deposit                                                                                 26,091.00
 06/16/2020                       Deposit                                                                                 40,386.27
 06/17/2020                       Deposit                                                                                 39,826.49
 06/18/2020                       Deposit                                                                                  7,415.00
 06/19/2020                       Deposit                                                                                 15,461.02
 06/22/2020                       Deposit                                                                                    800.00

 Total                                                                                                               1,443,027.46




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                                                        1120 FB&T Payroll           , Period Ending 06/26/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/02/2020

                                                                  Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                 USD

 Statement beginning balance                                                                                            834.13
 Checks and payments cleared (1)                                                                                       -834.13
 Deposits and other credits cleared (0)                                                                                   0.00
 Statement ending balance                                                                                                 0.00

 Register balance as of 06/26/2020                                                                                       0.00



 Details

 Checks and payments cleared (1)

 DATE                             TYPE                              REF NO.                        PAYEE         AMOUNT (USD)
 06/24/2020                       Transfer                                                                             -834.13

 Total                                                                                                                -834.13




                                                                                                                             1/1
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                                                                 Archbishop Hannan High School

                                                 1210 FB&T Tuition Reserve              , Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/02/2020

                                                                  Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                          USD

 Statement beginning balance                                                                                                      77.60
 Interest earned                                                                                                               1,337.43
 Checks and payments cleared (4)                                                                                              -7,827.60
 Deposits and other credits cleared (2)                                                                                    1,478,320.09
 Statement ending balance                                                                                                  1,471,907.52

 Register balance as of 06/30/2020                                                                                         1,471,907.52
 Cleared transactions after 06/30/2020                                                                                             0.00
 Uncleared transactions after 06/30/2020                                                                                     106,160.35
 Register balance as of 07/02/2020                                                                                         1,578,067.87



 Details

 Checks and payments cleared (4)

 DATE                             TYPE                              REF NO.                        PAYEE                 AMOUNT (USD)

 06/01/2020                       Transfer                                                                                       -77.60
 06/18/2020                       Invoice                           20-2019                                          …        -6,000.00
 06/22/2020                       Journal                           1848                                                      -1,000.00
 06/22/2020                       Journal                           1848                                                        -750.00

 Total                                                                                                                      -7,827.60


 Deposits and other credits cleared (2)

 DATE                             TYPE                              REF NO.                        PAYEE                 AMOUNT (USD)
 06/17/2020                       Deposit                                                                                    353,939.24
 06/18/2020                       Deposit                                                                                  1,124,380.85

 Total                                                                                                                   1,478,320.09


 Additional Information

 Uncleared deposits and other credits after 06/30/2020

 DATE                             TYPE                              REF NO.                        PAYEE                 AMOUNT (USD)
 07/01/2020                       Deposit                                                                                    106,160.35

 Total                                                                                                                     106,160.35




                                                                                                                                      1/1
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                                                                 Archbishop Hannan High School

                                                1150.05 PPP Escrow Account                 Period Ending 06/26/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/02/2020

                                                                  Reconciled by

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                       USD

 Statement beginning balance                                                                                               42,839.55
 Checks and payments cleared (1)                                                                                          -42,839.55
 Deposits and other credits cleared (0)                                                                                         0.00
 Statement ending balance                                                                                                       0.00

 Register balance as of 06/26/2020                                                                                             0.00



 Details

 Checks and payments cleared (1)

 DATE                             TYPE                              REF NO.                        PAYEE              AMOUNT (USD)
 06/24/2020                       Transfer                                                                                -42,839.55

 Total                                                                                                                  -42,839.55




                                                                                                                                  1/1
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                                                                              Pope John Paul II High School

                                                                1111 Chase Operating New-         , Period Ending 06/30/2020

                                                                                 RECONCILIATION REPORT

                                                                                   Reconciled on: 07/06/2020

                                                                                 Reconciled by:

         Any changes made to transactions after this date aren't included in this report.

         Summary                                                                                                                                               USD

         Statement beginning balance                                                                                                                      398,291.92
         Checks and payments cleared (74)                                                                                                                -215,043.12
         Deposits and other credits cleared (44)                                                                                                          434,686.83
         Statement ending balance                                                                                                                         617,935.63

         Uncleared transactions as of 06/30/2020                                                                                                         -15,628.77
         Register balance as of 06/30/2020                                                                                                               602,306.86
         Cleared transactions after 06/30/2020                                                                                                                 0.00
         Uncleared transactions after 06/30/2020                                                                                                             -25.00
         Register balance as of 07/06/2020                                                                                                               602,281.86



         Details

         Checks and payments cleared (74)

         DATE                               TYPE                                REF NO.                        PAYEE                                 AMOUNT (USD)
         04/03/2019                         Bill Payment                       43280                                                                          -18.63
         07/25/2019                         Bill Payment                       43654                           Archdiocese of New Orleans O…                  -96.00
         09/23/2019                         Bill Payment                       43987                                                                          -18.43
         11/20/2019                         Bill Payment                       44365                                                                        -200.00
         01/28/2020                         Bill Payment                       44686                                                                        -155.00
         02/17/2020                         Bill Payment                       44766                           Calvary Baptist                               -17.60
         02/17/2020                         Bill Payment                       44781                           Southeast Louisiana District Lit…              -66.00
         03/03/2020                         Bill Payment                       44851                           LSU Powerlifting Club / Team                 -300.00
         03/06/2020                         Bill Payment                       44887                           SLU-Languages and Culture                      -45.00
         03/10/2020                         Bill Payment                       44911                                                                          -66.79
         03/13/2020                         Bill Payment                       44941                           LHSPLA                                      -1,689.50
         03/13/2020                         Bill Payment                       44934                           LHSPLA                                      -1,265.00
         03/13/2020                         Bill Payment                       44932                           Calvary Baptist Church of Shre…                -17.60
         05/15/2020                         Bill Payment                       45051                           Xceptional Wildlife Removal, Inc.           -1,172.00
         05/22/2020                         Bill Payment                       45059                           Gallagher Benefit Services                 -23,137.40
         05/22/2020                         Bill Payment                       45057                                                                          -51.76
         05/22/2020                         Bill Payment                       45055                           Benefit Strategies                           -250.00
         05/22/2020                         Bill Payment                       45061                           Pitney Bowes Global Financial                -279.34
         05/22/2020                         Bill Payment                       45053                           Attaway's Award Center                      -1,367.44
         05/27/2020                         Bill Payment                       45070                           Guardian                                    -1,385.06
         05/27/2020                         Bill Payment                       45069                           Development Innovations 360                 -1,981.00
         05/27/2020                         Bill Payment                       45068                           Daiquiris Now                                  -50.00
         05/27/2020                         Bill Payment                       45067                           Chase Cardmember Services                   -1,137.59
         05/27/2020                         Bill Payment                       45066                           Balfour New Orleans, LLC                    -2,054.43
         05/27/2020                         Bill Payment                       45065                           Attaway's Award Center                        -36.96
         05/27/2020                         Bill Payment                       45073                                                                        -500.00
         05/27/2020                         Bill Payment                       45071                           Northshore Harbor Center                     -606.25
         05/27/2020                         Bill Payment                       45076                           Archdiocese of New Orleans O…                  -58.00
         05/27/2020                         Bill Payment                       45075                           WJS Enterprises Inc                         -2,050.08
         06/01/2020                         Check                              ACH                             Paymentech Chase CC                            -25.00
         06/03/2020                         Bill Payment                       45088                                                                           -4.80
         06/03/2020                         Bill Payment                       45091                           Pro's Pest Control Service, Inc              -205.00
         06/03/2020                         Check                              ACH                             JP Morgan Chase                               -50.00
         06/03/2020                         Bill Payment                       45092                           Seruntine Refrigeration Serivice…            -625.00
         06/03/2020                         Bill Payment                       45093                                                                        -219.80
         06/03/2020                         Bill Payment                       45094                           Waste Management of St Tam…                  -156.39
         06/03/2020                         Bill Payment                       45089                                                                        -229.94




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         DATE                              TYPE           REF NO.              PAYEE                                   AMOUNT (USD)
         06/03/2020                        Bill Payment   45090                Pan American Life Insurance Co                 -101.60
         06/15/2020                        Journal        20-116                                                             -8,539.87
         06/15/2020                        Journal        20-115                                                            -18,236.68
         06/15/2020                        Journal        20-114                                                            -47,971.27
         06/15/2020                        Bill Payment   45099                ATMOS Energy Louisiana - LGS                    -119.89
         06/15/2020                        Bill Payment   45100                Attaway's Award Center                           -83.70
         06/15/2020                        Bill Payment   45101                Balfour New Orleans, LLC                      -1,463.82
         06/15/2020                        Bill Payment   45102                Canon Financial Services Inc                   -624.22
         06/15/2020                        Bill Payment   45103                Catholic Relief Services                       -376.50
         06/15/2020                        Bill Payment   45104                City of Slidell                                -151.55
         06/15/2020                        Bill Payment   45105                Nelnet Business Solutions                      -507.83
         06/15/2020                        Bill Payment   45106                Northshore Harbor Center                      -1,818.75
         06/15/2020                        Bill Payment   45107                                  .                            -132.87
         06/15/2020                        Bill Payment   45108                Wash-St Tammany Electric Co …                 -3,265.19
         06/15/2020                        Check          ACH                  Crescent Payroll                               -379.25
         06/15/2020                        Bill Payment   45109                WEX Bank                                       -200.00
         06/17/2020                        Check          ACH                  Intuit                                         -289.11
         06/18/2020                        Bill Payment   47000                Archdiocese of New Orleans - I…                -265.00
         06/18/2020                        Bill Payment   47001                                                                 -85.00
         06/18/2020                        Bill Payment   47002                Development Innovations 360                   -4,327.00
         06/18/2020                        Bill Payment   47003                Educational Electronics Corp.                 -1,878.61
         06/18/2020                        Bill Payment   47004                Esyncs                                           -95.00
         06/18/2020                        Bill Payment   47006                                                               -135.00
         06/18/2020                        Bill Payment   47008                Office Depot Credit Plan                       -148.69
         06/18/2020                        Bill Payment   47009                                      , FBO PJP Cas…           -400.00
         06/18/2020                        Bill Payment   47010                Jazz Athesthesia                               -285.00
         06/18/2020                        Bill Payment   47011                                                              -1,370.00
         06/25/2020                        Bill Payment   47014                Chase Cardmember Services                     -2,673.33
         06/25/2020                        Bill Payment   47020                          .                                     -175.66
         06/25/2020                        Bill Payment   47019                St Tammany Maintenance Inc                    -1,499.00
         06/25/2020                        Bill Payment   47018                Lowe's Business Account                          -27.12
         06/30/2020                        Journal        20-129                                                              -500.00
         06/30/2020                        Check          ACH                  Archdiocese of New Orleans Fi…                 -579.94
         06/30/2020                        Journal        20-120                                                             -8,539.87
         06/30/2020                        Journal        20-119                                                            -18,236.70
         06/30/2020                        Journal        20-130                                                                 -0.05
         06/30/2020                        Journal        20-118                                                            -47,971.26

         Total                                                                                                           -215,043.12


         Deposits and other credits cleared (44)

         DATE                              TYPE           REF NO.              PAYEE                                   AMOUNT (USD)
         03/17/2020                        Journal        20-62                                                                500.00
         06/01/2020                        Deposit                                                                          59,283.75
         06/01/2020                        Deposit                                                                             833.45
         06/01/2020                        Deposit                                                                           4,087.40
         06/02/2020                        Deposit                                                                         214,275.00
         06/03/2020                        Bill Payment   45087                ATMOS Energy Louisiana - LGS                      0.00
         06/03/2020                        Deposit                                                                               1.04
         06/08/2020                        Deposit                                                                             482.50
         06/11/2020                        Deposit                                                                             500.00
         06/11/2020                        Deposit                                                                          98,605.00
         06/12/2020                        Deposit                             Cash                                            175.62
         06/12/2020                        Deposit                                                                             120.00
         06/12/2020                        Deposit                             Rice Bowl Collection                            376.50
         06/12/2020                        Deposit                                                                              60.00
         06/12/2020                        Deposit                                                                           4,000.00
         06/17/2020                        Deposit                             LHSPLA                                        1,689.50
         06/17/2020                        Deposit                                                                              18.63
         06/17/2020                        Deposit                                                                              18.43
         06/17/2020                        Deposit                                                                             200.00




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         DATE                            TYPE             REF NO.                       PAYEE                                   AMOUNT (USD)
         06/17/2020                     Deposit                                                                                         155.00
         06/17/2020                     Deposit                                         Calvary Baptist                                  17.60
         06/17/2020                     Deposit                                         Archdiocese of New Orleans O…                    96.00
         06/17/2020                     Deposit                                         LSU Powerlifting Club / Team                    300.00
         06/17/2020                     Deposit                                         LHSPLA                                        1,265.00
         06/17/2020                     Deposit                                         Calvary Baptist Church of Shre…                  17.60
         06/17/2020                     Deposit                                                                                          66.79
         06/17/2020                     Deposit                                         SLU-Languages and Culture                        45.00
         06/17/2020                     Deposit                                         Southeast Louisiana District Lit…                66.00
         06/19/2020                     Deposit                                         Shell                                           200.00
         06/19/2020                     Deposit                                                                                         538.00
         06/19/2020                     Deposit                                                                                      15,100.00
         06/19/2020                     Deposit                                                                                       3,250.00
         06/19/2020                     Deposit                                                                                       1,380.43
         06/22/2020                     Deposit                                                                                          28.95
         06/22/2020                     Receive Payment   CC ran on Square                                                              400.47
         06/23/2020                     Deposit                                                                                          19.30
         06/23/2020                     Deposit                                                       .                                 132.87
         06/26/2020                     Deposit                                                                                      16,750.00
         06/26/2020                     Deposit                                                                                           1.00
         06/26/2020                     Deposit                                                                                          30.00
         06/26/2020                     Deposit                                                                                       1,000.00
         06/26/2020                     Deposit                                                           , FBO PJP Cas…                400.00
         06/26/2020                     Deposit                                         Louisiana High School Athletic …                700.00
         06/26/2020                     Receive Payment   15498                                                                       7,500.00

         Total                                                                                                                    434,686.83


         Additional Information

         Uncleared checks and payments as of 06/30/2020

         DATE                            TYPE             REF NO.                       PAYEE                                   AMOUNT (USD)
         05/27/2020                     Bill Payment      45064                         Archdiocese of New Orleans O…                   -58.00
         06/18/2020                     Bill Payment      47005                                                                         -50.00
         06/18/2020                     Bill Payment      47007                                                                         -50.00
         06/25/2020                     Bill Payment      47016                         Dudley Smith Printing                          -475.00
         06/25/2020                     Bill Payment      47022                         Archdiocese of New Orleans O…                   -58.00
         06/25/2020                     Bill Payment      47012                         Archdiocese of New Orleans O…                    -58.00
         06/25/2020                     Bill Payment      47013                                                                       -4,500.00
         06/25/2020                     Bill Payment      47015                         Davis Products Co., Inc                         -88.59
         06/25/2020                     Bill Payment      47021                         Archdiocese of New Orleans O…                   -58.00
         06/25/2020                     Bill Payment      47017                         Geaux Preaux Printing                           -152.18
         06/26/2020                     Bill Payment      47027                         The College Board (AP Exams)                  -7,310.00
         06/26/2020                     Bill Payment      47026                         The Advocate (St Tammany Far…                  -360.00
         06/26/2020                     Bill Payment      47025                         Slidell Independent                            -400.00
         06/26/2020                     Bill Payment      47024                         Slidell City Marshal City Court               -1,811.00
         06/26/2020                     Bill Payment      47023                         Sign Artist                                    -200.00

         Total                                                                                                                     -15,628.77


         Uncleared checks and payments after 06/30/2020

         DATE                            TYPE             REF NO.                       PAYEE                                   AMOUNT (USD)
         07/02/2020                     Check             ACH                           Paymentech Chase CC                             -25.00

         Total                                                                                                                         -25.00




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                                                                                                               May 30, 2020 through June 30, 2020
                                JPMorgan Chase Bank, N.A.
                                P O Box 182051                                                             Account Number:
                                Columbus, OH 43218 - 2051

                                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                                         Web site:                www.Chase.com
                                                                                                         Service Center:           1-877-425-8100
                                00000570 DRI 552 212 18520 NNNNNNNNNNN 1 000000000 Z9 0000               Deaf and Hard of Hearing: 1-800-242-7383
                                POPE JOHN PAUL II HIGH SCHOOL                                            Para Espanol:             1-888-622-4273
                                1901 JAGUAR DR                                                           International Calls:      1-713-262-1679
                                SLIDELL LA 70461-2131




                                                                                                                                                              00005700701000000027
       *start*summary




                                                                      Chase Platinum Business Checking
                      CHECKING SUMMARY
                                                                          INSTANCES                   AMOUNT
                    Beginning Balance                                                            $398,291.87
                    Deposits and Additions                                        29              435,098.41
                    Checks Paid                                                   47              -64,635.70
                    Electronic Withdrawals                                        10             -150,768.95
                    Fees                                                           1                  -50.00
                    Ending Balance                                                87             $617,935.63
       *end*summary



*start*post summary message1




        Your Chase Platinum Business Checking account provides:
        •   No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
        •   500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
        •   $25,000 in cash deposits per statement cycle
        •   Unlimited return deposited items with no fee

        There are additional fee waivers and benefits associated with your account - please refer to your Deposit Account
        Agreement for more information.
*end*post summary message1




*start*deposits and additions




           DEPOSITS AND ADDITIONS
                 DATE                   DESCRIPTION                                                                                                  AMOUNT
            06/01                       Remote Online Deposit         1                                                                      $59,283.75
            06/01                       Remote Online Deposit         1                                                                        4,087.40
            06/01                       Remote Online Deposit         1                                                                          833.45
            06/02                       Remote Online Deposit         1                                                                      214,275.00
            06/03                       Orig CO Name:Merchant Bankcd           Orig ID:          Desc Date:          CO Entry                      1.04
                                        Descr:Deposit Sec:CCD Trace#:                        Eed:        Ind ID:
                                        Ind Name:Pope John Paul II Cath
                                        Ppi Bankcard Dep Trn:
            06/08                       Orig CO Name:Merchant Bankcd           Orig ID:          Desc Date:          CO Entry                        482.50
                                        Descr:Deposit Sec:CCD Trace#:                        Eed:        Ind ID:
                                        Ind Name:Pope John Paul II Cath
                                        Ppi Bankcard Dep Trn:
            06/11                       Remote Online Deposit         1                                                                        98,605.00
            06/11                       Remote Online Deposit         1                                                                           500.00
            06/12                       Deposit                                                                                                 4,000.00
            06/12                       Deposit                                                                                                   376.50
            06/12                       Deposit                                                                                                   175.62
            06/12
*end*deposits and additions
                                        Deposit                                                                                                   120.00


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                                                                                                          May 30, 2020 through June 30, 2020
                                                                                                      Account Number:


*start*deposits and additions




                                                                       (continued)
           DEPOSITS AND ADDITIONS
                 DATE                 DESCRIPTION                                                                                                AMOUNT
            06/12                     Deposit                                                                                                 60.00
            06/19                     Remote Online Deposit          1                                                                    15,100.00
            06/19                     Remote Online Deposit          1                                                                     3,250.00
            06/19                     Remote Online Deposit          1                                                                     1,380.43
            06/19                     Deposit                                                                                                538.00
            06/19                     Remote Online Deposit          1                                                                       200.00
            06/22                     Orig CO Name:Merchant Bankcd         Orig ID:            Desc Date:        CO Entry                     28.95
                                      Descr:Deposit Sec:CCD Trace#:                        Eed:        Ind ID:
                                      Ind Name:Pope John Paul II Cath
                                      Ppi Bankcard Dep Trn:
            06/22                     Orig CO Name:Merchant Bankcd         Orig ID:            Desc Date:        CO Entry                         19.30
                                      Descr:Deposit Sec:CCD Trace#:                        Eed:        Ind ID:
                                      Ind Name:Pope John Paul II Cath
                                      Ppi Bankcard Dep Trn:
            06/23                     Orig CO Name:Square Inc          Orig ID:            Desc Date:         CO Entry                           400.47
                                      Descr:           Sec:PPD Trace#:                       Eed:         Ind
                                      ID:                         Ind Name:Pope John Paul II High
                                              Trn:
            06/25                     06/24/2020 Credit For $5,000.00, An Item For $4,327.00 Was Processed As $9,327.00, On                 5,000.00
                                      06/24/2020. Our Reference Number Esds200625-5553, Check Number 47002.
            06/26                     Remote Online Deposit          1                                                                    16,750.00
            06/26                     Remote Online Deposit          1                                                                     7,500.00
            06/26                     Remote Online Deposit          1                                                                     1,000.00
            06/26                     Remote Online Deposit          1                                                                       700.00
            06/26                     Deposit                                                                                                400.00
            06/26                     Deposit                                                                                                 30.00
            06/26                     Deposit                                                                                                  1.00
            Total Deposits and Additions                                                                                               $435,098.41
*end*deposits and additions



*start*checks paid section3




            CHECKS PAID
                                                                                                                        DATE
       CHECK NO.                            DESCRIPTION                                                                 PAID                     AMOUNT
       45051                     ^                                                                                      06/02             $1,172.00
       45053                     *^                                                                                     06/02              1,367.44
       45055                     *^                                                                                     06/02                250.00
       45057                     *^                                                                                     06/08                 51.76
       45059                     *^                                                                                     06/12             23,137.40
       45061                     *^                                                                                     06/03                279.34
       45065                     *^                                                                                     06/02                 36.96
       45066                     ^                                                                                      06/02              2,054.43
       45067                     ^                                                                                      06/01              1,137.59
       45068                     ^                                                                                      06/01                 50.00
       45069                     ^                                                                                      06/05              1,981.00
       45070                     ^                                                                                      06/02              1,385.06
       45071                     ^                                                                                      06/04                606.25
       45073                     *^                                                                                     06/02                500.00
       45075                     *^                                                                                     06/05              2,050.08
       45076                     ^                                                                                      06/30                 58.00
       45088                     *^                                                                                     06/22                  4.80
       45089                     ^                                                                                      06/11                229.94
       45090                     ^                                                                                      06/10                101.60
       45091
*end*checks paid section3
                                 ^                                                                                      06/09                205.00

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                                                                                                    May 30, 2020 through June 30, 2020
                                                                                                Account Number:


*start*checks paid section3




                                                  (continued)
            CHECKS PAID
                                                                                                                  DATE
       CHECK NO.                            DESCRIPTION                                                           PAID                     AMOUNT
       45092                     ^                                                                                06/16                 625.00
       45093                     ^                                                                                06/11                 219.80
       45094                     ^                                                                                06/10                 156.39
       45099                     *^                                                                               06/26                 119.89




                                                                                                                                                    10005700702000000067
       45100                     ^                                                                                06/29                  83.70
       45101                     ^                                                                                06/18               1,463.82
       45102                     ^                                                                                06/22                 624.22
       45103                     ^                                                                                06/24                 376.50
       45104                     ^                                                                                06/19                 151.55
       45105                     ^                                                                                06/19                 507.83
       45106                     ^                                                                                06/19               1,818.75
       45108                     *^                                                                               06/19               3,265.19
       45109                     ^                                                                                06/22                 200.00
       47000                     *^                                                                               06/23                 265.00
       47001                     ^                                                                                06/22                  85.00
       47002                     ^                                                                                06/24               9,327.00
       47003                     ^                                                                                06/24               1,878.61
       47004                     ^                                                                                06/30                  95.00
       47006                     *^                                                                               06/22                 135.00
       47008                     *^                                                                               06/29                 148.69
       47009                     ^                                                                                06/18                 400.00
       47010                     ^                                                                                06/23                 285.00
       47011                     ^                                                                                06/23               1,370.00
       47014                     *^                                                                               06/26               2,673.33
       47018                     *^                                                                               06/30                  27.12
       47019                     ^                                                                                06/29               1,499.00
       47020                     ^                                                                                06/25                 175.66
            Total Checks Paid                                                                                                      $64,635.70
            If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
            not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
            * All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
               one of your previous statements.
            ^ An image of this check may be available for you to view on Chase.com.
*end*checks paid section3


 *start*electronic withdrawal




          ELECTRONIC WITHDRAWALS
                  DATE            DESCRIPTION                                                                                              AMOUNT
              06/02               Orig CO Name:Paymentech           Orig ID:      Desc Date:       CO Entry                                $25.00
                                  Descr:Fee      Sec:CCD Trace#:                Eed:       Ind ID:
                                  Ind Name:Pope John Paul II High Trn:
              06/12               Orig CO Name:Pope John Paul I      Orig ID:     Desc Date:         CO Entry                       47,971.27
                                  Descr:Payroll Sec:CCD Trace#:                 Eed:         Ind ID:
                                  Ind Name:II High Pope John Paul
                                            Trn:
              06/12               Orig CO Name:Pope John Paul I      Orig ID:     Desc Date:         CO Entry                       18,236.68
                                  Descr:Payroll Sec:CCD Trace#:                 Eed:         Ind ID:
                                  Ind Name:II High Pope John Paul
                                            Trn:
              06/12               Orig CO Name:Pope John Paul I      Orig ID:     Desc Date:         CO Entry                         8,539.87
                                  Descr:Payroll Sec:CCD Trace#:                 Eed:         Ind ID:
                                  Ind Name:II High Pope John Paul
 *end*electronic withdrawal
                                            Trn:


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   *start*electronic withdrawal




                                                                                 (continued)
           ELECTRONIC WITHDRAWALS
                    DATE                 DESCRIPTION                                                                                                    AMOUNT
               06/12                     Orig CO Name:Pope John Paul I      Orig ID:       Desc Date:          CO Entry                                 379.25
                                         Descr:Payroll Sec:CCD Trace#:                  Eed:          Ind ID:
                                         Ind Name:II High Pope John Paul
                                                   Trn:
               06/17                     Orig CO Name:Intuit          Orig ID:         Desc Date:        CO Entry                                       289.11
                                         Descr:Checksformsec:CCD Trace#:                   Eed:          Ind ID:
                                         Ind Name:
                                             -  -       Trn:
               06/29                     Orig CO Name:Pope John Paul I      Orig ID:       Desc Date:          CO Entry                          47,971.26
                                         Descr:Payroll Sec:CCD Trace#:                  Eed:          Ind ID:
                                         Ind Name:II High Pope John Paul
                                                   Trn:
               06/29                     Orig CO Name:Pope John Paul I      Orig ID:       Desc Date:          CO Entry                          18,236.70
                                         Descr:Payroll Sec:CCD Trace#:                  Eed:          Ind ID:
                                         Ind Name:II High Pope John Paul
                                                   Trn:
               06/29                     Orig CO Name:Pope John Paul I      Orig ID:       Desc Date:          CO Entry                            8,539.87
                                         Descr:Payroll Sec:CCD Trace#:                  Eed:          Ind ID:
                                         Ind Name:II High Pope John Paul
                                                   Trn:
               06/30                     Orig CO Name:Roman Cat            Orig ID:        Desc Date:          CO Entry                                 579.94
                                         Descr:Loan Paymesec:CCD Trace#:                    Eed:          Ind ID:
                                         Ind Name:Pope John Paul II High Montly Loan Payment\ Trn:
               Total Electronic Withdrawals                                                                                                   $150,768.95
   *end*electronic withdrawal


   *start*fees section




                         FEES
                    DATE                 DESCRIPTION                                                                                                    AMOUNT
               06/03                      Service Charges For The Month of May                                                                          $50.00
               Total Fees                                                                                                                               $50.00
   *end*fees section




*start*daily ending balance2




                DAILY ENDING BALANCE
            DATE                                           AMOUNT         DATE                      AMOUNT              DATE                            AMOUNT

     06/01                                             $461,308.88       06/10                   663,795.11            06/22                      679,864.43
     06/02                                              668,792.99       06/11                   762,450.37            06/23                      678,344.90
     06/03                                              668,464.69       06/12                   668,918.02            06/24                      666,762.79
     06/04                                              667,858.44       06/16                   668,293.02            06/25                      671,587.13
     06/05                                              663,827.36       06/17                   668,003.91            06/26                      695,174.91
     06/08                                              664,258.10       06/18                   666,140.09            06/29                      618,695.69
     06/09
*end*daily ending balance2
                                                        664,053.10       06/19                   680,865.20            06/30                      617,935.63
*start*service charge summary2




              SERVICE CHARGE SUMMARY
*start*service charge summary2 part1




            Monthly Service Fee                                                                 $0.00
            Other Service Charges                                                              $50.00
            Total Service Charges
*start*service charge summary2 part2
                                                                                               $50.00 Will be assessed on 7/6/20

            The monthly service fee was waived on your Chase Platinum Business Checking account because you maintained the
            required relationship balance.
*end*service charge summary2




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*start*service charge detail2




             SERVICE CHARGE DETAIL
            DESCRIPTION                                                          VOLUME         ALLOWED         CHARGED           PRICE/ UNIT                  TOTAL
            Monthly Service Fee
            Monthly Service Fee Waived                                   0                                                              $95.00                     $0.00
            No Hassle Fees
            Stop Payments - Manual                                       4                       Unlimited                0             $30.00                     $0.00
            Stop Payment - Online                                        9                       Unlimited                0             $25.00                     $0.00
            Other Service Charges:




                                                                                                                                                                            10005700703000000067
            Electronic Credits
            Electronic Items Deposited                                  97                       Unlimited                0              $0.40                     $0.00
            Electronic Credits                                           5                       Unlimited                0              $0.40                     $0.00
            Credits
            Non-Electronic Transactions                                 72                            500                0              $0.40                      $0.00
            Branch Deposit - Immediate Verification                 $1,640                        $25,000               $0            $0.0025                      $0.00
            Miscellaneous Fees
            Currency Straps Ordered                                      4                               0                4              $0.00                     $0.00
            Cash Management Services
            Quick Deposit Multi Feed Maint                               1                               0                1             $50.00                 $50.00
            Subtotal Other Service Charges (Will be assessed on 7/6/20)                                                                                        $50.00

            ACCOUNT
            No Hassle Fees
            Stop Payments - Manual                                                       4
            Stop Payment - Online                                                        9
            Other Service Charges:
            Electronic Credits
            Electronic Items Deposited                                                 97
            Electronic Credits                                                          5
            Credits
            Non-Electronic Transactions                                                72
            Branch Deposit - Immediate Verification                                $1,640
            Miscellaneous Fees
            Currency Straps Ordered                                                      4
            Cash Management Services
            Quick Deposit Multi Feed Maint
*end*service charge detail2
                                                                                         1
*start*dre portrait disclosure message area




                   IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                   address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                   incorrect or if you need more information about a transfer listed on the statement or receipt.
                   For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                   appeared. Be prepared to give us the following information:
                                   Your name and account number
                                   The dollar amount of the suspected error
                                   A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                   We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                   accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                   us to complete our investigation .
                   IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                   incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                   you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                   Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                   JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                           JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




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*start*stop payment renewal notice




                STOP PAYMENT RENEWAL NOTICE

                     ACCOUNT NUMBER                           BANK NUMBER


                                      The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment
                                      via your online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your
                                      Customer Service Representative.




                                                                                                                                                              10005700704000000067
            REVOKE                              SEQUENCE              DATE          RENEWAL                     LOW RANGE                        HIGH RANGE
            STOP                                  NUMBER           ENTERED             DATE               OR CHECK NUMBER                        OR AMOUNT
                                              0000003-01           09/22/17         09/22/20                         40246                     $109,687.00
*end*stop payment renewal notice




     Pope John Paul II High School                                                                           JPMorgan Chase Bank, N.A.
     1901 Jaguar DR                                                                                          P O Box 182051
     Slidell LA 70461-2131                                                                                   Columbus OH 43218-2051




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*start*images section




                                                                                                ACCOUNT #
                        IMAGES

             See both front and back images of cleared checks at Chase.com. If you're not enrolled in this free service, please
             enroll now.




                                                                                                                                  10005700705000000067
                          007370559410 JUN 02 #0000045051 $1,172.00              009670901550 JUN 02 #0000045053 $1,367.44




                           002670570215 JUN 02 #0000045055 $250.00                009990916104 JUN 08 #0000045057 $51.76




                          008490010631 JUN 12 #0000045059 $23,137.40              005980184575 JUN 03 #0000045061 $279.34




                           009670901543 JUN 02 #0000045065 $36.96                009590511922 JUN 02 #0000045066 $2,054.43




                          003490839339 JUN 01 #0000045067 $1,137.59               006380234073 JUN 01 #0000045068 $50.00
*end*images section




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*start*images section




                                      (continued)                                               ACCOUNT #
                        IMAGES

             See both front and back images of cleared checks at Chase.com. If you're not enrolled in this free service, please
             enroll now.




                         008870750843 JUN 05 #0000045069 $1,981.00               002670861844 JUN 02 #0000045070 $1,385.06




                          008490685483 JUN 04 #0000045071 $606.25                 002470629893 JUN 02 #0000045073 $500.00




                         003290099558 JUN 05 #0000045075 $2,050.08                002470458910 JUN 30 #0000045076 $58.00




                           004280375587 JUN 22 #0000045088 $4.80                  009270806916 JUN 11 #0000045089 $229.94




                          006090081194 JUN 10 #0000045090 $101.60                 002180442013 JUN 09 #0000045091 $205.00
*end*images section




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                                      (continued)                                               ACCOUNT #
                        IMAGES

             See both front and back images of cleared checks at Chase.com. If you're not enrolled in this free service, please
             enroll now.




                                                                                                                                     10005700706000000067
                          009990199947 JUN 16 #0000045092 $625.00                 004670435654 JUN 11 #0000045093 $219.80




                          004180667271 JUN 10 #0000045094 $156.39                 006170387586 JUN 26 #0000045099 $119.89




                          002080316981 JUN 29 #0000045100 $83.70                 006170465954 JUN 18 #0000045101 $1,463.82




                          009590418130 JUN 22 #0000045102 $624.22                 004180139865 JUN 24 #0000045103 $376.50




                          009270548495 JUN 19 #0000045104 $151.55                 004670785188 JUN 19 #0000045105 $507.83
*end*images section




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                        IMAGES

             See both front and back images of cleared checks at Chase.com. If you're not enrolled in this free service, please
             enroll now.




                         009270878910 JUN 19 #0000045106 $1,818.75               009980879970 JUN 19 #0000045108 $3,265.19




                          007290554220 JUN 22 #0000045109 $200.00                 004870199961 JUN 23 #0000047000 $265.00




                          006670302953 JUN 22 #0000047001 $85.00                 009890314946 JUN 24 #0000047002 $9,327.00




                         004580237048 JUN 24 #0000047003 $1,878.61                002670479675 JUN 30 #0000047004 $95.00




                          008490159588 JUN 22 #0000047006 $135.00                 003170690212 JUN 29 #0000047008 $148.69
*end*images section




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                                      (continued)                                               ACCOUNT #
                        IMAGES

             See both front and back images of cleared checks at Chase.com. If you're not enrolled in this free service, please
             enroll now.




                                                                                                                                     10005700707000000067
                          005590505081 JUN 18 #0000047009 $400.00                 008080136696 JUN 23 #0000047010 $285.00




                         004870419423 JUN 23 #0000047011 $1,370.00               009670600112 JUN 26 #0000047014 $2,673.33




                          004790311210 JUN 30 #0000047018 $27.12                 006280297506 JUN 29 #0000047019 $1,499.00




                          004670947170 JUN 25 #0000047020 $175.66
*end*images section




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                                                                              Pope John Paul II High School

                                                                   1210 FB&T-Reserve Loans, Period Ending 06/30/2020

                                                                                 RECONCILIATION REPORT

                                                                                   Reconciled on: 07/06/2020

                                                                                 Reconciled by:

         Any changes made to transactions after this date aren't included in this report.

         Summary                                                                                                                                               USD

         Statement beginning balance                                                                                                                     258,616.60
         Checks and payments cleared (5)                                                                                                                  -8,930.23
         Deposits and other credits cleared (5)                                                                                                          366,695.31
         Statement ending balance                                                                                                                        616,381.68

         Register balance as of 06/30/2020                                                                                                               616,381.68
         Cleared transactions after 06/30/2020                                                                                                                 0.00
         Uncleared transactions after 06/30/2020                                                                                                            -900.98
         Register balance as of 07/06/2020                                                                                                               615,480.70



         Details

         Checks and payments cleared (5)

         DATE                               TYPE                                REF NO.                        PAYEE                                 AMOUNT (USD)
         06/01/2020                         Transfer                                                                                                         -280.23
         06/18/2020                         Invoice                            100002401                                                                   -2,800.00
         06/18/2020                         Invoice                            100002404                                                                   -2,000.00
         06/18/2020                         Invoice                            100002403                                                                   -1,350.00
         06/18/2020                         Invoice                            100002402                                                                   -2,500.00

         Total                                                                                                                                           -8,930.23


         Deposits and other credits cleared (5)

         DATE                               TYPE                                REF NO.                        PAYEE                                 AMOUNT (USD)
         06/17/2020                         Deposit                                                                                                       16,600.00
         06/17/2020                         Deposit                                                                                                      166,894.33
         06/18/2020                         Deposit                                                                                                       94,325.00
         06/18/2020                         Deposit                                                                                                       87,975.00
         06/30/2020                         Deposit                                                            First Bank & Trust                            900.98

         Total                                                                                                                                         366,695.31


         Additional Information

         Uncleared checks and payments after 06/30/2020

         DATE                               TYPE                                REF NO.                        PAYEE                                 AMOUNT (USD)
         07/01/2020                         Transfer                                                                                                        -900.98

         Total                                                                                                                                             -900.98




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                                                                              Pope John Paul II High School

                                                                       1150 FB&T-Savings, Period Ending 06/30/2020

                                                                                 RECONCILIATION REPORT

                                                                                   Reconciled on: 07/06/2020

                                                                                 Reconciled by:

         Any changes made to transactions after this date aren't included in this report.

         Summary                                                                                                                                             USD

         Statement beginning balance                                                                                                                    322,169.32
         Checks and payments cleared (0)                                                                                                                      0.00
         Deposits and other credits cleared (1)                                                                                                             203.61
         Statement ending balance                                                                                                                       322,372.93

         Register balance as of 06/30/2020                                                                                                              322,372.93



         Details

         Deposits and other credits cleared (1)

         DATE                                TYPE                               REF NO.                        PAYEE                                AMOUNT (USD)
         06/30/2020                          Deposit                                                           First Bank & Trust                           203.61

         Total                                                                                                                                            203.61




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                                                                              Pope John Paul II High School

                                                            1130 First Bank & Trust - Tuition Prepaid, Period Ending 06/30/2020

                                                                                 RECONCILIATION REPORT

                                                                                   Reconciled on: 07/06/2020

                                                                                 Reconciled by:

         Any changes made to transactions after this date aren't included in this report.

         Summary                                                                                                                                                 USD

         Statement beginning balance                                                                                                                        481,461.91
         Checks and payments cleared (2)                                                                                                                        -30.00
         Deposits and other credits cleared (9)                                                                                                              40,932.14
         Statement ending balance                                                                                                                           522,364.05

         Register balance as of 06/30/2020                                                                                                                  522,364.05
         Cleared transactions after 06/30/2020                                                                                                                    0.00
         Uncleared transactions after 06/30/2020                                                                                                                900.98
         Register balance as of 07/06/2020                                                                                                                  523,265.03



         Details

         Checks and payments cleared (2)

         DATE                               TYPE                                REF NO.                         PAYEE                                   AMOUNT (USD)
         06/19/2020                         Expense                                                            First Bank & Trust                               -15.00
         06/25/2020                         Expense                                                            First Bank & Trust                               -15.00

         Total                                                                                                                                                 -30.00


         Deposits and other credits cleared (9)

         DATE                               TYPE                                REF NO.                         PAYEE                                   AMOUNT (USD)
         06/01/2020                         Receive Payment                    direct pymt FBT Site                                                           9,950.00
         06/01/2020                         Receive Payment                    direct pymt FBT site                                                             500.00
         06/01/2020                         Transfer                                                                                                            280.23
         06/01/2020                         Receive Payment                    direct pymt FBT site                                                           1,400.00
         06/01/2020                         Receive Payment                    direct pymt FBT site                                                           7,450.00
         06/19/2020                         Receive Payment                    Wire International                                                            10,425.00
         06/22/2020                         Receive Payment                    direct on FBT site                                                               500.00
         06/26/2020                         Receive Payment                    Interntional Wire                                                             10,404.73
         06/30/2020                         Deposit                                                            First Bank & Trust                                22.18

         Total                                                                                                                                             40,932.14


         Additional Information

         Uncleared deposits and other credits after 06/30/2020

         DATE                               TYPE                                REF NO.                         PAYEE                                   AMOUNT (USD)
         07/01/2020                         Transfer                                                                                                            900.98

         Total                                                                                                                                                900.98




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                                                                       600 First Bank & Trust - Operating 'A', Period Ending 06/30/2020

                                                                                         RECONCILIATION REPORT

                                                                                            Reconciled on: 07/01/2020

                                                                                        Reconciled by: KRH Consulting

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                                                      USD

 Statement beginning balance                                                                                                                                             149,131.24
 Service charge                                                                                                                                                              -14.66
 Interest earned                                                                                                                                                               8.12
 Checks and payments cleared (47)                                                                                                                                       -199,580.72
 Deposits and other credits cleared (12)                                                                                                                                 284,579.39
 Statement ending balance                                                                                                                                                234,123.37

 Uncleared transactions as of 06/30/2020                                                                                                                                -112,018.20
 Register balance as of 06/30/2020                                                                                                                                       122,105.17



 Details

 Checks and payments cleared (47)

 DATE                                      TYPE                                     REF NO.                               PAYEE                                      AMOUNT (USD)
 05/20/2020                                Bill Payment                             57292                                 Hiller Companies                                  -508.94
 05/20/2020                                Bill Payment                             57294                                 LORI MONAHAN BORDEN DESIGN, …                     -412.50
 05/20/2020                                Bill Payment                             57293                                 Jackson Container & Trailer Rental, Inc.           -86.47
 05/27/2020                                Bill Payment                             57298                                 Gallagher                                      -21,366.39
 05/27/2020                                Bill Payment                             57297                                 ENTERGY                                         -1,296.35
 05/27/2020                                Bill Payment                             57296                                 Cognia Inc.                                     -1,200.00
 05/27/2020                                Bill Payment                             57295                                 AT&T                                              -128.25
 05/27/2020                                Bill Payment                             57299                                 GUARDIAN                                        -1,374.50
 05/27/2020                                Bill Payment                             57302                                 RELIASTAR LIFE INSURANCE CO.                       -25.96
 05/27/2020                                Bill Payment                             57301                                 Pflaum Publishing Group                           -753.20
 05/31/2020                                Journal                                  JE 2017-1583                                                                             -79.39
 06/04/2020                                Bill Payment                             57308                                 RIVER PARISH DISPOSAL, INC.                        -90.00
 06/04/2020                                Bill Payment                             57306                                 Hunt Telecom                                       -67.26
 06/04/2020                                Bill Payment                             57303                                 ARCHDIOCESE OF N.O. Insurance                   -7,334.00
 06/04/2020                                Bill Payment                             57305                                 ENTERGY                                            -36.33
 06/10/2020                                Bill Payment                             57318                                 GULF COAST BANK & TRUST MAST…                     -419.39
 06/10/2020                                Bill Payment                             57319                                                       -- Reimbursement            -102.77
 06/10/2020                                Bill Payment                             57317                                                    - Reimbursement                -134.78
 06/10/2020                                Bill Payment                             57315                                 SEWERAGE & WATER BOARD                          -1,105.30
 06/10/2020                                Bill Payment                             57314                                 Kelley & Abide                                  -1,464.48
 06/10/2020                                Bill Payment                             57313                                 Jani-King of New Orleans                          -750.00
 06/10/2020                                Bill Payment                             57312                                 COX COMMUNICATIONS                                 -23.34
 06/10/2020                                Bill Payment                             57311                                                                                   -309.02
 06/10/2020                                Bill Payment                             57310                                 A CUT ABOVE                                       -425.00
 06/17/2020                                Bill Payment                             57328                                 SOS Technologies                                  -170.00
 06/17/2020                                Bill Payment                             57327                                 School Datebooks Inc                              -235.46
 06/17/2020                                Bill Payment                             57326                                 PRIORITY SYSTEMS, INC.                            -460.96
 06/17/2020                                Bill Payment                             57325                                 N2y LLC                                           -874.72
 06/17/2020                                Bill Payment                             57324                                 MPRESS                                          -1,740.73
 06/17/2020                                Bill Payment                             57322                                 EDGENUITY, INC.                                 -1,710.00
 06/17/2020                                Bill Payment                             57320                                 Attainment Company                              -2,091.76
 06/17/2020                                Bill Payment                             57321                                 COUNCIL FOR EXCEPTIONAL CHIL…                     -220.00
 06/18/2020                                Journal                                  JE 2017-1598                                                                            -173.79
 06/18/2020                                Journal                                  JE 2017-1597                                                                             -64.00
 06/18/2020                                Journal                                  JE 2017-1596                                                                            -489.21
 06/23/2020                                Bill Payment                             57501                                                                                 -2,246.50
 06/23/2020                                Bill Payment                             57508                                 SOS Technologies                                  -170.00
 06/23/2020                                Bill Payment                             57507                                                       -- Reimbursement             -43.08
 06/23/2020                                Bill Payment                             57511                                 YEAR ROUND HEATING & A/C                          -600.00
 06/23/2020                                Bill Payment                             57500                                 Curriculum Associates LLC                       -2,250.00
 06/23/2020                                Bill Payment                             57503                                 Jackson Container & Trailer Rental, Inc.           -86.47
 06/23/2020                                Bill Payment                             57504                                 Jani-King of New Orleans                        -1,500.00
 06/23/2020                                Bill Payment                             57505                                                                                 -2,682.50
 06/27/2020                                Journal                                  JE 2017-1593                                                                            -133.19
 06/27/2020                                Journal                                  JE 2017-1593                                                                         -13,142.99
 06/27/2020                                Journal                                  JE 2017-1593                                                                              -5.00
 06/27/2020                                Journal                                  JE 2017-1593                                                                        -128,996.74

 Total                                                                                                                                                                -199,580.72


 Deposits and other credits cleared (12)

 DATE                                      TYPE                                     REF NO.                               PAYEE                                      AMOUNT (USD)
 06/01/2020                                Journal                                  JE 2017-1584                                                                             79.39
 06/04/2020                                Bill Payment                             57304                                                    - Reimbursement                  0.00
 06/04/2020                                Bill Payment                             57307                                                       -- Reimbursement              0.00


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 DATE                       TYPE                REF NO. of 605      PAYEE                      AMOUNT (USD)
 06/05/2020                           Transfer                                                                      10,500.00
 06/10/2020                           Transfer                                                                       4,800.00
 06/15/2020                           Transfer                                                                     142,200.00
 06/17/2020                           Transfer                                                                       8,000.00
 06/23/2020                           Transfer                                                                      14,000.00
 06/27/2020                           Bill Payment   57514          ENTERGY                                              0.00
 06/27/2020                           Bill Payment   57513                                   , Reimbursement             0.00
 06/27/2020                           Transfer                                                                     105,000.00
 06/27/2020                           Bill Payment   57515          THE CATHOLIC FOUNDATION                              0.00

 Total                                                                                                           284,579.39


 Additional Information

 Uncleared checks and payments as of 06/30/2020

 DATE                                 TYPE           REF NO.        PAYEE                                      AMOUNT (USD)
 12/18/2019                           Bill Payment   57025          EMERIL'S                                          -100.00
 02/12/2020                           Bill Payment   57141          Denechaud and Denechaud                           -247.00
 03/11/2020                           Bill Payment   57190                              - REIMBURSEME…                 -23.49
 06/04/2020                           Bill Payment   57309          SUMMIT INTEGRATION SYSTEMS                      -2,597.00
 06/10/2020                           Bill Payment   57316                                                            -154.56
 06/17/2020                           Bill Payment   57323                           -- REIMBURSEMENT                  -45.96
 06/23/2020                           Bill Payment   57502                                                             -50.00
 06/23/2020                           Bill Payment   57512          Attainment Company                                -139.00
 06/23/2020                           Bill Payment   57510          William H. Sadlier Inc                          -3,319.37
 06/23/2020                           Bill Payment   57506                                                            -271.00
 06/23/2020                           Bill Payment   57509                                                            -250.00
 06/27/2020                           Bill Payment   57517          ENTERGY                                         -1,424.35
 06/27/2020                           Bill Payment   57516                                   , Reimbursement          -131.47
 06/27/2020                           Bill Payment   57518          THE CATHOLIC FOUNDATION                       -103,265.00

 Total                                                                                                          -112,018.20




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                                                                          658 First Bank & Trust - Pay Pal, Period Ending 06/30/2020

                                                                                         RECONCILIATION REPORT

                                                                                          Reconciled on: 07/01/2020

                                                                                        Reconciled by: KRH Consulting

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                               USD

 Statement beginning balance                                                                                                           0.00
 Checks and payments cleared (0)                                                                                                       0.00
 Deposits and other credits cleared (0)                                                                                                0.00
 Statement ending balance                                                                                                              0.00

 Register balance as of 06/30/2020                                                                                                     0.00




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                                                                          610 First Bank & Trust - M/M 'M', Period Ending 06/30/2020

                                                                                         RECONCILIATION REPORT

                                                                                          Reconciled on: 07/01/2020

                                                                                        Reconciled by: KRH Consulting

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                                                    USD

 Statement beginning balance                                                                                                                                           271,529.58
 Service charge                                                                                                                                                            -41.54
 Interest earned                                                                                                                                                            15.66
 Checks and payments cleared (7)                                                                                                                                      -284,510.00
 Deposits and other credits cleared (21)                                                                                                                               258,443.62
 Statement ending balance                                                                                                                                              245,437.32

 Register balance as of 06/30/2020                                                                                                                                     245,437.32



 Details

 Checks and payments cleared (7)

 DATE                                      TYPE                                     REF NO.                               PAYEE                                    AMOUNT (USD)
 06/05/2020                                Transfer                                                                                                                    -10,500.00
 06/10/2020                                Transfer                                                                                                                     -4,800.00
 06/15/2020                                Transfer                                                                                                                   -142,200.00
 06/17/2020                                Transfer                                                                                                                     -8,000.00
 06/23/2020                                Transfer                                                                                                                    -14,000.00
 06/27/2020                                Transfer                                                                                                                   -105,000.00
 06/30/2020                                Journal                                  JE 2017-1595                                                                           -10.00

 Total                                                                                                                                                              -284,510.00


 Deposits and other credits cleared (21)

 DATE                                      TYPE                                     REF NO.                               PAYEE                                    AMOUNT (USD)
 06/01/2020                                Deposit                                                                        State of Louisiana - School Choice Sy…        69,328.90
 06/04/2020                                Deposit                                                                                                                      26,280.00
 06/04/2020                                Deposit                                                                                                                       5,332.16
 06/04/2020                                Deposit                                                                                                                       4,985.00
 06/09/2020                                Deposit                                                                                                                        100.00
 06/09/2020                                Deposit                                                                                                                       2,859.36
 06/09/2020                                Deposit                                                                                                                         572.41
 06/10/2020                                Deposit                                                                                                                       4,709.31
 06/10/2020                                Deposit                                                                                                                      10,571.30
 06/10/2020                                Deposit                                                                                                                          10.00
 06/15/2020                                Deposit                                                                                                                          95.00
 06/15/2020                                Deposit                                                                                                                        230.00
 06/15/2020                                Deposit                                                                                                                          30.00
 06/15/2020                                Deposit                                                                                                                        251.00
 06/15/2020                                Deposit                                                                                                                       5,000.00
 06/17/2020                                Deposit                                                                                                                     122,396.18
 06/17/2020                                Deposit                                                                        ACE Scholarships                               3,375.00
 06/17/2020                                Deposit                                                                                                                          28.00
 06/17/2020                                Deposit                                                                                                                          90.00
 06/23/2020                                Deposit                                                                                                                       1,300.00
 06/30/2020                                Deposit                                                                                                                        900.00

 Total                                                                                                                                                               258,443.62




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                                                                       605 First Bank & Trust - P/R Acct 'O', Period Ending 06/30/2020

                                                                                         RECONCILIATION REPORT

                                                                                          Reconciled on: 07/01/2020

                                                                                        Reconciled by: KRH Consulting

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                          USD

 Statement beginning balance                                                                                                                       0.00
 Service charge                                                                                                                                   -5.00
 Checks and payments cleared (5)                                                                                                            -142,272.92
 Deposits and other credits cleared (5)                                                                                                      142,277.92
 Statement ending balance                                                                                                                          0.00

 Register balance as of 06/30/2020                                                                                                                 0.00



 Details

 Checks and payments cleared (5)

 DATE                                      TYPE                                     REF NO.                              PAYEE           AMOUNT (USD)
 06/27/2020                               Journal                                   JE 2017-1593                                             -10,786.27
 06/27/2020                               Journal                                   JE 2017-1593                                              -2,356.72
 06/27/2020                               Journal                                   JE 2017-1593                                                -133.19
 06/27/2020                               Journal                                   JE 2017-1593                                             -96,342.31
 06/27/2020                               Journal                                   JE 2017-1593                                             -32,654.43

 Total                                                                                                                                    -142,272.92


 Deposits and other credits cleared (5)

 DATE                                      TYPE                                     REF NO.                              PAYEE           AMOUNT (USD)
 06/27/2020                               Journal                                   JE 2017-1593                                                   5.00
 06/27/2020                               Journal                                   JE 2017-1593                                                133.19
 06/27/2020                               Journal                                   JE 2017-1593                                              13,142.99
 06/27/2020                               Journal                                   JE 2017-1593                                             128,996.74
 06/27/2020                               Journal                                   JE 2017-1593                                                   0.00

 Total                                                                                                                                     142,277.92




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                                                                625 Gulf Coast Bank & Trust - Checking Account, Period Ending 06/30/2020

                                                                                         RECONCILIATION REPORT

                                                                                          Reconciled on: 07/01/2020

                                                                                        Reconciled by: KRH Consulting

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                            USD

 Statement beginning balance                                                                                                                   157,410.08
 Interest earned                                                                                                                                   189.46
 Checks and payments cleared (0)                                                                                                                     0.00
 Deposits and other credits cleared (2)                                                                                                        278,301.51
 Statement ending balance                                                                                                                      435,901.05

 Register balance as of 06/30/2020                                                                                                             435,901.05



 Details

 Deposits and other credits cleared (2)

 DATE                                      TYPE                                     REF NO.                             PAYEE              AMOUNT (USD)
 06/30/2020                               Journal                                   JE 2017-1594                                                 5,202.83
 06/30/2020                               Journal                                   JE 2017-1594                                               273,098.68

 Total                                                                                                                                       278,301.51




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                                                                         656 Whintey Bk-Money Market 'Y', Period Ending 06/30/2020

                                                                                         RECONCILIATION REPORT

                                                                                          Reconciled on: 07/06/2020

                                                                                        Reconciled by: KRH Consulting

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                      USD

 Statement beginning balance                                                                                                             366,491.00
 Checks and payments cleared (1)                                                                                                              -3.00
 Deposits and other credits cleared (0)                                                                                                        0.00
 Statement ending balance                                                                                                                366,488.00

 Register balance as of 06/30/2020                                                                                                       366,488.00



 Details

 Checks and payments cleared (1)

 DATE                                      TYPE                                     REF NO.                             PAYEE        AMOUNT (USD)
 06/30/2020                               Journal                                   JE 2017-1599                                              -3.00

 Total                                                                                                                                       -3.00




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                                                                 Catholic Cultural Heritage Center

                                                           1 Capital One Bank, Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/13/2020

                                                                    Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                      USD

 Statement beginning balance                                                                                                             416,762.36
 Interest earned                                                                                                                              17.13
 Checks and payments cleared (17)                                                                                                        -16,517.56
 Deposits and other credits cleared (3)                                                                                                   12,750.00
 Statement ending balance                                                                                                                413,011.93

 Uncleared transactions as of 06/30/2020                                                                                                  -2,194.94
 Register balance as of 06/30/2020                                                                                                       410,816.99
 Cleared transactions after 06/30/2020                                                                                                         0.00
 Uncleared transactions after 06/30/2020                                                                                                  -3,945.46
 Register balance as of 07/13/2020                                                                                                       406,871.53



 Details

 Checks and payments cleared (17)

 DATE                             TYPE                              REF NO.                        PAYEE                             AMOUNT (USD)
 05/21/2020                       Check                             5462                           Archdiocese of New Orleans - IT          -466.00
 06/04/2020                       Check                             5471                           St. Louis Cathedral                   -10,813.13
 06/04/2020                       Check                             5472                           Southern Services, LLC                   -700.00
 06/04/2020                       Check                             5476                           Sonitrol                               -1,017.00
 06/04/2020                       Check                             5475                           Archdiocese of New Orleans               -200.00
 06/04/2020                       Check                             5477                           Cox Communications                       -219.10
 06/04/2020                       Check                             5473                           Southern Services, LLC                   -700.00
 06/04/2020                       Check                             5474                           Hunt Telecom                             -736.74
 06/07/2020                       Check                             5478                                                                     -13.49
 06/07/2020                       Check                             5481                           Cox Communications                       -217.06
 06/08/2020                       Check                             5482                           Capital One N.A.                         -437.09
 06/12/2020                       Check                             5484                           Entergy                                   -21.77
 06/12/2020                       Check                             5483                           A & L Sales                              -146.43
 06/12/2020                       Check                             5486                           Sewerage and Water Board of…              -53.33
 06/12/2020                       Check                             5485                           Entergy                                  -209.94
 06/12/2020                       Check                             5488                           Entergy                                  -519.07
 06/12/2020                       Check                             5487                           Sewerage and Water Board of…              -47.41

 Total                                                                                                                                 -16,517.56


 Deposits and other credits cleared (3)

 DATE                             TYPE                              REF NO.                        PAYEE                             AMOUNT (USD)
 05/20/2020                       Deposit                                                                                                  3,500.00
 05/30/2020                       Deposit                                                                                                  4,400.00
 06/15/2020                       Deposit                                                                                                  4,850.00

 Total                                                                                                                                  12,750.00


 Additional Information

 Uncleared checks and payments as of 06/30/2020

 DATE                             TYPE                              REF NO.                        PAYEE                             AMOUNT (USD)
 02/26/2020                       Check                             5392                           Catholic Mutual Group                    -285.00
 06/26/2020                       Check                             5489                           Archdiocese of New Orleans               -200.00
 06/26/2020                       Check                             5490                           Fire Extinguisher and Supply …           -723.87
 06/26/2020                       Check                             5491                           Entergy                                  -167.99
 06/26/2020                       Check                             5492                           Cox Communications                       -434.00
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 DATE                    TYPE                REF NO.
                                                     of 605      PAYEE                    AMOUNT (USD)
 06/30/2020                      Check                   5493      AT&T Mobility                        -344.08
 06/30/2020                      Check                   5494      AT&T                                  -40.00

 Total                                                                                               -2,194.94


 Uncleared checks and payments after 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                          AMOUNT (USD)
 07/07/2020                      Check                   5495      Sewerage and Water Board of…           -46.70
 07/07/2020                      Check                   5496      Sewerage and Water Board of…          -52.35
 07/07/2020                      Check                   5498      Kentwood Springs                     -207.13
 07/07/2020                      Check                   5499      Sonitrol                             -153.28
 07/09/2020                      Check                   5500      Hunt Telecom                         -750.35
 07/09/2020                      Check                   5501      Sewerage and Water Board of…          -170.26
 07/09/2020                      Check                   5502      St. Louis Cathedral                -10,827.79

 Total                                                                                              -12,207.86


 Uncleared deposits and other credits after 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                          AMOUNT (USD)
 07/09/2020                      Deposit                                                               8,262.40

 Total                                                                                                8,262.40




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                                                                         St. Louis Cathedral

                                            1110 Capital One - NEW Operating #               , Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/09/2020

                                                                    Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                    USD

 Statement beginning balance                                                                                                           426,988.72
 Checks and payments cleared (69)                                                                                                      -80,813.50
 Deposits and other credits cleared (26)                                                                                                78,439.35
 Statement ending balance                                                                                                              424,614.57

 Uncleared transactions as of 06/30/2020                                                                                                -5,482.38
 Register balance as of 06/30/2020                                                                                                     419,132.19
 Cleared transactions after 06/30/2020                                                                                                       0.00
 Uncleared transactions after 06/30/2020                                                                                                   844.08
 Register balance as of 07/09/2020                                                                                                     419,976.27



 Details

 Checks and payments cleared (69)

 DATE                             TYPE                              REF NO.                        PAYEE                           AMOUNT (USD)
 10/16/2019                       Check                             32480                                                                 -101.21
 12/19/2019                       Check                             32752                                                                  -40.00
 02/26/2020                       Check                             33019                                                                 -280.00
 05/21/2020                       Check                             33214                          Archdiocese of New Orleans I…          -597.50
 05/21/2020                       Check                             33215                          Our Sunday Visitor, Inc.               -387.73
 06/03/2020                       Check                             33225                          Kentwood Spring Water                  -277.63
 06/03/2020                       Check                             33226                          Waste Connections Bayou, INC           -610.58
 06/03/2020                       Check                             33227                          US Bank                                -259.99
 06/03/2020                       Check                             33228                                                                 -600.00
 06/03/2020                       Check                             33229                                                                 -250.00
 06/03/2020                       Check                             33230                          New Orleans Children's Chorus        -5,000.00
 06/03/2020                       Check                             33231                          Nu-Lite                                -229.81
 06/03/2020                       Check                             33232                          Clarion Herald                         -541.23
 06/03/2020                       Check                             33233                          CompuCast                                -5.00
 06/03/2020                       Check                             33234                          JW Pepper                              -812.93
 06/03/2020                       Check                             33223                                                                 -600.00
 06/03/2020                       Check                             33222                                                                 -175.00
 06/03/2020                       Check                             33221                                                                 -175.00
 06/03/2020                       Check                             33219                                                                 -375.00
 06/03/2020                       Check                             33224                          Archdiocese of New Orleans          -10,128.83
 06/04/2020                       Check                             33236                                                                 -440.00
 06/04/2020                       Check                             33235                                                                 -550.00
 06/04/2020                       Check                             33237                                                                 -160.00
 06/04/2020                       Check                             33241                          Gulf Coast Office Products              -52.25
 06/04/2020                       Check                             33239                          Sonitrol of New Orleans, Inc.          -237.00
 06/04/2020                       Check                             33238                          Heritage Electrical Co. Inc.           -172.00
 06/07/2020                       Check                             33244                          Gallagher Benefit Service            -5,700.89
 06/07/2020                       Check                             33243                          Josephite Community                    -300.00
 06/07/2020                       Check                             33245                                                                 -325.00
 06/07/2020                       Check                             33242                                                                 -500.00
 06/08/2020                       Check                             33246                          Capital One, N.A                       -911.50
 06/12/2020                       Check                             33250                          Nashville Chemical                     -216.24
 06/12/2020                       Check                             33249                                                                  -33.05
 06/12/2020                       Check                             33248                          Sewerage & Water Board of N…           -103.91
 06/12/2020                       Check                             33247                                                                 -375.00
 06/12/2020                       Check                             33251                          Sewerage & Water Board of N…            -47.52
 06/12/2020                       Check                             33258                                                                  -60.05
 06/12/2020                       Check                             33252                          Entergy                              -2,491.68
 06/12/2020                       Check                             33253                          Entergy                                -646.40


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 DATE                    TYPE                REF NO.
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 06/12/2020                      Check       33254              Sam's Club                             -223.61
 06/12/2020                      Check       33255              Our Sunday Visitor, Inc.               -171.59
 06/12/2020                      Check       33256              Loomis                                 -270.85
 06/12/2020                      Check       33257              Light Bulb Depot                        -19.70
 06/12/2020                      Check       33259              Fire Extinquisher and Supply …         -490.12
 06/16/2020                      Check       33260                                                      -25.61
 06/17/2020                      Check       33262                                                     -375.00
 06/18/2020                      Check       33264                                                     -139.20
 06/18/2020                      Check       33263                                                       -74.94
 06/19/2020                      Check       33269                                                       -47.96
 06/19/2020                      Check       33270                                                     -270.00
 06/19/2020                      Check       33268              Archdiocese of New Orleans             -955.00
 06/19/2020                      Check       33267              Archdiocese of New Orleans              -369.00
 06/19/2020                      Check       33266              Archdiocese of New Orleans            -2,232.00
 06/19/2020                      Check       33265                                                     -175.75
 06/24/2020                      Check       33271                                                      -80.52
 06/25/2020                      Check       33272                                                       -64.13
 06/26/2020                      Check       33273                                                      -113.40
 06/26/2020                      Check       33280                                                     -375.00
 06/26/2020                      Check       33281                                                     -270.00
 06/30/2020                      Journal     889                                                         -50.00
 06/30/2020                      Journal     889                                                        -600.00
 06/30/2020                      Journal     889                                                        -100.00
 06/30/2020                      Journal     889                                                         -56.07
 06/30/2020                      Journal     889                                                         -25.00
 06/30/2020                      Journal     888                                                     -24,676.94
 06/30/2020                      Journal     888                                                      -3,884.43
 06/30/2020                      Journal     888                                                         -64.17
 06/30/2020                      Journal     888                                                      -9,175.78
 06/30/2020                      Journal     888                                                        -667.80

 Total                                                                                             -80,813.50


 Deposits and other credits cleared (26)

 DATE                            TYPE        REF NO.            PAYEE                            AMOUNT (USD)
 03/23/2020                      Deposit                                                              4,004.00
 05/20/2020                      Check       4681               St. Louis Cathedral                  10,480.90
 05/26/2020                      Deposit                                                              4,410.00
 05/26/2020                      Deposit                                                              2,110.00
 05/31/2020                      Deposit                                                              1,838.00
 05/31/2020                      Deposit                                                              4,639.00
 06/03/2020                      Deposit                                                                100.00
 06/03/2020                      Deposit                                                                103.00
 06/04/2020                      Check       3261               St. Louis Cathedral                   8,066.89
 06/07/2020                      Deposit                                                              6,138.00
 06/07/2020                      Deposit                                                              5,298.00
 06/09/2020                      Deposit                                                                125.00
 06/10/2020                      Deposit                                                                  5.00
 06/14/2020                      Deposit                                                              6,889.00
 06/15/2020                      Deposit                                                              1,000.00
 06/15/2020                      Deposit                                                             12,728.02
 06/16/2020                      Deposit                                                                125.00
 06/18/2020                      Deposit                                                                162.47
 06/21/2020                      Deposit                                                              8,782.00
 06/23/2020                      Deposit                                                                203.00
 06/23/2020                      Deposit                                                                207.86
 06/25/2020                      Deposit                                                                500.00
 06/30/2020                      Journal     890                                                        101.21
 06/30/2020                      Journal     890                                                         40.00
 06/30/2020                      Deposit                                                                103.00
 06/30/2020                      Journal     892                                                        280.00

 Total                                                                                              78,439.35
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 Additional Information

 Uncleared checks and payments as of 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                           AMOUNT (USD)
 02/04/2020                      Check                   32956                                            -24.13
 03/10/2020                      Check                   33078                                            -83.09
 04/10/2020                      Check                   33138                                           -100.00
 06/04/2020                      Check                   33240     The Guardian Life Insurance …         -285.12
 06/17/2020                      Check                   33261                                            -27.50
 06/26/2020                      Check                   33274     Gulf Coast Office Products             -28.74
 06/26/2020                      Check                   33275     Entergy                                -30.17
 06/26/2020                      Check                   33276     Entergy                                -19.40
 06/26/2020                      Check                   33277     Entergy                               -284.11
 06/26/2020                      Check                   33278     Sewerage & Water Board of N…          -271.57
 06/26/2020                      Check                   33279                                           -350.00
 06/30/2020                      Check                   33291                                           -270.00
 06/30/2020                      Check                   33290                                           -375.00
 06/30/2020                      Check                   33289                                           -175.00
 06/30/2020                      Check                   33288                                           -175.00
 06/30/2020                      Check                   33287                                            -600.00
 06/30/2020                      Check                   33286     Gallagher Benefit Service            -6,360.87
 06/30/2020                      Check                   33285     Guillory Sheet Metal                  -683.00
 06/30/2020                      Check                   33284     Cox Communications                    -220.60
 06/30/2020                      Check                   33283     Guillory Sheet Metal                  -740.00
 06/30/2020                      Check                   33282     Sonitrol of New Orleans, Inc.         -237.00

 Total                                                                                               -11,340.30


 Uncleared deposits and other credits as of 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                           AMOUNT (USD)
 06/26/2020                      Deposit                                                                  235.92
 06/28/2020                      Deposit                                                                5,622.00

 Total                                                                                                 5,857.92


 Uncleared checks and payments after 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                           AMOUNT (USD)
 07/01/2020                      Check                   33292                                            -76.35
 07/01/2020                      Check                   33297     Josephite Community                   -150.00
 07/01/2020                      Check                   33296                                           -200.00
 07/01/2020                      Check                   33295                                           -440.00
 07/01/2020                      Check                   33294                                           -125.00
 07/01/2020                      Check                   33293                                           -175.00
 07/02/2020                      Check                   33298                                            -106.30
 07/02/2020                      Check                   33299     Priority Systems, Inc.                 -180.00
 07/02/2020                      Check                   33300     JAJA Cortez Contracting, Inc.        -4,116.21
 07/07/2020                      Check                   33301                                             -60.57
 07/07/2020                      Check                   33302                                            -41.72
 07/07/2020                      Check                   33303     US Bank                               -259.99
 07/07/2020                      Check                   33304     The Guardian Life Insurance …         -285.12
 07/07/2020                      Check                   33305     Sewerage & Water Board of N…          -228.55
 07/07/2020                      Check                   33307     Sewerage & Water Board of N…          -117.59
 07/07/2020                      Check                   33308     Sewerage & Water Board of N…           -47.52

 Total                                                                                                -6,609.92


 Uncleared deposits and other credits after 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                           AMOUNT (USD)
 07/05/2020                      Deposit                                                                7,454.00


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                                          1110.80 Cambon Music - Capital One #                   , Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/05/2020

                                                                    Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                               USD

 Statement beginning balance                                                                                                      64,533.07
 Checks and payments cleared (1)                                                                                                  -8,066.89
 Deposits and other credits cleared (0)                                                                                                0.00
 Statement ending balance                                                                                                         56,466.18

 Register balance as of 06/30/2020                                                                                                56,466.18



 Details

 Checks and payments cleared (1)

 DATE                             TYPE                              REF NO.                         PAYEE                     AMOUNT (USD)
 06/04/2020                       Check                             3261                            St. Louis Cathedral            -8,066.89

 Total                                                                                                                           -8,066.89




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                                          1110.90 St Anthony Garden - Capital One #                , Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/08/2020

                                                                    Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                 USD

 Statement beginning balance                                                                                                        161,497.50
 Checks and payments cleared (1)                                                                                                     -1,245.83
 Deposits and other credits cleared (0)                                                                                                   0.00
 Statement ending balance                                                                                                           160,251.67

 Register balance as of 06/30/2020                                                                                                  160,251.67



 Details

 Checks and payments cleared (1)

 DATE                             TYPE                              REF NO.                         PAYEE                       AMOUNT (USD)
 06/04/2020                       Check                             1244                            NOLA+Design, Inc                 -1,245.83

 Total                                                                                                                             -1,245.83




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                                                1120 Gift Shop - Capital One              , Period Ending 06/30/2020

                                                                     RECONCILIATION REPORT

                                                                       Reconciled on: 07/10/2020

                                                                    Reconciled by:

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                   USD

 Statement beginning balance                                                                                                           32,487.02
 Checks and payments cleared (10)                                                                                                     -23,781.11
 Deposits and other credits cleared (20)                                                                                                4,128.61
 Statement ending balance                                                                                                              12,834.52

 Uncleared transactions as of 06/30/2020                                                                                                 593.11
 Register balance as of 06/30/2020                                                                                                    13,427.63
 Cleared transactions after 06/30/2020                                                                                                     0.00
 Uncleared transactions after 06/30/2020                                                                                              -2,466.93
 Register balance as of 07/10/2020                                                                                                    10,960.70



 Details

 Checks and payments cleared (10)

 DATE                             TYPE                              REF NO.                        PAYEE                          AMOUNT (USD)
 05/20/2020                       Check                             4681                           St. Louis Cathedral                -10,480.90
 06/04/2020                       Check                             4684                           Christian Brands                    -5,576.79
 06/04/2020                       Check                             4682                           McVan, Inc                            -133.50
 06/04/2020                       Check                             4683                           Ganz USA, LLC                       -2,825.00
 06/05/2020                       Check                                                            Mercury Payment Systems               -158.29
 06/05/2020                       Check                                                            Mercury Payment Systems               -134.80
 06/05/2020                       Check                             4685                           Capital One, N.A                    -2,629.10
 06/18/2020                       Check                             4688                           Goldscheider of VIenna              -1,757.73
 06/18/2020                       Check                             4687                           Louisiana Department of Rev…           -40.00
 06/18/2020                       Check                             4686                           City of New Orleans Departm…           -45.00

 Total                                                                                                                              -23,781.11


 Deposits and other credits cleared (20)

 DATE                             TYPE                              REF NO.                        PAYEE                          AMOUNT (USD)
 03/22/2020                       Deposit                                                                                                115.59
 06/01/2020                       Deposit                                                                                                475.40
 06/02/2020                       Deposit                                                                                                195.74
 06/04/2020                       Deposit                                                                                                 91.56
 06/15/2020                       Deposit                                                                                                101.06
 06/15/2020                       Deposit                                                                                                173.42
 06/16/2020                       Deposit                                                                                                274.10
 06/17/2020                       Deposit                                                                                                175.58
 06/18/2020                       Deposit                                                                                                 54.63
 06/21/2020                       Deposit                                                                                                731.77
 06/22/2020                       Deposit                                                                                                 35.36
 06/22/2020                       Deposit                                                                                                 74.20
 06/22/2020                       Deposit                                                                                                118.58
 06/24/2020                       Deposit                                                                                                 26.16
 06/24/2020                       Deposit                                                                                                385.58
 06/26/2020                       Deposit                                                                                                221.34
 06/29/2020                       Deposit                                                                                                111.80
 06/29/2020                       Deposit                                                                                                 83.58
 06/29/2020                       Deposit                                                                                                375.04
 06/30/2020                       Deposit                                                                                                308.12

 Total                                                                                                                                4,128.61


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 Uncleared checks and payments as of 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                           AMOUNT (USD)
 05/20/2020                     Check                    4679      Capital One, N.A                       -16.60

 Total                                                                                                   -16.60


 Uncleared deposits and other credits as of 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                           AMOUNT (USD)
 06/30/2020                     Deposit                                                                   609.71

 Total                                                                                                   609.71


 Uncleared checks and payments after 06/30/2020

 DATE                            TYPE                    REF NO.   PAYEE                           AMOUNT (USD)
 07/06/2020                     Check                    4689      Capital One Bank                         -8.30
 07/06/2020                     Check                    4690      Aprions A.C.                         -1,287.46
 07/06/2020                     Check                    4691      McVan, Inc                             -580.41
 07/06/2020                     Check                    4692      Christian Brands                      -180.68
 07/06/2020                     Check                    4693      Bliss Mfg. Co.                        -216.08
 07/07/2020                     Check                    4694      Alpha Window Air Conditionin…         -194.00

 Total                                                                                                -2,466.93




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